Case 23-753, Document 62, 01/17/2024, 3604338, Page1 of 898




             23-753
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                       ADRIAN THOMAS,
                       Plaintiff-Appellant,

                             – v. –

       ADAM R. MASON, RONALD FOUNTAIN, TIM
         COLANERI, AND MICHAEL SIKIRICA,
                      Defendants-Appellee.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
               Case No. 1:17-cv-00626 (DJS)



            APPENDIX VOLUME 2 OF 3
             Case 23-753, Document 62, 01/17/2024, 3604338, Page2 of 898

             APPENDIX VOLUME 2 TABLE OF CONTENTS

ECF 142-23: Exhibit “F”.............................................................. 1022

ECF 142-24: Exhibit “G” ............................................................. 1291

ECF 142-25: Exhibit “H” ............................................................. 1480

ECF 142-26: Exhibit “I”............................................................... 1547

ECF 142-27: Statement of Material Facts ................................. 1551

ECF 153: Plaintiff’s Response to the Troy Defendants’

Statement Pursuant to Rule 7.1 ................................................. 1558

ECF 153-1: Plaintiff’s Local Rule 56.1 Counter Statement ...... 1563

ECF 156: Declaration of Brett H. Klein ..................................... 1580

ECF 156-1: Exhibit 1 ................................................................... 1586

ECF 156-2: Exhibit 2 ................................................................... 1599

ECF 156-3: Exhibit 3 ................................................................... 1606

ECF 156-4: Exhibit 4 ................................................................... 1627

ECF 156-5: Exhibit 5 ................................................................... 1660

ECF 156-6: Exhibit 6 ................................................................... 1673

ECF 156-7: Exhibit 7 ................................................................... 1706

ECF 156-8: Exhibit 8 ................................................................... 1710

ECF 156-9: Exhibit 9 ................................................................... 1720

ECF 156-10: Exhibit 10 ............................................................... 1725

ECF 156-11: Exhibit 11 ............................................................... 1746

ECF 156-12: Exhibit 12 ............................................................... 1754

ECF 156-13: Exhibit 13 ............................................................... 1757
            Case 23-753, Document 62, 01/17/2024, 3604338, Page3 of 898

             APPENDIX VOLUME 2 TABLE OF CONTENTS

ECF 156-14: Exhibit 14 ............................................................... 1795

ECF 156-15: Exhibit 15 ............................................................... 1797

ECF 156-16: Exhibit 16 ............................................................... 1823

ECF 156-17: Exhibit 17 ............................................................... 1830

ECF 156-18: Exhibit 18 ............................................................... 1833

ECF 156-19: Exhibit 19 ............................................................... 1835

ECF 156-20: Exhibit 20 ............................................................... 1836

ECF 156-21: Exhibit 21 ............................................................... 1846

ECF 156-22: Exhibit 22 ............................................................... 1847

ECF 156-23: Exhibit 23 ............................................................... 1859

ECF 156-24: Exhibit 24 ............................................................... 1871

ECF 156-25: Exhibit 25 ............................................................... 1878

ECF 156-26: Exhibit 26 ............................................................... 1884

ECF 156-27: Exhibit 27 ............................................................... 1893

ECF 156-28: Exhibit 28 ............................................................... 1894

ECF 156-29: Exhibit 29 ............................................................... 1909

ECF 156-30: Exhibit 30 ............................................................... 1914
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page4Page
                                               06/14/21   of 898
                                                                    1022
                                                              1 of 269




                      EXHIBIT “F”
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page5Page
                                               06/14/21   of 898
                                                                    1023
                                                              2 of 269




                                                                    Page 1
             Thomas v City of Troy et al - 7-30-2020 - Walter Edge

     UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK

     ADRIAN THOMAS,

     Plaintiff,
                v       17-CV-626

     CITY OF TROY, ADAM R. MASON,
     RONALD FOUNTAIN, TIM COLANERI,
     COUNTY OF RENSSELAER &
     MICHAEL SIKIRICA,

     Defendants.

     _________________________________/

                NON-PARTY
                DEPOSITION OF:          WALTER EDGE, M.D.

                DATE:                 July 30, 2020

                TIME:                 10:07 a.m. to 4:05 p.m.

                LOCATION:               Webex
      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page6Page
                                                06/14/21   of 898
                                                               3 of 269
                                                                        1024
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                        Page 2
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page7Page
                                                06/14/21   of 898
                                                               4 of 269
                                                                       1025
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                       Page 3
  1             Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             STIPULATIONS

  3            It is HEREBY STIPULATED by and among the attorneys

  4   for the respective parties, in accordance with the Federal

  5   Rules of Civil Procedure, that this deposition may be

  6   taken by the Defendant at this time, pursuant to subpoena;

  7            FURTHER STIPULATED, that all objections except as to

  8   the form of the questions and responsiveness of the

  9   answers, be reserved until trial;

 10            FURTHER STIPULATED, that the witness may read and

 11   sign the deposition and make any corrections to same

 12   before any Notary Public;

 13            AND FURTHER STIPULATED, that if the original

 14   deposition has not been duly signed by the witness and

 15   returned to the attorney taking the deposition by the time

 16   of trial or any hearing in this cause, a certified copy of

 17   the deposition may be used as though it were the original

 18

 19

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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page8Page
                                                06/14/21   of 898
                                                               5 of 269
                                                                       1026
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                       Page 4
  1            Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2              I N D E X     O F   P R O C E E D I N G S

  3                           WALTER EDGE; Sworn

  4   Direct Examination by Mr. Ginsberg                                   6
      Cross Examination by Mr. Klein                                      68
  5   Cross Examination by Ms. Peck                                      163
      Cross Examination by Ms. Calabrese                                 169
  6   Redirect Examination by M. Ginsberg                                203
      Recross Examination by Mr. Klein                                   206
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 17

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 20

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 24

 25



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page9Page
                                                06/14/21   of 898
                                                               6 of 269
                                                                       1027
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                       Page 5
  1            Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                     E X H I B I T      I N D E X

  3   Marked as

  4   Description

  5   A                                                           17

  6   86 pages of medical records

  7   B                                                           67

  8   Deposition of a witness

  9   Plaintiff

 10   One

 11   Entire medical record

 12   Two

 13   Troy police department      investigation report

 14   Three

 15   Video 1

 16   Four

 17                                Video 2

 18

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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page10
                                            Filed 06/14/21   of 898
                                                           Page  7 of 269
                                                                         1028
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 6
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           (On the record; 10:07 a.m.)

  3                             MR. GINSBERG:   If you would swear the

  4            witness.

  5                             THE REPORTER:   Okay.    We're on the

  6            record.    Doctor, if you could please raise your right

  7            hand.   Do you swear or affirm the testimony you're

  8            going to give is the truth, the whole truth, and

  9            nothing but the truth?

 10                             THE WITNESS:    Yes.

 11                             THE REPORTER:    Could you please state

 12            and spell your name for the record please?

 13                             THE WITNESS:    Walter Edge, W-A-L-T-E-R

 14            E-D-G-E.

 15                             THE REPORTER:    Okay.   The witness has

 16            been sworn.    I'm all set.

 17                             MR. GINSBERG:    Right, thank you.

 18                             DIRECT EXAMINATION

 19                             BY MR. GINSBERG:

 20                             Q.   Doctor, before we get started,

 21            have you received a package of materials for today’s

 22            deposition which includes a chart from -- with regard

 23            to the treatment of Matthew Thomas?

 24                             A.   Yes, I reviewed the chart and at

 25            least part of it that was relevant.       I also received



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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page11
                                            Filed 06/14/21   of 898
                                                           Page  8 of 269
                                                                          1029
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                          Page 7
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            a copy of a deposition, earlier deposition and also

  3            the transcript of the earlier trial.

  4                             Q.   Perfect.   So, do you have a copy

  5            of the chart there with you if we need to refer to

  6            it?

  7                             A.   Yes.

  8                             Q.   Okay.   Wonderful.     Doctor, my

  9            name is Michael Ginsberg.     I'm the attorney for the

 10            City of Troy and the Troy police officers, defendants

 11            in the Thomas versus City of Troy et al matter.            And

 12            I’m going to ask you a series of questions that

 13            require a verbal response so that we can keep the

 14            record clear.    Okay.

 15                             A.   Yes.

 16                             Q.   And could you tell us, again,

 17            your full name?

 18                             A.   Walter Edge.

 19                             Q.   And Dr. Edge, can you describe

 20            for us briefly your educational background, the

 21            beginning of college?

 22                             A.   I graduated from SUNY Albany in

 23            1980, no '76.    I went to med school in '76 to '80 at

 24            Albany Med.   I went to -- I was in residency at

 25            Albany Med from '80 to '84.      I practiced out of



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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page12
                                            Filed 06/14/21   of 898
                                                           Page  9 of 269
                                                                         1030
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 8
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            Albany Med and elsewhere until '89 at which point I

  3            went to Toronto, Ontario to do a fellowship in

  4            pediatric I.C.U. for six months.      And then I returned

  5            to Albany Med and have been there ever since.

  6                            Q.   And, doctor, are you currently

  7            employed at Albany Med?

  8                            A.   I am.

  9                            Q.   And do you hold a title?

 10                            A.   I am a full professor in

 11            pediatric and attending physician.

 12                            Q.   And do you work with any

 13            particular specialty within the field of medicine?

 14                            A.   I work in pediatric intensive

 15            care.

 16                            Q.   And what does pediatric intensive

 17            care entail?

 18                            A.   Taking care of children in an

 19            I.C.U. setting.

 20                            Q.   And are these extremely ailing

 21            children?

 22                            A.   Yeah.

 23                            Q.   Intensive Care Unit, correct?

 24                            A.   I work in a pediatric intensive

 25            care unit, yes.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page13
                                                06/14/21    of 898
                                                         Page  10 of 269
                                                                        1031
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                        Page 9
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.   And is there a short name for the

  3            pediatric intensive care unit, is it sometimes

  4            referred to as the PIC-U?

  5                           A.   Yes, P-I-C-U.

  6                           Q.   And, doctor, have you been

  7            involved in or authored any publications over the

  8            course of your history?

  9                           A.   Yes.

 10                           Q.   Could you briefly describe them?

 11                           A.   Not really.     There's about

 12            twenty.

 13                           Q.   And in what fields -- in what

 14            fields were they?

 15                           A.   There's a far range.        Pediatrics,

 16            I have a paper -- three papers I think and four

 17            publications, perhaps on transport between hospitals

 18            of critically ill children and the list goes on.

 19                           Q.   Okay.   And are you a current

 20            member of any professional organization?

 21                           A.   Yes, the Society of Critical Care

 22            Medicine and the American Academy of Pediatrics.

 23                           Q.   And do you currently hold any

 24            board certification?

 25                           A.   Yes, I am board certified in



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page14
                                                06/14/21    of 898
                                                         Page  11 of 269
                                                                         1032
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 10
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            pediatric critical care.      I'm also board certified in

  3            internal medicine.

  4                             Q.   And, doctor, if I draw your

  5            attention to September 21st of 2008, were you

  6            employed at that time period -- at that time?

  7                             A.   Yes.

  8                             Q.   And where were you employed?

  9                             A.   At Albany Med.

 10                             Q.   And did you hold a title at that

 11            time?

 12                             A.   The same – well, I'm not sure if

 13            it was the same title, but, I was an attending

 14            physician in the PIC-U.      I'm not sure -- I think -- I

 15            think, I was full professor at that point.         I'm not

 16            positive.

 17                             Q.   At that time period, were you

 18            effectively in charge of the Pediatric Intensive Care

 19            Unit?

 20                             MS. MITCHELL:    Object to form.

 21                             BY MR. GINSBERG: (Cont'g.)

 22                             Q.   You can answer that.

 23                             A.   Okay.    I -- I don't understand

 24            your question.    What does in charge mean?

 25                             Q.   What I mean, were you -- were you



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page15
                                                06/14/21    of 898
                                                         Page  12 of 269
                                                                           1033
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 11
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the physician in charge of that unit in September of

  3            2008?

  4                             A.    I still -- in charge could mean a

  5            lot of things.    It could mean administratively in

  6            charge.   It could mean that I was on call.          It could

  7            mean any number of things.     I don't know what in

  8            charge actually means.

  9                             Q.    Did the other doctors and staff

 10            assigned to the Pediatric Intensive Care Unit report

 11            to you at that time?

 12                             A.     At least for part of the day, I

 13            can't tell you for the twenty-four hours, but I was

 14            in -- yeah.    I was there --.

 15                             Q.     Who is the highest ranking

 16            physician within Pediatric Intensive Care Unit in

 17            September of 2008?

 18                             A.     On duty or in general?

 19                             Q.     In general.

 20                             A.     Well, we had the -- I was the

 21            chief of the Division of Pediatric Critical Care

 22            Medicine and then Dr. Sanchez was the Director of the

 23            Pediatric I.C.U.      So we share chieftain, we were both

 24            in charge.    I -- I was more the academic because

 25            we're part of Albany Medical College.         I was the



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page16
                                                06/14/21    of 898
                                                         Page  13 of 269
                                                                        1034
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 12
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            academic chief, Division chief and Dr. Sanchez was

  3            the Administrative Director of the Intensive Care

  4            Unit, the nursing unit.

  5                             Q.   In September of 2008, were your

  6            duties with regard to the PICU different than they

  7            are currently?

  8                             A.   I mean, there's -- there's

  9            schedule differences, but I'm generally doing the

 10            same job I was doing then.

 11                             Q.    And what does that entail?       What

 12            were your daily responsibilities in September of 2008

 13            in the PICU?

 14                             A.    Well, we had multiple

 15            responsibilities.     Besides, we have -- we cover the

 16            PICU.   We usually split it up between days and

 17            nights.   So there is different people there,

 18            different times of day.     In addition, we have an

 19            active service doing sedations.

 20                             Q.    Doctor, what were your specific

 21            responsibilities in September of 2008?

 22                             A.    I did all -- we also attended at

 23            different -- at a nursing home that takes care of

 24            chronically ventilated patients.     So I had

 25            responsibilities in all of those things.        So I, you



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page17
                                                06/14/21    of 898
                                                         Page  14 of 269
                                                                         1035
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 13
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            know, I can give you much greater detail.        If you

  3            wanted to focus in on the day in particular, I'd be

  4            glad to tell you what I was doing that day.

  5                             Q.   We'll get to that afterward.

  6            Doctor, drawing your attention to September 21st,

  7            2008.   Did there come a time when you first came into

  8            contact with a patient named Matthew Thomas?

  9                             A.   Yes.

 10                             Q.   And do you recall approximately

 11            what time that was?

 12                             A.   No.

 13                             Q.   Would it help you if you referred

 14            to the chart?

 15                             A.   Yes.

 16                             Q.   Would you do that?

 17                             MR. GINSBERG:   And while he is doing

 18            that, do we have this chart marked?      How are we going

 19            to do that remotely?

 20                             MS. MITCHELL:   It has to be marked in

 21            order for him to refresh his memory and use it.

 22                             MR. GINSBERG:   I’m working on it,

 23            Christina.

 24                             THE REPORTER:   I do have the exhibits.

 25            Is it the chart, it's like eighty pages, I believe.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page18
                                                06/14/21    of 898
                                                         Page  15 of 269
                                                                          1036
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 14
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MS. MITCHELL:     Are we off the record?

  3                           MR. GINSBERG:     Yeah, let's go off the

  4            record for a moment.

  5                           THE REPORTER:     Off the record.

  6                           (Off the record)

  7                           (On the record)

  8                           BY MR. GINSBERG: (Cont'g.)

  9                           Q.     Are you ready, Doctor?

 10                           A.      Yes.

 11                           Q.      Okay.   I believe that the

 12            question was, do you recall what time approximately

 13            you first came into contact with Matthew Thomas on

 14            September 21st, 2008?

 15                           A.      A physical contact occurred at

 16            12:06.   However, I had contact by telephone with

 17            Samaritan Hospital before that and had arranged for

 18            the transport team to go from Albany Med to Samaritan

 19            to pick up the child on my recommendation that they

 20            should do that.     And I do not have the exact time

 21            that the Samaritan contact was made.       I -- I do have

 22            the time that the transport team departed.         Okay.

 23            Here's the initial time of the call.       I'm sorry, I do

 24            have the initial time of the call from Samaritan was

 25            -- it's hard to read 9:52 a.m.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page19
                                                06/14/21    of 898
                                                         Page  16 of 269
                                                                        1037
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 15
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.   Would that have been a.m.?

  3                           A.   Yes.

  4                           Q.   Okay.    And you --

  5                           A.   With the team, leaving at 10:18

  6            and arriving at Samaritan at 10:53, leaving Samaritan

  7            11:55 and arriving at 12:06 and I saw the child as

  8            soon as the child arrived.

  9                           Q.   That would have been shortly

 10            after noon, correct?

 11                           A.   Correct.

 12                           Q.   And, Doctor, what was the sum and

 13            substance of the discussion if any that you had with

 14            the folks at Samaritan Hospital before the patient

 15            arrived at Albany Med?

 16                           A.   I don't remember exactly.         But,

 17            in summary, I knew that there was a four-month old

 18            child who was unresponsive, neurologically showing

 19            limited neural -- neurologic activity, who was having

 20            trouble breathing, who was therefore intubated and

 21            put on a ventilator and we discussed the history

 22            which was of some vomiting apparently, and diarrhea

 23            and increasing lethargy which had occasioned the

 24            parents to call EMS and bring the child to Samaritan.

 25                           Q.   And Doctor --



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page20
                                                06/14/21    of 898
                                                         Page  17 of 269
                                                                         1038
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 16
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   In addition, the child had very

  3            low blood pressure and was requiring pressure

  4            medication to keep the blood pressure to an

  5            acceptable level.

  6                             Q.   And Doctor, is the chart and the

  7            records that have been marked as

  8                             City of Troy A for today's deposition,

  9            were they made and kept in the ordinary course of

 10            business of Albany Medical Center Hospital?

 11                             A.   I don't understand your question.

 12                             MS. MITCHELL:    I'm going to object

 13            just because I --I don't know what has been marked as

 14            A, if – is -- are you able to pull that up on the

 15            screen for us?    I mean, he can --

 16                             MR. GINSBERG:    It's on the screen now.

 17                             MS. MITCHELL:    Okay.

 18                             THE WITNESS:    That's a consultation to

 19            ophthalmology.    Is that what you want to talk about?

 20                             MR. GINSBERG:    No, we're just -- we're

 21            just talking about the records.      Doctor, we’ll sort –

 22            we’ll sort this out.

 23                             BY MR. GINSBERG:    (Cont'g.)

 24                             Q.   Is it the business of Albany

 25            Medical Center Hospital to make and keep medical



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page21
                                                06/14/21    of 898
                                                         Page  18 of 269
                                                                         1039
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 17
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            records?

  3                             A.   Yes.

  4                             Q.   And were these medical records

  5            that are in front of you and that have been marked as

  6            C.O.T. Exhibit A for today's date made and kept in

  7            the ordinary course of business on Albany Medical

  8            Center Hospital?

  9                             MS. MITCHELL:    I object.    I -- he

 10            can't answer that because what hasn't been marked.

 11                             BY MR. GINSBERG:    (Cont'g.)

 12                             Q.    You can answer, Doctor.

 13                             MS. MITCHELL:    No, I'm going to direct

 14            him not to answer, he can't --.

 15                             MR. GINSBERG:    You cannot direct him

 16            not to answer.     Those are --

 17                             MS. MITCHELL:    He can -- he --.

 18                             MR. GINSBERG:    -- standing objections,

 19            you are not permitted at a deposition.

 20                             MS. MITCHELL:    Will you stop --.

 21                             MR. GINSBERG:    Take it up in court.

 22                             MS. MITCHELL:    Excuse me.

 23                             MR. GINSBERG:    All of those will be

 24            sorted out later at trial.

 25                             MS. MITCHELL:    Sir.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page22
                                                06/14/21    of 898
                                                         Page  19 of 269
                                                                        1040
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 18
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MR. GINSBERG:    Save it for the court.

  3            Why don't we just move ahead with the deposition?

  4                           MS. MITCHELL:    Okay.

  5                           MR. GINSBERG:    Is the foundation

  6            directly for the record.

  7                           MS. MITCHELL:    I am objecting and

  8            directing him not to answer.    You can't ask him to

  9            confirm the authenticity of a document, he doesn't

 10            have in front of him.   If it was marked and up on the

 11            screen, that would be one thing.

 12                           MR. GINSBERG:    We can sort it out

 13            later.

 14                           MS. MITCHELL:    So I certainly direct

 15            him not to answer.   We can't sort it out later

 16            because you're asking him to attest to it now.

 17                           MR. GINSBERG:    Okay.    It's a

 18            foundation question for the record.      The records are

 19            going to be certified in it anyway.      I don't know --

 20            I don’t know why you are objecting.

 21                           MS. MITCHELL:    So, then you don’t need

 22            him to answer it.

 23                           MR. GINSBERG:    Are you going to make

 24            the doctor come back and testify again, after a

 25            motion?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page23
                                                06/14/21    of 898
                                                         Page  20 of 269
                                                                         1041
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 19
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MS. MITCHELL:   Look, just because you

  3            did not do your job in getting all the exhibits

  4            marked and to us doesn't mean I'm going to allow the

  5            doctor to answer a question that he is not capable of

  6            answering.    So maybe we can try to work this out so

  7            that you can get what you need, but the doctor is not

  8            put in an unfair position.    Do you want to go through

  9            certain pages?

 10                             MR. GINSBERG:   Who is speaking please?

 11                             MS. MITCHELL:   Leah Mitchell, the

 12            attorney representing Dr. Edge.

 13                             BY MR. GINSBERG:    (Cont'g.)

 14                             Q.   Okay.   You can go ahead and

 15            answer, Doctor.    She cannot advise you not to answer

 16            the question.

 17                             A.   I don't understand your question.

 18                             Q.   All right.    We'll save that for

 19            --.

 20                             A.   Can you rephrase it?.

 21                             Q.   We’ll save that for the next

 22            deposition.

 23                             MS. MITCHELL:   I am not going to--         if

 24            you want to make a motion to bring him back, fine,

 25            but I will not agree to him coming back and I



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page24
                                                06/14/21    of 898
                                                         Page  21 of 269
                                                                         1042
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 20
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            certainly can direct him not to answer a question

  3            that is completely improper.

  4                             MR. GINSBERG:    What is the purpose of

  5            your --?

  6                             MS. MITCHELL:    If you want dig in your

  7            heels and waste more time, that's your choice.           But

  8            --

  9                             MR. GINSBERG:    Why don’t -- why don’t

 10            you state --

 11                             MS. MITCHELL:    It hasn’t --

 12                             MR. GINSBERG:    -- why don’t you state

 13            for the record --.

 14                             MS. MITCHELL:    -- on the record.       You

 15            have been given --.

 16                             MR. GINSBERG:    Why don't you state for

 17            the record the basis of your objection and let's see

 18            if it's privileged.

 19                             MS. CALABRESE:    Can I speak for one

 20            moment?

 21                             MS. MITCHELL:    Yeah.

 22                             MS. CALABRESE:    I think the exhibit is

 23            on the screen.    And I thought the stenographer just

 24            marked it as -- as number one.      Or Ginsberg Number

 25            One, is that correct, Adriana (phonetic spelling)?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page25
                                                06/14/21    of 898
                                                         Page  22 of 269
                                                                        1043
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 21
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           THE REPORTER:    Yes.

  3                           MS. CALABRESE:    Adriana.     Is that

  4            correct, Annette?

  5                           THE REPORTER:    Yes, it is, and I can

  6            scroll down if you need me to.

  7                           MS. CALABRESE:    Okay.

  8                           MS. MITCHELL:    Okay.

  9                           MS. CALABRESE:    Okay, sir can you see

 10            this?

 11                           MS. MITCHELL:     And how many pages is

 12            this?

 13                           MS. CALABRESE:     Is that the whole

 14            chart?

 15                           MS. MITCHELL:     Annette, how many pages

 16            is this?

 17                           THE REPORTER:     I believe it's eighty

 18            something.

 19                           MR. GINSBERG:     Eighty something.

 20                           MS. CALABRESE:     Okay.   So --.

 21                           THE REPORTER:     Eighty-six.

 22                           MS. CALABRESE:     So I forget the name

 23            of Dr. Edge's attorney.   What is your name again,

 24            ma'am?

 25                           MS. MITCHELL:     Leah Mitchell.      And I



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page26
                                                06/14/21    of 898
                                                         Page  23 of 269
                                                                         1044
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 22
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            think this is an incomplete chart.      I'm not sure but

  3            it's not --

  4                             MR. GINSBERG:    Because of my error.

  5                             MS. MITCHELL:    -- the complete --

  6                             MS. CALABRESE:    Okay.   Hold on, hold

  7            on, hold on.    Hold on, guys, I'm still talking.         But

  8            Ms. Mitchell, would you like a moment to scroll

  9            through Ginsberg One to see if that would appease you

 10            as far as allowing Dr. Edge to answer this question?

 11            I think that maybe is the best way to get over this.

 12                             MS. MITCHELL:    Well, can I just get

 13            clarification?    Is that the complete chart that was

 14            submitted?

 15                             MS. CALABRESE:    This is the

 16            supplemental.

 17                             MR. GINSBERG:    It doesn’t matter.

 18                             MS. CALABRESE:    Hold on, Michael.

 19            Hold on.   This is the chart that we -- we received

 20            from Albany Med.    That's my -- that's my

 21            understanding of what Ginsberg One is.        I can tell

 22            you, to be perfectly honest, that the four of us

 23            attorneys received -- I mean, I have ten banker boxes

 24            full of documents.    Many of them are medical records.

 25            So I can't with a hundred percent certainty affirm



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page27
                                                06/14/21    of 898
                                                         Page  24 of 269
                                                                           1045
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 23
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            that this is everything.    But it's my understanding

  3            that Ginsberg One is the chart that we received from

  4            Albany Med.    So why don't you just take a look at it.

  5            See if you know this -- you know, this would satisfy

  6            you and then just, you know, when you're finished,

  7            come back on.    And we'll just go off the record and

  8            take a minute -- a moment break.

  9                             THE WITNESS:    Are you asking me -- us

 10            to see if it satisfies --?

 11                             MS. CALABRESE:    I'm asking your

 12            attorney to take a little bit with you.          And you may

 13            want to just mute yourself.      So we don't hear your

 14            conversation.

 15                             THE WITNESS:    What is that?       What am I

 16            looking at?     I don’t understand.

 17                             MS. CALABRESE:    She can explain it to

 18            you, Doctor.

 19                             THE WITNESS:    This is all -- that --

 20            that this is all --.

 21                             MS. CALABRESE:    If you refer to the

 22            screen, Ms. Mitchell, you'll be able to scroll on the

 23            actual exhibit that was marked.

 24                             MS. MITCHELL:    Okay.

 25                             MS. CALABRESE:    Go ahead and look at



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page28
                                                06/14/21    of 898
                                                         Page  25 of 269
                                                                         1046
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 24
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the one.

  3                             MS. MITCHELL:    I know the chart is

  4            more than eighty-six pages.

  5                             MR. GINSBERG:    It doesn’t matter.

  6                             MS. CALABRESE:    Hold on, Michael.

  7                             MR. GINSBERG:    It's doesn't matter.

  8                             MS. CALABRESE:    I don’t know.      Hold

  9            on.   I don't know.

 10                             MR. GINSBERG:    No, no, no.

 11                             MS. CALABRESE:    Okay.   Hold on one

 12            second, Michael.      I don't know what you have, Ms.

 13            Mitchell.     What you have on paper, all I -- all I can

 14            see is what's up on the screen.      So if you can --

 15                             MS. MITCHELL:    Yeah.

 16                             MS. CALABRESE:    -- look at that

 17            exhibit, just so we know we're looking at the same

 18            thing.     So just take a quick look at that.      And then

 19            you'll want to mute it so that we don't hear your

 20            conversations with Dr. Edge and then just come back

 21            to us.

 22                             THE REPORTER:    Do you want me to go

 23            off the record?

 24                             MS. CALABRESE:    Off the record for a

 25            moment until she's done.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page29
                                                06/14/21    of 898
                                                         Page  26 of 269
                                                                         1047
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 25
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           (Off the record)

  3                           (On the record)

  4                           THE REPORTER:    We're back on the

  5            record.

  6                           MR. GINSBERG:    Thank you.

  7                           BY MR. GINSBERG:     (Cont'g.)

  8                           Q.    Doctor, you recognize City of

  9            Troy Exhibit A of today's date as Albany Medical

 10            Center Hospital records?

 11                           A.    Yes.

 12                           Q.    And were those records made and

 13            kept in the ordinary course of Albany Medical Center

 14            Hospital business?

 15                           MS. MITCHELL:     I'm going to object to

 16            form.

 17                           A.    I don't understand -- I don’t

 18            understand the question.     Can you restate it?

 19                           BY MR. GINSBERG:      (Cont'g.)

 20                           Q.    Okay.    Were they made during the

 21            course of business of the hospital?

 22                           A.    Yes.    Yes.

 23                           Q.    Thank you.     Doctor, drawing your

 24            attention to September 24th, 2008 and when you first

 25            saw the patient, Matthew Thomas, can you describe to



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page30
                                                06/14/21    of 898
                                                         Page  27 of 269
                                                                         1048
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 26
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            us how he presented?

  3                             A.   Yes, he was minimally reactive.

  4            He was --.

  5                             Q.   What exactly was minimally

  6            reactive?

  7                             A.   He was -- he was not opening his

  8            eyes.   He was comatose.    He would only move his

  9            extremities to deep -- to -- to painful stimuli, his

 10            pupils were not reactive.      He was on a ventilator

 11            with a breathing tube in place.      He had I.V.'s in

 12            place, which were being used to administer

 13            medication.     His -- the remainder of the exam, I

 14            don't recall exactly.      And when I was looking for

 15            that page in my admission note, it is not -- it's not

 16            included.     I have the admission note, which is a

 17            combined note that the resident and I do -- I have

 18            the first page which is the title, position,

 19            admission history and physical with reconciliation.

 20            I have the first page that has the history on it.

 21            The second page which has laboratories on it, a third

 22            page which is a family social history and reviewed

 23            systems.     I have another page which shows an R.N.

 24            assessment, but the last pages which show my physical

 25            exam and my assessment are missing from this



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page31
                                                06/14/21    of 898
                                                         Page  28 of 269
                                                                        1049
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 27
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            particular document.

  3                             Q.   Do you have another document

  4            there, Doctor, that would refresh your recollection

  5            with regard to what your initial impression was?

  6                             A.   Well, I've just told you my

  7            initial impression, which was -- which I would be

  8            glad to repeat, but I have nothing to add to that.

  9                             Q.   Okay.   And, Doctor, what did you

 10            do at that time for Matthew Thomas if anything?

 11                             A.    We were working.   If I could use

 12            the vernacular, a full court press to try to keep

 13            Matthew alive.    His blood pressure was dangerously

 14            low.   We had to titrate, adjust the dopamine

 15            medication to try to keep his blood pressure and to

 16            keep him from dying.     He was very, very close to --

 17            to death from a cardiovascular point of view.         To say

 18            nothing about the fact that he neurologically

 19            appeared to be severely brain -- in several paths

 20            because his brain was clearly not functioning and

 21            making it impossible for him to breathe on his own

 22            adequately.   So we were basically in constant

 23            interaction with the patient to try to keep him from

 24            -- from dying and needing C.P.R.

 25                             Q.    And Doctor, do you recall whether



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page32
                                                06/14/21    of 898
                                                         Page  29 of 269
                                                                        1050
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 28
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            any family members were with Matthew Thomas at the

  3            time that he arrived at the hospital that you saw

  4            him?

  5                           A.   I don't recall.      I -- I -- I know

  6            from reviewing the chart that they were there

  7            eventually, but at what time I do not know.

  8                           Q.   And over the course of your

  9            career, approximately how many pediatric patients

 10            have you cared for in the Intensive Care Unit?

 11                           A.   Pretty tough -- thousands.

 12                           MS. MITCHELL:    You can give the

 13            approximate estimate.

 14                           THE WITNESS:    Three thousand, five

 15            thousand.

 16                           BY MR. GINSBERG:    (Cont'g.)

 17                           Q.   Thank you.    Doctor, as -- well,

 18            pursuant to the treatment of Matthew Thomas on or

 19            about September 21st, 2008, were consultations

 20            requested?

 21                           A.   Did I ever -- did I ever make a

 22            consult?

 23                           Q.   No, were consultations requested

 24            of other physicians with regard to Matthew's

 25            treatment?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page33
                                                06/14/21    of 898
                                                         Page  30 of 269
                                                                          1051
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 29
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.     Yes.

  3                           Q.     All right.    And who requested

  4            those consultations?

  5                           A.     I did.

  6                           Q.     Can you tell us what a

  7            consultation is?

  8                           A.     That's asking an attending

  9            physician to give their opinion regarding a patient.

 10                           Q.      And that would be a physician in

 11            a different practice area or focus, correct?

 12                           A.      Correct.

 13                           Q.      Someone who had a different skill

 14            set than you, correct?

 15                           MS. MITCHELL:       Form.

 16                           A.      I can't say they have a different

 17            skill set -- necessarily that varies, but it's

 18            definitely a different point of view, and a different

 19            set of credentials.

 20                           BY MR. GINSBERG:       (Cont'g.)

 21                           Q.      Different specialties, correct?

 22                           A.      Correct.

 23                           Q.      And do you recall what would have

 24            been the consultations you requested with regard to

 25            Matthew Thomas?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page34
                                                06/14/21    of 898
                                                         Page  31 of 269
                                                                        1052
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 30
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.   Ophthalmology, neurosurgery.           I

  3            think those might be the only two.

  4                           Q.   And why --?

  5                           A.   And hematology.

  6                           Q.   And Doctor, why did you call for

  7            ophthalmology consult?

  8                           A.   To look for the possibility of

  9            there being a traumatic brain injury that would be

 10            reflected in a retinal hemorrhage.

 11                           Q.    And at that point in time, was

 12            there any medical evidence which indicated to you

 13            that there was a potential for traumatic brain

 14            injury?

 15                           A.    There was no physical trauma

 16            except for a scratch that -- that was on the

 17            transport record.   However, in my experience a four-

 18            month-old who's unresponsive without clear

 19            explanation, trauma, and particularly non-accidental

 20            trauma needs to be in the differential.

 21                           Q.    Now, when you say differential,

 22            what are you referring to?

 23                           A.    A physician when they evaluate

 24            any patient creates a list of possible diagnoses and

 25            that list of possible diagnoses is called a



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page35
                                                06/14/21    of 898
                                                         Page  32 of 269
                                                                           1053
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 31
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            differential diagnosis.

  3                           Q.      All right.   And Doctor, on

  4            occasion we see in medical chart an entry R/O and

  5            then there's a list of ailments, is that a

  6            differential diagnosis?

  7                           A.      It could be, you know, the R/O

  8            means rule out.    So it may not be a complete

  9            differential diagnosis, it might be only referring to

 10            one particular diagnosis.

 11                              Q.   But that -- that's the basic

 12            structure where the physician is attempting to

 13            determine what the cause of the ailment is by ruling

 14            out certain conditions, correct?

 15                              A.   Correct.

 16                              Q.   And Doctor, you also indicated

 17            that you had called for a neurosurgery consult.             Why

 18            was that requested?

 19                              A.   For the same reasons as the

 20            ophthalmology, I was concerned that there may be

 21            trauma.   There was also a C.T. scan that showed

 22            subdural fluid --

 23                              Q.   Well that --

 24                              A.   -- collect -- a collection of

 25            fluid in the -- in the subdural space in the brain



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page36
                                                06/14/21    of 898
                                                         Page  33 of 269
                                                                         1054
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 32
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            and that would be consistent with a traumatic brain

  3            injury.

  4                           Q.   And Doctor, you also indicated

  5            that you called for a hematology consult, what was

  6            the purpose of that?

  7                           A.   The patient had problems with

  8            bleeding, with elevated clotting times and that was

  9            -- that was the reason for that.

 10                           Q.       And Doctor, if I could draw your

 11            attention to COT Exhibit A of today's date and ask

 12            you to review the ophthalmology consult report.           I’ll

 13            put that up next.

 14                           A.      Yes.

 15                           Q.      And, Doctor, drawing your

 16            attention to the report.      This is the report from the

 17            ophthalmologist?

 18                           A.      Yes.

 19                           Q.      And there's an entry -- it's all

 20            handwritten, correct?

 21                           A.      Yes.

 22                           Q.      And there's an entry under C.P.

 23            head, do you to see that?      It's in the middle of the

 24            page.

 25                           A.      Yes.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page37
                                                06/14/21    of 898
                                                         Page  34 of 269
                                                                        1055
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 33
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   And can you read that to us?

  3                            A.   Large bilateral, extra axial,

  4            fluid collections hyphen possibly subdural.

  5                            Q.   And what did you understand that

  6            to mean?

  7                            A.   That there was fluid outside of

  8            the brain, outside of the brain matter -- well,

  9            actually extra axial would be in the parenchyma.           But

 10            they say possibly subdural.    So they're describing

 11            fluid between the brain and the dura, which is the

 12            lining of the brain.

 13                            Q.   And is the -- is the existence of

 14            fluid in that portion of the skull consistent with

 15            head trauma?

 16                            A.   Yes, it could be.     It's not the

 17            only thing it could be but sometimes -- it does not

 18            say blood.   So, sometimes blood depending on the age,

 19            as I understand it, is easier to -- it's -- it’s

 20            sometimes difficult on C.T. scans to differentiate

 21            blood from old blood from a collection of spinal

 22            fluid.

 23                            Q.   And those are findings that are

 24            made by either radiologists or neurosurgeons

 25            reviewing CAT scans, correct?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page38
                                                06/14/21    of 898
                                                         Page  35 of 269
                                                                         1056
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 34
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.    Correct.   I -- I rely on the

  3            neurosurgeons and the radiologists to make those

  4            determinations.

  5                             Q.    And, Doctor, on the page of the

  6            document, the ophthalmologist consult report.          At the

  7            bottom of the page, there are pictures or sketches of

  8            eyes, correct?    They're up on the screen --

  9                             A.    At the back of the eye -- of the

 10            retina.

 11                              Q.   And the report indicates that in

 12            one of the eyes there was macular hemorrhage, is that

 13            correct?

 14                              A.   Correct.

 15                              Q.   Can you tell which eye that was?

 16                              A.   I am not positive about how they

 17            set this up, which is the right and which is the

 18            left.   I'm sure they have a convention but I'm not

 19            familiar with it.

 20                              Q.   And with regard to the -- to the

 21            other eye, can you read what the -- what the entries

 22            are?

 23                              A.   I'm not sure which is -- the left

 24            hand image --

 25                              Q.   Just the one farthest to the



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page39
                                                06/14/21    of 898
                                                         Page  36 of 269
                                                                        1057
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 35
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            right.   I just read the one on the left.

  3                            A.   The one on the right reads "inter

  4            retinal hemorrhage next to optic nerve" and then

  5            under that it says, hypo pigmented mass, and I can't

  6            read under that something rupture.

  7                            Q.   And what if any significance did

  8            that finding have?

  9                            A.   May I -- may I add?

 10                            Q.   Of course.

 11                            A.   May I read as well their

 12            conclusion under retinal hemorrhage?

 13                            Q.   Yes.

 14                            A.   There they say there is evidence

 15            of extensive retinal hemorrhage, intraretinal and

 16            possible subretinal and that would indicate --

 17            hemorrhage as you know means bleeding.       That would be

 18            -- to answer your next question which is what does

 19            that signify, that is a finding that's significant

 20            for violent -- for trauma to the brain.

 21                            Q.   And, Doctor, the macular

 22            hemorrhaging, the bleeding in the back of the eyes

 23            and the collection of fluid on the brain.        Those are

 24            both symptoms of Shaken Baby Syndrome, correct?

 25                            A.   The -- I would suggest that that



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page40
                                                06/14/21    of 898
                                                         Page  37 of 269
                                                                          1058
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 36
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            we would shy away from that term, and that my -- I

  3            don't use that term anymore.      I can only talk about

  4            it historically as you -- as you know probably better

  5            than I.   That particular term has been very

  6            controversial in the last ten years.        What I can say

  7            is that this is a significant finding, indicating, in

  8            almost all cases, that there's been trauma.

  9                            Q.    What --

 10                            MS. CALABRESE:      Can I -- I'm sorry,

 11            Michael, can I interrupt for a moment?         Can we use

 12            the term abusive head trauma, so that we all know

 13            what we're talking about?       Is that -- is that

 14            satisfactory to you, Doctor?

 15                            THE WITNESS:      No because I don't know

 16            that there's abuse.    All I know is that there's

 17            trauma.

 18                            MS. CALABRESE:      Okay.   Thank you.

 19                            THE WITNESS:      I don't know what caused

 20            it.

 21                            MS. CALABRESE:      Okay. Thank you.

 22                            THE WITNESS:      You know, if this child

 23            was in a, you know, high speed motor vehicle accident

 24            that could have caused it, and I don't have those

 25            details to determine if this is abusive, accidental,



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page41
                                                06/14/21    of 898
                                                         Page  38 of 269
                                                                         1059
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 37
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            or non-accidental as we refer to it in -- in the

  3            medical field.

  4                             BY MR. GINSBERG:   (Cont'g.)

  5                             Q.   Doctor, what type of head trauma

  6            would cause these conditions?

  7                             A.   The -- these conditions would be

  8            caused --

  9                             MR. KLEIN:   I’m just going to object

 10            to form.    You can answer.

 11                             A.   -- by the standard teaching and

 12            again, I point out that there's been controversy in

 13            the last ten years, the standard teaching and

 14            practice has been that this is caused by rapid --

 15            what we call acceleration-deceleration injury,

 16            whether it involves actually hitting something or

 17            not, it's something that doctors are -- are

 18            continuing to argue among themselves.       I -- the

 19            preponderance of -- of data at this point though,

 20            indicates that in order to cause this kind of

 21            acceleration, deceleration, there has to be impact as

 22            well.

 23                             BY MR. GINSBERG:   (Cont'g.)

 24                             Q.    Thank you, Doctor.     Doctor, was

 25            there anything else of significance within the



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page42
                                                06/14/21    of 898
                                                         Page  39 of 269
                                                                        1060
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                        Page 38
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            ophthalmology consult report with regard to Matthew

  3            Thomas's condition at that time, anything that you

  4            consider important?

  5                            A.    Well, I didn't -- some of the

  6            details of the neuro exam are important.        That I

  7            didn't mention that they're -- under E.O.M.s in the

  8            middle of the page.    They say there's no doll’s eyes,

  9            that is a very abnormal finding, which we had noted

 10            earlier.

 11                            Q.    What if anything did that

 12            indicate to you?

 13                            A.    That would indicate that there is

 14            severe injury to the brain stem.     And it's one of the

 15            things that we evaluate when we're determining

 16            whether the child is brain dead.     It was in our -- it

 17            was our concern and apparently shared.       Well, I won't

 18            go that far.   I misspoke.   I would be concerned about

 19            brain death or impending brain death, that absence of

 20            doll’s eyes.

 21                            Q.    And then if we could move to the

 22            next page.   And Doctor, if we look at the next page

 23            of COT Exhibit A of today's date, this is the

 24            neurosurgery consult report, correct?

 25                            A.    Correct.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page43
                                                06/14/21    of 898
                                                         Page  40 of 269
                                                                        1061
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 39
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   And could you tell us what the

  3            report indicates, the reason for the request was?

  4                            A.   It's very hard to read.

  5                            Q.   It says bilateral subdural

  6            hematoma, doesn’t it?

  7                            A.   C.T. head with I don't -- I don't

  8            know that could be -- S.D.H. would be subdural

  9            hematoma. Yes, I agree with you.     That's what that

 10            says.

 11                            Q.   Can you scroll down on the next

 12            -- the next document.   There we go.

 13                            MR. KLEIN:   The reason for the

 14            referral.

 15                            MS. CALABRESE:   Okay.

 16                            BY MR. GINSBERG:   (Cont'g.)

 17                            Q.   And then, where it says reason

 18            for request?

 19                            A.   Yes.

 20                            Q.   At the top.   Is that bilateral

 21            subdural hematoma acronym?

 22                            A.   I think S.P. status post S.D.H.,

 23            subdural hematoma.   But it could be the -- I don't

 24            know B.L. or S.P.

 25                            Q.   And then -- and then if we go



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page44
                                                06/14/21    of 898
                                                         Page  41 of 269
                                                                          1062
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 40
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            down to the first portion of the report, is that the

  3            history?

  4                             A.    There's a brief history which I

  5            just reviewed with you at the top.       Do you want me to

  6            try to read it?

  7                             Q.    Yes, please, if you can.

  8                             A.    Four-month-old with -- I can't

  9            read.   Six weeks transferred from O.S.H. outside

 10            hospital with -- I can't read, diarrhea, vomiting and

 11            intubated period.      I can't read, to A.M.C., I can't

 12            read and then the third line C.T. head with, and I --

 13            I guess that's D/L S.D.H. subdural hematoma.

 14                              Q.    Okay.   And this -- and this

 15            report was signed by the neurosurgeon, correct?

 16                              A.    Yes.

 17                              Q.    And do you know who that was?

 18                              A.    Dr. Jermaine is --.

 19                              Q.    Well, it's not what that looks

 20            like in there.

 21                              A.    Doctor -- it says -- it says that

 22            the transact consult was to Dr. Jermaine they put the

 23            -- and the resident’s note say D/U Dr. Jermaine,

 24            those bottom line on the left.       However, the actual

 25            attending signature is difficult to read.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page45
                                                06/14/21    of 898
                                                         Page  42 of 269
                                                                         1063
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 41
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.   Thank you, Doctor.      And if we go

  3            now to -- to the resident progress note E720 up in

  4            the top right-hand corner?

  5                             A.   Yes.

  6                             Q.   If you would just scroll down.

  7            Right there's fine.    Thank you.   And Doctor, drawing

  8            your attention to the resident progress note for

  9            Matthew Thomas, there's a section that says

 10            assessment and plans, correct?

 11                             A.   Yes.

 12                             Q.   And could you read to us what

 13            that states, just the typewriting portion?

 14                             A.   Assessment and plan four-month

 15            old male with bilateral subdural hematoma.

 16                             Q.   Can you tell us what a subdural

 17            hematoma is?

 18                             A.   It's a collection of blood

 19            between the brain and the dura which is the lining of

 20            the brain.

 21                             Q.   And is a subdural hematoma

 22            consistent with a traumatic brain injury?

 23                             A.   Yes.

 24                             MR. KLEIN:   Stating an objection to

 25            that question.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page46
                                                06/14/21    of 898
                                                         Page  43 of 269
                                                                            1064
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                           Page 42
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           BY MR. GINSBERG:        (Cont'g.)

  3                           Q.     And again if we can go to the

  4            next page.

  5                           A.     I probably don’t need to

  6            volunteer this.    Here that is not the only part.

  7                           MS. CALABRESE:       Michael, can I just

  8            --.

  9                           MR. GINSBERG:       Yes?

 10                              MS. CALABRESE:    Michael, can I just

 11            ask for it -- for the basis of his objection?

 12                              MR. GINSBERG:    Doesn't matter.

 13                              MS. CALABRESE:    I'm sorry?

 14                              MR. GINSBERG:    You can do anything you

 15            like, but it doesn't matter.

 16                              MR. KLEIN:   Yeah.      And --.

 17                              MS. CALABRESE:    I know.

 18                              MR. KLEIN:   For what it's worth.          It's

 19            what -- it's what Dr. Edge's counsel suggested that

 20            there are -- there are multiple things that is

 21            consistent with not just that -- so it’s an objection

 22            to the form of the question.

 23                              MS. CALABRESE:    Objection to the form.

 24                              MR. KLEIN:   So I’m sorry.

 25                              MS. CALABRESE:    Okay.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page47
                                                06/14/21    of 898
                                                         Page  44 of 269
                                                                           1065
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 43
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MR. KLEIN:    Yeah.

  3                           MS. CALABRESE:    Thank you.        I just

  4            wanted to know what, so to the form, thank you.

  5                           MR. KLEIN:    Yeah, all other objections

  6            is reserved for trials, it's my understanding.

  7                           MR. GINSBERG:    Yes, let's just go off

  8            the record for a second but I wasn't trying to insult

  9            you.

 10                           (Off the record)

 11                           THE REPORTER:    We're back on the

 12            record.

 13                           MR. GINSBERG:    All right.        Thank you.

 14                           BY MR. GINSBERG:      (Cont'g.)

 15                           Q.   And Doctor, we're now looking at

 16            the PICU attending note for date of service,

 17            9/22/2018, you see that?

 18                           A.   Yes, I have -- I have that.

 19                           Q.   And on that form, there's an

 20            identified problem list, correct?

 21                           A.   There's a what?

 22                           Q.   An identified problem list.

 23                           A.   Yes.

 24                           Q.   And can you read to us item

 25            number three on that list?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page48
                                                06/14/21    of 898
                                                         Page  45 of 269
                                                                           1066
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 44
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   C.T. scan shows bilateral

  3            subdural hematomas of varying age.

  4                             Q.   And can you also read entry eight

  5            in that list for us?

  6                             A.   A skull fracture noted on C.T.

  7            scan.

  8                             Q.   And Doctor, looking down at the

  9            neurologic under the assessment and plan, was it your

 10            opinion at that time that Matthew Thomas was brain

 11            dead?

 12                             A.    I wrote that he appears to be

 13            brain dead.   We did apnea testing this morning which

 14            showed no breathing despite a CO2 of ninety, repeat

 15            apnea testing tomorrow morning, but the patient

 16            appears to be brain dead, so yes.

 17                             Q.    Thank you.   Can we move on to the

 18            next page in that, the patient progress sheet?

 19                             MR. KLEIN:   I'm sorry, Michael, did

 20            you -- if I -- if -- if you didn't, it's fine, I just

 21            -- did you ask    for the doctor’s skull fracture

 22            finding or -- or you didn't?

 23                             MR. GINSBERG:   I did not.

 24                             MR. KLEIN:   Okay.

 25                             MR. GINSBERG:   Only that one.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page49
                                                06/14/21    of 898
                                                         Page  46 of 269
                                                                            1067
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                           Page 45
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            MR. KLEIN:      Thank you.

  3                            BY MR. GINSBERG:       (Cont'g.)

  4                            Q.      And can we scroll down just a

  5            little bit to the middle of the page in that?             Thank

  6            you.   And Doctor, showing you the patient progress

  7            sheet contained within COT Exhibit A of today's date,

  8            do you have that in front of you?

  9                            A.      I'm looking.

 10                            MS. MITCHELL:       Yeah, his next pages,

 11            PICU resident progress note, so we’ve got to search

 12            for what you want.

 13                            MR. GINSBERG:       Okay.

 14                            BY MR. GINSBERG:        (Cont'g.)

 15                            Q.      Look at -- it's a note from Dr.

 16            Waldman?

 17                            A.      Yeah, I can -- I see it there.            I

 18            -- I don't see it here.        I can -- I can read off --.

 19                            Q.      Okay.

 20                            A.      Read off --.

 21                            Q.      The screen     --read off the

 22            screen?    All right.    Doctor, do you see the notes in

 23            the 9/22/08?

 24                            A.      Yes.

 25                            Q.      And in the middle of the page,



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page50
                                                06/14/21    of 898
                                                         Page  47 of 269
                                                                          1068
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 46
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            there's an entry right there, A slash P, do you see

  3            that right in the middle?

  4                             A.    Yes.

  5                             Q.    What did --

  6                             A.    I -- I don't see who wrote it.

  7                             Q.    What does A slash P stand for?

  8                             A.    Assessment and Plan, but we need

  9            to see who -- who wrote that.      We need to go the top

 10            of that note or you don't care about that, who wrote

 11            it.

 12                             Q.     Let's scroll up for a second to

 13            the doctor note.

 14                             A.     Okay.   Neurosurgery.     Okay.

 15                             Q.     Okay.   Is this a neurosurgery

 16            note based on Doctor Waldman?

 17                             A.     It looks like it's the

 18            neurosurgery resident note, and the attending note is

 19            the next one.

 20                             Q.     Okay.   Looking at the Assessment

 21            slash Plan A/P entry, can you read the -- the first

 22            line, Doc?

 23                             A.     Can you go up further so I can --

 24            I can read more?      Up all the way please.      Thank you.

 25            The Assess -- A slash P assessment plan four-month-



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page51
                                                06/14/21    of 898
                                                         Page  48 of 269
                                                                        1069
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 47
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            old male with bilateral subdural hematoma and

  3            evidence of increased I.C.P.

  4                            A.   What's I.C.P.?

  5                            Q.   Intracranial Pressure.

  6                            And what -- what is the significance

  7            --?

  8                            A.   You -- you don't want me to read

  9            the rest of the note?

 10                            Q.    Sure, go ahead.

 11                            A.    Evaluate for possible brain death

 12            today.    No neuroso -- no neuro -- neurosurgical at

 13            this point -- it must be no neurosurgical

 14            intervention at this point.

 15                            Q.    Doctor, what if any significance

 16            did the finding of intracranial pressure have?

 17                            A.    It can be any number of -- of

 18            things.    It could be blood collecting in the brain.

 19            It could be swelling of the brain itself.        It could

 20            be increase in the size of the ventricles from spinal

 21            fluid.

 22                            Q.    And could the intracranial

 23            pressure have been caused by the subdural hematomas?

 24                            A.    Yes.

 25                            Q.    As fluid collects in that area



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page52
                                                06/14/21    of 898
                                                         Page  49 of 269
                                                                         1070
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 48
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            --.

  3                             MR. KLEIN:   I'm just going to -- I'm

  4            sorry I'm just going to note an objection to form to

  5            that question, sorry I'm doing it after the question.

  6                             BY MR. GINSBERG:   (Cont'g.)

  7                             Q.   Doctor, as fluid collects in that

  8            area of the skull and near the brain, that puts

  9            additional pressure on the brain, correct?

 10                             A.   Yes.

 11                             Q.   All right.    And Doctor, if we

 12            look at the next entry, can you scroll down a little

 13            bit so we can see this whole entry at the bottom,

 14            pause it, thank you.

 15                             Can you see the 9/22/08 N.S. attending

 16            note, Doctor?

 17                             A.   Yes.

 18                             Q.   And do you know who the -- strike

 19            that, please.    And twelve thirty, in the left-hand

 20            column would be the time that PICU would have been

 21            entered into the chart, correct?

 22                             A.   Yes.

 23                             Q.   And can you read the first

 24            sentence?

 25                             A.   Four-month-old, maybe B --.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page53
                                                06/14/21    of 898
                                                         Page  50 of 269
                                                                         1071
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 49
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.   Male?   Male symbol?

  3                             A.   There's a male -- before the male

  4            symbol, there's a B, I'm not -- I'm not sure, ad --

  5            admitted and transferred from Samaritan Hospital in

  6            deep coma, history (from chart) of several days,

  7            watery diarrhea, worsening over two-day period, mom

  8            noted unresponsiveness on day of admission and called

  9            E.M.S.   Past medical history of NICU stay at A.M.C.H.

 10            Secondary, something birth --.

 11                             MS. MITCHELL:    Is that twin?

 12                             THE WITNESS:    Oh, twin birth and

 13            waking issues.    Exam, no bruises, scalp swelling seen

 14            -- no bruising, scalp swelling seen, pupils mid

 15            position and fixed, corneal, gag absent, no

 16            spontaneous respirations, no movement to deep vein

 17            stimulus.

 18                             BY MR. GINSBERG:    (Cont'g.)

 19                             Q.   Okay.   And thank you, Doctor.         In

 20            that can you scroll down to the next page?         That's

 21            it, thank you.    And Doctor, the note continues on and

 22            indicates retinal hemorrhages, correct?

 23                             A.   Yes.

 24                             Q.   As you indicated they were

 25            demonstrating on the -- the ophthalmic consult,



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page54
                                                06/14/21    of 898
                                                         Page  51 of 269
                                                                         1072
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 50
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            correct?

  3                            A.   Yes.

  4                            Q.   And there is a C.T. entry,

  5            correct?

  6                            A.   Yes.

  7                            Q.   And what does that refer to?

  8                            A.   Bilateral --.

  9                            Q.   What does -- what does the C.T.

 10            refer to?    CAT scan?

 11                            A.    CAT scan.

 12                            Q.    Okay.    And what -- what did the

 13            entry say?

 14                            A.    Bilateral -- I'm not sure

 15            hemispheric S.T.H.s subdural hematoma.

 16                            Q.    Well now, bilateral means it's on

 17            both sides of the child’s head, correct?

 18                            A.    Yes.    Marked separation of

 19            sutures, no fracture seen.

 20                            Q.    What if any import does the

 21            marked separation of suture indicate?

 22                            A.    With increasing of -- of the

 23            brain size, the places where the different bones in

 24            the brain can -- can pull apart.

 25                            Q.    And doctor, the next entry is



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page55
                                                06/14/21    of 898
                                                         Page  52 of 269
                                                                        1073
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 51
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            impression, correct?

  3                            A.   Yes.

  4                            Q.   And can you read for us the

  5            second entry in there in that entry beginning with,

  6            looks like bilateral?

  7                            A.   Bilateral subdural hematomas

  8            without explanation.

  9                            Q.   Is there any significance to the

 10            reference to without explanation?

 11                            A.     I -- I don't think I can comment

 12            on that, that would be Dr. Waldman.

 13                            Q.     But to you what, if any import

 14            would a bilateral subdural hematoma without

 15            explanation be?

 16                            A.     My concern would be that of a

 17            child abuse.

 18                            Q.     And who signed this 9/22/08 note

 19            entered at twelve thirty in patient progress sheet of

 20            COT Exhibit A of today's date?

 21                            A.     Who signed the note?

 22                            Q.     Yes, who entered that?

 23                            A.     I believe that's Dr. Waldman.

 24                            Q.     And Dr. Waldman was at that time

 25            a neurosurgeon, correct?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page56
                                                06/14/21    of 898
                                                         Page  53 of 269
                                                                         1074
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 52
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   Yes.

  3                             Q.   And you previously told us that

  4            neurosurgeons -- strike that.

  5                             Doctor, if I can draw your attention

  6            to the physician admission history and physical with

  7            medication reconciliation document, it looks like

  8            this in that.

  9                             A.   I got it.

 10                             Q.   Perhaps -- why don't we go off

 11            the record for a second while we find that?

 12                             (Off the record, 11:21 a.m. to 11:21

 13            a.m.)

 14                             THE REPORTER:    Okay.   We're on the

 15            record.

 16                             BY MR. GINSBERG:    (Cont'g.)

 17                             Q.   Are you all set, Doctor?

 18                             A.   Yes.

 19                             Q.   Doctor, showing you this page of

 20            the physician admission history and physical with

 21            medication reconciliation with the 9/21/08 fourteen-

 22            hundred-hour entry at the bottom of it.        You see

 23            that?

 24                             A.   Yes, I -- we don't have that

 25            here, but I -- I can see it up there.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page57
                                                06/14/21    of 898
                                                         Page  54 of 269
                                                                           1075
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 53
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   See at the screen?

  3                            A.   Yes.

  4                            Q.   Can we scroll down a little bit

  5            in that?   Thank you.    All right.     There is a neuro

  6            entry here, correct?

  7                            A.   Yes.

  8                            Q.   Can you read that neuro entry?

  9                            A.   Bilateral subdural hematoma on

 10            head C.T. read by radiology just called in and --.

 11                            Q.      Do you understand that to mean

 12            that radiology called in with that report?

 13                            A.      Yes.

 14                            Q.      And who signed this note?

 15                            A.      Well, there's two parts, the --

 16            the left side is signed by the resident, Doctor -- it

 17            looks like Dr. Valliani, and the right side is signed

 18            by me.

 19                            Q.      So it was Dr. Valliani who

 20            received the call from neurologist?

 21                            A.      I don't know.

 22                            Q.      But it's his note, correct?

 23                            A.      It's his note.

 24                            Q.      Okay.

 25                            A.      It's -- it's both of our notes.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page58
                                                06/14/21    of 898
                                                         Page  55 of 269
                                                                         1076
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                         Page 54
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   Okay.

  3                            A.   I'll -- my attestation on the

  4            right means that I've read his note and -- and I'm

  5            agreeing with what's in it.

  6                            Q.   And can we go to this C.T. scan

  7            report?   Six -- I thought it's the fifth page from a

  8            doc -- oh, no, it's not it’s the third page from a

  9            doc.   Yeah, this one.   Doctor, drawing your attention

 10            to the C.T. scan report.

 11                            A.   No, it's the same.

 12                            Q.   Looks like it is dated 9/21/08 at

 13            twelve forty-eight, you see that?     It's on the screen

 14            if you can't find it?

 15                            A.   Yes, I have -- I have it.

 16                            Q.   And under discharge planning, you

 17            can scroll down a little in that.

 18                            A.   I mean I -- I don't know.        I

 19            thought -- I thought you're looking at the C.T. scan,

 20            you're looking at discharge planning?

 21                            Q.   It's a C.T. scan report, it's on

 22            the screen.

 23                            MR. GINSBERG:   Annette, can you scroll

 24            up to the top so the doctor can see the document?

 25                            MS. MITCHELL:   Yes, sorry, --



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page59
                                                06/14/21    of 898
                                                         Page  56 of 269
                                                                          1077
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 55
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           BY MR. GINSBERG:      (Cont'g.)

  3                           Q.    Can you identify what the

  4            document is, Doctor?

  5                           A.    No, I -- I can't.       I do not know.

  6                           Q.    It's a laboratory -- it's a

  7            laboratory result.

  8                           A.    Actually that -- it -- the actual

  9            result -- C.T. scan results looks different than

 10            that.   This looks like it's been -- has the actual

 11            resort -- report lifted and placed and -- and perhaps

 12            a social worker report, but the actual C.T. report

 13            has a title on it and radiology.       I can hold it up if

 14            you wanted to see it, but it --.

 15                           Q.      No, no Doctor, drawing -- drawing

 16            your attention to --.

 17                           A.      It looks -- it looks like this.

 18                           Q.      Drawing your attention to the

 19            document that's on the screen, the upper right-hand

 20            corner says, laboratory results report, correct?

 21                           A.      Yes.

 22                           Q.      Okay.

 23                           MR. GINSBERG:       And Annette if you

 24            would just scroll down to the bottom.

 25                           Q.      (Cont’g.)    This one says page



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page60
                                                06/14/21    of 898
                                                         Page  57 of 269
                                                                           1078
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 56
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            twenty-two of twenty-three, correct?

  3                           A.     It says that it's a -- a report

  4            from case management.

  5                           Q.     Okay.   Now down at the very

  6            bottom, it says, page twenty-two of twenty-three,

  7            correct?

  8                           A.     Yes.

  9                           Q.     Okay.   And under the discharge

 10            planning entry, there's an interaction entry,

 11            correct?

 12                           A.      Yes.

 13                           Q.      9/21/08 at fifteen zero four?

 14                           A.      Yes.

 15                           Q.      Could you read that for us?

 16                           A.      Called to PICU by peds M.D.

 17            Daniel Dunnett regarding this baby.         He was

 18            apparently transferred from Samaritan Hospital, has

 19            had C.T. here which showed a bleed, possible skull

 20            fracture (awaiting confirmation of this).

 21                           Q.      But that --.

 22                           A.      This is assess --.

 23                           Q.      Go ahead.

 24                           A.      Per M.D., this is a suspect

 25            injury, period.     Patient's mother -- (Wilhemina Hicks



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page61
                                                06/14/21    of 898
                                                         Page  58 of 269
                                                                        1079
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 57
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            accompanied patient then apparently fainted and was

  3            sent to the E.D. for evaluation, limited info

  4            available.   Per report there are six other children

  5            in the home including this baby's twin.       C.P.S.

  6            contacted and the case was taken by a worker, Zewdie

  7            Tibebu).   Will have S.W. follow up in a.m.

  8                            Q.   Doctor, were you the quote, M.D.

  9            who indicated that this is a suspect injury?

 10                            A.   Was I the doctor that indicated

 11            what?

 12                            Q.   That this was a suspect injury?

 13                            A.   I -- I'm not -- I don't know if I

 14            used that -- that language as -- as we just read in

 15            my admission, I was concerned about non-accidental or

 16            accidental trauma.

 17                            Q.   And Doctor, at the time when you

 18            were caring for Matthew Thomas, did you, yourself,

 19            render a diagnosis that resulted in suspect injury?

 20                            A.   I -- I gave my diagnosis which we

 21            just read a few minutes ago, yes, in the admission.

 22                            Q.   Okay.   Could you tell us again

 23            what it was?

 24                            A.   I would like to read it rather

 25            than --



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page62
                                                06/14/21    of 898
                                                         Page  59 of 269
                                                                         1080
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 58
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   Sure.

  3                            A.   -- try to remember exactly.

  4                            Q.   Sure.

  5                            A.   I don't have that sheet, so you'd

  6            have to go back to that, the last one that you had

  7            which was the history and physical and medical.           I do

  8            have from the next day that -- that gave my

  9            assessment.

 10                            Q.   Okay.     We don't -- we don't need

 11            to specifically respond to it in the document.           If

 12            you could tell us what your impression was.

 13                            A.   My impression was that that there

 14            was subdural hematomas, perhaps of different ages in

 15            -- indicative of rapid acceleration, deceleration

 16            injury, perhaps hitting a object causing subdural --

 17            cause of which could be either at an accident or

 18            child abuse.

 19                            Q.   And did you also consider the

 20            retinal bleeding in formulating a diagnosis?

 21                            A.   Yes, and -- and the state of the

 22            patient's mental state.      But again, to say whether

 23            this was accidental or non-accidental, I -- I -- I

 24            wasn't able to do.   I am the physician.       I could only

 25            say that I was suspicious of trauma because I don't



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page63
                                                06/14/21    of 898
                                                         Page  60 of 269
                                                                        1081
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 59
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            know.   But I do have the history that there was not

  3            any accident reported, that it was not in a motor

  4            vehicle accident.

  5                            So the preponderance of evidence would

  6            be that this was not an accidental, but again -- and

  7            that's -- that would be something that is not in my

  8            area of expertise, that would be the police.

  9                            Q.   Dr. Edge, prior to treating

 10            Matthew Thomas, had you ever treated a -- a child who

 11            had been the victim of child abuse wherein the parent

 12            or care -- or caregiver denied causing any injury to

 13            the child?

 14                            A.   Yes.

 15                            Q.   I didn't hear what your response

 16            was, I'm sorry.

 17                            A.   Yes, I've cared for children with

 18            child abuse where parents denied abuse.

 19                            Q.   Now, Doctor, drawing your

 20            attention in that if we could, discharge transmission

 21            plan, it's about seventeen pages from the front in

 22            that.   Perfect, thank you.   Okay.   And Doctor, I'd

 23            like to ask you if you would read to yourself the

 24            initial assessment slash comment portion.

 25                            A.   Initial assessment comment



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page64
                                                06/14/21    of 898
                                                         Page  61 of 269
                                                                          1082
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 60
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            portion, you want me to read that?

  3                             Q.     Yes.

  4                             A.     DeLameter, Adair, social worker,

  5            9/21/08, twenty-three forty-four, more numbers S.W.

  6            social worker was called by PICU staff to meet with

  7            patient's mother to provide emotional support.

  8            Patient is a four-month-old boy transferred to PICU

  9            from Samaritan Hospital on full life support.

 10                             His mother stated she found him limp

 11            when she got up this a.m. and patient was taken to Sa

 12            -- Samaritan with complaint of respiratory distress.

 13            Patient has bilateral subdural hematomas and is in

 14            extremely critical condition, a report to C.P.S. was

 15            made ear -- earlier.

 16                             Social worker met with patient's

 17            mother and her brother and the on-duty chaplain

 18            responded also.       Social worker stayed with patient's

 19            mother when Dr. Edge met with her to explain that

 20            patient's injuries are life threatening and he does

 21            not believe patient will live.

 22                             At the request of Dr. Edge, social

 23            worker contacted the Troy Police and at twenty-one

 24            ten Detective Ron Fountain responded to the PICU desk

 25            phone numbers.    Social worker also spoke twice to on-



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page65
                                                06/14/21    of 898
                                                         Page  62 of 269
                                                                        1083
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 61
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            call C.P.S. worker, Andrea Fandholt to explain

  3            patient's grave condition and extremely poor

  4            prognosis.

  5                             She confirmed that patient's six sib

  6            -- siblings, including his twin brother had been

  7            removed from the home and explained that there was an

  8            open C.P.S. case on patient.    She said the case

  9            worker is Jasper Esposito, phone number.

 10                             Social worker met with charge nurse

 11            and peds resident.    There is to be no visitation

 12            other than immediate family and that visitation must

 13            be supervised.    Social worker explained to charge

 14            nurse and nurse caring for patient that a report must

 15            be made to New York State Child Abuse and Neglect

 16            Hotline, phone number, if patient expires, the phone

 17            and form were left on the front of patient's chart.

 18            Adair DeLamater.

 19                             Q.   Doctor, was -- well, C.P.S

 20            referred to in that entry is Child Protective

 21            Services, correct?

 22                             A.   Yes.

 23                             Q.   And did you direct that Albany

 24            Medical Center Hospital personnel contact C.P.S. with

 25            regard to this matter?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page66
                                                06/14/21    of 898
                                                         Page  63 of 269
                                                                        1084
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 62
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.    I don't remember if I made the

  3            original referral or if it was done earlier.

  4                            Q.    Okay.   Do you feel that it was

  5            appropriate to report this matter to C.P.S.?

  6                            A.    It's -- it's required, yes.

  7                            Q.    And Doctor, the -- the entry also

  8            indicates that at your request, Troy Police

  9            Department was contacted with regard to this matter,

 10            correct?

 11                            A.    Yes.

 12                            Q.    And why was that, Doctor?

 13                            A.    With the concern of child abuse,

 14            that would be assault and that is a police matter.

 15                            Q.    And Doctor, prior to formulating

 16            the diagnosis, and directing that Troy Police being

 17            contacted, did you have any discussion with regard to

 18            Matthew Thomas’s condition with any member of the

 19            Troy Police?

 20                            A.    I don't remember.

 21                            Q.    If you did, would it have been in

 22            any note or record?

 23                            MR. KLEIN:    Objection to form.      You

 24            can answer.

 25                            A.    I don't know.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page67
                                                06/14/21    of 898
                                                         Page  64 of 269
                                                                        1085
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 63
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           BY MR. GINSBERG:    (Cont'g.)

  3                           Q.   Doctor, did any discussion or

  4            interaction you had with any member of the Troy

  5            Police Department influence the diagnosis that you

  6            rendered in any way?

  7                           A.   I don't know the answer to that.

  8                           Q.   Who would have known the answer

  9            to that if you don't?

 10                           A.      Who would know whether what I

 11            said to the police influence them?

 12                           Q.      That -- that wasn't my question.

 13            Let -- let me ask the question again, Doctor.         The

 14            question was prior to rendering your diagnosis with

 15            regard to Matthew Thomas, did any member of the Troy

 16            Police Department influence you in rendering that

 17            finding?

 18                           A.      Not that I can recall.     I -- I

 19            don't recall any contact before the discussion

 20            referred to on this discharge transition plan.

 21                           Q.      So am I correct in my

 22            understanding that you rendered your diagnosis and

 23            findings and then after the Troy Police Department

 24            will be contacted, is that correct?

 25                           A.      Yes, and -- and -- that's what it



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page68
                                                06/14/21    of 898
                                                         Page  65 of 269
                                                                         1086
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 64
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            says, that I wouldn't -- I've asked them to contact

  3            the police that the police had -- had already been

  4            contacted.

  5                             MS. SPENCER:    Michael, how much longer

  6            do you have?    I just want to see if -- now would be a

  7            good time for a restroom break?

  8                             MR. GINSBERG:    Why don't just give me

  9            another five minutes or so and I think I'll be done.

 10                             MS. SPENCER:    Okay.   Thank you.

 11                             BY MR. GINSBERG:    (Cont'g.)

 12                             Q.   All right.    Doctor, do you know

 13            if the Troy Police Department was contacted by Child

 14            Protective Services with regard to Matthew Thomas's

 15            condition?

 16                             A.   I -- I don't know anything that's

 17            not in that note.

 18                             Q.   All right.    Did there come a time

 19            when you advised the -- any member of the Troy Police

 20            Department as to your diagnosis and findings with

 21            regard to Matthew Thomas?

 22                             A.   I met with the -- I met with

 23            them, yes.

 24                             Q.   And -- and what's the sum and

 25            substance --?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page69
                                                06/14/21    of 898
                                                         Page  66 of 269
                                                                        1087
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 65
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.   And -- and not -- not today --

  3            what's that?

  4                            Q.   Do you recall the sum and

  5            substance of what was said?

  6                            A.   Not word for word.

  7                            Q.   Did you advise them of your

  8            findings?

  9                            A.   Yes.

 10                            Q.   And at any time, did any member

 11            of the Troy Police Department attempt to get you to

 12            change your -- either your diagnosis or findings with

 13            regard to Matthew Thomas?

 14                            A.   No.

 15                            Q.   And Doctor, did you ever have any

 16            discussions with a Dr. Sikirica with regard to

 17            Matthew Thomas's condition?

 18                            A.   I don't recall.

 19                            Q.   Do you know who Dr. Sikirica is?

 20                            A.   I believe he's a pathologist

 21            working for the -- working for the Attorney --

 22            Attorney General's Office, I'm not -- I don't know

 23            for sure.   But I -- I -- I -- I know that he is a

 24            pathologist.   I -- I have had interactions with him

 25            in the past.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page70
                                                06/14/21    of 898
                                                         Page  67 of 269
                                                                          1088
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 66
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.      And Doctor, did you have any

  3            discussions with Dr. Waldman, with regard to the care

  4            and treatment of Matthew Thomas when he was at Albany

  5            Medical Center Hospital?

  6                           A.      Yes.   I -- I don't recall the

  7            exact, but I -- I did talk to all of the consultants

  8            that I consult.

  9                           Q.      And can we just bring up last --

 10            last couple questions, Doctor..      Can we bring up on

 11            that the deposition of a witness slip of Dr. Edge?

 12                              THE REPORTER:   Yes.

 13                              MR. GINSBERG:   I believe the date at

 14            the bottom is 9/22/08.

 15                              THE REPORTER:   Is it -- yes, he --.

 16                              MR. GINSBERG:   I don't -- they may be

 17            a separate -- there we go, thank you.        Is it part of?

 18                              THE REPORTER:   No, it's -- it's

 19            different.

 20                              MR. GINSBERG:   Okay.    Can we mark this

 21            as COT Exhibit B for today's date?

 22                              THE REPORTER:   Yes.

 23                              BY MR. GINSBERG:   (Cont'g.)

 24                              Q.   And Doctor, drawing your

 25            attention to what's been marked as COT Exhibit B with



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page71
                                                06/14/21    of 898
                                                         Page  68 of 269
                                                                            1089
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                           Page 67
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            today's date.    I ask you if that's the deposition of

  3            a witness that you signed on or about September 22nd,

  4            2008?

  5                             A.   Yes, I have it.

  6                             Q.   And Doctor, is the information

  7            that's contained in that deposition of a witness

  8            accurate as far as you know?

  9                             A.   Yes.

 10                             Q.   I have no further questions,

 11            thank you.

 12                             MR. GINSBERG:    You want to take a

 13            quick break?

 14                             MS. SPENCER:    Can you just -- on that,

 15            can you just allow us to view that entire exhibit,

 16            please?   I don't know if you can make that screen

 17            bigger, oh, that's fine, that's fine.          What number

 18            did you put on it?

 19                             MR. GINSBERG:    B.

 20                             THE REPORTER:    It's B.

 21                             MS. SPENCER:    You're calling it Troy

 22            E?

 23                             MR. GINSBERG:    C -- COT the Troy COT

 24            Exhibit B of today's date.

 25                             THE REPORTER:    B as in boy.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page72
                                                06/14/21    of 898
                                                         Page  69 of 269
                                                                         1090
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 68
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            MS. SPENCER:    B as in boy, thank you.

  3            Are we taking a short break?

  4                            MR. GINSBERG:    Yeah, I think -- I

  5            think Christina had wanted to take a quick break.

  6                            MS. SPENCER:    Yes, please.      Just, you

  7            know, ten minutes to use the restroom.        Who's up

  8            next?

  9                            MR. KLEIN:   You are.     Why don't we

 10            come back at noon?   Does that make sense for

 11            everybody?

 12                            MS. SPENCER:    Yeah, you -- you -- you

 13            can skip me.

 14                            THE REPORTER:    Okay.    I'm going to go

 15            off the record.   We're off the record.

 16                            (Off the record, 11:46 a.m.)

 17                            (On the record, 12:11 p.m.)

 18                            THE REPORTER:    We're on the record.

 19                            CROSS EXAMINATION

 20                            BY MR. KLEIN:

 21                            Q.   Good afternoon, Dr. Edge, and

 22            counsel.   I'm Brett Klein and I represent Adrian

 23            Thomas in both the Court of Claims and in the

 24            District Court Action surrounding the prosecutions

 25            that were brought against him.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page73
                                                06/14/21    of 898
                                                         Page  70 of 269
                                                                        1091
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 69
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             And I just want to -- we're going to

  3            ask you some additional questions today.        Try not to

  4            ask you what you've already been asked, at least too

  5            much, about your involvement in this matter.

  6                             You understand that you took an oath

  7            to tell the truth today and as you would take in a

  8            court of law.    Are you aware of that?

  9                             A.   Yes.

 10                             Q.   Is there any reason why you can't

 11            testify fully and accurately today?

 12                             A.   No.

 13                             Q.   Okay.   Do you remember your

 14            involvement in this incident?

 15                             A.   Yes.

 16                             Q.   And have you had an opportunity

 17            to refresh your recollection of anything that you may

 18            not have remembered by looking at the Albany Medical

 19            Center chart among other things?

 20                             A.   Yes.

 21                             Q.   What else have you looked at to

 22            refresh your recollection of -- of this incident?

 23                             A.   The two documents.     One is the --

 24            the deposition -- the transcript of the 2009 trial

 25            and the other is that statement, that we just went



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page74
                                                06/14/21    of 898
                                                         Page  71 of 269
                                                                        1092
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 70
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            over, which was a deposition, I believe.        The voice

  3            and handwritten one.

  4                             Q.   The supporting deposition that

  5            you signed for the police.    Is that what you're

  6            referring to?

  7                             A.   I'm not sure.   The one that we

  8            just went over last.    It doesn't say anything about

  9            police.    It says that deposition of a witness, State

 10            of New York, County of Rensselaer, City of Troy

 11            Court.

 12                             Q.    Did you see at the bottom it’s --

 13            indicates a police -- that it was signed for a police

 14            officer?

 15                             A.    Is that -- is that the sergeant?

 16                             Q.    Yes.

 17                             MR. GINSBERG:   Please note my

 18            objection to the form of that last question.

 19                             BY MR. KLEIN:   (Cont'g.)

 20                             Q.    Let me -- do you have any doubt

 21            that you -- you prepared this at the request of a --

 22            of a Troy Police Officer?

 23                             A.    I don't independently remember

 24            and the -- and -- and it was actually written, it's

 25            not my handwriting.     I signed it, which means I agree



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page75
                                                06/14/21    of 898
                                                         Page  72 of 269
                                                                         1093
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 71
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            with it.

  3                             It looks like the social worker or

  4            that was -- in the office was -- was the one that

  5            actually wrote that out and then I made corrections

  6            and signed it.

  7                             I can't tell you that I'm -- that --

  8            that it was for the police.      But I take your word for

  9            it.

 10                             Q.   Okay.

 11                             MS. CALABRESE:    Please have that

 12            exhibit displayed for me.

 13                             MR. KLEIN:   I'm not getting into it

 14            right now.   I'm just reviewing the universe of

 15            documents he's looked at and then at some point I'll

 16            put it up and we'll ask questions about it.

 17                             MS. CALABRESE:    Okay.

 18                             BY MR. KLEIN:    (Cont'g.)

 19                             Q.   Other than your -- with -- object

 20            -- withdrawn, I'm sorry.

 21                             You said that you reviewed your

 22            testimony.   Would that be your testimony from the

 23            trial of Adrian Thomas from 2009?

 24                             A.   Yes.

 25                             Q.   Other than that testimony and



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page76
                                                06/14/21    of 898
                                                         Page  73 of 269
                                                                        1094
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 72
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            other than today, have you given any other testimony

  3            related to this matter?

  4                           A.   Not that I know of.       Not that I

  5            can remember, I should say.

  6                           Q.   And just for the avoidance of

  7            doubt, are you aware that there was a retrial of

  8            Adrian Thomas in 2014 or around that time?

  9                           MR. GINSBERG:    Object to the form.

 10                           A.   I -- I wasn't aware of that.

 11                           BY MR. KLEIN:     (Cont'g.)

 12                           Q.   Okay.     Did -- did you know that

 13            he was retried after the 2009 trial, even if you

 14            don't know when it was?

 15                           A.   This one is 2009.      The one you

 16            showed me.

 17                           MS. MITCHELL:     Yes.   Your testimony.

 18                           THE WITNESS:     I -- I was not aware of

 19            that.

 20                           BY MR. KLEIN:     (Cont'g.)

 21                           Q.   So you didn't know that he had a

 22            retrial and he was found not guilty of all charges.

 23            You didn't know that until I --.

 24                           MR. GINSBERG:     Object to the form.

 25                           A.   No, I -- my counsel told me that



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page77
                                                06/14/21    of 898
                                                         Page  74 of 269
                                                                         1095
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 73
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            he had been released.

  3                           BY MR. KLEIN:      (Cont'g.)

  4                           Q.      Okay.   Without divulging what

  5            you've discussed with counsel, until I posited it in

  6            -- in these questions, were you aware that there was

  7            a trial after the one you testified that -- that led

  8            to his release?

  9                           MR. GINSBERG:      Object to the form.

 10                              A.   I had -- I-- I actually, I don't

 11            know how that works exactly.      Would that -- would

 12            require a trial or not?

 13                              So I have to -- all I know is what

 14            counsel told me leading up to this, that he had been

 15            released.

 16                              MS. MITCHELL:   Okay.   You don't have

 17            to provide him information as to what we talked

 18            about.

 19                              BY MR. KLEIN:   (Cont'g.)

 20                              Q.   What I'm trying to get at is,

 21            were you ever called into the D.A.'s office or to any

 22            -- or any other place to meet with attorneys to talk

 23            about testifying at a second time, even if you didn't

 24            testify?

 25                              A.   I don't remember that.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page78
                                                06/14/21    of 898
                                                         Page  75 of 269
                                                                         1096
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 74
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.   Okay.   So to your knowledge, the

  3            only time you were asked to give testimony and to

  4            testify in terms of any trials was 2009?

  5                           A.   Yes -- yeah.

  6                           Q.   Okay.   Other than the supporting

  7            deposition or deposition of a witness form that we

  8            discussed, the 2009 testimony and the Albany Medical

  9            Center chart, that's about two hundred and twelve

 10            pages.   Have you reviewed anything else to refresh

 11            your recollection for that?

 12                           A.   No.

 13                           MS. MITCHELL:    If I can jump in, we

 14            did receive exhibits of police narratives that the

 15            witness briefly reviewed in preparation for

 16            testimony.

 17                           MR. KLEIN:   Okay.

 18                           BY MR. KLEIN:    (Cont'g.)

 19                           Q.   Did you review the police

 20            narratives, approximately two of them?

 21                           A.   Yes.

 22                           Q.   One of them was by an officer

 23            named Sergeant Colaneri.

 24                           A.   Yes.

 25                           Q.   Do you agree with that?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page79
                                                06/14/21    of 898
                                                         Page  76 of 269
                                                                        1097
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 75
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.    Yes.

  3                            Q.    And another one was by an officer

  4            named Mason?

  5                            A.    Yes.

  6                            Q.    Okay.   Other than what we've

  7            discussed, have you look at or discussed this case

  8            with anyone else to prepare for today's deposition

  9            other than conversations with your attorney?

 10                            A.    No.

 11                            Q.    Okay.   Did you know Adrian

 12            Thomas, Wilhemina Hicks, or anyone in this family

 13            prior to the events of September 21st, 2008?

 14                            A.    No, no.

 15                            Q.    Have you had any involvement with

 16            the family, in your capacity as a physician since

 17            those -- the day or two starting on September 21st,

 18            2008 other than testifying at the criminal trial and

 19            testifying today?

 20                            A.    No, no.

 21                            Q.    There was a Sergeant Adam Mason

 22            who was involved in this case.     Do you know who he is

 23            sitting here today?

 24                            A.    No, no.

 25                            Q.    Okay.   Do you -- there's a



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page80
                                                06/14/21    of 898
                                                         Page  77 of 269
                                                                        1098
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 76
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            Detective Ronald Fountain, Former Detective Ronald

  3            Fountain, who was involved in this investigation.           Do

  4            you know who that is?

  5                           A.   No.

  6                           Q.   Okay.   Did you speak with police,

  7            at the time, you just don't recall who they are by

  8            name?

  9                           A.   Yes.

 10                           Q.   Okay.   Have you ever testified in

 11            any civil trial in your capacity as a physician from

 12            Albany Medical Center?

 13                           A.   A civil trial, meaning --?

 14                           Q.   Yeah.   A trial, whether --

 15            whether you were accused of some type of malpractice

 16            with the hospital or in the course of some -- someone

 17            else -- some other type of case like a personal

 18            injury lawsuit or any other circumstance?

 19                           A.   The -- no.

 20                           Q.   Okay.   Have you ever been sued

 21            for malpractice?

 22                           A.   Not in a professional --.

 23                           MS. CALABRESE:    Objection, objection.

 24            Thank you.

 25                           BY MR. KLEIN:    (Cont'g.)



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page81
                                                06/14/21    of 898
                                                         Page  78 of 269
                                                                        1099
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 77
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.    Okay.   You can answer.

  3                           A.    No.

  4                           Q.    Okay.

  5                           A.    Not at this point.

  6                           Q.    Okay.   Has the hospital or any

  7            entity that you've worked for been sued for

  8            malpractice based on conduct attributed to you, even

  9            if you dispute it?

 10                           MS. CALABRESE:     Objection.

 11                           MS. MITCHELL:     Objection, same

 12            objection.

 13                           MS. CALABRESE:     Same objection.

 14                           BY MR. KLEIN:     (Cont'g.)

 15                           Q.    You can answer.

 16                           A.    Can you repeat the question?

 17                           Q.    Sure.    Has any hospital or entity

 18            that you've worked for been sued for malpractice, for

 19            conduct alleged to have committed -- been committed

 20            by you, even if you dispute that conduct and even if

 21            you weren't the named party in the case?

 22                           A.    Yes, yes.

 23                           MS. PECK:     Object to form.

 24                           BY MR. KLEIN:     (Cont'g.)

 25                           Q.    On how many occasions?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page82
                                                06/14/21    of 898
                                                         Page  79 of 269
                                                                        1100
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 78
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MS. PECK:     Same objection.     Object to

  3            form.

  4                           MS. CALABRESE:     Same objection.

  5                           A.    I -- I -- twice, I think.

  6                           BY MR. KLEIN:     (Cont'g.)

  7                           Q.    Okay.    Did those cases go to

  8            trial, either of them?

  9                           MS. CALABRESE:     I would ask the

 10            stenographer to note a standing objection to this

 11            line of questioning for the Defendant, the State of

 12            New York.

 13                           MS. PECK:     The same, please, for Dr.

 14            Sikirica.

 15                           MS. CALABRESE:     Agree.     Well, for the

 16            Defendant.

 17                           MS. MITCHELL:     Same for -- attorney

 18            for the witness.

 19                           BY MR. KLEIN:     (Cont'g.)

 20                           Q.    You can answer.     Did any of those

 21            cases go to trial?

 22                           A.    I don't think -- no.

 23                           Q.    Okay.    Were you deposed in either

 24            or both of those cases?

 25                           A.    Yes.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page83
                                                06/14/21    of 898
                                                         Page  80 of 269
                                                                          1101
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 79
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.    Okay.    On how many of them?

  3                             A.    I remember only one.

  4                             Q.    Do you remember when it was?          In

  5            other words, was it within the last few years?            Was

  6            it two decades ago or something else that you could

  7            -- you could specify?

  8                             A.    Approximately -- approximately

  9            five years ago.

 10                              Q.   Okay.    And can you briefly

 11            describe the allegations in the case?        What I'm

 12            trying to get at is, is there anything similar to the

 13            -- the facts of this case in any way?

 14                              MR. GINSBERG:    Object to the form.

 15                              A.   There was nothing similar.         It

 16            was about -- I should keep talking?

 17                              BY MR. KLEIN:    (Cont'g.)

 18                              Q.   Yes.

 19                              A.   Yeah.    The -- it was regarding a

 20            child who had a puncture in the stomach.

 21                              Q.   And was there an alleged

 22            misdiagnosis about that?

 23                              A.   Delay.

 24                              Q.   Okay.    And did the child -- did

 25            the child die?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page84
                                                06/14/21    of 898
                                                         Page  81 of 269
                                                                        1102
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 80
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.   No.

  3                           Q.   Did that case -- is that case --

  4            do you know in what venue that case was pending?

  5                           A.   I don't.    I think the case is all

  6            settled.

  7                           Q.   You think it was settled?         Was --

  8            do you know if there was an actual --?

  9                           MS. MITCHELL:    Do you know if the

 10            matter settled or how it was resolved?       Or you just

 11            know it's done?

 12                           A.   I know it's done.

 13                           MS. MITCHELL:    Okay.

 14                           BY MR. KLEIN:    (Cont'g.)

 15                           Q.   Do you know if it was done by a

 16            settlement or some other disposition?

 17                           A.   No.

 18                           Q.   Do you have a copy of your

 19            deposition transcript from that case?

 20                           A.   No.

 21                           Q.   Do you have -- did you have an

 22            attorney representing you in that case?

 23                           A.   The hospital attorney.        I did not

 24            have a personal attorney.

 25                           Q.   Can you state --?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page85
                                                06/14/21    of 898
                                                         Page  82 of 269
                                                                        1103
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 81
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MR. GINSBERG:    Note my objection to

  3            the form of the last question.

  4                           BY MR. KLEIN:    (Cont'g.)

  5                           Q.   Can you state the name of the

  6            hospital attorney or attorneys that represented you?

  7                           A.   If I remember the name?

  8                           Q.   Yes.

  9                           A.   No.

 10                           Q.   Okay.   Do you know if that case

 11            was pending in State Court or a Federal Court?

 12                           A.   No.

 13                           Q.   Do you know the name of the claim

 14            of the plaintiff or claimants in that case or the

 15            patient?

 16                           A.   I don't remember.

 17                           Q.   Okay.   In the course of the

 18            criminal trial, you were asked about a matter

 19            involving, Blaine Bryce.

 20                           Do you recall a series of questions

 21            about a matter involving Blaine Bryce?

 22                           A.   Yes.

 23                           MR. GINSBERG:     Object to the form.

 24                           BY MR. KLEIN:     (Cont'g.)

 25                           Q.   And that's the case -- did you



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page86
                                                06/14/21    of 898
                                                         Page  83 of 269
                                                                        1104
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 82
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            agree that in that case there were mistakes made by

  3            the radiologist?

  4                           MR. GINSBERG:    Object to the form.

  5                           MS. CALABRESE:    Object.     Again, for

  6            the --

  7                           MS. PECK:    Object to form.

  8                           MS. CALABRESE:    -- for the Defendant,

  9            the State of New York, I just want to reaffirm our

 10            standing objection to any line of questioning

 11            relating to any malfeasance or any allegations of

 12            malfeasance, malpractice or anything related to the

 13            personnel or employment records of this witness.

 14            Thank you.

 15                           MR. KLEIN:    You could just -- you

 16            could just state the objection.

 17                           MR. GINSBERG:    Objection.

 18                           MS. PECK:    Object to the form for Dr.

 19            Sikirica.

 20                           MR. KLEIN:    I think -- I think the

 21            appropriate is just to state the word objection.

 22            Christina, just -- just so you know, you're super

 23            loud or at least on my end, so.

 24                           MS. MITCHELL:    Okay.    I'm going to

 25            object to form.    And are you asking him if there were



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page87
                                                06/14/21    of 898
                                                         Page  84 of 269
                                                                         1105
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 83
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            allegations that the radiologist had made some type

  3            of error or are you asking him to give his opinion

  4            about that?

  5                           MR. KLEIN:     I didn't get there yet.

  6            I'm just asking if he recalls that line of

  7            questioning and then I'm going to go from there.

  8                           MS. MITCHELL:     Okay.     Can you state

  9            the question again?

 10                           BY MR. KLEIN:      (Cont'g.)

 11                           Q.     Sure.    Was that -- can you

 12            describe for me briefly about the Blaine Bryce

 13            treatment and what mistakes were made?

 14                           MS. PECK:      Object to form.

 15                           A.     I -- I would have --

 16                           MR. GINSBERG:      Object to the form.

 17                           A.     -- I would have to review the

 18            case.   I -- I remember a few questions from 2009 but

 19            beyond that, I can't answer your question.         I don't

 20            know.

 21                           BY MR. KLEIN:      (Cont'g.)

 22                           Q.     Okay.    Was that a case where you

 23            -- where you and other doctors said there was a skull

 24            fracture but after the -- the body of the deceased

 25            patient was exhumed, it was determined, it was, in



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page88
                                                06/14/21    of 898
                                                         Page  85 of 269
                                                                          1106
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 84
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            fact, no skull fracture in sum and substance.         Is

  3            that what happened?

  4                           A.     I -- I only know that from what I

  5            learned yesterday.    I -- I have -- and I have some

  6            vague recollection but I certainly can't tell you if

  7            that's really what happened or not.

  8                           Q.     Okay.   Do you have any documents

  9            related to that incident in your personal -- strike

 10            that.

 11                           What -- did any lawsuit or other

 12            litigation such as in the criminal litigation against

 13            Mr. Bry -- against Bryce?

 14                           Was there any litigation in that case

 15            that you were called to testify in?

 16                           A.     No, no.   I don't -- I don't think

 17            so.

 18                           Q.     Okay.   Do you know why you were

 19            not asked to testify?    Withdrawn.

 20                           Were you asked to testify in the

 21            subsequent trial of Adrian Thomas by the District

 22            Attorney's Office?

 23                           Were you -- did you ever have a

 24            discussion about testifying a second time in this

 25            case?



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page89
                                                06/14/21    of 898
                                                         Page  86 of 269
                                                                          1107
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 85
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   No, not that I can remember.

  3                             Q.   Did you know that your -- some of

  4            your colleagues like Dr. Waldman, did testify at a

  5            second trial?

  6                             A.   No, no.

  7                             MS. CALABRESE:    I'm sorry.      I'm sorry,

  8            Brett.   Can I ask the stenographer to please repeat

  9            the last question and answer?

 10                             MR. KLEIN:     Does he know if Dr.

 11            Waldman testified at the second trial and he said,

 12            no.

 13                             MS. CALABRESE:     Thank you.

 14                             BY MR. KLEIN:     (Cont'g.)

 15                             Q.   Have you ever seen the autopsy of

 16            Matthew Thomas?

 17                             A.   No.

 18                             Q.   Well, did you testify at the

 19            criminal trial that you -- you -- did you have access

 20            to it before that trial to review it?

 21                             A.   I don't remember.

 22                             Q.   Okay.     Directing your attention

 23            to September 21st, 2008, when you became involved in

 24            this incident.    When this matter came to your

 25            attention, it was in the course of a request for



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page90
                                                06/14/21    of 898
                                                         Page  87 of 269
                                                                         1108
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 86
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            transfer from Samaritan, is that right?

  3                             A.   Yes, yeah.

  4                             Q.   And did you have a chance to look

  5            at the Samaritan paperwork in the two hundred and

  6            twelve page medical record that you reviewed for

  7            today?

  8                             A.   I did not review that.

  9                             Q.   Okay.    Do you recall the

 10            differential diagnosis either -- either specifically

 11            or in sum and substance?

 12                             A.   In sum and/or substance, I

 13            remember that Dr. Carlos was concerned about sepsis,

 14            but that she could not rule out trauma.

 15                             Q.   Right.    And she started treating

 16            -- she took -- withdrawn.

 17                             She -- she drew blood so that the

 18            blood could be tested for bacterial -- bacteria,

 19            correct?

 20                             A.   Yes.

 21                             Q.   And then started the -- and

 22            started the patient on a course of antibiotics after

 23            that, correct?

 24                             A.   Yes.    And we continued that in my

 25            office.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page91
                                                06/14/21    of 898
                                                         Page  88 of 269
                                                                         1109
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 87
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.     Okay.   Did you ever become aware

  3            of the results of the blood -- of the blood cultures?

  4                           A.     No.

  5                           Q.     Okay.   Did you ever come to learn

  6            from a review of your file or from any other source

  7            that the child had a pervasive bacterial infection?

  8                           A.     I did not.   I was questioned

  9            about that in 2009 and I can't remember if that's in

 10            my -- nor do I remember in a review whether they told

 11            me that at that time.

 12                           So I don't want to say I didn't know

 13            if, in fact, I was told in 2009 but other than that,

 14            I would not -- I did not know.

 15                           Q.     Okay.

 16                           A.     Other than the fact that it was

 17            brought up in the 2009 trial.      Should I speak up?

 18                           Q.     Yeah.   Do you want to change or

 19            amend your answer?

 20                           A.     Yeah, I need to make a correction

 21            because I -- I now have my discharge summary which

 22            does state on September 23rd, the patient's blood

 23            culture came back negative and the second brain death

 24            exam was performed.

 25                           Q.     Okay.   Did you ever come to learn



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page92
                                                06/14/21    of 898
                                                         Page  89 of 269
                                                                         1110
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 88
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            that that was wrong, that the -- the culture came

  3            back positive in fact?

  4                             A.   No.

  5                             Q.   So when this child presented from

  6            doctor -- from Samaritan to your hospital, it's fair

  7            to say that the concern was primarily sepsis at that

  8            time, correct?

  9                             MS. MITCHELL:    Object to form.

 10                             A.   Sepsis was definitely a concern

 11            but the fact that the -- the C.T. findings of a

 12            subdural fluid -- and the degree of neurologic

 13            deficit were not easily explained by sepsis alone.

 14                             BY MR. KLEIN:    (Cont'g.)

 15                             Q.   Okay.

 16                             A.   You say nothing -- of what --

 17            I'll stop there.

 18                             Q.   Well, he presented with low blood

 19            pressure, correct?

 20                             A.   Yes, sir.

 21                             Q.   Unresponsiveness?

 22                             A.   Yes.

 23                             Q.   Lethargy and other symptoms that

 24            gave us a concern that he had a serious blood-borne

 25            infection that was causing shock.      Is that -- would



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page93
                                                06/14/21    of 898
                                                         Page  90 of 269
                                                                         1111
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 89
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            you agree with that?

  3                            MS. MITCHELL:     Are you reading from

  4            something?

  5                            MR. KLEIN:     No, I'm just asking.

  6                            A.   Those things can all be part of

  7            sepsis, yes.

  8                            BY MR. KLEIN:     (Cont'g.)

  9                            Q.   Okay.     And so he did present with

 10            low blood pressure, which is a symptom of severe

 11            sepsis, correct?

 12                            A.     Yes.

 13                            Q.     And -- go ahead.

 14                            A.     Volunteering too much.      I -- it

 15            would be extraordinarily unusual for a patient with

 16            sepsis to present with pupils that are fixed and with

 17            a neuro exam close to brain death.

 18                            Q.     Okay.   But --

 19                            MS. CALABRESE:     Doctor, I didn't hear

 20            your answer.   Did you say unusual?

 21                            A.     That would be very unusual for --

 22                            MS. CALABRESE:     Unusual, thank you.

 23                            A.     -- a child who was --

 24                            MS. CALABRESE:     No, you don't have to

 25            repeat it.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page94
                                                06/14/21    of 898
                                                         Page  91 of 269
                                                                            1112
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 90
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             THE WITNESS:    Okay.

  3                             MS. CALABRESE:    I just didn't hear the

  4            word unusual.    Thank you.

  5                             THE WITNESS:    The low blood pressure,

  6            yes.   Decreased mental status, yes.       But brain death

  7            or near brain death, no.

  8                             BY MR. KLEIN:    (Cont'g.)

  9                             Q.   But severe sepsis can cause brain

 10            death, correct?

 11                             A.   Yes.

 12                             Q.   And in fact, did the trial get

 13            into that -- if I, correct me, if I'm wrong.           You

 14            said you couldn't rule out sepsis as being part of

 15            the contributing cause of the death here?

 16                             A.   Yes.

 17                             Q.   Okay.     So you don't know from

 18            your limited involvement in this case whether trauma

 19            or abuse or non -- or accidental trauma caused a

 20            death or whether a bacterial infection that

 21            overwhelmed this child's system had caused the death,

 22            do you?

 23                             MR. GINSBERG:     Objection to form.

 24                             MS. PECK:    Object to form.

 25                             A.   Well, first of all.       I -- I -- I



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page95
                                                06/14/21    of 898
                                                         Page  92 of 269
                                                                        1113
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 91
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            don't know that I had a limited that, I guess, I

  3            shouldn't quibble over that.

  4                           I -- I was at this kid's bedside

  5            saving his life from low blood pressure, put in

  6            multiple lines, made adjusted pressures, worked very

  7            hard to -- to make sure this kid did very well, as

  8            well as possible.

  9                           And I don't know the cause of death,

 10            but I have a hard time explaining it all by sepsis.

 11                            BY MR. KLEIN:    (Cont'g.)

 12                            Q.   But you -- you -- you currently

 13            are -- you're not an infectious disease specialist.

 14            Would -- would you agree with that?

 15                            A.   Yes.

 16                            Q.   Okay.   And you would -- would you

 17            -- you would agree that it's -- it's possible that it

 18            could have been sepsis but you have -- you personally

 19            have a hard time explaining it as that.       Is that your

 20            testimony?

 21                            MS. MITCHELL:    Wait, are you asking

 22            him for his   --

 23                            MR. GINSBERG:    Object to form.

 24                            MS. CALABRESE:    Can you repeat it?

 25                            MS. MITCHELL:    -- opinion as to



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page96
                                                06/14/21    of 898
                                                         Page  93 of 269
                                                                        1114
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 92
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            whether sepsis was the cause of death?       I just don't

  3            understand what you're asking him.

  4                            BY MR. KLEIN:    (Cont'g.)

  5                            Q.    I'll rephrase it.    Just because

  6            you have a hard time explaining that it's -- it was

  7            sepsis that would have caused the death, doesn't mean

  8            that sepsis didn't cause the death.      You don't know

  9            either way, do you?

 10                            MS. MITCHELL:    Object to form.

 11                            MR. GINSBERG:    Object.

 12                            MS. CALABRESE:    Same objection.

 13                            MS. PECK:    Same objection.

 14                            A.    I --

 15                            MR. GINSBERG:    Objection.

 16                            A.    -- have evidence from my

 17            colleagues in neurosurgery and radiology and -- that

 18            point to a cause of death as I've previously

 19            discussed, that is trauma.

 20                            Whether there was sepsis as well, I --

 21            I can't say.   That's certainly possible but I -- my

 22            professional opinion and that of the other physicians

 23            taking care of this child, was that there was trauma

 24            involved.

 25                            BY MR. KLEIN:    (Cont'g.)



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page97
                                                06/14/21    of 898
                                                         Page  94 of 269
                                                                        1115
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 93
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.    Well, you can't -- you can't say

  3            whether it was accidental trauma or non-accidental

  4            trauma, correct?

  5                           A.    Correct.

  6                           Q.    And when you say trauma, would

  7            you -- was it your observation that the bilateral

  8            fluid collections were aged?    In other words, the

  9            trauma could have gone back some weeks or months.

 10                           A.    I -- there was a reading of --

 11            that the fluid was in different ages.      So it is

 12            possible that the trauma was a combination of

 13            something recent and something old.

 14                           Or at least something of different

 15            ages.   Exactly what ages those are, are beyond my

 16            area of expertise.

 17                           Q.    Okay.    Are you aware of there

 18            being birth-related trauma that could result in

 19            subdural fluid collections?

 20                           A.    Yes.

 21                           Q.    Okay.    And that could happen in

 22            complicated deliveries.     Would you agree with it?

 23                           A.    Yes.

 24                           Q.    Okay.    And those birth related

 25            traumatic subdural hematomas, that could be birth



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page98
                                                06/14/21    of 898
                                                         Page  95 of 269
                                                                        1116
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                       Page 94
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            related, may not always reveal themselves for some

  3            time, or unless something else happens to the child,

  4            correct?

  5                           A.    Yes.

  6                           Q.    And those subdural hematomas that

  7            could be birth related can have different layers of

  8            bleeding, settling in, you know, drying up and then

  9            we have re-bleeds.   Would you agree with that concept

 10            generally?

 11                           A.    I'm not familiar with that.

 12                           Q.    Okay.   Have you ever heard of the

 13            concept of re-bleeds of subdural hematomas?

 14                           A.    Yes.

 15                           Q.    Okay.   What is -- what does it

 16            mean, could you -- can you explain what re-bleeding

 17            in -- in -- in this context means?

 18                           A.    I -- I really don't feel that I

 19            know enough about it to comment.

 20                           Q.    Okay.   So when you say there is

 21            older blood, older -- did you say older blood or

 22            older injury, what exactly did you say?

 23                           A.    There was -- there was evidence

 24            of -- of subdurals of varying age, which I think is

 25            pretty much the exact words on the radiology report.



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      Case 23-753, Document
 Case 1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document            3604338,
                                   142-23 Filed      Page99
                                                06/14/21    of 898
                                                         Page  96 of 269
                                                                             1117
800.523.7887                                           Associated Reporters Int'l., Inc.
                                                                            Page 95
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.     Okay.    The radiology report -- go

  3            ahead, I'm sorry.

  4                            A.     So whenever I speak about, you

  5            know, findings on a brain, I am relying on a

  6            radiology report.

  7                            Q.     Okay.    So I'm going to ask that

  8            we put up that exhibit and we put up that radiology

  9            report.   Well, let me ask you this.          Do you -- do --

 10            you recently looked at the radiology report a little

 11            earlier in this deposition today, correct?

 12                            A.      Yes.

 13                            Q.      Okay.   It doesn't say anything

 14            about subdural hematoma, correct?

 15                            MS. MITCHELL:       So he is talking about

 16            the former report.

 17                            MR. KLEIN:      Yes.    Why don't -- if --

 18            can -- Annette, can you put up that exhibit that I

 19            emailed to you?      There we go.    Okay.     And I'll tell

 20            you where to scroll down to.

 21                            THE WITNESS:      It says fluid

 22            collection.   It does not say hematoma.

 23                            MR. KLEIN:      Okay.     And why don't we

 24            just pull up that page so we could just reference it

 25            for the record and the exhibit that's on the screen?



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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page100
                                            Filed 06/14/21    of 97
                                                           Page  898of 269
                                                                             1118
800.523.7887                                           Associated Reporters Int'l., Inc.
                                                                            Page 96
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Is there like a -- I'm going to see if

  3            I could find that in reference to page number of --

  4            of the P.D.F. for everybody.

  5                             THE WITNESS:    Is this Plaintiff's One?

  6                             MR. KLEIN:   Sure.

  7                             THE WITNESS:    Hang on.

  8                             THE REPORTER:    Why do you -- do you

  9            want this marked as C?    Oh, no.       You want it mark as

 10            -- do you want it marked as One?

 11                             MR. KLEIN:     What?     That's fine.

 12                             THE REPORTER:     Okay.

 13                             MR. GINSBERG:     Plaintiff's One.

 14                             THE REPORTER:     Yes.

 15                             MR. GINSBERG:     The entire record?

 16                             MR. KLEIN:     Yes.

 17                             MR. GINSBERG:     The entire medical

 18            record?

 19                             MR. KLEIN:     Yeah.

 20                             MS. MITCHELL:     If-- if we could note,

 21            I know there were pages the City of Troy had marked

 22            earlier that we haven't been able to locate in -- in

 23            the chart that's being marked now.

 24                             MR. KLEIN:     Okay.     Can you describe

 25            what they are?



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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page101
                                            Filed 06/14/21    of 98
                                                           Page  898of 269
                                                                           1119
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 97
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MS. MITCHELL:     Well, you don't have to

  3            pull them back up, but I believe there was a history

  4            and physical -- there was a progress sheet that we

  5            have not been able to find in the chart that we were

  6            provided by counsel.    Is it Rhiannon Spencer?

  7                           MR. KLEIN:     Yeah.     Okay.    So maybe

  8            we'll put a pin in that and go back to that.            But for

  9            now, I'm just going to try to find the radiology

 10            report while we're on that topic and ask --.

 11                           MS. MITCHELL:     Okay.      He has the C.T.

 12            report.

 13                           MR. KLEIN:     Yeah.     I'm just trying to

 14            scroll through.   Do you -- can you tell us is that

 15            where it is in the packet -- it's the middle or the

 16            back?

 17                           MS. MITCHELL:     You know, it's not page

 18            numbered.   It's not quite halfway through.          That’s

 19            the best I can describe for now.

 20                           THE WITNESS:     I can read it to you if

 21            you'd like.

 22                           MR. KLEIN:     Sure.

 23                           THE WITNESS:     September 21st exam C.T.

 24            had clinical history, findings are large bilateral

 25            extra axial fluid collections slightly larger on the



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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-23 3604338,    Page102
                                            Filed 06/14/21    of 99
                                                           Page
                                                                         1120
                                                                 898of 269


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 98
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            right -- posteriorly on the right and over the upper

  3            aspect of the right convexity, the fluid is

  4            distinctly denser than on the left.

  5                           Which probably indicates a large

  6            subdural collection on the right; it’s unclear

  7            whether the fluid is subdural or merely subarachnoid.

  8            The distinction can be made with M.R.I. -- M.R.I.

  9                           The brain parenchyma in particular

 10            system appeared normal.    The calvarium appears

 11            intact.

 12                           Impression: Large bilateral, extra

 13            axial fluid collections, probably subdural on the

 14            right and possibly the same on the left.         M.R.I. is

 15            recommended to distinguish between subdural

 16            collections and enlargement of subarachnoid spaces.

 17            So as you heard, it does not mention blood.

 18                           BY MR. KLEIN:     (Cont'g.)

 19                           Q.     Okay.   Now, I'm going to ask you

 20            in reviewing your trial testimony, do you recall

 21            being asked questions and giving answers about there

 22            being some other report about there being blood

 23            and/or hematoma.    Do you recall that?

 24                           A.     I don't recall.

 25                           Q.     Okay.   Would -- did you give



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page103
                                               06/14/21 Pageof100
                                                                       1121
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                      Page 99
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            testimony at the trial that there was some other

  3            report that turned out you were mistaken or incorrect

  4            about that?

  5                           MR. GINSBERG:    Object to the form.

  6                           BY MR. KLEIN:    (Cont'g.)

  7                           Q.   Is this the only report, the only

  8            C.T. of the head?

  9                           A.   There is the skull fracture.

 10                           MS. CALABRESE:    Object to form.

 11                           MS. MITCHELL:    Are you talking about a

 12            formal typewritten report or are you talking about if

 13            there's any reports in the record or references to

 14            finding?

 15                           MR. KLEIN:   I'm talking about actual

 16            findings on a radiology exam.

 17                           BY MR. KLEIN:    (Cont'g.)

 18                           Q.   Did you testify that there were

 19            additional findings other than what you just read in

 20            this C.T. of the head with regard to head injuries?

 21                           A.   I don't remember that.

 22                           Q.   Okay.

 23                           A.   I mean I do know that they are --

 24            neurosurgery consult used the word hematoma and

 25            blood.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page104
                                               06/14/21 Pageof101
                                                               898of 269
                                                                         1122
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 100
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.   Okay.   Do you know where they got

  3            that from?

  4                           A.   I don't.

  5                           Q.   Okay.   Do you know how this went

  6            from large bilateral, extra axial fluid collections

  7            to -- or subdural hematoma, if you know?

  8                           MR. GINSBERG:    Object to the form.

  9                           BY MR. KLEIN:    (Cont'g.)

 10                           Q.    Do you know how the -- the

 11            findings of the actual report of the C.T. morphed

 12            into a subdural hematoma being referenced in the

 13            record?

 14                           MR. GINSBERG:    Object to the form.

 15                           MS. PECK:    Object to the form.

 16                           MS. CALABRESE:     Objection to the form.

 17                           A.    No, I don't.

 18                           BY MR. KLEIN:    (Cont'g.)

 19                           Q.    You don't.    Okay.    Would you

 20            agree that there's no report that finds that or has

 21            an impression of a subdural hematoma?

 22                           MR. GINSBERG:    Object to the form.

 23                           MS. CALABRESE:     Same objection.

 24                           A.    I don't -- I have not seen a

 25            radiology report.   I've seen multiple references in



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page105
                                               06/14/21 Pageof102
                                                               898of 269
                                                                        1123
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 101
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            neurosurgery note about hematoma.

  3                             BY MR. KLEIN:   (Cont'g.)

  4                             Q.   Okay.   But they -- what is your

  5            understanding of where neurosurgery got that

  6            information from other than the C.T., if that's a

  7            part of that?

  8                             A.   Neurosurgery often -- since it's

  9            what they do, often will have a interpretation of a

 10            C.T. that's not identical to radiology, extremely

 11            common, I'd say, difference.

 12                             Q.   I'm sorry.

 13                             A.   Can I answer my question -- the

 14            question?

 15                             Q.   Yeah.

 16                             A.   The -- in addition, we get

 17            reports on several levels that are verbal, as well as

 18            the final written report.     So I think this was a

 19            Sunday, but any time of day, a resident reads the

 20            film first and then talks to us.

 21                             And then a -- someone reviews that.

 22            So there could be another phone conversation with the

 23            attending after the review and then the written thing

 24            is usually -- the written report doesn't happen until

 25            sometime later.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page106
                                               06/14/21 Pageof103
                                                                       1124
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 102
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           So there are -- there are multiple,

  3            you know, verbal interactions that happen.       In

  4            addition, the neurosurgeon also has their own

  5            interpretation, which can also be verbally added.

  6                           So there are many occasionings for

  7            that idea that a subdural lead was present, despite

  8            the fact that the final report does not state that.

  9                           Q.   Okay.   And is the final report,

 10            ultimately, the controlling conclusions of -- of the

 11            clinicians that reviewed the scans?

 12                           A.   I don't know.

 13                           Q.   In other words, like, I think in

 14            the record shown to you earlier, it said initial

 15            impression subject to final review.     Is the -- is the

 16            final report controlling or are different opinions

 17            not stated in the report also the -- the findings as

 18            well?

 19                           In other words, are there subdural

 20            hematomas here or -- or subdural collections or

 21            bilateral collections of fluid?    What is there to

 22            base the finding of subdural hematoma if it's on the

 23            report?

 24                           MR. GINSBERG:    Object to form.

 25                           MS. CALABRESE:    Objection to form.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page107
                                               06/14/21 Pageof104
                                                               898of 269
                                                                           1125
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 103
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            MS. PECK:    Object to form.

  3                            MS. MITCHELL:    Yeah.      Object to form.

  4            There's -- there's a lot of substance in there.             Can

  5            you just narrow down the question?

  6                            BY MR. KLEIN:    (Cont'g.)

  7                            Q.   Yeah.    It's the -- is the

  8            definitive final opinion here what's contained in the

  9            C.T. report that you just read?

 10                            MS. MITCHELL:    And you're talking

 11            specifically about the radiologists that are

 12            identified on the report?

 13                            MR. KLEIN:    Yeah.

 14                            MS. MITCHELL:    Their opinions?

 15                            A.   That's the final opinion of the

 16            radiologist.

 17                            BY MR. KLEIN:    (Cont'g.)

 18                            Q.   Did the neurologist have

 19            different opinions or would their opinions be based

 20            on the radiologist’s findings?

 21                            MR. GINSBERG:    Object to the form.

 22                            A.   I can't answer that.

 23                            BY MR. KLEIN:    (Cont'g.)

 24                            Q.   Okay.    When -- when Matthew

 25            presented at Albany Medical, he -- his white blood



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page108
                                               06/14/21 Pageof105
                                                               898of 269
                                                                          1126
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 104
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            cell count was one -- was one, which is very low,

  3            correct?

  4                           A.     Yes.

  5                           Q.     Okay.

  6                           A.     Was that from Albany Medical or

  7            was that from Samaritan?

  8                           Q.     I don't know where it was.         But

  9            is it your understanding, it was extremely low?

 10                           A.     Yes.

 11                           Q.     Okay.

 12                           A.     Right.    You saw that.     Right.

 13                           Q.     Okay.    And when it's below five

 14            --

 15                           A.     I also remember that from my

 16            review of the case.

 17                           Q.     Right.    And so when -- when the

 18            white -- when the white blood cell count is below

 19            five thousand, would you agree the concern is that

 20            the immune system is not functioning -- functioning

 21            properly or is at least suppressed?

 22                           A.     Yes.

 23                           Q.     And that could be from bone

 24            marrow suppression.    That could be a cause of that,

 25            correct?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page109
                                               06/14/21 Pageof106
                                                               898of 269
                                                                        1127
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 105
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.   Yes.

  3                            Q.   Okay.    You learned that Matthew

  4            was hypothermic, correct, from Dr. Carlos at

  5            Samaritan?

  6                            A.   I -- I think so, yes.

  7                            Q.   Okay.    And he was -- did you --

  8            do you recall learning that he was experiencing

  9            tachycardia?

 10                            A.   Yes.

 11                            Q.   And that he was -- leukopenia.

 12                            A.   That's the same as low white

 13            count.

 14                            Q.   Right.    And also had low blood

 15            pressure?

 16                            A.   Yes.

 17                            Q.   And those are all signs of a

 18            pervasive bacterial infection or could be, would you

 19            agree?

 20                            A.   Could be -- it could be.

 21                            Q.   Now, do you have an understanding

 22            of whether a bacterial infection that goes into the

 23            meninges can result in coagulopathy?

 24                            A.   Well, it's not specifically

 25            meningitis, any bacterial infection can affect



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page110
                                               06/14/21 Pageof107
                                                               898of 269
                                                                         1128
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 106
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            clotting --

  3                            Q.    Okay.

  4                            A.    -- and cause of coagulopathy.

  5                            Q.    So --

  6                            A.    But I'm not aware of anything

  7            specific about meningitis.

  8                            Q.    So was that in your mind -- so --

  9            and Matthew presented with clotting or coagulopathy

 10            issues, correct?

 11                             A.   Yes.

 12                             Q.   And so was that in your mind as

 13            well?   So were you thinking about sep -- withdrawn.

 14                             Did that -- did all of these factors

 15            cause you to think about sepsis as well or did you

 16            immediately turn to trauma, in terms of your working

 17            diagnosis?

 18                             MS. PECK:    Object to form.

 19                             MS. MITCHELL:    Object to form.

 20                             A.   I treated this patient as septic

 21            from the beginning.    All courts -- in a full court

 22            press, absolutely.

 23                             No holds barred and antibiotics were

 24            continued.    I put lines in this kid.     I -- I

 25            manipulated blood pressure, all which are treatment



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page111
                                               06/14/21 Pageof108
                                                               898of 269
                                                                           1129
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 107
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            for sepsis.

  3                            BY MR. KLEIN:   (Cont'g.)

  4                            Q.   I get that.      But I guess what I'm

  5            asking you is the record really from -- from -- from

  6            Samaritan seemed to have a focus of sepsis.

  7                            When Matthew got to Albany Medical,

  8            there's -- the focus really turns to like a trauma or

  9            head injury, you know, abuse.    Is that a term that

 10            you focus on and -- and that you've made that

 11            determination that this was more likely abuse than

 12            sepsis?

 13                            MR. GINSBERG:    object to the form.

 14                            MS. PECK:    object to the form.

 15                            A.   Absolutely not.        And I -- I -- I

 16            treat this kid like a full blown sepsis and save --

 17            and saved his life from the period of time because of

 18            it and I'm mad and -- that's what I've told him, yes.

 19                            MS. MITCHELL:    I'm going to object to

 20            form and request a five-minute break.

 21                            MR. KLEIN:    Sure.

 22                            THE REPORTER:    Sure.      Can we take --

 23            it's twelve fifty-three, can we go until one ten?

 24                            MR. KLEIN:    Right.     How long are we

 25            going to be?   Are we going to take a break for lunch?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page112
                                               06/14/21 Pageof109
                                                               898of 269
                                                                         1130
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 108
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MS. CALABRESE:    Hold on a second.

  3            Well, I also -- I'm going to have a few follow-up

  4            questions after Crystal in the event that she

  5            doesn't.   So we may want to take a break for lunch

  6            now.

  7                             THE REPORTER:    Yeah.   How -- do you

  8            guys expect to be going all day?

  9                             MR. KLEIN:   I don't.    I don't have

 10            that much but certainly at least another, I would say

 11            forty-five minutes to an hour, I would think because

 12            it's going slower than it does, I think in person.

 13                             And so I don't want it down, you know,

 14            I'm hoping it'll be quicker than that but I think if

 15            -- if people need lunch, maybe now is a good time to

 16            do it.

 17                             I'm willing to work through it.         But

 18            if everyone wants to take a break, that's fine with

 19            me as well.

 20                             MS. CALABRESE:    I don't need a lunch

 21            but I wasn’t sure about the witness and the

 22            stenographer.

 23                             THE REPORTER:    I'm fine.

 24                             MS. CALABRESE:    I said, I don't need a

 25            lunch break but I wasn't sure about the witness --



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page113
                                               06/14/21 Pageof110
                                                               898of 269
                                                                        1131
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 109
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            how Dr. Edge feels and how the stenographer feels.

  3                            THE REPORTER:    I'm fine.

  4                            MS. CALABRESE:    Okay.   Hold on.      Let

  5            me check.

  6                            THE REPORTER:    I'm going to go off the

  7            record.

  8                            (Off the record 12:54 p.m.)

  9                            (On the record 1:18 p.m.)

 10                             THE REPORTER:   We're on the record.

 11                             BY MR. KLEIN:   (Cont'g.)

 12                             Q.   Okay.   So we've just have taken a

 13            break.    Now, we're going to continue. Is there

 14            anything about your testimony so far you wish to

 15            revise? If not, we'll move forward.

 16                             A.   Only to say, which we're saying

 17            at the very end that, you know, my responsibility was

 18            to treat this, you know, child with sepsis, with no

 19            holds barred in the best possible way possible,

 20            holding nothing back and I am proud that we did that.

 21                             I also am responsible to have a

 22            question marked when trauma might exist and it's my

 23            legal responsibility to bring up that question and --

 24            and not to miss that.

 25                             Q.   Okay.   Are you aware of



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page114
                                               06/14/21 Pageof111
                                                                       1132
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 110
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            stipulations similar to this in your per -- personal

  3            experience or three years studies or as noting from

  4            college where young children under the age of two die

  5            from sepsis without -- in the absence of trauma?

  6                           MR. GINSBERG:    Object to the form.

  7                           A.   Okay.   Yes, it happens all the

  8            time but, you know, the professor in me wants to give

  9            you the collar -- corollary as well.

 10                           BY MR. KLEIN:    (Cont'g.)

 11                           Q.   Can you give it to us?

 12                           A.   Can I give it?

 13                           MS. MITCHELL:    Yes.   That was

 14            acceptable.

 15                           A.   (Cont’g.)    I teach, you know, I'm

 16            a professor, I teach and one of the things I teach is

 17            that if you have a three, four-month-old baby who

 18            you're concerned about sepsis then you have to ask

 19            the question is there trauma?

 20                           Because this is the age that babies

 21            start to cry and be hard to console and -- and so

 22            that part of my training as an I.C.U. doctor is that,

 23            you know, a three, four-month-old baby that comes to

 24            you with sepsis, I ask the question, is there trauma?

 25                           BY MR. KLEIN:    (Cont'g.)



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page115
                                               06/14/21 Pageof112
                                                               898of 269
                                                                        1133
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 111
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.     And I don't think about -- I

  3            certainly don't take any issue with that and I'm

  4            grateful that you ask all the right questions.

  5                           In this case, was it also important to

  6            ask questions about the history of the -- to

  7            determine whether those types of things could have

  8            led to trauma that was, you know, not an accidental,

  9            that was accidental trauma or some other type of

 10            trauma that could have led to the -- either a

 11            subdural hematoma or other portion of a bacterial

 12            infection, in fact?

 13                           A.     Yes.

 14                           Q.     And in this case --?

 15                           A.     You know that -- you know -- I --

 16            I -- I -- I know I'm going beyond the question again.

 17            So I might -- I can feel my attorney, but the reason

 18            we can't solve this hematology was in part say, you

 19            know, is there an underlying, you know, bleeding

 20            problem here that could explain this that's not

 21            trauma.

 22                           So in a sense that's doing what you

 23            just suggested.

 24                           Q.     Okay.   And wasn't there, in fact,

 25            an underlying bleeding problem that could -- that was



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page116
                                               06/14/21 Pageof113
                                                               898of 269
                                                                         1134
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 112
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            not traumatic in explanation?

  3                             A.   I don't know that.

  4                             Q.   Okay.

  5                             A.   The hematologist -- the

  6            hematologist felt that this was consistent with --

  7            with -- with -- with a trauma and that we're -- this

  8            could be all from sepsis but it could -- it could

  9            also be from a very severe brain injury.

 10                             Q.   Okay.

 11                             A.   And I'm not sure that that was

 12            ever resolved.

 13                             Q.   Right.    And that's what I want to

 14            establish and I think you just did that.         When you

 15            talk about the retinal hemorrhaging, that could be

 16            from coagulopathy?

 17                             A.   You're -- you sound like you're

 18            underwater.

 19                             Q.   Okay.    I have to switch

 20            microphone so off the record.      I'm -- I'm going to

 21            need to log back in again.

 22                             MR. KLEIN:    I'm going to leave and

 23            then come back in because I think my -- well, one

 24            second.

 25                             THE REPORTER:    I'll pause the record.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page117
                                               06/14/21 Pageof114
                                                                       1135
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 113
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           (Off the record 1:22 p.m. to 1:23

  3            p.m.)

  4                           THE REPORTER:   We're back on.

  5                           BY MR. KLEIN:   (Cont'g.)

  6                           Q.   So -- so did I ask you the

  7            question whether -- whether the -- the orbital -- the

  8            -- no the -- the orbital -- the retinal hemorrhaging

  9            in this case could be from -- related to the

 10            coagulopathy, correct, and not trauma?

 11                           A.   It is extraordinarily rare for

 12            the -- the most common cause of retinal hemorrhage is

 13            trauma.

 14                           Q.   But there are other causes,

 15            correct?

 16                           A.   Yes.   And although I'm not an

 17            expert on -- on -- on that and some of that is still

 18            quite controversial.

 19                           Q.   If I told you that it was

 20            determined that there were Gram stains done of the --

 21            of the cultures in this case and that the cells and

 22            the -- behind the -- of the eye were full of

 23            bacteria.

 24                           Would that influence your -- assuming

 25            that was true, I’ll represent to you that -- that was



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page118
                                               06/14/21 Pageof115
                                                               898of 269
                                                                          1136
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 114
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the finding of one of the experts and for purposes of

  3            this question assuming that's a fact would that --

  4            would that in your mind contribute to whether this

  5            was -- sepsis contributed to the -- to the -- the --

  6            the orbital -- the -- I'm sorry, the --

  7                           MS. CALABRESE:    Cause of death?

  8                           MR. KLEIN:   -- the retinal hemorrhage?

  9                           MR. GINSBERG:    Object to the form.           He

 10            is not -- this is not an expert witness.          He has not

 11            been identified as an expert.    He can't be compelled

 12            to give an opinion.

 13                           MR. KLEIN:    Okay.     You know, you could

 14            just say objection, Mike, as you said before.

 15                           A.     Well, sepsis by definition means

 16            that there's bacteria in -- in all the cells.           I --

 17            I've treated many -- thousands of kids with sepsis

 18            and -- and read many many scholarly articles and have

 19            never heard of retinal hemorrhage being associated

 20            with a fatal sepsis.    I'm sure there are cases but

 21            --.

 22                           BY MR. KLEIN:    (Cont'g.)

 23                           Q.     And when this kid’s father went

 24            to trial, did you follow the testimony of the various

 25            doctors on each side and did you hear that theory put



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page119
                                               06/14/21 Pageof116
                                                               898of 269
                                                                         1137
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 115
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            out there as a possibility in this case or were you

  3            not aware of that?

  4                             A.   I was not aware.

  5                             MR. GINSBERG:    Object to the form.

  6                             BY MR. KLEIN:    (Cont'g.)

  7                             Q.   Now, were you aware that that on

  8            autopsy there were blood and the other organs the --

  9            the testes, I believe the heart or the lungs which

 10            were signs of overwhelming sepsis.       Were you aware of

 11            that?

 12                             MS. CALABRESE:    Object -- Objection to

 13            form.

 14                             MS. PECK:    Objection.

 15                             MS. CALABRESE:    This is Christina.

 16            Object to the form.

 17                             MS. MITCHELL:    Is -- is there going to

 18            be a marked exhibit of the autopsy report?         Is that

 19            something that we haven't gotten to see?

 20                             MR. KLEIN:    I'm just asking if he was

 21            aware of that.    I wasn't planning on marking it but,

 22            you know, that would take longer but I don't have any

 23            questions about that.

 24                             A.   As I said, I’m not aware of that

 25            if I -- if I -- if I had to swear, you know, whether



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page120
                                               06/14/21 Pageof117
                                                               898of 269
                                                                        1138
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 116
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            or not I saw it in '09, I -- I could not answer that.

  3                            BY MR. KLEIN:    (Cont'g.)

  4                            Q.    Okay.   So can we put the --

  5            withdrawn.

  6                            So if I can just sum up what I think

  7            you said about two answers back.     You -- you didn't

  8            know and don't know today whether this was -- whether

  9            this child died from sepsis or from trauma or some

 10            combination.

 11                             You're just recalling what you saw at

 12            that time, is that a fair characterization?

 13                             A.   Yes.

 14                             Q.   Okay.   Can we -- did you ever say

 15            that this child was murdered?     Ever used that word

 16            murdered to any police officers?

 17                             A.   I don't recall saying that.        That

 18            would have been very unusual.

 19                             Q.   So that's -- that was my next

 20            question.    How many years have you been an emergency

 21            room physician?

 22                             A.   Zero.   I'm an I.C.U. --.

 23                             Q.   I.C. -- I'm so sorry, I.C.U.

 24            physician, sorry.

 25                             A.   Yeah.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page121
                                               06/14/21 Pageof118
                                                               898of 269
                                                                         1139
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 117
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.   How many years?

  3                             A.   Actually, I did have a year.

  4            Yeah, what was -- what's the question?        I -- I -- I

  5            --.

  6                             Q.   How many -- how many years -- how

  7            many years have you been in this business?

  8                             A.   Thirty.

  9                             Q.   Okay.   In this type of scenario,

 10            can you recall -- can you recall any situation where

 11            you would have in this type of situation under these

 12            facts said to the responding police, this is murder?

 13            Words literally to that effect based on what you knew

 14            in this case?

 15                             MR. GINSBERG:    Object to the form.

 16                             A.   I can't imagine saying that.

 17                             MR. GINSBERG:    That -- that was the

 18            entire question?

 19                             MS. PECK:    Yes, just object to form.

 20                             MR. GINSBERG:    Now, this a two-part

 21            question.   Do you hear the entire question?

 22                             THE WITNESS:    I was -- I was upset.

 23                             MS. MITCHELL:    Okay.   Can we -- you

 24            said it was a two-part question.      Can we hear the

 25            question again?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page122
                                               06/14/21 Pageof119
                                                               898of 269
                                                                          1140
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 118
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MR. KLEIN:   Can you read -- can you

  3            read it back, please?

  4                             THE REPORTER:     Yeah, I can read back

  5            the question.

  6                             MR. KLEIN:   I think he -- I think he

  7            answered it but it -- it started confusing with all

  8            the objections.    I think the best thing to do is to

  9            read it back.

 10                              THE REPORTER:    Okay.   Just give me a

 11            second.

 12                              (Off the record 1:30 p.m.)

 13                              MS. MITCHELL:    It might be easier if

 14            you just -- if you just ask the question again.            The

 15            doctor is ready to answer.

 16                              THE REPORTER:    Okay.   We're back --.

 17                              MS. MITCHELL:    If that's okay with

 18            everyone.

 19                              THE REPORTER:    We're back on.

 20                              BY MR. KLEIN:    (Cont'g.)

 21                              Q.   Doctor, do you recall saying to

 22            the responding police officers in this case that this

 23            was a murder or words to that effect?

 24                              A.   I do not.

 25                              Q.   In speaking to the responding



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page123
                                               06/14/21 Pageof120
                                                                       1141
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 119
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            police officers, do you recall whether you said that

  3            this was possible abuse or possible sepsis or both or

  4            words to that effect?   Would you have told them

  5            everything?

  6                           MS. MITCHELL:   Object to form.

  7                           BY MR. KLEIN:   (Cont'g.)

  8                           Q.   Would you have explained all of

  9            it to them?

 10                           MR. GINSBERG:   Object to the form.

 11                           A.   Yes.

 12                           BY MR. KLEIN:   (Cont'g.)

 13                           Q.   Okay.   Yes, you would have

 14            explained sepsis and -- and possible abuse as

 15            potential causes of the injuries?

 16                           A.   Yes.

 17                           Q.   Okay.   Are you aware that the

 18            Troy detectives said that you used the word murder in

 19            saying this was a murder when they met with you at

 20            Albany Medical Center on September 21st, 2008?

 21                           MR. GINSBERG:   Object to the form.

 22                           A.   Yes.

 23                           BY MR. KLEIN:   (Cont'g.)

 24                           Q.   Okay.   And do you -- do you

 25            dispute that account by the police officer?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page124
                                               06/14/21 Pageof121
                                                               898of 269
                                                                        1142
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 120
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.     Yes.

  3                           MR. GINSBERG:    Object to the form.

  4                           BY MR. KLEIN:    (Cont'g.)

  5                           Q.     Why don't we -- withdrawn.

  6                           What, if anything, did you tell the

  7            Troy police officers on September 21st, 2008?

  8                           A.     I don't remember the words.

  9                           Q.     How about in sum and substance?

 10                           A.     That I was very concerned about

 11            this being acceleration, deceleration injury, that

 12            this fit a pattern consistent with that.

 13                           And that in the absence of a motor

 14            vehicle accident or other accident that child abuse

 15            was the top of my list.

 16                           Q.     Did you talk about the other

 17            things on the list as well?

 18                           A.     My job would be to give as broad

 19            a picture as I can.

 20                           Q.     Okay.   Did you ever confront any

 21            of the police officers who attributed the word murder

 22            to you as to why they said that in this case?

 23                           MS. MITCHELL:     Object to form.

 24                           A.     No.

 25                           MR. GINSBERG:     Note my objection as



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page125
                                               06/14/21 Pageof122
                                                               898of 269
                                                                         1143
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 121
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            well.

  3                           THE WITNESS: I saw that yesterday for

  4            the first time.

  5                           BY MR. KLEIN:      (Cont'g.)

  6                           Q.      Well, in this case, the -- the

  7            detectives went on to interrogate Mr. Thomas after

  8            they spoke with you.

  9                           MR. GINSBERG:      Object to form.

 10                              BY MR. KLEIN:   (Cont'g.)

 11                              Q.   And then they came back and spoke

 12            with you again on the 22nd when you gave your

 13            deposition.   I'm directing your attention to

 14            September 22nd, 2008 when you gave your -- your

 15            deposition.

 16                              Do you recall being informed that they

 17            were in the middle of interrogating him when they

 18            spoke with you?

 19                              A.   I don't remember.

 20                              Q.   Since 2008, when this happens --

 21            when this case presented -- was presented to you at

 22            Albany Medical Center, have your views on the symptom

 23            on the medicine here changed or evolved over the

 24            years with developments in -- in -- in -- you know,

 25            standards of looking at these cases?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page126
                                               06/14/21 Pageof123
                                                                       1144
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 122
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Do you think this was more sepsis now

  3            given all of the symptoms than abuse?     Do you not

  4            know or something else?

  5                           MS. PECK:    Object to form.

  6                           MS. MITCHELL:    Object to form.

  7                           A.   That's a really tough question.

  8            I don't know what's the best answer.

  9                           BY MR. KLEIN:    (Cont'g.)

 10                           Q.   Okay.    I think you said things,

 11            the medicine has changed or views in the field have

 12            changed about shaken baby, have you asked that kind

 13            of -- that term before.    What -- what did you mean by

 14            that that -- that the --?

 15                           A.   I -- I know that I -- I -- only

 16            what I read in the newspaper.    What -- what I still

 17            stick to and which is -- hasn't changed is that

 18            acceleration, deceleration injury, hitting a child, a

 19            baby against a soft object or sofa or bed, with

 20            enough force can cause subdural hematoma.

 21                           So to me that's -- and whatever is

 22            changed in court, et cetera, et cetera, you know,

 23            I've never used the -- used the term shaken baby,

 24            partly because I thought -- I thought it was

 25            confusing.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page127
                                               06/14/21 Pageof124
                                                               898of 269
                                                                           1145
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 123
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            But the fact that, you know, that kind

  3            of rapid movement hitting something and the brain

  4            going back and forth in the skull can tear small

  5            blood vessels and can cause subdural bleeding.

  6                            Q.   The -- the intracranial --

  7            withdrawn.   The -- the blood seen on the C.T. was

  8            older than a few days though, correct?          You -- you

  9            couldn't put an age on that.     Is that right?

 10                            MS. MITCHELL:    Object to form.

 11                            A.   I can't I --

 12                            MS. CALABRESE:    Objection.

 13                            A.   -- I am not an --

 14                            MS. PECK:    Object.

 15                            MR. KLEIN:    You can answer.

 16                            A.   -- I'm not, I -- I -- I don't

 17            know, I rely on neurosurgery and radiology for

 18            information.

 19                            MR. KLEIN:    Okay.

 20                            BY MR. KLEIN:    (Cont'g.)

 21                            Q.   So can we put the record back up

 22            in that -- the two hundred and twelve page record?

 23            Can you scroll down to -- I want you to do this.

 24                            I want to refer you to the -- to the

 25            PICU where that you signed, the PICU attending note,



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page128
                                               06/14/21 Pageof125
                                                               898of 269
                                                                        1146
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 124
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            page sixty-one of the document.

  3                            THE REPORTER:    Okay.

  4                            BY MR. KLEIN:    (Cont'g.)

  5                            Q.   Take a moment, Doctor, and review

  6            that page if you could and let me know when you’ve

  7            had a chance to look at it.

  8                            MS. MITCHELL:    Okay.

  9                            A.   I see it.

 10                            BY MR. KLEIN:    (Cont'g.)

 11                            Q.   Okay.    Is that your signature at

 12            the bottom?

 13                            A.   Yes.

 14                            Q.   And was it some --?

 15                            MS. CALABRESE:    I'm sorry.     I'm sorry.

 16            Can we see the bottom?    I can't see the bottom.

 17            Thank you.

 18                            BY MR. KLEIN:    (Cont'g.)

 19                            Q.   Next to the signature, it says

 20            10/24.   Is that right?

 21                            A.   Yes.

 22                            Q.   And then -- and then below the

 23            signature --

 24                            A.   I don’t see that.

 25                            MS. MITCHELL:    Yeah, the -- the



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page129
                                               06/14/21 Pageof126
                                                               898of 269
                                                                          1147
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 125
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            hardcopy we have, doesn't have --.

  3                            THE WITNESS:     Is that a different

  4            date?    What date is that?

  5                            MR. KLEIN:     I've seen different copies

  6            of it.    But in this record though --.

  7                            MS. MITCHELL:     Let me see the date

  8            above.    No, it's a different note.     Yeah, there you

  9            go.

 10                             THE WITNESS:     Yes.

 11                             BY MR. KLEIN:     (Cont'g.)

 12                             Q.   Okay.     So that's your signature,

 13            correct?

 14                             A.   Yes.

 15                             Q.   Okay.     What is the significance

 16            of 10/24 at the bottom?       Is that when you read it and

 17            signed it?

 18                             A.   Yes.

 19                             Q.   So that was signed almost a month

 20            after the September 21st, 2008 admission?

 21                             A.   Yes.

 22                             Q.   Okay.     And looking at the report

 23            -- well, withdrawn.

 24                             What -- what is a PICU attending note?

 25            Can you just explain for the record what it is?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page130
                                               06/14/21 Pageof127
                                                               898of 269
                                                                            1148
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 126
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.   It's a report of my findings of

  3            the day in combination with a resident note.

  4                           Q.   And was it prepared on or close

  5            to the date in question and it was just signed by you

  6            at a later time or --?

  7                           A.   Yes.

  8                           Q.   Okay.

  9                           A.   The top of the note said that the

 10            time of dictation it was ten fifty-five on 9/23.

 11                           Q.   So at number three, it says at

 12            probable list, it says C.T. scan shows bilateral

 13            subdural hematomas of varying age.       Do you see that?

 14                           A.   Yes, yeah.

 15                           Q.   That -- based on what -- how you

 16            describe the C.T. report that is not what -- would

 17            you agree that is not what it showed?

 18                           MS. MITCHELL:     Object to form.

 19                           MR. GINSBERG:     Object to the form.

 20                           MS. CALABRESE:       Can you read that

 21            back?

 22                           MR. KLEIN:     It's very hard for her to

 23            read back, Christina.    If you want, I could rephrase

 24            -- I can ask it again.     But --

 25                           THE REPORTER:     He said number?        He



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page131
                                               06/14/21 Pageof128
                                                               898of 269
                                                                         1149
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 127
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            read off what number three said.

  3                           MR. KLEIN:   Yeah.

  4                           MS. CALABRESE:    If you can read the

  5            question, Brett, I just want to determine if I'm

  6            objecting.

  7                           MR. KLEIN:   Just say objection then

  8            I’m sure and then all your objections are reserved

  9            for trial so --.

 10                           MS. CALABRESE:    No, I understand.

 11                           MR. KLEIN:   My question is this.

 12                           BY MR. KLEIN:    (Cont'g.)

 13                           Q.   Number three says, C.T. scan

 14            shows bilateral subdural hematomas at varying age,

 15            correct?

 16                           MS. CALABRESE:    You can answer.

 17                           A.   Yes.

 18                           BY MR. KLEIN:    (Cont'g.)

 19                           Q.   Okay.   Is that -- isn't that

 20            different than the C.T. report that you read earlier

 21            into the record?

 22                           A.   Yes.

 23                           Q.   Okay.   Can you explain how you

 24            arrived at number three given the -- the disparity

 25            with the C.T. report?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page132
                                               06/14/21 Pageof129
                                                               898of 269
                                                                        1150
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 128
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.    Because my conclusions are

  3            derived from multiple sources.    One being the

  4            official reading of the C.T. scan.       One being

  5            discussion with the neurosurgery attending.

  6                            One being discussion -- personal

  7            discussions -- well, this -- this was still the --

  8            this was the 23rd.    So yeah, my discussions involve

  9            -- my conclusions are based on more than the reading

 10            of the X-ray, the CAT scan, but also on my discussion

 11            with my consultant.

 12                            Q.    But isn't it true that the CAT

 13            scan did not show bilateral subdural hematomas?

 14                            A.    It showed bilateral fluid

 15            collections, that does not rule out hematoma.

 16                            MS. MITCHELL:    Okay.    And I'm going to

 17            object to the form because you keep mixing up what

 18            the scan shows versus what the report documents.

 19                            MR. KLEIN:   Well, the report shows --

 20            is a document what the scan shows, correct,

 21            typically?

 22                            THE WITNESS:    As I mentioned earlier,

 23            neurosurgery -- neurosurgeons will often not agree

 24            with the report and there will be multiple

 25            conclusions.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page133
                                               06/14/21 Pageof130
                                                               898of 269
                                                                         1151
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 129
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             BY MR. KLEIN:   (Cont'g.)

  3                             Q.    Isn't it more fair to say that

  4            there would be initial impressions, but ultimately

  5            there will be a final report that is signed off on?

  6                             A.    Yes, that's right.     The

  7            neurosurgeon does not sign off on the neuro -- on the

  8            radiology report.     They are entitled to their own

  9            opinion.

 10                             Q.    Okay.   So you're basing -- so am

 11            I correct that you're basing this statement in number

 12            three of the problem list based on the neurosurgeon,

 13            but technically not on the plain language of the

 14            report itself?

 15                             MS. MITCHELL:    Object to form.

 16                             A.    Again, as I understand it the

 17            report saying that there is fluid collection does not

 18            rule out hematoma.

 19                             BY MR. KLEIN:    (Cont'g.)

 20                             Q.    Do you recall that the report

 21            also said an M.R.I. would be helpful?

 22                             A.    Yes, yeah.

 23                             Q.    Did you or anyone ever prescribe

 24            an M.R.I.?

 25                             A.    No.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page134
                                               06/14/21 Pageof131
                                                                       1152
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 130
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.   Why not?

  3                           A.   I would not have changed the

  4            treatment and the child was too sick to go to the

  5            M.R.I. scanner, which requires time in the O.R. of

  6            two and it could lead to death in an unstable

  7            patient.

  8                           Q.   Now --.

  9                           A.   But most importantly -- most

 10            importantly, it would not change treatment.

 11                           Q.   It might change the diagnosis,

 12            but not ultimately the treatment?

 13                           A.   Yes, it would -- it would confirm

 14            whether or not this was blood or not.

 15                           Q.   And if it wasn't blood, what are

 16            the other options, intraspinal fluid?

 17                           A.   Intraspinal fluid, pus, old blood

 18            that breaks down into plasma and red cells.

 19                           Q.   Did you -- do know or do you --

 20            did you ever come to learn that pus was evident on

 21            the brain?

 22                           A.   No.

 23                           Q.   Looking at number eight, a skull

 24            fracture noted on C.T. scan.   What was that based on?

 25                           A.   I don't -- I don’t remember who



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page135
                                               06/14/21 Pageof132
                                                               898of 269
                                                                           1153
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 131
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            -- who told me that.    I can only assure you that I

  3            was -- had verbal communication that there was a

  4            skull fracture that was later found not to be true

  5            and it was on my problem list and, you know, again,

  6            there is -- the patient was only there for a day.

  7                           I was, you know, a day-and-a-half and

  8            I would have deleted that in the -- my next

  9            dictation, but these are dictated notes.

 10                            Q.     How about when you signed off on

 11            it.   Did you have the opportunity if you wanted to

 12            strike it or delete it or make a, you know, a line

 13            through with your signature -- with your initials?

 14                            A.     I did have opportunity.

 15                            Q.     Okay.   Can you state today why --

 16            why you didn't do that in this case?

 17                            A.     I missed -- I missed the -- I

 18            missed it.   I didn't --

 19                            Q.     Okay.

 20                            A.     -- I didn't.

 21                            Q.     So that -- so that problem listed

 22            in number eight was we now know to be untrue,

 23            correct?

 24                            A.     Correct.

 25                            Q.     Okay.   And how did it come to



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page136
                                               06/14/21 Pageof133
                                                               898of 269
                                                                           1154
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 132
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            your attention that that was untrue or incorrect?

  3                           A.      I -- I don't remember.      It may

  4            have been the -- the C.T. report reported no skull

  5            fracture.

  6                           Q.      Who was it who -- if you could

  7            narrow it down, who -- who -- I'd like to know the

  8            universe of individuals who would have reported a

  9            skull fracture.

 10                              Would it be neurosurgery, radiology,

 11            or some other individual or individuals that you

 12            could think of?     Who would have told you that?

 13                              A.   Radiology resident, my resident,

 14            the covering attending, radiology attending.          The

 15            final radiology attending, the neurosurgery resident,

 16            the covering neurosurgery attending, the final

 17            neurosurgery attending.

 18                              Q.   So you're getting information

 19            from a lot of different specialists or other

 20            providers and colleagues that you work with and

 21            you're putting them all together in your problem

 22            list.   Is that fair to say?

 23                              A.   Yes, yeah.

 24                              Q.   And with regard to the skull

 25            fracture, that initial impression or assessment



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page137
                                               06/14/21 Pageof134
                                                               898of 269
                                                                         1155
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 133
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            changed in the course of the treatment, correct?

  3                             A.   Yes.

  4                             Q.   Were there any other mistakes in

  5            the -- in the -- in the paperwork that you've seen,

  6            or any other assessments that changed that were not

  7            updated that you're aware of other than that?

  8                             MS. MITCHELL:    Object to form.

  9                             MS. CALABRESE:    Object to form.

 10                             THE REPORTER:    Sorry.   Who is

 11            objecting?

 12                             MS. CALABRESE:    Christina.

 13                             THE REPORTER:    Thank you.     I can't --

 14            I can't see everyone with this up on the screen.

 15                             MR. GINSBERG:    We're all on board with

 16            the objection.

 17                             MS. MITCHELL:    Do you mean when he --

 18            he looked through the chart obviously, he didn't, you

 19            know, quickly -- closely look at every single page.

 20                             Do you mean when he reviewed the chart

 21            if he noticed anything that was incorrect or you're

 22            talking about something else?

 23                             BY MR. KLEIN:    (Cont'g.)

 24                             Q.   At any time, up until today, have

 25            you become aware that anything else that you've



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page138
                                               06/14/21 Pageof135
                                                               898of 269
                                                                        1156
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 134
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            written or that's otherwise in the chart written by

  3            someone else is incorrect?

  4                           A.    No.

  5                           Q.    Okay.   The -- the district

  6            attorney at the time, do you remember his name who

  7            handled the case?   Art, he went on record and said

  8            that this was a problem --.

  9                           MR. GINSBERG:    Object to form.

 10                           BY MR. KLEIN:     (Cont'g.)

 11                           Q.    I didn't finish the question.          Do

 12            you recall the district attorney ever stating

 13            publicly that this was problematic that your report

 14            said that there was a skull fracture when there

 15            wasn't a skull fracture?

 16                           MR. GINSBERG:     Object to the form.

 17                           MS. MITCHELL:     Object to form.

 18                           MS. CALABRESE:     Christina, object to

 19            form.

 20                           A.    I don't remember him saying that.

 21                           BY MR. KLEIN:     (Cont'g.)

 22                           Q.    Okay.    Or anyone from the D.A.'s

 23            office, do -- do you remember this being an issue

 24            that that the report stated there was a skull

 25            fracture, when in fact there was no skull fracture?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page139
                                               06/14/21 Pageof136
                                                               898of 269
                                                                            1157
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 135
  1                Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MR. GINSBERG:    Object to the form.

  3                             A.   I don't remember that.

  4                             BY MR. KLEIN:    (Cont'g.)

  5                             Q.   In retrospect, should you have

  6            corrected that report?

  7                             MS. MITCHELL:    Object to form.

  8                             A.   Yes.

  9                             MR. KLEIN:    Okay.

 10                             MS. MITCHELL:     Are we done with this

 11            line of questioning especially since other records

 12            show that it had been considered and ruled out, and

 13            that was communicated.       Can we just move on now?

 14                             MR. KLEIN:     I'm looking at my notes to

 15            move on, but I don't think it's appropriate --

 16                             MS. MITCHELL:     Okay.     Great.

 17                             MR. KLEIN:     -- to really enter a

 18            speaking objection on the record like that -- that --

 19            .

 20                             MS. MITCHELL:     Noted.

 21                             MR. KLEIN:     I'm just trying to not go

 22            over things that have already been covered, so maybe

 23            it's taking longer to do that, but I'll try to get

 24            through it.

 25                             MS. MITCHELL:     Okay.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page140
                                               06/14/21 Pageof137
                                                                       1158
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 136
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           BY MR. KLEIN:   (Cont'g.)

  3                           Q.   Okay.   So one of the police

  4            officers stated that he had to follow you down the

  5            hall to get your attention when he initially spoke

  6            with you on September 21st, 2008.    Do you recall any

  7            such situation like that?

  8                           MR. GINSBERG:   Object to the form.

  9                           BY MR. KLEIN:   (Cont'g.)

 10                           Q.   No?

 11                           A.   No.

 12                           Q.   Okay.   The police officer, one of

 13            the investigating officers also said that you stated

 14            that you had been up for days as of that time.         Do

 15            you recall anything like that?

 16                           MR. GINSBERG:   Object to the form.

 17                           MS. MITCHELL:   Object to form.

 18                           A.   No.

 19                           BY MR. KLEIN:   (Cont'g.)

 20                           Q.   Have you been up for days prior

 21            to your interactions with Matthew Thomas?

 22                           A.   I don't know.

 23                           Q.   Is that something that did happen

 24            during that time in -- in   -- given your work

 25            schedule, would there be days where you worked for



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page141
                                               06/14/21 Pageof138
                                                               898of 269
                                                                              1159
800.523.7887                                            Associated Reporters Int'l., Inc.
                                                                            Page 137
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            days in a row?

  3                             MS. MITCHELL:     Object to form.

  4                             A.    Yes.

  5                             MS. MITCHELL:     Well, do you mean days

  6            in a row without a break?

  7                             MR. KLEIN:     I'm asking him.

  8                             MS. MITCHELL:     Let's be clear.

  9                             MR. KLEIN:     There was a statement

 10            made, I -- I can play it for you, but they -- I'm

 11            telling you in sum and substance --.

 12                              MS. MITCHELL:     But I'm just saying I'm

 13            working days in a row.        I'm not on twenty-four/seven.

 14            So I just want the record to be clear.

 15                              THE WITNESS:     I was never on a shift

 16            where I couldn't rest during the -- during the day.

 17                              MR. KLEIN:     Okay.

 18                              THE WITNESS:     There is always other

 19            doctors and very competent nurses there to take care

 20            of patients.     But even at best, the I.C.U. is --

 21            pediatric I.C.U. is a stressful -- a stressful place.

 22                              BY MR. KLEIN:     (Cont'g.)

 23                              Q.   Okay.     I've just got to move on

 24            here.   I think you said in response to earlier

 25            questions that with regard to this whether this was a



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page142
                                               06/14/21 Pageof139
                                                               898of 269
                                                                        1160
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 138
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            suspect injury, you wouldn't use that language you

  3            were more concerned about non-accidental or

  4            accidental trauma.   Do you recall that?

  5                           A.    I -- I don't understand your

  6            question.

  7                           Q.    Is it fair, were -- were your

  8            concerns about whether this was accidental or non-

  9            accidental trauma, was that something you were

 10            concerned with?

 11                           A.     My medical findings can -- can

 12            only diagnose problem.    It's not I -- I -- it's not

 13            part of my job to decide or figure out if it's

 14            accidental or non-accidental.

 15                           Q.     Okay.   And you didn't do that in

 16            this case, right?    You didn't determine that in this

 17            case.

 18                           A.     I -- I did not.

 19                           Q.     Okay.   And did you ever

 20            communicate to police -- to the police officers from

 21            Troy Police Department who came to the hospital,

 22            whether this was accidental or non-accidental?

 23                           A.     I had him telling me that there

 24            was no accident identified and that that would lead

 25            me to not tell to them, but they would tell me that



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page143
                                               06/14/21 Pageof140
                                                               898of 269
                                                                        1161
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 139
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            there was no accident identified.     So again, it's --

  3            it's a decision made by the investigating

  4            professionals, not the medical professionals.

  5                            Q.    Okay.   Can we put up the

  6            deposition of a witness exhibit signed by Walter

  7            Edge.

  8                            Dr. Edge, can you just read us the

  9            narrative where it says after the words depose and

 10            say.

 11                             A.   Can I just read from the whole

 12            thing?   I don't -- I don't know what you mean.

 13                             Q.   Yeah, I just want to -- just it's

 14            hard for me to -- to understand, especially with the

 15            cross outs.    So if you could just read through it and

 16            indicate if there's a cross out if that's something

 17            that you changed and what it says.

 18                             A.   I examined Matthew and he had a

 19            subdural hematoma on his head.     Based on the family

 20            history, I was concerned that Matthew was a victim of

 21            child abuse.

 22                             The injury that Matthew suffered

 23            typically is a high impact injury, or other

 24            acceleration, deceleration.     This type of injury can

 25            be caused by very violent shaking or shaking and



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page144
                                               06/14/21 Pageof141
                                                               898of 269
                                                                         1162
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 140
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            forced against a hard object.

  3                             Matthew also has brain swelling caused

  4            by severe trauma.     Matthew is currently brain dead

  5            and another confirmation exam will be done tomorrow.

  6                             This type of injury could not have

  7            been caused by merely bumping Matthew against a hard

  8            object.   This needs to be a severe acceleration prior

  9            to striking the object, the hard object.

 10                             Q.    And then -- and then you signed

 11            that at the bottom, correct?

 12                             A.    Yes.

 13                             Q.    Okay.   So is -- are these your

 14            words that you discussed with them and then they

 15            wrote it down?    Or did you dictate this to someone

 16            else?

 17                             In other words, let me rephrase it,

 18            withdrawn.

 19                             Can you explain the circumstances of

 20            how the statement became written out?

 21                             A.    I can't exactly.    It was written

 22            by a social worker based on the history that we have

 23            discussed in the past.

 24                             Q.    How do you know it's written --

 25            Sorry.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page145
                                               06/14/21 Pageof142
                                                               898of 269
                                                                          1163
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 141
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   Because --.

  3                             Q.   My question is how do you know

  4            it's written by a social worker as opposed to the

  5            investigating officer whose name is at the bottom?

  6                             A.   Maybe it's by him, yeah.        It

  7            looks like his handwriting, yes.

  8                             Q.   Okay.   So -- and -- and I'll show

  9            you another document where that sergeant says he took

 10            a deposition from you.    So do you -- do you know now,

 11            does that refresh your recollection?

 12                             MR. GINSBERG:    Object to the form.

 13                             BY MR. KLEIN:    (Cont'g.)

 14                             Q.   Does this refresh your

 15            recollection of who -- how this was written?          Did the

 16            -- did the sergeant or police officer write it out?

 17                             A.   I don't remember the details, no.

 18                             MS. MITCHELL:    Let him finish his

 19            question before you answer.      It just helps the

 20            record.

 21                             BY MR. KLEIN:    (Cont'g.)

 22                             Q.   Does this -- does this deposition

 23            -- withdrawn.    This deposition -- withdrawn.

 24                             Going to the sentence where you have a

 25            first edit.   It says the injury that Matthew suffered



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page146
                                               06/14/21 Pageof143
                                                               898of 269
                                                                        1164
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 142
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            and then you add something.    What does that say?         May

  3            have -- may have been?

  4                           A.   Typically.

  5                           Q.   Typically.    Do -- do you remember

  6            if the police were pushing you to say that this was a

  7            high impact trauma, not accidental injury versus an

  8            accidental injury or was this coming from you?

  9                           A.   I don't remember.

 10                           Q.   Okay.     As of -- as of the date

 11            when you wrote this, which was on the 22nd of

 12            September, did you know at that time whether this was

 13            a traumatic death or some perhaps non-traumatic from

 14            a set -- from septic shock?     Did you know either way?

 15                           A.   Well, it wasn't a death at this

 16            time, so you're asking me a question that --

 17                           Q.   Did you examine -- you had said

 18            -- you said he would be pronounced dead.        Do you --

 19            you were just waiting for the second evaluation to

 20            pronounce him dead, correct?

 21                           But he was essentially brain dead at

 22            that point, wasn't he?

 23                           A.   Yes.

 24                           Q.   Okay.     So my question is this,

 25            you talk about he -- he also has brain swelling



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page147
                                               06/14/21 Pageof144
                                                               898of 269
                                                                          1165
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 143
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            caused by severe trauma.    Were the police officers

  3            suggesting this trauma-centric deposition from you or

  4            did you -- were these your own words?

  5                           And in other words, did you -- would

  6            you have mentioned sepsis as a possible cause of

  7            death if you were writing this yourself, not them?

  8                           MR. GINSBERG:    Object to the form.

  9                           MS. CALABRESE:    Object to form.

 10                           MS. PECK:    Object to form.

 11                           MS. MITCHELL:    He wasn't dead.

 12                           MR. KLEIN:    Okay.

 13                           BY MR. KLEIN:    (Cont'g.)

 14                           Q.   Would you have mentioned sepsis

 15            as a contributing factor here at the time you wrote

 16            the report, if -- if you were writing it rather than

 17            them writing it for you?

 18                           MR. GINSBERG:    Object to the form.

 19                           MS. PECK:    Object to the form.

 20                           MS. CALABRESE:    Christina, objection

 21            to form.

 22                           MR. KLEIN:    You can answer.

 23                           A.   I really can't remember my state

 24            of mind exactly and at that time of writing the

 25            deposition, and exactly in what order my concerns



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page148
                                               06/14/21 Pageof145
                                                               898of 269
                                                                        1166
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 144
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            were.

  3                           MS. MITCHELL:     Yes, don't -- don't

  4            guess, don't speculate.    It's only what you know now.

  5                           MS. CALABRESE:     I'm going to ask that

  6            you not coach the witness or make speaking

  7            objections.   Thank you.

  8                           MS. MITCHELL:     Okay.   Well, I'm going

  9            to repeat that I told him not to guess or speculate,

 10            which is appropriate because nobody wants a witness

 11            doing that.

 12                            So I'm not coaching him.      I'm

 13            reminding him of the procedure.

 14                            MR. GINSBERG:    Agreed.

 15                            MS. CALABRESE:    But I would ask you to

 16            not do that during the course of the deposition.

 17            It's against the very concrete rules of trial

 18            practice as outlined in the uniform court rules of

 19            trial practice.

 20                            So again, you know, this has been

 21            going on the entire deposition.     I haven't said

 22            anything up to this point.     But I think at this

 23            point, it's important to make a record that you have

 24            been making speaking objections at length.

 25                            And you have been speaking for the



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page149
                                               06/14/21 Pageof146
                                                               898of 269
                                                                        1167
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 145
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            witness prior to him asking questions during the

  3            pendency of the answer.   So I'm just going to make a

  4            record of that, ask you to not do that.

  5                            If you continue to do that I will move

  6            for sanctions based upon that behavior, which again,

  7            is clearly against the uniform rules of trial

  8            practice and procedure.   And if you need me to

  9            provide you with a cite to that I certainly can.

 10                            MS. MITCHELL:    Well, I'm going to note

 11            that I -- I don't know what you're talking about that

 12            this has been happening all along.

 13                            This was the first time I reminded the

 14            witness not to guess or speculate.     I don't see how

 15            that would be sanctionable.     I've been trying to

 16            assist the process because we don't have proper

 17            exhibits to help him find things to move it along.

 18                            If you want to email me the site,

 19            that's fine.   But I'm going to do what's appropriate

 20            for the witness and in my role as his attorney.

 21                            BY MR. KLEIN:    (Cont'g.)

 22                            Q.   Okay.   So looking at the

 23            document, it says based on the family history, I was

 24            concerned that Matthew was a victim of child abuse.

 25                            Do you know who conveyed that family



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page150
                                               06/14/21 Pageof147
                                                               898of 269
                                                                            1168
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 146
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            history to you?    In other words, did the detectives

  3            provide history to you?

  4                             A.    I don't remember.

  5                             Q.    Okay.   Now, I'd like to show the

  6            witness the exhibit entitled -- one second please.

  7            Mason narrative.

  8                             A.    Is this -- is this document one?

  9                             Q.    I -- I believe so.

 10                              THE REPORTER:    It is not marked yet.

 11            Do you want to mark it as number two?

 12                              MR. KLEIN:   Sure.

 13                              MS. CALABRESE:    Is it a three-page

 14            document?

 15                              MR. KLEIN:   It is.     Bates number

 16            thirteen ninety-eight, fourteen hundred and fourteen

 17            zero one.

 18                              MS. CALABRESE:    Okay.

 19                              BY MR. KLEIN:    (Cont'g.)

 20                              Q.   Just show him the first page

 21            actually.

 22                              A.   Yes.

 23                              THE REPORTER:    Do you need me to go to

 24            another page?

 25                              A.   No.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page151
                                               06/14/21 Pageof148
                                                               898of 269
                                                                            1169
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 147
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            BY MR. KLEIN:    (Cont'g.)

  3                            Q.   Looking at the bottom of the

  4            first page under the head section that says 9/21/08.

  5            It says --.

  6                            A.   It's not 9/21.        It says 9/26.

  7                            Q.   Bates number thirteen ninety-

  8            eight at the bottom.

  9                            A.   Okay.

 10                            Q.     Yeah.   Okay.

 11                            MS. CALABRESE:     Can you scroll down,

 12            take us the entire way so I can see what he's talking

 13            about.   Okay, thank you.

 14                            MR. GINSBERG:     Is it three pages or

 15            six pages?

 16                            MR. KLEIN:     Three pages.

 17                            MS. CALABRESE:     Yeah, it does say page

 18            one of six, page three of six, and page four of six.

 19                            MR. KLEIN:     Right.     But this document

 20            is three pages scanned, I guess that this is how it

 21            was scanned.   I'm not sure why.

 22                            BY MR. KLEIN:     (Cont'g.)

 23                            Q.     In the last sentence it says,

 24            Edge stated to detective Fountain, "This is a

 25            murder." And that's -- I just wanted to show that to



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page152
                                               06/14/21 Pageof149
                                                               898of 269
                                                                        1170
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 148
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            you that this was put in a report and just for the

  3            record you dispute saying, "This is murder."         Is that

  4            right?

  5                            MR. GINSBERG:    Object -- object to the

  6            form.    Please note the standing objection to any

  7            questions with regard to this document.

  8                            BY MR. KLEIN:    (Cont'g.)

  9                            Q.    Okay.   And the answer was that's

 10            correct.    Right, Doctor?

 11                             A.   Yes.

 12                             Q.   Okay.   Would you agree that it

 13            was possible that the patient had an infection plus

 14            some trauma?

 15                             A.   Yes.

 16                             Q.   And is that something that you

 17            would necessarily have told the police?       In other

 18            words, it's not that it was just trauma but that

 19            there was an infection plus some trauma?

 20                             A.   I can only speculate.

 21                             Q.   Okay.   Well, in general -- just

 22            speaking generally and if you want to refer to any of

 23            the pages we can, but would you agree that your --

 24            your -- your findings don't talk about sepsis?

 25                             A.   Yes.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page153
                                               06/14/21 Pageof150
                                                               898of 269
                                                                        1171
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 149
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            MS. CALABRESE:    I'm sorry.     Did you

  3            say sexist?

  4                            MR. KLEIN:    Sepsis.

  5                            MS. CALABRESE:    I didn't hear that.

  6                            MR. KLEIN:    Sepsis.

  7                            MS. CALABRESE:    Sepsis, thank you.

  8                            BY MR. KLEIN:    (Cont'g.)

  9                            Q.    They don't mention, you're -- so

 10            -- so if you --.

 11                             MS. MITCHELL:   Can I just say -- just

 12            to jump in, maybe get exposed to sanctions but when

 13            you say findings, are you talking about what's

 14            contained in the deposition or are you talking about

 15            the findings in the medical report?

 16                             MR. KLEIN:   In the medical report such

 17            as the PICU attending note, such as the discharge

 18            summary.    Anywhere in your record, you don't -- you

 19            don't --.

 20                             MS. MITCHELL:   Okay.

 21                             BY MR. KLEIN:   (Cont'g.)

 22                             Q.   You don't -- you don't -- is it

 23            fair to say that you don't have any findings in your

 24            -- in your -- in your records where you talk about

 25            sepsis as being a possible contributing issue here.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page154
                                               06/14/21 Pageof151
                                                               898of 269
                                                                        1172
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 150
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            A.    That's not true.

  3                            MS. CALABRESE:   So I'm sorry.       I have

  4            to stop you, Brett right there.    This is an example

  5            of the back and forth communication, the

  6            inappropriate back and forth communication that

  7            you've been having with your client.

  8                            There was a question pending and you

  9            were having a discussion with him.     It's not

 10            appropriate.   You cannot speak to the witness while a

 11            question is pending.

 12                            And that's what I'm trying to, which

 13            was happening throughout the -- I'm sorry, I'm still

 14            talking.   That's what I'm referring to, which has

 15            been happening throughout the course of this

 16            deposition.

 17                            Earlier, you said you didn't know what

 18            I was talking about.    So I thought it was incumbent

 19            upon me to illustrate for you what I meant earlier

 20            and this is what I'm talking about.

 21                            MS. MITCHELL:    I was asking for

 22            clarification because he asked if there were any

 23            findings of sepsis.

 24                            MS. CALABRESE:    I'm not talking about

 25            what you were talking to Brett about.      I'm talking



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page155
                                               06/14/21 Pageof152
                                                               898of 269
                                                                         1173
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 151
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            about what you were talking to your client about.

  3                             You can't have a conversation with

  4            your client when the question is pending because that

  5            implies that you're coaching the response.

  6                             So that is what I was referring to

  7            earlier what you just suggested now.

  8                             MS. MITCHELL:    I don't know what

  9            communication you're talking about that I had with

 10            the client.   Can you tell me what was said?

 11                             MS. CALABRESE:    Are you --?

 12                             MS. MITCHELL:    Because I'm trying to

 13            help and look through the chart.

 14                             MS. CALABRESE:    That's what you cannot

 15            have a verbal communication with him while a question

 16            is pending.

 17                             MS. MITCHELL:    Okay.   What is the

 18            verbal communication that you've heard that is at

 19            issue?

 20                             MS. CALABRESE:    I couldn't hear what

 21            you were saying.    But I did observe you talking to

 22            him.   Are you denying the fact that you did that?

 23                             MS. MITCHELL:    I did not.     You're

 24            saying that you did not hear anything, but you saw a

 25            communication.    I am wearing a mask.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page156
                                               06/14/21 Pageof153
                                                               898of 269
                                                                         1174
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 152
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MS. CALABRESE:   I heard -- I heard you

  3            -- I heard a mumble.    I heard a mumble.      Are you on

  4            the record as an officer of the court saying that you

  5            did not just say something to your client while the

  6            question is pending?

  7                             Because I -- just so you know, before

  8            you answer, I'm going to ask the doctor under oath,

  9            if you just spoke to him, so be careful how you

 10            respond here.    Are you -- are you referring to your

 11            client --.

 12                             MS. MITCHELL:    Okay.   First of all, I

 13            don't -- are you speaking to me at all?        You said you

 14            were going to get a motion for sanctions because I

 15            asked my client not to guess.      If you want to end --

 16                             MR. GINSBERG:    Let's just settle back

 17            --

 18                             MS. MITCHELL:    -- this deposition now

 19            --

 20                             MR. GINSBERG:    -- for a second.

 21                             MS. CALABRESE:    If you want to end it,

 22            that's fine.    But we’re not coming back.

 23                             MR. GINSBERG:    The problem I have --

 24            that the concerns are we have to come back for a

 25            second.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page157
                                               06/14/21 Pageof154
                                                                       1175
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 153
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MS. MITCHELL:    Yeah, we're taking a

  3            break.

  4                           MR. KLEIN:   Christina, I think you

  5            made your point.   I think we should try to finish the

  6            deposition.

  7                           MS. CALABRESE:    I -- I don't think

  8            that -- I don't think there's any reason to stop.

  9            But I'm not going to allow somebody to imply that I

 10            didn't see what I -- what I very distinctly saw.

 11                           MR. GINSBERG:    Christina, it's not

 12            wrong.

 13                           MS. CALABRESE:    What's that, Michael?

 14                           MR. GINSBERG:    I said you're not

 15            wrong.

 16                           MS. CALABRESE:    No, I know I'm not.

 17            I'm trying to be judicious and -- and polite about

 18            it, you know, but I'm getting a lot of pushback

 19            rather than -- you know --.

 20                           MR. GINSBERG:    She -- she appeared --

 21            she appears to be a young attorney, let's -- you

 22            know, let's try to cover a little snag on that.

 23                           (Off the record 2:14 p.m.)

 24                           (On the record, 2:25 p.m.)

 25                           THE REPORTER:    We are on the record.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page158
                                               06/14/21 Pageof155
                                                               898of 269
                                                                          1176
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 154
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            We can't hear you.

  3                             MS. SPENCER:     Brett, you're muted.

  4                             BY MR. KLEIN:     (Cont'g.)

  5                             Q.     Dr. Edge, based on your training

  6            and experience, is there evidence that you're aware

  7            of or developments in medicine over the last twelve

  8            years that suggests that subdural hematomas can incur

  9            from birth?

 10                              A.     I haven't reviewed that

 11            literature recently.       Certainly, it is -- I think

 12            pretty much any hematoma can cause it -- can cause it

 13            by birth trauma.       I don't think that's new like the

 14            last twelve years that's --.

 15                              Q.     This case involves a forceps

 16            delivery.     I don't know, did you know that?

 17                              A.     No.

 18                              Q.     There was toxemia, did you know

 19            that?

 20                              MR. GINSBERG:    Objection to form.

 21            Please note my objection to the form of the last

 22            question.

 23                              BY MR. KLEIN:    (Cont'g.)

 24                              Q.     Did you know that there was

 25            toxemia at birth?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page159
                                               06/14/21 Pageof156
                                                               898of 269
                                                                         1177
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 155
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MR. GINSBERG:   Object to form.

  3                             BY MR. KLEIN:   (Cont'g.)

  4                             Q.   No?

  5                             A.   No.

  6                             Q.   Okay.   Did you know that there

  7            was -- the mother had, I believe, a bacterial

  8            infection?

  9                             MR. GINSBERG:   Object to the form.

 10                             A.    No.

 11                             BY MR. KLEIN:    (Cont'g.)

 12                             Q.    There was -- I think the word is

 13            merc -- meconium.     Did you hear anything about that

 14            being present?

 15                             A.    I -- I don't recall, to be

 16            honest.   That -- that should be the answer to all of

 17            the last three questions.

 18                             Q.    So all the related birth

 19            difficulties with Matthew, if you had had this case

 20            today would that be something based on the -- where

 21            medicine is on this today that you would have asked

 22            to look into?

 23                             MR. GINSBERG:    Object to the form.

 24                             MS. PECK:    Object to form.

 25                             BY MR. KLEIN:    (Cont'g.)



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page160
                                               06/14/21 Pageof157
                                                               898of 269
                                                                             1178
800.523.7887                                           Associated Reporters Int'l., Inc.
                                                                           Page 156
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.     Not saying -- not saying whether

  3            or not you had anything to do with that.             I'm just

  4            saying based on how the medicine has advanced on what

  5            we know about bacterial infections.

  6                            A.     I got three questions there.

  7            You're asking whether birth history is an important

  8            part of my history.     It's always been and always will

  9            be and is part of -- part of the admission process

 10            for any patient.      And second question was, has

 11            anything changed in the last twelve years, no, not --

 12            that's always been an important question.

 13                             Q.     Okay.   I want to play a video.

 14            Can I do a screen share from my computer, Annette?

 15                             THE REPORTER:     Let me give you

 16            permission.

 17                             MR. KLEIN:     You got to see my old

 18            desktop.    It's just --.

 19                             THE REPORTER:     Brett, you should be

 20            able to do it now.

 21                             MR. KLEIN:     Okay.     So then do you guys

 22            just see doctor -- a picture of Dr. Edge and that's

 23            it?   Just want to make sure you don't see my old

 24            computer.

 25                             MS. CALABRESE:     I don't see anything.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                                APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page161
                                               06/14/21 Pageof158
                                                               898of 269
                                                                            1179
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 157
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                              MR. KLEIN:   Okay.     How do we present,

  3            how do we do that that?

  4                              THE REPORTER:    Go to share.

  5                              MS. CALABRESE:    If you go to that top

  6            and hit share.

  7                              MR. KLEIN:   Yeah.

  8                              MS. CALABRESE:    And then you see share

  9            content.

 10                              MR. KLEIN:   I see.     There you go.        Got

 11            it.   Perfect.

 12                              BY MR. KLEIN:     (Cont'g.)

 13                              Q.   Okay.   Doctor, I'm just going to

 14            play you a short clip and let me -- I just want to

 15            know your response to whether you -- your response to

 16            the clip.   Have you ever seen --?

 17                              MR. GINSBERG:     Object to the form.

 18            Object to the presentation.        Object to the

 19            foundation.

 20                              BY MR. KLEIN:     (Cont'g.)

 21                              Q.   Dr. Edge, have you ever seen the

 22            documentary of the -- of Adrian Thomas' case?

 23                              A.   No.

 24                              Q.   Okay.   I'm going to play this --

 25                              MS. CALABRESE:     Can we mark this?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page162
                                               06/14/21 Pageof159
                                                               898of 269
                                                                           1180
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 158
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MR. KLEIN:   Sure.     We can mark it

  3            after.    I'll send it to the reporter.

  4                             MS. CALABRESE:    Okay.     Thank you.

  5                             BY MR. KLEIN:    (Cont'g.)

  6                             Q.   This is part of the documentary

  7            that just references you and I'm just going to ask

  8            you some questions about it on the other side, okay?

  9                             [Video being played]

 10                             MS. CALABRESE:    That's better, but can

 11            you restart it though because we couldn't hear it in

 12            the beginning?

 13                             MR. KLEIN:   I'm going to restart it.

 14                             [Video being played]

 15                             MR. KLEIN:   Okay.     Dr. Edge.

 16                             MS. MITCHELL:    The audio was cutting

 17            in and out a little just so you know.

 18                             MR. KLEIN:   I hear you. Did you ever

 19            --?

 20                             BY MR. KLEIN:    (Cont'g.)

 21                             Q.   Okay.   Have you ever seen that

 22            before?

 23                             A.   No.

 24                             Q.   Okay.   If you need me to play it

 25            back in snippets let me know, but can you tell us if



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page163
                                               06/14/21 Pageof160
                                                               898of 269
                                                                          1181
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 159
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            -- if that's accurate, if that's an accurate

  3            portrayal or if in your view that's inaccurate?

  4                            MS. MITCHELL:   Object to form.

  5                            A.    Do I think it was accurate?          Was

  6            I very concerned about this child having a massive

  7            head trauma?   Yes.   And did I do my best to

  8            communicate that to the police?      Yes.    Did I tell

  9            them that I was busy or I couldn't talk to them more?

 10            I really can't remember.

 11                            BY MR. KLEIN:   (Cont'g.)

 12                            Q.    Did you tell them that this was

 13            -- about -- that this was a murder?

 14                            A.    I don't remember using that word.

 15            As I said to you a little while ago, I have no

 16            recollection of saying that word nor would that be my

 17            usual practice.

 18                            Q.    Thank you.

 19                            MR. GINSBERG:   Can you -- sorry Brett,

 20            can you again share your screen?

 21                            MR. KLEIN:   Yeah.     I'm going to play

 22            one more.   Just one more and then I think I'm just

 23            about done with my questions.      It's going to load it

 24            up.

 25                            [Video being played]



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page164
                                               06/14/21 Pageof161
                                                               898of 269
                                                                              1182
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 160
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MS. MITCHELL:     Just so it's clear, I'm

  3            just asking my client -- his phone went off.             I'm

  4            asking if he needs to take the call.

  5                             THE WITNESS:     I need a break.        I have

  6            to respond to a patient question.

  7                             MR. KLEIN:    Sure.     Do you want to --

  8            do you want us to mute you or you want to step out or

  9            are you okay?

 10                              THE WITNESS:    No, no, I can do it

 11            right here.     I'm texting.

 12                              MS. MITCHELL:    Christina, I just need

 13            to ask, you're on mute.

 14                              MS. CALABRESE:    I don't need to

 15            explain, you know, make a record for my benefit when

 16            you speak to Dr. Edge.     It -- just to be perfectly

 17            frank, it's difficult during remote depositions to

 18            make sure that everything is go -- you know,

 19            everything is copacetic.       And so that's why, you

 20            know, I said what I said.       I honestly didn't mean to

 21            give you a hard time, so I don't want you to feel

 22            like you need to cut your way to appease me.             All

 23            right.

 24                              MS. MITCHELL:    Well, you did threaten

 25            to bring a motion for sanctions so --



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page165
                                               06/14/21 Pageof162
                                                               898of 269
                                                                          1183
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 161
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MS. CALABRESE:    I did.

  3                           MS. MITCHELL:    -- of course I will

  4            take, you know, this tone from now on and I certainly

  5            don't want there to be any confusion.        I think it's

  6            really unfortunate that we were not given marked

  7            exhibits in advance because I think this remote

  8            process has been hard enough for the doctor.

  9                           And now, we're trying to work off of

 10            stuff that's very confusing but again, when you throw

 11            out a motion for sanctions I understand now you're

 12            saying I shouldn't appease you, but I'm going to go

 13            above and beyond because now you've attacked my

 14            efforts.   But I'd like to just move on so the doctor

 15            can wrap it up.

 16                            THE WITNESS:    I'm all set.

 17                            MR. KLEIN:   Okay.     Great.     I'm going

 18            to show the next clip and I think I'm pretty much

 19            done.   Just going to double-check that but here's the

 20            other clip I want to play for you and talk to you

 21            about it on the other side.     Hold on a sec.        That's

 22            not what I wanted to share.     That didn't work right.

 23            Hold on one second.

 24                            [Video being played]

 25                            MR. KLEIN:   Okay.     Thanks for bearing



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page166
                                               06/14/21 Pageof163
                                                               898of 269
                                                                         1184
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 162
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            with me.

  3                            BY MR. KLEIN:   (Cont'g.)

  4                            Q.   Do you see the video?        No?

  5                            A.   No.

  6                            Q.   Okay.   I'm going to try it one

  7            more time and if I don't get it, I'm going to give

  8            up, sorry.

  9                            [Video being played]

 10                            BY MR. KLEIN:   (Cont'g.)

 11                            Q.   Okay.   So Dr. Edge, have you ever

 12            seen that clip or footage before?

 13                            A.   No.

 14                            Q.   Okay.   Let me just get back to my

 15            screen here.   Do you recall that -- I'll represent to

 16            you that the gentleman who said that this is

 17            problematic was the District Attorney who tried the

 18            case?   Do you recognize him now that you've seen him?

 19                            A.   No.

 20                            Q.   Okay.   Do you remember anyone

 21            telling you that it was prob -- that your findings

 22            were problematic?

 23                            A.   I don't, no.

 24                            Q.   Okay.   This idea that you were

 25            telling the police, this is a murder, this is a



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page167
                                               06/14/21 Pageof164
                                                               898of 269
                                                                           1185
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 163
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            murder.    Is that something that you think, based on

  3            your experience and your recollections of this

  4            incident, came from the police and not from you?

  5                             MR. GINSBERG:   Object to the form.

  6                             MS. MITCHELL:   Object to form.

  7                             A.    It did not come from me.

  8                             MR. KLEIN:   That's good.       Thanks so

  9            much.    I think that's all I have.      I'm just going to

 10            take one moment to look at my notes and I believe

 11            that's about it.

 12                              I believe that's all I have.         Subject

 13            to any follow-up after Christine -- Christina or

 14            anyone else.     Dr. Edge, thank you for your time

 15            today.     We appreciate it and thanks for what you do,

 16            stay safe.

 17                              THE WITNESS:   Thank you.

 18                              MS. PECK:   Christina, do you want me

 19            to go next?

 20                              CROSS EXAMINATION

 21                              BY MS. PECK:

 22                              Q.   Dr. Edge, my name is Crystal

 23            Peck.     I'm with Bailey, Johnson & Peck.       We are

 24            attorneys for Dr. Michael Sikirica, medical examiner

 25            in this case.     I only have a few questions for you so



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page168
                                               06/14/21 Pageof165
                                                               898of 269
                                                                        1186
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 164
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            I'm really hoping that we can keep this pretty short.

  3            Most of them are going to be following up on some of

  4            the questions that were asked of you by Mr. Klein.

  5                           You were asked questions about

  6            subdural hematomas being caused by birth.        When you

  7            have a patient like Matthew Thomas, four months old,

  8            is there a way to definitively say whether a subdural

  9            hematoma that's found in a patient like him is caused

 10            by birth or in subsequent trauma?     Is there a way to

 11            definitively diagnose where and when -- where it came

 12            from?

 13                           A.   That's not my area of expertise.

 14            I -- I believe that the radiologist can make an

 15            estimate of how old blood is and I've seen them do

 16            that before and the neurosurgeons.     Those are the

 17            people who have expertise in that area.

 18                           Q.   Okay.   And then --?

 19                           A.   So my -- my job was to -- to --

 20            to take what was reported to me.

 21                           Q.   Okay.   You were asked questions

 22            about the -- the C.T. report and the fact that it

 23            said an M.R.I. would be helpful.     What exactly does

 24            an M.R.I. show that the C.T. is not showing?

 25                           A.   It gives you a better picture of



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page169
                                               06/14/21 Pageof166
                                                               898of 269
                                                                        1187
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 165
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the density of different things and would help give

  3            some definition of how old this blood was.       Also,

  4            whether there was other injury to the brain.        The --

  5            the CAT scan is good for showing, you know,

  6            fractures, for showing that there is some fluid but

  7            exactly what the fluid is, it's not very good at.

  8                           Q.   Okay.   So if an M.R.I. would be

  9            better than a CAT scan to be able to show what you

 10            had just described, taking it a step further, which I

 11            know you can't do when you're treating live patients.

 12            But an autopsy being able to look actually in the

 13            brain itself, would that really be the best evidence

 14            of finding out what is going on with the patient or

 15            what happened with the patient?

 16                           A.   An M.R.I.?

 17                           Q.   No, what I'm saying is that if an

 18            -- if an M.R.I. was better than a CAT scan when you

 19            have to -- when you have to do an autopsy, would that

 20            be able to reveal to you better than, say, given an

 21            M.R.I. or a CAT scan as to what was going on in the

 22            brain about, if there was injury, if there was blood,

 23            how much injury?

 24                           A.   Yeah.   An autop -- an autopsy is

 25            better than anything.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page170
                                               06/14/21 Pageof167
                                                               898of 269
                                                                         1188
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 166
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            MR. KLEIN:   Objection.

  3                            THE WITNESS:    It's actually by looking

  4            at -- looking at the brain is better than, you know,

  5            getting any picture of the brain.      There are changes

  6            that happen after death however, that can make it

  7            confusing and this is a question that a pathologist

  8            would need to address.

  9                            BY MS. PECK:    (Cont'g.)

 10                            Q.   So a pathologist would be able to

 11            say what kind of changes might have occurred after

 12            death that might have changed whether -- affected how

 13            they would be able to diagnose this?

 14                            A.   Yes, I believe so, yes.

 15                            Q.   Okay.     Matthew Thomas had both a

 16            subdural hematoma and retinal hemorrhage --

 17            hemorrhages.   Was it your -- is it your opinion that

 18            those are not necessarily consistent with sepsis when

 19            you're seeing them together like this -- that they

 20            would be consistent with trauma?

 21                            MR. KLEIN:     Objection to form.

 22                            A.   I -- I have never seen subdural

 23            hematoma or retinal hemorrhages with severe sepsis in

 24            the many thousands of cases, nor have I read about

 25            that.   I'm sure the cases exist but I'm not -- that



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page171
                                               06/14/21 Pageof168
                                                               898of 269
                                                                        1189
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 167
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            is a rarity.

  3                            BY MS. PECK:    (Cont'g.)

  4                            Q.   And sepsis can't cause subdural

  5            hematomas, can it?

  6                            A.   I -- I've never seen it.        As I

  7            said before, I -- I'm not aware of that being, you

  8            know, we -- I see a lot of subdural hematomas.          They

  9            are, you know, ninety-nine point ninety-nine percent

 10            of the time they're trauma.     I've had -- there's been

 11            a few cases where there was an inborn birth issue

 12            with -- with like a patient with, what's the word

 13            called, hemophilia, that can get bleeding everywhere.

 14            But other than that, I've not seen subdurals outside

 15            of trauma.

 16                            MS. PECK:   I'm going to ask you and I

 17            will, again, I think I'll need to have this marked.

 18            The 2009 trial testimony that was, I think, was

 19            emailed over to you.

 20                            THE REPORTER:    Yes.

 21                            MS. PECK:   If you could just mark that

 22            as a Sikirica One.

 23                            THE REPORTER:    Okay.

 24                            MS. PECK:   All right.      And I'll ask

 25            you to go to page twenty-six, Ms. Annette.        Can you



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page172
                                               06/14/21 Pageof169
                                                               898of 269
                                                                          1190
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 168
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            pull down towards the bottom, please?

  3                             THE REPORTER:    Sure.

  4                             BY MS. PECK:    (Cont'g.)

  5                             Q.   Doctor, I'd like to bring your

  6            attention to page twenty-four of this transcript.

  7            You were asked if you had an opinion as to what

  8            caused the death of Matthew Thomas.        And your

  9            response was that, I have the opinion, my opinion was

 10            trauma and I can't rule out sepsis as being

 11            contributing to that.    Does that remain your opinion

 12            today, Doctor?

 13                             A.   Yes.

 14                             MS. PECK:   I have no further

 15            questions.

 16                             MS. CALABRESE:    I just need one

 17            moment, please.

 18                             MR. GINSBERG:    Crystal, what was that

 19            -- what was that the transcript of?

 20                             MS. PECK:   It was the 2009 trial

 21            testimony.   I think Brett had emailed a link over to

 22            Rhiannon with it.

 23                             MR. GINSBERG:    Okay.    I'm just -- I'm

 24            just keeping my -- my evidence list.

 25                             MS. PECK:   Sure.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page173
                                               06/14/21 Pageof170
                                                               898of 269
                                                                         1191
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 169
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MR. GINSBERG:    So testimony of Dr.

  3            Edge?

  4                           MS. PECK:    Dr. Edge, yes.

  5                           MR. GINSBERG:    Okay.     Thank you.

  6                           MS. PECK:    It's page nine seventy-

  7            five, I want to say of the transcript itself.

  8                           MR. GINSBERG:    Okay.     Thank you.

  9                           MS. CALABRESE:    Okay.     Thank you.       Are

 10            we still on, Annette?

 11                            THE REPORTER:   Okay.

 12                            CROSS EXAMINATION

 13                            BY MS. CALABRESE:

 14                            Q.   Dr. Edge, my name is Christina

 15            Calabrese.   I'm an attorney with the Office of the

 16            New York State, Attorney General to represent the

 17            State of New York in the action of Adrian Thomas

 18            versus the State of New York.    In our claim, he's

 19            alleging that he was wrongfully imprisoned over a

 20            course of period of time.

 21                            Throughout the course of the

 22            investigation we've learned that the allegations

 23            generally relate to actions of police conduct or

 24            misconduct and investigation and determination made

 25            in autopsy by Dr. Sikirica, okay.       So I'm just going



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page174
                                               06/14/21 Pageof171
                                                               898of 269
                                                                          1192
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 170
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            to follow-up with some questions that mostly Mr.

  3            Klein asked you.     You used the term dolls’ eye.        Can

  4            you explain to me what that means?

  5                           A.      Normally, when you have a patient

  6            lying on their back and you move, their -- their

  7            eyes, their -- the eyes go to the middle so they --

  8            they move.   And a patient who's dead, they don't

  9            move.   They just keep looking straight ahead.

 10                            Q.     And did you say that Matthew

 11            Thomas presented with dolls’ eye or did not?

 12                            A.     He had all the signs -- many

 13            signs of brain death including an abnormal response

 14            to moving the head with the eyes.

 15                            Q.     Or dolls’ eye?

 16                            A.     Oculocephalic response is the --

 17                            Q.     Okay.

 18                            A.     -- medical term.

 19                            Q.     Thank you.   And you were asked

 20            several questions about conversations that you may

 21            have had with the Troy Police Department.         Do you

 22            remember those questions?

 23                            A.     I remember something about that.

 24                            Q.     And I'm not asking -- I'm not

 25            asking if you remember the questions between you and



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page175
                                               06/14/21 Pageof172
                                                               898of 269
                                                                          1193
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 171
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the Troy Police.    I'm asking you to remember the

  3            questions that the attorneys here asked you today.

  4                           A.     Yeah.    I remember some of them.

  5            I'm not sure I remember every one.

  6                           Q.     Okay.    Is it fair to say that if

  7            -- let me ask you this, withdrawn.       Would it be

  8            appropriate for a doctor to -- would it be

  9            appropriate and ethical for a doctor to tailor his or

 10            her medical diagnosis and treatment plan to the whims

 11            or wishes of a police agency?

 12                           A.     Oh!     No, it would be unethical to

 13            tailor your professional response to police or anyone

 14            else.

 15                           Q.     And so in response to questions

 16            relating to conversations that you may have had with

 17            the Troy Police Department, several of your responses

 18            were, I don't remember.       As you sit here today, would

 19            you remember if you tailored your diagnosis and

 20            treatment of Matthew Thomas to the wishes of the Troy

 21            Police Department?

 22                           A.     I --.

 23                           MR. KLEIN:       Objection.

 24                           A.     I can't really answer that

 25            question directly.    I can answer directly --



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page176
                                               06/14/21 Pageof173
                                                               898of 269
                                                                          1194
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 172
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            indirectly about how I've dealt with patients like

  3            this in the past.

  4                             BY MS. CALABRESE:     (Cont'g.)

  5                             Q.   I guess -- I guess the broader

  6            question Doctor is, do you alter or change what the

  7            factual -- what the facts allowed you to come up with

  8            a medical diagnosis and treatment -- treatment of

  9            Matthew.   Did you tailor that or alter it because of

 10            what the police wanted you to do?

 11                             A.   Absolutely not.

 12                             Q.   And that would never be something

 13            you would do?

 14                             A.   I -- can I ask my attorney a

 15            question --

 16                             Q.   Absolutely.

 17                             A.   -- off the record?

 18                             Q.   Yes.    just make sure you hit

 19            mute, so we don't hear you.

 20                             MR. KLEIN:    Did I -- did I notice on

 21            your wall, Mike, is that like a great granddad or

 22            something?

 23                             MR. GINSBERG:    That's my grandfather,

 24            yes.

 25                             MR. KLEIN:    All right.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page177
                                               06/14/21 Pageof174
                                                               898of 269
                                                                         1195
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 173
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           MR. GINSBERG:     In lieu of a wheel, but

  3            -- yes, my father was even in that, so.

  4                           MS. CALABRESE:     Hey, Brett, since

  5            we're waiting, are you -- did you say you were going

  6            to provide those two video exhibits to Ms. Steno and

  7            have her mark them.

  8                           MR. KLEIN:     I could, sure.

  9                           MS. CALABRESE:     That'd be great.

 10            Thank you.   So Annette, I would ask that you not

 11            circulate the transcripts until you have those.

 12                            THE WITNESS:     Okay.   I'm ready, go

 13            ahead.

 14                            BY MS. CALABRESE:     (Cont'g.)

 15                            Q.    Okay.    Do you remember the

 16            question?

 17                            A.    I have said something in order to

 18            -- with altering medical facts in order to

 19            accommodate the police requests.

 20                            Q.    Yes.    Essentially, my question

 21            is, would you change your opinion as to diagnosis and

 22            treatment of a patient to align it with what

 23            perspective the police department determine --

 24            determined they wanted you to have?

 25                            A.    I -- absolutely not.       I would not



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page178
                                               06/14/21 Pageof175
                                                               898of 269
                                                                          1196
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 174
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            alter -- my job is to try to get the most balanced

  3            complete picture.    I'm -- however, and when I -- when

  4            I talk to my attorney about there's something I want

  5            to add that I think is really important and that's --

  6            that I've actually found myself on the other side.

  7            Where I find officers, particularly from counties

  8            that are, you know, outside of the city areas, where

  9            when a child is -- a baby is assaulted, they actually

 10            underplay and they get, oh, that's just shaken baby.

 11                            I've heard that before and I've found

 12            myself in the situation on multiple occasions needing

 13            to make it very clear that it's not just shaken baby,

 14            that this is   -- can be and I'm not talking about

 15            Michael Thomas.     I'm saying in general that, you

 16            know, that shaking -- shaking a baby is assault.             And

 17            these kinds of injuries are results of assault so

 18            that's the point I wanted to say.

 19                            Q.     Thank you, Doctor.      Thank you.

 20            And would you agree with -- with me when I say that

 21            your main duty and priority is to the patients?

 22                            A.     Absolutely.

 23                            Q.     And you will -- would you agree

 24            with me when I say you will and it's important --

 25            strike that.   It's important for you to liaise with



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page179
                                               06/14/21 Pageof176
                                                               898of 269
                                                                        1197
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 175
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            police departments in this -- in these types of cases

  3            in order to gain background information so that you

  4            can, in some cases, thoroughly diagnose and treat a

  5            patient?

  6                            A.    Yes, I mean --

  7                            Q.    Sometimes?

  8                            A.    -- our taking a -- our taking a

  9            history is getting as much social history as possible

 10            and --.

 11                             Q.   Thank you.   That -- that was my

 12            question.    Would that be considered history, a

 13            history in the course of your initial medical exam of

 14            a patient?

 15                             A.   Yes.   In fact, I think I

 16            mentioned in my original history that there was this

 17            -- he has history.    That's not making a judgment

 18            about what happened.    I'm just saying that's an

 19            important part of the constellation of findings here

 20            that helped me make a diagnosis.

 21                             Q.   And would you agree with me when

 22            I say whether or not a person is investigated or

 23            prosecuted for child abuse is of no relevance to you?

 24                             A.   I have -- that is not my job.         My

 25            job is my patients.    And making sure my -- (a) that



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page180
                                               06/14/21 Pageof177
                                                               898of 269
                                                                        1198
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 176
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            I'm taking good care of that patient, the best care

  3            possible, best care they could get anywhere in the

  4            world.    Number two, my responsibility is to that

  5            family.    And three, if there is a concern about child

  6            abuse, I need to let C.P.S. know and make sure that

  7            other children are not at risk.

  8                            Q.     And that was my follow-up

  9            question, Doctor.     I would ask that, would you agree

 10            with me that kind of an asterisk to the statement

 11            that you just gave or an exception would be in the

 12            event that you're protecting your patient from

 13            potential either continued abuse or follow-up abuse

 14            in certain circumstances.

 15                             That would be something that you would

 16            want to -- information that you would want to obtain

 17            in taking the history to ensure that your patient

 18            when leaving your hospital would -- is going into a

 19            safe place or a safe location?

 20                             A.    That's a very big part of what I

 21            do and very important.

 22                             Q.    Particularly because your --

 23            excuse my terminology but your client base are

 24            children and oftentimes children can't advocate for

 25            themselves, particularly infants?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page181
                                               06/14/21 Pageof178
                                                               898of 269
                                                                           1199
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 177
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.     Yes.

  3                           Q.     Now, there was a lot of

  4            conversation that you had with some of the attorneys

  5            with regard to the -- that part of your record or

  6            your report that discusses the skull fracture.          Do

  7            you remember the -- the conversations that you had

  8            with the attorneys?

  9                           A.     Yes.

 10                           Q.     Okay.   I'd like you to explain

 11            for me because it was kind of choppy back and forth;

 12            how you came to the conclusion of the skull fracture

 13            and then why the report was not changed by you?

 14                           A.     I don't remember the exact times

 15            that I was told that there was a skull fracture or

 16            who told that to me.    But I do know that I would not

 17            write that there was a skull fracture unless I'd been

 18            told that by either radiology or neurosurgery.          I

 19            don't remember in this situation where I heard that.

 20                           And the fact that -- that the second

 21            day that that after we had ruled that out that I

 22            didn't -- it was a month later -- sometimes I -- I

 23            did not think to cross that out.     And it was -- it

 24            was an error on my part not remembering what had --

 25            what had happened exactly one month ago.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page182
                                               06/14/21 Pageof179
                                                                       1200
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 178
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.   And so it wouldn't be typical for

  3            you to when -- well, first let me ask you this.

  4            Strike that.

  5                            Why -- what would explain you signing

  6            that page a month after the event?

  7                            A.   The -- the record particularly, a

  8            patient that dies, the record is taken away very

  9            quickly.   And the notes sometimes -- my notes are

 10            transcribed, they don't make it back into the chart

 11            for several hours after I dictated them.       So there's

 12            an excellent chance that this child had already been

 13            transferred to the morgue or wherever before the note

 14            came back.

 15                            So the note, therefore, went to

 16            medical records and then I would have gotten the

 17            notice a week or so down the road that there's an

 18            unsigned note and then I need to go to medical --

 19            medical records and take care of that.

 20                            Q.   And is it fair to say that in

 21            that circumstance that you're describing where you

 22            get some type of communication from medical record

 23            saying, hey, you forgot to sign this page.       Please

 24            come here and do that.   You would not be going

 25            through the report line for line to check for



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page183
                                               06/14/21 Pageof180
                                                               898of 269
                                                                          1201
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 179
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            accuracy and/or check that the recitation of the

  3            facts as within the report was akin to what you

  4            remember it, you wouldn't have been doing that,

  5            correct?

  6                             MR. KLEIN:   Objection.

  7                             A.   I mean, I'm signing it so that I

  8            am saying that I've gone through it and agree with

  9            what's in it.    Am I always very good at reading every

 10            line when I -- no, I -- I'm not.       All right.      There

 11            have been times where I've missed things and signed

 12            it a month later.

 13                             BY MS. CALABRESE:     (Cont'g.)

 14                             Q.   Okay.   And you were asked several

 15            questions by the other attorneys about statements

 16            that the Troy Police Department, claim you made with

 17            regard to the term "murder."     Do you recall using

 18            that term?

 19                             A.   No.

 20                             Q.   Would that be something you would

 21            say?

 22                             A.   As I testified here on several

 23            occasions, I can't imagine saying that.         I can

 24            imagine as I just said, saying, explaining to police

 25            that this is a serious injury involving a lot of



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page184
                                               06/14/21 Pageof181
                                                               898of 269
                                                                          1202
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 180
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            trauma.

  3                            Q.    And frankly, saying this --.

  4                            A.    I -- I would have -- I would have

  5            emphasized that because as I said to you a few

  6            minutes ago, I find it -- it's been necessary to

  7            emphasize that to believe that it takes a serious

  8            amount of -- of violence to cause a subdural

  9            hematoma.

 10                             Q.   And frankly, you would be remiss

 11            in your duty to the patients and your duties under

 12            the Hippocratic Oath if you didn't flag a law

 13            enforcement authority in the event that you believe

 14            child abuse is prevalent in one of your cases?

 15                             MR. KLEIN:   Objection.

 16                             A. In fact, you know, it's -- again,

 17            it's for reasons we just talked about protecting

 18            other children as my duty to protect children in

 19            general.    It's very important that I educate law

 20            enforcement and anyone else as to the -- the amount

 21            of violence it takes for there to be bleeding in the

 22            brain.

 23                             BY MS. CALABRESE:     (Cont'g.)

 24                             Q.   And you were asked questions

 25            about the prevalence of subdural hematoma -- subdural



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page185
                                               06/14/21 Pageof182
                                                               898of 269
                                                                        1203
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 181
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            hematomas and retinal hem -- hemorrhages and sepsis.

  3            You stated that it would be incredibly rare to find

  4            retinal hemorrhages in cases of sepsis, is that

  5            correct?

  6                           A.   I think that in my -- in my

  7            experience I'm sure that it has -- it has occurred

  8            but I -- I have not seen that.

  9                           Q.   And just to recap your

 10            experience, Doctor, how long have you practiced

 11            medicine in the area of pediatrics?

 12                           A.   Thirty years.

 13                           Q.   And during that time, you have

 14            probably treated hundreds of thousands of pediatric

 15            patients, is that fair to say?

 16                           MR. KLEIN:   Objection.     Objection to

 17            form.

 18                           A.   I don't know about hundreds of

 19            thousands but thousands for sure.

 20                           MS. CALABRESE:    Thousands.

 21                           BY MS. CALABRESE:     (Cont'g.)

 22                           Q.   And in fact, you've developed an

 23            expertise in the area which led to your supervisory

 24            roles in Albany Medical Center?

 25                           MR. KLEIN:   Standing objection to



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page186
                                               06/14/21 Pageof183
                                                               898of 269
                                                                         1204
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 182
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            leading questions rather than objecting to each one,

  3            if you could just note that, Ms. Reporter, thanks.

  4                            A.   I -- I -- I can't say that I have

  5            particular expertise in -- in child abuse but I am a

  6            professor and I've been lecturing and -- medical

  7            students and residents for that whole thirty years of

  8            all the aspects of pediatric intensive care including

  9            child abuse.

 10                            BY MS. CALABRESE:     (Cont'g.)

 11                            Q.   Including authoring journal

 12            entries or writings with regard to ped -- your

 13            pediatric care of patients?

 14                            A.   In -- yeah, intensive care, yes.

 15                            Q.   You said, based upon your

 16            experience in handling pediatric patients, retinal

 17            hemorrhaging has been ninety-nine point nine nine

 18            percent due to trauma, in your experience?

 19                            A.   Yes.

 20                            Q.   And you were asked questions, I

 21            believe, by Mr. Klein about the term Shaken Baby

 22            Syndrome.   Is it your understanding in reading the

 23            literature that that term is passé and the preferred

 24            term is abusive head trauma?

 25                            A.   Yes.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page187
                                               06/14/21 Pageof184
                                                               898of 269
                                                                          1205
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 183
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.     And generally, is that due to the

  3            fact that subdural hematomas and retinal hemorrhaging

  4            can be caused by, as you've described, acceleration/

  5            deceleration injuries rather than just shaking an

  6            infant?

  7                             A.     Correct.   That's my

  8            understanding.    I -- I do not have that particular

  9            expertise in the area.

 10                             Q.      And you responded to a question

 11            that you do, in fact, remember your involvement in --

 12            in this case and as you know, you treated baby Thomas

 13            many years ago.       Why is it that you particularly

 14            remember this case?

 15                             A.      Well, there's more than one that

 16            I remember, but I -- I was aware that there's been

 17            some national news involved, although as I testified

 18            to Mr. Klein, I -- I have never seen those clips

 19            before.   I -- I -- I -- I knew that there was

 20            something out there.

 21                             Q.      I don't mean to put you on any

 22            other thoughts there.

 23                             A.      I have a funny but -- I have a

 24            funny story for why I remember it, but I don't know

 25            that it's appropriate for -- for here but just



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page188
                                               06/14/21 Pageof185
                                                               898of 269
                                                                           1206
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 184
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            briefly that somebody's telephone went off in the

  3            audience and the -- the Judge made a stern

  4            announcement that that could not happen and then

  5            twenty seconds later my phone went off.        And -- but

  6            he ignored it.

  7                             Q.   Oh, good.    Very good.     So could

  8            that be why you remember this case?

  9                             A.   I know I told that story.        It

 10            makes it even more particularly interesting now even

 11            though Michael Jackson is -- it was a Michael Jackson

 12            clip that my kids has put on as the phone ringtone.

 13                             Q.   Okay.

 14                             A.   It was sort of embarrassing.

 15                             Q.   Okay.    Now, you mentioned the

 16            term per -- strike that.      The term pervasive

 17            bacterial infection was used, and I just can't recall

 18            if you used it or one of the attorneys used it.             Is

 19            that a term you used to describe the diagnosis of

 20            baby Thomas?

 21                             A.   Persuasive bacterial infection?

 22                             Q.   Pervasive.

 23                             A.   I -- I -- I didn't use that term.

 24                             Q.   Okay.    Would you say that baby

 25            Thomas had a pervasive bacterial infection?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page189
                                               06/14/21 Pageof186
                                                               898of 269
                                                                         1207
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 185
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.   I'm only gathering that now.            I

  3            -- at the time I was treating him for pervasive

  4            bacterial infection.    He was on the appropriate

  5            antibiotic and I was giving the support both to his

  6            clotting system and to his blood pressure that

  7            pervasive bacterial infection would cause.         So I was

  8            treating that with all the ways available to me.            But

  9            I did not know at the time that that was indeed what

 10            was indeed going on which I -- I understand from Mr.

 11            Klein was -- was found later.

 12                           Q.      Okay.   And you're assuming what

 13            Mr. Klein said is an accurate recitation of the facts

 14            in that response?

 15                           A.      I don't know anything other than

 16            what Mr. Klein told me.

 17                           Q.      Okay.   Can you describe what you

 18            mean by pervasive bacterial infection?

 19                           A.      I didn't use that term.

 20                           Q.      What would that mean in medical

 21            lingo or speak, or does it not mean anything?

 22                           A.      Bacteria everywhere.

 23                           Q.      Okay.   Fair enough.

 24                           A.      Bacteria all the way through the

 25            body.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page190
                                               06/14/21 Pageof187
                                                               898of 269
                                                                          1208
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 186
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.    Fair enough.     And in talking

  3            about this issue of sepsis and subdural hematomas,

  4            you mentioned that you would not expect to find the

  5            level or the degree of neurological deficit that you

  6            found in baby Thomas if the diagnosis was by sepsis

  7            alone.    Do you remember saying that?

  8                            A.    Yes.

  9                            Q.    Can you explain what you meant by

 10            that?

 11                             A.   The fact that when -- when the

 12            patient presented at Samaritan that the baby was

 13            already showing many signs of brain, you know, near

 14            brain death.    That would be an unusual way for, you

 15            know, we see severely septic patients come in, you

 16            know, many times a -- a month.

 17                             But to have a severely septic baby

 18            present with almost no brain activity is unusual and

 19            would raise questions of whether there's been a delay

 20            in treatment for that -- for there to be such a

 21            problem with circulation which is what happens in

 22            sepsis.

 23                             There's not enough circulation, not

 24            enough oxygen getting into the brain but that would

 25            have had to have been going on for some time for the



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page191
                                               06/14/21 Pageof188
                                                               898of 269
                                                                          1209
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 187
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            patient to -- to present with very little or no

  3            neurologic function.

  4                            And by the time the patient arrived at

  5            Albany Med, no question about what we considered

  6            brain death.   Initially, there was description of

  7            withdrawal to pain, but the first neuro exam that I

  8            can find after arriving from Samaritan to Albany Med

  9            showed that there was no withdrawal to pain.

 10                            So basically, the -- the first exams

 11            at Albany Med showed no function at all.          So it takes

 12            some -- some time with low blood pressure for there

 13            to be enough brain damage that the brain is actually

 14            to a point that it can't recover any function.

 15                            Q.     And if you had to quantify some

 16            time, Doctor, could you provide me with an estimate?

 17                            For example, one, you know, one week

 18            to two weeks, one to two days, what would a general

 19            estimate be so we can have an understanding of what

 20            you mean by the term some time?

 21                            A.     Hours.

 22                            Q.     Thank you.

 23                            A.     Not days.    I mean, you wouldn't

 24            survive days but if there were, you know, four, five,

 25            six hours or more of profound low blood pressure then



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page192
                                               06/14/21 Pageof189
                                                               898of 269
                                                                        1210
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 188
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            you might start to see more severe brain damage.

  3                             Q.   And in one of your responses, you

  4            stated that your colleagues in neurology and

  5            radiology point to the cause of death as trauma.           And

  6            therefore, that led to your professional opinion that

  7            the primary diagnosis in this case was trauma

  8            related.   Do you recall saying that?

  9                             A.   Yeah.   So although it was

 10            neurosurgery not neurology.

 11                             Q.   Oh, I'm sorry.    Thank you.

 12            Neurosurgery.    Is that appropriate in your field to

 13            rely on doctors and other specialties in making your

 14            primary diagnosis?

 15                             A.   Well, the bottom line is -- is --

 16            is mine.    I mean, I -- I use my consultants for help.

 17            When we're talking about the diagnosis of subdural

 18            hematoma and retinal hemorrhage then, you know,

 19            obviously, I think those are very important consults

 20            for me.    And but as I said to doctor -- to Mr. Klein

 21            and I greatly iterated again and again here, I, in no

 22            way, decreased my treatment for sepsis or the --

 23                             Q.   Yes.

 24                             A.   -- possibility of sepsis at any

 25            time during the patient's stay in the hospital and my



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page193
                                               06/14/21 Pageof190
                                                               898of 269
                                                                         1211
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 189
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            -- even if trauma had not been on the board at all,

  3            the patient would have received exactly the same

  4            level of treatment for possible sepsis.

  5                           Q.    And frankly, it appears that

  6            notwithstanding a -- a Glasgow Coma score of zero or

  7            one upon arrival and no brain activity, you still

  8            treated this patient --?

  9                           A.    The -- the -- the lowest score is

 10            three by the way.

 11                            Q.   I'm sorry, is it five?

 12                            A.   Three is the lowest score you can

 13            get.

 14                            Q.   Sorry.   Three.    And

 15            notwithstanding the fact that -- I'll repeat.          Strike

 16            that.   I'll repeat the question.     Notwithstanding the

 17            fact that baby Thomas arrived with a Glasgow Coma

 18            score of three and no signs of brain activity.           You

 19            treated him with regard to a potential diagnosis of

 20            sepsis as if he had a chance to make a recovery?

 21                            A.   Yes.

 22                            Q.   And -- and talking about your

 23            earlier opinion that you relied on the neurosurgeons

 24            and radiology, do you recall as you sit here today

 25            without looking at the chart what their opinions



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page194
                                               06/14/21 Pageof191
                                                               898of 269
                                                                        1212
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 190
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            were, or what their -- and/or what their diagnosis

  3            were?

  4                             A.   Dr. Waldman and Dr. German from

  5            neurosurgery and the neurosurgery resident all have

  6            notes that state subdural hematoma.      The radiology

  7            note in the chart as we discussed earlier does not

  8            mention hematoma, only describes a fluid collection

  9            and then there are -- not everything that was -- the

 10            set is documented in the chart.

 11                             Q.   And is it -- is it true that you

 12            wouldn't expect the radiology report to diagnose a

 13            subdural hematoma because -- as that imaging does not

 14            have the ability to show what the fluid is?

 15                             A.   Usually, they will make that

 16            diagnosis on the CT scan, but we do, however, rely on

 17            an MRI to better -- to better get an idea.        But those

 18            are the better questions for radiology and for

 19            neurosurgery.

 20                             Q.   Okay.   Thank you.   And did you

 21            have any reason to question the radiologist’s and

 22            neurosurgeon’s reports of subdural hematomas?

 23                             A.   Well, again, the -- the radiology

 24            final report did not mention the word hematoma and I

 25            did not have reason to question the neurosurgeon



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page195
                                               06/14/21 Pageof192
                                                                       1213
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 191
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            saying it's hematoma.   I try to keep -- as open

  3            minded as I can, and I -- one of my notes does talk

  4            about subdural hematomas of varying ages.

  5                            I -- it's in one of my notes which

  6            would be indicative that I was entertaining the idea

  7            that this is not in one event but that there had been

  8            more than one episode of bleeding.

  9                            Q.   And in one of your responses, you

 10            stated that although you cannot opine to baby

 11            Thomas's cause of death, you have a hard time

 12            explaining that all of his injuries relate to sepsis.

 13            Can you explain what you meant by that?

 14                            A.   It's -- it's -- the hematomas as

 15            we've talked about repeatedly here would be an

 16            unusual finding in sepsis as are the retinal

 17            hemorrhages.

 18                            Q.   Okay.   And an increased -- would

 19            an increased white blood cell count be expected in an

 20            infant such as baby Thomas when he is presented with

 21            a subdural hematoma?

 22                            A.   Yes, we can see -- we can see

 23            counts go down with a subdural hematoma.       It's

 24            interesting if the white blood cell counts went up

 25            afterwards though, before the patient died.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page196
                                               06/14/21 Pageof193
                                                               898of 269
                                                                        1214
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 192
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.    What do you relate -- okay.       And

  3            do you attribute that to the medication that you

  4            provided?

  5                             A.    No, I'm not sure why that was.

  6                             Q.    And you were asked questions

  7            earlier about an opinion that Samaritan Hospital

  8            focused on a sepsis diagnosis and Albany Medical

  9            Center focused on a diagnosis relating to trauma or

 10            abuse.    Are you aware if Samaritan conducted all of

 11            the imaging that Albany Medical Center conducted?

 12                              A.   They did not.   I think the -- the

 13            patient was too sick to do any imaging at Samaritan.

 14                              Q.   You were asked questions about

 15            whether or not the subdural hematomas that you were

 16            made aware of, as being present in the brain of baby

 17            Thomas, whether or not that could be related to birth

 18            trauma.     Could that be related to trauma at birth

 19            knowing that at the time of death Baby Thomas was

 20            more than three months' old?

 21                              A.   It would depend on how old the

 22            subdural hematoma is if they're -- you should be able

 23            to date, not me, but a radiologist or perhaps a

 24            neurosurgeon would be able to or pathologists would

 25            be able to date how old the blood is.      And -- and/or



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page197
                                               06/14/21 Pageof194
                                                               898of 269
                                                                         1215
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                        Page 193
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            whether there were multiple episodes of bleeding.

  3            Was there just evidence of one bleed at birth or were

  4            there episodes -- is there blood of different ages.

  5            That would demonstrate a reoccurrence of breeding --

  6            bleeding.

  7                           Q.    In this case, it's been noted

  8            that Baby Thomas had two subdural hematomas.         One on

  9            each side or bilateral and one was older, and the

 10            other was newer or fresher.     Do you remember that

 11            from reviewing your chart in treating Baby Thomas?

 12                           A.    Yes.

 13                           Q.    Now, knowing that and knowing

 14            what you know with regard to the subdurals, if you

 15            are able to answer this question please do.         If

 16            you're not just tell me.     Are you able to say whether

 17            or not the newer subdural could be related to birth

 18            -- both locations?

 19                           A.    I -- I -- I can't answer that.

 20                           Q.    Okay.    Thank you.   And I believe

 21            that you said and I'm asking you this to confirm, the

 22            radiologists in this case believed that the injuries

 23            were consistent with trauma, is that right?

 24                           A.    I -- I couldn't hear you.

 25                           Q.    I'm sorry.    The -- is it --



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page198
                                               06/14/21 Pageof195
                                                               898of 269
                                                                         1216
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 194
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            withdrawn.

  3                            In this case, the radio -- did the

  4            radiologist say that the injuries were consistent

  5            with trauma?

  6                            A.   Oh, you have the same report I

  7            have, I -- I -- I -- I don't believe so, no.

  8                            Q.   You don't have to look for it,

  9            Doctor.   The radiologist said that the injuries were

 10            not consistent with trauma?

 11                            A.   He did not address whether it was

 12            or wasn't.

 13                            Q.   And in this case -- withdrawn.

 14            And you were asked questions about the results of

 15            investigation of Gram stain cultures.     Did you have

 16            an opportunity to review any work that was conducted

 17            by another doctor with regard to Gram stain cultures

 18            of the -- of the eyes?

 19                            A.   I -- I -- I don't know anything

 20            about that.

 21                            Q.   And you had stated in response to

 22            a question that severe sepsis can cause brain death,

 23            but it appeared to me and again, this could be a

 24            fallacy of the electronic deposition process.        It

 25            appeared to me that you were going to elaborate on



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page199
                                               06/14/21 Pageof196
                                                               898of 269
                                                                        1217
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 195
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            your response, but another question was asked.          Can

  3            severe sepsis cause brain death?

  4                            A.   Well, that's what we were talking

  5            about when you -- when we're -- you’d asked me to put

  6            a time on it and I told you hours.

  7                            Q.   Uh-huh.   Yes.

  8                            A.   So severe sepsis causes low blood

  9            pressure.   And if there's persistent low blood

 10            pressure then the brains didn't get enough oxygen.

 11            And over time that can cause global injury to the

 12            brain and loss of function of the brain.        I -- I am

 13            reluctant to try to put a time on that but I -- you

 14            asked me to go ahead and put a ballpark and I would

 15            -- and I said there would -- would have to be hours

 16            of significant low blood pressure for there to be a

 17            patient presenting in brain death.

 18                            Q.   And would that include within

 19            this ballpark of hours the brain either sending or

 20            failing to send a signal to the body to cease or halt

 21            respirations, meaning that the patient would stop

 22            respirating?

 23                            A.   A severe brain injury would

 24            affect a patient's ability to breathe, yes.

 25                            Q.   Okay.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page200
                                               06/14/21 Pageof197
                                                                       1218
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 196
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.    That -- that's a good point.         We

  3            have many septic patients, severely septic patients

  4            who are breathing -- who breathe fine.      It takes time

  5            with sepsis and low blood pressure for there to be

  6            that kind of injury to the brain.

  7                           Q.    And you had spoken and given your

  8            opinion about the fact that there was an autopsy

  9            conducted in this case.   Would you agree with the

 10            statement that an autopsy would be the best method to

 11            determine injury to a patient?

 12                            A.   I -- I would defer that question

 13            to a pathologist.

 14                            Q.   Okay.   Would you agree with the

 15            statement that an autopsy would be considered in your

 16            field or in your profession a definitive exam to

 17            determine injuries if they're present?

 18                            A.   Yeah.

 19                            MR. KLEIN:   Objection.

 20                            THE WITNESS:   As I answered a few

 21            minutes ago, you know, pictures of the brain are

 22            always second best to actually looking at the brain.

 23            So ideally, you would actually have a -- a live

 24            brain.   The problem with a dead brain, as I said a

 25            few minutes ago, is that changes can occur that may



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page201
                                               06/14/21 Pageof198
                                                               898of 269
                                                                         1219
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 197
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            confound your findings.   And again, I'd ask you to

  3            talk to an expert in this for that answer.

  4                           BY MS. CALABRESE:      (Cont'g.)

  5                           Q.    Okay.   Thank you.     In the absence

  6            of a motor vehicle crash or crash in a different

  7            vehicle and in your -- based upon your experience in

  8            the field of pediatrics, what would be another

  9            explanation for an acceleration deceleration injury

 10            other than trauma?

 11                            MS. MITCHELL:   Object to form.

 12                            A.   There is always hematoma with

 13            trauma.   The question is is it accidental or non-

 14            accidental?

 15                            MR. KLEIN:   Object to the form.

 16                            BY MS. CALABRESE:     (Cont'g.)

 17                            Q.   Other than -- other than non-

 18            accidental trauma.   That was kind of a hinky

 19            question.   Do you want me to rephrase it?

 20                            A.   No, it depends on what you're

 21            saying.   For this to be accidental trauma, it would

 22            involve very high energy movement and then hitting an

 23            object.   So, however, you can imagine that accident

 24            happening, be it a fall, motor vehicle, pedestrian,

 25            bicycle, it takes that -- that sudden violent



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page202
                                               06/14/21 Pageof199
                                                               898of 269
                                                                        1220
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 198
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            movement of the brain within the skull -- the skull

  3            shearing little blood vessels and to allow bleeding.

  4                           Q.   And you had provided your opinion

  5            or given an answer with regard to the fact that

  6            hitting a baby against a soft object with enough

  7            force can cause a subdural hematoma.      That may be

  8            contrary to a layman's understanding of this -- the

  9            mechanics of this type of an injury.      Can you explain

 10            why this would be true with regard to a soft object?

 11                           MR. KLEIN:   Objection.

 12                           A.   It doesn't -- using a hard

 13            surface that you hit against there's -- there is

 14            definitely a skull fracture.   So for there not to be

 15            a skull fracture, that -- that -- that can happen and

 16            in my experience has happened with a very high force.

 17            Hitting up a baby's head against a soft object where

 18            there's no obvious trauma, but that brain has moved

 19            back and forth enough to shear those blood vessels

 20            and cause subdural hematoma.

 21                           BY MS. CALABRESE:     (Cont'g.)

 22                           Q.   And isn't that what we're talking

 23            about here the shearing of the blood vessel is

 24            because the head is moving back and forth and the

 25            concurrent -- concurrently or at the same time with



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page203
                                               06/14/21 Pageof200
                                                               898of 269
                                                                         1221
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 199
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            the brain moving back and forth?

  3                           A.    Or --

  4                           MR. KLEIN:    Objection.

  5                           A.    -- because the brain is -- is

  6            hitting something the -- the -- I mean, the skull is

  7            hitting something and the brain does that and

  8            recoils.   So it's that acceleration/deceleration that

  9            causes the shearing of blood vessels.

 10                            BY MS. CALABRESE:     (Cont'g.)

 11                            Q.   And with regard to your opinion

 12            that this is likely contacts between Baby Thomas and

 13            a soft object, would that also explain why he did not

 14            present with any bruising above his head?

 15                            A.   Yes.

 16                            Q.   And you had answered questions

 17            with regard to working several days in a row.          Is it

 18            common practice for doctors to work extended hours?

 19                            A.   Well, for attending doctors it

 20            is.   We're getting better at it and it's taken a long

 21            time.

 22                            Q.   And that's common knowledge

 23            within your field that doctors unfortunately, for

 24            various reasons tend to work very long shifts?

 25                            A.   There were -- there weren't



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page204
                                               06/14/21 Pageof201
                                                               898of 269
                                                                          1222
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 200
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            enough of us for a long, long time.        Finally -- it's

  3            finally changed.     I've fought my whole career to get

  4            more docs in there and now I'm ready to retire.            Go

  5            figure.

  6                           Q.      And not with -- are you there

  7            because you froze on my end?     There you are.        Okay.

  8            And notwithstanding this fact that doctors generally

  9            work very long hours, is it fair or -- and true to

 10            state that you would never put yourself in a position

 11            to be unable to render proper treatment to a patient

 12            because of the fact that you worked long shifts?

 13                            MR. KLEIN:    Objection.

 14                            A.     Absolutely.   I -- I would do

 15            everything to avoid not getting the best care

 16            possible.   We always have backup doctors, several

 17            levels of backup doctors so that if you're too tired

 18            and you want to go -- or you need a break, or a nap

 19            you have a way to do that.

 20                            As I said, we're -- we're never on

 21            call or on duty by ourselves.     There's always

 22            resident doctors available.     So to give us breaks if

 23            necessary, for -- for a nap or even more sleep.

 24                            Q.     And you were asked questions

 25            about the written statement that you provided to the



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page205
                                               06/14/21 Pageof202
                                                               898of 269
                                                                          1223
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 201
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            Troy Police Department.       To clarify, did you write

  3            that statement?

  4                            A.     No, I made the corrections.

  5                            Q.     Okay.    And did you read the

  6            statement for accuracy prior to signing it?

  7                            A.     Yes.    And made corrections.

  8                            Q.     I believe -- And made

  9            corrections.   And I believe the statement was if it

 10            were to be divided into paragraphs, approximately two

 11            paragraphs.    Would you agree with that?

 12                              A.   I -- I don't know how many

 13            paragraphs.

 14                              Q.   It was one -- on one page.

 15                              A.   It's -- it was one page, yeah.

 16                              Q.   One page.    And the record, the

 17            medical record is at least two hundred -- the medical

 18            record of Baby Thomas is at least two-hundred pages.

 19            Is that your understanding of the length of the

 20            record?

 21                              A.   I don't know how long it is.          I

 22            heard a lot of numbers.

 23                              Q.   Okay, was two hundred pages one

 24            of the numbers that you heard?

 25                              A.   I mostly heard eighty something



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page206
                                               06/14/21 Pageof203
                                                               898of 269
                                                                            1224
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 202
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            and then I don't remember two hundred, no.

  3                             Q.    Okay.   And is it -- okay.         Is it

  4            fair to say that the one-page statement that you

  5            provided to the Troy Police Department is not

  6            inclusive of all of the diagnoses and treatments that

  7            you provided to baby Thomas?

  8                             A.    That's correct.

  9                             Q.    Thank you, Doctor, I appreciate

 10            your time and attention today.        I recognize this day

 11            was very long and this is a difficult process because

 12            it's electronic.      But again, I do appreciate your

 13            willingness to be here today, and your honesty in

 14            going forward.    So thank you for that.         And I'm all

 15            set.

 16                             A.     Thank you.

 17                             THE REPORTER:    We can't hear you.

 18                             MS. CALABRESE:      Anybody have anything

 19            else for doc?    You're muted, Brett.

 20                             MR. KLEIN:    I do.     I'll let Michael go

 21            first.

 22                             MS. CALABRESE:      You're muted, Michael.

 23            Michael, you're muted.

 24                             MR. GINSBERG:    Not yet.       You said that

 25            Klein said the first time and then.          Yes, if anybody



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page207
                                               06/14/21 Pageof204
                                                               898of 269
                                                                         1225
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 203
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            wants to take a break for a minute, I think we should

  3            just continue with the same progression and now since

  4            we're back into the rebuttal questions.

  5                           MR. KLEIN:   It won't be forever.

  6                           THE WITNESS:     Keep going, keep going.

  7                           MS. CALABRESE:     It won't be forever.

  8            I'm sorry.   It won't be forever.

  9                           MR. GINSBERG:     I only have a few more

 10            questions.   Thank you.

 11                            REDIRECT EXAMINATION

 12                            BY MR. GINSBERG:    (Cont'g.)

 13                            Q.   Doctor, there's been testimony

 14            and questions with regard to a statement that was in

 15            one of the police, the Troy police officers' records

 16            where it indicated that you had stated this is a

 17            murder.   And do you recall testifying upon

 18            examination by Mr. Klein that you do not recall

 19            making that statement?

 20                            A.   I -- I mean, yes, I don't recall

 21            making that statement.

 22                            Q.   And you also testified that it

 23            would not be within your normal pattern of behavior

 24            to make such a statement, correct?

 25                            A.   Correct.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page208
                                               06/14/21 Pageof205
                                                               898of 269
                                                                        1226
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 204
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.    But you, as you sit here, right

  3            now, you can't definitively say that you, in fact,

  4            did not make that statement either, correct?

  5                           A.    I cannot.

  6                           Q.    Doctor, drawing your attention

  7            back to the deposition of a witness on C.O.T. Exhibit

  8            B of today's date.   You had the opportunity to review

  9            that record before you signed it, correct?

 10                            A.   Before --.

 11                            Q.   Why don't we wait for her to put

 12            it up?   There we go.

 13                            A.   Yes.    I reviewed that statement

 14            and I made some changes.

 15                            Q.   Right.    So you -- you had the

 16            opportunity to review the statement, correct?

 17                            A.   Yes.    I reviewed the statement

 18            and made some changes.

 19                            Q.   Okay.    And what was the reason

 20            that you made the changes?

 21                            A.   I was trying to improve the

 22            accuracy of the statement.

 23                            Q.   And the statement does not

 24            mention sepsis, correct?

 25                            A.   Yes.    It's not -- It's not meant



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page209
                                               06/14/21 Pageof206
                                                               898of 269
                                                                          1227
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 205
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            to be, it does not mention sepsis.       That's correct.

  3                            Q.     And Doctor, you signed the

  4            deposition, correct?

  5                            A.     Yes.

  6                            Q.     And could you read the last

  7            sentence -- the last printed sentence above the

  8            signature line?

  9                            A.     There needs to be se -- severe

 10            acceleration prior to hitting the hard object.

 11                              Q.   Thank you.    I'm referring to the

 12            one right above the signature line that begins with

 13            false statements.

 14                              I'm sorry, please scroll down Annette,

 15            right there.

 16                              MR. KLEIN:   Objection.    The sentence

 17            speaks for itself.     The document says what it says,

 18            but if you want him to read it.

 19                              MS. MITCHELL:   Are you talking about

 20            the typewritten portion?

 21                              MR. GINSBERG:   Yes, the typewritten

 22            portion that begins with false statement.

 23                              BY MR. GINSBERG:    (Cont'g.)

 24                              Q.   Could you read that portion,

 25            Doctor?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page210
                                               06/14/21 Pageof207
                                                                       1228
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 206
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.    False statements made herein are

  3            punishable with Class A misdemeanors pursuant to

  4            Section 210.45 of the Penal Law, the State of New

  5            York.

  6                           Q.    And Doctor, to your knowledge,

  7            did you put any false statements into this signed

  8            deposition of a witness?

  9                           A.    No false statements, no.

 10                           Q.    Thank you.   I have no further

 11            questions.

 12                           RECROSS EXAMINATION

 13                           BY MR. KLEIN:   (Cont'g.)

 14                           Q.    Doctor, going back to your

 15            transcript from 2009.   I don't know that anyone's

 16            asked you this, so I wanted to.    You've -- you did

 17            review it in preparation for today's testimony,

 18            correct?

 19                           A.    Yes.

 20                           Q.    So was your testimony -- was your

 21            testimony in 2009 true and correct to the best of

 22            your recollection?

 23                           A.    I did not go through it

 24            carefully, I can do that now if you want me to.

 25                           Q.    Well, I want to know if you



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page211
                                               06/14/21 Pageof208
                                                               898of 269
                                                                        1229
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 207
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            adopted or if there's anything about it that was --

  3            do you wish to change or correct and so I was hoping

  4            you would have gone through that.

  5                             A.   I -- I read through it very

  6            quickly.   I can read through it more slowly if you'd

  7            like me to.

  8                             MR. GINSBERG:   Objection to the form

  9            of the question.

 10                             MR. KLEIN:   Or maybe we could do it at

 11            the -- at the end.    Then I'll finish the questions

 12            now.

 13                             BY MR. KLEIN:   (Cont'g.)

 14                             Q.   So next question.     In terms of

 15            Ms. Peck asked you about your -- your testimony that

 16            this was trauma, but you couldn't rule out sepsis.

 17            And then you asked -- answered questions from Ms.

 18            Calabrese about what you knew in terms of the

 19            culture, isn't that you -- you -- I didn't mean to

 20            suggest strongly that you didn't do a lot.        You did a

 21            lot in the two days but your role in this case was --

 22            was just that it was over two days or so, correct?

 23                             A.   Yes, I'm quite sure it was a full

 24            two days, yes.

 25                             Q.   Correct.   Correct.    So -- so what



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page212
                                               06/14/21 Pageof209
                                                               898of 269
                                                                        1230
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 208
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            I was getting at and what I want to confirm now is,

  3            you don't know what the culture showed, correct?

  4                           A.    No, in fact, I --

  5                           Q.    Yeah.

  6                           A.    -- stated that they were negative

  7            although I -- I -- I'm not sure --there was never

  8            negative culture.   Does anyone know?

  9                           Q.    The autopsy I have in front of

 10            me, says, blood culture positive for Streptococcus

 11            pneumonia on initial presentation at the hospital

 12            parenthesis nine twenty-one zero eight.       That's one

 13            of the anatomic diagnosis.     I'll represent that

 14            that's what Dr. Sikirica put in his report.

 15                           MR. GINSBERG:     Object to the form.

 16                           BY MR. KLEIN:     (Cont'g.)

 17                           Q.    And -- and then Sub A, it says,

 18            acute and chronic pneumonia with severe -- severe

 19            microscopic --.

 20                           A.    Uh-huh.

 21                           Q.    So as -- for instance, you -- you

 22            didn't know about those findings in the approximately

 23            day or so that you were involved in the case,

 24            correct?

 25                           A.    I did not.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page213
                                               06/14/21 Pageof210
                                                               898of 269
                                                                         1231
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 209
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                            Q.    So when you give an -- an opinion

  3            about trauma, you're just talking about what you knew

  4            in your snippet of time in this case, notwithstanding

  5            that you did a lot.

  6                            A.    Absolutely.

  7                            Q.    Okay.

  8                            A.    Absolutely -- absolutely with the

  9            caveat that I treated this as sepsis and did not

 10            compromise that in any way because of the trauma

 11            diagnosis --

 12                            Q.     Correct.

 13                            A.     -- or trauma concern.

 14                            Q.     This is so -- so -- and the

 15            reason why we're asking you all these questions is

 16            this case is about whether or not the police acted,

 17            violated Mr. Thomas's rights when they coerced a

 18            false confession out of him, which was subsequently

 19            thrown out by the Court of Appeals and not allowed

 20            --.

 21                            MR. GINSBERG:     Object to -- object to

 22            the form.   Object to the prior charge.

 23                            MR. KLEIN:    Let me finish the

 24            question, right.     Let me finish first.

 25                            BY MR. KLEIN:     (Cont'g.)



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page214
                                               06/14/21 Pageof211
                                                               898of 269
                                                                           1232
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 210
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.     And so no one’s questioning your,

  3            that you did what you could during that time.            But

  4            you also didn't know so -- so when you talk about

  5            whether you believe this was trauma or not, you're --

  6            you're -- you're limited to what you knew and what

  7            you know.   You don't know what those -- that this --

  8            you didn't know that Matthew was severely infected.

  9            You may have suspected it, but you didn't know,

 10            correct?

 11                            MR. GINSBERG:     Object to the form.

 12                            MR. KLEIN:    Okay.

 13                            BY MR. KLEIN:     (Cont'g.)

 14                            Q.    Now, with pneumococcal disease in

 15            children under two like Matthew that didn't have his

 16            four-month vaccine.    Are you aware of cases where the

 17            -- the pneumococcal disease can progress to death --

 18            to death in a matter of forty-eight hours or so?

 19                            A.    Yes, yeah.

 20                            Q.    Okay, and that would be without

 21            trauma, is your answer still a yes?

 22                            A.    Yes, yes.

 23                            Q.    Okay.   Now, with regard to the

 24            questions about the subdural hematoma that was in the

 25            records, not in the radiology report.         Is it your



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page215
                                               06/14/21 Pageof212
                                                               898of 269
                                                                         1233
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 211
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            understanding that this mention or finding in the

  3            records of a -- of an S.D.H. is based on opinion but

  4            not based on any objective radiograph?

  5                           MS. MITCHELL:    Object to the form.

  6                           A.   I don't think that I'm -- since

  7            we're talking about the neurosurgical opinion, I -- I

  8            don't think I can comment on that, you know, Dr.

  9            Waldman, Dr. German are, you know, thorough good

 10            physicians, and would never give an opinion without

 11            looking at the CAT scan.    So -- so to say it’s

 12            something separate from their -- from the CAT scan, I

 13            think it would be misleading.

 14                           BY MR. KLEIN:    (Cont'g.)

 15                           Q.   So -- so it would be fair to say

 16            that you would think it's more likely than not that

 17            they would have reviewed the CAT scan before opining

 18            that there was an S.D.H., but you're not sure.

 19                           MR. GINSBERG:    Object to the form.

 20                           THE WITNESS:    Absolutely no, I have no

 21            question that they would review the CAT scan before

 22            writing an opinion in the chart.

 23                           BY MR. KLEIN:    (Cont'g.)

 24                           Q.   Okay.    You talked about some

 25            patients you've seen with severe sepsis.        Have --



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page216
                                               06/14/21 Pageof213
                                                               898of 269
                                                                          1234
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 212
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            don't have difficulty breathing.       Do you recall that

  3            line of questioning?

  4                           A.   We have a lot of patients with

  5            sepsis and -- and initially, they -- they breathe

  6            very well on their own.       That depends on their age.

  7            We have patients that we get through sepsis without

  8            putting on a breathing machine.

  9                           BY MR. KLEIN:       (Cont'g.)

 10                           Q.      Okay.    Matthew had -- had

 11            pneumonia, acute and chronic pneumonia.         Those

 12            patients have difficulty breathing, correct?

 13                           A.      Yes.

 14                           Q.      Okay.

 15                           A.      By definition, yes.

 16                           Q.      Now, you were asked questions

 17            about your statement --?

 18                           A.      Can I -- can I -- can I comment

 19            on this?

 20                           Q.      Sure.

 21                           A.      I want to go back, but I -- but I

 22            believe that the -- maybe one of you know this off

 23            the top of your head that they described apnea as --

 24            as one of the reasons for intubation.

 25                           Q.      At Samaritan?



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page217
                                               06/14/21 Pageof214
                                                               898of 269
                                                                         1235
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 213
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   Yeah.   Okay, I thought I saw that

  3            something more, that it wasn't just respiratory

  4            distress, but they also described apnea.         Maybe I'm

  5            wrong on that.

  6                             Q.   I thought it was lethargy but if

  7            you want to take a look please do.

  8                             A.   No, I just see the apnea test

  9            that we did for -- for brain death.

 10                             Q.   Okay.   Are you familiar with the

 11            Neuropathologist Jan Leestma?

 12                             A.   No.

 13                             Q.   Okay.   Were you aware that a -- a

 14            neuropathologist testified in this case that, and in

 15            this, a death was due to the overwhelming bacterial

 16            infection and not due to trauma?

 17                             MS. CALABRESE:    This is Christina,

 18            objection.

 19                             THE WITNESS:    I -- I was not aware of

 20            that particular pathologist relaying.

 21                             BY MR. KLEIN:    (Cont'g.)

 22                             Q.   Okay.   Now, you were asked a

 23            bunch of questions that -- about whether you would

 24            alter your opinion for the police.      And I would just

 25            say from our perspective, that is not what we've



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page218
                                               06/14/21 Pageof215
                                                               898of 269
                                                                        1236
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 214
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            suggested.

  3                           My question to you is whether you

  4            think, based on hearing these statements attributed

  5            to you by the police, that you think the police

  6            skewed or exaggerated what you told them to suit the

  7            direction of the law enforcement investigation.

  8                           MS. CALABRESE:    This is Christina,

  9            objection.

 10                            MR. GINSBERG:    Object to the form.

 11                            MS. PECK:    Objection.

 12                            A.    I really, I can't answer that.         I

 13            don't know why the police would have gotten --

 14            exaggerated what I said to them, I really -- it's

 15            hard to understand.    Excuse me, Mr. Klein?

 16                            BY MR. KLEIN:    (Cont'g.)

 17                            Q.    Yes.

 18                            A.    I did find a note -- a note from

 19            Samaritan.   I don't know how to identify it for you.

 20                            Q.    Can you just tell us what it

 21            says?

 22                            A.    So the note -- a note from Dr.

 23            Kardos as part of her transfer note.      And she says he

 24            -- he had for a few days and she was -- he was -- had

 25            some vomiting, temperature a hundred point four this



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page219
                                               06/14/21 Pageof216
                                                               898of 269
                                                                         1237
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 215
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            a.m., was well and then had rapid decline with

  3            increased respiratory effort and decreased

  4            responsiveness.

  5                           Per E.M.S. patient with agonal

  6            respirations, four to five per minute.        So that would

  7            be severe bradycardia and would be atypical of

  8            respiratory distress from pneumonia and more typical

  9            of -- of the respiratory distress based on a brain

 10            injury.

 11                              That's not to say that the problem

 12            wasn't pulmonary pneumonia, but it would have had

 13            like I spoke to -- said earlier, there would have

 14            been enough ongoing decrease circulation to the brain

 15            from sepsis, that the brain was starting to show

 16            signs of brain damage.

 17                              Q.   But you -- you're not saying

 18            that, you know whether the brain injury was from

 19            trauma, there could be an old S.D.H. that had re-

 20            bleeds that got infected because of the meningitis

 21            and other aspects of the sepsis, correct?

 22                              A.   Well, that would be --.

 23                              MS. CALABRESE:   Objection to form.

 24                              THE WITNESS:   I -- I think --.

 25                              MS. CALABRESE:   It's Christina,



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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page220
                                               06/14/21 Pageof217
                                                                       1238
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 216
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            objection to form.

  3                            BY MR. KLEIN:   (Cont'g.)

  4                            Q.   You can answer.

  5                            A.   First -- first and second on the

  6            list would be, you know, that this was, you know,

  7            streptococcal -- streptococcal sepsis and meningitis,

  8            causing enough circulatory problems to the brain that

  9            there was global brain injury, would be one of the

 10            top two and the other would be the trauma.       I think

 11            number three would be old trauma and re-bleed.

 12                            Q.   But the -- the -- in terms of the

 13            -- the collections of blood being of indeterminate

 14            age one newer, one older, I think it was determined

 15            that the newer one was not consistent with trauma.

 16            Do you -- do you recall that?    Any -- any anything to

 17            that effect?

 18                            A.   No.

 19                            Q.   Okay.   So the older one -- the

 20            older one.   Yeah.

 21                            MS. MITCHELL:   I just need to put an

 22            objection out there.   Would you -- would you like me

 23            to have the witness step out so there's no charge of

 24            coaching or can I just make a quick statement?

 25                            MR. KLEIN:   I'm fine with it.



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                               APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page221
                                               06/14/21 Pageof218
                                                               898of 269
                                                                         1239
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 217
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            Christina, are you okay with it?

  3                             MS. CALABRESE:    Of course.

  4                             MS. MITCHELL:    Okay, I -- just for a

  5            standing objection.    I think the witness has been put

  6            in a very difficult position because there are a lot

  7            of facts that are being presented to him of diagnosis

  8            and -- and conclusions after the fact, he wasn't

  9            involved reading from things that he doesn't have.

 10                             You know, so I just feel that that has

 11            colored everything, and I’d just like to put that out

 12            there.   It's very hard for him to respond when you

 13            keep bringing up things that he has no personal

 14            knowledge of.

 15                             MR. KLEIN:   We -- we could pose

 16            hypotheticals to the witness based on the facts.            And

 17            I don't think any of us are disputing the -- the

 18            facts, even if or -- or the presentation of disputed

 19            facts in this case.

 20                             MR. GINSBERG:    I'd like to -- I'd like

 21            to go on record and -- and dispute that just the last

 22            statement from Mr. Klein.     You are not permitted to

 23            give hypotheticals to anyone unless they’re an expert

 24            witness.   So let's just go ahead with the question.

 25                             MR. KLEIN:   Yeah, I don't think -- I



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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                                 APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-23 Filed      Page222
                                               06/14/21 Pageof219
                                                               898of 269
                                                                               1240
800.523.7887                                             Associated Reporters Int'l., Inc.
                                                                             Page 218
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            don't think that I will -- it’s neither here nor

  3            there.    Okay.    Okay, that's all I have, Dr. -- Dr.

  4            Edge, thank you very much.

  5                               THE WITNESS:    Thank you.

  6                               MR. KLEIN:    Anyone else?

  7                               MS. CALABRESE:    None for the State of

  8            New York.    Thank you.

  9                               MS. PECK:    No questions.        Thank you.

 10                               MR. GINSBERG:     I have no further

 11            questions.     Doctor, thank you very much for your

 12            time.     I know it's been a long haul today.

 13                               THE WITNESS:     Thank you.

 14                               MR. KLEIN:     Yeah.     Good luck, again,

 15            sir.     Stay safe.

 16                               THE WITNESS:     You too.

 17                               MR. KLEIN:     Okay.     Thanks, everybody.

 18            See you soon.

 19                               MR. GINSBERG:     Okay.      Thank you.

 20            Thank you, Annette.

 21                               (Off the record, 3:39 p.m.)

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page223
                                               06/14/21 Pageof220
                                                                       1241
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 219
  1            Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page224
                                               06/14/21 Pageof221
                                                                       1242
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 220
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page225
                                               06/14/21 Pageof222
                                                                       1243
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 221
  1            Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page226
                                               06/14/21 Pageof223
                                                                       1244
                                                               898of 269


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 222
  1            Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page227
                                               06/14/21 Pageof224
                                                               898of 269
                                                                         1245
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 223

                   A                      acronym 39:21
   a.m 1:13 6:2 14:25 15:2 52:12          acted 209:16
    52:13 57:7 60:11 68:16 215:2          action 68:24 169:17
   A.M.C 40:11                            actions 169:23
   A.M.C.H 49:9                           active 12:19
   A/P 46:21                              activity 15:19 186:18 189:7,18
   ability 190:14 195:24                  actual 23:23 40:24 55:8,10,12
   able 16:14 23:22 58:24 96:22            80:8 99:15 100:11
    97:5 156:20 165:9,12,20               acute 208:18 212:11
    166:10,13 192:22,24,25 193:15         ad 49:4
    193:16                                Adair 60:4 61:18
   abnormal 38:9 170:13                   Adam 1:6 75:21
   absence 38:19 110:5 120:13             add 27:8 35:9 142:2 174:5
    197:5                                 added 102:5
   absent 49:15                           addition 12:18 16:2 101:16
   absolutely 106:22 107:15 172:11         102:4
    172:16 173:25 174:22 200:14           additional 48:9 69:3 99:19
    209:6,8,8 211:20                      address 166:8 194:11
   abuse 36:16 51:17 58:18 59:11          adequately 27:22
    59:18,18 61:15 62:13 90:19            adjust 27:14
    107:9,11 119:3,14 120:14              adjusted 91:6
    122:3 139:21 145:24 175:23            administer 26:12
    176:6,13,13 180:14 182:5,9            Administrative 12:3
    192:10                                administratively 11:5
   abusive 36:12,25 182:24                admission 26:15,16,19 49:8 52:6
   academic 11:24 12:2                     52:20 57:15,21 125:20 156:9
   Academy 9:22                           admitted 49:5
   acceleration 37:21 58:15 120:11        adopted 207:2
    122:18 139:24 140:8 197:9             Adrian 1:3 68:22 71:23 72:8
    205:10                                 75:11 84:21 157:22 169:17
   acceleration-deceleration 37:15        Adriana 20:25 21:3
   acceleration/ 183:4                    advance 161:7
   acceleration/deceleration 199:8        advanced 156:4
   acceptable 16:5 110:14                 advise 19:15 65:7
   access 85:19                           advised 64:19
   accident 36:23 58:17 59:3,4            advocate 176:24
    120:14,14 138:24 139:2 197:23         affect 105:25 195:24
   accidental 36:25 57:16 58:23           affirm 6:7 22:25
    59:6 90:19 93:3 111:8,9 138:4         afternoon 68:21
    138:8,9,14,22 142:7,8 197:13          afterward 13:5
    197:14,18,21                          age 33:18 44:3 94:24 110:4,20
   accommodate 173:19                      123:9 126:13 127:14 212:6
   accompanied 57:2                        216:14
   account 119:25                         aged 93:8
   accuracy 179:2 201:6 204:22            agency 171:11
   accurate 67:8 159:2,2,5 185:13         ages 58:14 93:11,15,15 191:4
   accurately 69:11                        193:4
   accused 76:15                          ago 57:21 79:6,9 159:15 177:25
   acknowledge 219:5                       180:6 183:13 196:21,25


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page228
                                               06/14/21 Pageof225
                                                               898of 269
                                                                         1246
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 224

   agonal 215:5                            187:1 188:1 189:1 190:1 191:1
   agree 19:25 39:9 70:25 74:25            192:1 193:1 194:1 195:1 196:1
    78:15 82:2 89:2 91:14,17               197:1 198:1 199:1 200:1 201:1
    93:22 94:9 100:20 104:19               202:1 203:1 204:1 205:1 206:1
    105:19 126:17 128:23 148:12            207:1 208:1 209:1 210:1 211:1
    148:23 174:20,23 175:21 176:9          212:1 213:1 214:1 215:1 216:1
    179:8 196:9,14 201:11                  217:1 218:1 219:1 220:1 221:1
   Agreed 144:14                           222:1
   agreeing 54:5                          Albany 2:12,15,18 7:22,24,25
   ahead 18:3 19:14 23:25 47:10            8:2,5,7 10:9 11:25 14:18
    56:23 89:13 95:3 170:9 173:13          15:15 16:10,24 17:7 22:20
    195:14 217:24                          23:4 25:9,13 61:23 66:4 69:18
   ailing 8:20                             74:8 76:12 103:25 104:6 107:7
   ailment 31:13                           119:20 121:22 181:24 187:5,8
   ailments 31:5                           187:11 192:8,11
   akin 179:3                             align 173:22
   al 1:1 2:1 3:1 4:1 5:1 6:1 7:1         alive 27:13
    7:11 8:1 9:1 10:1 11:1 12:1           allegations 79:11 82:11 83:2
    13:1 14:1 15:1 16:1 17:1 18:1          169:22
    19:1 20:1 21:1 22:1 23:1 24:1         alleged 77:19 79:21
    25:1 26:1 27:1 28:1 29:1 30:1         alleging 169:19
    31:1 32:1 33:1 34:1 35:1 36:1         allow 19:4 67:15 153:9 198:3
    37:1 38:1 39:1 40:1 41:1 42:1         allowed 172:7 209:19
    43:1 44:1 45:1 46:1 47:1 48:1         allowing 22:10
    49:1 50:1 51:1 52:1 53:1 54:1         alter 172:6,9 174:2 213:24
    55:1 56:1 57:1 58:1 59:1 60:1         altering 173:18
    61:1 62:1 63:1 64:1 65:1 66:1         amend 87:19
    67:1 68:1 69:1 70:1 71:1 72:1         American 9:22
    73:1 74:1 75:1 76:1 77:1 78:1         amount 180:8,20
    79:1 80:1 81:1 82:1 83:1 84:1         anatomic 208:13
    85:1 86:1 87:1 88:1 89:1 90:1         and/or 86:12 98:23 179:2 190:2
    91:1 92:1 93:1 94:1 95:1 96:1          192:25 221:8
    97:1 98:1 99:1 100:1 101:1            Andrea 61:2
    102:1 103:1 104:1 105:1 106:1         Annette 21:4,15 54:23 55:23
    107:1 108:1 109:1 110:1 111:1          95:18 156:14 167:25 169:10
    112:1 113:1 114:1 115:1 116:1          173:10 205:14 218:20 220:3,15
    117:1 118:1 119:1 120:1 121:1         announcement 184:4
    122:1 123:1 124:1 125:1 126:1         answer 10:22 17:10,12,14,16
    127:1 128:1 129:1 130:1 131:1          18:8,15,22 19:5,15,15 20:2
    132:1 133:1 134:1 135:1 136:1          22:10 35:18 37:10 62:24 63:7
    137:1 138:1 139:1 140:1 141:1          63:8 77:2,15 78:20 83:19 85:9
    142:1 143:1 144:1 145:1 146:1          87:19 89:20 101:13 103:22
    147:1 148:1 149:1 150:1 151:1          116:2 118:15 122:8 123:15
    152:1 153:1 154:1 155:1 156:1          127:16 141:19 143:22 145:3
    157:1 158:1 159:1 160:1 161:1          148:9 152:8 155:16 171:24,25
    162:1 163:1 164:1 165:1 166:1          193:15,19 197:3 198:5 210:21
    167:1 168:1 169:1 170:1 171:1          214:12 216:4
    172:1 173:1 174:1 175:1 176:1         answered 118:7 196:20 199:16
    177:1 178:1 179:1 180:1 181:1          207:17
    182:1 183:1 184:1 185:1 186:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page229
                                               06/14/21 Pageof226
                                                               898of 269
                                                                         1247
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 225

   answering 19:6                         aspect 98:3
   answers 3:9 98:21 116:7                aspects 182:8 215:21
   antibiotic 185:5                       assault 62:14 174:16,17
   antibiotics 86:22 106:23               assaulted 174:9
   anybody 202:18,25                      assess 46:25 56:22
   anymore 36:3                           assessment 26:24,25 41:10,14
   anyone's 206:15                         44:9 46:8,20,25 58:9 59:24,25
   anyway 18:19                            132:25
   apart 50:24                            assessments 133:6
   apnea 44:13,15 212:23 213:4,8          assigned 11:10
   apparently 15:22 38:17 56:18           assist 145:16
    57:2                                  associated 114:19 220:12 221:2
   Appeals 209:19                         assuming 113:24 114:3 185:12
   APPEARANCES 2:2                        assure 131:2
   appeared 27:19 98:10 153:20            asterisk 176:10
    194:23,25                             attached 219:7
   appears 44:12,16 98:10 153:21          attacked 161:13
    189:5                                 attempt 65:11
   appease 22:9 160:22 161:12             attempting 31:12
   appreciate 163:15 202:9,12             attended 12:22
   appropriate 62:5 82:21 135:15          attending 8:11 10:13 29:8 40:25
    144:10 145:19 150:10 171:8,9           43:16 46:18 48:15 101:23
    183:25 185:4 188:12 221:10             123:25 125:24 128:5 132:14,14
   approximate 28:13                       132:15,16,17 149:17 199:19
   approximately 13:10 14:12 28:9         attention 10:5 13:6 25:24 32:11
    74:20 79:8,8 201:10 208:22             32:16 41:8 52:5 54:9 55:16,18
   area 29:11 47:25 48:8 59:8              59:20 66:25 85:22,25 121:13
    93:16 164:13,17 181:11,23              132:2 136:5 168:6 202:10
    183:9                                  204:6
   areas 174:8                            attest 18:16
   argue 37:18                            attestation 54:3
   arranged 14:17                         attorney 2:10 3:15 7:9 19:12
   arrival 189:7                           21:23 23:12 65:21,22 75:9
   arrived 15:8,15 28:3 127:24             78:17 80:22,23,24 81:6 111:17
    187:4 189:17                           134:6,12 145:20 153:21 162:17
   arriving 15:6,7 187:8                   169:15,16 172:14 174:4 221:6
   Art 134:7                              Attorney's 84:22
   articles 114:18                        attorneys 3:3 22:23 73:22 81:6
   asked 64:2 69:4 74:3 81:18              163:24 171:3 177:4,8 179:15
    84:19,20 98:21 122:12 150:22           184:18
    152:15 155:21 164:4,5,21              attribute 192:3
    168:7 170:3,19 171:3 179:14           attributed 77:8 120:21 214:4
    180:24 182:20 192:6,14 194:14         atypical 215:7
    195:2,5,14 200:24 206:16              audience 184:3
    207:15,17 212:16 213:22               audio 158:16
   asking 18:16 23:9,11 29:8 82:25        authenticity 18:9
    83:3,6 89:5 91:21 92:3 107:5          authored 9:7
    115:20 137:7 142:16 145:2             authoring 182:11
    150:21 156:7 160:3,4 170:24           authority 180:13
    170:25 171:2 193:21 209:15

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page230
                                               06/14/21 Pageof227
                                                               898of 269
                                                                         1248
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 226

   autop 165:24                           base 102:22 176:23
   autopsy 85:15 115:8,18 165:12          based 46:16 77:8 103:19 117:13
    165:19,24 169:25 196:8,10,15           126:15 128:9 129:12 130:24
    208:9                                  139:19 140:22 145:6,23 154:5
   available 57:4 185:8 200:22             155:20 156:4 163:2 182:15
   avoid 200:15                            197:7 211:3,4 214:4 215:9
   avoidance 72:6                          217:16
   awaiting 56:20                         basic 31:11
   aware 69:8 72:7,10,18 73:6 87:2        basically 27:22 187:10
    93:17 106:6 109:25 115:3,4,7          basing 129:10,11
    115:10,21,24 119:17 133:7,25          basis 20:17 42:11
    154:6 167:7 183:16 192:10,16          Bates 146:15 147:7
    210:16 213:13,19                      bearing 161:25
   axial 33:3,9 97:25 98:13 100:6         bed 122:19
                                          bedside 91:4
                   B                      beginning 7:21 51:5 106:21
   B 5:2,7 48:25 49:4 66:21,25             158:12
     67:19,20,24,25 68:2 204:8            begins 205:12,22
   B.L 39:24                              behavior 145:6 203:23
   babies 110:20                          believe 13:25 14:11 21:17 51:23
   baby 35:24 56:17 110:17,23              60:21 65:20 66:13 70:2 97:3
     122:12,19,23 174:9,10,13,16           115:9 146:9 155:7 163:10,12
     182:21 183:12 184:20,24 186:6         164:14 166:14 180:7,13 182:21
     186:12,17 189:17 191:10,20            193:20 194:7 201:8,9 210:5
     192:16,19 193:8,11 198:6              212:22
     199:12 201:18 202:7                  believed 193:22
   baby's 57:5 198:17                     benefit 160:15
   back 18:24 19:24,25 23:7 24:20         best 22:11 97:19 109:19 118:8
     25:4 34:9 35:22 43:11 58:6            122:8 137:20 159:7 165:13
     68:10 87:23 88:3 93:9 97:3,8          176:2,3 196:10,22 200:15
     97:16 109:20 112:21,23 113:4          206:21
     116:7 118:3,4,9,16,19 121:11         better 36:4 158:10 164:25 165:9
     123:4,21 126:21,23 150:5,6            165:18,20,25 166:4 190:17,17
     152:16,22,24 158:25 162:14            190:18 199:20
     170:6 177:11 178:10,14 198:19        beyond 83:19 93:15 111:16
     198:24 199:2 203:4 204:7              161:13
     206:14 212:21                        bicycle 197:25
   background 7:20 175:3                  big 176:20
   backup 200:16,17                       bigger 67:17
   bacteria 86:18 113:23 114:16           bilateral 33:3 39:5,20 41:15
     185:22,24                             44:2 47:2 50:8,14,16 51:6,7
   bacterial 86:18 87:7 90:20              51:14 53:9 60:13 93:7 97:24
     105:18,22,25 111:11 155:7             98:12 100:6 102:21 126:12
     156:5 184:17,21,25 185:4,7,18         127:14 128:13,14 193:9
     213:15                               birth 49:10,12 93:24,25 94:7
   Bailey 2:16 163:23                      154:9,13,25 155:18 156:7
   balanced 174:2                          164:6,10 167:11 192:17,18
   ballpark 195:14,19                      193:3,17
   banker 22:23                           birth-related 93:18
   barred 106:23 109:19

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page231
                                               06/14/21 Pageof228
                                                               898of 269
                                                                         1249
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 227

   bit 23:12 45:5 48:13 53:4              breaks 130:18 200:22
   Blaine 81:19,21 83:12                  breathe 27:21 195:24 196:4
   bleed 56:19 193:3                       212:5
   bleeding 32:8 35:17,22 58:20           breathing 15:20 26:11 44:14
    94:8 111:19,25 123:5 167:13            196:4 212:2,8,12
    180:21 191:8 193:2,6 198:3            breeding 193:5
   bleeds 215:20                          Brett 2:4 68:22 85:8 127:5
   blood 16:3,4 27:13,15 33:18,18          150:4,25 154:3 156:19 159:19
    33:21,21 41:18 47:18 86:17,18          168:21 173:4 202:19
    87:3,3,22 88:18 89:10 90:5            brief 40:4
    91:5 94:21,21 98:17,22 99:25          briefly 7:20 9:10 74:15 79:10
    103:25 104:18 105:14 106:25            83:12 184:2
    115:8 123:5,7 130:14,15,17            bring 15:24 19:24 66:9,10
    164:15 165:3,22 185:6 187:12           109:23 160:25 168:5
    187:25 191:19,24 192:25 193:4         bringing 217:13
    195:8,9,16 196:5 198:3,19,23          broad 120:18
    199:9 208:10 216:13                   broader 172:5
   blood-borne 88:24                      Broadway 2:4
   blown 107:16                           brother 60:17 61:6
   board 9:24,25 10:2 133:15 189:2        brought 68:25 87:17
   body 83:24 185:25 195:20               bruises 49:13
   bone 104:23                            bruising 49:14 199:14
   bones 50:23                            Bry 84:13
   bottom 34:7 40:24 48:13 52:22          Bryce 81:19,21 83:12 84:13
    55:24 56:6 66:14 70:12 124:12         bumping 140:7
    124:16,16 125:16 140:11 141:5         bunch 213:23
    147:3,8 168:2 188:15                  business 16:10,24 17:7 25:14,21
   boxes 22:23                             117:7
   boy 60:8 67:25 68:2                    busy 159:9
   bradycardia 215:7
   brain 27:19,20 30:9,13 31:25                           C
    32:2 33:8,8,11,12 35:20,23            C 4:2 67:23 96:9
    38:14,16,19,19 41:19,20,22            C.O.T 17:6 204:7
    44:10,13,16 47:11,18,19 48:8          C.P 32:22
    48:9 50:23,24 87:23 89:17             C.P.R 27:24
    90:6,7,9 95:5 98:9 112:9              C.P.S 57:5 60:14 61:2,8,19,24
    123:3 130:21 140:3,4 142:21             62:5 176:6
    142:25 165:4,13,22 166:4,5            C.T 31:21 33:20 39:7 40:12 44:2
    170:13 180:22 186:13,14,18,24           44:6 50:4,9 53:10 54:6,10,19
    187:6,13,13 188:2 189:7,18              54:21 55:9,12 56:19 88:11
    192:16 194:22 195:3,12,12,17            97:11,23 99:8,20 100:11 101:6
    195:19,23 196:6,21,22,24,24             101:10 103:9 123:7 126:12,16
    198:2,18 199:2,5,7 213:9                127:13,20,25 128:4 130:24
    215:9,14,15,16,18 216:8,9               132:4 164:22,24
   brains 195:10                          Calabrese 2:11 4:5 20:19,22
   break 23:8 64:7 67:13 68:3,5             21:3,7,9,13,20,22 22:6,15,18
    107:20,25 108:5,18,25 109:13            23:11,17,21,25 24:6,8,11,16
    137:6 153:3 160:5 200:18                24:24 36:10,18,21 39:15 42:7
    203:2                                   42:10,13,17,23,25 43:3 71:11
                                            71:17 76:23 77:10,13 78:4,9

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page232
                                               06/14/21 Pageof229
                                                               898of 269
                                                                         1250
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 228

    78:15 82:5,8 85:7,13 89:19,22          207:21 208:23 209:4,16 213:14
    89:24 90:3 91:24 92:12 99:10           217:19 221:4
    100:16,23 102:25 108:2,20,24          cases 36:8 78:7,21,24 114:20
    109:4 114:7 115:12,15 123:12           121:25 166:24,25 167:11 175:2
    124:15 126:20 127:4,10,16              175:4 180:14 181:4 210:16
    133:9,12 134:18 143:9,20              CAT 33:25 50:10,11 128:10,12
    144:5,15 146:13,18 147:11,17           165:5,9,18,21 211:11,12,17,21
    149:2,5,7 150:3,24 151:11,14          CATALINOTTO 2:13
    151:20 152:2,21 153:7,13,16           cause 3:16 31:13 37:6,20 58:17
    156:25 157:5,8,25 158:4,10             90:9,15 91:9 92:2,8,18 104:24
    160:14 161:2 168:16 169:9,13           106:4,15 113:12 114:7 122:20
    169:15 172:4 173:4,9,14                123:5 143:6 154:12,12 167:4
    179:13 180:23 181:20,21                180:8 185:7 188:5 191:11
    182:10 197:4,16 198:21 199:10          194:22 195:3,11 198:7,20
    202:18,22 203:7 207:18 213:17          220:5
    214:8 215:23,25 217:3 218:7           caused 36:19,24 37:8,14 47:23
   call 11:6 14:23,24 15:24 30:6           90:19,21 92:7 139:25 140:3,7
    37:15 53:20 61:2 160:4 200:21          143:2 164:6,9 168:8 183:4
   called 30:25 31:17 32:5 49:8           causes 113:14 119:15 195:8
    53:10,12 56:16 60:6 73:21              199:9
    84:15 167:13                          causing 58:16 59:12 88:25 216:8
   calling 67:21                          caveat 209:9
   calvarium 98:10                        cease 195:20
   capable 19:5                           cell 104:2,18 191:19,24
   capacity 75:16 76:11                   cells 113:21 114:16 130:18
   Capitol 2:11                           Center 16:10,25 17:8 25:10,13
   caption 220:6                           61:24 66:5 69:19 74:9 76:12
   cardiovascular 27:17                    119:20 121:22 181:24 192:9,11
   care 8:15,17,18,23,25 9:3,21           certain 19:9 31:14 176:14
    10:2,18 11:10,16,21 12:3,23           certainly 18:14 20:2 84:6 92:21
    28:10 46:10 59:12 66:3 92:23           108:10 111:3 145:9 154:11
    137:19 176:2,2,3 178:19 182:8          161:4
    182:13,14 200:15                      certainty 22:25
   cared 28:10 59:17                      certification 9:24
   career 28:9 200:3                      certified 3:16 9:25 10:2 18:19
   careful 152:9                          certify 220:3
   carefully 206:24                       cetera 122:22,22
   caregiver 59:12                        chance 86:4 124:7 178:12 189:20
   caring 57:18 61:14                     change 65:12 87:18 130:10,11
   Carlos 86:13 105:4                      172:6 173:21 207:3
   case 56:4 57:6 61:8,8 75:7,22          changed 121:23 122:11,12,17,22
    76:17 77:21 79:11,13 80:3,3,4          130:3 133:2,6 139:17 156:11
    80:5,19,22 81:10,14,25 82:2            166:12 177:13 200:3
    83:18,22 84:14,25 90:18               changes 166:5,11 196:25 204:14
    104:16 111:5,14 113:9,21               204:18,20 221:8
    115:2 117:14 118:22 120:22            chaplain 60:17
    121:6,21 131:16 134:7 138:16          characterization 116:12
    138:17 154:15 155:19 157:22           charge 10:18,24 11:2,4,6,8,24
    162:18 163:25 183:12,14 184:8          61:10,13 209:22 216:23
    188:7 193:7,22 194:3,13 196:9

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page233
                                               06/14/21 Pageof230
                                                               898of 269
                                                                         1251
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 229

   charges 72:22                           57:1 58:1 59:1 60:1 61:1 62:1
   chart 6:22,24 7:5 13:14,18,25           63:1 64:1 65:1 66:1 67:1 68:1
    16:6 21:14 22:2,13,19 23:3             69:1 70:1,10 71:1 72:1 73:1
    24:3 28:6 31:4 48:21 49:6              74:1 75:1 76:1 77:1 78:1 79:1
    61:17 69:19 74:9 96:23 97:5            80:1 81:1 82:1 83:1 84:1 85:1
    133:18,20 134:2 151:13 178:10          86:1 87:1 88:1 89:1 90:1 91:1
    189:25 190:7,10 193:11 211:22          92:1 93:1 94:1 95:1 96:1,21
   check 109:5 178:25 179:2 219:6          97:1 98:1 99:1 100:1 101:1
   chief 11:21 12:2,2                      102:1 103:1 104:1 105:1 106:1
   chieftain 11:23                         107:1 108:1 109:1 110:1 111:1
   child 14:19 15:7,8,18,24 16:2           112:1 113:1 114:1 115:1 116:1
    36:22 38:16 51:17 58:18 59:10          117:1 118:1 119:1 120:1 121:1
    59:11,13,18 61:15,20 62:13             122:1 123:1 124:1 125:1 126:1
    64:13 79:20,24,25 87:7 88:5            127:1 128:1 129:1 130:1 131:1
    89:23 92:23 94:3 109:18 116:9          132:1 133:1 134:1 135:1 136:1
    116:15 120:14 122:18 130:4             137:1 138:1 139:1 140:1 141:1
    139:21 145:24 159:6 174:9              142:1 143:1 144:1 145:1 146:1
    175:23 176:5 178:12 180:14             147:1 148:1 149:1 150:1 151:1
    182:5,9                                152:1 153:1 154:1 155:1 156:1
   child's 90:21                           157:1 158:1 159:1 160:1 161:1
   child’s 50:17                           162:1 163:1 164:1 165:1 166:1
   children 8:18,21 9:18 57:4              167:1 168:1 169:1 170:1 171:1
    59:17 110:4 176:7,24,24                172:1 173:1 174:1,8 175:1
    180:18,18 210:15                       176:1 177:1 178:1 179:1 180:1
   choice 20:7                             181:1 182:1 183:1 184:1 185:1
   choppy 177:11                           186:1 187:1 188:1 189:1 190:1
   Christina 13:23 68:5 82:22              191:1 192:1 193:1 194:1 195:1
    115:15 126:23 133:12 134:18            196:1 197:1 198:1 199:1 200:1
    143:20 153:4,11 160:12 163:13          201:1 202:1 203:1 204:1 205:1
    163:18 169:14 213:17 214:8             206:1 207:1 208:1 209:1 210:1
    215:25 217:2                           211:1 212:1 213:1 214:1 215:1
   Christine 2:11 163:13                   216:1 217:1 218:1 219:1 220:1
   chronic 208:18 212:11                   221:1,4 222:1
   chronically 12:24                      civil 2:3 3:5 76:11,13
   circulate 173:11                       claim 81:13 169:18 179:16
   circulation 186:21,23 215:14           claimants 81:14
   circulatory 216:8                      Claims 68:23
   circumstance 76:18 178:21              clarification 22:13 150:22
   circumstances 140:19 176:14            clarify 201:2
   cite 145:9                             Class 206:3
   city 1:1,6 2:1,6 3:1 4:1 5:1           clear 7:14 30:18 137:8,14 160:2
    6:1 7:1,10,11 8:1 9:1 10:1             174:13
    11:1 12:1 13:1 14:1 15:1 16:1         clearly 27:20 145:7
    16:8 17:1 18:1 19:1 20:1 21:1         client 150:7 151:2,4,10 152:5
    22:1 23:1 24:1 25:1,8 26:1             152:11,15 160:3 176:23
    27:1 28:1 29:1 30:1 31:1 32:1         clinical 97:24
    33:1 34:1 35:1 36:1 37:1 38:1         clinicians 102:11
    39:1 40:1 41:1 42:1 43:1 44:1         clip 157:14,16 161:18,20 162:12
    45:1 46:1 47:1 48:1 49:1 50:1          184:12
    51:1 52:1 53:1 54:1 55:1 56:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page234
                                               06/14/21 Pageof231
                                                               898of 269
                                                                         1252
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 230

   clips 183:18                           completely 20:3
   close 27:16 89:17 126:4                complicated 93:22
   closely 133:19                         compromise 209:10
   clotting 32:8 106:2,9 185:6            computer 156:14,24
   CO2 44:14                              concept 94:9,13
   coach 144:6                            concern 38:17 51:16 62:13 88:7
   coaching 144:12 151:5 216:24            88:10,24 104:19 176:5 209:13
   coagulopathy 105:23 106:4,9            concerned 31:20 38:18 57:15
    112:16 113:10                          86:13 110:18 120:10 138:3,10
   coerced 209:17                          139:20 145:24 159:6
   Colaneri 1:6 74:23                     concerns 138:8 143:25 152:24
   collar 110:9                           conclusion 35:12 177:12
   colleagues 85:4 92:17 132:20           conclusions 102:10 128:2,9,25
    188:4                                  217:8
   collect 31:24                          concrete 144:17
   collecting 47:18                       concurrent 198:25
   collection 31:24 33:21 35:23           concurrently 198:25
    41:18 95:22 98:6 129:17 190:8         condition 38:3 60:14 61:3 62:18
   collections 33:4 93:8,19 97:25          64:15 65:17
    98:13,16 100:6 102:20,21              conditions 31:14 37:6,7
    128:15 216:13                         conduct 77:8,19,20 169:23
   collects 47:25 48:7                    conducted 192:10,11 194:16
   college 7:21 11:25 110:4                196:9
   colored 217:11                         confession 209:18
   column 48:20                           confirm 18:9 130:13 193:21
   coma 49:6 189:6,17                      208:2
   comatose 26:8                          confirmation 56:20 140:5
   combination 93:12 116:10 126:3         confirmed 61:5
   combined 26:17                         confound 197:2
   come 13:7 18:24 23:7 24:20             confront 120:20
    64:18 68:10 87:5,25 112:23            confusing 118:7 122:25 161:10
    130:20 131:25 152:24 163:7             166:7
    172:7 178:24 186:15                   confusion 161:5
   comes 110:23                           consider 38:4 58:19
   coming 19:25 142:8 152:22              considered 135:12 175:12 187:5
   comment 51:11 59:24,25 94:19            196:15
    211:8 212:18                          consistent 32:2 33:14 41:22
   Commission 219:13                       42:21 112:6 120:12 166:18,20
   committed 77:19,19                      193:23 194:4,10 216:15
   common 101:11 113:12 199:18,22         consisting 220:10
   communicate 138:20 159:8               console 110:21
   communicated 135:13                    constant 27:22
   communication 131:3 150:5,6            constellation 175:19
    151:9,15,18,25 178:22                 consult 28:22 30:7 31:17 32:5
   compelled 114:11                        32:12 34:6 38:2,24 40:22
   competent 137:19                        49:25 66:8 99:24
   complaint 60:12                        consultant 128:11
   complete 22:5,13 31:8 174:3            consultants 66:7 188:16
   completed 220:11                       consultation 16:18 29:7


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page235
                                               06/14/21 Pageof232
                                                               898of 269
                                                                         1253
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 231

   consultations 28:19,23 29:4,24         controlling 102:10,16
   consults 188:19                        controversial 36:6 113:18
   Cont'g 10:21 14:8 16:23 17:11          controversy 37:12
    19:13 25:7,19 28:16 29:20             convention 34:18
    37:4,23 39:16 42:2 43:14 45:3         conversation 23:14 101:22 151:3
    45:14 48:6 49:18 52:16 55:2            177:4
    63:2 64:11 66:23 70:19 71:18          conversations 24:20 75:9 170:20
    72:11,20 73:3,19 74:18 76:25           171:16 177:7
    77:14,24 78:6,19 79:17 80:14          convexity 98:3
    81:4,24 83:10,21 85:14 88:14          conveyed 145:25
    89:8 90:8 91:11 92:4,25 98:18         copacetic 160:19
    99:6,17 100:9,18 101:3 103:6          copies 125:5
    103:17,23 107:3 109:11 110:10         copy 3:16 7:2,4 80:18
    110:25 113:5 114:22 115:6             corneal 49:15
    116:3 118:20 119:7,12,23              corner 41:4 55:20
    120:4 121:5,10 122:9 123:20           corollary 110:9
    124:4,10,18 125:11 127:12,18          correct 8:23 15:10,11 20:25
    129:2,19 133:23 134:10,21              21:4 29:11,12,14,21,22 31:14
    135:4 136:2,9,19 137:22                31:15 32:20 33:25 34:2,8,13
    141:13,21 143:13 145:21                34:14 35:24 38:24,25 40:15
    146:19 147:2,22 148:8 149:8            41:10 43:20 48:9,21 49:22
    149:21 154:4,23 155:3,11,25            50:2,5,17 51:2,25 53:6,22
    157:12,20 158:5,20 159:11              55:20 56:2,7,11 61:21 62:10
    162:3,10 166:9 167:3 168:4             63:21,24 86:19,23 88:8,19
    172:4 173:14 179:13 180:23             89:11 90:10,13 93:4,5 94:4
    181:21 182:10 197:4,16 198:21          95:11,14 104:3,25 105:4
    199:10 203:12 205:23 206:13            106:10 113:10,15 123:8 125:13
    207:13 208:16 209:25 210:13            127:15 128:20 129:11 131:23
    211:14,23 212:9 213:21 214:16          131:24 133:2 140:11 142:20
    216:3                                  148:10 179:5 181:5 183:7
   Cont’g 55:25 110:15                     202:8 203:24,25 204:4,9,16,24
   contact 13:8 14:13,15,16,21             205:2,4 206:18,21 207:3,22,25
    61:24 63:19 64:2                       207:25 208:3,24 209:12 210:10
   contacted 57:6 60:23 62:9,17            212:12 215:21 219:6,8
    63:24 64:4,13                         corrected 135:6 221:16,17,18,19
   contacts 199:12                         221:20,21,22
   contained 45:7 67:7 103:8              correction 87:20
    149:14                                corrections 3:11 71:5 201:4,7,9
   content 157:9                           221:8,11,14
   context 94:17                          COT 32:11 38:23 45:7 51:20
   continue 109:13 145:5 203:3             66:21,25 67:23,23
   continued 86:24 106:24 176:13          counsel 42:19 68:22 72:25 73:5
   continues 49:21                         73:14 97:6 220:6
   continuing 37:18                       count 104:2,18 105:13 191:19
   contrary 198:8                         counties 174:7
   contribute 114:4                       counts 191:23,24
   contributed 114:5                      County 1:7 70:10 219:3
   contributing 90:15 143:15              couple 66:10
    149:25 168:11                         course 9:8 16:9 17:7 25:13,21
                                           28:8 35:10 76:16 81:17 85:25

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page236
                                               06/14/21 Pageof233
                                                               898of 269
                                                                         1254
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 232

    86:22 133:2 144:16 150:15              131:6 137:16 177:21 202:10
    161:3 169:20,21 175:13 217:3           208:23 219:11
   court 1:2 17:21 18:2 27:12             day-and-a-half 131:7
    68:23,24 69:8 70:11 81:11,11          days 12:16 49:6 123:8 136:14,20
    106:21 122:22 144:18 152:4             136:25 137:2,5,13 187:18,23
    209:19                                 187:24 199:17 207:21,22,24
   courts 106:21                           214:24 221:9,10
   cover 12:15 153:22                     dead 38:16 44:11,13,16 140:4
   covered 135:22                          142:18,20,21 143:11 170:8
   covering 132:14,16                      196:24
   crash 197:6,6                          dealt 172:2
   creates 30:24                          Dear 221:7
   credentials 29:19                      death 27:17 38:19,19 47:11
   criminal 75:18 81:18 84:12              87:23 89:17 90:6,7,10,15,20
    85:19                                  90:21 91:9 92:2,7,8,18 114:7
   critical 9:21 10:2 11:21 60:14          130:6 142:13,15 143:7 166:6
   critically 9:18                         166:12 168:8 170:13 186:14
   cross 4:4,5,5 68:19 139:15,16           187:6 188:5 191:11 192:19
    163:20 169:12 177:23                   194:22 195:3,17 210:17,18
   cry 110:21                              213:9,15
   Crystal 2:17 108:4 163:22              decades 79:6
    168:18                                deceased 83:24
   CT 190:16                              deceleration 37:21 58:15 120:11
   culture 87:23 88:2 207:19 208:3         122:18 139:24 183:5 197:9
    208:8,10                              decide 138:13
   cultures 87:3 113:21 194:15,17         decision 139:3
   current 9:19                           decline 215:2
   currently 8:6 9:23 12:7 91:12          decrease 215:14
    140:4                                 decreased 90:6 188:22 215:3
   cut 160:22                             deep 26:9 49:6,16
   cutting 158:16                         Defendant 3:6 78:11,16 82:8
                                          defendants 1:8 7:10
                        D                 defer 196:12
   D 4:2,2 5:2                            deficit 88:13 186:5
   D.A.'s 73:21 134:22                    definitely 29:18 88:10 198:14
   D/L 40:13                              definition 114:15 165:3 212:15
   D/U 40:23                              definitive 103:8 196:16
   daily 12:12                            definitively 164:8,11 204:3
   damage 187:13 188:2 215:16             degree 88:12 186:5
   dangerously 27:13                      DeLamater 61:18
   Daniel 56:17                           DeLameter 60:4
   data 37:19                             delay 79:23 186:19
   date 1:12 17:6 25:9 32:11 38:23        delete 131:12
     43:16 45:7 51:20 66:13,21            deleted 131:8
     67:2,24 125:4,4,7 126:5              delivered 221:10
     142:10 192:23,25 204:8 221:3         deliveries 93:22
     221:5,23                             delivery 154:16
   dated 54:12                            demonstrate 193:5
   day 11:12 12:18 13:3,4 49:8            demonstrating 49:25
     58:8 75:17 101:19 108:8 126:3

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page237
                                               06/14/21 Pageof234
                                                               898of 269
                                                                         1255
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 233

   denied 59:12,18                        developed 181:22
   denser 98:4                            developments 121:24 154:7
   density 165:2                          diagnose 138:12 164:11 166:13
   denying 151:22                          175:4 190:12
   departed 14:22                         diagnoses 30:24,25 202:6
   department 5:13 62:9 63:5,16,23        diagnosis 31:2,6,9,10 57:19,20
    64:13,20 65:11 138:21 170:21           58:20 62:16 63:5,14,22 64:20
    171:17,21 173:23 179:16 201:2          65:12 86:10 106:17 130:11
    202:5                                  171:10,19 172:8 173:21 175:20
   departments 175:2                       184:19 186:6 188:7,14,17
   depend 192:21                           189:19 190:2,16 192:8,9
   depending 33:18                         208:13 209:11 217:7
   depends 197:20 212:6                   diarrhea 15:22 40:10 49:7
   Deponent 221:5                         dictate 140:15
   depose 139:9                           dictated 131:9 178:11
   deposed 78:23                          dictation 126:10 131:9
   deposition 1:11 3:5,11,14,15,17        die 79:25 110:4
    5:8 6:22 7:2,2 16:8 17:19             died 116:9 191:25
    18:3 19:22 66:11 67:2,7 69:24         dies 178:8
    70:2,4,9 74:7,7 75:8 80:19            difference 101:11
    95:11 121:13,15 139:6 141:10          differences 12:9
    141:22,23 143:3,25 144:16,21          different 12:6,17,18,23 29:11
    149:14 150:16 152:18 153:6             29:13,16,18,18,21 50:23 55:9
    194:24 204:7 205:4 206:8               58:14 66:19 93:11,14 94:7
    221:5                                  102:16 103:19 125:3,5,8
   depositions 160:17                      127:20 132:19 165:2 193:4
   derived 128:3                           197:6
   describe 7:19 9:10 25:25 79:11         differential 30:20,21 31:2,6,9
    83:12 96:24 97:19 126:16               86:10
    184:19 185:17                         differentiate 33:20
   described 165:10 183:4 212:23          difficult 33:20 40:25 160:17
    213:4                                  202:11 217:6
   describes 190:8                        difficulties 155:19
   describing 33:10 178:21                difficulty 212:2,12
   description 5:4 187:6                  dig 20:6
   desk 60:24                             direct 4:4 6:18 17:13,15 18:14
   desktop 156:18                          20:2 61:23
   despite 44:14 102:7                    directing 18:8 62:16 85:22
   detail 13:2                             121:13
   details 36:25 38:6 141:17              direction 214:7
   detective 60:24 76:2,2 147:24          directly 18:6 171:25,25
   detectives 119:18 121:7 146:2          Director 11:22 12:3
   determination 107:11 169:24            discharge 54:16,20 56:9 59:20
   determinations 34:4                     63:20 87:21 149:17
   determine 31:13 36:25 111:7            discussed 15:21 73:5 74:8 75:7
    127:5 138:16 173:23 196:11,17          75:7 92:19 140:14,23 190:7
   determined 83:25 113:20 173:24         discusses 177:6
    216:14                                discussion 15:13 62:17 63:3,19
   determining 38:15                       84:24 128:5,6,10 150:9


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page238
                                               06/14/21 Pageof235
                                                               898of 269
                                                                         1256
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 234

   discussions 65:16 66:3 128:7,8         documented 190:10
   disease 91:13 210:14,17                documents 22:24 69:23 71:15
   disparity 127:24                        84:8 128:18
   displayed 71:12                        doesn’t 22:17 24:5 39:6
   disposition 80:16                      doing 12:9,10,19 13:4,17 48:5
   dispute 77:9,20 119:25 148:3            111:22 144:11 179:4
    217:21                                doll’s 38:8,20
   disputed 217:18                        dolls 170:3,11,15
   disputing 217:17                       don’t 18:20,21 20:9,9,12 23:16
   distinction 98:8                        24:8 25:17 42:5 124:24 130:25
   distinctly 98:4 153:10                 dopamine 27:14
   distinguish 98:15                      double-check 161:19
   distress 60:12 213:4 215:8,9           doubt 70:20 72:7
   district 1:2,2 68:24 84:21             Dr 7:19 11:22 12:2 19:12 21:23
    134:5,12 162:17                        22:10 24:20 40:18,22,23 42:19
   divided 201:10                          45:15 51:12,23,24 53:17,19
   Division 11:21 12:2                     59:9 60:19,22 65:16,19 66:3
   divulging 73:4                          66:11 68:21 78:13 82:18 85:4
   doc 46:22 54:8,9 202:19                 85:10 86:13 105:4 109:2 139:8
   docs 200:4                              154:5 156:22 157:21 158:15
   doctor 6:6,20 7:8 8:6 9:6 10:4          160:16 162:11 163:14,22,24
    12:20 13:6 14:9 15:12,25 16:6          169:2,4,14,25 190:4,4 208:14
    16:21 17:12 18:24 19:5,7,15            211:8,9 214:22 218:3,3 221:7
    23:18 25:8,23 27:4,9,25 28:17         draw 10:4 32:10 52:5
    30:6 31:3,16 32:4,10,15 34:5          drawing 13:6 25:23 32:15 41:7
    35:21 36:14 37:5,24,24 38:22           54:9 55:15,15,18 59:19 66:24
    40:21 41:2,7 43:15 44:8 45:6           204:6
    45:22 46:13,16 47:15 48:7,11          drew 86:17
    48:16 49:19,21 50:25 52:5,17          drying 94:8
    52:19 53:16 54:9,24 55:4,15           due 182:18 183:2 213:15,16
    57:8,10,17 59:19,22 61:19             duly 3:14 220:8
    62:7,12,15 63:3,13 64:12              Dunnett 56:17
    65:15 66:2,10,24 67:6 88:6            dura 33:11 41:19
    89:19 110:22 118:15,21 124:5          duties 12:6 180:11
    148:10 152:8 156:22 157:13            duty 11:18 174:21 180:11,18
    161:8,14 168:5,12 171:8,9              200:21
    172:6 174:19 176:9 181:10             dying 27:16,24
    187:16 188:20 194:9,17 202:9
    203:13 204:6 205:3,25 206:6                           E
    206:14 218:11                         E 2:7 4:2,2,2 5:2,2 67:22
   doctor’s 44:21                           221:12
   doctors 11:9 37:17 83:23 114:25        E-D-G-E 6:14
    137:19 188:13 199:18,19,23            E.D 57:3
    200:8,16,17,22                        E.M.S 49:9 215:5
   document 18:9 27:2,3 34:6 39:12        E.O.M.s 38:7
    52:7 54:24 55:4,19 58:11              E720 41:3
    124:2 128:20 141:9 145:23             ear 60:15
    146:8,14 147:19 148:7 205:17          earlier 7:2,3 38:10 60:15 62:3
   documentary 157:22 158:6                 95:11 96:22 102:14 127:20
                                            128:22 137:24 150:17,19 151:7

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page239
                                               06/14/21 Pageof236
                                                               898of 269
                                                                         1257
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 235

    189:23 190:7 192:7 215:13             Edge's 21:23 42:19
   easier 33:19 118:13                    edit 141:25
   easily 88:13                           educate 180:19
   EDDGE 220:4                            educational 7:20
   Edge 1:1,11 2:1 3:1 4:1,3 5:1          effect 117:13 118:23 119:4
    6:1,13 7:1,18,19 8:1 9:1 10:1          216:17
    11:1 12:1 13:1 14:1 15:1 16:1         effectively 10:18
    17:1 18:1 19:1,12 20:1 21:1           effort 215:3
    22:1,10 23:1 24:1,20 25:1             efforts 161:14
    26:1 27:1 28:1 29:1 30:1 31:1         eight 44:4 130:23 131:22 147:8
    32:1 33:1 34:1 35:1 36:1 37:1          208:12
    38:1 39:1 40:1 41:1 42:1 43:1         eighty 13:25 21:17,19 201:25
    44:1 45:1 46:1 47:1 48:1 49:1         eighty-six 21:21 24:4
    50:1 51:1 52:1 53:1 54:1 55:1         either 33:24 58:17 65:12 78:8
    56:1 57:1 58:1 59:1,9 60:1,19          78:23 86:10,10 92:9 111:10
    60:22 61:1 62:1 63:1 64:1              142:14 176:13 177:18 195:19
    65:1 66:1,11 67:1 68:1,21              204:4
    69:1 70:1 71:1 72:1 73:1 74:1         elaborate 194:25
    75:1 76:1 77:1 78:1 79:1 80:1         electronic 194:24 202:12
    81:1 82:1 83:1 84:1 85:1 86:1         elevated 32:8
    87:1 88:1 89:1 90:1 91:1 92:1         email 145:18
    93:1 94:1 95:1 96:1 97:1 98:1         emailed 95:19 167:19 168:21
    99:1 100:1 101:1 102:1 103:1          embarrassing 184:14
    104:1 105:1 106:1 107:1 108:1         emergency 116:20
    109:1,2 110:1 111:1 112:1             emotional 60:7
    113:1 114:1 115:1 116:1 117:1         emphasize 180:7
    118:1 119:1 120:1 121:1 122:1         emphasized 180:5
    123:1 124:1 125:1 126:1 127:1         employed 8:7 10:6,8
    128:1 129:1 130:1 131:1 132:1         employment 82:13
    133:1 134:1 135:1 136:1 137:1         EMS 15:24
    138:1 139:1,7,8 140:1 141:1           energy 197:22
    142:1 143:1 144:1 145:1 146:1         enforcement 180:13,20 214:7
    147:1,24 148:1 149:1 150:1            enlargement 98:16
    151:1 152:1 153:1 154:1,5             ensure 176:17
    155:1 156:1,22 157:1,21 158:1         entail 8:17 12:11
    158:15 159:1 160:1,16 161:1           enter 135:17
    162:1,11 163:1,14,22 164:1            entered 48:21 51:19,22
    165:1 166:1 167:1 168:1 169:1         entertaining 191:6
    169:3,4,14 170:1 171:1 172:1          entire 5:11 67:15 96:15,17
    173:1 174:1 175:1 176:1 177:1          117:18,21 144:21 147:12
    178:1 179:1 180:1 181:1 182:1         entitled 129:8 146:6
    183:1 184:1 185:1 186:1 187:1         entity 77:7,17
    188:1 189:1 190:1 191:1 192:1         entries 34:21 182:12
    193:1 194:1 195:1 196:1 197:1         entry 31:4 32:19,22 44:4 46:2
    198:1 199:1 200:1 201:1 202:1          46:21 48:12,13 50:4,13,25
    203:1 204:1 205:1 206:1 207:1          51:5,5 52:22 53:6,8 56:10,10
    208:1 209:1 210:1 211:1 212:1          61:20 62:7
    213:1 214:1 215:1 216:1 217:1         episode 191:8
    218:1,4 219:1,4,10 220:1              episodes 193:2,4
    221:1,5,7,24 222:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page240
                                               06/14/21 Pageof237
                                                               898of 269
                                                                         1258
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 236

   errata 219:8                           ethical 171:9
   error 22:4 83:3 177:24                 evaluate 30:23 38:15 47:11
   especially 135:11 139:14               evaluation 57:3 142:19
   Esposito 61:9                          event 108:4 176:12 178:6 180:13
   essentially 142:21 173:20               191:7
   establish 112:14                       events 75:13
   estimate 28:13 164:15 187:16,19        eventually 28:7
   et 1:1 2:1 3:1 4:1 5:1 6:1 7:1         everybody 68:11 96:4 218:17
    7:11 8:1 9:1 10:1 11:1 12:1           evidence 30:12 35:14 47:3 59:5
    13:1 14:1 15:1 16:1 17:1 18:1          92:16 94:23 154:6 165:13
    19:1 20:1 21:1 22:1 23:1 24:1          168:24 193:3
    25:1 26:1 27:1 28:1 29:1 30:1         evident 130:20
    31:1 32:1 33:1 34:1 35:1 36:1         evolved 121:23
    37:1 38:1 39:1 40:1 41:1 42:1         exact 14:20 66:7 94:25 177:14
    43:1 44:1 45:1 46:1 47:1 48:1         exactly 15:16 26:5,14 58:3
    49:1 50:1 51:1 52:1 53:1 54:1          73:11 93:15 94:22 140:21
    55:1 56:1 57:1 58:1 59:1 60:1          143:24,25 164:23 165:7 177:25
    61:1 62:1 63:1 64:1 65:1 66:1          189:3
    67:1 68:1 69:1 70:1 71:1 72:1         exaggerated 214:6,14
    73:1 74:1 75:1 76:1 77:1 78:1         exam 26:13,25 38:6 49:13 87:24
    79:1 80:1 81:1 82:1 83:1 84:1          89:17 97:23 99:16 140:5
    85:1 86:1 87:1 88:1 89:1 90:1          175:13 187:7 196:16
    91:1 92:1 93:1 94:1 95:1 96:1         examination 4:4,4,5,5,6,6 6:18
    97:1 98:1 99:1 100:1 101:1             68:19 163:20 169:12 203:11,18
    102:1 103:1 104:1 105:1 106:1          206:12
    107:1 108:1 109:1 110:1 111:1         examine 142:17
    112:1 113:1 114:1 115:1 116:1         examined 139:18
    117:1 118:1 119:1 120:1 121:1         examiner 163:24
    122:1,22,22 123:1 124:1 125:1         Examining 221:6
    126:1 127:1 128:1 129:1 130:1         example 150:4 187:17
    131:1 132:1 133:1 134:1 135:1         exams 187:10
    136:1 137:1 138:1 139:1 140:1         excellent 178:12
    141:1 142:1 143:1 144:1 145:1         exception 176:11
    146:1 147:1 148:1 149:1 150:1         exceptions 219:7
    151:1 152:1 153:1 154:1 155:1         excuse 17:22 176:23 214:15
    156:1 157:1 158:1 159:1 160:1         exhibit 17:6 20:22 23:23 24:17
    161:1 162:1 163:1 164:1 165:1          25:9 32:11 38:23 45:7 51:20
    166:1 167:1 168:1 169:1 170:1          66:21,25 67:15,24 71:12 95:8
    171:1 172:1 173:1 174:1 175:1          95:18,25 115:18 139:6 146:6
    176:1 177:1 178:1 179:1 180:1          204:7
    181:1 182:1 183:1 184:1 185:1         exhibits 13:24 19:3 74:14
    186:1 187:1 188:1 189:1 190:1          145:17 161:7 173:6
    191:1 192:1 193:1 194:1 195:1         exhumed 83:25
    196:1 197:1 198:1 199:1 200:1         exist 109:22 166:25
    201:1 202:1 203:1 204:1 205:1         existence 33:13
    206:1 207:1 208:1 209:1 210:1         expect 108:8 186:4 190:12
    211:1 212:1 213:1 214:1 215:1         expected 191:19
    216:1 217:1 218:1 219:1 220:1         experience 30:17 110:3 154:6
    221:1 222:1                            163:3 181:7,10 182:16,18
                                           197:7 198:16

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page241
                                               06/14/21 Pageof238
                                                               898of 269
                                                                         1259
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 237

   experiencing 105:8                      202:4 211:15
   expert 113:17 114:10,11 197:3          fall 197:24
    217:23                                fallacy 194:24
   expertise 59:8 93:16 164:13,17         false 205:13,22 206:2,7,9
    181:23 182:5 183:9                     209:18
   experts 114:2                          familiar 34:19 94:11 213:10
   expires 61:16 219:13                   family 26:22 28:2 61:12 75:12
   explain 23:17 60:19 61:2 94:16          75:16 139:19 145:23,25 176:5
    111:20 125:25 127:23 140:19           Fandholt 61:2
    160:15 170:4 177:10 178:5             far 9:15 22:10 38:18 67:8
    186:9 191:13 198:9 199:13              109:14
   explained 61:7,13 88:13 119:8          farthest 34:25
    119:14                                fatal 114:20
   explaining 91:10,19 92:6 179:24        father 114:23 173:3
    191:12                                Federal 3:4 81:11
   explanation 30:19 51:8,10,15           feel 62:4 94:18 111:17 160:21
    112:2 197:9                            217:10
   exposed 149:12                         feels 109:2,2
   extended 199:18                        fellowship 8:3
   extensive 35:15                        felt 112:6
   extra 33:3,9 97:25 98:12 100:6         field 8:13 37:3 122:11 188:12
   extraordinarily 89:15 113:11            196:16 197:8 199:23
   extremely 8:20 60:14 61:3              fields 9:13,14
    101:10 104:9                          fifteen 56:13
   extremities 26:9                       fifth 54:7
   eye 34:9,15,21 113:22 170:3,11         fifty-five 126:10
    170:15                                fifty-three 107:23
   eyes 26:8 34:8,12 35:22 38:8,20        figure 138:13 200:5
    170:7,7,14 194:18                     file 87:6
                                          film 101:20
                        F                 final 101:18 102:8,9,15,16
   F 4:2                                   103:8,15 129:5 132:15,16
   fact 27:18 84:2 87:13,16 88:3           190:24
     88:11 90:12 102:8 111:12,24          finally 200:2,3
     114:3 123:2 134:25 151:22            find 52:11 54:14 96:3 97:5,9
     164:22 175:15 177:20 180:16           145:17 174:7 180:6 181:3
     181:22 183:3,11 186:11 189:15         186:4 187:8 214:18
     189:17 196:8 198:5 200:8,12          finding 35:8,19 36:7 38:9 44:22
     204:3 208:4 217:8                     47:16 63:17 99:14 102:22
   factor 143:15                           114:2 165:14 191:16 211:2
   factors 106:14                         findings 33:23 63:23 64:20 65:8
   facts 79:13 117:12 172:7 173:18         65:12 88:11 95:5 97:24 99:16
     179:3 185:13 217:7,16,18,19           99:19 100:11 102:17 103:20
   factual 172:7                           126:2 138:11 148:24 149:13,15
   fail 221:10                             149:23 150:23 162:21 175:19
   failing 195:20                          197:2 208:22
   fainted 57:2                           finds 100:20
   fair 88:6 116:12 129:3 132:22          fine 19:24 41:7 44:20 67:17,17
     138:7 149:23 171:6 178:20             96:11 108:18,23 109:3 145:19
     181:15 185:23 186:2 200:9             152:22 196:4 216:25

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page242
                                               06/14/21 Pageof239
                                                               898of 269
                                                                         1260
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 238

   finish 134:11 141:18 153:5              134:16,17,19 135:2,7 136:8,16
    207:11 209:23,24                       136:17 137:3 141:12 143:8,9
   finished 23:6                           143:10,18,19,21 148:6 154:20
   first 2:8 13:7 14:13 25:24              154:21 155:2,9,23,24 157:17
    26:18,20 40:2 46:21 48:23              159:4 163:5,6 166:21 181:17
    90:25 101:20 121:4 141:25              197:11,15 207:8 208:15 209:22
    145:13 146:20 147:4 152:12             210:11 211:5,19 214:10 215:23
    178:3 187:7,10 202:21,25               216:2
    209:24 216:5,5 221:13                 formal 99:12
   fit 120:12                             former 76:2 95:16
   five 2:18 28:14 64:9 79:9              formulating 58:20 62:15
    104:13,19 169:7 187:24 189:11         forth 123:4 150:5,6 177:11
    215:6                                  198:19,24 199:2
   five-minute 107:20                     forty-eight 54:13 210:18
   fixed 49:15 89:16                      forty-five 108:11
   flag 180:12                            forty-four 60:5
   fluid 31:22,25 33:4,7,11,14,22         forward 109:15 202:14
    35:23 47:21,25 48:7 88:12             fought 200:3
    93:8,11,19 95:21 97:25 98:3,7         found 60:10 72:22 131:4 164:9
    98:13 100:6 102:21 128:14              174:6,11 185:11 186:6
    129:17 130:16,17 165:6,7              foundation 18:5,18 157:19
    190:8,14                              Fountain 1:6 60:24 76:2,3
   focus 13:3 29:11 107:6,8,10             147:24
   focused 192:8,9                        four 5:16 9:16 22:22 56:13
   folks 15:14                             147:18 164:7 187:24 214:25
   follow 57:7 114:24 136:4                215:6
   follow-up 108:3 163:13 170:2           four- 30:17
    176:8,13                              four-month 15:17 41:14 210:16
   following 164:3                        four-month- 46:25
   footage 162:12                         four-month-old 40:8 48:25 60:8
   force 122:20 198:7,16                   110:17,23
   forced 140:2                           fourteen 146:16,16
   forceps 154:15                         fourteen- 52:21
   foregoing 219:4 220:4,9                fracture 44:6,21 50:19 56:20
   forever 203:5,7,8                       83:24 84:2 99:9 130:24 131:4
   forget 21:22                            132:5,9,25 134:14,15,25,25
   forgot 178:23                           177:6,12,15,17 198:14,15
   form 3:8 10:20 25:16 29:15             fractures 165:6
    37:10 42:22,23 43:4,19 48:4           frank 160:17
    61:17 62:23 70:18 72:9,24             frankly 180:3,10 189:5
    73:9 74:7 77:23 78:3 79:14            fresher 193:10
    81:3,23 82:4,7,18,25 83:14,16         front 17:5 18:10 45:8 59:21
    88:9 90:23,24 91:23 92:10              61:17 208:9
    99:5,10 100:8,14,15,16,22             froze 200:7
    102:24,25 103:2,3,21 106:18           full 7:17 8:10 10:15 22:24
    106:19 107:13,14,20 110:6              27:12 60:9 106:21 107:16
    114:9 115:5,13,16 117:15,19            113:22 207:23
    119:6,10,21 120:3,23 121:9            fully 69:11
    122:5,6 123:10 126:18,19              function 187:3,11,14 195:12
    128:17 129:15 133:8,9 134:9

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page243
                                               06/14/21 Pageof240
                                                               898of 269
                                                                         1261
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 239

   functioning 27:20 104:20,20             74:3 83:3 98:25 110:8,11,12
   funny 183:23,24                         114:12 118:10 120:18 156:15
   further 3:7,10,13 46:23 67:10           160:21 162:7 165:2 200:22
    165:10 168:14 206:10 218:10            209:2 211:10 217:23
                                          given 20:15 72:2 122:3 127:24
                        G                  136:24 161:6 165:20 196:7
   G 4:2                                   198:5
   gag 49:15                              gives 164:25
   gain 175:3                             giving 98:21 185:5 220:7
   gathering 185:2                        glad 13:4 27:8
   general 2:10 11:18,19 148:21           Glasgow 189:6,17
     169:16 174:15 180:19 187:18          global 195:11 216:9
   General's 65:22                        go 14:3,18 19:8,14 23:7,25
   generally 12:9 94:10 148:22             24:22 38:18 39:12,25 41:2
     169:23 183:2 200:8                    42:3 43:7 46:9,23 47:10 52:10
   gentleman 162:16                        54:6 56:23 58:6 66:17 68:14
   German 190:4 211:9                      78:7,21 83:7 89:13 95:2,19
   getting 19:3 71:13 132:18               97:8 107:23 109:6 125:9 130:4
     153:18 166:5 175:9 186:24             135:21 146:23 157:4,5,10
     199:20 200:15 208:2                   160:18 161:12 163:19 167:25
   Ginsberg 2:6,7 4:4,6 6:3,17,19          170:7 173:12 178:18 191:23
     7:9 10:21 13:17,22 14:3,8             195:14 200:4,18 202:20 204:12
     16:16,20,23 17:11,15,18,21,23         206:23 212:21 217:21,24
     18:2,5,12,17,23 19:10,13 20:4        goes 9:18 105:22
     20:9,12,16,24 21:19 22:4,9,17        going 6:8 7:12 13:18 16:12
     22:21 23:3 24:5,7,10 25:6,7           17:13 18:19,23 19:4,23 25:15
     25:19 28:16 29:20 37:4,23             37:9 48:3,4 68:14 69:2 82:24
     39:16 42:2,9,12,14 43:7,13,14         83:7 95:7 96:2 97:9 98:19
     44:23,25 45:3,13,14 48:6              107:19,25,25 108:3,8,12 109:6
     49:18 52:16 54:23 55:2,23             109:13 111:16 112:20,22
     63:2 64:8,11 66:13,16,20,23           115:17 123:4 128:16 141:24
     67:12,19,23 68:4 70:17 72:9           144:5,8,21 145:3,10,19 152:8
     72:24 73:9 79:14 81:2,23 82:4         152:14 153:9 157:13,24 158:7
     82:17 83:16 90:23 91:23 92:11         158:13 159:21,23 161:12,17,19
     92:15 96:13,15,17 99:5 100:8          162:6,7 163:9 164:3 165:14,21
     100:14,22 102:24 103:21               167:16 169:25 173:5 176:18
     107:13 110:6 114:9 115:5              178:24 185:10 186:25 194:25
     117:15,17,20 119:10,21 120:3          202:14 203:6,6 206:14
     120:25 121:9 126:19 133:15           good 64:7 68:21 108:15 163:8
     134:9,16 135:2 136:8,16               165:5,7 176:2 179:9 184:7,7
     141:12 143:8,18 144:14 147:14         196:2 211:9 218:14
     148:5 152:16,20,23 153:11,14         gotten 115:19 178:16 214:13
     153:20 154:20 155:2,9,23             graduated 7:22
     157:17 159:19 163:5 168:18,23        Gram 113:20 194:15,17
     169:2,5,8 172:23 173:2 202:24        granddad 172:21
     203:9,12 205:21,23 207:8             grandfather 172:23
     208:15 209:21 210:11 211:19          grateful 111:4
     214:10 217:20 218:10,19 221:6        grave 61:3
     221:12,12                            great 135:16 161:17 172:21
   give 6:8 13:2 28:12 29:9 64:8           173:9

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page244
                                               06/14/21 Pageof241
                                                               898of 269
                                                                         1262
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 240

   greater 13:2                           help 13:13 145:17 151:13 165:2
   greatly 188:21                          188:16
   GRIFFIN 2:6 221:12                     helped 175:20
   guess 40:13 91:2 107:4 144:4,9         helpful 129:21 164:23
    145:14 147:20 152:15 172:5,5          helps 141:19
   guilty 72:22                           hem 181:2
   guys 22:7 108:8 156:21                 hematologist 112:5,6
                                          hematology 30:5 32:5 111:18
                        H                 hematoma 39:6,9,21,23 40:13
   H 5:2                                   41:15,17,21 47:2 50:15 51:14
   halfway 97:18                           53:9 95:14,22 98:23 99:24
   hall 136:5                              100:7,12,21 101:2 102:22
   halt 195:20                             111:11 122:20 128:15 129:18
   hand 6:7 34:24                          139:19 154:12 164:9 166:16,23
   handled 134:7                           180:9,25 188:18 190:6,8,13,24
   handling 182:16                         191:2,21,23 192:22 197:12
   handwriting 70:25 141:7                 198:7,20 210:24
   handwritten 32:20 70:3                 hematomas 44:3 47:23 51:7 58:14
   Hang 96:7                               60:13 93:25 94:6,13 102:20
   happen 93:21 101:24 102:3               126:13 127:14 128:13 154:8
     136:23 166:6 184:4 198:15             164:6 167:5,8 181:2 183:3
   happened 84:3,7 165:15 175:18           186:3 190:22 191:4,14 192:15
     177:25 198:16                         193:8
   happening 145:12 150:13,15             hemispheric 50:15
     197:24                               hemophilia 167:13
   happens 94:3 110:7 121:20              hemorrhage 30:10 34:12 35:4,12
     186:21                                35:15,17 113:12 114:8,19
   hard 14:25 39:4 91:7,10,19 92:6         166:16 188:18
     110:21 126:22 139:14 140:2,7         hemorrhages 49:22 166:17,23
     140:9 160:21 161:8 191:11             181:2,4 191:17
     198:12 205:10 214:15 217:12          hemorrhaging 35:22 112:15 113:8
   hardcopy 125:2                          182:17 183:3
   hasn’t 20:11                           hereof 219:5 220:7
   haul 218:12                            hereto 220:6
   head 32:23 33:15 36:12 37:5            hey 173:4 178:23
     39:7 40:12 50:17 53:10 99:8          Hicks 56:25 75:12
     99:20,20 107:9 139:19 147:4          high 36:23 139:23 142:7 197:22
     159:7 170:14 182:24 198:17,24         198:16
     199:14 212:23                        highest 11:15
   heading 219:5                          hinky 197:18
   hear 23:13 24:19 59:15 89:19           Hippocratic 180:12
     90:3 114:25 117:21,24 149:5          historically 36:4
     151:20,24 154:2 155:13 158:11        history 9:8 15:21 26:19,20,22
     158:18 172:19 193:24 202:17           40:3,4 49:6,9 52:6,20 58:7
   heard 94:12 98:17 114:19 151:18         59:2 97:3,24 111:6 139:20
     152:2,2,3,3 174:11 177:19             140:22 145:23 146:2,3 156:7,8
     201:22,24,25                          175:9,9,12,13,16,17 176:17
   hearing 3:16 214:4                     hit 157:6 172:18 198:13
   heart 115:9                            hitting 37:16 58:16 122:18
   heels 20:7                              123:3 197:22 198:6,17 199:6,7

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page245
                                               06/14/21 Pageof242
                                                               898of 269
                                                                         1263
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 241

    205:10                                ignored 184:6
   hold 8:9 9:23 10:10 22:6,6,7,7         ill 9:18
    22:18,19 24:6,8,11 55:13              illustrate 150:19
    108:2 109:4 161:21,23                 image 34:24
   holding 109:20                         imagine 117:16 179:23,24 197:23
   holds 106:23 109:19                    imaging 190:13 192:11,13
   home 12:23 57:5 61:7                   immediate 61:12
   honest 22:22 155:16                    immediately 106:16
   honestly 160:20                        immune 104:20
   honesty 202:13                         impact 37:21 139:23 142:7
   hoping 108:14 164:2 207:3              impending 38:19
   hospital 14:17 15:14 16:10,25          implies 151:5
    17:8 25:10,14,21 28:3 40:10           imply 153:9
    49:5 56:18 60:9 61:24 66:5            import 50:20 51:13
    76:16 77:6,17 80:23 81:6 88:6         important 38:4,6 111:5 144:23
    138:21 176:18 188:25 192:7             156:7,12 174:5,24,25 175:19
    208:11                                 176:21 180:19 188:19
   hospitals 9:17                         importantly 130:9,10
   Hotline 61:16                          impossible 27:21
   hour 108:11                            impression 27:5,7 51:2 58:12,13
   hours 11:13 178:11 187:21,25            98:12 100:21 102:15 132:25
    195:6,15,19 199:18 200:9              impressions 129:4
    210:18                                imprisoned 169:19
   hundred 22:25 74:9 86:5 123:22         improper 20:3
    146:16 201:17,23 202:2 214:25         improve 204:21
   hundred-hour 52:22                     inaccurate 159:3
   hundreds 181:14,18                     inappropriate 150:6
   hyphen 33:4                            inborn 167:11
   hypo 35:5                              incident 69:14,22 84:9 85:24
   hypothermic 105:4                       163:4
   hypotheticals 217:16,23                include 195:18
                                          included 26:16
                        I                 includes 6:22
   I-- 73:10                              including 57:5 61:6 170:13
   I.C 116:23                              182:8,11
   I.C.P 47:3,4                           inclusive 202:6 220:11
   I.C.U 8:4,19 11:23 110:22              incomplete 22:2
    116:22,23 137:20,21                   incorrect 99:3 132:2 133:21
   I.V.'s 26:11                            134:3
   I’d 217:11                             increase 47:20
   I’ll 32:12 113:25                      increased 47:3 191:18,19 215:3
   I’m 7:12 13:22 37:9 42:24              increasing 15:23 50:22
    115:24 127:8                          incredibly 181:3
   idea 102:7 162:24 190:17 191:6         incumbent 150:18
   ideally 196:23                         incur 154:8
   identical 101:10                       independently 70:23
   identified 43:20,22 103:12             indeterminate 216:13
    114:11 138:24 139:2                   Index 221:4
   identify 55:3 214:19                   indicate 35:16 38:12,13 50:21
   If-- 96:20                              139:16

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page246
                                               06/14/21 Pageof243
                                                               898of 269
                                                                         1264
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 242

   indicated 30:12 31:16 32:4             interesting 184:10 191:24
    49:24 57:9,10 203:16                  internal 10:3
   indicates 34:11 37:20 39:3             INTERNATIONAL 221:2
    49:22 62:8 70:13 98:5                 interpretation 101:9 102:5
   indicating 36:7                        interrogate 121:7
   indicative 58:15 191:6                 interrogating 121:17
   indirectly 172:2                       interrupt 36:11
   individual 132:11                      intervention 47:14
   individuals 132:8,11                   intracranial 47:5,16,22 123:6
   infant 183:6 191:20                    intraretinal 35:15
   infants 176:25                         intraspinal 130:16,17
   infected 210:8 215:20                  intubated 15:20 40:11
   infection 87:7 88:25 90:20             intubation 212:24
    105:18,22,25 111:12 148:13,19         investigated 175:22
    155:8 184:17,21,25 185:4,7,18         investigating 136:13 139:3
    213:16                                 141:5
   infections 156:5                       investigation 5:13 76:3 169:22
   infectious 91:13                        169:24 194:15 214:7
   influence 63:5,11,16 113:24            involve 128:8 197:22
   info 57:3                              involved 9:7 75:22 76:3 85:23
   information 67:6 73:17 101:6            92:24 183:17 208:23 217:9
    123:18 132:18 175:3 176:16            involvement 69:5,14 75:15 90:18
   informed 121:16                         183:11
   initial 14:23,24 27:5,7 59:24          involves 37:16 154:15
    59:25 102:14 129:4 132:25             involving 81:19,21 179:25
    175:13 208:11                         issue 111:3 134:23 149:25
   initially 136:5 187:6 212:5             151:19 167:11 186:3
   initials 131:13                        issues 49:13 106:10
   injuries 60:20 99:20 119:15            it'll 108:14
    174:17 183:5 191:12 193:22            it’s 33:19 42:21 54:8 70:12
    194:4,9 196:17                         98:6 211:11 218:2
   injury 30:9,14 32:3 37:15 38:14        item 43:24
    41:22 56:25 57:9,12,19 58:16          iterated 188:21
    59:12 76:18 94:22 107:9 112:9
    120:11 122:18 138:2 139:22,23                         J
    139:24 140:6 141:25 142:7,8           Jackson 184:11,11
    165:4,22,23 179:25 195:11,23          Jan 213:11
    196:6,11 197:9 198:9 215:10           Jasper 61:9
    215:18 216:9                          Jermaine 40:18,22,23
   instance 208:21                        job 12:10 19:3 120:18 138:13
   insult 43:8                             164:19 174:2 175:24,25
   Int'l 220:12                           Johnson 2:16 163:23
   intact 98:11                           journal 182:11
   intensive 8:14,16,23,24 9:3            Judge 184:3
    10:18 11:10,16 12:3 28:10             judgment 175:17
    182:8,14                              judicious 153:17
   inter 35:3                             July 1:12
   interaction 27:23 56:10 63:4           jump 74:13 149:12
   interactions 65:24 102:3 136:21
                                                            K


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page247
                                               06/14/21 Pageof244
                                                               898of 269
                                                                         1265
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 243

   Kardos 214:23                           212:9 213:21 214:15,16 216:3
   keep 7:13 16:4,25 27:12,15,16           216:25 217:15,22,25 218:6,14
    27:23 79:16 128:17 164:2               218:17
    170:9 191:2 203:6,6 217:13            knew 15:17 117:13 183:19 207:18
   keeping 168:24                          209:3 210:6
   kept 16:9 17:6 25:13                   know 11:7 13:2 16:13 18:19,20
   kid 91:7 106:24 107:16                  23:5,5,6 24:3,8,9,12,17 28:5
   kid's 91:4                              28:7 31:7 35:17 36:4,12,15,16
   kid’s 114:23                            36:19,22,23 39:8,24 40:17
   kids 114:17 184:12                      42:17 43:4 48:18 53:21 54:18
   kind 37:20 122:12 123:2 166:11          55:5 57:13 59:2 62:25 63:7,10
    176:10 177:11 196:6 197:18             64:12,16 65:19,22,23 67:8,16
   kinds 174:17                            68:7 72:4,12,14,21,23 73:11
   Klein 2:3,4 4:4,6 37:9 39:13            73:13 75:11,22 76:4 80:4,8,9
    41:24 42:16,18,24 43:2,5               80:11,12,15 81:10,13 82:22
    44:19,24 45:2 48:3 62:23 68:9          83:20 84:4,18 85:3,10 87:12
    68:20,22 70:19 71:13,18 72:11          87:14 90:17 91:2,9 92:8 94:8
    72:20 73:3,19 74:17,18 76:25           94:19 95:5 96:21 97:17 99:23
    77:14,24 78:6,19 79:17 80:14           100:2,5,7,10 102:3,12 104:8
    81:4,24 82:15,20 83:5,10,21            107:9 108:13 109:17,18 110:8
    85:10,14 88:14 89:5,8 90:8             110:15,23 111:8,15,15,16,19
    91:11 92:4,25 95:17,23 96:6            111:19 112:3 114:13 115:22,25
    96:11,16,19,24 97:7,13,22              116:8,8 121:24 122:4,8,15,22
    98:18 99:6,15,17 100:9,18              123:2,17 124:6 130:19 131:5,7
    101:3 103:6,13,17,23 107:3,21          131:12,22 132:7 133:19 136:22
    107:24 108:9 109:11 110:10,25          139:12 140:24 141:3,10 142:12
    112:22 113:5 114:8,13,22               142:14 144:4,20 145:11,25
    115:6,20 116:3 118:2,6,20              150:17 151:8 152:7 153:16,18
    119:7,12,23 120:4 121:5,10             153:19,22 154:16,16,18,24
    122:9 123:15,19,20 124:4,10            155:6 156:5 157:15 158:17,25
    124:18 125:5,11 126:22 127:3           160:15,18,20 161:4 165:5,11
    127:7,11,12,18 128:19 129:2            166:4 167:8,9 174:8,16 176:6
    129:19 133:23 134:10,21 135:4          177:16 180:16 181:18 183:12
    135:9,14,17,21 136:2,9,19              183:24 184:9 185:9,15 186:13
    137:7,9,17,22 141:13,21                186:15,16 187:17,24 188:18
    143:12,13,22 145:21 146:12,15          193:14 194:19 196:21 201:12
    146:19 147:2,16,19,22 148:8            201:21 206:15,25 208:3,8,22
    149:4,6,8,16,21 153:4 154:4            210:4,7,7,8,9 211:8,9 212:22
    154:23 155:3,11,25 156:17,21           214:13,19 215:18 216:6,6
    157:2,7,10,12,20 158:2,5,13            217:10 218:12
    158:15,18,20 159:11,21 160:7          knowing 192:19 193:13,13
    161:17,25 162:3,10 163:8              knowledge 74:2 199:22 206:6
    164:4 166:2,21 170:3 171:23            217:14
    172:20,25 173:8 179:6 180:15          known 63:8
    181:16,25 182:21 183:18
    185:11,13,16 188:20 196:19                            L
    197:15 198:11 199:4 200:13            laboratories 26:21
    202:20,25 203:5,18 205:16             laboratory 55:6,7,20
    206:13 207:10,13 208:16               LAINSON 220:3,15
    209:23,25 210:12,13 211:14,23         language 57:14 129:13 138:2

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page248
                                               06/14/21 Pageof245
                                                               898of 269
                                                                         1266
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 244

   large 33:3 97:24 98:5,12 100:6         litigation 84:12,12,14
   larger 97:25                           little 23:12 45:5 48:12 53:4
   law 69:8 180:12,19 206:4 214:7          54:17 95:10 153:22 158:17
   lawsuit 76:18 84:11                     159:15 187:2 198:3
   layers 94:7                            live 60:21 165:11 196:23
   layman's 198:8                         LLP 2:13
   lead 102:7 130:6 138:24                load 159:23
   leading 73:14 182:2                    locate 96:22
   Leah 2:14 19:11 21:25                  location 1:14 176:19
   learn 87:5,25 130:20                   locations 193:18
   learned 84:5 105:3 169:22              log 112:21
   learning 105:8                         long 107:24 181:10 199:20,24
   leave 112:22                            200:2,2,9,12 201:21 202:11
   leaving 15:5,6 176:18                   218:12
   lecturing 182:6                        longer 64:5 115:22 135:23
   led 73:7 111:8,10 181:23 188:6         look 19:2 23:4,25 24:16,18 30:8
   Leestma 213:11                          38:22 45:15 48:12 75:7 86:4
   left 34:18,23 35:2 40:24 53:16          124:7 133:19 151:13 155:22
    61:17 98:4,14                          163:10 165:12 194:8 213:7
   left-hand 48:19                        looked 69:21 71:15 95:10 133:18
   legal 109:23                           looking 23:16 24:17 26:14 43:15
   length 144:24 201:19                    44:8 45:9 46:20 54:19,20
   let's 14:3 20:17 43:7 46:12             69:18 121:25 125:22 130:23
    137:8 152:16 153:21,22 217:24          135:14 145:22 147:3 166:3,4
   lethargy 15:23 88:23 213:6              170:9 189:25 196:22 211:11
   leukopenia 105:11                      looks 40:19 46:17 51:6 52:7
   level 16:5 186:5 189:4                  53:17 54:12 55:9,10,17,17
   levels 101:17 200:17                    71:3 141:7
   liaise 174:25                          loss 195:12
   lieu 173:2                             lot 11:5 103:4 132:19 153:18
   life 60:9,20 91:5 107:17                167:8 177:3 179:25 201:22
   lifted 55:11                            207:20,21 209:5 212:4 217:6
   limited 15:19 57:3 90:18 91:2          loud 82:23
    210:6                                 low 16:3 27:14 88:18 89:10 90:5
   limp 60:10                              91:5 104:2,9 105:12,14 187:12
   line 40:12,24 46:22 78:11 82:10         187:25 195:8,9,16 196:5
    83:6 131:12 135:11 178:25,25          lowest 189:9,12
    179:10 188:15 205:8,12 212:3          luck 218:14
   lines 91:6 106:24                      lunch 107:25 108:5,15,20,25
   lingo 185:21                           lungs 115:9
   lining 33:12 41:19                     lying 170:6
   link 168:21
   list 9:18 30:24,25 31:5 43:20                          M
    43:22,25 44:5 120:15,17               M 4:6
    126:12 129:12 131:5 132:22            M.D 1:11 2:16 56:16,24 57:8
    168:24 216:6                            219:4,10 221:5
   listed 131:21                          M.R.I 98:8,8,14 129:21,24 130:5
   literally 117:13                         164:23,24 165:8,16,18,21
   literature 154:11 182:23               ma'am 21:24
                                          machine 212:8

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page249
                                               06/14/21 Pageof246
                                                               898of 269
                                                                         1267
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 245

   macular 34:12 35:21                    means 11:8 31:8 35:17 50:16
   mad 107:18                              54:4 70:25 94:17 114:15 170:4
   main 174:21                            meant 150:19 186:9 191:13
   making 27:21 144:24 175:17,25           204:25
    188:13 203:19,21                      mechanics 198:9
   male 41:15 47:2 49:2,2,3,3             meconium 155:13
   malfeasance 82:11,12                   med 7:23,24,25 8:2,5,7 10:9
   malpractice 76:15,21 77:8,18            14:18 15:15 22:20 23:4 187:5
    82:12                                  187:8,11
   management 56:4                        medical 5:6,11 11:25 16:10,25
   manipulated 106:25                      16:25 17:4,7 22:24 25:9,13
   mark 66:20 96:9 146:11 157:25           30:12 31:4 37:3 49:9 58:7
    158:2 167:21 173:7                     61:24 66:5 69:18 74:8 76:12
   marked 5:3 13:18,20 16:7,13             86:6 96:17 103:25 104:6 107:7
    17:5,10 18:10 19:4 20:24               119:20 121:22 138:11 139:4
    23:23 50:18,21 66:25 96:9,10           149:15,16 163:24 170:18
    96:21,23 109:22 115:18 146:10          171:10 172:8 173:18 175:13
    161:6 167:17                           178:16,18,19,22 181:24 182:6
   marking 115:21                          185:20 192:8,11 201:17,17
   marrow 104:24                          medication 16:4 26:13 27:15
   mask 151:25                             52:7,21 192:3
   Mason 1:6 75:4,21 146:7                medicine 8:13 9:22 10:3 11:22
   mass 35:5                               121:23 122:11 154:7 155:21
   massive 159:6                           156:4 181:11
   materials 6:21 220:12                  meet 60:6 73:22
   matter 7:11 22:17 24:5,7 33:8          member 9:20 62:18 63:4,15 64:19
    42:12,15 61:25 62:5,9,14 69:5          65:10
    72:3 80:10 81:18,21 85:24             members 28:2
    210:18                                memory 13:21
   Matthew 6:23 13:8 14:13 25:25          meninges 105:23
    27:10,13 28:2,18 29:25 38:2           meningitis 105:25 106:7 215:20
    41:9 44:10 57:18 59:10 62:18           216:7
    63:15 64:14,21 65:13,17 66:4          mental 58:22 90:6
    85:16 103:24 105:3 106:9              mention 38:7 98:17 149:9 190:8
    107:7 136:21 139:18,20,22              190:24 204:24 205:2 211:2
    140:3,4,7 141:25 145:24               mentioned 128:22 143:6,14
    155:19 164:7 166:15 168:8              175:16 184:15 186:4
    170:10 171:20 172:9 210:8,15          merc 155:13
    212:10                                merely 98:7 140:7
   Matthew's 28:24                        met 60:16,19 61:10 64:22,22
   MAYNARD 2:13                            119:19
   mean 10:24,25 11:4,5,6,7 12:8          method 196:10
    16:15 19:4 22:23 33:6 53:11           Michael 1:7 2:7,16 7:9 22:18
    54:18 92:7 94:16 99:23 122:13          24:6,12 36:11 42:7,10 44:19
    133:17,20 137:5 139:12 160:20          64:5 153:13 163:24 174:15
    175:6 179:7 183:21 185:18,20           184:11,11 202:20,22,23 221:12
    185:21 187:20,23 188:16 199:6         microphone 112:20
    203:20 207:19                         microscopic 208:19
   meaning 76:13 195:21                   mid 49:14


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page250
                                               06/14/21 Pageof247
                                                               898of 269
                                                                         1268
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 246

   middle 32:23 38:8 45:5,25 46:3         month-old 30:18
    97:15 121:17 170:7                    months 8:4 93:9 164:7
   Mike 114:14 172:21                     months' 192:20
   mind 106:8,12 114:4 143:24             morgue 178:13
   minded 191:3                           morning 44:13,15
   mine 188:16                            morphed 100:11
   minimally 26:3,5                       mother 56:25 60:7,10,17,19
   minute 23:8 203:2 215:6                 155:7
   minutes 57:21 64:9 68:7 108:11         motion 18:25 19:24 152:14
    180:6 196:21,25                        160:25 161:11
   misconduct 169:24                      motor 36:23 59:3 120:13 197:6
   misdemeanors 206:3                      197:24
   misdiagnosis 79:22                     move 18:3 26:8 38:21 44:17
   misleading 211:13                       109:15 135:13,15 137:23 145:5
   missed 131:17,17,18 179:11              145:17 161:14 170:6,8,9
   missing 26:25                          moved 198:18
   misspoke 38:18                         movement 49:16 123:3 197:22
   mistaken 99:3                           198:2
   mistakes 82:2 83:13 133:4              moving 170:14 198:24 199:2
   Mitchell 2:14 10:20 13:20 14:2         MRI 190:17
    16:12,17 17:9,13,17,20,22,25          multiple 12:14 42:20 91:6
    18:4,7,14,21 19:2,11,11,23             100:25 102:2 128:3,24 174:12
    20:6,11,14,21 21:8,11,15,25            193:2
    21:25 22:5,8,12 23:22,24 24:3         mumble 152:3,3
    24:13,15 25:15 28:12 29:15            murder 117:12 118:23 119:18,19
    45:10 49:11 54:25 72:17 73:16          120:21 147:25 148:3 159:13
    74:13 77:11 78:17 80:9,13              162:25 163:2 179:17 203:17
    82:24 83:8 88:9 89:3 91:21,25         murdered 116:15,16
    92:10 95:15 96:20 97:2,11,17          mute 23:13 24:19 160:8,13
    99:11 103:3,10,14 106:19               172:19
    107:19 110:13 115:17 117:23           muted 154:3 202:19,22,23
    118:13,17 119:6 120:23 122:6
    123:10 124:8,25 125:7 126:18                            N
    128:16 129:15 133:8,17 134:17         N 4:2,2 5:2
    135:7,10,16,20,25 136:17              N.S 48:15
    137:3,5,8,12 141:18 143:11            name 6:12 7:9,17 9:2 21:22,23
    144:3,8 145:10 149:11,20                76:8 81:5,7,13 134:6 141:5
    150:21 151:8,12,17,23 152:12            163:22 169:14 221:4
    152:18 153:2 158:16 159:4             named 13:8 74:23 75:4 77:21
    160:2,12,24 161:3 163:6               nap 200:18,23
    197:11 205:19 211:5 216:21            narrative 139:9 146:7
    217:4                                 narratives 74:14,20
   mixing 128:17                          narrow 103:5 132:7
   mom 49:7                               national 183:17
   moment 14:4 20:20 22:8 23:8            near 48:8 90:7 186:13
    24:25 36:11 124:5 163:10              necessarily 29:17 148:17 166:18
    168:17                                necessary 180:6 200:23
   month 125:19 177:22,25 178:6           need 7:5 18:21 19:7 21:6 42:5
    179:12 186:16                           46:8,9 58:10 87:20 108:15,20
                                            108:24 112:21 145:8 146:23

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page251
                                               06/14/21 Pageof248
                                                               898of 269
                                                                         1269
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 247

    158:24 160:5,12,14,22 166:8           non- 138:8 197:13,17
    167:17 168:16 176:6 178:18            non-accidental 30:19 37:2 57:15
    200:18 216:21                          58:23 93:3 138:3,14,22
   needing 27:24 174:12                   NON-PARTY 1:10
   needs 30:20 140:8 160:4 205:9          non-traumatic 142:13
   negative 87:23 208:6,8                 noon 15:10 68:10
   Neglect 61:15                          normal 98:10 203:23
   neither 218:2                          Normally 170:5
   nerve 35:4                             NORTHERN 1:2
   neural 15:19                           notary 3:12 219:12 221:9
   neuro 38:6 47:12 53:5,8 89:17          note 26:15,16,17 40:23 41:3,8
    129:7 187:7                            43:16 45:11,15 46:10,13,16,18
   neurologic 15:19 44:9 88:12             46:18 47:9 48:4,16 49:21
    187:3                                  51:18,21 53:14,22,23 54:4
   neurological 186:5                      62:22 64:17 70:17 78:10 81:2
   neurologically 15:18 27:18              96:20 101:2 120:25 123:25
   neurologist 53:20 103:18                125:8,24 126:3,9 145:10 148:6
   neurology 188:4,10                      149:17 154:21 178:13,15,18
   neuropathologist 213:11,14              182:3 190:7 214:18,18,22,22
   neuroso 47:12                           214:23
   neurosurgeon 40:15 51:25 102:4         noted 38:9 44:6 49:8 130:24
    129:7,12 190:25 192:24                 135:20 193:7 219:5,7
   neurosurgeon’s 190:22                  notes 45:22 53:25 131:9 135:14
   neurosurgeons 33:24 34:3 52:4           163:10 178:9,9 190:6 191:3,5
    128:23 164:16 189:23                  notice 172:20 178:17
   neurosurgery 30:2 31:17 38:24          noticed 133:21
    46:14,15,18 92:17 99:24 101:2         noting 110:3
    101:5,8 123:17 128:5,23               notwithstanding 189:6,15,16
    132:10,15,16,17 177:18 188:10          200:8 209:4
    188:12 190:5,5,19                     number 11:7 20:24,24 43:25
   neurosurgical 47:12,13 211:7            47:17 61:9,16 67:17 96:3
   never 114:19 122:23 137:15              126:11,25 127:2,13,24 129:11
    166:22 167:6 172:12 183:18             130:23 131:22 146:11,15 147:7
    200:10,20 208:7 211:10                 176:4 216:11 220:10 221:4
   new 1:2 2:5,5,8,10,12,15,18            numbered 97:18
    61:15 70:10 78:12 82:9 154:13         numbers 60:5,25 201:22,24
    169:16,17,18 206:4 218:8              nurse 61:10,14,14
    221:14                                nurses 137:19
   newer 193:10,17 216:14,15              nursing 12:4,23
   news 183:17                            NY 2:10
   newspaper 122:16
   NICU 49:9                                                O
   nights 12:17                           O 4:2,2
   nine 169:6 182:17,17 208:12            O.R 130:5
   ninety 44:14                           O.S.H 40:9
   ninety- 147:7                          O’CONNOR 2:13
   ninety-eight 146:16                    oath 69:6 152:8 180:12
   ninety-nine 167:9,9 182:17             object 10:20 16:12 17:9 25:15
   non 90:19                                37:9 58:16 71:19 72:9,24 73:9
                                            77:23 78:2 79:14 81:23 82:4,5

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page252
                                               06/14/21 Pageof249
                                                               898of 269
                                                                         1270
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 248

    82:7,18,25 83:14,16 88:9              officer 70:14,22 74:22 75:3
    90:24 91:23 92:10,11 99:5,10           119:25 136:12 141:5,16 152:4
    100:8,14,15,22 102:24 103:2,3         officers 2:6 7:10 116:16 118:22
    103:21 106:18,19 107:13,14,19          119:2 120:7,21 136:4,13
    110:6 114:9 115:5,12,16                138:20 143:2 174:7
    117:15,19 119:6,10,21 120:3           officers' 203:15
    120:23 121:9 122:5,6,19               official 128:4
    123:10,14 126:18,19 128:17            oftentimes 176:24
    129:15 133:8,9 134:9,16,17,18         oh 49:12 54:8 67:17 96:9 171:12
    135:2,7 136:8,16,17 137:3              174:10 184:7 188:11 194:6
    140:2,8,9,9 141:12 143:8,9,10         okay 6:5,15 7:8,14 9:19 10:23
    143:18,19 148:5,5 155:2,9,23           14:11,22 15:4 16:17 18:4,17
    155:24 157:17,18,18 159:4              19:14 21:7,8,9,20 22:6 23:24
    163:5,6 197:11,15,23 198:6,10          24:11 25:20 27:9 36:18,21
    198:17 199:13 205:10 208:15            39:15 40:14 42:25 44:24 45:13
    209:21,21,22 210:11 211:5,19           45:19 46:14,14,15,20 49:19
    214:10                                 50:12 52:14 53:24 54:2 55:22
   objecting 18:7,20 127:6 133:11          56:5,9 57:22 58:10 59:22 62:4
    182:2                                  64:10 66:20 68:14 69:13 71:10
   objection 20:17 41:24 42:11,21          71:17 72:12 73:4,16 74:2,6,17
    42:23 48:4 62:23 70:18 76:23           75:6,11,25 76:6,10,20 77:2,4
    76:23 77:10,11,12,13 78:2,4            77:6 78:7,23 79:2,10,24 80:13
    78:10 81:2 82:10,16,17,21              81:10,17 82:24 83:8,22 84:8
    90:23 92:12,13,15 100:16,23            84:18 85:22 86:9 87:2,5,15,25
    102:25 114:14 115:12,14                88:15 89:9,18 90:2,17 91:16
    120:25 123:12 127:7 133:16             93:17,21,24 94:12,15,20 95:2
    135:18 143:20 148:6 154:20,21          95:7,13,19,23 96:12,24 97:7
    166:2,21 171:23 179:6 180:15           97:11 98:19,25 99:22 100:2,5
    181:16,16,25 196:19 198:11             100:19 101:4 102:9 103:24
    199:4 200:13 205:16 207:8              104:5,11,13 105:3,7 106:3
    213:18 214:9,11 215:23 216:2           109:4,12,25 110:7 111:24
    216:22 217:5                           112:4,10,19 114:13 116:4,14
   objections 3:7 17:18 43:5 118:8         117:9,23 118:10,16,17 119:13
    127:8 144:7,24                         119:17,24 120:20 122:10
   objective 211:4                         123:19 124:3,8,11 125:12,15
   observation 93:7                        125:22 126:8 127:19,23 128:16
   observe 151:21                          129:10 131:15,19,25 134:5,22
   obtain 176:16                           135:9,16,25 136:3,12 137:17
   obvious 198:18                          137:23 138:15,19 139:5 140:13
   obviously 133:18 188:19                 141:8 142:10,24 143:12 144:8
   occasion 31:4                           145:22 146:5,18 147:9,10,13
   occasioned 15:23                        148:9,12,21 149:20 151:17
   occasionings 102:6                      152:12 155:6 156:13,21 157:2
   occasions 77:25 174:12 179:23           157:13,24 158:4,8,15,21,24
   occur 196:25                            160:9 161:17,25 162:6,11,14
   occurred 14:15 166:11 181:7             162:20,24 164:18,21 165:8
   Oculocephalic 170:16                    166:15 167:23 168:23 169:5,8
   office 2:10 65:22 71:4 73:21            169:9,11,25 170:17 171:6
    84:22 86:25 134:23 169:15              173:12,15 177:10 179:14
                                           184:13,15,24 185:12,17,23

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page253
                                               06/14/21 Pageof250
                                                               898of 269
                                                                         1271
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 249

    190:20 191:18 192:2 193:20            overwhelmed 90:21
    195:25 196:14 197:5 200:7             overwhelming 115:10 213:15
    201:5,23 202:3,3 204:19 209:7         oxygen 186:24 195:10
    210:12,20,23 211:24 212:10,14
    213:2,10,13,22 216:19 217:2,4                         P
    218:3,3,17,19                         P 4:2 46:2,7,25
   old 15:17 33:21 41:15 47:2             P-I-C-U 9:5
    93:13 130:17 156:17,23 164:7          P.C 2:16
    164:15 165:3 192:20,21,25             P.D.F 96:4
    215:19 216:11                         p.m 1:13 68:17 109:8,9 113:2,3
   older 94:21,21,21,22 123:8               118:12 153:23,24 218:21
    193:9 216:14,19,20                    package 6:21
   on- 60:25                              packet 97:15
   on-duty 60:17                          page 26:15,18,20,21,22,23 32:24
   one-page 202:4                           34:5,7 38:8,22,22 42:4 44:18
   one’s 210:2                              45:5,25 49:20 52:19 54:7,8
   ongoing 215:14                           55:25 56:6 86:6 95:24 96:3
   Ontario 8:3                              97:17 123:22 124:2,6 133:19
   open 61:8 191:2                          146:20,24 147:4,17,18,18
   opening 26:7                             167:25 168:6 169:6 178:6,23
   ophthalmic 49:25                         201:14,15,16 220:6
   ophthalmologist 32:17 34:6             pages 5:6 13:25 19:9 21:11,15
   ophthalmology 16:19 30:2,7               24:4 26:24 45:10 59:21 74:10
    31:20 32:12 38:2                        96:21 147:14,15,16,20 148:23
   opine 191:10                             201:18,23 220:10
   opining 211:17                         pain 187:7,9
   opinion 29:9 44:10 83:3 91:25          painful 26:9
    92:22 103:8,15 114:12 129:9           paper 9:16 24:13
    166:17 168:7,9,9,11 173:21            papers 9:16
    188:6 189:23 192:7 196:8              paperwork 86:5 133:5
    198:4 199:11 209:2 211:3,7,10         paragraphs 201:10,11,13
    211:22 213:24                         parenchyma 33:9 98:9
   opinions 102:16 103:14,19,19           parent 59:11
    189:25                                parenthesis 208:12
   opportunity 69:16 131:11,14            parents 15:24 59:18
    194:16 204:8,16                       part 6:25 11:12,25 42:6 66:17
   opposed 141:4                            89:6 90:14 101:7 110:22
   optic 35:4                               111:18 138:13 156:8,9,9 158:6
   options 130:16                           175:19 176:20 177:5,24 214:23
   orbital 113:7,8 114:6                  particular 8:13 13:3 27:2 31:10
   order 13:21 37:20 143:25 173:17          36:5 98:9 182:5 183:8 213:20
    173:18 175:3                          particularly 30:19 174:7 176:22
   ordinary 16:9 17:7 25:13                 176:25 178:7 183:13 184:10
   organization 9:20                      parties 3:4 221:10
   organs 115:8                           partly 122:24
   original 3:13,17 62:3 175:16           parts 53:15
   outlined 144:18                        party 77:21
   outs 139:15                            passé 182:23
   outside 33:7,8 40:9 167:14             pathologist 65:20,24 166:7,10
    174:8                                   196:13 213:20

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page254
                                               06/14/21 Pageof251
                                                               898of 269
                                                                         1272
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 250

   pathologists 192:24                    permission 156:16
   paths 27:19                            permitted 17:19 217:22
   patient 13:8 15:14 25:25 27:23         persistent 195:9
    29:9 30:24 32:7 44:15,18 45:6         person 108:12 175:22
    51:19 57:2 60:8,11,13,21 61:8         personal 76:17 80:24 84:9 110:2
    61:14,16 81:15 83:25 86:22             128:6 217:13
    89:15 106:20 130:7 131:6              personally 91:18
    148:13 156:10 160:6 164:7,9           personnel 61:24 82:13
    165:14,15 167:12 170:5,8              perspective 173:23 213:25
    173:22 175:5,14 176:2,12,17           Persuasive 184:21
    178:8 186:12 187:2,4 189:3,8          pervasive 87:7 105:18 184:16,22
    191:25 192:13 195:17,21                184:25 185:3,7,18
    196:11 200:11 215:5                   phone 60:25 61:9,16,16 101:22
   patient's 56:25 58:22 60:7,16           160:3 184:5,12
    60:18,20 61:3,5,17 87:22              phonetic 20:25
    188:25 195:24                         phrase 221:15,16,18,19,20,21,22
   patients 12:24 28:9 137:20             physical 14:15 26:19,24 30:15
    165:11 172:2 174:21 175:25             52:6,20 58:7 97:4
    180:11 181:15 182:13,16               physician 8:11 10:14 11:2,16
    186:15 196:3,3 211:25 212:4,7          29:9,10 30:23 31:12 52:6,20
    212:12                                 58:24 75:16 76:11 116:21,24
   pattern 120:12 203:23                  physicians 28:24 92:22 211:10
   PATTISON 2:6 221:12                    PIC-U 9:4 10:14
   pause 48:14 112:25                     pick 14:19
   Peck 2:16,17 4:5 77:23 78:2,13         picture 120:19 156:22 164:25
    82:7,18 83:14 90:24 92:13              166:5 174:3
    100:15 103:2 106:18 107:14            pictures 34:7 196:21
    115:14 117:19 122:5 123:14            PICU 12:6,13,16 43:16 45:11
    143:10,19 155:24 163:18,21,23          48:20 56:16 60:6,8,24 123:25
    163:23 166:9 167:3,16,21,24            123:25 125:24 149:17
    168:4,14,20,25 169:4,6 207:15         pigmented 35:5
    214:11 218:9                          pin 97:8
   ped 182:12                             Pine 2:18
   pedestrian 197:24                      place 26:11,12 73:22 137:21
   pediatric 8:4,11,14,16,24 9:3           176:19 219:5 220:5
    10:2,18 11:10,16,21,23 28:9           placed 55:11
    137:21 181:14 182:8,13,16             places 50:23
   pediatrics 9:15,22 181:11 197:8        plain 129:13
   peds 56:16 61:11                       plaintiff 1:4 2:3 5:9 81:14
   Penal 206:4                            Plaintiff's 96:5,13
   pendency 145:3                         plan 41:14 44:9 46:8,21,25
   pending 80:4 81:11 150:8,11             59:21 63:20 171:10
    151:4,16 152:6                        planning 54:16,20 56:10 115:21
   people 12:17 108:15 164:17             plans 41:10
   percent 22:25 167:9 182:18             plasma 130:18
   Perfect 7:4 59:22 157:11               play 137:10 156:13 157:14,24
   perfectly 22:22 160:16                  158:24 159:21 161:20
   performed 87:24                        played 158:9,14 159:25 161:24
   period 10:6,17 40:11 49:7 56:25         162:9
    107:17 169:20

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page255
                                               06/14/21 Pageof252
                                                               898of 269
                                                                         1273
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 251

   Plaza 2:14,18                          potential 30:13 119:15 176:13
   please 6:6,11,12 19:10 40:7             189:19
    46:24 48:19 67:16 68:6 70:17          practice 29:11 37:14 144:18,19
    71:11 78:13 85:8 118:3 146:6           145:8 159:17 199:18
    148:6 154:21 168:2,17 178:23          practiced 7:25 181:10
    193:15 205:14 213:7 219:6             preferred 182:23
    221:8,9                               preparation 74:15 206:17
   plus 148:13,19                         prepare 75:8
   pneumococcal 210:14,17                 prepared 70:21 126:4 220:11
   pneumonia 208:11,18 212:11,11          preponderance 37:19 59:5
    215:8,12                              prescribe 129:23
   point 8:2 10:15 27:17 29:18            presence 220:5 221:8
    30:11 37:12,19 47:13,14 71:15         present 89:9,16 102:7 155:14
    77:5 92:18 142:22 144:22,23            157:2 186:18 187:2 192:16
    153:5 167:9 174:18 182:17              196:17 199:14
    187:14 188:5 196:2 214:25             presentation 157:18 208:11
   police 2:6 5:13 7:10 59:8 60:23         217:18
    62:8,14,16,19 63:5,11,16,23           presented 26:2 88:5,18 103:25
    64:3,3,13,19 65:11 70:5,9,13           106:9 121:21,21 170:11 186:12
    70:13,22 71:8 74:14,19 76:6            191:20 217:7
    116:16 117:12 118:22 119:2,25         presenting 195:17
    120:7,21 136:3,12 138:20,20           press 27:12 106:22
    138:21 141:16 142:6 143:2             pressure 16:3,3,4 27:13,15 47:5
    148:17 159:8 162:25 163:4              47:16,23 48:9 88:19 89:10
    169:23 170:21 171:2,11,13,17           90:5 91:5 105:15 106:25 185:6
    171:21 172:10 173:19,23 175:2          187:12,25 195:9,10,16 196:5
    179:16,24 201:2 202:5 203:15          pressures 91:6
    203:15 209:16 213:24 214:5,5          pretty 28:11 94:25 154:12
    214:13                                 161:18 164:2
   polite 153:17                          prevalence 180:25
   poor 61:3                              prevalent 180:14
   portion 33:14 40:2 41:13 59:24         previously 52:3 92:18
    60:2 111:11 205:20,22,24              primarily 88:7
   portrayal 159:3                        primary 188:7,14
   pose 217:15                            printed 205:7
   posited 73:5                           prior 59:9 62:15 63:14 75:13
   position 19:8 26:18 49:15               136:20 140:8 145:2 201:6
    200:10 217:6                           205:10 209:22
   positive 10:16 34:16 88:3              priority 174:21
    208:10                                privileged 20:18
   possibility 30:8 115:2 188:24          prob 162:21
   possible 30:24,25 35:16 47:11          probable 126:12
    56:19 91:8,17 92:21 93:12             probably 36:4 42:5 98:5,13
    109:19,19 119:3,3,14 143:6             181:14
    148:13 149:25 175:9 176:3             problem 43:20,22 111:20,25
    189:4 200:16                           129:12 131:5,21 132:21 134:8
   possibly 33:4,10 98:14                  138:12 152:23 186:21 196:24
   post 39:22                              215:11
   posteriorly 98:2                       problematic 134:13 162:17,22


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page256
                                               06/14/21 Pageof253
                                                               898of 269
                                                                         1274
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 252

   problems 32:7 216:8                     204:11 206:7 208:14 216:21
   procedure 3:5 144:13 145:8              217:5,11
   process 145:16 156:9 161:8             puts 48:8
    194:24 202:11                         putting 132:21 212:8
   profession 196:16
   professional 9:20 76:22 92:22                            Q
    171:13 188:6                          quantify 187:15
   professionals 139:4,4                  question 10:24 14:12 16:11
   professor 8:10 10:15 110:8,16           18:18 19:5,16,17 20:2 22:10
    182:6                                  25:18 35:18 41:25 42:22 48:5
   profound 187:25                         48:5 63:12,13,14 70:18 77:16
   prognosis 61:4                          81:3 83:9,19 85:9 101:13,14
   progress 41:3,8 44:18 45:6,11           103:5 109:22,23 110:19,24
    51:19 97:4 210:17                      111:16 113:7 114:3 116:20
   progression 203:3                       117:4,18,21,21,24,25 118:5,14
   pronounce 142:20                        122:7 126:5 127:5,11 134:11
   pronounced 142:18                       138:6 141:3,19 142:16,24
   proper 145:16 200:11                    150:8,11 151:4,15 152:6
   properly 104:21                         154:22 156:10,12 160:6 166:7
   prosecuted 175:23                       171:25 172:6,15 173:16,20
   prosecutions 68:24                      175:12 176:9 183:10 187:5
   protect 180:18                          189:16 190:21,25 193:15
   protecting 176:12 180:17                194:22 195:2 196:12 197:13,19
   Protective 61:20 64:14                  207:9,14 209:24 211:21 214:3
   proud 109:20                            217:24
   provide 60:7 73:17 145:9 146:3         questioned 87:8
    173:6 187:16                          questioning 78:11 82:10 83:7
   provided 97:6 192:4 198:4               135:11 210:2 212:3
    200:25 202:5,7 220:13                 questions 3:8 7:12 66:10 67:10
   providers 132:20                        69:3 71:16 73:6 81:20 83:18
   public 3:12 219:12 221:9                98:21 108:4 111:4,6 115:23
   publications 9:7,17                     137:25 145:2 148:7 155:17
   publicly 134:13                         156:6 158:8 159:23 163:25
   pull 16:14 50:24 95:24 97:3             164:4,5,21 168:15 170:2,20,22
    168:2                                  170:25 171:3,15 179:15 180:24
   pulmonary 215:12                        182:2,20 186:19 190:18 192:6
   puncture 79:20                          192:14 194:14 199:16 200:24
   punishable 206:3                        203:4,10,14 206:11 207:11,17
   pupils 26:10 49:14 89:16                209:15 210:24 212:16 213:23
   purpose 20:4 32:6                       218:9,11
   purposes 114:2                         quibble 91:3
   pursuant 3:6 28:18 206:3               quick 24:18 67:13 68:5 216:24
   pus 130:17,20                          quicker 108:14
   pushback 153:18                        quickly 133:19 178:9 207:6
   pushing 142:6                          quite 97:18 113:18 207:23
   put 15:21 19:8 32:13 40:22             quote 57:8
    67:18 71:16 91:5 95:8,8,18
    97:8 106:24 114:25 116:4                                R
    123:9,21 139:5 148:2 183:21           R 1:6 4:2
    184:12 195:5,13,14 200:10             R.N 26:23

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page257
                                               06/14/21 Pageof254
                                                               898of 269
                                                                         1275
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 253

   R/O 31:4,7                             rebuttal 203:4
   radio 194:3                            recall 13:10 14:12 26:14 27:25
   radiograph 211:4                        28:5 29:23 63:18,19 65:4,18
   radiologist 82:3 83:2 103:16            66:6 76:7 81:20 86:9 98:20,23
    164:14 192:23 194:4,9                  98:24 105:8 116:17 117:10,10
   radiologist’s 103:20 190:21             118:21 119:2 121:16 129:20
   radiologists 33:24 34:3 103:11          134:12 136:6,15 138:4 155:15
    193:22                                 162:15 179:17 184:17 188:8
   radiology 53:10,12 55:13 92:17          189:24 203:17,18,20 212:2
    94:25 95:2,6,8,10 97:9 99:16           216:16
    100:25 101:10 123:17 129:8            recalling 116:11
    132:10,13,14,15 177:18 188:5          recalls 83:6
    189:24 190:6,12,18,23 210:25          recap 181:9
   raise 6:6 186:19                       receive 74:14
   range 9:15                             received 6:21,25 22:19,23 23:3
   ranking 11:15                           53:20 189:3
   rapid 37:14 58:15 123:3 215:2          recitation 179:2 185:13
   rare 113:11 181:3                      recognize 25:8 162:18 202:10
   rarity 167:2                           recoils 199:8
   re- 215:19                             recollection 27:4 69:17,22
   re-bleed 216:11                         74:11 84:6 141:11,15 159:16
   re-bleeding 94:16                       206:22
   re-bleeds 94:9,13                      recollections 163:3
   reactive 26:3,6,10                     recommendation 14:19
   read 3:10 14:25 33:2 34:21 35:2        recommended 98:15
    35:6,11 39:4 40:6,9,10,11,12          reconciliation 26:19 52:7,21
    40:25 41:12 43:24 44:4 45:18          record 5:11 6:2,6,12 7:14 14:2
    45:20,21 46:21,24 47:8 48:23           14:4,5,6,7 18:6,18 20:13,14
    51:4 53:8,10 54:4 56:15 57:14          20:17 23:7 24:23,24 25:2,3,5
    57:21,24 59:23 60:2 97:20              30:17 43:8,10,12 52:11,12,15
    99:19 103:9 114:18 118:2,3,4           62:22 68:15,15,16,17,18 86:6
    118:9 122:16 125:16 126:20,23          95:25 96:15,18 99:13 100:13
    127:2,4,20 139:8,11,15 166:24          102:14 107:5 109:7,8,9,10
    201:5 205:6,18,24 207:5,6              112:20,25 113:2 118:12 123:21
    219:4 221:8                            123:22 125:6,25 127:21 134:7
   reading 89:3 93:10 128:4,9              135:18 137:14 141:20 144:23
    179:9 182:22 217:9                     145:4 148:3 149:18 152:4
   reads 35:3 101:19                       153:23,24,25 160:15 172:17
   ready 14:9 118:15 173:12 200:4          177:5 178:7,8,22 201:16,17,18
   reaffirm 82:9                           201:20 204:9 217:21 218:21
   really 9:11 84:7 94:18 107:5,8          219:5 220:11
    122:7 135:17 143:23 159:10            records 5:6 16:7,21 17:2,4
    161:6 164:2 165:13 171:24              18:18 22:24 25:10,12 82:13
    174:5 214:12,14                        135:11 149:24 178:16,19
   reason 32:9 39:3,13,17 69:10            203:15 210:25 211:3
    111:17 153:8 190:21,25 204:19         recover 187:14
    209:15                                recovery 189:20
   reasons 31:19 180:17 199:24            Recross 4:6 206:12
    212:24                                red 130:18


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page258
                                               06/14/21 Pageof255
                                                               898of 269
                                                                         1276
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 254

   Redirect 4:6 203:11                    remembering 177:24
   refer 7:5 23:21 37:2 50:7,10           reminded 145:13
    123:24 148:22                         reminding 144:13
   reference 51:10 95:24 96:3             remiss 180:10
   referenced 100:12                      remote 160:17 161:7
   references 99:13 100:25 158:7          remotely 13:19
   referral 39:14 62:3                    removed 61:7
   referred 9:4 13:13 61:20 63:20         render 57:19 200:11
   referring 30:22 31:9 70:6              rendered 63:6,22
    150:14 151:6 152:10 205:11            rendering 63:14,16
   reflected 30:10                        Rensselaer 1:7 70:10
   refresh 13:21 27:4 69:17,22            reoccurrence 193:5
    74:10 141:11,14                       repeat 27:8 44:14 77:16 85:8
   regard 6:22 12:6 27:5 28:24             89:25 91:24 144:9 189:15,16
    29:24 34:20 38:2 61:25 62:9           repeatedly 191:15
    62:17 63:15 64:14,21 65:13,16         rephrase 19:20 92:5 126:23
    66:3 99:20 132:24 137:25               140:17 197:19
    148:7 177:5 179:17 182:12             report 5:13 11:10 32:12,16,16
    189:19 193:14 194:17 198:5,10          34:6,11 38:2,24 39:3 40:2,15
    199:11,17 203:14 210:23                53:12 54:7,10,21 55:11,12,12
   regarding 29:9 56:17 79:19              55:20 56:3 57:4 60:14 61:14
   relate 169:23 191:12 192:2              62:5 94:25 95:2,6,9,10,16
   related 72:3 82:12 84:9 93:24           97:10,12 98:22 99:3,7,12
    94:2,7 113:9 155:18 188:8              100:11,20,25 101:18,24 102:8
    192:17,18 193:17                       102:9,16,17,23 103:9,12
   relating 82:11 171:16 192:9             115:18 125:22 126:2,16 127:20
   relaying 213:20                         127:25 128:18,19,24 129:5,8
   release 73:8                            129:14,17,20 132:4 134:13,24
   released 73:2,15                        135:6 143:16 148:2 149:15,16
   relevance 175:23                        164:22 177:6,13 178:25 179:3
   relevant 6:25                           190:12,24 194:6 208:14 210:25
   relied 189:23                          reported 59:3 132:4,8 164:20
   reluctant 195:13                       reporter 6:5,11,15 13:24 14:5
   rely 34:2 123:17 188:13 190:16          21:2,5,17,21 24:22 25:4 43:11
   relying 95:5                            52:14 66:12,15,18,22 67:20,25
   remain 168:11                           68:14,18 96:8,12,14 107:22
   remainder 26:13                         108:7,23 109:3,6,10 112:25
   remember 15:16 58:3 62:2,20             113:4 118:4,10,16,19 124:3
    69:13 70:23 72:5 73:25 79:3,4          126:25 133:10,13 146:10,23
    81:7,16 83:18 85:2,21 86:13            153:25 156:15,19 157:4 158:3
    87:9,10 99:21 104:15 120:8             167:20,23 168:3 169:11 182:3
    121:19 130:25 132:3 134:6,20           202:17 220:15
    134:23 135:3 141:17 142:5,9           Reporters 220:12 221:2
    143:23 146:4 159:10,14 162:20         reports 99:13 101:17 190:22
    170:22,23,25 171:2,4,5,18,19          represent 68:22 113:25 162:15
    173:15 177:7,14,19 179:4               169:16 208:13
    183:11,14,16,24 184:8 186:7           represented 81:6
    193:10 202:2                          representing 19:12 80:22
   remembered 69:18                       request 39:3,18 60:22 62:8
                                           70:21 85:25 107:20

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page259
                                               06/14/21 Pageof256
                                                               898of 269
                                                                         1277
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 255

   requested 28:20,23 29:3,24             retrial 72:7,22
    31:18                                 retried 72:13
   requests 173:19                        retrospect 135:5
   require 7:13 73:12                     Return 221:11
   required 62:6                          returned 3:15 8:4
   requires 130:5                         reveal 94:2 165:20
   requiring 16:3                         review 32:12 74:19 83:17 85:20
   reserved 3:9 43:6 127:8                 86:8 87:6,10 101:23 102:15
   residency 7:24                          104:16 124:5 194:16 204:8,16
   resident 26:17 41:3,8 45:11             206:17 211:21
    46:18 53:16 61:11 101:19              reviewed 6:24 26:22 40:5 71:21
    126:3 132:13,13,15 190:5               74:10,15 86:6 102:11 133:20
    200:22                                 154:10 204:13,17 211:17
   resident’s 40:23                       reviewing 28:6 33:25 71:14
   residents 182:7                         98:20 193:11
   resolved 80:10 112:12                  reviews 101:21
   resort 55:11                           revise 109:15
   respective 3:4                         Rhiannon 2:7 97:6 168:22 221:13
   respirating 195:22                     right 6:6,17 19:18 29:3 31:3
   respirations 49:16 195:21 215:6         34:17 35:2,3 41:7 43:13 45:22
   respiratory 60:12 213:3 215:3,8         46:2,3 48:11 53:5,17 54:4
    215:9                                  64:12,18 71:14 86:2,15 98:2,2
   respond 58:11 152:10 160:6              98:3,6,14 104:12,12,17 105:14
    217:12                                 107:24 111:4 112:13 123:9
   responded 60:18,24 183:10               124:20 129:6 138:16 147:19
   responding 117:12 118:22,25             148:4,10 150:4 160:11,23
   response 7:13 59:15 137:24              161:22 167:24 172:25 179:10
    151:5 157:15,15 168:9 170:13           193:23 204:2,15 205:12,15
    170:16 171:13,15 185:14                209:24
    194:21 195:2                          right-hand 41:4 55:19
   responses 171:17 188:3 191:9           rights 2:3 209:17
   responsibilities 12:12,15,21,25        ringtone 184:12
   responsibility 109:17,23 176:4         risk 176:7
   responsible 109:21                     road 178:17
   responsiveness 3:8 215:4               role 145:20 207:21
   rest 47:9 137:16                       roles 181:24
   restart 158:11,13                      Ron 60:24
   restate 25:18                          Ronald 1:6 76:2,2
   restroom 64:7 68:7                     room 116:21
   result 55:7,9 93:18 105:23             row 137:2,6,13 199:17
   resulted 57:19                         rule 31:8 86:14 90:14 128:15
   results 55:9,20 87:3 174:17             129:18 168:10 207:16
    194:14                                ruled 135:12 177:21
   retina 34:10                           rules 3:5 144:17,18 145:7
   retinal 30:10 35:4,12,15 49:22         ruling 31:13
    58:20 112:15 113:8,12 114:8           rupture 35:6
    114:19 166:16,23 181:2,4
    182:16 183:3 188:18 191:16                            S
   retire 200:4                           S 4:2
                                          S.D.H 39:8,22 40:13 211:3,18

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page260
                                               06/14/21 Pageof257
                                                               898of 269
                                                                         1278
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 256

    215:19                                scholarly 114:18
   S.P 39:22,24                           school 7:23
   S.T.H.s 50:15                          score 189:6,9,12,18
   S.W 57:7 60:5                          scratch 30:16
   Sa 60:11                               screen 16:15,16 18:11 20:23
   safe 163:16 176:19,19 218:15            23:22 24:14 34:8 45:21,22
   Samaritan 14:17,18,21,24 15:6,6         53:2 54:13,22 55:19 67:16
    15:14,24 49:5 56:18 60:9,12            95:25 133:14 156:14 159:20
    86:2,5 88:6 104:7 105:5 107:6          162:15
    186:12 187:8 192:7,10,13              scroll 21:6 22:8 23:22 39:11
    212:25 214:19                          41:6 45:4 46:12 48:12 49:20
   SAMPSON 2:6 221:12                      53:4 54:17,23 55:24 95:20
   Sanchez 11:22 12:2                      97:14 123:23 147:11 205:14
   sanctionable 145:15                    se 205:9
   sanctions 145:6 149:12 152:14          search 45:11
    160:25 161:11                         sec 161:21
   satisfactory 36:14                     second 24:12 26:21 43:8 46:12
   satisfies 23:10                         51:5 52:11 73:23 84:24 85:5
   satisfy 23:5                            85:11 87:23 108:2 112:24
   save 18:2 19:18,21 107:16               118:11 142:19 146:6 152:20,25
   saved 107:17                            156:10 161:23 177:20 196:22
   saving 91:5                             216:5
   saw 15:7 25:25 28:3 104:12             Secondary 49:10
    116:2,11 121:3 151:24 153:10          seconds 184:5
    213:2                                 section 41:9 147:4 206:4
   saying 109:16 116:17 117:16            sedations 12:19
    118:21 119:19 129:17 134:20           see 20:17 21:9 22:9 23:5,10
    137:12 148:3 151:21,24 152:4           24:14 31:4 32:23 43:17 45:17
    156:2,2,4 159:16 161:12                45:18,22 46:2,6,9 48:13,15
    165:17 174:15 175:18 178:23            52:22,25 53:2 54:13,24 55:14
    179:8,23,24 180:3 186:7 188:8          64:6 70:12 96:2 115:19 124:9
    191:2 197:21 215:17                    124:16,16,24 125:7 126:13
   says 35:5 39:5,10,17 40:21,21           133:14 145:14 147:12 153:10
    41:9 55:20,25 56:3,6 64:2              156:17,22,23,25 157:8,10
    70:9 95:21 124:19 126:11,12            162:4 167:8 186:15 188:2
    127:13 139:9,17 141:9,25               191:22,22 213:8 218:18
    145:23 147:4,5,6,23 205:17,17         seeing 166:19
    208:10,17 214:21,23                   seen 49:13,14 50:19 85:15
   scalp 49:13,14                          100:24,25 123:7 125:5 133:5
   scan 31:21 44:2,7 50:10,11 54:6         157:16,21 158:21 162:12,18
    54:10,19,21 55:9 126:12                164:15 166:22 167:6,14 181:8
    127:13 128:4,10,13,18,20               183:18 211:25
    130:24 165:5,9,18,21 190:16           send 158:3 195:20
    211:11,12,17,21                       sending 195:19
   scanned 147:20,21                      sense 68:10 111:22
   scanner 130:5                          sent 57:3
   scans 33:20,25 102:11                  sentence 48:24 141:24 147:23
   scenario 117:9                          205:7,7,16
   schedule 12:9 136:25                   sep 106:13


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page261
                                               06/14/21 Pageof258
                                                               898of 269
                                                                         1279
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 257

   separate 66:17 211:12                  share 11:23 156:14 157:4,6,8
   separation 50:18,21                     159:20 161:22
   sepsis 86:13 88:7,10,13 89:7,11        shared 38:17
    89:16 90:9,14 91:10,18 92:2,7         shear 198:19
    92:8,20 106:15 107:2,6,12,16          shearing 198:3,23 199:9
    109:18 110:5,18,24 112:8              sheet 44:18 45:7 51:19 58:5
    114:5,15,17,20 115:10 116:9            97:4 219:8
    119:3,14 122:2 143:6,14               shift 137:15
    148:24 149:4,6,7,25 150:23            shifts 199:24 200:12
    166:18,23 167:4 168:10 181:2          shock 88:25 142:14
    181:4 186:3,6,22 188:22,24            short 9:2 68:3 157:14 164:2
    189:4,20 191:12,16 192:8              shortly 15:9
    194:22 195:3,8 196:5 204:24           show 26:24 128:13 135:12 141:8
    205:2 207:16 209:9 211:25              146:5,20 147:25 161:18 164:24
    212:5,7 215:15,21 216:7                165:9 190:14 215:15
   September 10:5 11:2,17 12:5,12         showed 31:21 44:14 56:19 72:16
    12:21 13:6 14:14 25:24 28:19           126:17 128:14 187:9,11 208:3
    67:3 75:13,17 85:23 87:22             showing 15:18 45:6 52:19 164:24
    97:23 119:20 120:7 121:14              165:5,6 186:13
    125:20 136:6 142:12                   shown 102:14
   septic 106:20 142:14 186:15,17         shows 26:23 44:2 126:12 127:14
    196:3,3                                128:18,19,20
   sergeant 70:15 74:23 75:21             shy 36:2
    141:9,16                              sib 61:5
   series 7:12 81:20                      siblings 61:6
   serious 88:24 179:25 180:7             sick 130:4 192:13
   service 12:19 43:16                    side 53:16,17 114:25 158:8
   Services 61:21 64:14                    161:21 174:6 193:9
   set 6:16 29:14,17,19 34:17             sides 50:17
    52:17 142:14 161:16 190:10            sign 3:11 129:7 178:23 221:8,10
    202:15                                signal 195:20
   setting 8:19                           signature 40:25 124:11,19,23
   settle 152:16                           125:12 131:13 205:8,12 221:11
   settled 80:6,7,10                      signed 3:14 40:15 51:18,21
   settlement 80:16                        53:14,16,17 67:3 70:5,13,25
   settling 94:8                           71:6 123:25 125:17,19 126:5
   seventeen 59:21                         129:5 131:10 139:6 140:10
   seventy- 169:6                          179:11 204:9 205:3 206:7
   severe 38:14 89:10 90:9 112:9           221:23
    140:4,8 143:2 166:23 188:2            significance 35:7 37:25 47:6,15
    194:22 195:3,8,23 205:9                51:9 125:15
    208:18,18 211:25 215:7                significant 35:19 36:7 195:16
   severely 27:19 186:15,17 196:3         signify 35:19
    210:8                                 signing 178:5 179:7 201:6
   sexist 149:3                           signs 105:17 115:10 170:12,13
   shaken 35:24 122:12,23 174:10           186:13 189:18 215:16
    174:13 182:21                         Sikirica 1:7 2:16 65:16,19
   shaking 139:25,25 174:16,16             78:14 82:19 163:24 167:22
    183:5                                  169:25 208:14


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page262
                                               06/14/21 Pageof259
                                                               898of 269
                                                                         1280
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 258

   similar 79:12,15 110:2                 sort 16:21,22 18:12,15 184:14
   single 133:19                          sorted 17:24
   sir 17:25 21:9 88:20 218:15            sound 112:17
   sit 171:18 189:24 204:2                source 87:6
   site 145:18                            sources 128:3
   sitting 75:23                          space 31:25
   situation 117:10,11 136:7              spaces 98:16
    174:12 177:19                         speak 20:19 76:6 87:17 95:4
   six 8:4 40:9 54:7 57:4 61:5             150:10 160:16 185:21
    147:15,18,18,18 187:25                speaking 19:10 118:25 135:18
   sixty-one 124:2                         144:6,24,25 148:22 152:13
   size 47:20 50:23                       speaks 205:17
   sketches 34:7                          specialist 91:13
   skewed 214:6                           specialists 132:19
   skill 29:13,17                         specialties 29:21 188:13
   skip 68:13                             specialty 8:13
   skull 33:14 44:6,21 48:8 56:19         specific 12:20 106:7
    83:23 84:2 99:9 123:4 130:23          specifically 58:11 86:10 103:11
    131:4 132:4,9,24 134:14,15,24          105:24
    134:25 177:6,12,15,17 198:2,2         specify 79:7
    198:14,15 199:6                       speculate 144:4,9 145:14 148:20
   slash 46:2,7,21,25 59:24               speed 36:23
   sleep 200:23                           spell 6:12
   slightly 97:25                         spelling 20:25
   slip 66:11                             Spencer 2:7 64:5,10 67:14,21
   slower 108:12                           68:2,6,12 97:6 154:3 221:13
   slowly 207:6                           spinal 33:21 47:20
   small 123:4                            split 12:16
   SMITH 2:13                             spoke 60:25 121:8,11,18 136:5
   snag 153:22                             152:9 215:13
   snippet 209:4                          spoken 196:7
   snippets 158:25                        spontaneous 49:16
   social 26:22 55:12 60:4,6,16,18        staff 11:9 60:6
    60:22,25 61:10,13 71:3 140:22         stain 194:15,17
    141:4 175:9                           stains 113:20
   Society 9:21                           stand 46:7
   sofa 122:19                            standard 37:11,13
   soft 122:19 198:6,10,17 199:13         standards 121:25
   solve 111:18                           standing 17:18 78:10 82:10
   somebody 153:9                          148:6 181:25 217:5
   somebody's 184:2                       start 110:21 188:2
   soon 15:8 218:18                       started 6:20 86:15,21,22 118:7
   sorry 14:23 36:10 42:13,24             starting 75:17 215:15
    44:19 48:4,5 54:25 59:16              state 2:10,10 6:11 20:10,12,16
    71:20 85:7,7 95:3 101:12               58:21,22 61:15 70:9 78:11
    114:6 116:23,24 124:15,15              80:25 81:5,11 82:9,16,21 83:8
    133:10 140:25 149:2 150:3,13           87:22 102:8 131:15 143:23
    159:19 162:8 188:11 189:11,14          169:16,17,18 190:6 200:10
    193:25 203:8 205:14                    206:4 218:7 219:3


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page263
                                               06/14/21 Pageof260
                                                               898of 269
                                                                         1281
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 259

   stated 60:10 102:17 134:24              53:9 58:14,16 60:13 88:12
    136:4,13 147:24 181:3 188:4            93:19,25 94:6,13 95:14 98:6,7
    191:10 194:21 203:16 208:6             98:13,15 100:7,12,21 102:7,19
    220:6                                  102:20,22 111:11 122:20 123:5
   statement 69:25 129:11 137:9            126:13 127:14 128:13 139:19
    140:20 176:10 196:10,15                154:8 164:6,8 166:16,22 167:4
    200:25 201:3,6,9 202:4 203:14          167:8 180:8,25,25 183:3 186:3
    203:19,21,24 204:4,13,16,17            188:17 190:6,13,22 191:4,21
    204:22,23 205:22 212:17                191:23 192:15,22 193:8,17
    216:24 217:22                          198:7,20 210:24
   statements 179:15 205:13 206:2         subdurals 94:24 167:14 193:14
    206:7,9 214:4                         subject 102:15 163:12
   states 1:2 41:13                       submitted 22:14
   stating 41:24 134:12                   subpoena 3:6
   status 39:22 90:6                      subretinal 35:16
   stay 49:9 163:16 188:25 218:15         subsequent 84:21 164:10
   stayed 60:18                           subsequently 209:18
   stem 38:14                             substance 15:13 64:25 65:5 84:2
   Steno 173:6                             86:11,12 103:4 120:9 137:11
   stenographer 20:23 78:10 85:8          sudden 197:25
    108:22 109:2                          sued 76:20 77:7,18
   step 160:8 165:10 216:23               suffered 139:22 141:25
   stern 184:3                            suggest 35:25 207:20
   stick 122:17                           suggested 42:19 111:23 151:7
   stimuli 26:9                            214:2
   stimulus 49:17                         suggesting 143:3
   STIPULATED 3:3,7,10,13                 suggests 154:8
   stipulations 3:2 110:2                 suit 214:6
   stomach 79:20                          Suite 2:18
   stop 17:20 88:17 150:4 153:8           sum 15:12 64:24 65:4 84:2 86:11
    195:21                                 86:12 116:6 120:9 137:11
   story 183:24 184:9                     summary 15:17 87:21 149:18
   straight 170:9                         Sunday 101:19
   Street 2:8 221:13                      SUNY 7:22
   streptococcal 216:7,7                  super 82:22
   Streptococcus 208:10                   supervised 61:13
   stressful 137:21,21                    supervisory 181:23
   strike 48:18 52:4 84:9 131:12          supplemental 22:16
    174:25 178:4 184:16 189:15            support 60:7,9 185:5
   striking 140:9                         supporting 70:4 74:6
   strongly 207:20                        suppressed 104:21
   structure 31:12                        suppression 104:24
   students 182:7                         sure 10:12,14 22:2 34:18,23
   studies 110:3                           47:10 49:4 50:14 58:2,4 65:23
   stuff 161:10                            70:7 77:17 83:11 91:7 96:6
   Sub 208:17                              97:22 107:21,22 108:21,25
   subarachnoid 98:7,16                    112:11 114:20 127:8 146:12
   subdural 31:22,25 33:4,10 39:5          147:21 156:23 158:2 160:7,18
    39:8,21,23 40:13 41:15,16,21           166:25 168:3,25 171:5 172:18
    44:3 47:2,23 50:15 51:7,14             173:8 175:25 176:6 181:7,19

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page264
                                               06/14/21 Pageof261
                                                               898of 269
                                                                         1282
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 260

    192:5 207:23 208:7 211:18             talks 101:20
    212:20                                teach 110:15,16,16
   surface 198:13                         teaching 37:11,13
   surrounding 68:24                      team 14:18,22 15:5
   survive 187:24                         tear 123:4
   suspect 56:24 57:9,12,19 138:2         technically 129:13
   suspected 210:9                        telephone 14:16 184:2
   suspicious 58:25                       tell 7:16 11:13 13:4 22:21 29:6
   suture 50:21                            34:15 39:2 41:16 57:22 58:12
   sutures 50:19                           69:7 71:7 84:6 95:19 97:14
   swear 6:3,7 115:25                      120:6 138:25,25 151:10 158:25
   swelling 47:19 49:13,14 140:3           159:8,12 193:16 214:20
    142:25                                telling 137:11 138:23 162:21,25
   switch 112:19                          temperature 214:25
   sworn 4:3 6:16 219:11 220:8            ten 22:23 36:6 37:13 60:24 68:7
   symbol 49:2,4                           107:23 126:10
   symptom 89:10 121:22                   tend 199:24
   symptoms 35:24 88:23 122:3             term 36:2,3,5,12 107:9 122:13
   Syndrome 35:24 182:22                   122:23 170:3,18 179:17,18
   system 90:21 98:10 104:20 185:6         182:21,23,24 184:16,16,19,23
   systems 26:23                           185:19 187:20
                                          terminology 176:23
                        T                 terms 74:4 106:16 207:14,18
   T 5:2                                   216:12
   tachycardia 105:9                      test 213:8
   tailor 171:9,13 172:9                  tested 86:18
   tailored 171:19                        testes 115:9
   take 17:21 23:4,8,12 24:18             testified 73:7 76:10 85:11
     67:12 68:5 69:7 71:8 107:22           179:22 183:17 203:22 213:14
     107:25 108:5,18 111:3 115:22         testify 18:24 69:11 73:24 74:4
     124:5 137:19 147:12 160:4             84:15,19,20 85:4,18 99:18
     161:4 163:10 164:20 178:19            220:8
     203:2 213:7                          testifying 73:23 75:18,19 84:24
   taken 3:6 57:6 60:11 109:12             203:17
     178:8 199:20 219:5 220:4             testimony 6:7 71:22,22,25 72:2
   takes 12:23 180:7,21 187:11             72:17 74:3,8,16 91:20 98:20
     196:4 197:25                          99:2 109:14 114:24 167:18
   talk 16:19 36:3 66:7 73:22              168:21 169:2 203:13 206:17,20
     112:15 120:16 142:25 148:24           206:21 207:15 219:5 220:4,7
     149:24 159:9 161:20 174:4             221:8
     191:3 197:3 210:4                    testing 44:13,15
   talked 73:17 180:17 191:15             texting 160:11
     211:24                               thank 6:17 25:6,23 28:17 36:18
   talking 16:21 22:7 36:13 79:16          36:21 37:24 41:2,7 43:3,4,13
     95:15 99:11,12,15 103:10              44:17 45:2,5 46:24 48:14
     133:22 145:11 147:12 149:13           49:19,21 53:5 59:22 64:10
     149:14 150:14,18,20,24,25,25          66:17 67:11 68:2 76:24 82:14
     151:2,9,21 174:14 186:2               85:13 89:22 90:4 124:17
     188:17 189:22 195:4 198:22            133:13 144:7 147:13 149:7
     205:19 209:3 211:7                    158:4 159:18 163:14,17 169:5

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page265
                                               06/14/21 Pageof262
                                                               898of 269
                                                                         1283
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 261

    169:8,9 170:19 173:10 174:19           66:1,4 67:1 68:1,23 69:1 70:1
    174:19 175:11 187:22 188:11            71:1,23 72:1,8 73:1 74:1 75:1
    190:20 193:20 197:5 202:9,14           75:12 76:1 77:1 78:1 79:1
    202:16 203:10 205:11 206:10            80:1 81:1 82:1 83:1 84:1,21
    218:4,5,8,9,11,13,19,20                85:1,16 86:1 87:1 88:1 89:1
   thanks 161:25 163:8,15 182:3            90:1 91:1 92:1 93:1 94:1 95:1
    218:17                                 96:1 97:1 98:1 99:1 100:1
   That'd 173:9                            101:1 102:1 103:1 104:1 105:1
   That’s 97:18                            106:1 107:1 108:1 109:1 110:1
   theory 114:25                           111:1 112:1 113:1 114:1 115:1
   they’re 217:23                          116:1 117:1 118:1 119:1 120:1
   thing 18:11 24:18 33:17 101:23          121:1,7 122:1 123:1 124:1
    118:8 139:12                           125:1 126:1 127:1 128:1 129:1
   things 11:5,7 12:25 38:15 42:20         130:1 131:1 132:1 133:1 134:1
    47:18 69:19 89:6 110:16 111:7          135:1 136:1,21 137:1 138:1
    120:17 122:10 135:22 145:17            139:1 140:1 141:1 142:1 143:1
    165:2 179:11 217:9,13                  144:1 145:1 146:1 147:1 148:1
   think 9:16 10:14,15 20:22 22:2          149:1 150:1 151:1 152:1 153:1
    22:11 30:3 39:22 51:11 64:9            154:1 155:1 156:1 157:1 158:1
    68:4,5 78:5,22 80:5,7 82:20            159:1 160:1 161:1 162:1 163:1
    82:20 84:16 94:24 101:18               164:1,7 165:1 166:1,15 167:1
    102:13 105:6 106:15 108:11,12          168:1,8 169:1,17 170:1,11
    108:14 111:2 112:14,23 116:6           171:1,20 172:1 173:1 174:1,15
    118:6,6,8 122:2,10 132:12              175:1 176:1 177:1 178:1 179:1
    135:15 137:24 144:22 153:4,5           180:1 181:1 182:1 183:1,12
    153:7,8 154:11,13 155:12               184:1,20,25 185:1 186:1,6
    159:5,22 161:5,7,18 163:2,9            187:1 188:1 189:1,17 190:1
    167:17,18 168:21 174:5 175:15          191:1,20 192:1,17,19 193:1,8
    177:23 181:6 188:19 192:12             193:11 194:1 195:1 196:1
    203:2 211:6,8,13,16 214:4,5            197:1 198:1 199:1,12 200:1
    215:24 216:10,14 217:5,17,25           201:1,18 202:1,7 203:1 204:1
    218:2                                  205:1 206:1 207:1 208:1 209:1
   thinking 106:13                         210:1 211:1 212:1 213:1 214:1
   third 26:21 40:12 54:8                  215:1 216:1 217:1 218:1 219:1
   thirteen 146:16 147:7                   220:1 221:1,4 222:1
   thirty 48:19 51:19 117:8 181:12        Thomas' 157:22
    182:7 221:9,10                        Thomas's 38:3 64:14 65:17
   Thomas 1:1,3 2:1 3:1 4:1 5:1            191:11 209:17
    6:1,23 7:1,11 8:1 9:1 10:1            Thomas’s 62:18
    11:1 12:1 13:1,8 14:1,13 15:1         thorough 211:9
    16:1 17:1 18:1 19:1 20:1 21:1         thoroughly 175:4
    22:1 23:1 24:1 25:1,25 26:1           thought 20:23 54:7,19,19 122:24
    27:1,10 28:1,2,18 29:1,25              122:24 150:18 213:2,6
    30:1 31:1 32:1 33:1 34:1 35:1         thoughts 183:22
    36:1 37:1 38:1 39:1 40:1 41:1         thousand 28:14,15 104:19
    41:9 42:1 43:1 44:1,10 45:1           thousands 28:11 114:17 166:24
    46:1 47:1 48:1 49:1 50:1 51:1          181:14,19,19,20
    52:1 53:1 54:1 55:1 56:1 57:1         threaten 160:24
    57:18 58:1 59:1,10 60:1 61:1          threatening 60:20
    62:1 63:1,15 64:1,21 65:1,13

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page266
                                               06/14/21 Pageof263
                                                               898of 269
                                                                         1284
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 262

   three 5:14 9:16 28:14 43:25            top 39:20 40:5 41:4 46:9 54:24
    110:3,17,23 126:11 127:2,13            120:15 126:9 157:5 212:23
    127:24 129:12 147:14,16,18,20          216:10
    155:17 156:6 176:5 189:10,12          topic 97:10
    189:14,18 192:20 216:11               Toronto 8:3
   three-page 146:13                      tough 28:11 122:7
   throw 161:10                           Tower 2:14
   thrown 209:19                          toxemia 154:18,25
   Tibebu 57:7                            training 110:22 154:5
   TIM 1:6                                transact 40:22
   time 1:13 3:6,15 10:6,6,11,17          transcribed 178:10
    11:11 13:7,11 14:12,20,22,23          transcript 7:3 69:24 80:19
    14:24 20:7 27:10 28:3,7 30:11          168:6,19 169:7 206:15 219:6,8
    38:3 44:10 48:20 51:24 57:17           221:8,10,11
    64:7,18 65:10 72:8 73:23 74:3         transcription 220:10
    76:7 84:24 87:11 88:8 91:10           transcripts 173:11
    91:19 92:6 94:3 101:19 107:17         transfer 86:2 214:23
    108:15 110:8 116:12 121:4             transferred 40:9 49:5 56:18
    126:6,10 130:5 133:24 134:6            60:8 178:13
    136:14,24 142:12,16 143:15,24         transition 63:20
    145:13 160:21 162:7 163:14            transmission 59:20
    167:10 169:20 181:13 185:3,9          transport 9:17 14:18,22 30:17
    186:25 187:4,12,16,20 188:25          trauma 30:15,19,20 31:21 33:15
    191:11 192:19 195:6,11,13              35:20 36:8,12,17 37:5 57:16
    196:4 198:25 199:21 200:2              58:25 86:14 90:18,19 92:19,23
    202:10,25 209:4 210:3 218:12           93:3,4,6,9,12,18 106:16 107:8
    219:5 220:5                            109:22 110:5,19,24 111:8,9,10
   times 12:18 32:8 177:14 179:11          111:21 112:7 113:10,13 116:9
    186:16                                 138:4,9 140:4 142:7 143:2
   tired 200:17                            148:14,18,19 154:13 159:7
   title 8:9 10:10,13 26:18 55:13          164:10 166:20 167:10,15
   titrate 27:14                           168:10 180:2 182:18,24 188:5
   to-- 19:23                              188:7 189:2 192:9,18,18
   today 47:12 65:2 69:3,7,11 72:2         193:23 194:5,10 197:10,13,18
    75:19,23 86:7 95:11 116:8              197:21 198:18 207:16 209:3,10
    131:15 133:24 155:20,21                209:13 210:5,21 213:16 215:19
    163:15 168:12 171:3,18 189:24          216:10,11,15
    202:10,13 218:12                      trauma-centric 143:3
   today's 16:8 17:6 25:9 32:11           traumatic 30:9,13 32:2 41:22
    38:23 45:7 51:20 66:21 67:2            93:25 112:2 142:13
    67:24 75:8 204:8 206:17               treat 107:16 109:18 175:4
   today’s 6:21                           treated 59:10 106:20 114:17
   told 27:6 52:3 72:25 73:14              181:14 183:12 189:8,19 209:9
    87:10,13 107:18 113:19 119:4          treating 59:9 86:15 165:11
    131:2 132:12 144:9 148:17              185:3,8 193:11
    177:15,16,18 184:9 185:16             treatment 6:23 28:18,25 66:4
    195:6 214:6                            83:13 106:25 130:4,10,12
   tomorrow 44:15 140:5                    133:2 171:10,20 172:8,8
   tone 161:4                              173:22 186:20 188:22 189:4
                                           200:11

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page267
                                               06/14/21 Pageof264
                                                               898of 269
                                                                         1285
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 263

   treatments 202:6                        197:1 198:1 199:1 200:1 201:1
   trial 3:9,16 7:3 17:24 69:24            201:2 202:1,5 203:1,15 204:1
    71:23 72:13 73:7,12 75:18              205:1 206:1 207:1 208:1 209:1
    76:11,13,14 78:8,21 81:18              210:1 211:1 212:1 213:1 214:1
    84:21 85:5,11,19,20 87:17              215:1 216:1 217:1 218:1 219:1
    90:12 98:20 99:2 114:24 127:9          220:1 221:1,4,14 222:1
    144:17,19 145:7 167:18 168:20         true 113:25 128:12 131:4 150:2
   trials 43:6 74:4                        190:11 198:10 200:9 206:21
   tried 162:17                            219:6,8 220:11
   trouble 15:20                          truth 6:8,8,9 69:7 220:8,8,9
   Troy 1:1,6 2:1,6,8 3:1 4:1 5:1         try 19:6 27:12,15,23 40:6 58:3
    5:13 6:1 7:1,10,10,11 8:1 9:1          69:3 97:9 135:23 153:5,22
    10:1 11:1 12:1 13:1 14:1 15:1          162:6 174:2 191:2 195:13
    16:1,8 17:1 18:1 19:1 20:1            trying 43:8 73:20 79:12 97:13
    21:1 22:1 23:1 24:1 25:1,9             135:21 145:15 150:12 151:12
    26:1 27:1 28:1 29:1 30:1 31:1          153:17 161:9 204:21
    32:1 33:1 34:1 35:1 36:1 37:1         tube 26:11
    38:1 39:1 40:1 41:1 42:1 43:1         turn 106:16
    44:1 45:1 46:1 47:1 48:1 49:1         turned 99:3
    50:1 51:1 52:1 53:1 54:1 55:1         turns 107:8
    56:1 57:1 58:1 59:1 60:1,23           twelve 48:19 51:19 54:13 74:9
    61:1 62:1,8,16,19 63:1,4,15            86:6 107:23 123:22 154:7,14
    63:23 64:1,13,19 65:1,11 66:1          156:11
    67:1,21,23 68:1 69:1 70:1,10          twenty 9:12 184:5
    70:22 71:1 72:1 73:1 74:1             twenty-four 11:13 168:6
    75:1 76:1 77:1 78:1 79:1 80:1         twenty-four/seven 137:13
    81:1 82:1 83:1 84:1 85:1 86:1         twenty-one 60:23 208:12
    87:1 88:1 89:1 90:1 91:1 92:1         twenty-six 167:25
    93:1 94:1 95:1 96:1,21 97:1           twenty-three 56:2,6 60:5
    98:1 99:1 100:1 101:1 102:1           twenty-two 56:2,6
    103:1 104:1 105:1 106:1 107:1         twice 60:25 78:5
    108:1 109:1 110:1 111:1 112:1         twin 49:11,12 57:5 61:6
    113:1 114:1 115:1 116:1 117:1         two 5:12 30:3 53:15 69:23 74:9
    118:1 119:1,18 120:1,7 121:1           74:20 75:17 79:6 86:5 110:4
    122:1 123:1 124:1 125:1 126:1          116:7 123:22 130:6 146:11
    127:1 128:1 129:1 130:1 131:1          173:6 176:4 187:18,18 193:8
    132:1 133:1 134:1 135:1 136:1          201:10,17,23 202:2 207:21,22
    137:1 138:1,21 139:1 140:1             207:24 210:15 216:10
    141:1 142:1 143:1 144:1 145:1         two-day 49:7
    146:1 147:1 148:1 149:1 150:1         two-hundred 201:18
    151:1 152:1 153:1 154:1 155:1         two-part 117:20,24
    156:1 157:1 158:1 159:1 160:1         type 37:5 76:15,17 83:2 111:9
    161:1 162:1 163:1 164:1 165:1          117:9,11 139:24 140:6 178:22
    166:1 167:1 168:1 169:1 170:1          198:9
    170:21 171:1,2,17,20 172:1            types 111:7 175:2
    173:1 174:1 175:1 176:1 177:1         typewriting 41:13
    178:1 179:1,16 180:1 181:1            typewritten 99:12 205:20,21
    182:1 183:1 184:1 185:1 186:1          220:9
    187:1 188:1 189:1 190:1 191:1         typical 178:2 215:8
    192:1 193:1 194:1 195:1 196:1

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page268
                                               06/14/21 Pageof265
                                                               898of 269
                                                                         1286
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 264

   typically 128:21 139:23 142:4,5         44:1 45:1 46:1 47:1 48:1 49:1
                                           50:1 51:1 52:1 53:1 54:1 55:1
                   U                       56:1 57:1 58:1 59:1 60:1 61:1
   Uh-huh 195:7 208:20                     62:1 63:1 64:1 65:1 66:1 67:1
   ultimately 102:10 129:4 130:12          68:1 69:1 70:1 71:1 72:1 73:1
   unable 200:11                           74:1 75:1 76:1 77:1 78:1 79:1
   unclear 98:6                            80:1 81:1 82:1 83:1 84:1 85:1
   underlying 111:19,25                    86:1 87:1 88:1 89:1 90:1 91:1
   underplay 174:10                        92:1 93:1 94:1 95:1 96:1 97:1
   understand 10:23 16:11 19:17            98:1 99:1 100:1 101:1 102:1
    23:16 25:17,18 33:5,19 53:11           103:1 104:1 105:1 106:1 107:1
    69:6 92:3 127:10 129:16 138:5          108:1 109:1 110:1 111:1 112:1
    139:14 161:11 185:10 214:15            113:1 114:1 115:1 116:1 117:1
   understanding 22:21 23:2 43:6           118:1 119:1 120:1 121:1 122:1
    63:22 101:5 104:9 105:21               123:1 124:1 125:1 126:1 127:1
    182:22 183:8 187:19 198:8              128:1 129:1 130:1 131:1 132:1
    201:19 211:2                           133:1 134:1 135:1 136:1 137:1
   underwater 112:18                       138:1 139:1 140:1 141:1 142:1
   unethical 171:12                        143:1 144:1 145:1 146:1 147:1
   unfair 19:8                             148:1 149:1 150:1 151:1 152:1
   unfortunate 161:6                       153:1 154:1 155:1 156:1 157:1
   unfortunately 199:23                    158:1 159:1 160:1 161:1 162:1
   uniform 144:18 145:7                    163:1 164:1 165:1 166:1 167:1
   unit 8:23,25 9:3 10:19 11:2,10          168:1 169:1 170:1 171:1 172:1
    11:16 12:4,4 28:10                     173:1 174:1 175:1 176:1 177:1
   UNITED 1:2                              178:1 179:1 180:1 181:1 182:1
   universe 71:14 132:8                    183:1 184:1 185:1 186:1 187:1
   unresponsive 15:18 30:18                188:1 189:1 190:1 191:1 192:1
   unresponsiveness 49:8 88:21             193:1 194:1 195:1 196:1 197:1
   unsigned 178:18                         198:1 199:1 200:1 201:1 202:1
   unstable 130:6                          203:1 204:1 205:1 206:1 207:1
   untrue 131:22 132:2                     208:1 209:1 210:1 211:1 212:1
   unusual 89:15,20,21,22 90:4             213:1 214:1 215:1 216:1 217:1
    116:18 186:14,18 191:16                218:1 219:1 220:1 221:1,4
   updated 133:7                           222:1
   upper 55:19 98:2                       vaccine 210:16
   upset 117:22                           vague 84:6
   use 13:21 27:11 36:3,11 68:7           Valliani 53:17,19
    138:2 184:23 185:19 188:16            varies 29:17
   usual 159:17                           various 114:24 199:24
   usually 12:16 101:24 190:15            varying 44:3 94:24 126:13
                                           127:14 191:4
                   V                      vehicle 36:23 59:4 120:14 197:6
   v 1:1,5 2:1 3:1 4:1 5:1 6:1 7:1         197:7,24
     8:1 9:1 10:1 11:1 12:1 13:1          vein 49:16
     14:1 15:1 16:1 17:1 18:1 19:1        ventilated 12:24
     20:1 21:1 22:1 23:1 24:1 25:1        ventilator 15:21 26:10
     26:1 27:1 28:1 29:1 30:1 31:1        ventricles 47:20
     32:1 33:1 34:1 35:1 36:1 37:1        venue 80:4
     38:1 39:1 40:1 41:1 42:1 43:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page269
                                               06/14/21 Pageof266
                                                               898of 269
                                                                         1287
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 265

   verbal 7:13 101:17 102:3 131:3          120:1 121:1 122:1 123:1 124:1
    151:15,18                              125:1 126:1 127:1 128:1 129:1
   verbally 102:5                          130:1 131:1 132:1 133:1 134:1
   vernacular 27:12                        135:1 136:1 137:1 138:1 139:1
   versus 7:11 128:18 142:7 169:18         139:6 140:1 141:1 142:1 143:1
   vessel 198:23                           144:1 145:1 146:1 147:1 148:1
   vessels 123:5 198:3,19 199:9            149:1 150:1 151:1 152:1 153:1
   victim 59:11 139:20 145:24              154:1 155:1 156:1 157:1 158:1
   video 5:15,17 156:13 158:9,14           159:1 160:1 161:1 162:1 163:1
    159:25 161:24 162:4,9 173:6            164:1 165:1 166:1 167:1 168:1
   view 27:17 29:18 67:15 159:3            169:1 170:1 171:1 172:1 173:1
   views 121:22 122:11                     174:1 175:1 176:1 177:1 178:1
   violated 209:17                         179:1 180:1 181:1 182:1 183:1
   violence 180:8,21                       184:1 185:1 186:1 187:1 188:1
   violent 35:20 139:25 197:25             189:1 190:1 191:1 192:1 193:1
   visitation 61:11,12                     194:1 195:1 196:1 197:1 198:1
   voice 70:2                              199:1 200:1 201:1 202:1 203:1
   volunteer 42:6                          204:1 205:1 206:1 207:1 208:1
   Volunteering 89:14                      209:1 210:1 211:1 212:1 213:1
   vomiting 15:22 40:10 214:25             214:1 215:1 216:1 217:1 218:1
                                           219:1,4,10 220:1,4 221:1,5,24
                   W                       222:1
   W-A-L-T-E-R 6:13                       want 16:19 19:8,24 20:6 23:13
   wait 91:21 204:11                       24:19,22 40:5 45:12 47:8 60:2
   waiting 142:19 173:5                    64:6 67:12 69:2 82:9 87:12,18
   waking 49:13                            96:9,9,10 108:5,13 112:13
   Waldman 45:16 46:16 51:12,23,24         123:23,24 126:23 127:5 137:14
    66:3 85:4,11 190:4 211:9               139:13 145:18 146:11 148:22
   wall 172:21                             152:15,21 156:13,23 157:14
   Walter 1:1,11 2:1 3:1 4:1,3 5:1         160:7,8,8,21 161:5,20 163:18
    6:1,13 7:1,18 8:1 9:1 10:1             169:7 174:4 176:16,16 197:19
    11:1 12:1 13:1 14:1 15:1 16:1          200:18 205:18 206:24,25 208:2
    17:1 18:1 19:1 20:1 21:1 22:1          212:21 213:7
    23:1 24:1 25:1 26:1 27:1 28:1         wanted 13:3 43:4 55:14 68:5
    29:1 30:1 31:1 32:1 33:1 34:1          131:11 147:25 161:22 172:10
    35:1 36:1 37:1 38:1 39:1 40:1          173:24 174:18 206:16
    41:1 42:1 43:1 44:1 45:1 46:1         wants 108:18 110:8 144:10 203:2
    47:1 48:1 49:1 50:1 51:1 52:1         wasn't 43:8 58:24 63:12 72:10
    53:1 54:1 55:1 56:1 57:1 58:1          108:25 111:24 115:21 130:15
    59:1 60:1 61:1 62:1 63:1 64:1          134:15 142:15,22 143:11
    65:1 66:1 67:1 68:1 69:1 70:1          194:12 213:3 215:12 217:8
    71:1 72:1 73:1 74:1 75:1 76:1         wasn’t 108:21
    77:1 78:1 79:1 80:1 81:1 82:1         waste 20:7
    83:1 84:1 85:1 86:1 87:1 88:1         watery 49:7
    89:1 90:1 91:1 92:1 93:1 94:1         way 22:11 46:24 63:6 79:13 92:9
    95:1 96:1 97:1 98:1 99:1               109:19 142:14 147:12 160:22
    100:1 101:1 102:1 103:1 104:1          164:8,10 185:24 186:14 188:22
    105:1 106:1 107:1 108:1 109:1          189:10 200:19 209:10
    110:1 111:1 112:1 113:1 114:1         ways 185:8
    115:1 116:1 117:1 118:1 119:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page270
                                               06/14/21 Pageof267
                                                               898of 269
                                                                         1288
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 266

   we'll 13:5 19:18 23:7 71:16             215:24 216:23 217:5,16,24
    97:8 109:15                            218:5,13,16
   we're 6:5 11:25 16:20,20 24:17         witness(es) 220:7
    25:4 36:13 38:15 43:11,15             Wonderful 7:8
    52:14 68:15,18 69:2 97:10             word 65:6,6 71:8 82:21 90:4
    109:10,13,16 112:7 113:4               99:24 116:15 119:18 120:21
    118:16,19 133:15 153:2 161:9           155:12 159:14,16 167:12
    173:5 188:17 195:5 198:22              190:24 221:15,16,18,19,20,21
    199:20 200:20,20 203:4 209:15          221:22
    211:7                                 words 79:5 93:8 94:25 102:13,19
   we've 75:6 109:12 169:22 191:15         117:13 118:23 119:4 120:8
    213:25                                 139:9 140:14,17 143:4,5 146:2
   we’ll 16:21,22 19:21                    148:18
   we’re 152:22                           work 8:12,14,24 19:6 108:17
   we’ve 45:11                             132:20 136:24 161:9,22 194:16
   wearing 151:25                          199:18,24 200:9
   Webex 1:14                             worked 77:7,18 91:6 136:25
   week 178:17 187:17                      200:12
   weeks 40:9 93:9 187:18                 worker 55:12 57:6 60:4,6,16,18
   went 7:23,24 8:3 69:25 70:8             60:23,25 61:2,9,10,13 71:3
    100:5 114:23 121:7 134:7               140:22 141:4
    160:3 178:15 184:2,5 191:24           working 13:22 27:11 65:21,21
   weren't 77:21 199:25                    106:16 137:13 199:17
   West 2:18                              works 73:11
   wheel 173:2                            world 176:4
   whims 171:10                           worsening 49:7
   white 103:25 104:18,18 105:12          worth 42:18
    191:19,24                             wouldn't 64:2 138:2 178:2 179:4
   Wilhemina 56:25 75:12                   187:23 190:12
   willing 108:17                         wrap 161:15
   willingness 202:13                     write 141:16 177:17 201:2
   wish 109:14 207:3                      writing 143:7,16,17,24 211:22
   wishes 171:11,20                       writings 182:12
   withdrawal 187:7,9                     written 70:24 101:18,23,24
   withdrawn 71:20 84:19 86:16             134:2,2 140:20,21,24 141:4,15
    106:13 116:5 120:5 123:7               200:25
    125:23 140:18 141:23,23 171:7         wrong 88:2 90:13 153:12,15
    194:2,13                               213:5
   witness 2:13 3:10,14 5:8 6:4,10        wrongfully 169:19
    6:13,15 16:18 23:9,15,19              wrote 44:12 46:6,9,10 71:5
    28:14 36:15,19,22 49:12 66:11          140:15 142:11 143:15
    67:3,7 70:9 72:18 74:7,15
    78:18 82:13 90:2,5 95:21 96:5                         X
    96:7 97:20,23 108:21,25               X 4:2 5:2,2 219:9,12
    114:10 117:22 121:3 125:3,10          X-ray 128:10
    128:22 137:15,18 139:6 144:6
    144:10 145:2,14,20 146:6                              Y
    150:10 160:5,10 161:16 163:17         yeah 8:22 11:14 14:3 20:21
    166:3 173:12 196:20 203:6              24:15 42:16 43:2,5 45:10,17
    204:7 206:8 211:20 213:19              54:9 68:4,12 74:5 76:14 79:19

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page271
                                               06/14/21 Pageof268
                                                               898of 269
                                                                         1289
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 267

    86:3 87:18,20 96:19 97:7,13           12224-0341 2:12
    101:15 103:3,7,13 108:7               163 4:5
    116:25 117:4 118:4 124:25             169 4:5
    125:8 126:14 127:3 128:8              17 5:5
    129:22 132:23 139:13 141:6            17-CV-626 1:5 221:4
    147:10,17 153:2 157:7 159:21          1980 7:23
    165:24 171:4 182:14 188:9
    196:18 201:15 208:5 210:19                              2
    213:2 216:20 217:25 218:14            2 5:17
   year 117:3                             2:14 153:23
   years 36:6 37:13 79:5,9 110:3          2:25 153:24
    116:20 117:2,6,7 121:24 154:8         2008 10:5 11:3,17 12:5,12,21
    154:14 156:11 181:12 182:7              13:7 14:14 25:24 28:19 67:4
    183:13                                  75:13,18 85:23 119:20 120:7
   yesterday 84:5 121:3                     121:14,20 125:20 136:6
   York 1:2 2:5,5,8,10,12,15,18           2009 69:24 71:23 72:13,15 74:4
    61:15 70:10 78:12 82:9 169:16           74:8 83:18 87:9,13,17 167:18
    169:17,18 206:5 218:8 221:14            168:20 206:15,21
   you’d 195:5                            2014 72:8
   you’ve 124:6                           2020 1:12 219:11
   young 110:4 153:21                     203 4:6
                                          206 4:6
                   Z                      210.45 206:4
   zero 56:13 116:22 146:17 189:6         218 220:10
    208:12                                21st 10:5 13:6 14:14 28:19
   Zewdie 57:6                              75:13,17 85:23 97:23 119:20
                                            120:7 125:20 136:6
                        0                 22 2:8 221:13
   09 116:2                               22nd 67:3 121:12,14 142:11
                                          23rd 87:22 128:8
                   1                      24th 25:24
   1 5:15 220:6,10
   1:18 109:9                                               3
   1:22 113:2                             3:39 218:21
   1:23 113:2                             30 1:12 221:9,10
   1:30 118:12                            305 2:4
   10/24 124:20 125:16
   10:07 1:13 6:2                                           4
   10:18 15:5                             4:05 1:13
   10:53 15:6
   10007 2:5                                                5
   11:21 52:12,12                         507 2:18
   11:46 68:16                            523-7887 221:2
   11:55 15:7
   12:06 14:16 15:7                                         6
   12:11 68:17                            6 2:14 4:4
   12:54 109:8                            600 2:4
   12180 2:8 221:14                       67 5:7
   12203 2:15                             68 4:4
   12205 2:18

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-23 Filed      Page272
                                               06/14/21 Pageof269
                                                               898of 269
                                                                         1290
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 268

                   7                      86 5:6
   7-30-2020 1:1 2:1 3:1 4:1 5:1          89 8:2
    6:1 7:1 8:1 9:1 10:1 11:1                               9
    12:1 13:1 14:1 15:1 16:1 17:1
    18:1 19:1 20:1 21:1 22:1 23:1         9/21 147:6
    24:1 25:1 26:1 27:1 28:1 29:1         9/21/08 52:21 54:12 56:13 60:5
    30:1 31:1 32:1 33:1 34:1 35:1          147:4
    36:1 37:1 38:1 39:1 40:1 41:1         9/22/08 45:23 48:15 51:18 66:14
    42:1 43:1 44:1 45:1 46:1 47:1         9/22/2018 43:17
    48:1 49:1 50:1 51:1 52:1 53:1         9/23 126:10
    54:1 55:1 56:1 57:1 58:1 59:1         9/26 147:6
    60:1 61:1 62:1 63:1 64:1 65:1         9:52 14:25
    66:1 67:1 68:1 69:1 70:1 71:1
    72:1 73:1 74:1 75:1 76:1 77:1
    78:1 79:1 80:1 81:1 82:1 83:1
    84:1 85:1 86:1 87:1 88:1 89:1
    90:1 91:1 92:1 93:1 94:1 95:1
    96:1 97:1 98:1 99:1 100:1
    101:1 102:1 103:1 104:1 105:1
    106:1 107:1 108:1 109:1 110:1
    111:1 112:1 113:1 114:1 115:1
    116:1 117:1 118:1 119:1 120:1
    121:1 122:1 123:1 124:1 125:1
    126:1 127:1 128:1 129:1 130:1
    131:1 132:1 133:1 134:1 135:1
    136:1 137:1 138:1 139:1 140:1
    141:1 142:1 143:1 144:1 145:1
    146:1 147:1 148:1 149:1 150:1
    151:1 152:1 153:1 154:1 155:1
    156:1 157:1 158:1 159:1 160:1
    161:1 162:1 163:1 164:1 165:1
    166:1 167:1 168:1 169:1 170:1
    171:1 172:1 173:1 174:1 175:1
    176:1 177:1 178:1 179:1 180:1
    181:1 182:1 183:1 184:1 185:1
    186:1 187:1 188:1 189:1 190:1
    191:1 192:1 193:1 194:1 195:1
    196:1 197:1 198:1 199:1 200:1
    201:1 202:1 203:1 204:1 205:1
    206:1 207:1 208:1 209:1 210:1
    211:1 212:1 213:1 214:1 215:1
    216:1 217:1 218:1 219:1 220:1
    221:1,5 222:1
   76 7:23,23
                        8
   80 7:23,25
   800 221:2
   84 7:25


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CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-24 3604338,   Page273
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1291
                                                                1 of 189




                      EXHIBIT “G”
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-24 3604338,   Page274
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1292
                                                                2 of 189




                                                                      Page 1
         Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

     UNITED STATES DISTRICT COURT

     NORTHERN DISTRICT OF NEW YORK

     ADRIAN THOMAS,

           Plaintiff,

                 v                                  17-CV-626

     CITY OF TROY, ADAM R. MASON,

     RONALD FOUNTAIN, TIM COLANERI,

     COUNTY OF RENSSELAER &

     MICHAEL SIKIRICA,

           Defendants.

     _________________________________/

     ADRIAN P. THOMAS,

           Claimant,

     v

     THE STATE OF NEW YORK,

           Defendant.

     _________________________________/

                 NON-PARTY

                 DEPOSITION OF:          JOHN WALDMAN, M.D.

                 DATE:                  October 19, 2020

                 TIME:                  10:14 a.m. to 2:01 p.m.

                 LOCATION:               WebEx
 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page275
                                            Filed 06/14/21    of 898
                                                           Page  3 of 189
                                                                         1293
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 2
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2    APPEARANCES:

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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page276
                                            Filed 06/14/21    of 898
                                                           Page  4 of 189
                                                                         1294
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 3
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2              I N D E X      O F    P R O C E E D I N G S

  3    JOHN WALDMAN; Sworn

  4    Direct Examination by Mr. Ginsberg                                      9

  5    Cross Examination by Mr. Klein                                         40

  6    Cross Examination by Ms. Peck                                          96

  7    Cross Examination by Ms. Calabrese                                   117

  8    Redirect Examination by Mr. Ginsberg                                 139

  9    Recross Examination by Mr. Klein                                     140

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 11

 12

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 14

 15

 16

 17

 18

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 20

 21

 22

 23

 24

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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page277
                                            Filed 06/14/21    of 898
                                                           Page  5 of 189
                                                                         1295
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 4
  1        Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                      E X H I B I T       I N D E X

  3    Marked as

  4    Description

  5    Defendant

  6    A

  7    Autopsy report, April 22, 2019

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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page278
                                            Filed 06/14/21    of 898
                                                           Page  6 of 189
                                                                         1296
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 5
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                               STIPULATIONS

  3            It is HEREBY STIPULATED by and among the attorneys

  4    for the respective parties, in accordance with the Federal

  5    Rules of Civil Procedure, that this deposition may be

  6    taken by the Defendant at this time, pursuant to subpoena;

  7            FURTHER STIPULATED, that all objections except as to

  8    the form of the questions and responsiveness of the

  9    answers, be reserved until trial;

 10            FURTHER STIPULATED, that the witness may read and

 11    sign the deposition and make any corrections to same

 12    before any Notary Public;

 13            AND FURTHER STIPULATED, that if the original

 14    deposition has not been duly signed by the witness and

 15    returned to the attorney taking the deposition by the time

 16    of trial or any hearing in this cause, a certified copy of

 17    the deposition may be used as though it were the original

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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page279
                                            Filed 06/14/21    of 898
                                                           Page  7 of 189
                                                                         1297
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 6
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2

  3                             (On the record, 10:14 a.m.)

  4                             THE REPORTER:    Okay.    First of all,

  5            sir, do you have a I.D. you can hold up for me to see

  6            to keep me in good graces with the Department of

  7            State.

  8                             MS. CALABRESE: So you can see it.

  9                             THE REPORTER:    Almost.

 10                             MS. CALABRESE:    So you can see.

 11                             MR. WALDMAN:    I'm looking.      There we

 12            go.   It's backward, sir.

 13                             THE REPORTER:    A little more.        There

 14            we go and beautiful.    Thank you.     Thank you.       You can

 15            put that down now.   Okay.

 16                             MR. WALDMAN:    How are you?

 17                             THE REPORTER:    I'm great.      Okay.     One

 18            moment.    Raise your right hand. Mr. Walden --

 19            Waldman.    Raise your right hand, sir.       Do you swear

 20            or affirm that the testimony you're about to give

 21            will be the truth, the whole truth and nothing but

 22            the truth?

 23                             MR. WALDMAN:    I do.

 24                             WITNESS; JOHN WALDMAN; Sworn.

 25                             MS. PECK:   And does everybody agree to


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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page280
                                            Filed 06/14/21    of 898
                                                           Page  8 of 189
                                                                          1298
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                          Page 7
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            usual stipulations?    Brett?

  3                           MR. KLEIN:     Yes.

  4                           MS. CALABRESE:      Yes.

  5                           MS. PECK:     And Leah?

  6                           MS. MITCHELL:      Yes.

  7                           MS. PECK:     Michael?

  8                           MR. GINSBERG:      Yes.

  9                           MS. PECK:     Thank you.

 10                           THE REPORTER:      Again, the witness has

 11            been sworn.

 12                           MS. PECK:     Actually before we proceed,

 13            Brett, you raised a question as to whether we don't

 14            have any objections to you recording the deposition,

 15            is that something we all want to discuss publicly.

 16            Is that what I am talking about?

 17                           MR. KLEIN:       So my -- my -- yeah.         It's

 18            my request is that if it's the same cost and you can

 19            just hit the record button, Howard, I'm going to ask

 20            that it would be recorded, do the video option of the

 21            deponent so that we avoid any misunderstandings like

 22            you discussed earlier, about what exhibits are being

 23            looked at as such.

 24                           THE REPORTER:      It is being recorded.

 25                           MS. PECK:     Well --


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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                         Document   142-24 3604338,   Page281
                                            Filed 06/14/21    of 898
                                                           Page  9 of 189
                                                                         1299
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 8
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MR. KLEIN:    Video?

  3                            THE REPORTER:     Yes.

  4                            MR. KLEIN:    Okay.

  5                            MS. PECK:    Dr. -- Dr. Waldman was not

  6            subpoenaed for video recorded testimony.

  7                            MS. CALABRESE:     We --.

  8                            MS. PECK:    Is this --- is this being

  9            recorded just for purposes of the court reporter to

 10            be able to go through everything?

 11                            MR. GINSBERG:     Well, we have the --

 12            the real issue with the recording is that when we go

 13            to trial, we can play the video or portions of it

 14            without having to bring the doctor back in.           And I,

 15            you know, that maybe a lot more convenient.           I don't

 16            know that that actually was going to transpire but is

 17            that option.

 18                            MS. MITCHELL:     Well, Dr. Waldman's

 19            indicating he's comfortable with that.         So I'll waive

 20            the objection in terms of not getting notice.

 21                            MS. PECK:    Thank you, Leah.

 22                            MR. KLEIN:    Thank you.

 23                            MR. GINSBERG:     Okay.     Can I start with

 24            my spiel again now?

 25                            DIRECT EXAMINATION


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page282
                                            Filed 06/14/21    of 10
                                                           Page
                                                                         1300
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 9
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            BY MR. GINSBERG:

  3                            Q.    Doctor, thank you for joining us

  4            today.   As I stated earlier, we appreciate your

  5            taking time out of your busy schedule to attend to

  6            this matter.   My name is Michael Ginsberg, I'm the

  7            attorney for the City of Troy and the Troy Police

  8            Officers, Defendants.     And I believe that's the

  9            Federal matter, isn't it correct?

 10                            A.    Yeah.

 11                            Q.    And I'm going to ask you a series

 12            of questions that require verbal response so that

 13            Howard can keep the record, okay.

 14                            A.    Yes.

 15                            Q.    All right.    If we ask you a

 16            question or I ask you a question that you don't

 17            understand, please let me know and I'll rephrase it.

 18            Otherwise we're going to assume that you're answering

 19            the question that's been posed.       Fair enough?

 20                            A.    Yes.

 21                            Q.    Doctor, could you tell us your

 22            full name?

 23                            A.    John Bernard Waldman.

 24                            Q.    And could you give us your

 25            educational background, starting with college?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page283
                                            Filed 06/14/21    of 11
                                                           Page
                                                                         1301
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 10
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    I went to Yale University.          I

  3            graduated with a B.A. in psychology in 1969.            I then

  4            went to the Albany Medical College, graduated in 1973

  5            with an M.D. degree.     Following that, I entered a

  6            neurosurgical residency training program that

  7            included one year of general surgery.

  8                            And I don't remember now, it was five

  9            years of neurosurgery.     I then was employed on the

 10            staff of the Albany Medical College in Albany

 11            Hospital.    But I went to Toronto, to The Hospital of

 12            Sick Children to do a pediatric neurosurgery

 13            fellowship.

 14                            And I also then went to Children's

 15            Hospital Medical Center in Boston to continue my

 16            training in pediatric neurosurgery.        And after that I

 17            joined -- I started practicing at Albany Medical

 18            Center Hospital and teaching at the Albany Medical

 19            College.    And I was there my entire career.

 20                            Q.     Thank you, Doctor.      With regard

 21            to your employment, do you currently hold a title?

 22                            A.     Yes, my title is retired.

 23                            Q.     Prior to the current title that

 24            you hold, did you previously hold a title?

 25                            A.     Yes, I was professor of surgery,


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page284
                                            Filed 06/14/21    of 12
                                                           Page
                                                                         1302
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 11
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            neurosurgery, and an attending physician at the

  3            Albany Medical Center.

  4                            Q.    And for how long a time period

  5            did you serve Albany Medical in that capacity?

  6                            A.    Well, I didn't start initially as

  7            a full professor, I was assistant professor, then

  8            associate professor, and then full professor.            I

  9            don't remember the years, I have no recollection of

 10            the years, when I transitioned from one to the other.

 11            But I began my employment as an attending in 1979.

 12            And I continued it until I retired in 2012.

 13                            Q.    And Doctor, what position, or

 14            title if any did you hold in September of 2008?

 15                            A.    I believe I was a full professor

 16            at the Albany Medical College and attending physician

 17            at the Albany Medical Center Hospital.

 18                            Q.    Well, as a attending physician,

 19            what duties, and responsibilities that you have at

 20            that time in September 2008?

 21                            A.    I had an active practice, I saw

 22            patients, did surgeries, took care of patients in the

 23            hospital.   And then as part of my academic

 24            requirements, I taught medical students and residents

 25            and did the usual things that academics do, write


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page285
                                            Filed 06/14/21    of 13
                                                           Page
                                                                         1303
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 12
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            papers.   And that's -- that was enough.

  3                            Q.    And Doctor, did you practice in

  4            any specialty areas in September of 2008?

  5                            A.    Yes, as I mentioned, I was

  6            pediatric neurosurgery.

  7                            Q.    And what is pediatric

  8            neurosurgery?

  9                            A.    Well, neurosurgeons, in general,

 10            take care of patients who have neurological problems

 11            or problems that relate to the nervous system,

 12            including the brain, spinal cord, and peripheral

 13            nerves.   Mostly that require surgical interventions.

 14            But we do non-surgical treatments also.

 15                            For example, in trauma, not every

 16            patient requires an operation.      As in many diseases,

 17            we try to manage patients without surgery if we can.

 18            And if not, then a neurosurgeon would operate.            And

 19            in my case, my practice was pretty much limited to

 20            children, except for adult patients that I would pick

 21            up when I was on call.

 22                            And also, there are some adult

 23            patients who have problems that are much more common

 24            in pediatric populations.     So I might be asked by my

 25            partners to take care of those patients as well.             But


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page286
                                            Filed 06/14/21    of 14
                                                           Page
                                                                         1304
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 13
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            predominantly, pediatric patients, say under the age

  3            of eighteen.

  4                            Q.    And Doctor, were you involved in

  5            the writing or publishing random professional

  6            publications over the course of your career?

  7                            A.    Yes.

  8                            Q.    Could you describe some of them

  9            for us?

 10                            A.    Well, later in my career, they

 11            are mostly case reports, you know, an interesting

 12            patient or an interesting trick -- treatment, we

 13            might write-up an individual case.       During my early

 14            years, we were involved in trauma research.           We did

 15            research and developing medications, in conjunction

 16            with Merck Sharp & Dohme, a pharmaceutical company,

 17            to develop treatments for cerebral swelling, brain,

 18            you know, edema in trauma patients.

 19                            That was the -- most of my -- my basic

 20            research was related to understanding and developing

 21            treatments for cerebral edema or brain swelling.

 22                            Q.    And Doctor, are you a member of

 23            any professional organization?

 24                            A.    I don't know my status, current

 25            status, but yes, I was involved in a number of


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page287
                                            Filed 06/14/21    of 15
                                                           Page
                                                                         1305
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 14
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            organizations.    The American Association of

  3            Neurological Surgeons, Pediatric Neurosurgery.            At

  4            one point, I probably was a member of the A.M.A.             But

  5            yeah, most of the -- the Congress of Neurological

  6            Surgeons, that's enough or probably more.

  7                             Q.   And Doctor, in September of 2008,

  8            did you hold any board certification?

  9                             A.   Yes.

 10                             Q.   Could you describe those for us?

 11                             A.   I was board certified in

 12            neurosurgery.    And I was board certified in pediatric

 13            neurosurgery.

 14                             Q.   And Doctor, did there come a time

 15            when you first learned of the existence of a patient

 16            named Matthew Thomas?

 17                             A.   Yes.

 18                             Q.   And that --?

 19                             A.   I believe it was --.

 20                             Q.   Go ahead.    If you know the --

 21                             A.   I think it was September 22nd,

 22            2008.

 23                             Q.   And how is it that Matthew

 24            Thomas, that his medical case became known to you?

 25                             A.   My understanding is, he was seen


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page288
                                            Filed 06/14/21    of 16
                                                           Page
                                                                         1306
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 15
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            at Samaritan Hospital in Troy, New York and then

  3            transferred to the Albany Medical Center Hospital and

  4            was admitted under the care of a pediatric

  5            intensivist, to the pediatric intensive care unit.

  6                            Q.    Would that have been Dr. Edge?

  7                            A.    Among others, I'm not sure if Dr.

  8            Edge was on the night of the 21st when he came in.

  9            But ultimately, yes, Dr. Edge took care of him.

 10                            Q.    He became Dr. Edge's patient,

 11            correct?

 12                            A.    I think so, yes.      You know, they

 13            -- they're a bunch of intensivists and they rotate.

 14            So I'm not sure if he took care of Matthew every day.

 15            But I guess, he was identified as the -- as Matthew's

 16            primary physician.

 17                            And Dr. Edge consulted neurosurgery

 18            because there was a concern about Matthew having

 19            sustained a head injury.

 20                            Q.    Okay.   Doctor, when you say he

 21            consulted neurosurgery, are you indicating that he

 22            asked for a neurosurgical consult?

 23                            A.    Yes.

 24                            Q.    All right.    And did you perform

 25            that consult?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page289
                                            Filed 06/14/21    of 17
                                                           Page
                                                                         1307
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 16
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    Well, I was not on call the day

  3            that Matthew came in.     So one of my partners Dr.

  4            German saw Matthew, on that day, I think that, I

  5            don't know if it was in the evening or what time it

  6            was.   But it was on the 21st.     And then on the 22nd,

  7            Dr. German asked me to take care of Matthew, since he

  8            was a pediatric patient and Dr. German doesn't care

  9            generally for pediatric patients.

 10                            Q.    And did you have an opportunity

 11            to physically evaluate Matthew Thomas yourself?

 12                            A.    I did, yes, on the 22nd.

 13                            Q.    And can you tell us how Matthew

 14            presented at that time?

 15                            A.    Do you mean, what was his exam or

 16            what I knew about it?

 17                            Q.    What were -- what were your

 18            observations based upon your viewing of the patient

 19            and the patient's chart, of course?

 20                            A.    May I look at the chart?

 21                            Q.    Of course.    Doctor, if you look

 22            at the chart itself, it's Bates stamped upper left-

 23            hand corner and bottom right-hand corner of every

 24            document.

 25                            A.    Okay.   Give me the number.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page290
                                            Filed 06/14/21    of 18
                                                           Page
                                                                         1308
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 17
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             Q.   Do you want --?

  3                             A.   Give me the numbers of the pages

  4            you want.

  5                             Q.   I don't -- I don't know where --.

  6                             A.   You want me to find my -- my note

  7            and then give you that.     Is that -- is that what

  8            you're saying?

  9                             Q.   I think -- I think you're looking

 10            for page one sixty -- sorry, one eighty-six, one

 11            eighty-seven.    That would be your note, is that what

 12            you're looking for?

 13                             A.   Yes, I think I have two notes in

 14            the chart so.    Well, I have Dr. German's consult

 15            that's one eighty-five.

 16                             Q.   Okay.   What --?

 17                             A.   And I have my notes one eighty-

 18            six and one eighty-seven.

 19                             Q.   Okay.   Let's start with one

 20            eighty-five, Dr. German's note.

 21                             A.   Okay.

 22                             Q.   Can you describe for us what Dr.

 23            German found with regard to his examination as

 24            reflected in the note identified as Bates stamp one

 25            eight five?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page291
                                            Filed 06/14/21    of 19
                                                           Page
                                                                         1309
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 18
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    Well, let me just say to make it

  3            clear, the -- when a neurosurgery consultation is

  4            called the -- one of the -- one of the neurosurgical

  5            residents will see the patient.       And then write a

  6            note and then call the attending on call, who was Dr.

  7            German.

  8                            So most of the note is written by the

  9            resident, but there is a small section down in the

 10            bottom right corner of Dr. German's itself.           So do

 11            you want me to refer to just Dr. German's part?

 12                            Q.    No, Doctor, would you -- would

 13            you tell us what the findings of the resident were?

 14            And then I'll ask you a follow-up question with

 15            regard to Dr. German?

 16                            A.    Okay.   That depends on whether or

 17            not I can read his handwriting, which is going to be

 18            problematic.   Can I read it?

 19                            Q.    Sure.

 20                            A.    Would that be -- okay.         It says

 21            H.P.I. History of Present Illness, four months old,

 22            thirty-six week, which is incorrect.        I think he was

 23            thirty-two week preemie, just as an -- as an aside

 24            for early in the admission, probably one of the

 25            pediatric residents wrote that he was thirty-six


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page292
                                            Filed 06/14/21    of 20
                                                           Page
                                                                         1310
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 19
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            weeks post, you know, premium -- premature and then

  3            crossed it out and put thirty-two.

  4                            So that my resident must have seen it

  5            before it was corrected.

  6                            Q.     Okay.

  7                            A.     Transferred from outside, O.S.H.,

  8            that's outside hospital.       Something I can't read.

  9            Presenting with --?

 10                            Q.     If you can't read it, it's okay.

 11                            A.     Well, it is, and it isn't.

 12            Transferred to A.M.C., C.T., something with --

 13                            Q.     That says --

 14                            A.      -- something -- something slash

 15            S.D.H. which is subdural hematoma.

 16                            Q.     It's bilateral isn't it, B.I.L.

 17            --

 18                            A.     Yes.

 19                            Q.     -- bilateral subdural hematoma.

 20                            A.     Oh, yes, bilateral subdural

 21            hematoma.   Yes.     Then there's past medical history.

 22            Nothing of significance until the exam, can I skip to

 23            that?

 24                            Q.     Yes, please.

 25                            A.     Blood pressure fifty over seventy


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page293
                                            Filed 06/14/21    of 21
                                                           Page
                                                                         1311
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 20
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            slash thirty over forty, flat.      All right.       I'll read

  3            what I can.    G.C.S., which is Glasgow Coma Score,

  4            E.M.V.T., those are the various components eye

  5            opening, movement, verbal response.        And the T means

  6            the patient is intubated.     So patient can't talk even

  7            if the patient could so --.

  8                            Q.    So that note indicates that there

  9            were no such responses?

 10                            A.    Right, the Glasgow Coma Score was

 11            three T.    In other words, one is the lowest possible

 12            score you can get in any of those components.            And so

 13            one plus one plus one equals three.        So that's the

 14            lowest score you can get.

 15                            Q.    And what if anything does that

 16            indicate?

 17                            A.    That indicates the fact the

 18            patient is in deep coma, at best, possibly brain

 19            dead.   And then it says something I can't read, then

 20            no cough, questionable something.       I can't read that.

 21            Anterior -- A.F. stands for anterior fontanelle,

 22            that's the soft spot on the top of the baby's head,

 23            bulging full intense.

 24                            Q.    What -- can you tell me --

 25                            A.    Suture.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page294
                                            Filed 06/14/21    of 22
                                                           Page
                                                                         1312
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 21
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.     -- full intense does that have,

  3            Doctor.

  4                            A.    That is certainly suggestive that

  5            there's a very significant increase.        And that goes

  6            along with the next line which is it says sutures

  7            splayed.    That goes along with increased intracranial

  8            pressure.    The baby's brain is swollen and/or there's

  9            additional mass like subdural, which we know which

 10            has pushed the bone, the bones apart and caused the

 11            fontanelle to be tense and the sutures to be spread

 12            apart abnormally.

 13                            So that's all indication of increased

 14            intracranial pressure from some cause.

 15                            Q.    What are they referring to when

 16            they mentioned suture?     There is no stitches,

 17            correct?

 18                            A.    Yeah, correct.     The cranial

 19            sutures are the term used to define where the baby's

 20            bone plates come together.      In a baby, they're open.

 21            So the head -- so the brain can grow rapidly during

 22            infancy.

 23                            And in adults and in older children,

 24            they become inactive and they are together, they sort

 25            of knit together like -- like, you're -- I'm showing


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page295
                                            Filed 06/14/21    of 23
                                                           Page
                                                                         1313
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 22
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            with my fingers.     So in a baby's case that they're

  3            open.   And in this particular baby's case, they're

  4            spread.

  5                            That's as far as I can get spread them

  6            because of the screen.     But they're spread apart,

  7            normally say they were like this.       In this case, they

  8            were splayed or spread apart.

  9                            Q.    All right.

 10                            A.    So something -- something is

 11            pushing them apart either brain swelling or some

 12            other mass inside the head.

 13                            Q.    And that condition can be caused

 14            from the swelling associated with trauma to the brain

 15            and head?

 16                            A.    Well, it can be caused by a

 17            number of things.    Brain swelling can occur in many

 18            different scenarios, stroke, brain -- brain tumors,

 19            subdurals, epidural hematomas.      A variety of

 20            different things poisoning --.

 21                            Q.    Including trauma, correct?

 22                            A.    Yes, including trauma.

 23                            Q.    Okay.   Thank you, Doctor, can we

 24            move on to the rest of the note?

 25                            A.    We can, then it says imaging


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page296
                                            Filed 06/14/21    of 24
                                                           Page
                                                                         1314
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 23
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            C.T., head, large b slash l which again is bilateral,

  3            mixed density subdural collections.

  4                            Q.    What if any significance does the

  5            mixed density finding have?

  6                            A.    It -- in the past, it was used in

  7            an attempt to try to age the subdurals, but we've

  8            subsequently learned that it's not quite so simple.

  9            I assume at some point, I'm going to look at the C.T.

 10            scan, is that right?

 11                            Q.    Yes.    We can -- we can put that

 12            up for you.   Once we get along a little more.

 13                            A.    So it might be better to discuss

 14            it with -- with the images up.      But basically he's

 15            describing a -- what he saw on the C.T. scan.            He is

 16            not -- so a C.T. scan is an x-ray, and x-rays measure

 17            differences in density.      So for example, blood has a

 18            certain density, cerebral spinal fluid has a certain

 19            density, the brain has a certain density.

 20                            So what he's describing is that he's

 21            seeing a collection or a space outside the brain that

 22            has within it different densities.       Maybe some

 23            density that's greater than the brain, some that's

 24            the same as the brain, some is less than the brain,

 25            you know, he doesn't specify but it's mixed.            There's


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page297
                                            Filed 06/14/21    of 25
                                                           Page
                                                                         1315
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 24
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            not just a single density in the space outside the

  3            brain.

  4                            Q.    And is that an abnormal finding?

  5                            A.    Absolutely.

  6                            Q.    Doctor, can you go on and --

  7                            A.    Yes.

  8                            Q.    -- describe any other significant

  9            items that are identified in the note which you have

 10            Bates stamped one eight five.       I think we may have

 11            lost him.   And we -- we lost you there, Doctor.

 12                            A.    Okay.   Poor chronological exam

 13            and something that I can't read.       Oh, and evidence of

 14            increased I.C.P., that's increased intracranial

 15            pressure on exam.    Emergency subdural tap ending

 16            coax, coagulation studies.

 17                            C.P.S. workup, something ophthalmology

 18            consult, skeletal survey discussed with Dr. German.

 19                            Q.    What's referred to by C.P.S.

 20            workup, is that Child Protective Services?

 21                            A.    Yes.

 22                            Q.    Would that have indicated that

 23            Child Protective Services was contacted by the

 24            hospital?

 25                            A.    I don't know whether he knew


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page298
                                            Filed 06/14/21    of 26
                                                           Page
                                                                         1316
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 25
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            C.P.S. was previously called or if they were, I don't

  3            know that he's just saying there's -- this is

  4            potentially an injury to a child.       You know, there

  5            wasn't a car accident -- trauma event.         So that we

  6            use the --

  7                            Q.    Doctor, did you --

  8                            A.     -- possibility that requires

  9            C.P.S.

 10                            Q.    You keep breaking up and we can't

 11            hear quite your testimony and we only caught a

 12            portion of what you just said.

 13                            A.    Okay.   Is that better?

 14                            Q.    That is, yes.

 15                            A.    All right.    So I'm not certain

 16            whether he knew C.P.S. had previously been called or

 17            whether they had been called.      He was just saying if

 18            it hasn't already been done, consults C.P.S. as well

 19            as do a skeletal survey, which is to look for

 20            fractures and also to call ophthalmology to get an

 21            expert opinion about the -- if there is retinal

 22            injury.

 23                            Q.    Okay.   Doctor, why don't we move

 24            on to your note, which is --

 25                            A.    Okay.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page299
                                            Filed 06/14/21    of 27
                                                           Page
                                                                         1317
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 26
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.     -- one eight six.

  3                            A.     One eight six, one eight seven.

  4            All right.    So --.

  5                            Q.     And can -- can you tell us what

  6            your impression was on Matthew's presentation?

  7                            A.     You want me to skip to my

  8            impression?

  9                            Q.     I would like you to go over the

 10            entire note, but you know that's where I started with

 11            my question.

 12                            A.     Well, and why don't we -- all

 13            right, I don't mean, it's up to you.

 14                            Q.     Describe Matthew's condition as

 15            you found it when he presented to you, if you would?

 16                            A.     Okay.   I saw him on the 22nd of

 17            September 2008 at twelve thirty.       I found him to be a

 18            four months old, black male, admitted and transferred

 19            from Samaritan Hospital in deep coma.         Then I say,

 20            history, parenthesis from the chart end parenthesis,

 21            of several days -- day history of watery diarrhea,

 22            worsening over two day -- over a two-day period.

 23            Mom, noted unresponsiveness on the day of admission

 24            and called emergency services.      There was a past

 25            medical history of a NICU stay at A.M.C.H., that's


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page300
                                            Filed 06/14/21    of 28
                                                           Page
                                                                         1318
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 27
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the Albany Medical Center Hospital secondary to twin

  3            birth and weight gain issues.

  4                             And then I have in parenthesis

  5            question mark.    My exam, no bruising of a scalp or

  6            swelling seen.    Pupils mid position and fixed,

  7            corneal and gag absent, no spontaneous respirations,

  8            no movement of deep pains -- painful stimulation.

  9                             Retinal hemorrhages for ophthalmology.

 10            So ophthalmology consult was called, and they had

 11            seen the patient before I did.      A reflexive, C.T.

 12            scan, I then referred to bilateral hemispheric

 13            subdural hematomas marked separation of sutures, no

 14            fractures seen.

 15                             Impression.    Patient has no evidence

 16            of brain activity parenthesis since admission end

 17            parenthesis, bilateral subdural hematomas without

 18            explanation.   Plan, no neurosurgical intervention.

 19            Indicators suggest skeletal survey.        Consider he --

 20            he in consult.    And I signed my name.

 21                             Q.   Okay.    Doctor, what was your

 22            impression with regard to this patient after your

 23            examination?

 24                             A.   And I thought the patient was

 25            likely brain dead from bilateral subdural hematomas.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page301
                                            Filed 06/14/21    of 29
                                                           Page
                                                                         1319
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 28
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            And we didn't have a history to suggest how they

  3            occurred.   So under those circumstances, we

  4            considered that this might be non-accidental trauma.

  5                            Q.    And what if anything did you do

  6            for Matt, after your examination?

  7                            A.    Nothing, he was essentially brain

  8            dead.   There was no point in doing anything at that

  9            time.

 10                            Q.    And Doctor, did you yourself

 11            render a diagnosis?

 12                            A.    My impression was bilateral

 13            subdural hematomas without explanation.

 14                            Q.    And what was the basis of your

 15            finding of the subdural hematomas?

 16                            A.    My review of the CAT scan and my

 17            examination of the patient.      And my understanding

 18            from the chart of the history.

 19                            Q.    What specific items led you to

 20            that conclusion?

 21                            A.    Well, the history provided no

 22            evidence of a traumatic event.      He didn't fall out of

 23            a second story window; he wasn't in a car accident.

 24            His neurologic exam revealed no function.          So that's

 25            where the brain dead comes from.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page302
                                            Filed 06/14/21    of 30
                                                           Page
                                                                         1320
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 29
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            And the CAT scan revealed, and his

  3            exam was consistent with, traumatic subdural

  4            hematomas.   That and his extensive retinal

  5            hemorrhaging as identified by the ophthalmologist.

  6                            Q.    What significance, if any, did

  7            the retinal hemorrhaging indicate?

  8                            A.    Well, first, let me say that

  9            there are retinal hemorrhages and there are retinal

 10            hemorrhages.   They're all different kinds and to

 11            different extents.    It's been shown over and over

 12            again in the literature that very extensive retinal

 13            hemorrhages that extend to the periphery of the

 14            retina associated with profound neurological deficit

 15            and subdural hematomas is not pathognomonic, but

 16            extremely likely to be associated with non-accidental

 17            trauma.

 18                            Q.    Is that an element --?

 19                            A.    So that -- that's one of the --

 20            that's one of the components that we see extremely

 21            commonly, bilateral extensive retinal hemorrhages in

 22            non-accidental trauma.

 23                            Q.    What type of behavior is caused

 24            by a type of non-accidental trauma, Doctor?

 25                            A.    Well, it's hard to know


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page303
                                            Filed 06/14/21    of 31
                                                           Page
                                                                         1321
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 30
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            absolutely precisely because most of these events are

  3            unwitnessed.    But --.

  4                             MR. KLEIN:   Objection to form.         Thank

  5            you.

  6                             BY MR. GINSBERG:     (Cont'g.)

  7                             Q.   Go ahead, Doctor.

  8                             MR. KLEIN:   You could go ahead, sorry

  9            to interrupt.

 10                             THE WITNESS:    That's okay.      So

 11            certainly, acceleration/deceleration injuries.

 12                             BY MR. GINSBERG:     (Cont'g.)

 13                             Q.   What -- what type of behavior

 14            causes an acceleration/deceleration type of injury in

 15            an infant?

 16                             A.   In an infant?

 17                             Q.   For a child of Matthew's age?

 18                             A.   Well, it might be, you know, an

 19            adult picking a child up and smashing them down on a

 20            flat surface.    It might be rapid, violent shaking.

 21            So the brain accelerates and then rapidly

 22            decelerates.

 23                             Q.   Very similar to concussion?

 24                             A.   Well, --.

 25                             MR. KLEIN:   Objection.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page304
                                            Filed 06/14/21    of 32
                                                           Page
                                                                         1322
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 31
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             MR. GINSBERG:    Withdrawn, it doesn't

  3            matter.

  4                             BY MR. GINSBERG:     (Cont'g.)

  5                             Q.   All right.    Doctor, did there

  6            come a time when you determined what the cause of

  7            Matthew's brain injury was?

  8                             A.   I don't think I ever -- that's

  9            not something that the doctor does.        It's something

 10            that I guess the police do and, you know, potential

 11            criminal case there's an investigation.         I don't -- I

 12            have no idea.

 13                             Q.   Did you ever have a discussion

 14            with Dr. Edge regarding the causation for Matthew's

 15            condition?

 16                             A.   I have no specific recollection

 17            of this whole thing, really.      So I can't say for

 18            sure.     But I wrote a note on the chart and minimum,

 19            I'm certain Dr. Edge, looked at my note but I

 20            probably spoke with him and I think it's reasonable

 21            to believe I did.

 22                             He's is in the PICU and then I was in

 23            the PICU, so we shared the patient, he consulted me.

 24            So I'm certain I spoke to him, but I have no

 25            recollection of it.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page305
                                            Filed 06/14/21    of 33
                                                           Page
                                                                         1323
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 32
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    Did there come a time when a

  3            request that Troy Police Department be called with

  4            regard to the Matthew Thomas matter?

  5                            A.    Again, I didn't -- I didn't call

  6            the police.    I have no idea who did, and I have no

  7            recollection of speaking to the police officers.             So

  8            I really can't answer the question.        I know there was

  9            a time that the police were involved, whether it was

 10            through C.P.S. intervention, or I don't know what the

 11            process was.

 12                            Q.    Doctor, did you ever have a

 13            discussion with any member from the Troy Police

 14            Department during either September 21st through the

 15            23rd?

 16                            A.    I have no recollection of it.

 17            But if you -- if there was some documentation that I

 18            did, then I wouldn't dispute that.

 19                            Q.    And Doctor, drawing your

 20            attention to the document Bates stamp two fifteen,

 21            this chart transition plans.

 22                            A.    Okay.   I have that.      Yes.

 23                            Q.    And Doctor, it states in the

 24            third line, not sentence but the third line.            Patient

 25            has b slash l bilateral subdural hematomas.           And he


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page306
                                            Filed 06/14/21    of 34
                                                           Page
                                                                         1324
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 33
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            is an extremely critical condition, is that correct?

  3                            A.    Yes.

  4                            Q.    And it states a report to C.P.S.

  5            was made earlier, is that correct?

  6                            A.    Yes.

  7                            Q.    And do you see a little further

  8            in the paragraph where it states at request of Dr.

  9            Edge, S.W. contacted the Troy Police and at 2110,

 10            Detective Ron Fountain responded to the PICU?

 11                            A.    I see that, yes.

 12                            Q.    All right.    S.W. is social

 13            worker, correct?

 14                            A.    That's what I interpreted it to

 15            mean.   Yes.

 16                            Q.    And that would be a hospital

 17            staff member, correct?

 18                            A.    Yes.

 19                            Q.    And down just before the last

 20            line.

 21                            A.    In that first section there,

 22            yeah.

 23                            Q.    Yeah.   In the first section S.W.

 24            explained to charge nurse and nurse caring for

 25            patient, that a report must be made to the New York


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page307
                                            Filed 06/14/21    of 35
                                                           Page
                                                                         1325
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 34
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            State child abuse and neglect hotline, if patient

  3            expired, correct?

  4                             A.   Yes.

  5                             Q.   And down in the patient family

  6            interaction section.

  7                             A.   Okay.    Yeah.

  8                             Q.   It states he was apparently

  9            transferred from Samaritan Hospital, has head C.T.

 10            that's a CAT scan, correct?

 11                             A.    Correct.   C.T. stands for CAT

 12            scan.

 13                             Q.    Here which showed a bleed,

 14            possible skull fracture period.        Per M.D. this is a

 15            suspect injury, correct?

 16                             A.    Correct.

 17                             Q.    And Doctor, what was your opinion

 18            that there existed subdural hematomas in Matthew's

 19            brain during the time period of your examine, you, on

 20            September 22nd of 2008?

 21                             A.    Can you repeat the first part of

 22            your question?

 23                             Q.    Sure.

 24                             MR. GINSBERG:    Can we have it read

 25            back, Howard?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page308
                                            Filed 06/14/21    of 36
                                                           Page
                                                                         1326
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 35
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            THE REPORTER:     Yeah.    Yes, I can.

  3            Hang on.

  4                            (Reporter complied with request)

  5                            THE WITNESS:     It's not helping, it's

  6            not helping.

  7                            MR. GINSBERG:     We can't hear very

  8            well, Howard.

  9                            MR. KLEIN:     I can remember it.        Can't

 10            you just repeat it?    What was your opinion that there

 11            was a subdural hematoma upon his admission to Albany

 12            Med on 9/21/08.   Isn't that the question?

 13                            MR. GINSBERG:     What -- what was the

 14            basis of your opinion?     That there was a subdural

 15            hematoma?

 16                            THE WITNESS:     Okay.    Yes.    All right.

 17            That -- that I understand.      The basis was his

 18            clinical exam and the C.T. scans.

 19                            BY MR. GINSBERG:      (Cont'g.)

 20                            Q.    And what specifically did the

 21            C.T. scan indicate to you, Doctor?

 22                            A.    It indicated that he had

 23            bilateral subdural hematomas of mixed density,

 24            increased intracranial pressure as evidenced by the

 25            splayed spread sutures.      So that's the C.T. -- that's


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page309
                                            Filed 06/14/21    of 37
                                                           Page
                                                                         1327
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 36
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the C.T. component of it, of my impression.

  3                            Q.    And you -- you put that

  4            information in Matthew's chart, correct?

  5                            A.    Yes, yes.

  6                            Q.    And it was available to Dr. Edge.

  7            Is that correct?

  8                            A.    Yes.

  9                            Q.    And Doctor, prior to formulating

 10            your diagnosis of subdural hematomas bilaterally, you

 11            didn't consult with any members of the Troy Police

 12            Department.   Is that correct?

 13                            A.    Prior to my impression and my

 14            note, no.   I'm certain that even though I have no --

 15            no direct recollection.      Definitely not.

 16                            Q.    Did you have any discussion with

 17            the Troy Police Department members with regards to

 18            the impressions and diagnosis?

 19                            A.    Again, I have no recollection of

 20            discussing it with the police department.          If they

 21            have a record stating I did, I wouldn't dispute it.

 22            But I have no recollection of it.       And I have -- I

 23            haven't seen any documentation that I did.           That I --

 24            I don't know.

 25                            Q.    Do you recall whether any member


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page310
                                            Filed 06/14/21    of 38
                                                           Page
                                                                         1328
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 37
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            of the Troy Police Department attempted to influence

  3            you in rendering your opinion with regards to this

  4            matter?

  5                            A.    No.    I have no recollect --

  6            again, I have no recollection of discussing anything

  7            with them.   But I can't conceive of -- of anyone, I

  8            had put my opinion down before I spoke to anybody,

  9            though, even Dr. Edge.

 10                            Q.    And the determinations that you

 11            made with regard to Matthew's condition, those were

 12            your findings, correct?

 13                            A.    Yes.

 14                            Q.    And they were not presented to

 15            you by any member of the Troy Police Department?

 16                            A.    No.

 17                            Q.    Doctor, with regard to Matthew's

 18            condition, you provided testimony in criminal matters

 19            against Adrian Thomas, Matthew's father.          Is that

 20            correct?

 21                            A.    Yes.

 22                            Q.    And do you recall testifying in

 23            sum and substance that subdural hematomas in infants

 24            with rare exception are caused by injury, injury that

 25            is very significant and severe?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page311
                                            Filed 06/14/21    of 39
                                                           Page
                                                                         1329
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 38
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             A.   Well, I'd have to review my

  3            testimony.   But I -- sounds like a reasonable thing

  4            to say, yes.

  5                             Q.   Is it -- is that statement

  6            accurate?

  7                             A.   I'd have to review the record.            I

  8            don't have any direct recollection of it.

  9                             Q.   I don't mean accurate, whether

 10            you stated it at the trial, is it accurate in

 11            general?

 12                             A.   Yes.

 13                             Q.   And with regard to the Matthew

 14            Thomas matter, do you recall stating at his -- at the

 15            trial of Adrian Thomas?      So we are talking about a

 16            serious application of force to an infant's skull to

 17            cause this injury?

 18                             A.   Again, I don't have a direct

 19            recollection of my -- of my testimony.         But it sounds

 20            like what I might have said, yes.

 21                             Q.   Would that statement be

 22            consistent with your knowledge and understanding of

 23            this matter --

 24                             A.   Yes.

 25                             Q.    -- involving Matthew Thomas?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page312
                                            Filed 06/14/21    of 40
                                                           Page
                                                                         1330
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 39
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    Yes.

  3                            Q.    Okay.   Thank you, Doctor.         I have

  4            no further questions at the moment.

  5                            MR. KLEIN:    Are you going to ask any

  6            questions, Christina?

  7                            MS. CALABRESE:     Haven't decided, so

  8            I'll wait to the next person.

  9                            MR. KLEIN:    Ms. MITCHELL?

 10                            MS. MITCHELL:     Do you want to --?

 11                            MS. CALABRESE:     I'll tell you that

 12            Michael covered the bases as far as I'm concerned, I

 13            would just ask a couple of follow-up questions, you

 14            know, based upon, I have only one now that's why I'd

 15            rather wait until the end to ask mine.

 16                            MS. PECK:     But I may have some

 17            follow-up.   So if you want to go first I can go after

 18            that, it doesn't matter.

 19                            CROSS EXAMINATION

 20                            BY MR. KLEIN:

 21                            Q.    Good morning, Dr. Waldman.          As

 22            stated earlier -- as stated earlier, I'm Brett Klein

 23            and I represent Adrian Thomas in these civil actions.

 24            Thank you for your time today.

 25                            A.    Sure.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page313
                                            Filed 06/14/21    of 41
                                                           Page
                                                                         1331
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 40
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             Q.   You've had a sufficient time to

  3            look at -- for today's deposition with your attorney?

  4                             A.   I'm not sure what you mean by

  5            sufficient time.

  6                             Q.   Well, did you have an opportunity

  7            to review for today's -- did you have an opportunity

  8            to review your prior testimony from both 2009 and

  9            2014 in the criminal trials?

 10                             A.   Yes, yes.

 11                             MR. KLEIN:   And do we want to offer

 12            them as an exhibit everybody or can we just ask him

 13            generally if he acknowledges that the testimony was

 14            -- if he's standing by it or if he's got any issues

 15            with what he said?

 16                             MR. GINSBERG:    I want to ask just in a

 17            general sense.

 18                             MR. KLEIN:   Sure.

 19                             BY MR. KLEIN:    (Cont'g.)

 20                             Q.   The testimony that you were

 21            provided to review from the 2009 trial, did you have

 22            a chance to review it?

 23                             A.   Yes, I did.

 24                             Q.   And to the best of your

 25            knowledge, did you testify truthfully and accurately


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page314
                                            Filed 06/14/21    of 42
                                                           Page
                                                                         1332
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 41
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            in that trial?

  3                             A.    Yes, yes.

  4                             Q.    Is there anything in regards to

  5            the 2009 trial, that you can recall that you wish to

  6            correct, clarify, or change today for whatever

  7            reason, if any?

  8                             A.    Not that I can think of at this

  9            time.

 10                              Q.   Okay.   You were also given a copy

 11            of the 2014 criminal trial testimony, correct?

 12                              A.   Yes, yes.

 13                              Q.   And was every -- did you have a

 14            chance to review it?

 15                              A.   Yes, yes.

 16                              Q.   And was everything that you

 17            stated under oath at that trial true and accurate to

 18            the best of your recollection?

 19                              A.   Yes.

 20                              Q.   And is there anything that came

 21            up in the second trial, either that you were asked or

 22            that you said that you wish to change, clarify, or

 23            correct, if any?

 24                              A.   Not that I can recall at this

 25            point.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page315
                                            Filed 06/14/21    of 43
                                                           Page
                                                                         1333
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 42
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    Okay.   And you've had a chance to

  3            look at the Albany Medical Center chart, including

  4            the two pages that you wrote and the one page that

  5            Dr. German wrote, correct?

  6                            A.    Yes.

  7                            Q.    Among others, okay.       You've

  8            looked at the C.T. scan, correct?

  9                            A.    I have, yes.

 10                            Q.    And the -- and the relevant

 11            report that goes along with it?

 12                            A.    Yes.

 13                            Q.    Have you reviewed any other

 14            documents or testimony to prepare for today's

 15            deposition?

 16                            A.    I believe, although I can't

 17            recall much of it.    I believe I had reviewed Dr.

 18            Edge's, testimony -- deposition.

 19                            Q.    Okay.   His deposition from a few

 20            weeks ago in the civil case?

 21                            A.    I believe that's correct.          Yes.

 22                            Q.    Okay.   And did that refresh your

 23            recollection of events that you didn't previously

 24            recall before reading his deposition?

 25                            A.    I don't think so.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page316
                                            Filed 06/14/21    of 44
                                                           Page
                                                                         1334
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 43
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    Okay.   There are certain things

  3            that -- certain involvement that Dr. Edge had in this

  4            case that you were not involved in, correct?

  5                            A.    I'm certain of that, yes.

  6                            Q.    You had one consult on September

  7            22nd, as previously noted and that exam and the

  8            review of the C.T. it's fair to say that's the extent

  9            of your involvement with this case, correct?

 10                            A.    Not quite.    I saw him a second

 11            time, I believe the next day.

 12                            Q.    Okay.   And was that --

 13                            A.    I have no reason to --.

 14                            Q.    -- is that after the skeletal

 15            survey was reviewed?

 16                            A.    I'd have to go back and see if

 17            that was after -- that was one eighty --.

 18                            MR. GINSBERG:     One eight seven.

 19                            THE WITNESS:     Yes, it was after the

 20            skeletal survey.

 21                            BY MR. KLEIN:     (Cont'g.)

 22                            Q.    Okay.   And what -- what -- can

 23            you just describe the nature of that exam or what you

 24            did and what you found?

 25                            A.    Well, it was on 9/23/08 at eight


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page317
                                            Filed 06/14/21    of 45
                                                           Page
                                                                         1335
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 44
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            in the morning, exam consistent with brain death,

  3            skeletal survey negative for fractures foraminal test

  4            today.   And that's it.

  5                            Q.     Okay.   So -- so just trying to

  6            just confirm that I'm aware of the full universe or

  7            involvement here.     Is it accurate to say that you

  8            reviewed the C.T., personally, you did an exam, you

  9            did a -- you had an interaction with the patient on

 10            September 22nd.

 11                            And then another one on September --

 12            I'm sorry, September 22nd and then another one on

 13            September 23rd.      Is that correct?

 14                            A.     The best of my recollection,

 15            that's the only written documented involvement I had.

 16                            Q.     Okay.   You have no reason to

 17            think there was any other, correct?

 18                            A.     Well, I -- well, I don't have any

 19            recollection whether I ever talked to anybody else

 20            about it, you know, for example, Dr. Edge or one of

 21            the other doctors or anyone else I --.

 22                            Q.     Okay.   And you reviewed your

 23            testimony from 2009 and 2014.      That didn't refresh

 24            your memory as to any such conversations, correct?

 25                            A.     I believe that is true.        Yes.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page318
                                            Filed 06/14/21    of 46
                                                           Page
                                                                         1336
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 45
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    Okay.    So with regard to your --

  3            you testified in the first criminal trial that you

  4            had never seen a subdural hematoma resembling Matthew

  5            Thomas's scan associated with a vaginal birth.            Do

  6            you recall giving testimony to that effect?

  7                            A.    Yes.

  8                            Q.    Isn't it true that you only --

  9            you only see -- isn't it true that you don't see

 10            apparently normal newborns.      So you wouldn't have an

 11            opportunity to see such scans associated with that in

 12            newborns?

 13                            MS. CALABRESE:     Object to form.

 14                            MS. PECK:     Same objection.

 15                            MR. KLEIN:     You can answer.

 16                            A.   Well, if -- it's inconceivable to

 17            me that a newborn would have a C.T. scan, first of

 18            all, that showed something like this that I wouldn't

 19            recall.   I mean, no neonatologist is going to get a

 20            report that there are massive bilateral subdural

 21            hematomas on a neonate's CAT scan and not call

 22            neurosurgery.   So correct.

 23                            BY MR. KLEIN:     (Cont'g.)

 24                            Q.    The Albany medical records

 25            indicated that Matthew Thomas was suffering from


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page319
                                            Filed 06/14/21    of 47
                                                           Page  898of 189
                                                                          1337
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 46
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            coagulopathy while they’re in part due to low

  3            platelet count.     Did you recall that?

  4                            A.      I do recall that.

  5                            Q.      Now here, coagulopathy makes it

  6            more likely that any blood in the subdural collection

  7            was due to -- was due to fluid from an effusion due

  8            to infection.   Wouldn't you agree with that?

  9                            A.      Could you please say that one

 10            more time?   I didn't --

 11                              Q.    Sure.

 12                              A.     -- quite get it.

 13                              Q.    Would it be fair to say that due

 14            to the fact that there was coagulopathy present, that

 15            it's more likely than not that any fluid in this

 16            subdural collection was due to fluid from effusion

 17            due to infection rather than from blood --

 18                              MS. CALABRESE:     Object to form.

 19                              MS. PECK:     Object to form.

 20                              BY MR. KLEIN:    (Cont'g.)

 21                              Q.     -- rather than from -- due to a

 22            subdural hematoma?

 23                              MS. PECK:     Same objection.

 24                              A.   Again, I'm not sure I understand

 25            what you're asking, if you're asking --.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page320
                                            Filed 06/14/21    of 48
                                                           Page
                                                                         1338
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 47
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            BY MR. KLEIN:     (Cont'g.)

  3                            Q.    The C.T. scan shows, subdural

  4            collection of -- of some type of fluid, correct?

  5                            A.    Yes.

  6                            Q.    And the -- that could be blood,

  7            it could be -- it could be other things as well

  8            though, correct?

  9                            A.    Right.     So you're -- you're

 10            asking me if this were an effusion and then the

 11            patient developed a coagulopathy, could their blood

 12            enter into the effusion, is that the question you're

 13            trying to ask me?

 14                            Q.    Sure.     Let's go with that.

 15                            MS. PECK:      Object to form.

 16                            A.    Okay.     Anything is possible.

 17                            BY MR. KLEIN:     (Cont'g.)

 18                            Q.    On the C.T. in this case, the --

 19            withdrawn, I'm sorry, one second please.

 20                            Did the C.T. in this case indicate

 21            that evidence by a shade of grey that -- that there

 22            was white blood cells mix with pus and protein in the

 23            collection, which would be due to infection?

 24                            MS. CALABRESE:      Objection to form.

 25                            MS. PECK:      Same objection.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page321
                                            Filed 06/14/21    of 49
                                                           Page
                                                                         1339
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 48
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    As I've stated, this was a mixed

  3            density collection.    When you look at the C.T. scan,

  4            you're looking at various densities, you're not

  5            looking at white blood cells or pus or red blood

  6            cells and blood.     You're looking at densities and

  7            putting together the history and the exam and the

  8            scan and trying to come up with the best explanation.

  9                            Could there have been some -- an

 10            effusion or pus in that collection, I can't say yes

 11            or no based on the C.T. scan.

 12                            BY MR, KLEIN:     (Cont'g.)

 13                            Q.    Right.    And you can't say based

 14            on the C.T., whether any blood was due to infection

 15            rather than due to a subdural hematoma, can you?

 16                            A.    No, the C.T. scan doesn't --

 17            doesn't determine what the mechanism of the injury or

 18            disease is, it's just a reflection of the tissues.

 19                            Q.    Now, you looked at some of the

 20            C.T. images at the trial.      Do you recall that?

 21                            A.    I don't recall it.       But I did.

 22            Yes.

 23                            Q.    It was in your testimony?

 24                            A.    I reviewed the testimony.          Yes.

 25                            Q.    And if you need to pull them up,


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page322
                                            Filed 06/14/21    of 50
                                                           Page
                                                                         1340
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 49
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            we can.   But you talked about image five of twenty-

  3            eight, showing abnormalities in the frontal areas.

  4            And in particular, you said the right side appeared a

  5            little lighter and denser than the left, showed more

  6            dark around the temporal lobe and also some fluid.

  7                            Do you remember generally giving

  8            testimony to that effect, about those findings?

  9                            A.    Again, based on reviewing my

 10            testimony, I vaguely remember that, yes.

 11                            Q.    Okay.   Nothing abnormal about

 12            those findings, correct?

 13                            A.    Nothing abnormal?

 14                            Q.    Correct.

 15                            A.    That's entirely abnormal.

 16                            Q.    What's abnormal about it?

 17                            A.    Well, you normally don't see

 18            those fluid collections in a normal infant scan.

 19                            Q.    But they're not indicative of

 20            what -- well, withdrawn.

 21                            You talked about image six and nine

 22            showing more fluid surrounding the brain that does

 23            not resemble the normal C.S.F., Cerebral Spinal Fluid

 24            that usually occupies the area.       Isn't it true that

 25            the only place where the fluid looks abnormal was at


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page323
                                            Filed 06/14/21    of 51
                                                           Page
                                                                         1341
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 50
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the top left?

  3                             A.   That's not my recollection.           But

  4            --.

  5                             Q.   Did you look at the C.T. before

  6            -- before testifying today?

  7                             A.   Yes.    But it was, you know,

  8            almost weeks, weeks ago, I don't have it.          And I

  9            don't think I have the availability unless you

 10            project it to see it where I am now.

 11                             Q.   Okay.

 12                             A.   We got to see them, but we don't

 13            have -- we don't have, you know, a slide and the --

 14            and the computers to see it.

 15                             Q.   I hear you.     But just -- just in

 16            terms of that question, just in terms of your

 17            recollection, your best recollection, isn't it true

 18            -- true that the only place where the fluid looked

 19            abnormal was at the top left?      The fluid was a higher

 20            density there.    And those would be due to cell

 21            changes due to meningitis and infection on any

 22            subdural?

 23                             MS. CALABRESE:    Object to form.

 24                             MS. PECK:    Object to form.

 25                             THE WITNESS:    The document --.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page324
                                            Filed 06/14/21    of 52
                                                           Page
                                                                         1342
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 51
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             MR. GINSBERG:    Object to the form.

  3                             THE WITNESS:     -- that's definitely not

  4            my recollection.      No.

  5                             BY MR. KLEIN:    (Cont'g.)

  6                             Q.    Okay.   Do you know whether there

  7            was pneumococcal disease, meningitis, and evidence of

  8            that -- those types of infection in this infant?

  9                             A.    Not at the time I was caring for

 10            the child.

 11                             Q.    Okay.

 12                             A.    That --.

 13                             Q.    You just come to learn afterwards

 14            that he -- that he was positive for pneumococcal

 15            disease?

 16                             A.    No, that's not my recollection.

 17            My recollection is that prior to his transfer to the

 18            Albany Medical Center Hospital, a blood culture was

 19            drawn at Samaritan Hospital.      And it's my

 20            recollection that it's subsequently proved

 21            streptococcus.

 22                             I know that he had blood cultures at

 23            the Albany Medical Center Hospital, that, if I'm

 24            correct, the final report after five days was

 25            negative.    That's -- that's -- pneumococcal, I don't


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page325
                                            Filed 06/14/21    of 53
                                                           Page
                                                                         1343
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 52
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            remember seeing that anywhere.      That's not my

  3            recollection.

  4                             MS. PECK:   Howard, can you please

  5            repeat his last response?

  6                             THE REPORTER:    Yeah.    One moment.

  7                             (Reporter complied with request)

  8                             MS. PECK:   Thank you.

  9                             THE REPORTER:    You're welcome.

 10                             BY MR. KLEIN:    (Cont'g.)

 11                             Q.   If you knew that the patient had

 12            pneumococcal disease, including evidence of a

 13            meningitis infection, would that change your opinion

 14            about anything with regard to the cause of the fluid

 15            collection?

 16                             MS. CALABRESE:    Object to form.

 17                             MS. PECK:   Object to form.

 18                             A.   Well, based on just that, I would

 19            say no, I -- I would still believe that this was a

 20            trauma case.    Children who were in deep coma, can't

 21            protect their airways.     And this child then had

 22            multiple organ failure, respiratory problems,

 23            required ventilation, was alive for several days in

 24            that state and secondary infections can occur.

 25                             So that's one thing, but we don't know


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page326
                                            Filed 06/14/21    of 54
                                                           Page
                                                                         1344
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 53
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the onset of the infection.      Number two, it's

  3            certainly possible that a child can have two

  4            problems.   In other words, the child may have been

  5            sick before any injury.     But because of the illness

  6            him screaming, inconsolable crying, and in my

  7            experience with these types of cases, that sometimes

  8            can precipitate a parent to act violently towards the

  9            -- toward the infant.

 10                            I'm just obviously speculating, but

 11            the child may have had an infection before, may have

 12            had an infection after.     But my primary concern was

 13            that this child had traumatic subdural hematomas.

 14                            BY MR. KLEIN:     (Cont'g.)

 15                            Q.    When you say traumatic -- when

 16            you say traumatic, you don't know for a fact whether

 17            he did or didn't, correct?

 18                            A.    I don't know for a fact, what?

 19                            Q.    Whether there was in fact, a

 20            traumatically -- when you say trauma, it could be

 21            birth-related trauma, it could be trauma other than

 22            by abuse, correct?

 23                            MR. GINSBERG:     Object to the form.

 24                            BY MR. KLEIN:     (Cont'g.)

 25                            Q.    You don't know what -- what form


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page327
                                            Filed 06/14/21    of 55
                                                           Page
                                                                         1345
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 54
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            of mechanism caused what you determine -- what you

  3            believed to be a traumatic subdural hematoma?

  4                            A.     It's true.   I didn't witness any

  5            trauma.   But just to clarify your question, that it

  6            included birth trauma.     This had nothing to do with

  7            birth trauma.

  8                            Q.     Image ten showed, according to

  9            your testimony, subdural space, and subarachnoid

 10            space, one side appeared denser and had darker fluid

 11            than the other.      Do you recall that generally?

 12                            A.     Generally, yes.

 13                            Q.     Isn't it true that that is the

 14            characteristic appearance of effusion that would

 15            occur in infection and would not be characteristic of

 16            blood in the space?

 17                            A.     No, no, you can't -- you can't --

 18            you can't look at a scan in isolation and say that --

 19            what it is in the subdural space.       The subdural

 20            effusions typically are high protein, so they do

 21            change the density, they make it less dark and more

 22            gray.

 23                            In my experience with subdural

 24            effusions, I've never seen any, that are remotely

 25            this size.   And effusion, clinically, it's -- it's


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page328
                                            Filed 06/14/21    of 56
                                                           Page
                                                                         1346
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 55
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            very different.    I don't believe that.       Although, I

  3            mean, I don't know what the autopsy showed, I don't

  4            know whether something grew from the subdural fluid.

  5                            But my immediate inference that this

  6            was predominantly and certainly it was at that time

  7            that this was a subdural hematoma.

  8                            Q.     Now as you just alluded to on

  9            C.T. scans, acute clotting of blood is typically

 10            bright white and -- correct?

 11                              A.   Yes.

 12                              Q.   And blood, I think you said old

 13            blood can resemble cerebral spinal fluid, do you

 14            recall saying something like that?

 15                              A.   I'm sorry, we're having a little

 16            difficulty.   Could you repeat that one?

 17                              Q.   Do you recall saying that blood

 18            can resemble cerebral spinal fluid on the C.T.?

 19                              A.   Blood can resemble -- yes, very

 20            old -- old blood can -- approaches the appearance of

 21            cerebral spinal fluid.

 22                              Q.   Right.   So here, it -- if it was

 23            an acute subdural here, it should look bright white

 24            at the time you saw it, correct?

 25                              A.   Not necessarily no.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page329
                                            Filed 06/14/21    of 57
                                                           Page
                                                                         1347
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 56
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    Well, if we're talking about an

  3            acute subdural that was inflicted within a week or

  4            days or couple of weeks of the -- of the C.T., it

  5            should look bright white, would you agree with that

  6            or not?

  7                            A.    No.

  8                            Q.    Why not?

  9                            A.    Okay.    It's common, particularly

 10            in infants, children, that the trauma tears the

 11            arachnoid, which is the outer membrane that contains

 12            the cerebral spinal fluid.       As well as a vein --

 13            veins that pass through the subdural space to the

 14            dura.

 15                            So you can get acute blood mixing with

 16            cerebral spinal fluid.      And that reduces the overall

 17            density, it dilutes, if you will, the blood.            So it

 18            doesn't always look bright.       There may be bright

 19            components or maybe gray components there may be

 20            darker components.

 21                            Years ago, we were classically taught

 22            that acute blood and this is still true for the most

 23            part in most adult's subdural hematomas, that an

 24            acute subdural hematoma is bright, it's white.

 25            Subacute subdural hematomas are more gray closer to


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page330
                                            Filed 06/14/21    of 58
                                                           Page
                                                                         1348
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 57
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the -- the density of a normal brain.

  3                            And chronic subdurals are dark, more

  4            closely resembling C.S.F.     But again, in infants,

  5            it's not uncommon for this to get mixed that the --

  6            to blood to get mixed with the cerebral spinal fluid,

  7            thereby reducing the density of the fluid.           And it

  8            makes it impossible to age it.

  9                            Q.    What's your basis of saying it's

 10            acute blood in this case?

 11                            A.    The bright white portion of the

 12            subdural is certainly suggestive of acute blood.

 13                            Q.    Okay.   But isn't it true it

 14            doesn't look bright white in this case?

 15                            A.    No, there's some components of it

 16            that look bright white.

 17                            Q.    So we'll actually show that in a

 18            few moments if we can get -- if we can work that out.

 19                            A.    Okay.

 20                            Q.    Now in terms of the subdural

 21            hematoma, we're talking about here, are you positing

 22            that there must be -- I think you just said tears of

 23            the -- of the arachnoid membrane.       Is that your

 24            theory?

 25                            A.    Yes.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page331
                                            Filed 06/14/21    of 59
                                                           Page
                                                                         1349
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 58
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    What evidence do you have of that

  3            here?

  4                            A.    What evidence do I have?

  5                            Q.    Yeah, if any?

  6                            A.    The only evidence I have is the

  7            appearance of the C.T. scan.      You can't image the

  8            arachnoid.

  9                            Q.    Right.     So an acute subdural

 10            hematoma due to child abuse looks like a big white

 11            thing on a C.T., correct?

 12                            MS. CALABRESE:      Object to form.

 13                            MR. PECK:      Object to form.

 14                            A.    I have testified to this just a

 15            minute ago, that it may, but it may also mix with the

 16            cerebral spinal fluid and be diluted.

 17                            BY MR. KLEIN:     (Cont'g.)

 18                            Q.    Okay.     You said at trial that the

 19            majority of patients who die from short falls die

 20            from epidural hematomas.       Do you recall saying that?

 21                            A.    That's not what I said.

 22                            Q.    What do you recall you said?

 23                            A.    You mean, I'm sorry, the majority

 24            of patients who die from short falls, is that the

 25            question, the majority of patients --.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page332
                                            Filed 06/14/21    of 60
                                                           Page
                                                                         1350
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 59
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    That's my understanding of what

  3            you've testified to, yeah.

  4                            A.    I thought you said the majority

  5            of patients who have short falls die from -- yes,

  6            short falls defined as three or four feet.

  7                            Q.    And this is not a case involving

  8            an epidural hematoma, correct?

  9                            A.    That's correct.

 10                            Q.    Okay.    Now with regard to the

 11            retinal hemorrhage and other neurological conditions,

 12            they're not specific to child abuse, correct?            You

 13            talk about retinal hemorrhage, but we know that it

 14            can be due to infection as well, correct?

 15                            MS. PECK:     Object to form.

 16                            A.    Retinal hemorrhages can take many

 17            forms.   And one form may suggest Diagnosis A, another

 18            form may suggest Diagnosis B.      Extensive bilateral

 19            subdural hematomas are, I think, I'm not sure if I

 20            used the word exclusively.      Nothing is a hundred

 21            percent.

 22                            But the vast, vast majority of

 23            patients who have bilateral extensive retinal

 24            hemorrhages have traumatic subdural hematomas.            You

 25            can have less -- much -- less extensive in different


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page333
                                            Filed 06/14/21    of 61
                                                           Page
                                                                         1351
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 60
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            shapes and involvement of the retinal layers with

  3            hemorrhage in other kinds of diseases.

  4                             But what we saw in Matthew Thomas's

  5            retinas is seen almost exclusively on subdural

  6            hematomas.     I hope Mr. Ginsberg doesn't have COVID-

  7            19.

  8                             MR. GINSBERG:    I do not.     But if you

  9            watch I keep sanitizing my hands and occasionally my

 10            face.

 11                             THE WITNESS:    Okay.   I'm glad to hear

 12            that.

 13                             MR. GINSBERG:    Well, thank you for

 14            your concern, Doctor.

 15                             THE WITNESS:    That's what doctors do.

 16                             BY MR. KLEIN:    (Cont'g.)

 17                             Q.   The bulging of the sutures, isn't

 18            it fair to say that that's consistent with infection?

 19                             A.   Say that again, bulging of --.

 20                             Q.   Of sutures that you described

 21            earlier.     Isn't it fair to say that that's consistent

 22            with infection?

 23                             A.   Well, first of all, I didn't use

 24            the term bulging of the sutures, bulging of the

 25            anterior fontanelle.     And spreading or splaying of


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page334
                                            Filed 06/14/21    of 62
                                                           Page
                                                                         1352
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 61
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the sutures --

  3                             Q.   Okay.

  4                             A.   -- is a -- is a sign of swelling

  5            of the brain or the presence of a intracranial mass,

  6            taking up space and causing an increased intracranial

  7            pressure of it from any -- any cause.

  8                             MS. CALABRESE:    Can we --

  9                             BY MR. KLEIN:    (Cont'g.)

 10                             Q.   That can be from infection,

 11            correct?

 12                             A.   Yes, I mean, you -- you can, in

 13            certain circumstances, get increased -- certainly,

 14            increased intracranial pressure from an infection of

 15            the brain or the meninges.       Yes.

 16                             MR. KLEIN:   Sorry, Christina, what's

 17            up?

 18                             MS. CALABRESE:    Can we go off the

 19            record for a quick moment?

 20                             MR. KLEIN:   Sure.

 21                             THE REPORTER:    Okay.    One moment.

 22                             (Off the record, 11:30 a.m.)

 23                             (On the record, 12:00 p.m.)

 24                             MR. KLEIN:   Is everyone ready to

 25            proceed?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page335
                                            Filed 06/14/21    of 63
                                                           Page
                                                                         1353
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 62
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MR. GINSBERG:     Yes.

  3                            MR. KLEIN:    Okay.    I'm going to ask

  4            that the court reporter just read back the last

  5            substantive question and the answer, please?

  6                            THE REPORTER:     All right.      Just one

  7            moment.

  8                            (Reporter complied with request

  9            played)

 10                            THE REPORTER:     That was the last

 11            question and answer.

 12                            MR. KLEIN:    I think -- I think I went

 13            a little further than that.      Because I -- when

 14            Christina spoke, I still continued the follow-up part

 15            of the question, and then we broke.

 16                            THE REPORTER:     Okay.    Give me just a

 17            second.

 18                            (Reporter complied with request)

 19                            THE REPORTER:     Was that what you

 20            needed to hear, sir?

 21                            MR. KLEIN:    Yes, thank you.

 22                            THE REPORTER:     You're welcome.

 23                            BY MR. KLEIN:     (Cont'g.)

 24                            Q.    So Doctor, I just want to follow-

 25            up to that last answer and then I'll let you clarify


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page336
                                            Filed 06/14/21    of 64
                                                           Page
                                                                         1354
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 63
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            anything you want to clarify?

  3                            A.    Fine.

  4                            Q.    In this case, did you come to

  5            learn, up until today, from any source that there

  6            was, in fact, a meningeal infection found by Dr.

  7            Sikirica, the medical examiner?

  8                            A.    Well, I did not have Dr.

  9            Sikirica's autopsy findings.      I requested them but

 10            never received them.    So --

 11                            Q.    Well --

 12                            A.     -- I'm not sure I did, and I

 13            have no recollection of knowing that.

 14                            Q.    If you knew that, would that have

 15            changed your opinion as to the potential causes here

 16            of the subdural collection?

 17                            A.    I would have to know the -- the

 18            details, you know, it's not a yes or no question.              I

 19            have -- I'd have to -- I'd have to see what in detail

 20            he reported.

 21                            Q.    Okay.   He -- he finds in his

 22            anatomic diagnosis, I'll -- I'll represent this, I'm

 23            reading from it.     Blood culture positive for

 24            streptococcus pneumonia on initial presentation to

 25            hospital nine twenty-one zero eight        So even though


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page337
                                            Filed 06/14/21    of 65
                                                           Page
                                                                         1355
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 64
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            you said that you -- your understanding is the

  3            cultures came back negative, does this -- does this

  4            suggest otherwise, taking my representation as

  5            accurate?

  6                            MR. GINSBERG:     Object to the form.

  7                            A.    Well, that -- that's what I

  8            wanted to correct.    I said streptococcus, but my

  9            recollection was, I should have said staphylococcal.

 10            There was a -- there was a blood culture from Albany

 11            Med that was negative after five days for strep or

 12            staph aureus.

 13                            That -- that was my correction.           And

 14            your -- your question is, could you please repeat it?

 15                            BY MR. KLEIN:     (Cont'g.)

 16                            Q.    Did you -- did you come -- did

 17            you know or come to learn that he tested positive the

 18            patient for streptococcus pneumonia?

 19                            A.    I have no recollection of that.

 20            I don't -- I don't recall.

 21                            Q.    Okay.   Assuming for purposes of

 22            this question, that Dr. Sikirica found that there was

 23            sepsis, including strep pneumonia and meningeal

 24            infection.   Would that impact your opinion as to the

 25            cause of the subdural collection of fluid, had you


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page338
                                            Filed 06/14/21    of 66
                                                           Page
                                                                         1356
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 65
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            known that?

  3                            MR. GINSBERG:     Object to the form.

  4                            MS. CALABRESE:     Object to the form.

  5                            MS. PECK:     Object to the form.

  6                            A.    Based on just what you just said,

  7            that's not enough information for me to change my

  8            opinion.   As I -- I think I testified a little bit

  9            earlier that the child may have had an infection

 10            and/or the child developed an infection subsequent to

 11            being unconscious.    So what --.

 12                            BY MR. KLEIN:     (Cont'g.)

 13                            Q.    I mean, the child may have had an

 14            infection, correct?

 15                            A.    Whether or not the child --

 16                            MS. CALABRESE:     Hold on, object to the

 17            form.

 18                            A.    (Cont’g.) -- had an infection

 19            before or after, doesn't necessarily mean the child

 20            died because of those actions.      The child still may

 21            have died and in my opinion died from increased

 22            intracranial pressure due to the subdural hematomas.

 23                            BY MR. KLEIN:     (Cont'g.)

 24                            Q.    Okay.    And you don't know for a

 25            fact either way, correct?      What caused the death?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page339
                                            Filed 06/14/21    of 67
                                                           Page
                                                                         1357
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 66
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             MS. CALABRESE:    Object to the form.

  3                             A.   What -- what factor you --.

  4                             BY MR. KLEIN:    (Cont'g.)

  5                             Q.   Well, you don't know whether

  6            sepsis caused the death or the subdural hematoma.

  7            You just know -- based on your limited interactions,

  8            of seeing the patient two times and in looking at the

  9            C.T., correct?

 10                             A.   It's my opinion that that child

 11            died from increased intracranial pressure related to

 12            the subdural collections.

 13                             Q.   Now, looking at the C.T. report

 14            itself, that was prepared by a radiologist, correct?

 15                             A.   Yes, Dr. Eric Hoover.

 16                             Q.   Okay.   And you're not a

 17            radiologist, you're a neurosurgeon, correct?

 18                             A.   Correct.

 19                             Q.   Typically, when there's a consult

 20            in a case like this, would there typically be a

 21            neurology consult, rather than neurosurgery consult

 22            for a patient like Matthew Thomas?

 23                             A.   Typically, it would be

 24            neurosurgical, because oftentimes subdurals require

 25            surgical intervention.     Neurologists, in this case, I


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page340
                                            Filed 06/14/21    of 68
                                                           Page
                                                                         1358
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 67
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            believe, was consulted to do the -- I think the --

  3            the brain death determination.

  4                            Q.    And do you know who that was?

  5                            A.    No.   I don't know, no.

  6                            Q.    Okay.   Was there a pediatric

  7            neurologist on call at that time or available at that

  8            time that you can remember?

  9                            A.    There always is, but I don't know

 10            specifically --

 11                            Q.    Okay.

 12                            A.     -- who -- who that might have

 13            been.

 14                            Q.    Things like subdural brain

 15            effects, those are the kind of things that are

 16            usually dealt with between radiology and neurology,

 17            maybe infectious disease, correct?       But not typically

 18            neurosurgery, would you agree with that?

 19                            MS. CALABRESE:     Object to the form.

 20                            A.    No, I don't agree with that at

 21            all.

 22                            BY MR. KLEIN:     (Cont'g.)

 23                            Q.    Okay.   Now, the -- the C.T.

 24            report, in this case, it's -- it's part of that

 25            document that you were looking at before, let's turn


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page341
                                            Filed 06/14/21    of 69
                                                           Page
                                                                         1359
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 68
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            to that page.

  3                            A.     The -- the chart you mean?

  4                            Q.     Yes.    And if you could -- well I

  5            guess let's   say the page number for the record, I

  6            think I have it here.      It's eight T three twenty-

  7            eight.

  8                            A.     Okay, I have it.

  9                            Q.     Okay.    I was getting to it.        Do

 10            you agree it doesn't say subdural hematoma, correct?

 11                            A.     Correct.

 12                            Q.     And that's a specific term of art

 13            that -- it's like radiology one zero one, you know,

 14            what you -- you describe something as a subdural

 15            hematoma or you don't, right?

 16                            MR. GINSBERG:     Object to the form.

 17                            MS. CALABRESE:     Object to form.

 18                            A,     Well, on the one hand you're

 19            trying to say I'm not a radiologist and you're trying

 20            to tell me how they are supposed to write their --

 21            their report.   So I can't --.

 22                            BY MR. KLEIN:     (Cont'g.)

 23                            Q.     No, I'm not trying to say you're

 24            not a -- your -- your training, you certainly read

 25            C.T.'s correct?      You have a lot of experience with


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page342
                                            Filed 06/14/21    of 70
                                                           Page
                                                                         1360
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 69
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            that.

  3                            A.    I don't -- I don't read them

  4            officially, I read them for my purposes --

  5                            Q.    Right.

  6                            A.     -- and decisions regarding

  7            patients I'm caring for.

  8                            Q.    Okay.

  9                            A.    So the radiologist's report

 10            describes what he sees anatomically, not

 11            physiologically.     In other words, he's saying there

 12            are collections of fluid.      He's not describing what

 13            that fluid is, although -- I'm -- I'm done, yes.

 14                            Q.    Right.    And the fluid of

 15            collection could be effusion related to infection,

 16            correct?

 17                            A.    He doesn't say, but could it be?

 18            Again, I -- as I testified earlier, I've never seen a

 19            fluid -- a fluid collection just from an effusion --

 20                            Q.    Well --

 21                            A.     -- remotely that size, so --.

 22                            Q.    Okay.    Doesn't mean --?

 23                            A.    It's unlikely but possible.

 24                            Q.    Right.    And this patient had

 25            coagulopathy, correct?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page343
                                            Filed 06/14/21    of 71
                                                           Page
                                                                         1361
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 70
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    This patient had coagulopathy but

  3            had no signs of bleeding.

  4                            Q.    Couldn't that fluid have had some

  5            blood in it, and it has -- thus had the appearance in

  6            the C.T.?

  7                            MS. CALABRESE:     Objection.

  8                            A.    You asked -- you asked me that

  9            question right at the beginning, and my answer was

 10            anything is possible.

 11                            BY MR. KLEIN:     (Cont'g.)

 12                            Q.    Okay. The radiologist doesn't

 13            call it a subdural hematoma here.       Do you know why

 14            they didn't specifically call it a subdural hematoma?

 15                            A.    I have no idea what goes on in

 16            Eric Hoover's mind.

 17                            Q.    Do you believe that it's more

 18            likely than not because he wasn't sure based on the

 19            C.T., whether it was a subdural hematoma?

 20                            MS. CALABRESE:     Object to the form --

 21                            MR. GINSBERG:     Object to the form.

 22                            MS. CALABRESE:     -- that is -- yeah,

 23            that's not a proper question.

 24                            BY MR. KLEIN:     (Cont'g.)

 25                            Q.    How do you -- how do you -- how


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page344
                                            Filed 06/14/21    of 72
                                                           Page
                                                                         1362
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 71
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            do you jump to the conclusion that this is an acute

  3            subdural hematoma from the findings of this radiology

  4            report?

  5                            MR. GINSBERG:     Object to the form.

  6                            MS. CALABRESE:     Join.

  7                            A.    It was my interpretation of the

  8            scan that this was a subdural hematoma.         I'm not sure

  9            that I ever -- at the time I was involved with the

 10            case, I seriously doubt I ever saw the final report

 11            of Dr. Hoover's.     Typically, what happens is whoever

 12            -- there's usually a resident radiologist on call,

 13            there might be an attending also, it depends on the

 14            time of day who would do a preliminary report, would

 15            be handwritten usually.

 16                            And if there's an issue that they may

 17            or maybe even always contact the ordering physician

 18            to tell them of an abnormality.       The official reading

 19            occurs sometimes later -- sometime later, it's

 20            dictated and then transcribed.

 21                            And then sometimes after that it's

 22            printed out, sent to the -- whatever the charges, or

 23            it could be even after the child expired or was

 24            discharged.   It would -- and the chart then goes to

 25            medical records that may end up in medical records.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page345
                                            Filed 06/14/21    of 73
                                                           Page
                                                                         1363
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 72
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            So none -- none of the physicians

  3            actually caring for the patient may not -- may ever

  4            have seen the official report, that's the way it

  5            works.    And it would take some amount of time, so I

  6            don't -- I doubt I ever saw Dr. Hoover's actual

  7            report.

  8                            BY MR. KLEIN:     (Cont'g.)

  9                            Q.    Okay.   So what -- how -- what was

 10            your basis of concluding it was a subdural hematoma

 11            during the treatment of the patient?        Was it based on

 12            your review of the C.T., or was it based on

 13            conversations with your colleagues?

 14                            A.    It was based on my review of the

 15            cranial CAT scan and my examination and the -- the

 16            other findings, the retinal findings, et cetera.

 17                            Yes, predominantly it is not

 18            exclusively based on the scan.

 19                            Q.    And do you know -- do you think

 20            -- do you draw any significance to the finding of

 21            large bilateral extra-axial fluid collections,

 22            slightly larger on the right versus the verbiage of

 23            bilateral subdural hematoma in the report?           What

 24            significance do you draw from that distinction?

 25                            MS. CALABRESE:     Objection to the form.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page346
                                            Filed 06/14/21    of 74
                                                           Page
                                                                         1364
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 73
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    Well, all I can say is some

  3            radiologists are reluctant to make specific

  4            diagnoses.   They view it as their -- they don't

  5            typically have a history -- let -- let me just --

  6            just restart this.

  7                            When you order a radiological test,

  8            CAT scan, X-ray, you're actually ordering a

  9            consultation with a radiologist, at-- just like a

 10            neurosurgery consultation.

 11                            So theoretically, you felt in making

 12            the request, you fill out a form requesting a

 13            consultation, we put the history down and you put the

 14            pertinent findings down.     The vast majority of people

 15            who order a cranial CAT scan will just say -- won't

 16            give any history at all, they'll just say rule out

 17            subdural.

 18                            The radiologist has no idea what the

 19            history is, doesn't know if this patient came in with

 20            a raging infection or was in a high speed motor

 21            vehicle accident or whatever.      They don't -- they

 22            typically don't know.     So they're loathe to actually

 23            make a specific diagnosis unless they, you know, it's

 24            completely obvious based on the scan.

 25                            So they describe what they see


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page347
                                            Filed 06/14/21    of 75
                                                           Page
                                                                         1365
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 74
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            anatomically based on the different densities.            And

  3            because -- so what he's describing is the anatomical

  4            location of the abnormality and the different

  5            densities, but he's not saying this is infection,

  6            he's not saying this is subdural hematoma.           He's not

  7            saying it's a brain tumor, he's just describing the

  8            anatomical features.     And the -- and the difference

  9            in densities.   He's -- he's not drawing any

 10            conclusions in other words, because he doesn't take

 11            care of the patient.     He doesn't have to.       I'm taking

 12            care of the patient.     I have to make decisions about,

 13            you know, interpreting the findings.

 14                            BY MR. KLEIN:     (Cont'g.)

 15                            Q.     You look at the same -- you look

 16            at the same scan that he did, so other than having a

 17            bedside visit with the patient and looking at the

 18            chart -- and -- and looking at the same scan, what if

 19            anything else informed your decision, your

 20            determination that this was a subdural hematoma, as

 21            compared to a large bilateral extra-axial fluid

 22            collection?

 23                            MS. CALABRESE:     Object to form.        And

 24            this question has been asked over and over and over

 25            again.   Can we move on soon?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page348
                                            Filed 06/14/21    of 76
                                                           Page
                                                                         1366
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 75
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MS. PECK:     Object to the form.

  3                            BY MR. KLEIN:     (Cont'g.)

  4                            Q.    You can answer, Doctor.

  5                            A.    I -- I don't think we're saying

  6            anything different.    We're describing it the same

  7            way.   I'm just going a step further and saying what I

  8            believe the anatomical findings relate to clinically,

  9            because I'm caring for the patient, he isn't.

 10                            Q.    Okay.    And did you notice in the

 11            Albany medical record in preparation for this

 12            deposition, that it said in some -- at least a place

 13            or so skull fracture?

 14                            A.    I think on the initial admission,

 15            there was some evidence of skull fracture, whether it

 16            was in with -- with question mark, I don't remember.

 17            But there was some quali -- qualifying adjective

 18            associated with it.    It turns out -- and I personally

 19            didn't think there was a skull fracture.

 20                            And I've also reviewed the skull --

 21            well, I don't know whether I personally reviewed the

 22            skeletal survey, but I know the report was no -- no

 23            fractures, and that includes the skull.

 24                            Q.    Right.    So did you have an

 25            understanding of how that came to pass in the record


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page349
                                            Filed 06/14/21    of 77
                                                           Page
                                                                         1367
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 76
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            that someone thought there may have been a skull

  3            fracture.   Was that a mistake, was it someone's

  4            belief that was later determined to be unfounded, or

  5            do you not know?

  6                            A.    Well, I don't know.       I can

  7            surmise that it was pediatric residents who maybe it

  8            came from the hospital record, I have no idea.

  9                            Q.    You don't know, okay.

 10                            A.    I don't know.

 11                            Q.    In terms of the bilateral extra-

 12            axial fluid collection referenced in this report,

 13            just for the record, we may have said it, but I just

 14            want to be clear.    This fluid collection can be

 15            blood, correct?

 16                            A.    Correct.

 17                            Q.    It could be cerebrospinal fluid,

 18            correct?

 19                            A.    Not normal, cerebrospinal fluid,

 20            no.

 21                            Q.    Okay.   It could be evidence of

 22            infection or pus?

 23                            A.    Possibly.

 24                            Q.    And the C.T. doesn't

 25            differentiate between one or the other, correct?


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page350
                                            Filed 06/14/21    of 78
                                                           Page
                                                                         1368
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 77
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.    No, the C -- a C.T. is showing

  3            you the anatomical space that this fluid is in --

  4                            Q.    Right.

  5                            A.     -- and -- and the density of the

  6            fluid.   It's not, you know -- you know, it's not like

  7            -- it says subdural hematoma.      That's -- that's what

  8            the -- that's what the interpretation, my

  9            interpretation of what I saw on the scan is that it

 10            was a mixed density, component of acute blood,

 11            probably mixed with cerebrospinal fluid.          That was my

 12            interpretation of it at the time.       I --.

 13                            Q.    When you say mixed density -- I'm

 14            sorry to interrupt.    Go ahead and finish, I'm sorry

 15            to interrupt.

 16                            A.    I --I -- at the time I was caring

 17            for the child, I believed that this was a -- a

 18            subdural hematoma.

 19                            Q.    When you -- when you use the term

 20            mixed density, is that because it doesn't -- it --

 21            the fluid looks dirty?     For lack of a better word?

 22                            A.    No, they are different densities.

 23                            Q.    Okay.

 24                            A.    If there were a piece of bone

 25            floating around in there, there would be, you know,


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page351
                                            Filed 06/14/21    of 79
                                                           Page
                                                                         1369
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 78
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the density of bone.     If there's cerebrospinal fluid

  3            in there, without any other issue, it would be a

  4            certain -- another density.       If it was acute blood

  5            clump of clotted blood, it would be another density.

  6                             Q.   So here it wasn't the density

  7            characteristic of subdural effusion from infection?

  8                             MS. MITCHELL:    Object to form.

  9                             A.   It is my interpretation at the

 10            time that this was a subdural hematoma with a mixture

 11            of separate -- C.S.F.     Could it have been in a

 12            mixture with some infection?      Yes, but I -- my

 13            impression at the time was this was a subdural

 14            hematoma.    I didn't entertain that this was

 15            predominantly a subdural effusion due to an

 16            infection.

 17                             BY MR. KLEIN:    (Cont'g.)

 18                             Q.    Which doesn't mean that it

 19            wasn't, it's just not what you entertained at the

 20            time, correct?

 21                             A.    Correct.   And that's what I wrote

 22            in the chart, and that's what I -- I believed at the

 23            time.

 24                             Q.    Right.    But has your belief

 25            changed since then, with the understanding that there


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page352
                                            Filed 06/14/21    of 80
                                                           Page
                                                                         1370
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 79
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            was overwhelming sepsis in this case?

  3                             MR. MITCHELL:    Object to form.

  4                             A.   Based on that information alone,

  5            I can't.    There's not enough information to change my

  6            opinion.

  7                             BY MR. KLEIN:    (Cont'g.)

  8                             Q.   Okay.    What information would --

  9            would change that?

 10                             A.   I -- I would like to see Dr.

 11            Sikirica's or any other pathologists who may have

 12            reviewed this case.    I'd like to see their report and

 13            read it.

 14                             Q.   Okay.

 15                             A.   See what exactly they found.

 16                             Q.   Okay.    Dr. Sikirica didn't find a

 17            subdural hematoma on both bilateral lobes, correct,

 18            he saw one on one side, that would be --.

 19                             MS. PECK:    That's not -- that's not

 20            accurate.

 21                             MR. KLEIN:    That's my recollection of

 22            his testimony.

 23                             MS. CALABRESE:    And if you want to

 24            question him, or provide information, can you please

 25            pull up -- can you show the autopsy report, share


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page353
                                            Filed 06/14/21    of 81
                                                           Page
                                                                         1371
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 80
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            this --

  3                            MS. PECK:    Yes.

  4                            MS. CALABRESE:      -- so the doctor can

  5            have this information.     And just for the record, it's

  6            my understanding that doctor -- and Crystal, you can

  7            correct me if I'm wrong.     But it's my understanding

  8            that Dr. Sikirica found what he called a new or acute

  9            subdural on one side, and the older subdural on the

 10            other side.

 11                            And I could be missing words, so I

 12            apologize for interrupting you.       That was my

 13            recollection of the testimony.

 14                            MR. KLEIN:    I just read it.

 15                            MS. PECK:    If you are going to

 16            question the witness and reference this testimony, if

 17            you question this witness it would be beneficial to

 18            bring up the testimony that you're referencing so

 19            that the witness can see what you're are referencing.

 20                            MR. KLEIN:    Okay, well I understand if

 21            I want to pull up the testimony.

 22                            MS. CALABRESE:      You want me to pull it

 23            up.   I have it handy, but you let me know.

 24                            MR. KLEIN:    You know, let me just see

 25            what I have here.    Hold on one second.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page354
                                            Filed 06/14/21    of 82
                                                           Page
                                                                         1372
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 81
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             BY MR. KLEIN:    (Cont'g.)

  3                             Q.    Let me just move on and we'll

  4            circle back to showing you other exhibits, whether it

  5            be the scan itself, Dr. Sikirica's testimony or

  6            whatnot.

  7                             Dr. Waldman, typically is a neuron --

  8            neurosurgeon brought in to determine if there's any

  9            surgical option?

 10                             A.    I would say yes, but not only for

 11            those conditions.     We take care of non-surgical

 12            problems too.    For example, there are many kinds of

 13            head injuries that aren't surgical, and then many --

 14            so it was not just for surgical things.         But I would

 15            say close to a hundred percent for problems that are

 16            potentially that involve the nervous system that are

 17            potentially surgical.     With --

 18                             Q.    In terms of the workup -- I'm

 19            sorry.

 20                             A.     -- with the exception of spinal

 21            cord issues, because increasingly orthopedic surgeons

 22            are inserting themselves into the treatment of spinal

 23            problems also.     But generally, surgical problems, but

 24            not exclusively surgical problems to answer your

 25            question.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page355
                                            Filed 06/14/21    of 83
                                                           Page  898of 189
                                                                           1373
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                           Page 82
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.    In terms of suspected child abuse

  3            isn't that something that neurosurgeons are typically

  4            not involved with?

  5                            A.    Yes.

  6                            Q.    In other words, that's between

  7            neurology and radiology?

  8                            A.    Absolutely not.

  9                            Q.    So you're involved or not?

 10                            A.    Neurologist are rarely -- in the

 11            circumstance that a child abuse case, patient has

 12            seizures or maybe some other problems there -- there

 13            might -- there would be a neurology consult.            I

 14            mentioned brain-death determination, some protocols

 15            require neurologists to perform the brain-death

 16            determinations.

 17                            I honestly can't remember now whether

 18            that's -- was required at the time at the Medical

 19            Center or whether the intensivist could do it.              But

 20            typically, no, they are not involved in trauma.              They

 21            don't take care of trauma patients; they don't see

 22            trauma patients as a rule.

 23                            Q.    Dr. Waldman, the extra-axial

 24            fluid collection that's present -- present in this

 25            case, can you have that type of fluid collection


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page356
                                            Filed 06/14/21    of 84
                                                           Page
                                                                         1374
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 83
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            related to infection?

  3                            A.    Well, as I mentioned, I've never

  4            seen a subdural effusion following -- central

  5            effusions can occur after meningitis.         And they're

  6            usually, they're -- they're nowhere near the size.

  7            As I've mentioned, I've never seen something like

  8            that.   So it's my opinion that there may have been a

  9            secondary infection in this case.

 10                            Again, you know, the definitive answer

 11            to all these questions is the autopsy, you know, I --

 12            I -- I didn't tap the subdural space because the

 13            child was dead at the time.      We could have done it

 14            for diagnostic purposes, but the child was not alive.

 15                            So you know, it's -- it doesn't seem

 16            it -- it's not appropriate to -- to do invasive -- an

 17            invasive procedure on someone who's not alive, we

 18            can't do anything.

 19                            Q.    Thank you.    I want to take a

 20            moment and just see if I could follow-up what I need

 21            from Dr. Sikirica.

 22                            A.    Fine, thank you.

 23                            MS. CALABRESE:     What was the name of

 24            the doctor you said?

 25                            MR. KLEIN:    Sikirica.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page357
                                            Filed 06/14/21    of 85
                                                           Page
                                                                         1375
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 84
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MS. CALABRESE:     Yeah, it was Sikirica.

  3                            MR. KLEIN:    Christina, do you have a

  4            testimony where he says it's on one side or not both?

  5            Because I believe I just read it earlier, I'm just

  6            trying to find it.    There was a subgaleal, but that's

  7            not it.   I believe, he says from trauma, subdural

  8            then he says is on one side not both even though the

  9            C.T. said both, off the record.

 10                            MS. MITCHELL:     The witness was hoping

 11            to see the actual autopsy report not a transcript of

 12            testimony.

 13                            MS. CALABRESE:     Are you reading from

 14            the transcript, Brett, what you just said?

 15                            MR. KLEIN:    No, I'm not reading, I

 16            just recently read it.     And so -- like today or

 17            yesterday, and so if you had that, that's -- he

 18            clarifies    what's in the autopsy, I could give you

 19            the autopsy if you guys want to see that.          I could

 20            email the joint the email that's here.

 21                            MS. CALABRESE:     Yeah, we could -- we

 22            should just publish it for him to read and then mark

 23            it.

 24                            MR. KLEIN:    Obviously --

 25                            MS. CALABRESE:     I'll -- I'll look in


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page358
                                            Filed 06/14/21    of 86
                                                           Page  898of 189
                                                                          1376
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 85
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            --

  3                            MR. KLEIN:    -- I can put it on the

  4            screen.

  5                            MS. CALABRESE:       -- transcript while

  6            we're doing that.

  7                            MR. KLEIN:    I'll put it up on the

  8            screen.

  9                            MS. CALABRESE:     I think we're talking

 10            about page seventy-three, Brett.

 11                            MR. KLEIN:    Yes.

 12                            MS. CALABRESE:     Where -- you're right,

 13            he's talking about the sub -- dural -- old and the

 14            new and then section B subdural is wrong.

 15                            MS. PECK:    Okay.    I was wrong, I

 16            apologize.

 17                            MS. CALABRESE:     No, I -- I have the

 18            same memory.

 19                            MR. KLEIN:    So could -- so how do we

 20            want to go about this?     Do we want to just -- I just

 21            want to pose -- posit that statement of Dr. Sikirica

 22            to the witness and asked if that -- if he agrees or

 23            disagrees with this position of what Dr. Sikirica

 24            found on his autopsy.

 25                            MS. PECK:    Do you want a second to


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page359
                                            Filed 06/14/21    of 87
                                                           Page  898of 189
                                                                           1377
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                          Page 86
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            review the autopsy report?

  3                            MR. KLEIN:     Sure.     I'll post the

  4            autopsy on the screen; I'll share that screen.

  5                            MS. PECK:     Okay.

  6                            MR. KLEIN:     Just going to make sure I

  7            get the right one, I don't want to give you all my

  8            work product here.

  9                            BY MR. KLEIN:     (Cont'g.)

 10                            Q.    Do you see that the M.S.L.A. Four

 11            zero nine?

 12                            A.    Yes.

 13                            Q.    Okay.    So I'm going to -- so if

 14            you'd like I could scroll down first is the photos.

 15            Then the final autopsy report.

 16                            A.    Yeah but go back.         I'm going to

 17            have to enlarge it somehow.      Maybe you -- it's very

 18            small, I'm not on a computer.         I'm on an iPad,

 19            because --.

 20                            Q.    Do you want to see the photos, or

 21            do you want to see the brain section?

 22                            A.    I want to see the whole thing,

 23            more --

 24                            Q.    Sure.

 25                            A.     -- more accurate I can be.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page360
                                            Filed 06/14/21    of 88
                                                           Page
                                                                         1378
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 87
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             Q.   Okay.   So let's see how we can

  3            enlarge this.

  4                             A.   Can you do full screen?

  5                             Q.   I have it as full screen, maybe

  6            you can do something on your end and make it full

  7            screen.   But each little -- these are like thumbnail

  8            photos.

  9                             A.   Yeah, hang on because you just

 10            switched.   Okay, I -- I can, you know, or I can --

 11            the pictures are hard to --.

 12                             Q.   It's more like a -- it's more

 13            like a PDF; we can't enlarge anything or do anything

 14            to the screen.

 15                             A.   Yeah, well, I can -- I can, you

 16            know, spread my fingers and it gets bigger.           But it

 17            -- I'm going to have to go from the -- from the

 18            written description rather than -- or we can skip the

 19            pictures.   It does a little bit of what's standing on

 20            both sides, but that's all right.

 21                             Q.   So this is where it says -- do

 22            you know where it says --?

 23                             A.   Can I -- is it possible for me to

 24            scroll, or do you have to do that I guess, right?

 25                             Q.   I could email to your counsel if


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page361
                                            Filed 06/14/21    of 89
                                                           Page
                                                                         1379
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 88
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            you want, but --

  3                            A.    Yeah.

  4                            Q.     -- but otherwise I'll -- up here

  5            I have to do it.

  6                            MS. MITCHELL:     Okay.

  7                            A.    Well, you keep doing it, but if

  8            you can also send it that would be good too.

  9                            BY MR. KLEIN:     (Cont'g.)

 10                            Q.    So -- so this is -- this is the

 11            first written page, and you let me know if you want

 12            to read this page external description or if I should

 13            move on to the next page?

 14                            A.    Well, I could read the cause of

 15            death, severe closed-head injuries.

 16                            Q.    It's all right.

 17                            A.    You didn't want me to read that,

 18            I guess.

 19                            Q.    All right.    So what I want to

 20            show you is the brain, the brain section because I

 21            think that's what we're talking about here.

 22                            A.    Well, what --

 23                            MS. MITCHELL:     Did you email it,

 24            Brett, because once you do then I'll --

 25                            MR. KLEIN:    I'll send them right now.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page362
                                            Filed 06/14/21    of 90
                                                           Page
                                                                         1380
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 89
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             MS. MITCHELL:    Thanks.

  3                             THE WITNESS:     The pic -- the pictures

  4            are not adequate because they're -- they're tiny,

  5            like when I enlarged them they're -- they're too dark

  6            and grainy.

  7                             BY MR. KLEIN:    (Cont'g.)

  8                             Q.     Well, I'll -- I'll tell you this.

  9            I mean, you -- you didn't review the autopsy until

 10            today, correct?       You have up until today, you have

 11            not reviewed this autopsy, correct?

 12                             A.     I requested to but yes, I did

 13            not.

 14                             Q.     So -- so my question I think

 15            which -- I think now is that --.

 16                             MR. KLEIN:     I think you guys are going

 17            to withdraw the objection to the premise of my

 18            question.     I just want to ask that question about Dr.

 19            Sikirica opining in his testimony that the subdural

 20            hemorrhage was on one side, not both?         Are you guys

 21            objecting to that premise?       Christina and -- and

 22            Crystal?

 23                             MS. PECK:    I -- I don't think we've

 24            gotten to look through this report all the way yet.

 25                             MR. KLEIN:     Well, I'm not asking about


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page363
                                            Filed 06/14/21    of 91
                                                           Page
                                                                         1381
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 90
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the reports.   I'm just asking about that testimony

  3            given by Dr. Sikirica.

  4                            MS. PECK:    But I can -- I mean, I'll

  5            go as far as saying that Doctor -- Sikirica testified

  6            that he found one subdural hematoma along the right

  7            portions of the brain and that was on page seventy-

  8            three of his testimony of January 10th, 2019 or

  9            October 1st, 2019, I might be reading my date

 10            incorrectly.

 11                            MR. KLEIN:    Dr. Sikirica found one

 12            subdural hematoma where, Crystal?       What did you say?

 13                            MS. PECK:    He testified that he found

 14            once only -- I only found one subdural hematoma along

 15            the right portion.

 16                            MR. KLEIN:    Okay.

 17                            BY MR. KLEIN:     (Cont'g.)

 18                            Q.    So Dr. Waldman, I'm going to

 19            withdraw the question about the autopsy given that

 20            you haven't reviewed it.     But I'll posit to you that

 21            Dr. Sikirica testified that he only saw one subdural

 22            -- Crystal?

 23                            MR. GINSBERG:     Object to the form.

 24                            MS. PECK:    On the right portion.

 25                            MR. KLEIN:    Is that inconsistent with


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page364
                                            Filed 06/14/21    of 92
                                                           Page
                                                                         1382
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 91
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            what -- with what -- with what you saw on the C.T.?

  3                            MR. GINSBERG:     Object to the form.

  4                            MS. PECK:    Object to the form.

  5                            A.    Well, if I remember correctly,

  6            and again, I'm not looking at the C.T. scan.            The

  7            right -- the -- the collection on the right was

  8            larger, there was more acute blood on that side.              But

  9            I don't -- I don't quite -- I don't quite remember

 10            whether there was a -- what I would have interpreted

 11            as acute blood on the left.

 12                            I will say also that anatomically, the

 13            subdural space is one space.      So if there's a

 14            subdural hematoma on one side, and there's a subdural

 15            fluid collection found on the other side, they're

 16            continuous with each other, okay?       Maybe the way the

 17            child was lying, most of the blood achieved --

 18            accumulated and clotted on that side.

 19                            It may be that the -- the blood vessel

 20            that was injured and bled that was on the right side,

 21            but ultimately there would be blood on both sides.

 22            But there could be --

 23                            BY MR. KLEIN:     (Cont'g.)

 24                            Q.    So --.

 25                            A.     -- if there was more acute blood


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page365
                                            Filed 06/14/21    of 93
                                                           Page
                                                                         1383
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 92
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            on one side than the other side.

  3                            Q.    Well, it doesn't say acute blood,

  4            it just says, you know, it's fluid is all you know

  5            that it is, correct?     Some sort of fluid.

  6                            MR. GINSBERG:     Object to the form.

  7                            MS. PECK:    Object to the form.

  8                            BY MR. KLEIN:     (Cont'g.)

  9                            Q.    You don't know that it's blood on

 10            both sides?

 11                            MS. PECK:    Object to the form.

 12                            A.     Again, if I, you know, if you

 13            want to ask me about the autopsy, then I should have

 14            an opportunity to look at the autopsy.         For example,

 15            if you had part of the autopsy on the screen, and I

 16            saw other information on there, that's pertinent that

 17            you haven't asked me about.

 18                            BY MR. KLEIN:     (Cont'g.)

 19                            Q.     Yeah, but it's not what you knew

 20            at the time.   So we want to know what you saw in the

 21            C.T. --

 22                            A.     Yes, yeah.

 23                            Q.     -- so -- so --

 24                            A.     That at -- at the time, my

 25            impression was the bilateral subdural hematomas.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page366
                                            Filed 06/14/21    of 94
                                                           Page
                                                                         1384
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 93
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            More -- more -- larger on the right than the left,

  3            and there was a -- there was -- in -- in my

  4            recollection, there was more of a bright signal on

  5            the right, which would indicate clotted blood on the

  6            right side.

  7                            But my impression was bilateral

  8            subdural hematomas at the time that happened.

  9                            Q.    Does -- does anyone intend to put

 10            up the C.T. on the screen?

 11                            MS. CALABRESE:     I guess, it depends on

 12            whether or not the doctor thinks that it would be

 13            helpful in his description of his treatment in this

 14            case.   So I would have to defer to him about that.

 15                            MR. KLEIN:    There was no treatment

 16            other -- other than seeing the patient and

 17            determining no surgery, but --.

 18                            MS. CALABRESE:     Well, right, you're

 19            talking about his conclusions and his opinion about

 20            the treatment that he rendered and even that others

 21            rendered and his findings on the C.T. scan

 22            particularly so he feels that seeing those again

 23            would be helpful in his recitation of the events

 24            relative to this case, and I would probably want him

 25            to see them.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page367
                                            Filed 06/14/21    of 95
                                                           Page
                                                                         1385
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 94
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MR. KLEIN:    So --.

  3                            MS. CALABRESE:     Again that was my

  4            charge to speak.

  5                            MS. PECK:    Agreed.

  6                            A.    Well, my -- my feeling is this.

  7            My recollection is at the time, I felt there were

  8            bilateral subdural hematomas, at the time.           So

  9            whether I change my mind now is, to me not

 10            particularly relevant.     So I don't think I have to

 11            see them at this time.

 12                            At the time, as I indicated in my

 13            note, I believed there were bilateral subdural

 14            hematomas whether right or left.

 15                            BY MR. KLEIN:     (Cont'g.)

 16                            Q.    I am asking you if, based on your

 17            review of the C.T. in the last week or so, as you

 18            said you've done.    Has your opinion changed?

 19                            A.    No, not -- not -- my opinion

 20            hasn't changed pending my review of the autopsy

 21            report.

 22                            MR. GINSBERG:     Please note my

 23            objection to the form of the last question.

 24                            MR. KLEIN:    Okay.    Well you're not --

 25            I don't believe anyone's calling you as a -- as an


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page368
                                            Filed 06/14/21    of 96
                                                           Page
                                                                         1386
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 95
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            expert.   We're just asking you about your treatment

  3            in this case.

  4                            MS. CALABRESE:     You're asking --

  5                            MR. GINSBERG:     If you're not going to

  6            call in an expert, you can't have the opinion

  7            question.

  8                            MR. KLEIN:    I have subpoenaed, and he

  9            did.

 10                            MS. MITCHELL:     How about we just move

 11            forward with questions, that if the doctor feels he

 12            needs to see the C.T. in order to answer, he can let

 13            us know that.

 14                            MR. KLEIN:    Sure.    I -- I think that's

 15            all I have for now.    Let's see what the follow-up is,

 16            and -- and we'll see if we need to show the C.T.

 17            otherwise, I think, I'm done with my, you know, in-

 18            chief questions.

 19                            THE WITNESS:     Thank you.

 20                            MR. KLEIN:    Thank you, Doctor, yeah.

 21                            MS. CALABRESE:     Christina, do you want

 22            to go next, or do you want me to?

 23                            MS. PECK:    Thanks, I will.

 24                            MR. GINSBERG:     I'll wait for the last

 25            people.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page369
                                            Filed 06/14/21    of 97
                                                           Page
                                                                         1387
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 96
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             CROSS EXAMINATION

  3                             BY MS. PECK:

  4                             Q.    Doctor, I introduced myself in

  5            the beginning.     My name is Crystal Peck and I present

  6            Dr. Sikirica in a lawsuit that was brought in Federal

  7            District Court.     I only have a -- just a few follow-

  8            up questions.

  9                             And I might seem like I'm jumping a

 10            little bit because I'm filling in some minor holes

 11            from some of the prior testimony that you've given

 12            today.   I want to discuss on your training and your

 13            background a little bit as, particularly when it

 14            comes to reading C.T. scans.

 15                              And you had said, when I go through

 16            what you said in your testimony in 2009 and 2014, in

 17            both of those trials, you did testify that you have

 18            training in reading C.T. scans.       And that you

 19            frequently do so as part of your practice.           Is that

 20            accurate?

 21                              A.   Yes, every new -- part of neuro

 22            -- at least at the time, my neurosurgical training,

 23            there was a specific period of time where we actually

 24            rotated on neuro -- neuroradiology.        But let me state

 25            that when I started my training, there was no such


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page370
                                            Filed 06/14/21    of 98
                                                           Page
                                                                         1388
                                                                 898of 189


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 97
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            thing as, at least at Albany Med, there was no such

  3            thing as neuroradiology, it was pre-C.T. scan days.

  4                            The way we made diagnosis at that time

  5            was to -- was based on neural -- history, neurologic

  6            examination, and skull x-rays.      And if we needed more

  7            information about what was happening inside the head,

  8            we did cerebral angiography or pneumoencephalography.

  9                            Those two procedures were done by the

 10            resident staff, so my first year at neurosurgical

 11            training, I did a minimum of a thousand, if not

 12            several thousand, angiograms and pneumoencephalo --

 13            cephalograms and myelograms for spinal problems.

 14                            So there was no such thing as

 15            neuroradiology.   Once CAT scan came, and I can't tell

 16            you the exact year CAT scans appeared at the Medical

 17            Center, it was either my second or third year of

 18            training.

 19                            As the technology developed,

 20            neuroradiology came into being and they also -- that

 21            -- that was coincident with the time when they

 22            stopped doing direct stick -- I'm getting at the

 23            details, I'm sorry, but new techniques to do

 24            angiography were also to that -- that were specific

 25            to the radiology -- radiology training.


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 Case Case 23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                        Document   142-24 3604338,    Page371
                                            Filed 06/14/21    of 99
                                                           Page  898of 189
                                                                          1389
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                          Page 98
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            And so the radiologists did all the --

  3            what we would now call interventional radiology.

  4                            Now, neurosurgery has gotten into it

  5            also, but suffice it to say that neuroradiology

  6            developed during the course of my training.           So

  7            initially, and then subsequently, I did lots of what

  8            now would be considered neuroradiology.

  9                            And then on top of that, every single

 10            day, every scan that's done on any one of my

 11            patients, I personally review it.       If I have some

 12            questions about what I'm seeing, I may walk down to

 13            the radiology department, find the radiologist who is

 14            reading the facts and go over it with him.

 15                            That is maybe one -- one -- two

 16            percent of the cases.     If I'm uncomfortable with what

 17            I'm seeing, I would consult the neuroradiologist and

 18            we would discuss it.    Sometimes they come over to my

 19            way of looking at it, sometimes I go over to their

 20            way of looking at it.     But the vast majority of

 21            times, I'm reading my own -- so --

 22                            Q.    In this case --

 23                            A.     -- so we're talking about

 24            thousands upon thousands of -- of scans that I've

 25            reviewed.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page372
                                               06/14/21 Pageof100
                                                                       1390
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                      Page 99
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           Q.   Thank you.     In this case, do you

  3            recall feeling uncomfortable about what you were

  4            seeing, knowing, and having a conversation with the

  5            radiologist about the C.T. scans?

  6                           A.   I have no recollection of that.

  7                           Q.   Okay.    Would there be any

  8            notation if that was the case, if you were going back

  9            and re-discussing it with radiologists, or would it

 10            just be something that's essentially done without

 11            having any -- any record of it?

 12                           A.   Well, as I've mentioned, I -- I

 13            think the very likely scenario is that -- let me just

 14            say that I am not a hundred percent, because it

 15            happened so long ago.   But I believe at that point in

 16            time, every I.C.U. patient had a computer at the

 17            bedside, so you could pull up and it was -- of

 18            course, all digital, you could pull up the scan at

 19            the bedside and look at it.

 20                           So I -- I think the very likely thing

 21            is when I went in to see Matthew the first time, I

 22            pulled up his scan and looked at it there, if -- if

 23            that weren't in place at that time, then the

 24            likelihood is, I would have gone to see the scan

 25            first down in the radiology department, use their


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page373
                                               06/14/21 Pageof101
                                                                       1391
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 100
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            computers to look at it.

  3                           And then I would have come up to see

  4            the patient, it could have been the other way around.

  5            But most likely, I would have seen the scan first.

  6            Otherwise, I'd have to make two trips to the -- to

  7            the I.C.U.

  8                           Q.   Okay.

  9                           A.   So now, if I did it that way, if

 10            I actually went down, and it might have been a

 11            radiologist right there, and we might have discussed

 12            it.   But again, I have absolutely no recollection.

 13            Typically and in this case, I think it's a very

 14            likely, that I saw the scan on my own and never

 15            relied on the radiologist's report.      I probably never

 16            saw the radiologist's report until after the fact.

 17            There's a long answer.

 18                           Q.   Appreciate it.     There's been

 19            several questions about whether the C.T. scan was

 20            showing blood or possibly pus from an infection.           How

 21            -- you know, how are you able to determine that?           Can

 22            you tell me is there a way to differentiate by

 23            looking at a C.T. scan whether you're looking at pus

 24            from an infection or you're looking at blood?

 25                           A.   Well, I think it's a combination


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page374
                                               06/14/21 Pageof102
                                                               898of 189
                                                                        1392
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                       Page 101
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            of history, physical examination and the scan.           In

  3            this case, I can tell you that when you put the whole

  4            thing together, it was my impression that this was a

  5            traumatic subdural hematoma.

  6                            Q.    Do you have --?

  7                            A.    I don't -- I -- I don't recall

  8            and I know I didn't enter it in my notes that I was

  9            considering subdural effusions at the time.         I

 10            believed these were subdural hematomas.

 11                            Q.    You had mentioned that you didn't

 12            tap the space, the subdural space because you

 13            wouldn't do it because essentially Matthew was brain

 14            dead, right.

 15                            What information would you have gotten

 16            to have in the subdural tap to expect to be able to

 17            get diagnostically?

 18                            A.    Well, first, let me say that

 19            doctor -- somebody just disappeared.      Dr. German saw

 20            the patient initially, and if -- if you read the

 21            resident’s note, they were planning to do subdural

 22            taps, pending the coag studies.     The coags came back

 23            abnormal, that the -- I don't remember the full

 24            extent of the coagulation studies.

 25                            But I know that the platelet count was


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page375
                                               06/14/21 Pageof103
                                                                       1393
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 102
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            a hundred and fifteen thousand, which is low, but

  3            it's not extremely low.   I honestly can't say whether

  4            I -- if I had seen that child at that point in time

  5            that I would not have done a subdural taps, I might

  6            have, but that -- that's not the question you're

  7            asking me.

  8                            If we had done subdural taps, we would

  9            have seen what the fluid looked like directly.          We

 10            would have sent it to the lab for analysis, and we

 11            would have sent it for cultures.     So we would have

 12            done those -- those three things.     And, you know,

 13            yeah, so we would know if there's bacteria growing in

 14            the space, we would know if there's blood in the

 15            space, we would know what the protein concentration

 16            was.

 17                            So we would have -- and we'd have

 18            known with cells and we would have much more

 19            information.   But it's not information that would be

 20            different from what would be available at autopsy.            I

 21            don't think.

 22                            Q.   And that was going to be my next

 23            question.    So the information that you would be able

 24            to get from the subdural tap then is something that

 25            you would expect to see -- got it from the autopsy?


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page376
                                               06/14/21 Pageof104
                                                                       1394
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 103
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           A.   Well, the only caveat I would say

  3            would be the duration between the time you do the tap

  4            and the time the autopsy was done.

  5                           In other words, if the child had been

  6            kept alive for a week, the infection might have

  7            occurred, maybe even as a result of the tap, after

  8            all, you're putting a needle through the skin, which

  9            is potentially contaminated.

 10                           Q.   Uh-huh.

 11                           A.   You try to sterilize it, but you

 12            could introduce infection by tapping.       So you know,

 13            what the close proximity between the time we would

 14            have tapped and the time the autopsy was done,

 15            although I don't remember the exact date, probably

 16            you would have gotten the same -- same information.

 17                           Q.   So in this case, there wasn't a

 18            tap, and would you expect any changes between death

 19            and autopsy with the fluid that's collected?

 20                           A.   Well again, the child is, you

 21            know, in extremis, and, you know, his body functions

 22            are starting to fail.   He's on a ventilator, he's

 23            getting stuck multiple times and lots of things are

 24            happening.   So infection can occur secondarily.

 25                           Q.   Okay.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page377
                                               06/14/21 Pageof105
                                                                       1395
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 104
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.   You know, again, depending upon

  3            the length of time from admittance at the Medical

  4            Center and the time he expires, and the autopsy is

  5            done, things can change, yes.

  6                            Q.   In this case, there was the date

  7            of death -- the date of death -- the date of death

  8            pronouncement was September 23rd, and the autopsy was

  9            performed on September 25th.     Would you expect any

 10            significant changes between the 23rd and the 25th?

 11                            MR. KLEIN:    Objection, calls for

 12            speculation.

 13                            MS. PECK:    Howard, do you mind if I

 14            could have the question read back to me, please?

 15                            THE REPORTER:    Yeah, one moment.

 16                            (Reporter complied with the request)

 17                            MS. CALABRESE:    So do you remember

 18            that last part, I couldn't quite hear it on the -- on

 19            the playback?

 20                            MS. PECK:    Yeah, I was asking if there

 21            would be any, if he would expect any significant

 22            changes between September 23rd, the date of death and

 23            September 25th, the date of autopsy.

 24                            MS. CALABRESE:    Okay, thank you.

 25                            BY MS. PECK:    (Cont'g.)


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page378
                                               06/14/21 Pageof106
                                                               898of 189
                                                                           1396
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 105
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.      The date of collection.

  3                            A.      No.

  4                            Q.      Can subdural hematoma occur

  5            without trauma?

  6                            A.      Yes.

  7                            Q.      How's that?

  8                            A.      How?

  9                            Q.      Yes.

 10                              A.    Well -- well, let me -- let me

 11            restate that.     It can occur in certain circumstances,

 12            very rarely with minimal trauma.         And what I -- the

 13            way I like to describe minimal trauma is if you or I

 14            witnessed, it -- we wouldn't raise an eyebrow about

 15            it like sneezing or coughing.

 16                              Elderly patients get subdural

 17            hematomas.   Usually, they're not symptomatic until

 18            they're chronic.       And they've grown slowly over time,

 19            but -- and it's somewhat different from this.              But

 20            nevertheless, it can occur after sneezing.

 21                              The reason is as you get older, your

 22            brain shrinks and the C.S.F. spaces between the

 23            surface of the brain and the inside of the skull gets

 24            greater and the veins that connect from the brain to

 25            the in -- to the dura which is adhering to the skull


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page379
                                               06/14/21 Pageof107
                                                                       1397
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 106
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            can stretch.

  3                            And if they're stretched and you

  4            shake, you know, as with a sneeze or a cough, it can

  5            sometimes tear up blood vessels -- blood vessel and

  6            can get subdural hematomas.    Also, if you have a

  7            coagulopathy, again with minimal trauma, you can get

  8            subdural hematomas.

  9                            I am not aware of subdural hematomas

 10            occurring as a result of subdural -- meningitis or

 11            subdural effusions.    That's not to say that it's

 12            never been reported, but I'm unaware of that.

 13                            Q.    Can sepsis cause a subdural

 14            hematoma?

 15                            A.    Well, that -- that's what I just

 16            referred to,

 17                            Q.    Okay.

 18                            A.    You know, at -- at an end stage,

 19            if there's an associated coagulopathy and the child

 20            is getting bounced around in the hospital bed, or

 21            something like that, I suppose it's possible.          But I

 22            don't think that has a bearing based on what I know

 23            of this case that -- that was the cause.

 24                            Q.    You had -- Doctor, you testified

 25            a little bit on the short falls versus falls from a


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page380
                                               06/14/21 Pageof108
                                                                       1398
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 107
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            higher elevation.    I know you just mentioned the

  3            sneeze could technically cause a subdural hematoma,

  4            in the elderly and I'm never going to look at my

  5            grandmother sneezing the same way.

  6                            But for an infant, can have a

  7            shortfall cause a subdural hematoma, is that a

  8            possibility?   And we should define short, when I say

  9            short, what do you think when I say short?

 10                            A.    Well, the literature usually is

 11            talking somewhere between three and five feet,

 12            usually three feet or four feet.     In other words, the

 13            height of a crib --

 14                            Q.    Uh-huh.

 15                            A.     -- or, you know, furniture,

 16            sofa, something like that, that's, you know,

 17            realistically what we're talking about.       Now, the

 18            literature is confusing because -- think about it,

 19            most non-accidental forms of subdural hematomas,

 20            we're talking about child abuse are unwitnessed.

 21                            So how do you, you know, you can't do

 22            a study where you drop kids out on -- on purpose out

 23            of cribs to see whether they get subdural hematomas.

 24            But there have been studies of children who fall out

 25            of cribs in a hospital, and those kids do not get


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page381
                                               06/14/21 Pageof109
                                                                       1399
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 108
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            subdural hematomas.

  3                            And from other large studies of kids

  4            who have had shortfalls, they kind of -- they

  5            typically have minimal injuries.     There have been

  6            reports, a small number but still happens and

  7            reported of skull fractures.    You know -- you know,

  8            you fall down, you could stick your arm out and break

  9            your arm too, you just fall down and hit your head

 10            first.

 11                            You can particularly, if you hit a,

 12            you know, the corner of a table or a toy lying in the

 13            ground with a sharp edge, you might get a skull

 14            fracture.   Skull fractures are sometimes associated

 15            with epidural hematomas.   Epidural hematomas occurred

 16            in the space between the skull and the dura, subdural

 17            hematomas occurred between the dura and the brain,

 18            it's a different space.

 19                            And the mechanism of the -- of the

 20            cause of bleeding is also a difference which is

 21            significant.   There are arteries that are embedded in

 22            the outer layer of the dura.    And if the fracture

 23            crosses one of those arteries, it could tear the

 24            artery and cause arterial bleeding as opposed to most

 25            subdural hematomas which are caused by venous


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page382
                                               06/14/21 Pageof110
                                                                       1400
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 109
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            bleeding.

  3                           So they are usually occluded, and they

  4            occur rapidly and can lead to death before

  5            intervention is available.    So the children who have

  6            died with witnessed shortfalls who have developed, go

  7            on to die -- those patients are dying of acute

  8            epidural hematomas, not from subdural hematomas.

  9                           Q.     Which --?

 10                           A.     We don't see subdural -- people

 11            fall down or incidents of roll down a flight of

 12            stairs don't get subdural hematomas typically.          The

 13            forces are not typically sufficient.      I'm not saying

 14            it's never happened, but it's extremely rare.

 15                           Q.     And that's where the -- it was

 16            the force that I was going to follow-up and have a

 17            question with that.

 18                           So a difference between -- would you

 19            expect there to be a difference between falling from

 20            a crib versus, say, being thrown onto a surface, or

 21            the difference in force between a fall and -- and a

 22            throw create a subdural hematoma.

 23                           MR. KLEIN:    Objection.

 24                           A.     Yes, it depends on the -- again,

 25            the amount of force, if you take a kid by the -- by


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page383
                                               06/14/21 Pageof111
                                                                       1401
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 110
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the ankles and swing them around and bash them into

  3            the wall, certainly.

  4                           BY MS. PECK:     (Cont'g.)

  5                           Q.   Okay -- okay.       That's an extreme

  6            scenario.   I'm looking -- I'm wondering between, you

  7            know, the fall is taking a kid by his ankles and

  8            smashing him into a wall.

  9                           A.   You're not going to --

 10                           Q.      No problem --.

 11                           A.       -- by holding a kid by the ankle

 12            is the same way either.

 13                           Q.      That's something I know.

 14                           A.      I'm sorry, repeat -- could you

 15            repeat your question?

 16                           Q.      Just a middle ground between the

 17            two.   So is there any defined -- I guess, is there

 18            any defined amount of force that goes from a simple

 19            fall that is not going to cause a subdural hematoma,

 20            to a fall, or a push, or a force that does cause one?

 21            Has that ever been measured?

 22                           A.      Has it ever been measured?

 23            That's not something you can study.       Because you

 24            can't do that to babies.

 25                           Q.      True.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page384
                                               06/14/21 Pageof112
                                                               898of 189
                                                                        1402
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 111
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            A.     Okay.   Now, I do know that there

  3            are engineers who claim -- mechanical engineers or

  4            whatever, who claim to measure forces that are

  5            required to cause these changes.      And honestly, it's

  6            bogus, in my opinion.      They are using models, there

  7            are many -- many assumptions there.

  8                            They're just not accurate enough, and

  9            -- and I know that sometimes in these cases, these

 10            people testify.      There are a certain number who go

 11            around the country testifying about the amount of

 12            force that's necessary, but the bottom line is in --

 13            in human babies, we -- we don't know.

 14                            I generally like to think of it this

 15            way.   If you or I -- and I've mentioned this before,

 16            if you or I witness someone doing something to a

 17            child that was sufficient to cause a subdural

 18            hematoma, we would be alarmed, and hopefully call the

 19            police.

 20                            MR. KLEIN:     Objection to the line of

 21            questioning.

 22                            BY MS. PECK:     (Cont'g.)

 23                            Q.     You mentioned -- you used the

 24            word mechanism as part of your testimony.         In 2014,

 25            there was a question and answer, and you were asked


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page385
                                               06/14/21 Pageof113
                                                                       1403
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 112
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            -- and you believed at the time that he, Matthew

  3            being four years -- four months old had suffered

  4            trauma at the hands of somebody else, and we didn't

  5            know at the time, correct?

  6                            And you answered, well, I had no

  7            history of the mechanism of injury.      And that's on

  8            page five eighteen of the 2014 testimony.        When you

  9            say you are doing history of mechanism of the injury,

 10            can you tell me why that's significant?

 11                            A.   Well, I didn't know how it

 12            happened.

 13                            Q.   So --.

 14                            A.   It was my belief that the child

 15            had subdural hematomas, caused by trauma.        I had no

 16            idea.   I never -- to my recollection spoke to the

 17            mother.   There was minimal history in the chart about

 18            what happened, except to say the mother was not --

 19            unaware of any trauma at least, that's what was

 20            reported in the chart.

 21                            So we didn't have a history, but we

 22            had a kid who was dead.   And had, you know, severe --

 23            had bilateral subdural hematomas that -- in my

 24            opinion, caused death and extensive retinal

 25            hemorrhages.   So we didn't have a history.        I didn't


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page386
                                               06/14/21 Pageof114
                                                               898of 189
                                                                        1404
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 113
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            know who or how the child was injured.

  3                           Q.      So is it fair to say then that

  4            mechanism in order to determine the mechanism of an

  5            injury, you would need to get a history from the

  6            parents, have seen how the injury occurred something

  7            to that nature?

  8                           MR. KLEIN:     Object to the form.

  9                           A.      Well, yes, I mean, you can -- you

 10            can make a better guess, for example.        If there is an

 11            associated skull fracture and/or old healing

 12            fractures and the long bone fractures, you know, you

 13            can make a better guess.     That -- but without that,

 14            you know, you don't know.

 15                              I didn't witness it, and there was no

 16            report in the chart of anybody witnessing an injury,

 17            so I have no idea.

 18                              BY MS. PECK:   (Cont'g.)

 19                              Q.   Dr. Waldman, have you ever spoken

 20            with my client Dr. Sikirica about Matthew Thomas?

 21                              A.   I have no recollection of

 22            speaking to him about it.     I don't know where there

 23            are -- I -- I'd have to guess -- did Dr. Sikirica

 24            testify at the trial?     He probably did.     If he did,

 25            it's conceivable that our paths crossed, I doubt we


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page387
                                               06/14/21 Pageof115
                                                                       1405
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 114
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            would have discussed the case.

  3                            I seriously doubt it, but I certainly

  4            have no recollection of ever discussing it with him.

  5                            Q.   And your -- your diagnosis

  6            occurred before the autopsy, correct?

  7                            A.   Yes.

  8                            Q.   So Dr. Sikirica wouldn't have had

  9            any input or influence over the diagnosis you came to

 10            prior to the autopsy, correct?

 11                            A.   Absolutely correct.      And I would

 12            assume the other way around without Dr. Sikirica.

 13            He's looking at the subdural -- what's in the

 14            subdural space, he doesn't -- he made a guess about

 15            it based on that -- on the C.T. scan.       So it goes

 16            both ways, he's not influenced necessarily, by what I

 17            said either.

 18                            Q.   So a C.T scan may be indicative

 19            of a diagnosis like subdural hematoma, but that

 20            really can be confirmed with an autopsy, correct?

 21                            A.   Yes.

 22                            Q.   Mr. Ginsburg had asked you a

 23            question early on, in the beginning of your testimony

 24            today as to whether you have -- if you know the cause

 25            of Matthew Thomas's injury.    And I believe that you


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page388
                                               06/14/21 Pageof116
                                                                       1406
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 115
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            testified that what caused the injury, that's really

  3            out of place, that's not a doctor     doing or something

  4            to that -- something to that --

  5                           MR. KLEIN:     Object to the form.

  6                           A.    Right.    I didn't witness it.

  7            There was nothing in the history to lead -- to lead

  8            me to believe there was a known mechanism.         So I have

  9            no idea.

 10                           BY MS. PECK:     (Cont'g.)

 11                           Q.    So then, I just want to clarify

 12            that.   So when we're talking about, you know, what

 13            caused the injury.   You did have opinions at the 2009

 14            and 2014 trials that there -- and I'm trying to pull

 15            up the specific word here, sorry.

 16                           That you believed that Matthew Thomas

 17            had suffered from trauma causing subdural hematoma,

 18            and that the infection -- with any infection of

 19            substance it may have been secondary, but it was not

 20            the cause of Matthew Thomas's death.      Do you recall

 21            that testimony?

 22                           A.    Yeah, I believe that's -- yes.

 23                           Q.    Okay.    And do you continue to

 24            have that belief today?

 25                           A.    Right.    I -- I think I testified


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page389
                                               06/14/21 Pageof117
                                                                       1407
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 116
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            even today that I would not dispute that the child

  3            had some kind of infection, possibly even before or

  4            after.   But it's my belief that what caused the

  5            child's death was subdural hematomas.

  6                            Q.   I don't have any other questions

  7            at this time.

  8                            MS. PECK:    Christina, do you have any

  9            questions?

 10                            CROSS EXAMINATION

 11                            BY MS. CALABRESE:

 12                            Q.   Doctor, what is the basis for

 13            that opinion the death of the child, Matthew Thomas

 14            was due to subdural hematoma?

 15                            MR. KLEIN:    Objection to form.

 16                            A.   Because the constellation of

 17            findings in the C.T. scan indicated that the child

 18            had subdural hematomas, he had increased intracranial

 19            pressure, and that causes death.     That's why he died.

 20                            BY MS. CALABRESE:    (Cont'g.)

 21                            Q.   And do you believe his death was

 22            caused by sepsis?

 23                            A.   I think it certainly could have

 24            been a secondary contributing factor.       For example,

 25            the coagulopathy, when at -- at the -- at the end


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page390
                                               06/14/21 Pageof118
                                                                       1408
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 117
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            stage, when the brain is dead, the blood -- the --

  3            the brain injury can cause coagulopathy.        It can

  4            cause blood pressure abnormalities, heart

  5            abnormalities, it can cause a lot of things.

  6                            Potentially, you know, the kidneys

  7            fail, liver fails, you know, the brain controls

  8            everything.

  9                            Q.   Uh-huh.

 10                            A.   Sepsis can also cause some of

 11            these things.   So I can't -- you can't say -- if you

 12            have both, for instance, let's -- you know, take the

 13            situation where you know you have trauma and subdural

 14            hematomas and you know you have sepsis also.          The

 15            sepsis can cause blood pressure abnormalities, and

 16            coagulopathies.

 17                            So how do you differentiate between

 18            the process, I -- I --I can't do that, so that's all

 19            I'm saying.   I don't know --

 20                            Q.   And do you --?

 21                            A.    -- when that --.

 22                            Q.   I'm sorry, go ahead.

 23                            A.   It -- it could have been -- if

 24            the coagulopathy was the result of the sepsis, it

 25            could have been a contributing factor.       But I do --


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page391
                                               06/14/21 Pageof119
                                                                       1409
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 118
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            what I don't believe is that the sepsis and the

  3            subsequent coagulopathy caused the subdural hematoma,

  4            I think trauma caused subdural hematoma.

  5                           And I think if I were able to read the

  6            Dr. Sikirica's autopsy report, I could provide

  7            additional information that would confirm my opinion

  8            about it.

  9                           Q.   Okay.    Well, let's give you an

 10            opportunity to do that right now.     Let me --.

 11                           MR. KLEIN:    I'm going to just start an

 12            objection because he's not an expert, and he wasn't

 13            aware of the findings, which are disputed in this

 14            case.   Having said that I'll lodge a standing

 15            objection, if you're going to continue to ask about

 16            stuff that he wasn't aware of until today.

 17                           BY MS. CALABRESE:     (Cont'g.)

 18                           Q.   Bear with me, Doctor.

 19                           MS. CALABRESE:    Howard, can you give

 20            me the ability to share my screen, please?         Or can I

 21            do that myself?

 22                           THE REPORTER:    I believe -- I believe

 23            you're all set to do it.

 24                           MS. CALABRESE:    Yup, I can do it.

 25                           THE WITNESS:    That remains to be seen.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page392
                                               06/14/21 Pageof120
                                                                       1410
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 119
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            MS. CALABRESE:    And for the record,

  3            I'm showing the witness as well as the other

  4            attorneys what is known as the autopsy report.          This

  5            report has been previously marked in prior

  6            depositions.   So I do not believe it needs to be

  7            again marked, does anybody disagree -- and would the

  8            attorneys like me to mark it today?

  9                            MR. KLEIN:   Christina, let -- let's

 10            mark it for today's deposition as well so we keep the

 11            evidence straight.

 12                            MS. CALABRESE:    Okay.   So then I'll

 13            mark it as Defendant's A.    And Howard, I'll -- I'll

 14            email this to you, I would ask if you could include

 15            it in the trans -- the back of the transcript?

 16                            THE REPORTER:    Absolutely.

 17                            BY MS. CALABRESE:    (Cont'g.)

 18                            Q.   Okay.   So I'll just show you

 19            again, doctor, the first page, essentially

 20            certifications page?

 21                            A.   Yeah.

 22                            Q.   Is that large enough, or would

 23            you like me to enlarge it more?

 24                            A.   It's fine.

 25                            Q.   Okay.   So I'm going to scroll to


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page393
                                               06/14/21 Pageof121
                                                               898of 189
                                                                         1411
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 120
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            the second page.     And you'll just tell me when you

  3            want me to stop scrolling?

  4                            A.    Absolutely.

  5                            Q.    Please take your time.

  6                            A.    Keep going.

  7                            Q.    Okay.

  8                            A.    Keep going, yeah, keep going.

  9            I'm in landscape mode, so I don't -- I only see part

 10            of each page.

 11                            Q.    Oh.

 12                            A.    Okay.    It's just so -- this whole

 13            thing, let me look at it.      Okay, move on.      I just

 14            would mention here that the head circumference is

 15            forty-nine point five.      And that -- after that age,

 16            particularly, if you correct for gestational age,

 17            that head circumference is well above the ninety-

 18            fifth percentile, way above.

 19                            Q.    And does that suggest anything to

 20            you with regard to your position and opinion of

 21            subdural hematomas?

 22                            A.    Well, I will say this, I do

 23            recollect from reviewing the neo -- his neonatal

 24            record at Albany Med.    That his head circumference

 25            was something like thirty-two centimeters, which was


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page394
                                               06/14/21 Pageof122
                                                               898of 189
                                                                          1412
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 121
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            normal at birth.       I don't know whether he had any

  3            pediatric visits subsequent to his discharge.             I

  4            suspect he did.

  5                           Part of the pediatric record should

  6            include a head circumference.       So let's say that he

  7            was seen at two months of age, but I'm just

  8            speculating now, of course.        If the child was seen at

  9            two months of age, and had a pediatric visit, then

 10            and the head circumference measured and it was still

 11            normal, following the normal curve.

 12                              That would imply for me that the child

 13            did not have subdural hematomas at that point in

 14            time.   You see what I mean?       In other words, he -- at

 15            one point, he went from being having a normal head

 16            circumference to having one that's well above the

 17            nine -- the ninety-fifth percentile.

 18                              Q.    Okay.

 19                              A.    So if -- if he had his head

 20            circumference measured every day, you could probably

 21            see when he -- when the subdural hematomas developed.

 22                              Q.    Developed, okay.

 23                              A.    But we don't have that

 24            intervening information.        So in essence, it doesn't

 25            -- doesn't -- doesn't help me at this point.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page395
                                               06/14/21 Pageof123
                                                                       1413
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 122
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           Q.    Okay.

  3                           A.    He wasn't born -- I'll say that.

  4                           Q.    He wasn't born with the

  5            subdurals?

  6                           A.    Yeah.   Okay.   Scroll, please?

  7            More -- more -- more, okay -- okay.      Scroll, please.

  8            Put evidence of recent medical therapy at the top,

  9            yeah, there we go.   Okay.

 10                           Well, the only significance here is

 11            what's not said, and the general evaluation is

 12            there's no evidence of abnormal bleeding from, you

 13            know, ecchymosis or, you know, bruise -- bruises from

 14            -- from bleeding.

 15                           So in terms of the coagulopathy, you

 16            know, if you're going to -- if you're going to have

 17            bleeding in the brain, why don't you have bleeding in

 18            the skin, where you had needle punctures and people

 19            grabbing this in and moving the child around, et

 20            cetera.

 21                           So there was no evidence or petechial

 22            hemorrhages or there's no evidence of abnormal

 23            bleeding in the skin.   So that -- that's a permanent

 24            negative regarding the coagulopathy.

 25                           Q.    And can you define for the record


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page396
                                               06/14/21 Pageof124
                                                               898of 189
                                                                          1414
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 123
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            coagulopathy?

  3                             A.   Abnormal clotting, the child --

  4            again, I don't remember whether it's the -- the

  5            different ways you can assess this P.T. and proteome

  6            there -- there are different tests you can do inside

  7            the blood.     All I remember is the platelet count was

  8            lower, you know, it was abnormally low.

  9                             But it wasn't low enough that I would

 10            have expected -- necessarily expected bleeding and

 11            that's why I said possible that I would have done

 12            subdural test when I had seen this kid initially. My

 13            --

 14                             Q.   Okay.

 15                             A.    -- my partner didn't feel

 16            comfortable doing it with a platelet of a hundred and

 17            fifteen.     I probably would have done it.        But again,

 18            that's total conjecture.      I can't say what I would

 19            have done absolutely.     Anyway, go ahead.        Okay, more.

 20            Go ahead, scroll -- scroll -- scroll, okay.            Hang on,

 21            all right, next page.

 22                             Hang on now, hang on.       Okay, move

 23            along.   Keep going, scroll please?       Scroll -- scroll

 24            -- scroll.     All right, hang on.    Yeah, okay, what's

 25            happened?


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page397
                                               06/14/21 Pageof125
                                                                       1415
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 124
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.   What's happened?

  3                            A.   You went too far.

  4                            Q.   Okay, want to go back.

  5                            A.   I want to get to the scalp,

  6            because I know there was an abnormality there.

  7            Because I saw it when you moved -- put up initially.

  8            No -- no, now we're back to the lungs. It's --.

  9                            Q.   Further down?

 10                            A.   Yeah, it's past -- it's past that

 11            page.    Next page, all right.   Hang on, let me -- let

 12            me --.

 13                            Q.   Subgaleal.

 14                            A.   It's gone too far.      All right.

 15            Here you go, slide twelve A, section frontal scalp,

 16            subgaleal hemorrhage, acute and more chronic

 17            appearing subgaleal hemorrhage with extensive acute

 18            and chronic inflammation.    All right, that's

 19            abnormal.   And that is an indication of trauma.

 20                            That implies blunt force trauma to the

 21            scalp.    And would -- I believe -- and would be

 22            additional information that there -- this was a

 23            traumatic event.

 24                            Q.   And that would be contrary to a

 25            finding that sepsis caused the trauma that's noted in


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page398
                                               06/14/21 Pageof126
                                                                       1416
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 125
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            slide A twelve, correct?

  3                           A.   Correct.    In fact, it implies

  4            that there were repeated traumas over different

  5            periods, it says acute and more chronic.        So --.

  6                           MR. KLEIN:    Objection -- objection to

  7            the extent that this is contradicted by Dr.

  8            Sikirica's testimony about the subgaleal hemorrhages.

  9            I would just note a standing objection.

 10                           THE WITNESS:    I'm just --.

 11                           BY MS. CALABRESE:     (Cont'g.)

 12                           Q.   Go ahead, Doctor.       No -- no,

 13            please continue your thought.

 14                           Q.   Yeah, I'm just going based on

 15            what I'm reading here.

 16                           Q.   Yes.

 17                           A.   It says acute and more chronic

 18            appearing subgaleal hematomas.     So if you're -- if

 19            you're trying to make the case, in my opinion, that

 20            this is due to sepsis, there had to have been chronic

 21            sepsis and that there was no indication that there

 22            was, you know, the kid's not going to be sick with

 23            meningitis and subdural -- infected subdural

 24            effusions for a long time without treatment.

 25                           So I -- I don't know how you get


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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                                APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-24 Filed      Page399
                                               06/14/21 Pageof127
                                                               898of 189
                                                                          1417
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 126
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            chronic subgaleal hematomas based on infection, it

  3            just doesn't hang together.      I think this is clear

  4            evidence of trauma -- blunt force trauma to the scalp

  5            and -- and the brain, okay?

  6                              Q.    Okay.

  7                              A.    All right.   Let's just put gross

  8            pathology exam on the top -- yeah, okay.           Hold on,

  9            hang on.   All right.     Portions of the dura are

 10            included with moderate amount of adherent brown

 11            subdural clot measuring three to four millimeters in

 12            thickness.

 13                              There is a several centimeters zone of

 14            hemorrhage along the occipital cortex bilaterally but

 15            no other foci of parenchymal hemorrhage.           So that's

 16            abnormal, and he doesn't describe it as one side or

 17            the other.    Okay, so I don't know whether it's

 18            bilateral or on one side.

 19                              Oh, no it does say bilaterally, so

 20            there's evidence of bilateral subdurals, according to

 21            this exam.    Next -- the next page, go up a little

 22            bit.    Yeah, okay.    Oh, oh, oh.   Back down a little

 23            bit I'm not sure that you -- we're all right, okay.

 24            Okay.    Okay.   So he does -- he refers to his

 25            tightening of the ventricles so that I believe what


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page400
                                               06/14/21 Pageof128
                                                                       1418
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 127
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            he means is the ventricles are compressed.

  3                            This is due to the subdural

  4            collections and, you know, is another reflection of

  5            increased intracranial pressure, okay.       Splitting of

  6            the sutures he defines, that's again another

  7            indication of increased intracranial pressure, but

  8            not the cause, okay.

  9                            Slide B one, resolving subarachnoid

 10            hemorrhage with large numbers of macrophages,

 11            occasional acute inflammatory cells, and lymphocytes.

 12            Hemorrhage extends down into the Virchow Robin

 13            spaces.   Those are spaces in the subarachnoid space

 14            at the subdural place -- space the subarachnoid space

 15            that follows blood vessels into the brain.         So there

 16            was subarachnoid blood is all -- also.

 17                            Okay.   So now slide B three, he's

 18            describing in the midbrain as part of the brainstem,

 19            severe cerebral edema, and foci of intraparenchymal

 20            hemorrhage.   Okay, now that usually means that there

 21            was so much pressure from above that it squished the

 22            brainstem down through what's called the tentorium

 23            and caused hemorrhages to stretch the blood vessels

 24            that surprised -- that supply the midbrain and

 25            brainstem and caused hemorrhage within the brainstem.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page401
                                               06/14/21 Pageof129
                                                                       1419
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 128
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            This is -- again, what we see with

  3            severe subdural hematomas that cause death, there's

  4            secondary hemorrhage into the brain stem which is

  5            basically fatal.     It's an indication of a fatal

  6            injury, not caused by the injury but secondary to the

  7            buildup of the sub -- the subdural spaces and pushing

  8            the brain down through a narrow opening, which tears

  9            more blood vessels and causes hemorrhage, if that

 10            makes sense.

 11                            Okay, scroll please --.

 12                            Q.    And Doctor, what -- what you just

 13            described occur due -- due solely to sepsis in your -

 14            - in your experience --?

 15                            A.    No, in my appearance -- in my --

 16            in my experience, this is caused by trauma, but it

 17            can be caused by other things.     If there's increased

 18            intracranial pressure from whatever cause, a large

 19            stroke or cerebral edema.

 20                            This is a finding you see when the

 21            brain has herniated through the dura opening of the

 22            tentorium with injury to the brainstem, and it's

 23            irreversible.   So it's a secondary effect related to

 24            severe increased intracranial pressure and what we

 25            would call central herniation syndrome.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page402
                                               06/14/21 Pageof130
                                                                       1420
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 129
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           Q.   I just -- I just -- the other

  3            way.

  4                           A.   You know, it's --.

  5                           Q.   I know, I'm sorry.

  6                           A.   It's -- it's a reflection of the

  7            fact that he had no neurological function.         I -- I

  8            lost the screen now, by the way.

  9                           Q.   It -- it should be back.

 10                           A.   Okay.    Okay, scroll, please.

 11            Hold on.   Again, there are more deep-seated

 12            hemorrhages related to herniation, in my opinion.

 13                           Q.   And when you say herniation

 14            consistent with blunt force trauma?

 15                           A.   Well, no, as a result of

 16            increased intracranial --

 17                           MR. KLEIN:    Objection.

 18                           A.   (Cont’g.) -- pressure, which in

 19            my opinion was related to blunt force trauma, yeah.

 20                           BY MS. CALABRESE:     (Cont'g.)

 21                           Q.   Okay.    Thank you.

 22                           A.   We can --

 23                           MR. KLEIN:    It can also be related to

 24            sepsis, right, Doctor?

 25                           THE WITNESS:    It's related to


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     Case 23-753, Document
Case 1:17-cv-00626-DJS Document
                                APPENDIX
                           62, 01/17/2024, 3604338,
                                  142-24 Filed      Page403
                                               06/14/21 Pageof131
                                                               898of 189
                                                                           1421
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 130
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            increased intracranial pressure from whatever cause.

  3            Can we then --?

  4                              BY MS. CALABRESE:      (Cont'g.)

  5                              Q.     However, in your opinion, in this

  6            case, the intracranial -- the increased intracranial

  7            pressure related to the subdural hematoma that was

  8            due to blunt force trauma?

  9                              A.     That's my opinion.      All right

 10            now, with slide B ten, I want to see.           B nine and B

 11            ten, all right.        All right.   B nine, and again, I

 12            don't know where this is.        It says predominantly

 13            acute subdural hematoma, B nine, whatever that is.                B

 14            ten, acute and more chronic subdural hematoma.

 15                              Okay.     Now B twelve through fourteen

 16            describe the retina.        Severe acute retinal

 17            hemorrhages with predominantly chronic inflammation

 18            surrounding the optic nerve with abundant

 19            macrophages, severe acute retinal hemorrhage of the

 20            left eye now foci has severe and acute inflammation,

 21            older appearing hemorrhages and infarct in the optic

 22            nerve.

 23                              Okay.     Again, to me, totally

 24            consistent with severe blunt force trauma to the

 25            head.    Next?   Yeah, okay.     So the conclusions we can


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page404
                                               06/14/21 Pageof132
                                                                       1422
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 131
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            read.   Severe closed head injuries with cerebral

  3            edema due to blunt force trauma.       Clinical history of

  4            subdural hematoma with severe cerebral edema,

  5            radiological evidence of bilateral subdural

  6            hematomas.

  7                             The medical evidence of brain death,

  8            splitting of the sutures of the skull consistent with

  9            cerebral edema, extensive acute and resolving

 10            subarachnoid hemorrhage, extensive acute and

 11            resolving hemorrhage of the optic nerve sheaths, and

 12            acute retinal hemorrhage, bilaterally fresher and

 13            older appearing areas of sub -- subgaleal hematoma.

 14                             Again, this is information that we

 15            didn't have and discussed before I read the autopsy.

 16            To me, this is conclu -- to me conclusive evidence of

 17            blunt force trauma to the head.       Okay.   Now, I'm --

 18            I'm not going to read past that, because he's making

 19            -- he's made -- he's referring to additional

 20            information that I didn't have available to me.

 21                             Q.   Okay.

 22                             A.   Blood -- oh, there's more.        Blood

 23            culture pos for strep pneumonia, an initial

 24            presentation to hospital.     Okay.    So that -- that's

 25            -- okay.     It's not unexpected, the child was comatose


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page405
                                               06/14/21 Pageof133
                                                               898of 189
                                                                         1423
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 132
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            for a period of time.    And you know, the lungs and

  3            the upper airways have bacteria in them.          And --.

  4                             Q.   Aspiration?

  5                             A.   Yeah, there's that aspiration,

  6            the child was actually fat, if I remember correctly

  7            in the mother's --

  8                             Q.   Yes.

  9                             A.    -- report.     So it doesn't

 10            surprise me that the child had some areas develop

 11            pneumonia, and then over time developed positive

 12            blood culture.    And it was -- okay.      Do you want to

 13            scroll just to be complete?     See if there's anything

 14            more.

 15                             Q.   No toxicology.

 16                             A.   Yeah.   Okay.    And I -- I guess

 17            that's enough for me.

 18                             Q.   Let me just make sure, Doc, that

 19            we're not missing anything.     Again, negative for

 20            toxicology.

 21                             A.   Yeah.

 22                             Q.   Which you would explore you would

 23            hope to expect, and that concludes the autopsy

 24            report.   I'm going to stop sharing my screen now.

 25            Doctor, I know earlier when responding to questions


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page406
                                               06/14/21 Pageof134
                                                               898of 189
                                                                         1424
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 133
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            there was an effort to show you the C.T. scans.

  3            Would you like to see them now?

  4                              I want to ensure that you have an

  5            opportunity to complete responding to questions that

  6            you were unable to respond to earlier, due to your

  7            inability to see the C.T. scan, would you like to see

  8            them?

  9                              THE REPORTER:   Hang on, this is -- go

 10            ahead.   Sorry.

 11                              THE WITNESS:    I -- I mean, if you all

 12            want me to, I will.     But I don't think it's

 13            absolutely --

 14                              BY MS. CALABRESE:    (Cont'g.)

 15                              Q.   I don't feel I need to show them

 16            to you, but I know that that was an issue that arose

 17            earlier.    So I wanted to give you an opportunity to

 18            see them, should you feel the need -- should you feel

 19            the need to.

 20                              A.   Well, again, the autopsy was

 21            clear, there was bilateral subdural hematomas.            It's

 22            my recollection and my -- at the time and my

 23            impression that the child had bilateral subdural

 24            hematoma.    So I don't think -- I -- I did review the

 25            C.T. scan in preparation for the deposition, so I'm


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page407
                                               06/14/21 Pageof135
                                                                       1425
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 134
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            okay.

  3                           Q.    Okay.    All right.    So just some

  4            follow-up questions then, Doctor.     In -- earlier this

  5            morning, the beginning of your testimony, you make --

  6            made a statement and you said most of these events

  7            are unwitnessed.    What did you mean by that?

  8                           A.    Well --

  9                           MS. CALABRESE:    Michael, would you

 10            mind muting, because I'm hearing an echo.        Thank you.

 11                           A. -- what I mean by that is a

 12            perpetrator of child abuse usually does it without

 13            witnesses appearing -- present.     So it is -- so you

 14            don't have an accurate history, and that's a problem

 15            with the literature too.     That's why I didn't quote

 16            many -- I actually didn't reference specific

 17            articles.

 18                           But many articles on child abuse

 19            report a series from, you know, one day to another,

 20            county or state or something like that.       And they

 21            include, you know, most -- most of the cases are

 22            unwitnessed so you -- you never know.       There are --

 23            there are -- again, I can't give you a specific

 24            article, but I know I've reviewed articles in the

 25            past of the cases where there were confessions.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page408
                                               06/14/21 Pageof136
                                                                       1426
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 135
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            But again, confessions aren't

  3            necessarily accurate either.    So --.

  4                            BY MS. CALABRESE:    (Cont'g.)

  5                            Q.    Mr. Klein, would agree with you

  6            on that.

  7                            A.    Yeah, but even -- even someone --

  8                            Q.    Many of us would too.

  9                            A.     -- when you're absolutely,

 10            positively know that someone did something, the

 11            perpetrator tries to minimize it.     I threw him

 12            against the wall, but I didn't do it that hard, you

 13            know, that kind of thing.    So overall, these studies

 14            aren't -- are difficult to evaluate regarding the

 15            mechanisms of injury.

 16                            Q.    And you said that the findings

 17            that you now know to be true based upon what you saw

 18            in the autopsy report, as well as how the patient

 19            presented to you.    And all of the reports that you

 20            reviewed and the history that you reviewed in the

 21            records.   You stated that this has nothing to do with

 22            birth trauma.   Can you explain that?

 23                            A.    Well, this -- this was a twin

 24            birth, vaginal delivery as I remem -- as I recall.

 25            There were no issues regarding the early life of this


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page409
                                               06/14/21 Pageof137
                                                                       1427
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 136
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            child in the -- in the medical center after delivery.

  3            The Apgar scores were six and nine, it mean five

  4            minutes, nine is normal.

  5                           The child received some oxygen -- flow

  6            by oxygen for a few minutes only.     It was then

  7            observed in the NICU and had no problems.        There was

  8            no concern -- the head circumference is now normal,

  9            there was no concern about any injury, so -- or

 10            clinical history to suggest a problem, I don't

 11            believe it was seizures or anything else that would

 12            have prompted a -- typically you wouldn't do a CAT

 13            scan on a neonate, you'd do an ultrasound to indicate

 14            that there was a subdural hematoma.

 15                           So there's zero indication that the

 16            child had subdural hematoma.    I know that in the past

 17            I testified that there have been studies done on

 18            normal deliveries where children were imaged and

 19            there's a percentage of children after a normal

 20            vaginal delivery would have teensy tiny acute

 21            subdural hematomas.

 22                           In a hundred percent of those cases,

 23            it resolved without any treatment on its own, nor

 24            with any symptoms within -- I believe a month.          So

 25            there's -- there's no supporting evidence or any


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page410
                                               06/14/21 Pageof138
                                                                       1428
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 137
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            indication or anything in the literature which would

  3            suggest that what happened to this child later was

  4            related to anything that happened at birth, to me

  5            that's nonsense.

  6                           Q.   Okay.    I have no further

  7            questions.   Thank you, Doctor.

  8                           MS. CALABRESE:     Howard, did you have

  9            something to say earlier, I think you --

 10                           THE REPORTER:    No, we -- what it was

 11            -- I've lost Mr. Waldman's video and there is a -- a

 12            little caution --

 13                           MS. CALABRESE:     Dr. Waldman.

 14                           THE REPORTER:    -- Dr. Waldman and I

 15            just wanted to alert everybody to it, but he came

 16            back on right -- as soon as I was saying it.

 17                           MS. CALABRESE:     Okay.   Thank you.

 18                           THE REPORTER:    That's all that was.

 19                           MR. KLEIN:    Does anyone have any

 20            follow-up, because I would have a few questions.

 21                           MS. CALABRESE:     Can we take a five-

 22            minute restroom break, please?

 23                           MS. GINSBERG:    Well, I have one

 24            question.

 25                           MS. CALABRESE:     You're going to --


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page411
                                               06/14/21 Pageof139
                                                               898of 189
                                                                        1429
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 138
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            you're going to -- you're going to tell a lady

  3            Michael, that she cannot use the restroom?

  4                             MR. GINSBERG:    I would not -- I would

  5            not have the answer to that.

  6                             MS. CALABRESE:    Okay.    Because I would

  7            like to -- I would like to use the restroom.

  8                             MR. GINSBERG:    I live -- I live with a

  9            couple of women at home, I know better.

 10                             MS. CALABRESE:    Well, I -- I knew you

 11            were a man of substance, so I was sure that I was

 12            mistaken.

 13                             MR. GINSBERG:    All right.

 14                             MS. CALABRESE:    All right.     Just five

 15            minutes, if that -- is fine.

 16                             MR. GINSBERG:    It's fine.

 17                             MS. CALABRESE:    Thank you.

 18                             THE REPORTER:    Okay.    We're off the

 19            record.

 20                             (Off the record, 1:40 p.m.)

 21                             (On the record, 1:48 p.m.)

 22                             THE REPORTER:    We're all set.       We're

 23            on the record.

 24                             MR. GINSBERG:    Great, thank you.

 25                             REDIRECT EXAMINATION


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page412
                                               06/14/21 Pageof140
                                                                       1430
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 139
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           BY MR. GINSBERG:

  3                           Q.    Doctor, in the previous section

  4            you were just asked a bunch of questions about the

  5            autopsy findings.   Do you recall that?

  6                           A.    Yes.

  7                           Q.    And are the autopsy findings

  8            consistent with your diagnosis of subdural hematoma

  9            and the ophthalmic diagnosis of retinal hemorrhages?

 10                           A.    Yes.

 11                           MR. GINSBERG:    I have no further

 12            questions.   Thank you.

 13                           RECROSS EXAMINATION

 14                           BY MR. KLEIN:

 15                           Q.    Doctor, you -- had you been aware

 16            of the autopsy findings prior to today?

 17                           A.    As I sit here today, I have no

 18            recollection of them.     But I can't say for sure that

 19            I didn't know before my testimony at trial, either

 20            the first or the second, I don't know.

 21                           Q.    Do you recall --?

 22                           A.    I would -- I would guess that I

 23            did, but I don't know for sure.

 24                           Q.    Do you recall preparing for trial

 25            with Dr. Sikirica, whether by phone or in person?


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page413
                                               06/14/21 Pageof141
                                                               898of 189
                                                                         1431
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 140
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           A.    Whether I spoke?

  3                           Q.    Yeah, whether you are present

  4            during prep -- yeah, whether you were present during

  5            prep with the District Attorney's Office with Dr.

  6            Sikirica with -- whether personally or by phone?

  7                           MR. GINSBERG:    Objection to form.

  8            Wasn't that covered under attorney-client privilege?

  9                           MR. KLEIN:     No.   There's no attorney-

 10            client privilege at the prosecutor's office.

 11                           A.    Right.    Zero recollection of

 12            that.   I don't remember.

 13                           BY MR. KLEIN:    (Cont'g.)

 14                           Q.    Okay.    In terms of your testimony

 15            about the swelling of a skull, do you recall that?

 16                           A.    It's not swelling, you mean the

 17            subdural hematoma?

 18                           Q.    No, the -- you said there was an

 19            autopsy measurement of the skull, if I can just find

 20            it.

 21                           A.    The head circumference in the

 22            autopsy report.

 23                           Q.    You made a comment about the --

 24            the head measurement.

 25                           A.    Head circumference, yes, sir.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page414
                                               06/14/21 Pageof142
                                                                       1432
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 141
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           Q.    Right.    You had testified that in

  3            the criminal trial, do you recall that?

  4                           A.    I do not.   I don't -- and I don't

  5            even recall it after reviewing the testimony.

  6                           Q.    Okay.    Oh, isn't -- isn't the --

  7            the -- the head circumference totally non-specific in

  8            this case, the fact that there was swelling?

  9                           A.    Well, it's not a swell, it's --

 10            it's a measurement in inches or centimeters.          And

 11            it's a reflection of -- it's just the size of the

 12            head and they're normal measurements within, you

 13            know, to standard deviations of how -- at a certain

 14            age, whether you're male or female, what your head

 15            circumference is and --.

 16                           Q.    And I understand -- I understand

 17            in the front the head bulges over time, isn't that

 18            correct?   It's not instantaneous?

 19                           A.    Well, it can be pretty acute in a

 20            -- in a very young child.     In an older person,

 21            absolutely it doesn't happen -- may not have-- you

 22            know, if I had subdural hematomas, my head wouldn't

 23            get bigger, my --.

 24                           Q.    It could be, it -- my -- my point

 25            is that this could be suggestive of sepsis.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page415
                                               06/14/21 Pageof143
                                                                       1433
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 142
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           A.     It -- it's simply a reflection of

  3            the fact that the intracranial space is abnormally,

  4            you know, large.     Something is causing the head to

  5            get bigger.   It could be anything that takes up

  6            space.   It could be the brain itself due to cerebral

  7            edema, it could be the hydrocephalus with enlargement

  8            of the ventricles, which are the C.S.S. spaces inside

  9            the brain.

 10                           It could be due to subdural hematomas;

 11            it could be due to a brain tumor.      I mean there's

 12            lots of things.     Anything that takes up space can --

 13            if it's big enough, accelerate the growth of that.

 14                           Q.     Okay.   Thank you.

 15                           A.     That's -- and that is why at

 16            every pediatric visit up to the age of three head

 17            circumference measurements are standards of care.

 18            And you have to plot them so you can actually look

 19            and see what's happening.

 20                           For example, if someone's head

 21            circumference is growing at a twenty-fifth percentile

 22            and you know, after multiple visits and then suddenly

 23            it's at the fiftieth percentile, it is still within

 24            the normal range.    But the rate of change suggests

 25            something is happening.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page416
                                               06/14/21 Pageof144
                                                                       1434
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 143
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           You don't have to wait until it's

  3            above the ninety-fifth percentile before

  4            investigating, so that's what I mean.

  5                           Q.   With regards to the line of

  6            questioning with Ms. Peck about studies regarding

  7            drops or throws of babies, isn't it true that there

  8            are biomechanical studies of modeling drop score,

  9            throws of baby models to surfaces?

 10                           A.   Yes, yes.

 11                           Q.   Okay.    You don't have to throw

 12            babies to do a biomechanical study?      You could -- you

 13            can have a model.

 14                           A.   Yeah, but I mean, any reasonable

 15            person would understand that acquired -- acquired

 16            mechanical model is not a baby.

 17                           Q.   Right.    With those studies --.

 18                           A.   There are so many differences

 19            that make the studies almost irrelevant in my

 20            opinion.

 21                           Q.   Okay.    But those studies -- study

 22            or note the -- the -- the G -- the level of G is like

 23            enough to cause a fracture or subdural, correct?           The

 24            G-force.

 25                           A.   You know, again --.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page417
                                               06/14/21 Pageof145
                                                                       1435
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 144
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           MS. MITCHELL:    Object to form.

  3                           A.   --   (Cont’g.)    I -- I don't

  4            recall details of any specific study, I know they're

  5            done.   I -- in the past I've reviewed some -- I'm

  6            sure some discuss G-forces.     But it's -- you know,

  7            it's -- it's not real life.     And that this has been

  8            discussed in the literature over and over and over

  9            again, and most neurosurgeons don't put a whole lot

 10            of credence to these biomechanical studies.

 11                           BY MR. KLEIN:    (Cont'g.)

 12                           Q.   And you're not an expert in that?

 13                           A.   I am not an engineer, correct.

 14                           Q.   Okay.     So -- so the -- the idea

 15            that -- would you agree with the idea that a throw or

 16            drop of a baby to a bed surface might reach ten Gs.

 17            Does that sound something that you would -- would

 18            sound realistic?

 19                           A.   I do not --.

 20                           MS. MITCHELL:    Object to form.

 21                           A.   (Cont’g.)    I have no idea.

 22                           BY MR. KLEIN:    (Cont'g.)

 23                           Q.   Okay.     Have you -- are you aware

 24            of studies that say that such a drop would not be

 25            enough to cause a fracture or subdural hematoma?


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                             APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page418
                                               06/14/21 Pageof146
                                                               898of 189
                                                                        1436
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 145
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                           MS. MITCHELL:      Object to the form.

  3                           BY MR. KLEIN:      (Cont'g.)

  4                           Q.     That you need something more like

  5            fifty Gs?

  6                           A.     Again, I can't -- in the past, I

  7            reviewed this, you know, years and years and years

  8            ago.   I don't remember the details of any of the

  9            studies, so I don't know.

 10                           Q.     And on that note, I just want to

 11            discuss --.

 12                           A.     That's the same as the last

 13            question you asked.

 14                           Q.     And on that note, I wanted to

 15            just follow-up on -- on what you're doing now.

 16            You're retired currently and you were retired as of

 17            the 2014 trial, correct?

 18                           A.     Correct.    I retired -- my last

 19            day of work was June 30th, 2012.

 20                           Q.     Okay.   Have you practiced

 21            medicine since then?

 22                           A.     I have hardly thought about

 23            medicine since, no.

 24                           Q.     Okay.

 25                           A.     I have --


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page419
                                               06/14/21 Pageof147
                                                                       1437
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 146
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                            Q.   You continue --.

  3                            A.   -- a full life now.

  4                            Q.   Good for you.    And -- and have

  5            you -- it sounds nice.    And have you continued your

  6            studies to the extent that separate from practicing

  7            medicine?

  8                            A.   That's a -- do     I continue

  9            reading literature or whatever?     No, as I mentioned,

 10            I rarely even think about medicine these days.

 11                            Q.   Okay.    That is all I have.       Thank

 12            you, Doctor.

 13                            A.   Thank you.

 14                            MS. MITCHELL:   I do not have follow up

 15            questions.

 16                            MS. PECK:    I do not have any follow up

 17            questions.   Thank you, Doctor.    Nice to meet you.

 18                            MR. KLEIN:    Thank you, Doctor.

 19                            THE WITNESS:    Thank you very much.

 20            Thank you, everyone.

 21                            THE REPORTER:   Before everybody

 22            leaves, I've got to have some spellings.        There was a

 23            Dr. Germaine -- German?

 24                            THE WITNESS:    German, G-E-R-M-A-N.

 25                            THE REPORTER:   Okay.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page420
                                               06/14/21 Pageof148
                                                               898of 189
                                                                        1438
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 147
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             THE WITNESS:    John German.

  3                             THE REPORTER:   Okay.    Thank you.

  4                             THE WITNESS:    I think that's the name,

  5            but I'm not sure.

  6                             THE REPORTER:   And there was a

  7            detective, Ron Sutton, S-U-T-T-O-N.       Does anybody

  8            know?

  9                             THE WITNESS:    Fountain, F-O-U-N-T-A --

 10            T-A-I-N.

 11                             THE REPORTER:   Say again?

 12                             THE WITNESS:    Fountain, F-O-U-N-T-A-I-

 13            N.

 14                             THE REPORTER:   I was way off, there we

 15            go.     A Dr. Eric Hoover, which form of Eric would that

 16            be?

 17                             THE WITNESS:    E-R-I-C.

 18                             THE REPORTER:   I-C, okay.

 19                             THE WITNESS:    I-C, okay.

 20                             THE REPORTER:   And Hoover, just like

 21            the traditional?

 22                             THE WITNESS:    Yes.

 23                             THE REPORTER:   Okay.    And you have an

 24            attorney's sitting here with you, Dr. Waldman.

 25                             THE WITNESS:    Yes.


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page421
                                               06/14/21 Pageof149
                                                               898of 189
                                                                         1439
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 148
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2                             THE REPORTER:    Can I get that person's

  3            name?

  4                             MS. MITCHELL:     Yes, Lia.

  5                             THE WITNESS:     L-I-A.

  6                             MS. MITCHELL:    You got it right.

  7                             THE REPORTER:    Okay.

  8                             MS. MITCHELL:    M-I-T-C-H-E-L-L.

  9                             THE REPORTER:    M-I-C-C-H-E-L-L you

 10            said, correct?

 11                             MS. MITCHELL:    No, M-I-T-C-H-E-L-L,

 12            Mitchell.

 13                             THE REPORTER:    Oh, okay.     And I need

 14            the -- the venue, which court is this in?

 15                             MS. MITCHELL:    Two different courts.

 16            This is a -- a two-captioned deposition.

 17                             MR. KLEIN:     Do you want to know the

 18            caption?

 19                             THE REPORTER:    Yes.     If you -- if you

 20            could email us the caption.

 21                             MS. MITCHELL:    I don't have -- I have

 22            the court of claims caption, I don't have the other

 23            caption.

 24                             THE REPORTER:    Okay.

 25                             MR. KLEIN:     We'll give it to you,


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                              APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page422
                                               06/14/21 Pageof150
                                                                       1440
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 149
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            Howard, we'll get --

  3                             THE REPORTER:   Okay.

  4                             MR. KLEIN:   Okay.

  5                             THE REPORTER:   And -- hang on, and

  6            transcripts, who's -- who's getting transcripts?

  7                             MR. KLEIN:   We're all getting

  8            transcripts.

  9                             THE REPORTER:   And the bill goes to?

 10                             MS. MITCHELL:   We're splitting it.

 11                             MR. KLEIN:   It goes to those who have

 12            asked questions.

 13                             THE REPORTER:   Okay.

 14                             MS. MITCHELL:   Howard, what is your

 15            email address?

 16                             THE REPORTER:   It would be

 17            arii@portsteno.com.

 18                             MS. MITCHELL:   Okay.

 19                             (Off the record, 2:01 p.m.)

 20

 21

 22

 23

 24

 25


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page423
                                               06/14/21 Pageof151
                                                               898of 189
                                                                        1441
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                      Page 150
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2

  3    STATE OF                  )
       COUNTY OF                 )
  4
                  I, JOHN WALDMAN, have read the foregoing record
  5    of my testimony taken at the time and place noted in the
       heading hereof and do hereby acknowledge:
  6    (Please check one)
                  ( ) That it is a true and correct transcript of
  7    same.
                  ( ) With the exceptions noted in the attached
  8
       errata sheet, it is a true and correct transcript of same.
  9
                                      X
 10                                       JOHN WALDMAN

 11    Sworn to before me this
       ______day of ______, 2020.
 12    X_______________________
       NOTARY PUBLIC
 13    My Commission Expires:
       ___________________
 14

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page424
                                               06/14/21 Pageof152
                                                                       1442
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 151
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2

  3            I, HOWARD HUBBARD, do hereby certify that the

  4    foregoing testimony of JOHN WALDMAN was taken by me, in

  5    the cause, at the time and place, and in the presence of

  6    counsel, as stated in the caption hereto, at Page 1

  7    hereof; that before giving testimony said witness(es) was

  8    (were) duly sworn to testify the truth, the whole truth

  9    and nothing but the truth; that the foregoing typewritten

 10    transcription, consisting of pages number 1 to 151,

 11    inclusive, is a true record prepared by me and completed

 12    by Associated Reporters Int'l., Inc. from materials

 13    provided by me.

 14

 15    HOWARD HUBBARD, Reporter

 16

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page425
                                               06/14/21 Pageof153
                                                                       1443
                                                               898of 189


800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                     Page 152
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

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  4    Case Name: Thomas v City of Troy et al
       Index Number:
  5    Deponent: John Waldman, M.D.
       Deposition Date: 10-19-20
  6    Examining Attorney: Michael Ginsberg

  7    Dear Dr. John Waldman:

  8
       Please read and make any changes and/or corrections in
       your testimony and sign the transcript in the presence of
  9
       a notary public. Please do so within thirty (30) days.
 10    If you fail to sign the transcript within thirty (30)
       days, it will be delivered to the appropriate parties
 11    without signature. Return the transcript with
       corrections, if any, to:
 12          PATTISON, SAMPSON, GINSBERG & GRIFFIN:
             BY: MICHAEL E. GINSBERG
 13          22 First Street
             Troy, New YORK 12180
 14    CORRECTIONS:

 15
       ________       Word or phrase: ______________________________
                      Corrected to:   ______________________________
 16
       ________       Word or phrase: ______________________________
                      Corrected to:   ______________________________
 17
       ________       Word or phrase: ______________________________
 18                   Corrected to:   ______________________________
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 19                   Corrected to:   ______________________________
       ________       Word or phrase: ______________________________
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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page426
                                               06/14/21 Pageof154
                                                               898of 189
                                                                         1444
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 153

                        A                 ADAM 1:7
   A.F 20:21                              additional 21:9 118:7 124:22
   a.m 1:22 6:3 61:22                      131:19
   A.M.A 14:4                             address 149:15
   A.M.C 19:12                            adequate 89:4
   A.M.C.H 26:25                          adherent 126:10
   ability 118:20                         adhering 105:25
   able 8:10 100:21 101:16 102:23         adjective 75:17
    118:5                                 admission 18:24 26:23 27:16
   abnormal 24:4 49:11,13,15,16,25         35:11 75:14
    50:19 101:23 122:12,22 123:3          admittance 104:3
    124:19 126:16                         admitted 15:4 26:18
   abnormalities 49:3 117:4,5,15          Adrian 1:4,13 37:19 38:15 39:23
   abnormality 71:18 74:4 124:6           adult 12:20,22 30:19
   abnormally 21:12 123:8 142:3           adult's 56:23
   absent 27:7                            adults 21:23
   absolutely 24:5 30:2 82:8              affirm 6:20
    100:12 114:11 119:16 120:4            age 13:2 23:7 30:17 57:8 120:15
    123:19 133:13 135:9 141:21             120:16 121:7,9 141:14 142:16
   abundant 130:18                        ago 42:20 50:8 56:21 58:15
   abuse 34:2 53:22 58:10 59:12            99:15 145:8
    82:2,11 107:20 134:12,18              agree 6:25 46:8 56:5 67:18,20
   academic 11:23                          68:10 135:5 144:15
   academics 11:25                        Agreed 94:5
   accelerate 142:13                      agrees 85:22
   accelerates 30:21                      ahead 14:20 30:7,8 77:14 117:22
   acceleration/deceleration 30:11         123:19,20 125:12 133:10
    30:14                                 airways 52:21 132:3
   accident 25:5 28:23 73:21              al 1:1 2:1 3:1 4:1 5:1 6:1 7:1
   accumulated 91:18                       8:1 9:1 10:1 11:1 12:1 13:1
   accurate 38:6,9,10 41:17 44:7           14:1 15:1 16:1 17:1 18:1 19:1
    64:5 79:20 86:25 96:20 111:8           20:1 21:1 22:1 23:1 24:1 25:1
    134:14 135:3                           26:1 27:1 28:1 29:1 30:1 31:1
   accurately 40:25                        32:1 33:1 34:1 35:1 36:1 37:1
   achieved 91:17                          38:1 39:1 40:1 41:1 42:1 43:1
   acknowledge 150:5                       44:1 45:1 46:1 47:1 48:1 49:1
   acknowledges 40:13                      50:1 51:1 52:1 53:1 54:1 55:1
   acquired 143:15,15                      56:1 57:1 58:1 59:1 60:1 61:1
   act 53:8                                62:1 63:1 64:1 65:1 66:1 67:1
   actions 39:23 65:20                     68:1 69:1 70:1 71:1 72:1 73:1
   active 11:21                            74:1 75:1 76:1 77:1 78:1 79:1
   activity 27:16                          80:1 81:1 82:1 83:1 84:1 85:1
   actual 72:6 84:11                       86:1 87:1 88:1 89:1 90:1 91:1
   acute 55:9,23 56:3,15,22,24             92:1 93:1 94:1 95:1 96:1 97:1
    57:10,12 58:9 71:2 77:10 78:4          98:1 99:1 100:1 101:1 102:1
    80:8 91:8,11,25 92:3 109:7             103:1 104:1 105:1 106:1 107:1
    124:16,17 125:5,17 127:11              108:1 109:1 110:1 111:1 112:1
    130:13,14,16,19,20 131:9,10            113:1 114:1 115:1 116:1 117:1
    131:12 136:20 141:19                   118:1 119:1 120:1 121:1 122:1
                                           123:1 124:1 125:1 126:1 127:1

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page427
                                               06/14/21 Pageof155
                                                               898of 189
                                                                         1445
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 154

    128:1 129:1 130:1 131:1 132:1         approaches 55:20
    133:1 134:1 135:1 136:1 137:1         appropriate 83:16 152:10
    138:1 139:1 140:1 141:1 142:1         April 4:7
    143:1 144:1 145:1 146:1 147:1         arachnoid 56:11 57:23 58:8
    148:1 149:1 150:1 151:1 152:1         area 49:24
    152:4                                 areas 12:4 49:3 131:13 132:10
   alarmed 111:18                         arii@portsteno.com 149:17
   Albany 2:11,14 10:4,10,10,17,18        arm 108:8,9
    11:3,5,16,17 15:3 27:2 35:11          arose 133:16
    42:3 45:24 51:18,23 64:10             art 68:12
    75:11 97:2 120:24                     arterial 108:24
   alert 137:15                           arteries 108:21,23
   alive 52:23 83:14,17 103:6             artery 108:24
   alluded 55:8                           article 134:24
   American 14:2                          articles 134:17,18,24
   amount 72:5 109:25 110:18              aside 18:23
    111:11 126:10                         asked 12:24 15:22 16:7 41:21
   analysis 102:10                         70:8,8 74:24 85:22 92:17
   anatomic 63:22                          111:25 114:22 139:4 145:13
   anatomical 74:3,8 75:8 77:3             149:12
   anatomically 69:10 74:2 91:12          asking 46:25,25 47:10 89:25
   and/or 21:8 65:10 113:11 152:8          90:2 94:16 95:2,4 102:7
   angiograms 97:12                        104:20
   angiography 97:8,24                    aspiration 132:4,5
   ankle 110:11                           assess 123:5
   ankles 110:2,7                         assistant 11:7
   answer 32:8 45:15 62:5,11,25           associate 11:8
    70:9 75:4 81:24 83:10 95:12           associated 22:14 29:14,16 45:5
    100:17 111:25 138:5                    45:11 75:18 106:19 108:14
   answered 112:6                          113:11 151:12 152:2
   answering 9:18                         Association 14:2
   answers 5:9                            assume 9:18 23:9 114:12
   anterior 20:21,21 60:25                Assuming 64:21
   anybody 37:8 44:19 113:16 119:7        assumptions 111:7
    147:7                                 at-- 73:9
   anyone's 94:25                         attached 150:7
   Anyway 123:19                          attempt 23:7
   apart 21:10,12 22:6,8,11               attempted 37:2
   Apgar 136:3                            attend 9:5
   apologize 80:12 85:16                  attending 11:2,11,16,18 18:6
   apparently 34:8 45:10                   71:13
   appearance 54:14 55:20 58:7            attention 32:20
    70:5 128:15                           attorney 2:10 5:15 9:7 40:3
   APPEARANCES 2:2                         152:6
   appeared 49:4 54:10 97:16              attorney's 140:5 147:24
   appearing 124:17 125:18 130:21         attorney- 140:9
    131:13 134:13                         attorney-client 140:8
   application 38:16                      attorneys 5:3 119:4,8
   appreciate 9:4 100:18                  aureus 64:12


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page428
                                               06/14/21 Pageof156
                                                               898of 189
                                                                         1446
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 155

   autopsy 4:7 55:3 63:9 79:25            began 11:11
    83:11 84:11,18,19 85:24 86:2          beginning 70:9 96:5 114:23
    86:4,15 89:9,11 90:19 92:13            134:5
    92:14,15 94:20 102:20,25              behavior 29:23 30:13
    103:4,14,19 104:4,8,23 114:6          belief 76:4 78:24 112:14 115:24
    114:10,20 118:6 119:4 131:15           116:4
    132:23 133:20 135:18 139:5,7          believe 9:8 11:15 14:19 31:21
    139:16 140:19,22                       42:16,17,21 43:11 44:25 52:19
   availability 50:9                       55:2 67:2 70:17 75:8 84:5,7
   available 36:6 67:7 102:20              94:25 99:15 114:25 115:8,22
    109:5 131:20                           116:21 118:2,22,22 119:6
   avoid 7:21                              124:21 126:25 136:11,24
   aware 44:6 106:9 118:13,16             believed 54:3 77:17 78:22 94:13
    139:15 144:23                          101:10 112:2 115:16
   axial 76:12                            beneficial 80:17
                                          Bernard 9:23
                   B                      best 20:18 40:24 41:18 44:14
   b 4:2 23:2 32:25 59:18 85:14            48:8 50:17
     127:9,17 130:10,10,10,11,13          better 23:13 25:13 77:21 113:10
     130:13,15                             113:13 138:9
   B.A 10:3                               big 58:10 142:13
   B.I.L 19:16                            bigger 87:16 141:23 142:5
   babies 110:24 111:13 143:7,12          bilateral 19:16,19,20 23:2
   baby 21:20 143:9,16 144:16              27:12,17,25 28:12 29:21 32:25
   baby's 20:22 21:8,19 22:2,3             35:23 45:20 59:18,23 72:21,23
   back 8:14 34:25 43:16 62:4 64:3         74:21 76:11 79:17 92:25 93:7
     81:4 86:16 99:8 101:22 104:14         94:8,13 112:23 126:18,20
     119:15 124:4,8 126:22 129:9           131:5 133:21,23
     137:16                               bilaterally 36:10 126:14,19
   background 9:25 96:13                   131:12
   backward 6:12                          bill 149:9
   bacteria 102:13 132:3                  biomechanical 143:8,12 144:10
   BAILEY 2:13                            birth 27:3 45:5 54:6,7 121:2
   based 16:18 39:14 48:11,13 49:9         135:22,24 137:4
     52:18 65:6 66:7 70:18 72:11          birth-related 53:21
     72:12,14,18 73:24 74:2 79:4          bit 65:8 87:19 96:10,13 106:25
     94:16 97:5 106:22 114:15              126:22,23
     125:14 126:2 135:17                  black 26:18
   bases 39:12                            bled 91:20
   bash 110:2                             bleed 34:13
   basic 13:19                            bleeding 70:3 108:20,24 109:2
   basically 23:14 128:5                   122:12,14,17,17,23 123:10
   basis 28:14 35:14,17 57:9 72:10        blood 19:25 23:17 46:6,17 47:6
     116:12                                47:11,22 48:5,5,6,14 51:18,22
   Bates 16:22 17:24 24:10 32:20           54:16 55:9,12,13,17,19,20
   Bear 118:18                             56:15,17,22 57:6,10,12 63:23
   bearing 106:22                          64:10 70:5 76:15 77:10 78:4,5
   beautiful 6:14                          91:8,11,17,19,21,25 92:3,9
   bed 106:20 144:16                       93:5 100:20,24 102:14 106:5,5
   bedside 74:17 99:17,19                  117:2,4,15 123:7 127:15,16,23

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page429
                                               06/14/21 Pageof157
                                                               898of 189
                                                                         1447
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 156

    128:9 131:22,22 132:12                C.S.S 142:8
   blunt 124:20 126:4 129:14,19           C.T 19:12 23:2,9,15,16 27:11
    130:8,24 131:3,17                      34:9,11 35:18,21,25 36:2 42:8
   board 14:8,11,12                        43:8 44:8 45:17 47:3,18,20
   body 103:21                             48:3,11,14,16,20 50:5 55:9,18
   bogus 111:6                             56:4 58:7,11 66:9,13 67:23
   bone 21:10,20 77:24 78:2 113:12         70:6,19 72:12 76:24 77:2 84:9
   bones 21:10                             91:2,6 92:21 93:10,21 94:17
   born 122:3,4                            95:12,16 96:14,18 99:5 100:19
   Boston 10:15                            100:23 114:15,18 116:17 133:2
   bottom 16:23 18:10 111:12               133:7,25
   bounced 106:20                         C.T.'s 68:25
   brain 12:12 13:17,21 20:18 21:8        Calabrese 2:10 3:7 6:8,10 7:4
    21:21 22:11,14,17,18,18 23:19          8:7 39:7,11 45:13 46:18 47:24
    23:21,23,24,24 24:3 27:16,25           50:23 52:16 58:12 61:8,18
    28:7,25 30:21 31:7 34:19 44:2          65:4,16 66:2 67:19 68:17 70:7
    49:22 57:2 61:5,15 67:3,14             70:20,22 71:6 72:25 74:23
    74:7 86:21 88:20,20 90:7               79:23 80:4,22 83:23 84:2,13
    101:13 105:22,23,24 108:17             84:21,25 85:5,9,12,17 93:11
    117:2,3,7 122:17 126:5 127:15          93:18 94:3 95:4,21 104:17,24
    128:4,8,21 131:7 142:6,9,11            116:11,20 118:17,19,24 119:2
   brain-death 82:14,15                    119:12,17 125:11 129:20 130:4
   brainstem 127:18,22,25,25               133:14 134:9 135:4 137:8,13
    128:22                                 137:17,21,25 138:6,10,14,17
   break 108:8 137:22                     call 12:21 16:2 18:6,6 25:20
   breaking 25:10                          32:5 45:21 67:7 70:13,14
   Brett 2:4 7:2,13 39:22 84:14            71:12 95:6 98:3 111:18 128:25
    85:10 88:24                           called 18:4 25:2,16,17 26:24
   bright 55:10,23 56:5,18,18,24           27:10 32:3 80:8 127:22
    57:11,14,16 93:4                      calling 94:25
   bring 8:14 80:18                       calls 104:11
   Broadway 2:4                           capacity 11:5
   broke 62:15                            Capitol 2:11
   brought 81:8 96:6                      caption 148:18,20,22,23 151:6
   brown 126:10                           car 25:5 28:23
   bruise 122:13                          care 11:22 12:10,25 15:4,5,9,14
   bruises 122:13                          16:7,8 74:11,12 81:11 82:21
   bruising 27:5                           142:17
   buildup 128:7                          career 10:19 13:6,10
   bulges 141:17                          caring 33:24 51:9 69:7 72:3
   bulging 20:23 60:17,19,24,24            75:9 77:16
   bunch 15:13 139:4                      case 12:19 13:11,13 14:24 22:2
   busy 9:5                                22:3,7 31:11 42:20 43:4,9
   button 7:19                             47:18,20 52:20 57:10,14 59:7
                                           63:4 66:20,25 67:24 71:10
                        C                  79:2,12 82:11,25 83:9 93:14
   C 3:2 77:2                              93:24 95:3 98:22 99:2,8
   C.P.S 24:17,19 25:2,9,16,18             100:13 101:3 103:17 104:6
     32:10 33:4                            106:23 114:2 118:14 125:19
   C.S.F 49:23 57:4 78:11 105:22           130:6 141:8 152:4

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page430
                                               06/14/21 Pageof158
                                                               898of 189
                                                                         1448
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 157

   cases 53:7 98:16 111:9 134:21          chance 40:22 41:14 42:2
    134:25 136:22                         change 41:6,22 52:13 54:21 65:7
   CAT 28:16 29:2 34:10,11 45:21           79:5,9 94:9 104:5 142:24
    72:15 73:8,15 97:15,16 136:12         changed 63:15 78:25 94:18,20
   caught 25:11                           changes 50:21 103:18 104:10,22
   causation 31:14                         111:5 152:8
   cause 5:16 21:14 31:6 38:17            characteristic 54:14,15 78:7
    52:14 61:7 64:25 88:14 106:13         charge 33:24 94:4
    106:23 107:3,7 108:20,24              charges 71:22
    110:19,20 111:5,17 114:24             chart 16:19,20,22 17:14 26:20
    115:20 117:3,4,5,10,15 127:8           28:18 31:18 32:21 36:4 42:3
    128:3,18 130:2 143:23 144:25           68:3 71:24 74:18 78:22 112:17
    151:5                                  112:20 113:16
   caused 21:10 22:13,16 29:23            check 150:6
    37:24 54:2 65:25 66:6 108:25          chief 95:18
    112:15,24 115:2,13 116:4,22           child 24:20,23 25:4 30:17,19
    118:3,4 124:25 127:23,25               34:2 51:10 52:21 53:3,4,11,13
    128:6,16,17                            58:10 59:12 65:9,10,13,15,19
   causes 30:14 63:15 116:19 128:9         65:20 66:10 71:23 77:17 82:2
   causing 61:6 115:17 142:4               82:11 83:13,14 91:17 102:4
   caution 137:12                          103:5,20 106:19 107:20 111:17
   caveat 103:2                            112:14 113:2 116:2,13,17
   cell 50:20                              121:8,12 122:19 123:3 131:25
   cells 47:22 48:5,6 102:18               132:6,10 133:23 134:12,18
    127:11                                 136:2,5,16 137:3 141:20
   center 10:15,18 11:3,17 15:3           child's 116:5
    27:2 42:3 51:18,23 82:19              children 10:12 12:20 21:23
    97:17 104:4 136:2                      52:20 56:10 107:24 109:5
   centimeters 120:25 126:13               136:18,19
    141:10                                Children's 10:14
   central 83:4 128:25                    Christina 2:10 39:6 61:16 62:14
   cephalograms 97:13                      84:3 89:21 95:21 116:8 119:9
   cerebral 13:17,21 23:18 49:23          chronic 57:3 105:18 124:16,18
    55:13,18,21 56:12,16 57:6              125:5,17,20 126:2 130:14,17
    58:16 97:8 127:19 128:19              chronological 24:12
    131:2,4,9 142:6                       circle 81:4
   cerebrospinal 76:17,19 77:11           circumference 120:14,17,24
    78:2                                   121:6,10,16,20 136:8 140:21
   certain 23:18,18,19 25:15 31:19         140:25 141:7,15 142:17,21
    31:24 36:14 43:2,3,5 61:13            circumstance 82:11
    78:4 105:11 111:10 141:13             circumstances 28:3 61:13 105:11
   certainly 21:4 30:11 53:3 55:6         City 1:1,7 2:1,6 3:1 4:1 5:1
    57:12 61:13 68:24 110:3 114:3          6:1 7:1 8:1 9:1,7 10:1 11:1
    116:23                                 12:1 13:1 14:1 15:1 16:1 17:1
   certification 14:8                      18:1 19:1 20:1 21:1 22:1 23:1
   certifications 119:20                   24:1 25:1 26:1 27:1 28:1 29:1
   certified 5:16 14:11,12                 30:1 31:1 32:1 33:1 34:1 35:1
   certify 151:3                           36:1 37:1 38:1 39:1 40:1 41:1
   cetera 72:16 122:20                     42:1 43:1 44:1 45:1 46:1 47:1
                                           48:1 49:1 50:1 51:1 52:1 53:1

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page431
                                               06/14/21 Pageof159
                                                               898of 189
                                                                         1449
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 158

    54:1 55:1 56:1 57:1 58:1 59:1         coincident 97:21
    60:1 61:1 62:1 63:1 64:1 65:1         COLANERI 1:8
    66:1 67:1 68:1 69:1 70:1 71:1         colleagues 72:13
    72:1 73:1 74:1 75:1 76:1 77:1         collected 103:19
    78:1 79:1 80:1 81:1 82:1 83:1         collection 23:21 46:6,16 47:4
    84:1 85:1 86:1 87:1 88:1 89:1          47:23 48:3,10 52:15 63:16
    90:1 91:1 92:1 93:1 94:1 95:1          64:25 69:15,19 74:22 76:12,14
    96:1 97:1 98:1 99:1 100:1              82:24,25 91:7,15 105:2
    101:1 102:1 103:1 104:1 105:1         collections 23:3 49:18 66:12
    106:1 107:1 108:1 109:1 110:1          69:12 72:21 127:4
    111:1 112:1 113:1 114:1 115:1         college 9:25 10:4,10,19 11:16
    116:1 117:1 118:1 119:1 120:1         coma 20:3,10,18 26:19 52:20
    121:1 122:1 123:1 124:1 125:1         comatose 131:25
    126:1 127:1 128:1 129:1 130:1         combination 100:25
    131:1 132:1 133:1 134:1 135:1         come 14:14 21:20 31:6 32:2 48:8
    136:1 137:1 138:1 139:1 140:1          51:13 63:4 64:16,17 98:18
    141:1 142:1 143:1 144:1 145:1          100:3
    146:1 147:1 148:1 149:1 150:1         comes 28:25 96:14
    151:1 152:1,4                         comfortable 8:19 123:16
   civil 2:3 5:5 39:23 42:20              comment 140:23
   claim 111:3,4                          Commission 150:13
   Claimant 1:14                          common 12:23 56:9
   claims 148:22                          commonly 29:21
   clarifies 84:18                        company 13:16
   clarify 41:6,22 54:5 62:25 63:2        compared 74:21
    115:11                                complete 132:13 133:5
   classically 56:21                      completed 151:11
   clear 18:3 76:14 126:3 133:21          completely 73:24
   client 113:20 140:10                   complied 35:4 52:7 62:8,18
   clinical 35:18 131:3 136:10             104:16
   clinically 54:25 75:8                  component 36:2 77:10
   close 81:15 103:13                     components 20:4,12 29:20 56:19
   closed 131:2                            56:19,20 57:15
   closed-head 88:15                      compressed 127:2
   closely 57:4                           computer 86:18 99:16
   closer 56:25                           computers 50:14 100:2
   clot 126:11                            conceivable 113:25
   clotted 78:5 91:18 93:5                conceive 37:7
   clotting 55:9 123:3                    concentration 102:15
   clump 78:5                             concern 15:18 53:12 60:14 136:8
   coag 101:22                             136:9
   coags 101:22                           concerned 39:12
   coagulation 24:16 101:24               conclu 131:16
   coagulopathies 117:16                  concludes 132:23
   coagulopathy 46:2,5,14 47:11           concluding 72:10
    69:25 70:2 106:7,19 116:25            conclusion 28:20 71:2
    117:3,24 118:3 122:15,24              conclusions 74:10 93:19 130:25
    123:2                                 conclusive 131:16
   coax 24:16                             concussion 30:23


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page432
                                               06/14/21 Pageof160
                                                               898of 189
                                                                         1450
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 159

   condition 22:13 26:14 31:15            contributing 116:24 117:25
    33:2 37:11,18                         controls 117:7
   conditions 59:11 81:11                 convenient 8:15
   confessions 134:25 135:2               conversation 99:4
   confirm 44:6 118:7                     conversations 44:24 72:13
   confirmed 114:20                       copy 5:16 41:10
   confusing 107:18                       cord 12:12 81:21
   Congress 14:5                          corneal 27:7
   conjecture 123:18                      corner 16:23,23 18:10 108:12
   conjunction 13:15                      correct 9:9 15:11 21:17,18
   connect 105:24                          22:21 33:2,5,13,17 34:3,10,11
   Consider 27:19                          34:15,16 36:4,7,12 37:12,20
   considered 28:4 98:8                    41:6,11,23 42:5,8,21 43:4,9
   considering 101:9                       44:13,17,24 45:22 47:4,8
   consistent 29:3 38:22 44:2              49:12,14 51:24 53:17,22 55:10
    60:18,21 129:14 130:24 131:8           55:24 58:11 59:8,9,12,14
    139:8                                  61:11 64:8 65:14,25 66:9,14
   consisting 151:10                       66:17,18 67:17 68:10,11,25
   constellation 116:16                    69:16,25 76:15,16,18,25 78:20
   consult 15:22,25 17:14 24:18            78:21 79:17 80:7 89:10,11
    27:10,20 36:11 43:6 66:19,21           92:5 112:5 114:6,10,11,20
    66:21 82:13 98:17                      120:16 125:2,3 141:18 143:23
   consultation 18:3 73:9,10,13            144:13 145:17,18 148:10 150:6
   consulted 15:17,21 31:23 67:2           150:8
   consults 25:18                         corrected 19:5 152:15,16,18,19
   Cont'g 30:6,12 31:4 35:19 40:19         152:20,21,22
    43:21 45:23 46:20 47:2,17             correction 64:13
    48:12 51:5 52:10 53:14,24             corrections 5:11 152:8,11,14
    58:17 60:16 61:9 62:23 64:15          correctly 91:5 132:6
    65:12,23 66:4 67:22 68:22             cortex 126:14
    70:11,24 72:8 74:14 75:3              cost 7:18
    78:17 79:7 81:2 86:9 88:9             cough 20:20 106:4
    89:7 90:17 91:23 92:8,18              coughing 105:15
    94:15 104:25 110:4 111:22             counsel 87:25 151:6
    113:18 115:10 116:20 118:17           count 46:3 101:25 123:7
    119:17 125:11 129:20 130:4            country 111:11
    133:14 135:4 140:13 144:11,22         county 1:9 134:20 150:3
    145:3                                 couple 39:13 56:4 138:9
   Cont’g 65:18 129:18 144:3,21           course 13:6 16:19,21 98:6 99:18
   contact 71:17                           121:8
   contacted 24:23 33:9                   court 1:2 8:9 62:4 96:7 148:14
   contains 56:11                          148:22
   contaminated 103:9                     courts 148:15
   continue 10:15 115:23 118:15           covered 39:12 140:8
    125:13 146:2,8                        COVID- 60:6
   continued 11:12 62:14 146:5            cranial 21:18 72:15 73:15
   continuous 91:16                       create 109:22
   contradicted 125:7                     credence 144:10
   contrary 124:24                        crib 107:13 109:20


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page433
                                               06/14/21 Pageof161
                                                               898of 189
                                                                         1451
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 160

   cribs 107:23,25                        definitely 36:15 51:3
   criminal 31:11 37:18 40:9 41:11        definitive 83:10
    45:3 141:3                            degree 10:5
   critical 33:2                          delivered 152:10
   Cross 3:5,6,7 39:19 96:2 116:10        deliveries 136:18
   crossed 19:3 113:25                    delivery 135:24 136:2,20
   crosses 108:23                         denser 49:5 54:10
   crying 53:6                            densities 23:22 48:4,6 74:2,5,9
   Crystal 2:13 80:6 89:22 90:12           77:22
    90:22 96:5                            density 23:3,5,17,18,19,19,23
   culture 51:18 63:23 64:10               24:2 35:23 48:3 50:20 54:21
    131:23 132:12                          56:17 57:2,7 77:5,10,13,20
   cultures 51:22 64:3 102:11              78:2,4,5,6
   current 10:23 13:24                    department 6:6 32:3,14 36:12,17
   currently 10:21 145:16                  36:20 37:2,15 98:13 99:25
   curve 121:11                           depending 104:2
                                          depends 18:16 71:13 93:11
                        D                  109:24
   D 3:2,2 4:2                            deponent 7:21 152:5
   dark 49:6 54:21 57:3 89:5              deposition 1:20 5:5,11,14,15,17
   darker 54:10 56:20                      7:14 40:3 42:15,18,19,24
   date 1:21 90:9 103:15 104:6,7,7         75:12 119:10 133:25 148:16
     104:22,23 105:2 152:3,5,23            152:5
   day 15:14 16:2,4 26:21,22,23           depositions 119:6
     43:11 71:14 98:10 121:20             describe 13:8 14:10 17:22 24:8
     134:19 145:19 150:11                  26:14 43:23 68:14 73:25
   days 26:21 51:24 52:23 56:4             105:13 126:16 130:16
     64:11 97:3 146:10 152:9,10           described 60:20 128:13
   dead 20:19 27:25 28:8,25 83:13         describes 69:10
     101:14 112:22 117:2                  describing 23:15,20 69:12 74:3
   dealt 67:16                             74:7 75:6 127:18
   Dear 152:7                             description 4:4 87:18 88:12
   death 44:2 65:25 66:6 67:3              93:13
     88:15 103:18 104:7,7,7,22            detail 63:19
     109:4 112:24 115:20 116:5,13         details 63:18 97:23 144:4 145:8
     116:19,21 128:3 131:7                detective 33:10 147:7
   decelerates 30:22                      determination 67:3 74:20 82:14
   decided 39:7                           determinations 37:10 82:16
   decision 74:19                         determine 48:17 54:2 81:8
   decisions 69:6 74:12                    100:21 113:4
   deep 20:18 26:19 27:8 52:20            determined 31:6 76:4
   deep-seated 129:11                     determining 93:17
   Defendant 1:17 4:5 5:6                 develop 13:17 132:10
   Defendant's 119:13                     developed 47:11 65:10 97:19
   Defendants 1:11 9:8                     98:6 109:6 121:21,22 132:11
   defer 93:14                            developing 13:15,20
   deficit 29:14                          deviations 141:13
   define 21:19 107:8 122:25              diagnoses 73:4
   defined 59:6 110:17,18                 diagnosis 28:11 36:10,18 59:17
   defines 127:6                           59:18 63:22 73:23 97:4 114:5

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page434
                                               06/14/21 Pageof162
                                                               898of 189
                                                                         1452
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 161

    114:9,19 139:8,9                       34:17 35:21 36:9 37:17 39:3
   diagnostic 83:14                        60:14 62:24 75:4 80:4,6 83:24
   diagnostically 101:17                   90:5 93:12 95:11,20 96:4
   diarrhea 26:21                          101:19 106:24 115:3 116:12
   dictated 71:20                          118:18 119:19 125:12 128:12
   die 58:19,19,24 59:5 109:7              129:24 132:25 134:4 137:7
   died 65:20,21,21 66:11 109:6            139:3,15 146:12,17,18
    116:19                                doctors 44:21 60:15
   difference 74:8 108:20 109:18          document 16:24 32:20 50:25
    109:19,21                              67:25
   differences 23:17 143:18               documentation 32:17 36:23
   different 22:18,20 23:22 29:10         documented 44:15
    29:11 55:2 59:25 74:2,4 75:6          documents 42:14
    77:22 102:20 105:19 108:18            Dohme 13:16
    123:5,6 125:4 148:15                  doing 28:8 85:6 88:7 97:22
   differentiate 76:25 100:22              111:16 112:9 115:3 123:16
    117:17                                 145:15
   difficult 135:14                       doubt 71:10 72:6 113:25 114:3
   difficulty 55:16                       Dr 8:5,5,18 15:6,7,9,10,17 16:3
   digital 99:18                           16:7,8 17:14,20,22 18:6,10,11
   diluted 58:16                           18:15 24:18 31:14,19 33:8
   dilutes 56:17                           36:6 37:9 39:21 42:5,17 43:3
   direct 3:4 8:25 36:15 38:8,18           44:20 63:6,8 64:22 66:15
    97:22                                  71:11 72:6 79:10,16 80:8 81:5
   directly 102:9                          81:7 82:23 83:21 85:21,23
   dirty 77:21                             89:18 90:3,11,18,21 96:6
   disagree 119:7                          101:19 113:19,20,23 114:8,12
   disagrees 85:23                         118:6 125:7 137:13,14 139:25
   disappeared 101:19                      140:5 146:23 147:15,24 152:7
   discharge 121:3                        draw 72:20,24
   discharged 71:24                       drawing 32:19 74:9
   discuss 7:15 23:13 96:12 98:18         drawn 51:19
    144:6 145:11                          drop 107:22 143:8 144:16,24
   discussed 7:22 24:18 100:11            drops 143:7
    114:2 131:15 144:8                    due 46:2,7,7,7,13,16,17,21
   discussing 36:20 37:6 114:4             47:23 48:14,15 50:20,21 58:10
   discussion 31:13 32:13 36:16            59:14 65:22 78:15 116:14
   disease 48:18 51:7,15 52:12             125:20 127:3 128:13,13 130:8
    67:17                                  131:3 133:6 142:6,10,11
   diseases 12:16 60:3                    duly 5:14 151:8
   dispute 32:18 36:21 116:2              dura 56:14 105:25 108:16,17,22
   disputed 118:13                         126:9 128:21
   distinction 72:24                      dural 85:13
   District 1:2,3 96:7 140:5              duration 103:3
   Doc 132:18                             duties 11:19
   doctor 8:14 9:3,21 10:20 11:13         dying 109:7
    12:3 13:4,22 14:7,14 15:20
    16:21 18:12 21:3 22:23 24:6                           E
    24:11 25:7,23 27:21 28:10             E 2:7 3:2,2,2 4:2,2 152:12
    29:24 30:7 31:5,9 32:12,19,23         E-R-I-C 147:17

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page435
                                               06/14/21 Pageof163
                                                               898of 189
                                                                         1453
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 162

   E.M.V.T 20:4                           entertain 78:14
   earlier 7:22 9:4 33:5 39:22,22         entertained 78:19
    60:21 65:9 69:18 84:5 132:25          entire 10:19 26:10
    133:6,17 134:4 137:9                  entirely 49:15
   early 13:13 18:24 114:23 135:25        epidural 22:19 58:20 59:8
   ecchymosis 122:13                       108:15,15 109:8
   echo 134:10                            equals 20:13
   edema 13:18,21 127:19 128:19           Eric 66:15 70:16 147:15,15
    131:3,4,9 142:7                       errata 150:8
   edge 15:6,8,9,17 31:14,19 33:9         essence 121:24
    36:6 37:9 43:3 44:20 108:13           essentially 28:7 99:10 101:13
   Edge's 15:10 42:18                      119:19
   educational 9:25                       et 1:1 2:1 3:1 4:1 5:1 6:1 7:1
   effect 45:6 49:8 128:23                 8:1 9:1 10:1 11:1 12:1 13:1
   effects 67:15                           14:1 15:1 16:1 17:1 18:1 19:1
   effort 133:2                            20:1 21:1 22:1 23:1 24:1 25:1
   effusion 46:7,16 47:10,12 48:10         26:1 27:1 28:1 29:1 30:1 31:1
    54:14,25 69:15,19 78:7,15              32:1 33:1 34:1 35:1 36:1 37:1
    83:4                                   38:1 39:1 40:1 41:1 42:1 43:1
   effusions 54:20,24 83:5 101:9           44:1 45:1 46:1 47:1 48:1 49:1
    106:11 125:24                          50:1 51:1 52:1 53:1 54:1 55:1
   eight 17:25 24:10 26:2,3,3              56:1 57:1 58:1 59:1 60:1 61:1
    43:18,25 49:3 63:25 68:6,7             62:1 63:1 64:1 65:1 66:1 67:1
   eighteen 13:3 112:8                     68:1 69:1 70:1 71:1 72:1,16
   eighty 43:17                            73:1 74:1 75:1 76:1 77:1 78:1
   eighty- 17:17                           79:1 80:1 81:1 82:1 83:1 84:1
   eighty-five 17:15,20                    85:1 86:1 87:1 88:1 89:1 90:1
   eighty-seven 17:11,18                   91:1 92:1 93:1 94:1 95:1 96:1
   eighty-six 17:10                        97:1 98:1 99:1 100:1 101:1
   either 22:11 32:14 41:21 65:25          102:1 103:1 104:1 105:1 106:1
    97:17 110:12 114:17 135:3              107:1 108:1 109:1 110:1 111:1
    139:19                                 112:1 113:1 114:1 115:1 116:1
   elderly 105:16 107:4                    117:1 118:1 119:1 120:1 121:1
   element 29:18                           122:1,19 123:1 124:1 125:1
   elevation 107:2                         126:1 127:1 128:1 129:1 130:1
   email 84:20,20 87:25 88:23              131:1 132:1 133:1 134:1 135:1
    119:14 148:20 149:15                   136:1 137:1 138:1 139:1 140:1
   embedded 108:21                         141:1 142:1 143:1 144:1 145:1
   emergency 24:15 26:24                   146:1 147:1 148:1 149:1 150:1
   employed 10:9                           151:1 152:1,4
   employment 10:21 11:11                 evaluate 16:11 135:14
   engineer 144:13                        evaluation 122:11
   engineers 111:3,3                      evening 16:5
   enlarge 86:17 87:3,13 119:23           event 25:5 28:22 124:23
   enlarged 89:5                          events 30:2 42:23 93:23 134:6
   enlargement 142:7                      everybody 6:25 40:12 137:15
   ensure 133:4                            146:21
   enter 47:12 101:8                      evidence 24:13 27:15 28:22
   entered 10:5                            47:21 51:7 52:12 58:2,4,6
                                           75:15 76:21 119:11 122:8,12

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page436
                                               06/14/21 Pageof164
                                                               898of 189
                                                                         1454
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 163

    122:21,22 126:4,20 131:5,7,16         extremis 103:21
    136:25                                eye 20:4 130:20
   evidenced 35:24                        eyebrow 105:14
   exact 97:16 103:15
   exactly 79:15                                          F
   exam 16:15 19:22 24:12,15 27:5         F 3:2
    28:24 29:3 35:18 43:7,23 44:2         F-O-U-N-T-A 147:9
    44:8 48:7 126:8,21                    F-O-U-N-T-A-I- 147:12
   examination 3:4,5,6,7,8,9 8:25         face 60:10
    17:23 27:23 28:6,17 39:19             fact 20:17 46:14 53:16,18,19
    72:15 96:2 97:6 101:2 116:10            63:6 65:25 100:16 125:3 129:7
    138:25 139:13                           141:8 142:3
   examine 34:19                          factor 66:3 116:24 117:25
   examiner 63:7                          facts 98:14
   Examining 152:6                        fail 103:22 117:7 152:10
   example 12:15 23:17 44:20 81:12        fails 117:7
    92:14 113:10 116:24 142:20            failure 52:22
   exception 37:24 81:20                  fair 9:19 43:8 46:13 60:18,21
   exceptions 150:7                         113:3
   exclusively 59:20 60:5 72:18           fall 28:22 107:24 108:8,9
    81:24                                   109:11,21 110:7,19,20
   exhibit 40:12                          falling 109:19
   exhibits 7:22 81:4                     falls 58:19,24 59:5,6 106:25,25
   existed 34:18                          family 34:5
   existence 14:15                        far 22:5 39:12 90:5 124:3,14
   expect 101:16 102:25 103:18            fat 132:6
    104:9,21 109:19 132:23                fatal 128:5,5
   expected 123:10,10                     father 37:19
   experience 53:7 54:23 68:25            features 74:8
    128:14,16                             Federal 5:4 9:9 96:6
   expert 25:21 95:2,6 118:12             feel 123:15 133:15,18,18
    144:12                                feeling 94:6 99:3
   expired 34:3 71:23                     feels 93:22 95:11
   expires 104:4 150:13                   feet 59:6 107:11,12,12
   explain 135:22                         fellowship 10:13
   explained 33:24                        felt 73:11 94:7
   explanation 27:18 28:13 48:8           female 141:14
   explore 132:22                         fifteen 32:20 102:2 123:17
   extend 29:13                           fifth 120:18
   extends 127:12                         fiftieth 142:23
   extensive 29:4,12,21 59:18,23          fifty 19:25 145:5
    59:25 112:24 124:17 131:9,10          fill 73:12
   extent 43:8 101:24 125:7 146:6         filling 96:10
   extents 29:11                          final 51:24 71:10 86:15
   external 88:12                         find 17:6 79:16 84:6 98:13
   extra- 76:11                             140:19
   extra-axial 72:21 74:21 82:23          finding 23:5 24:4 28:15 72:20
   extreme 110:5                            124:25 128:20
   extremely 29:16,20 33:2 102:3          findings 18:13 37:12 49:8,12
    109:14                                  63:9 71:3 72:16,16 73:14

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page437
                                               06/14/21 Pageof165
                                                               898of 189
                                                                         1455
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 164

    74:13 75:8 93:21 116:17                78:8 79:3 90:23 91:3,4 92:6,7
    118:13 135:16 139:5,7,16               92:11 94:23 113:8 115:5
   finds 63:21                             116:15 140:7 144:2,20 145:2
   fine 63:3 83:22 119:24 138:15           147:15
    138:16                                forms 59:17 107:19
   fingers 22:2 87:16                     formulating 36:9
   finish 77:14                           forty 20:2
   first 2:7 6:4 14:15 29:8 33:21         forty-nine 120:15
    33:23 34:21 39:17 45:3,17             forward 95:11
    60:23 86:14 88:11 97:10 99:21         found 17:23 26:15,17 43:24 63:6
    99:25 100:5 101:18 108:10              64:22 79:15 80:8 85:24 90:6
    119:19 139:20 152:13                   90:11,13,14 91:15
   five 2:14 10:8 17:25 24:10 49:2        Fountain 1:8 33:10 147:9,12
    51:24 64:11 107:11 112:8              four 18:21 26:18 59:6 86:10
    120:15 136:3 138:14                    107:12 112:3,3 126:11
   five- 137:21                           fourteen 130:15
   fixed 27:6                             fracture 34:14 75:13,15,19 76:3
   flat 20:2 30:20                         108:14,22 113:11 143:23
   flight 109:11                           144:25
   floating 77:25                         fractures 25:20 27:14 44:3
   flow 136:5                              75:23 108:7,14 113:12,12
   fluid 23:18 46:7,15,16 47:4            frequently 96:19
    49:6,18,22,23,25 50:18,19             fresher 131:12
    52:14 54:10 55:4,13,18,21             front 141:17
    56:12,16 57:6,7 58:16 64:25           frontal 49:3 124:15
    69:12,13,14,19,19 70:4 72:21          full 9:22 11:7,8,15 20:23 21:2
    74:21 76:12,14,17,19 77:3,6            44:6 87:4,5,6 101:23 146:3
    77:11,21 78:2 82:24,25 91:15          function 28:24 129:7
    92:4,5 102:9 103:19                   functions 103:21
   foci 126:15 127:19 130:20              furniture 107:15
   follow 146:14,16                       further 5:7,10,13 33:7 39:4
   follow- 62:24 96:7                      62:13 75:7 124:9 137:6 139:11
   follow-up 18:14 39:13,17 62:14
    83:20 95:15 109:16 134:4                              G
    137:20 145:15                         G 3:2 143:22,22
   following 10:5 83:4 121:11             G-E-R-M-A-N 146:24
   follows 127:15                         G-force 143:24
   fontanelle 20:21 21:11 60:25           G-forces 144:6
   foraminal 44:3                         G.C.S 20:3
   force 38:16 109:16,21,25 110:18        gag 27:7
    110:20 111:12 124:20 126:4            gain 27:3
    129:14,19 130:8,24 131:3,17           general 2:10 10:7 12:9 38:11
   forces 109:13 111:4                      40:17 122:11
   foregoing 150:4 151:4,9                generally 16:9 40:13 49:7 54:11
   form 5:8 30:4 45:13 46:18,19             54:12 81:23 111:14
    47:15,24 50:23,24 51:2 52:16          Germaine 146:23
    52:17 53:23,25 58:12,13 59:15         German 16:4,7,8 17:23 18:7,15
    59:17,18 64:6 65:3,4,5,17               24:18 42:5 101:19 146:23,24
    66:2 67:19 68:16,17 70:20,21            147:2
    71:5 72:25 73:12 74:23 75:2           German's 17:14,20 18:10,11

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page438
                                               06/14/21 Pageof166
                                                               898of 189
                                                                         1456
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 165

   gestational 120:16                     gross 126:7
   getting 8:20 68:9 97:22 103:23         ground 108:13 110:16
    106:20 149:6,7                        grow 21:21
   Ginsberg 2:6,7 3:4,8 7:8 8:11          growing 102:13 142:21
    8:23 9:2,6 30:6,12 31:2,4             grown 105:18
    34:24 35:7,13,19 40:16 43:18          growth 142:13
    51:2 53:23 60:6,8,13 62:2             Gs 144:16 145:5
    64:6 65:3 68:16 70:21 71:5            guess 15:15 31:10 68:5 87:24
    90:23 91:3 92:6 94:22 95:5,24          88:18 93:11 110:17 113:10,13
    137:23 138:4,8,13,16,24 139:2          113:23 114:14 132:16 139:22
    139:11 140:7 152:6,12,12              guys 84:19 89:16,20
   Ginsburg 114:22
   give 6:20 9:24 16:25 17:3,7                              H
    62:16 73:16 84:18 86:7 118:9          H 4:2
    118:19 133:17 134:23 148:25           H.P.I 18:21
   given 41:10 90:3,19 96:11              hand 6:18,19 16:23 68:18
   giving 45:6 49:7 151:7                 hands 60:9 112:4
   glad 60:11                             handwriting 18:17
   Glasgow 20:3,10                        handwritten 71:15
   go 6:12,14 8:10,12 14:20 24:6          handy 80:23
    26:9 30:7,8 39:17,17 43:16            hang 35:3 87:9 123:20,22,22,24
    47:14 61:18 77:14 85:20 86:16           124:11 126:3,9 133:9 149:5
    87:17 90:5 95:22 96:15 98:14          happen 141:21
    98:19 109:6 111:10 117:22             happened 93:8 99:15 109:14
    122:9 123:19,20 124:4,15                112:12,18 123:25 124:2 137:3
    125:12 126:21 133:9 147:15              137:4
   goes 21:5,7 42:11 70:15 71:24          happening 97:7 103:24 142:19,25
    110:18 114:15 149:9,11                happens 71:11 108:6
   going 7:19 8:16 9:11,18 18:17          hard 29:25 87:11 135:12
    23:9 39:5 45:19 62:3 75:7             have-- 141:21
    80:15 86:6,13,16 87:17 89:16          head 15:19 20:22 21:21 22:12,15
    90:18 95:5 99:8 102:22 107:4            23:2 34:9 81:13 97:7 108:9
    109:16 110:9,19 118:11,15               120:14,17,24 121:6,10,15,19
    119:25 120:6,8,8 122:16,16              130:25 131:2,17 136:8 140:21
    123:23 125:14,22 131:18                 140:24,25 141:7,12,14,17,22
    132:24 137:25 138:2,2                   142:4,16,20
   good 6:6 39:21 88:8 146:4              heading 150:5
   gotten 89:24 98:4 101:15 103:16        healing 113:11
   grabbing 122:19                        hear 25:11 35:7 50:15 60:11
   graces 6:6                               62:20 104:18
   graduated 10:3,4                       hearing 5:16 134:10
   grainy 89:6                            heart 117:4
   grandmother 107:5                      height 107:13
   gray 54:22 56:19,25                    help 121:25
   great 6:17 138:24                      helpful 93:13,23
   greater 23:23 105:24                   helping 35:5,6
   grew 55:4                              hematoma 19:15,19,21 35:11,15
   grey 47:21                               45:4 46:22 48:15 54:3 55:7
   GRIFFIN 2:6 152:12                       56:24 57:21 58:10 59:8 66:6
                                            68:10,15 70:13,14,19 71:3,8

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page439
                                               06/14/21 Pageof167
                                                               898of 189
                                                                         1457
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 166

    72:10,23 74:6,20 77:7,18              hoping 84:10
    78:10,14 79:17 90:6,12,14             hospital 10:11,11,15,18 11:17
    91:14 101:5 105:4 106:14               11:23 15:2,3 19:8 24:24 26:19
    107:3,7 109:22 110:19 111:18           27:2 33:16 34:9 51:18,19,23
    114:19 115:17 116:14 118:3,4           63:25 76:8 106:20 107:25
    130:7,13,14 131:4,13 133:24            131:24
    136:14,16 139:8 140:17 144:25         hotline 34:2
   hematomas 22:19 27:13,17,25            How's 105:7
    28:13,15 29:4,15 32:25 34:18          Howard 7:19 9:13 34:25 35:8
    35:23 36:10 37:23 45:21 53:13          52:4 104:13 118:19 119:13
    56:23,25 58:20 59:19,24 60:6           137:8 149:2,14 151:3,15
    65:22 92:25 93:8 94:8,14              HUBBARD 151:3,15
    101:10 105:17 106:6,8,9               human 111:13
    107:19,23 108:2,15,15,17,25           hundred 59:20 81:15 99:14 102:2
    109:8,8,12 112:15,23 116:5,18          123:16 136:22
    117:14 120:21 121:13,21               hydrocephalus 142:7
    125:18 126:2 128:3 131:6
    133:21 136:21 141:22 142:10                             I
   hemispheric 27:12                      I-C 147:18,19
   hemorrhage 59:11,13 60:3 89:20         I.C.P 24:14
    124:16,17 126:14,15 127:10,12         I.C.U 99:16 100:7
    127:20,25 128:4,9 130:19              I.D 6:5
    131:10,11,12                          idea 31:12 32:6 70:15 73:18
   hemorrhages 27:9 29:9,10,13,21          76:8 112:16 113:17 115:9
    59:16,24 112:25 122:22 125:8           144:14,15,21
    127:23 129:12 130:17,21 139:9         identified 15:15 17:24 24:9
   hemorrhaging 29:5,7                     29:5
   hereof 150:5 151:7                     illness 18:21 53:5
   hereto 151:6                           image 49:2,21 54:8 58:7
   herniated 128:21                       imaged 136:18
   herniation 128:25 129:12,13            images 23:14 48:20
   high 54:20 73:20                       imaging 22:25
   higher 50:19 107:2                     immediate 55:5
   history 18:21 19:21 26:20,21,25        impact 64:24
    28:2,18,21 48:7 73:5,13,16,19         implies 124:20 125:3
    97:5 101:2 112:7,9,17,21,25           imply 121:12
    113:5 115:7 131:3 134:14              impossible 57:8
    135:20 136:10                         impression 26:6,8 27:15,22
   hit 7:19 108:9,11                       28:12 36:2,13 78:13 92:25
   hold 6:5 10:21,24,24 11:14 14:8         93:7 101:4 133:23
    65:16 80:25 126:8 129:11              impressions 36:18
   holding 110:11                         in- 95:17
   holes 96:10                            inability 133:7
   home 138:9                             inactive 21:24
   honestly 82:17 102:3 111:5             inches 141:10
   Hoover 66:15 147:15,20                 incidents 109:11
   Hoover's 70:16 71:11 72:6              include 119:14 121:6 134:21
   hope 60:6 132:23                       included 10:7 54:6 126:10
   hopefully 111:18                       includes 75:23
                                          including 12:12 22:21,22 42:3

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page440
                                               06/14/21 Pageof168
                                                               898of 189
                                                                         1458
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 167

    52:12 64:23                            102:19,19,23 103:16 118:7
   inclusive 151:11                        121:24 124:22 131:14,20
   inconceivable 45:16                    informed 74:19
   inconsistent 90:25                     initial 63:24 75:14 131:23
   inconsolable 53:6                      initially 11:6 98:7 101:20
   incorrect 18:22                         123:12 124:7
   incorrectly 90:10                      injured 91:20 113:2
   increase 21:5                          injuries 30:11 81:13 88:15
   increased 21:7,13 24:14,14              108:5 131:2
    35:24 61:6,13,14 65:21 66:11          injury 15:19 25:4,22 30:14 31:7
    116:18 127:5,7 128:17,24               34:15 37:24,24 38:17 48:17
    129:16 130:2,6                         53:5 112:7,9 113:5,6,16
   increasingly 81:21                      114:25 115:2,13 117:3 128:6,6
   Index 152:4                             128:22 135:15 136:9
   indicate 20:16 29:7 35:21 47:20        input 114:9
    93:5 136:13                           inserting 81:22
   indicated 24:22 35:22 45:25            inside 22:12 97:7 105:23 123:6
    94:12 116:17                           142:8
   indicates 20:8,17                      instance 117:12
   indicating 8:19 15:21                  instantaneous 141:18
   indication 21:13 124:19 125:21         Int'l 151:12
    127:7 128:5 136:15 137:2              intend 93:9
   indicative 49:19 114:18                intense 20:23 21:2
   Indicators 27:19                       intensive 15:5
   individual 13:13                       intensivist 15:5 82:19
   infancy 21:22                          intensivists 15:13
   infant 30:15,16 49:18 51:8 53:9        interaction 34:6 44:9
    107:6                                 interactions 66:7
   infant's 38:16                         interesting 13:11,12
   infants 37:23 56:10 57:4               INTERNATIONAL 152:2
   infarct 130:21                         interpretation 71:7 77:8,9,12
   infected 125:23                         78:9
   infection 46:8,17 47:23 48:14          interpreted 33:14 91:10
    50:21 51:8 52:13 53:2,11,12           interpreting 74:13
    54:15 59:14 60:18,22 61:10,14         interrupt 30:9 77:14,15
    63:6 64:24 65:9,10,14,18              interrupting 80:12
    69:15 73:20 74:5 76:22 78:7           intervening 121:24
    78:12,16 83:2,9 100:20,24             intervention 27:18 32:10 66:25
    103:6,12,24 115:18,18 116:3            109:5
    126:2                                 interventional 98:3
   infections 52:24                       interventions 12:13
   infectious 67:17                       intracranial 21:7,14 24:14
   inference 55:5                          35:24 61:5,6,14 65:22 66:11
   inflammation 124:18 130:17,20           116:18 127:5,7 128:18,24
   inflammatory 127:11                     129:16 130:2,6,6 142:3
   inflicted 56:3                         intraparenchymal 127:19
   influence 37:2 114:9                   introduce 103:12
   influenced 114:16                      introduced 96:4
   information 36:4 65:7 79:4,5,8         intubated 20:6
    79:24 80:5 92:16 97:7 101:15

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page441
                                               06/14/21 Pageof169
                                                               898of 189
                                                                         1459
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 168

   invasive 83:16,17                      joining 9:3
   investigating 143:4                    joint 84:20
   investigation 31:11                    jump 71:2
   involve 81:16                          jumping 96:9
   involved 13:4,14,25 32:9 43:4          June 145:19
    71:9 82:4,9,20
   involvement 43:3,9 44:7,15 60:2                        K
   involving 38:25 59:7                   keep 6:6 9:13 25:10 60:9 88:7
   iPad 86:18                              119:10 120:6,8,8 123:23
   irrelevant 143:19                      kept 103:6
   irreversible 128:23                    kid 109:25 110:7,11 112:22
   isolation 54:18                         123:12
   issue 8:12 71:16 78:3 133:16           kid's 125:22
   issues 27:3 40:14 81:21 135:25         kidneys 117:6
   items 24:9 28:19                       kids 107:22,25 108:3
                                          kind 67:15 108:4 116:3 135:13
                        J                 kinds 29:10 60:3 81:12
   January 90:8                           Klein 2:3,4 3:5,9 7:3,17 8:2,4
   John 1:1,20 2:1 3:1,3 4:1 5:1           8:22 30:4,8,25 35:9 39:5,9,20
    6:1,24 7:1 8:1 9:1,23 10:1             39:22 40:11,18,19 43:21 45:15
    11:1 12:1 13:1 14:1 15:1 16:1          45:23 46:20 47:2,17 48:12
    17:1 18:1 19:1 20:1 21:1 22:1          51:5 52:10 53:14,24 58:17
    23:1 24:1 25:1 26:1 27:1 28:1          60:16 61:9,16,20,24 62:3,12
    29:1 30:1 31:1 32:1 33:1 34:1          62:21,23 64:15 65:12,23 66:4
    35:1 36:1 37:1 38:1 39:1 40:1          67:22 68:22 70:11,24 72:8
    41:1 42:1 43:1 44:1 45:1 46:1          74:14 75:3 78:17 79:7,21
    47:1 48:1 49:1 50:1 51:1 52:1          80:14,20,24 81:2 83:25 84:3
    53:1 54:1 55:1 56:1 57:1 58:1          84:15,24 85:3,7,11,19 86:3,6
    59:1 60:1 61:1 62:1 63:1 64:1          86:9 88:9,25 89:7,16,25 90:11
    65:1 66:1 67:1 68:1 69:1 70:1          90:16,17,25 91:23 92:8,18
    71:1 72:1 73:1 74:1 75:1 76:1          93:15 94:2,15,24 95:8,14,20
    77:1 78:1 79:1 80:1 81:1 82:1          104:11 109:23 111:20 113:8
    83:1 84:1 85:1 86:1 87:1 88:1          115:5 116:15 118:11 119:9
    89:1 90:1 91:1 92:1 93:1 94:1          125:6 129:17,23 135:5 137:19
    95:1 96:1 97:1 98:1 99:1               139:14 140:9,13 144:11,22
    100:1 101:1 102:1 103:1 104:1          145:3 146:18 148:17,25 149:4
    105:1 106:1 107:1 108:1 109:1          149:7,11
    110:1 111:1 112:1 113:1 114:1         knew 16:16 24:25 25:16 52:11
    115:1 116:1 117:1 118:1 119:1          63:14 92:19 138:10
    120:1 121:1 122:1 123:1 124:1         knit 21:25
    125:1 126:1 127:1 128:1 129:1         know 8:15,16 9:17 13:11,18,24
    130:1 131:1 132:1 133:1 134:1          14:20 15:12 16:5 17:5 19:2
    135:1 136:1 137:1 138:1 139:1          21:9 23:25 24:25 25:3,4 26:10
    140:1 141:1 142:1 143:1 144:1          29:25 30:18 31:10 32:8,10
    145:1 146:1 147:1,2 148:1              36:24 39:14 44:20 50:7,13
    149:1 150:1,4,10 151:1,4               51:6,22 52:25 53:16,18,25
    152:1,5,7,23                           55:3,4 59:13 63:17,18 64:17
   JOHNSON 2:13                            65:24 66:5,7 67:4,5,9 68:13
   Join 71:6                               70:13 72:19 73:19,22,23 74:13
   joined 10:17                            75:21,22 76:5,6,9,10 77:6,6

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page442
                                               06/14/21 Pageof170
                                                               898of 189
                                                                         1460
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 169

    77:25 80:23,24 83:10,11,15            life 135:25 144:7 146:3
    87:10,16,22 88:11 92:4,4,9,12         lighter 49:5
    92:20 95:13,17 100:21 101:8           likelihood 99:24
    101:25 102:12,13,14,15 103:12         limited 12:19 66:7
    103:21,21 104:2 106:4,18,22           line 21:6 32:24,24 33:20 111:12
    107:2,15,16,21 108:7,7,12              111:20 143:5
    110:7,13 111:2,9,13 112:5,11          literature 29:12 107:10,18
    112:22 113:2,12,14,14,22               134:15 137:2 144:8 146:9
    114:24 115:12 117:6,7,12,13           little 6:13 23:12 33:7 49:5
    117:14,19 121:2 122:13,13,16           55:15 62:13 65:8 87:7,19
    123:8 124:6 125:22,25 126:17           96:10,13 106:25 126:21,22
    127:4 129:4,5 130:12 132:2,25          137:12
    133:16 134:19,21,22,24 135:10         live 138:8,8
    135:13,17 136:16 138:9 139:19         liver 117:7
    139:20,23 141:13,22 142:4,22          loathe 73:22
    143:25 144:4,6 145:7,9 147:8          lobe 49:6
    148:17                                lobes 79:17
   knowing 63:13 99:4                     location 1:23 74:4
   knowledge 38:22 40:25                  lodge 118:14
   known 14:24 65:2 102:18 115:8          long 11:4 99:15 100:17 113:12
    119:4                                  125:24
                                          look 16:20,21 23:9 25:19 40:3
                        L                  42:3 48:3 50:5 54:18 55:23
   l 23:2 32:25                            56:5,18 57:14,16 74:15,15
   L-I-A 148:5                             84:25 89:24 92:14 99:19 100:2
   lab 102:10                              107:4 120:13 142:18
   lack 77:21                             looked 7:23 31:19 42:8 48:19
   lady 138:2                              50:18 99:22 102:9
   landscape 120:9                        looking 6:11 17:9,12 48:4,5,6
   large 23:2 72:21 74:21 108:3            66:8,13 67:25 74:17,18 91:6
     119:22 127:10 128:18 142:4            98:19,20 100:23,23,24 110:6
   larger 72:22 91:8 93:2                  114:13
   lawsuit 96:6                           looks 49:25 58:10 77:21
   layer 108:22                           lost 24:11,11 129:8 137:11
   layers 60:2                            lot 8:15 68:25 117:5 144:9
   lead 109:4 115:7,7                     lots 98:7 103:23 142:12
   Leah 7:5 8:21                          low 46:2 102:2,3 123:8,9
   learn 51:13 63:5 64:17                 lower 123:8
   learned 14:15 23:8                     lowest 20:11,14
   leaves 146:22                          lungs 124:8 132:2
   led 28:19                              lying 91:17 108:12
   left 49:5 50:2,19 91:11 93:2           lymphocytes 127:11
     94:14 130:20
   left- 16:22                                            M
   length 104:3                           M-I-C-C-H-E-L-L 148:9
   let's 17:19 47:14 67:25 68:5           M-I-T-C-H-E-L-L 148:8,11
     87:2 95:15 117:12 118:9 119:9        M.D 1:20 2:12 10:5 34:14 152:5
     121:6 126:7                           152:23
   level 143:22                           M.S.L.A 86:10
   Lia 148:4                              macrophages 127:10 130:19

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page443
                                               06/14/21 Pageof171
                                                               898of 189
                                                                         1461
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 170

   majority 58:19,23,25 59:4,22            143:1 144:1 145:1 146:1 147:1
    73:14 98:20                            148:1 149:1 150:1 151:1 152:1
   making 73:11 131:18                    mean 16:15 26:13 33:15 38:9
   male 26:18 141:14                       40:4 45:19 55:3 58:23 61:12
   man 138:11                              65:13,19 68:3 69:22 78:18
   manage 12:17                            89:9 90:4 113:9 121:14 133:11
   mark 27:5 75:16 84:22 119:8,10          134:7,11 136:3 140:16 142:11
    119:13                                 143:4,14
   marked 4:3 27:13 119:5,7               means 20:5 127:2,20
   MASON 1:7                              measure 23:16 111:4
   mass 21:9 22:12 61:5                   measured 110:21,22 121:10,20
   massive 45:20                          measurement 140:19,24 141:10
   materials 151:12                       measurements 141:12 142:17
   Matt 28:6                              measuring 126:11
   matter 9:6,9 31:3 32:4 37:4            mechanical 111:3 143:16
    38:14,23 39:18                        mechanism 48:17 54:2 108:19
   matters 37:18                           111:24 112:7,9 113:4,4 115:8
   Matthew 14:16,23 15:14,18 16:3         mechanisms 135:15
    16:4,7,11,13 32:4 38:13,25            Med 35:12 64:11 97:2 120:24
    45:4,25 60:4 66:22 99:21              medical 10:4,10,15,17,18 11:3,5
    101:13 112:2 113:20 114:25             11:16,17,24 14:24 15:3 19:21
    115:16,20 116:13                       26:25 27:2 42:3 45:24 51:18
   Matthew's 15:15 26:6,14 30:17           51:23 63:7 71:25,25 75:11
    31:7,14 34:18 36:4 37:11,17            82:18 97:16 104:3 122:8 131:7
    37:19                                  136:2
   MD 1:1 2:1 3:1 4:1 5:1 6:1 7:1         medications 13:15
    8:1 9:1 10:1 11:1 12:1 13:1           medicine 145:21,23 146:7,10
    14:1 15:1 16:1 17:1 18:1 19:1         meet 146:17
    20:1 21:1 22:1 23:1 24:1 25:1         member 13:22 14:4 32:13 33:17
    26:1 27:1 28:1 29:1 30:1 31:1          36:25 37:15
    32:1 33:1 34:1 35:1 36:1 37:1         members 36:11,17
    38:1 39:1 40:1 41:1 42:1 43:1         membrane 56:11 57:23
    44:1 45:1 46:1 47:1 48:1 49:1         memory 44:24 85:18
    50:1 51:1 52:1 53:1 54:1 55:1         meningeal 63:6 64:23
    56:1 57:1 58:1 59:1 60:1 61:1         meninges 61:15
    62:1 63:1 64:1 65:1 66:1 67:1         meningitis 50:21 51:7 52:13
    68:1 69:1 70:1 71:1 72:1 73:1          83:5 106:10 125:23
    74:1 75:1 76:1 77:1 78:1 79:1         mention 120:14
    80:1 81:1 82:1 83:1 84:1 85:1         mentioned 12:5 21:16 82:14 83:3
    86:1 87:1 88:1 89:1 90:1 91:1          83:7 99:12 101:11 107:2
    92:1 93:1 94:1 95:1 96:1 97:1          111:15,23 146:9
    98:1 99:1 100:1 101:1 102:1           Merck 13:16
    103:1 104:1 105:1 106:1 107:1         Michael 1:10 2:7,12 7:7 9:6
    108:1 109:1 110:1 111:1 112:1          39:12 134:9 138:3 152:6,12
    113:1 114:1 115:1 116:1 117:1         mid 27:6
    118:1 119:1 120:1 121:1 122:1         midbrain 127:18,24
    123:1 124:1 125:1 126:1 127:1         middle 110:16
    128:1 129:1 130:1 131:1 132:1         millimeters 126:11
    133:1 134:1 135:1 136:1 137:1         mind 70:16 94:9 104:13 134:10
    138:1 139:1 140:1 141:1 142:1

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page444
                                               06/14/21 Pageof172
                                                               898of 189
                                                                         1462
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 171

   mine 39:15                              147:4 148:3 152:4
   minimal 105:12,13 106:7 108:5          named 14:16
    112:17                                narrow 128:8
   minimize 135:11                        nature 43:23 113:7
   minimum 31:18 97:11                    near 83:6
   minor 96:10                            necessarily 55:25 65:19 114:16
   minute 58:15 137:22                     123:10 135:3
   minutes 136:4,6 138:15                 necessary 111:12
   missing 80:11 132:19                   need 48:25 83:20 95:16 113:5
   mistake 76:3                            133:15,18,19 145:4 148:13
   mistaken 138:12                        needed 62:20 97:6
   misunderstandings 7:21                 needle 103:8 122:18
   Mitchell 7:6 8:18 39:9,10 78:8         needs 95:12 119:6
    79:3 84:10 88:6,23 89:2 95:10         negative 44:3 51:25 64:3,11
    144:2,20 145:2 146:14 148:4,6          122:24 132:19
    148:8,11,12,15,21 149:10,14           neglect 34:2
    149:18                                neo 120:23
   mix 47:22 58:15                        neonatal 120:23
   mixed 23:3,5,25 35:23 48:2 57:5        neonate 136:13
    57:6 77:10,11,13,20                   neonate's 45:21
   mixing 56:15                           neonatologist 45:19
   mixture 78:10,12                       nerve 130:18,22 131:11
   mode 120:9                             nerves 12:13
   model 143:13,16                        nervous 12:11 81:16
   modeling 143:8                         neural 97:5
   models 111:6 143:9                     neuro 96:21,24
   moderate 126:10                        neurologic 28:24 97:5
   Mom 26:23                              neurological 12:10 14:3,5 29:14
   moment 6:18 39:4 52:6 61:19,21          59:11 129:7
    62:7 83:20 104:15                     neurologist 67:7 82:10
   moments 57:18                          neurologists 66:25 82:15
   month 136:24                           neurology 66:21 67:16 82:7,13
   months 18:21 26:18 112:3 121:7         neuron 81:7
    121:9                                 neuroradiologist 98:17
   morning 39:21 44:2 134:5               neuroradiology 96:24 97:3,15,20
   mother 112:17,18                        98:5,8
   mother's 132:7                         neurosurgeon 12:18 66:17 81:8
   motor 73:20                            neurosurgeons 12:9 82:3 144:9
   move 22:24 25:23 74:25 81:3            neurosurgery 10:9,12,16 11:2
    88:13 95:10 120:13 123:22              12:6,8 14:3,12,13 15:17,21
   moved 124:7                             18:3 45:22 66:21 67:18 73:10
   movement 20:5 27:8                      98:4
   moving 122:19                          neurosurgical 10:6 15:22 18:4
   multiple 52:22 103:23 142:22            27:18 66:24 96:22 97:10
   muting 134:10                          never 45:4 54:24 63:10 69:18
   myelograms 97:13                        83:3,7 100:14,15 106:12 107:4
                                           109:14 112:16 134:22
                   N                      nevertheless 105:20
   N 3:2,2 4:2 147:13                     new 1:3,16 2:5,5,8,9,11,14 15:2
   name 9:6,22 27:20 83:23 96:5            33:25 80:8 85:14 96:21 97:23

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page445
                                               06/14/21 Pageof173
                                                               898of 189
                                                                         1463
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 172

    152:13                                 46:23 47:24,25 70:7 72:25
   newborn 45:17                           89:17 94:23 104:11 109:23
   newborns 45:10,12                       111:20 116:15 118:12,15 125:6
   nice 146:5,17                           125:6,9 129:17 140:7
   NICU 26:25 136:7                       objections 5:7 7:14
   night 15:8                             observations 16:18
   nine 49:21 63:25 86:11 121:17          observed 136:7
    130:10,11,13 136:3,4                  obvious 73:24
   ninety- 120:17                         obviously 53:10 84:24
   ninety-fifth 121:17 143:3              occasional 127:11
   non-accidental 28:4 29:16,22,24        occasionally 60:9
    107:19                                occipital 126:14
   NON-PARTY 1:19                         occluded 109:3
   non-specific 141:7                     occupies 49:24
   non-surgical 12:14 81:11               occur 22:17 52:24 54:15 83:5
   nonsense 137:5                          103:24 105:4,11,20 109:4
   normal 45:10 49:18,23 57:2              128:13
    76:19 121:2,11,11,15 136:4,8          occurred 28:3 103:7 108:15,17
    136:18,19 141:12 142:24                113:6 114:6
   normally 22:7 49:17                    occurring 106:10
   NORTHERN 1:3                           occurs 71:19
   notary 5:12 150:12 152:9               October 1:21 90:9
   notation 99:8                          offer 40:11
   note 17:6,11,20,24 18:6,8 20:8         office 2:10 140:5,10
    22:24 24:9 25:24 26:10 31:18          officers 2:6 9:8 32:7
    31:19 36:14 94:13,22 101:21           official 71:18 72:4
    125:9 143:22 145:10,14                officially 69:4
   noted 26:23 43:7 124:25 150:5,7        oftentimes 66:24
   notes 17:13,17 101:8                   oh 19:20 24:13 120:11 126:19,22
   notice 8:20 75:10                       126:22,22 131:22 141:6 148:13
   number 13:25 16:25 22:17 53:2          okay 6:4,15,17 8:4,23 9:13
    68:5 108:6 111:10 151:10               15:20 16:25 17:16,19,21 18:16
    152:4                                  18:20 19:6,10 22:23 24:12
   numbers 17:3 127:10                     25:13,23,25 26:16 27:21 30:10
   nurse 33:24,24                          32:22 34:7 35:16 39:3 41:10
   NY 2:10                                 42:2,7,19,22 43:2,12,22 44:5
                                           44:16,22 45:2 47:16 49:11
                   O                       50:11 51:6,11 56:9 57:13,19
   O 3:2,2                                 58:18 59:10 60:11 61:3,21
   O.S.H 19:7                              62:3,16 63:21 64:21 65:24
   oath 41:17                              66:16 67:6,11,23 68:8,9 69:8
   object 45:13 46:18,19 47:15             69:22 70:12 72:9 75:10 76:9
     50:23,24 51:2 52:16,17 53:23          76:21 77:23 79:8,14,16 80:20
     58:12,13 59:15 64:6 65:3,4,5          85:15 86:5,13 87:2,10 88:6
     65:16 66:2 67:19 68:16,17             90:16 91:16 94:24 99:7 100:8
     70:20,21 71:5 74:23 75:2 78:8         103:25 104:24 106:17 110:5,5
     79:3 90:23 91:3,4 92:6,7,11           111:2 115:23 118:9 119:12,18
     113:8 115:5 144:2,20 145:2            119:25 120:7,12,13 121:18,22
   objecting 89:21                         122:2,6,7,7,9 123:14,19,20,22
   objection 8:20 30:4,25 45:14            123:24 124:4 126:5,6,8,17,22

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page446
                                               06/14/21 Pageof174
                                                               898of 189
                                                                         1464
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 173

    126:23,24,24 127:5,8,17,20            P.C 2:13
    128:11 129:10,10,21 130:15,23         p.m 1:22 61:23 138:20,21 149:19
    130:25 131:17,21,24,25 132:12         P.T 123:5
    132:16 134:2,3 137:6,17 138:6         page 17:10 42:4 68:2,5 85:10
    138:18 140:14 141:6 142:14             88:11,12,13 90:7 112:8 119:19
    143:11,21 144:14,23 145:20,24          119:20 120:2,10 123:21 124:11
    146:11,25 147:3,18,19,23               124:11 126:21 151:6
    148:7,13,24 149:3,4,13,18             pages 17:3 42:4 151:10
   old 18:21 26:18 55:12,20,20            painful 27:8
    85:13 112:3 113:11                    pains 27:8
   older 21:23 80:9 105:21 130:21         papers 12:2
    131:13 141:20                         paragraph 33:8
   once 23:12 88:24 90:14 97:15           parenchymal 126:15
   onset 53:2                             parent 53:8
   open 21:20 22:3                        parenthesis 26:20,20 27:4,16,17
   opening 20:5 128:8,21                  parents 113:6
   operate 12:18                          part 11:23 18:11 34:21 46:2
   operation 12:16                         56:23 62:14 67:24 92:15 96:19
   ophthalmic 139:9                        96:21 104:18 111:24 120:9
   ophthalmologist 29:5                    121:5 127:18
   ophthalmology 24:17 25:20 27:9         particular 22:3 49:4
    27:10                                 particularly 56:9 93:22 94:10
   opining 89:19                           96:13 108:11 120:16
   opinion 25:21 34:17 35:10,14           parties 5:4 152:10
    37:3,8 52:13 63:15 64:24 65:8         partner 123:15
    65:21 66:10 79:6 83:8 93:19           partners 12:25 16:3
    94:18,19 95:6 111:6 112:24            pass 56:13 75:25
    116:13 118:7 120:20 125:19            pathognomonic 29:15
    129:12,19 130:5,9 143:20              pathologists 79:11
   opinions 115:13                        pathology 126:8
   opportunity 16:10 40:6,7 45:11         paths 113:25
    92:14 118:10 133:5,17                 patient 12:16 13:12 14:15 15:10
   opposed 108:24                          16:8,18 18:5 20:6,6,7,18
   optic 130:18,21 131:11                  27:11,15,22,24 28:17 31:23
   option 7:20 8:17 81:9                   32:24 33:25 34:2,5 44:9 47:11
   order 73:7,15 95:12 113:4               52:11 64:18 66:8,22 69:24
   ordering 71:17 73:8                     70:2 72:3,11 73:19 74:11,12
   organ 52:22                             74:17 75:9 82:11 93:16 99:16
   organization 13:23                      100:4 101:20 135:18
   organizations 14:2                     patient's 16:19
   original 5:13,17                       patients 11:22,22 12:10,17,20
   orthopedic 81:21                        12:23,25 13:2,18 16:9 58:19
   outer 56:11 108:22                      58:24,25 59:5,23 69:7 82:21
   outside 19:7,8 23:21 24:2               82:22 98:11 105:16 109:7
   overall 56:16 135:13                   PATTISON 2:6 152:12
   overwhelming 79:2                      PDF 87:13
   oxygen 136:5,6                         Peck 2:13,13 3:6 6:25 7:5,7,9
                                           7:12,25 8:5,8,21 39:16 45:14
                        P                  46:19,23 47:15,25 50:24 52:4
   P 1:13 3:2                              52:8,17 58:13 59:15 65:5 75:2

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page447
                                               06/14/21 Pageof175
                                                               898of 189
                                                                         1465
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 174

    79:19 80:3,15 85:15,25 86:5           Pine 2:14
    89:23 90:4,13,24 91:4 92:7,11         place 49:25 50:18 75:12 99:23
    94:5 95:23 96:3,5 104:13,20            115:3 127:14 150:5 151:5
    104:25 110:4 111:22 113:18            Plaintiff 1:5 2:3
    115:10 116:8 143:6 146:16             Plan 27:18
   pediatric 10:12,16 12:6,7,24           planning 101:21
    13:2 14:3,12 15:4,5 16:8,9            plans 32:21
    18:25 67:6 76:7 121:3,5,9             platelet 46:3 101:25 123:7,16
    142:16                                plates 21:20
   pending 94:20 101:22                   play 8:13
   people 73:14 95:25 109:10              playback 104:19
    111:10 122:18                         played 62:9
   percent 59:21 81:15 98:16 99:14        Plaza 2:14
    136:22                                please 9:17 19:24 46:9 47:19
   percentage 136:19                       52:4 62:5 64:14 79:24 94:22
   percentile 120:18 121:17 142:21         104:14 118:20 120:5 122:6,7
    142:23 143:3                           123:23 125:13 128:11 129:10
   perform 15:24 82:15                     137:22 150:6 152:8,9
   performed 104:9                        plot 142:18
   period 11:4 26:22 34:14,19             plus 20:13,13
    96:23 132:2                           pneumococcal 51:7,14,25 52:12
   periods 125:5                          pneumoencephalo 97:12
   peripheral 12:12                       pneumoencephalography 97:8
   periphery 29:13                        pneumonia 63:24 64:18,23 131:23
   permanent 122:23                        132:11
   perpetrator 134:12 135:11              point 14:4 23:9 28:8 41:25
   person 39:8 139:25 141:20               99:15 102:4 120:15 121:13,15
    143:15                                 121:25 141:24
   person's 148:2                         poisoning 22:20
   personally 44:8 75:18,21 98:11         police 2:6 9:7 31:10 32:3,6,7,9
    140:6                                  32:13 33:9 36:11,17,20 37:2
   pertinent 73:14 92:16                   37:15 111:19
   petechial 122:21                       Poor 24:12
   pharmaceutical 13:16                   populations 12:24
   phone 139:25 140:6                     portion 25:12 57:11 90:15,24
   photos 86:14,20 87:8                   portions 8:13 90:7 126:9
   phrase 152:15,16,17,18,19,20,21        pos 131:23
   physical 101:2                         pose 85:21
   physically 16:11                       posed 9:19
   physician 11:2,16,18 15:16             posit 85:21 90:20
    71:17                                 positing 57:21
   physicians 72:2                        position 11:13 27:6 85:23
   physiologically 69:11                   120:20
   pic 89:3                               positive 51:14 63:23 64:17
   pick 12:20                              132:11
   picking 30:19                          positively 135:10
   pictures 87:11,19 89:3                 possibility 25:8 107:8
   PICU 31:22,23 33:10                    possible 20:11 34:14 47:16 53:3
   piece 77:24                             69:23 70:10 87:23 106:21
                                           123:11

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page448
                                               06/14/21 Pageof176
                                                               898of 189
                                                                         1466
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 175

   possibly 20:18 76:23 100:20            problems 12:10,11,23 52:22 53:4
    116:3                                  81:12,15,23,23,24 82:12 97:13
   post 19:2 86:3                          136:7
   potential 31:10 63:15                  procedure 5:5 83:17
   potentially 25:4 81:16,17 103:9        procedures 97:9
    117:6                                 proceed 7:12 61:25
   practice 11:21 12:3,19 96:19           process 32:11 117:18
   practiced 145:20                       product 86:8
   practicing 10:17 146:6                 professional 13:5,23
   pre-C.T 97:3                           professor 10:25 11:7,7,8,8,15
   precipitate 53:8                       profound 29:14
   precisely 30:2                         program 10:6
   predominantly 13:2 55:6 72:17          project 50:10
    78:15 130:12,17                       prompted 136:12
   preemie 18:23                          pronouncement 104:8
   preliminary 71:14                      proper 70:23
   premature 19:2                         prosecutor's 140:10
   premise 89:17,21                       protect 52:21
   premium 19:2                           Protective 24:20,23
   prep 140:4,5                           protein 47:22 54:20 102:15
   preparation 75:11 133:25               proteome 123:5
   prepare 42:14                          protocols 82:14
   prepared 66:14 151:11                  proved 51:20
   preparing 139:24                       provide 79:24 118:6
   presence 61:5 151:5 152:8              provided 28:21 37:18 40:21
   present 18:21 46:14 82:24,24            151:13
    96:5 134:13 140:3,4                   proximity 103:13
   presentation 26:6 63:24 131:24         psychology 10:3
   presented 16:14 26:15 37:14            public 5:12 150:12 152:9
    135:19                                publications 13:6
   Presenting 19:9                        publicly 7:15
   pressure 19:25 21:8,14 24:15           publish 84:22
    35:24 61:7,14 65:22 66:11             publishing 13:5
    116:19 117:4,15 127:5,7,21            pull 48:25 79:25 80:21,22 99:17
    128:18,24 129:18 130:2,7               99:18 115:14
   pretty 12:19 141:19                    pulled 99:22
   previous 139:3                         punctures 122:18
   previously 10:24 25:2,16 42:23         Pupils 27:6
    43:7 119:5                            purpose 107:22
   primary 15:16 53:12                    purposes 8:9 64:21 69:4 83:14
   printed 71:22                          pursuant 5:6
   prior 10:23 36:9,13 40:8 51:17         pus 47:22 48:5,10 76:22 100:20
    96:11 114:10 119:5 139:16              100:23
   privilege 140:8,10                     push 110:20
   probably 14:4,6 18:24 31:20            pushed 21:10
    77:11 93:24 100:15 103:15             pushing 22:11 128:7
    113:24 121:20 123:17                  put 6:15 19:3 23:11 36:3 37:8
   problem 110:10 134:14 136:10            73:13,13 85:3,7 93:9 101:3
   problematic 18:18                       122:8 124:7 126:7 144:9


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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page449
                                               06/14/21 Pageof177
                                                               898of 189
                                                                         1467
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 176

   putting 48:7 103:8                      68:24 69:3,4 79:13 80:14 84:5
                                           84:16,22 88:12,14,17 101:20
                        Q                  104:14 118:5 131:2,15,18
   quali 75:17                             150:4 152:8
   qualifying 75:17                       reading 42:24 63:23 71:18 84:13
   question 7:13 9:16,16,19 18:14          84:15 90:9 96:14,18 98:14,21
    26:11 27:5 32:8 34:22 35:12            125:15 146:9
    47:12 50:16 54:5 58:25 62:5           ready 61:24
    62:11,15 63:18 64:14,22 70:9          real 8:12 144:7
    70:23 74:24 75:16 79:24 80:16         realistic 144:18
    80:17 81:25 89:14,18,18 90:19         realistically 107:17
    94:23 95:7 102:6,23 104:14            really 31:17 32:8 114:20 115:2
    109:17 110:15 111:25 114:23           reason 41:7 43:13 44:16 105:21
    137:24 145:13                         reasonable 31:20 38:3 143:14
   questionable 20:20                     recall 36:25 37:22 38:14 41:5
   questioning 111:21 143:6                41:24 42:17,24 45:6,19 46:3,4
   questions 5:8 9:12 39:4,6,13            48:20,21 54:11 55:14,17 58:20
    83:11 95:11,18 96:8 98:12              58:22 64:20 99:3 101:7 115:20
    100:19 116:6,9 132:25 133:5            135:24 139:5,21,24 140:15
    134:4 137:7,20 139:4,12                141:3,5 144:4
    146:15,17 149:12                      received 63:10 136:5
   quick 61:19                            recitation 93:23
   quite 23:8 25:11 43:10 46:12           recollect 37:5 120:23
    91:9,9 104:18                         recollection 11:9 31:16,25 32:7
   quote 134:15                            32:16 36:15,19,22 37:6 38:8
                                           38:19 41:18 42:23 44:14,19
                        R                  50:3,17,17 51:4,16,17,20 52:3
   R 1:7 3:2                               63:13 64:9,19 79:21 80:13
   radiological 73:7 131:5                 93:4 94:7 99:6 100:12 112:16
   radiologist 66:14,17 68:19              113:21 114:4 133:22 139:18
     70:12 71:12 73:9,18 98:13             140:11
     99:5 100:11                          record 6:3 7:19 9:13 36:21 38:7
   radiologist's 69:9 100:15,16            61:19,22,23 68:5 75:11,25
   radiologists 73:3 98:2 99:9             76:8,13 80:5 84:9 99:11 119:2
   radiology 67:16 68:13 71:3 82:7         120:24 121:5 122:25 138:19,20
     97:25,25 98:3,13 99:25                138:21,23 149:19 150:4 151:11
   raging 73:20                           recorded 7:20,24 8:6,9
   raise 6:18,19 105:14                   recording 7:14 8:12
   raised 7:13                            records 45:24 71:25,25 135:21
   random 13:5                            Recross 3:9 139:13
   range 142:24                           red 48:5
   rapid 30:20                            Redirect 3:8 138:25
   rapidly 21:21 30:21 109:4              reduces 56:16
   rare 37:24 109:14                      reducing 57:7
   rarely 82:10 105:12 146:10             refer 18:11
   rate 142:24                            reference 80:16 134:16
   re-discussing 99:9                     referenced 76:12
   reach 144:16                           referencing 80:18,19
   read 5:10 18:17,18 19:8,10 20:2        referred 24:19 27:12 106:16
     20:19,20 24:13 34:24 62:4

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page450
                                               06/14/21 Pageof178
                                                               898of 189
                                                                         1468
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 177

   referring 21:15 131:19                  146:25 147:3,6,11,14,18,20,23
   refers 126:24                           148:2,7,9,13,19,24 149:3,5,9
   reflected 17:24                         149:13,16 151:15
   reflection 48:18 127:4 129:6           Reporters 151:12 152:2
    141:11 142:2                          reports 13:11 90:2 108:6 135:19
   reflexive 27:11                        represent 39:23 63:22
   refresh 42:22 44:23                    representation 64:4
   regard 10:20 17:23 18:15 27:22         request 7:18 32:3 33:8 35:4
    32:4 37:11,17 38:13 45:2               52:7 62:8,18 73:12 104:16
    52:14 59:10 120:20                    requested 63:9 89:12
   regarding 31:14 69:6 122:24            requesting 73:12
    135:14,25 143:6                       require 9:12 12:13 66:24 82:15
   regards 36:17 37:3 41:4 143:5          required 52:23 82:18 111:5
   relate 12:11 75:8                      requirements 11:24
   related 13:20 66:11 69:15 83:2         requires 12:16 25:8
    128:23 129:12,19,23,25 130:7          research 13:14,15,20
    137:4                                 resemble 49:23 55:13,18,19
   relative 93:24                         resembling 45:4 57:4
   relevant 42:10 94:10                   reserved 5:9
   relied 100:15                          residency 10:6
   reluctant 73:3                         resident 18:9,13 19:4 71:12
   remains 118:25                          97:10
   remem 135:24                           resident’s 101:21
   remember 10:8 11:9 35:9 49:7,10        residents 11:24 18:5,25 76:7
    52:2 67:8 75:16 82:17 91:5,9          resolved 136:23
    101:23 103:15 104:17 123:4,7          resolving 127:9 131:9,11
    132:6 140:12 145:8                    respective 5:4
   remotely 54:24 69:21                   respirations 27:7
   render 28:11                           respiratory 52:22
   rendered 93:20,21                      respond 133:6
   rendering 37:3                         responded 33:10
   RENSSELAER 1:9                         responding 132:25 133:5
   repeat 34:21 35:10 52:5 55:16          response 9:12 20:5 52:5
    64:14 110:14,15                       responses 20:9
   repeated 125:4                         responsibilities 11:19
   rephrase 9:17                          responsiveness 5:8
   report 4:7 33:4,25 42:11 45:20         rest 22:24
    51:24 66:13 67:24 68:21 69:9          restart 73:6
    71:4,10,14 72:4,7,23 75:22            restate 105:11
    76:12 79:12,25 84:11 86:2,15          restroom 137:22 138:3,7
    89:24 94:21 100:15,16 113:16          result 103:7 106:10 117:24
    118:6 119:4,5 132:9,24 134:19          129:15
    135:18 140:22                         retina 29:14 130:16
   reported 63:20 106:12 108:7            retinal 25:21 27:9 29:4,7,9,9
    112:20                                 29:12,21 59:11,13,16,23 60:2
   reporter 6:4,9,13,17 7:10,24            72:16 112:24 130:16,19 131:12
    8:3,9 35:2,4 52:6,7,9 61:21            139:9
    62:4,6,8,10,16,18,19,22               retinas 60:5
    104:15,16 118:22 119:16 133:9         retired 10:22 11:12 145:16,16
    137:10,14,18 138:18,22 146:21          145:18

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page451
                                               06/14/21 Pageof179
                                                               898of 189
                                                                         1469
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 178

   Return 152:11                           57:9 58:20 69:11 74:5,6,7
   returned 5:15                           75:5,7 90:5 109:13 117:19
   revealed 28:24 29:2                     137:16
   review 28:16 38:2,7 40:7,8,21          says 18:20 19:13 20:19 21:6
    40:22 41:14 43:8 72:12,14              22:25 77:7 84:4,7,8 87:21,22
    86:2 89:9 94:17,20 98:11               92:4 125:5,17 130:12
    133:24                                scalp 27:5 124:5,15,21 126:4
   reviewed 42:13,17 43:15 44:8,22        scan 23:10,15,16 27:12 28:16
    48:24 75:20,21 79:12 89:11             29:2 34:10,12 35:21 42:8 45:5
    90:20 98:25 134:24 135:20,20           45:17,21 47:3 48:3,8,11,16
    144:5 145:7                            49:18 54:18 58:7 71:8 72:15
   reviewing 49:9 120:23 141:5             72:18 73:8,15,24 74:16,18
   right 6:18,19 9:15 15:24 18:10          77:9 81:5 91:6 93:21 97:3,15
    20:2,10 22:9 23:10 25:15 26:4          98:10 99:18,22,24 100:5,14,19
    26:13 31:5 33:12 35:16 47:9            100:23 101:2 114:15,18 116:17
    48:13 49:4 55:22 58:9 62:6             133:7,25 136:13
    68:15 69:5,14,24 70:9 72:22           scans 35:18 45:11 55:9 96:14,18
    75:24 77:4 78:24 85:12 86:7            97:16 98:24 99:5 133:2
    87:20,24 88:16,19,25 90:6,15          scenario 99:13 110:6
    90:24 91:7,7,20 93:2,5,6,18           scenarios 22:18
    94:14 100:11 101:14 115:6,25          schedule 9:5
    118:10 123:21,24 124:11,14,18         score 20:3,10,12,14 143:8
    126:7,9,23 129:24 130:9,11,11         scores 136:3
    134:3 137:16 138:13,14 140:11         screaming 53:6
    141:2 143:17 148:6                    screen 22:6 85:4,8 86:4,4 87:4
   right-hand 16:23                        87:5,7,14 92:15 93:10 118:20
   RIGHTS 2:3                              129:8 132:24
   Robin 127:12                           scroll 86:14 87:24 119:25 122:6
   roll 109:11                             122:7 123:20,20,20,23,23,23
   Ron 33:10 147:7                         123:24 128:11 129:10 132:13
   RONALD 1:8                             scrolling 120:3
   rotate 15:13                           second 28:23 41:21 43:10 47:19
   rotated 96:24                           62:17 80:25 85:25 97:17 120:2
   rule 73:16 82:22                        139:20
   Rules 5:5                              secondarily 103:24
                                          secondary 27:2 52:24 83:9
                        S                  115:19 116:24 128:4,6,23
   S 3:2                                  section 18:9 33:21,23 34:6
   S-U-T-T-O-N 147:7                       85:14 86:21 88:20 124:15
   S.D.H 19:15                             139:3
   S.W 33:9,12,23                         see 6:5,8,10 18:5 29:20 33:7,11
   Samaritan 15:2 26:19 34:9 51:19         43:16 45:9,9,11 49:17 50:10
   SAMPSON 2:6 152:12                      50:12,14 63:19 73:25 79:10,12
   sanitizing 60:9                         79:15 80:19,24 82:21 83:20
   saw 11:21 16:4 23:15 26:16              84:11,19 86:10,20,21,22 87:2
     43:10 55:24 60:4 71:10 72:6           93:25 94:11 95:12,15,16 99:21
     77:9 79:18 90:21 91:2 92:16           99:24 100:3 102:25 107:23
     92:20 100:14,16 101:19 124:7          109:10 120:9 121:14,21 128:2
     135:17                                128:20 130:10 132:13 133:3,7
   saying 17:8 25:3,17 55:14,17            133:7,18 142:19

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page452
                                               06/14/21 Pageof180
                                                               898of 189
                                                                         1470
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 179

   seeing 23:21 52:2 66:8 93:16,22        showed 34:13 45:18 49:5 54:8
    98:12,17 99:4                          55:3
   seen 14:25 19:4 27:6,11,14             showing 21:25 49:3,22 77:2 81:4
    36:23 45:4 54:24 60:5 69:18            100:20 119:3
    72:4 83:4,7 100:5 102:4,9             shown 29:11
    113:6 118:25 121:7,8 123:12           shows 47:3
   sees 69:10                             shrinks 105:22
   seizures 82:12 136:11                  sick 10:12 53:5 125:22
   send 88:8,25                           side 49:4 54:10 79:18 80:9,10
   sense 40:17 128:10                      84:4,8 89:20 91:8,14,15,18,20
   sent 71:22 102:10,11                    92:2,2 93:6 126:16,18
   sentence 32:24                         sides 87:20 91:21 92:10
   separate 78:11 146:6                   sign 5:11 61:4 152:8,10
   separation 27:13                       signal 93:4
   sepsis 64:23 66:6 79:2 106:13          signature 152:11
    116:22 117:10,14,15,24 118:2          signed 5:14 27:20 152:23
    124:25 125:20,21 128:13               significance 19:22 23:4 29:6
    129:24 141:25                          72:20,24 122:10
   September 11:14,20 12:4 14:7,21        significant 21:5 24:8 37:25
    26:17 32:14 34:20 43:6 44:10           104:10,21 108:21 112:10
    44:11,12,13 104:8,9,22,23             signs 70:3
   series 9:11 134:19                     Sikirica 1:10 2:12 63:7 64:22
   serious 38:16                           79:16 80:8 83:21,25 84:2
   seriously 71:10 114:3                   85:21,23 89:19 90:3,5,11,21
   serve 11:5                              96:6 113:20,23 114:8,12
   services 24:20,23 26:24                 139:25 140:6
   set 118:23 138:22                      Sikirica's 63:9 79:11 81:5
   seven 26:3 43:18                        118:6 125:8
   seventy 19:25                          similar 30:23
   seventy- 90:7                          simple 23:8 110:18
   seventy-three 85:10                    simply 142:2
   severe 37:25 88:15 112:22              single 24:2 98:9
    127:19 128:3,24 130:16,19,20          sir 6:5,12,19 62:20 140:25
    130:24 131:2,4                        sit 139:17
   shade 47:21                            sitting 147:24
   shake 106:4                            situation 117:13
   shaking 30:20                          six 17:18 26:2,3 49:21 136:3
   shapes 60:2                            sixty 17:10
   share 79:25 86:4 118:20                size 54:25 69:21 83:6 141:11
   shared 31:23                           skeletal 24:18 25:19 27:19
   sharing 132:24                          43:14,20 44:3 75:22
   sharp 13:16 108:13                     skin 103:8 122:18,23
   sheaths 131:11                         skip 19:22 26:7 87:18
   sheet 150:8                            skull 34:14 38:16 75:13,15,19
   short 58:19,24 59:5,6 106:25            75:20,23 76:2 97:6 105:23,25
    107:8,9,9                              108:7,13,14,16 113:11 131:8
   shortfall 107:7                         140:15,19
   shortfalls 108:4 109:6                 slash 19:14 20:2 23:2 32:25
   show 57:17 79:25 88:20 95:16           slide 50:13 124:15 125:2 127:9
    119:18 133:2,15                        127:17 130:10

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     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page453
                                               06/14/21 Pageof181
                                                               898of 189
                                                                         1471
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 180

   slightly 72:22                         spoken 113:19
   slowly 105:18                          spontaneous 27:7
   small 18:9 86:18 108:6                 spot 20:22
   smashing 30:19 110:8                   spread 21:11 22:4,5,6,8 35:25
   sneeze 106:4 107:3                      87:16
   sneezing 105:15,20 107:5               spreading 60:25
   social 33:12                           squished 127:21
   sofa 107:16                            staff 10:10 33:17 97:10
   soft 20:22                             stage 106:18 117:2
   solely 128:13                          stairs 109:12
   somebody 101:19 112:4                  stamp 17:24 32:20
   someone's 76:3 142:20                  stamped 16:22 24:10
   somewhat 105:19                        standard 141:13
   soon 74:25 137:16                      standards 142:17
   sorry 17:10 30:8 44:12 47:19           standing 40:14 87:19 118:14
    55:15 58:23 61:16 77:14,14             125:9
    81:19 97:23 110:14 115:15             stands 20:21 34:11
    117:22 129:5 133:10                   staph 64:12
   sort 21:24 92:5                        staphylococcal 64:9
   sound 144:17,18                        start 8:23 11:6 17:19 118:11
   sounds 38:3,19 146:5                   started 10:17 26:10 96:25
   source 63:5                            starting 9:25 103:22
   space 23:21 24:2 54:9,10,16,19         state 1:16 2:9,10 6:7 34:2
    56:13 61:6 77:3 83:12 91:13            52:24 96:24 134:20 150:3
    91:13 101:12,12 102:14,15             stated 9:4 38:10 39:22,22 41:17
    108:16,18 114:14 127:13,14,14          48:2 135:21 151:6
    142:3,6,12                            statement 38:5,21 85:21 134:6
   spaces 105:22 127:13,13 128:7          states 1:2 32:23 33:4,8 34:8
    142:8                                 stating 36:21 38:14
   speak 94:4                             status 13:24,25
   speaking 32:7 113:22                   stay 26:25
   specialty 12:4                         stem 128:4
   specific 28:19 31:16 59:12             step 75:7
    68:12 73:3,23 96:23 97:24             sterilize 103:11
    115:15 134:16,23 144:4                stick 97:22 108:8
   specifically 35:20 67:10 70:14         stimulation 27:8
   specify 23:25                          STIPULATED 5:3,7,10,13
   speculating 53:10 121:8                stipulations 5:2 7:2
   speculation 104:12                     stitches 21:16
   speed 73:20                            stop 120:3 132:24
   spellings 146:22                       stopped 97:22
   spiel 8:24                             story 28:23
   spinal 12:12 23:18 49:23 55:13         straight 119:11
    55:18,21 56:12,16 57:6 58:16          Street 2:7 152:13
    81:20,22 97:13                        strep 64:11,23 131:23
   splayed 21:7 22:8 35:25                streptococcus 51:21 63:24 64:8
   splaying 60:25                          64:18
   splitting 127:5 131:8 149:10           stretch 106:2 127:23
   spoke 31:20,24 37:8 62:14              stretched 106:3
    112:16 140:2

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page454
                                               06/14/21 Pageof182
                                                               898of 189
                                                                         1472
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 181

   stroke 22:18 128:19                    substance 37:23 115:19 138:11
   stuck 103:23                           substantive 62:5
   students 11:24                         suddenly 142:22
   studies 24:16 101:22,24 107:24         suffered 112:3 115:17
    108:3 135:13 136:17 143:6,8           suffering 45:25
    143:17,19,21 144:10,24 145:9          suffice 98:5
    146:6                                 sufficient 40:2,5 109:13 111:17
   study 107:22 110:23 143:12,21          suggest 27:19 28:2 59:17,18
    144:4                                  64:4 120:19 136:10 137:3
   stuff 118:16                           suggestive 21:4 57:12 141:25
   sub 85:13 128:7 131:13                 suggests 142:24
   Subacute 56:25                         Suite 2:14
   subarachnoid 54:9 127:9,13,14          sum 37:23
    127:16 131:10                         supply 127:24
   subdural 19:15,19,20 21:9 23:3         supporting 136:25
    24:15 27:13,17,25 28:13,15            suppose 106:21
    29:3,15 32:25 34:18 35:11,14          supposed 68:20
    35:23 36:10 37:23 45:4,20             sure 15:7,14 18:19 31:18 34:23
    46:6,16,22 47:3 48:15 50:22            39:25 40:4,18 46:11,24 47:14
    53:13 54:3,9,19,19,23 55:4,7           59:19 61:20 63:12 70:18 71:8
    55:23 56:3,13,23,24,25 57:12           86:3,6,24 95:14 126:23 132:18
    57:20 58:9 59:19,24 60:5               138:11 139:18,23 144:6 147:5
    63:16 64:25 65:22 66:6,12             surface 30:20 105:23 109:20
    67:14 68:10,14 70:13,14,19             144:16
    71:3,8 72:10,23 73:17 74:6,20         surfaces 143:9
    77:7,18 78:7,10,13,15 79:17           surgeons 14:3,6 81:21
    80:9,9 83:4,12 84:7 85:14             surgeries 11:22
    89:19 90:6,12,14,21 91:13,14          surgery 10:7,25 12:17 93:17
    91:14 92:25 93:8 94:8,13              surgical 12:13 66:25 81:9,13,14
    101:5,9,10,12,16,21 102:5,8            81:17,23,24
    102:24 105:4,16 106:6,8,9,10          surmise 76:7
    106:11,13 107:3,7,19,23 108:2         surprise 132:10
    108:16,25 109:8,10,12,22              surprised 127:24
    110:19 111:17 112:15,23               surrounding 49:22 130:18
    114:13,14,19 115:17 116:5,14          survey 24:18 25:19 27:19 43:15
    116:18 117:13 118:3,4 120:21           43:20 44:3 75:22
    121:13,21 123:12 125:23,23            suspect 34:15 121:4
    126:11 127:3,14 128:3,7 130:7         suspected 82:2
    130:13,14 131:4,5 133:21,23           sustained 15:19
    136:14,16,21 139:8 140:17             Sutton 147:7
    141:22 142:10 143:23 144:25           suture 20:25 21:16
   subdurals 22:19 23:7 57:3 66:24        sutures 21:6,11,19 27:13 35:25
    122:5 126:20                           60:17,20,24 61:2 127:6 131:8
   subgaleal 84:6 124:13,16,17            swear 6:19
    125:8,18 126:2 131:13                 swell 141:9
   subpoena 5:6                           swelling 13:17,21 22:11,14,17
   subpoenaed 8:6 95:8                     27:6 61:4 140:15,16 141:8
   subsequent 65:10 118:3 121:3           swing 110:2
   subsequently 23:8 51:20 98:7           switched 87:10


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page455
                                               06/14/21 Pageof183
                                                               898of 189
                                                                         1473
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 182

   swollen 21:8                            115:25 136:17 141:2
   sworn 3:3 6:24 7:11 150:11             testify 40:25 96:17 111:10
    151:8                                  113:24 151:8
   symptomatic 105:17                     testifying 37:22 50:6 111:11
   symptoms 136:24                        testimony 6:20 8:6 25:11 37:18
   syndrome 128:25                         38:3,19 40:8,13,20 41:11
   system 12:11 81:16                      42:14,18 44:23 45:6 48:23,24
                                           49:8,10 54:9 79:22 80:13,16
                   T                       80:18,21 81:5 84:4,12 89:19
   T 4:2 20:5,11 68:6                      90:2,8 96:11,16 111:24 112:8
   T-A-I-N 147:10                          114:23 115:21 125:8 134:5
   table 108:12                            139:19 140:14 141:5 150:5
   take 12:10,25 16:7 59:16 72:5           151:4,7 152:8
     74:10 81:11 82:21 83:19              tests 123:6
     109:25 117:12 120:5 137:21           thank 6:14,14 7:9 8:21,22 9:3
   taken 5:6 150:5 151:4                   10:20 22:23 30:4 39:3,24 52:8
   takes 142:5,12                          60:13 62:21 83:19,22 95:19,20
   talk 20:6 59:13                         99:2 104:24 129:21 134:10
   talked 44:19 49:2,21                    137:7,17 138:17,24 139:12
   talking 7:16 38:15 56:2 57:21           142:14 146:11,13,17,18,19,20
     85:9,13 88:21 93:19 98:23             147:3
     107:11,17,20 115:12                  Thanks 89:2 95:23
   tap 24:15 83:12 101:12,16              theoretically 73:11
     102:24 103:3,7,18                    theory 57:24
   tapped 103:14                          therapy 122:8
   tapping 103:12                         they’re 46:2
   taps 101:22 102:5,8                    thickness 126:12
   taught 11:24 56:21                     thing 31:17 38:3 52:25 58:11
   teaching 10:18                          86:22 97:2,3,14 99:20 101:4
   tear 106:5 108:23                       120:13 135:13
   tears 56:10 57:22 128:8                things 11:25 22:17,20 43:2 47:7
   technically 107:3                       67:14,15 81:14 102:12 103:23
   techniques 97:23                        104:5 117:5,11 128:17 142:12
   technology 97:19                       think 14:21 15:12 16:4 17:9,9
   teensy 136:20                           17:13 18:22 24:10 31:8,20
   tell 9:21 16:13 18:13 20:24             41:8 42:25 44:17 50:9 55:12
     26:5 39:11 68:20 71:18 89:8           57:22 59:19 62:12,12 65:8
     97:15 100:22 101:3 112:10             67:2 68:6 72:19 75:5,14,19
     120:2 138:2                           85:9 88:21 89:14,15,16,23
   temporal 49:6                           94:10 95:14,17 99:13,20
   ten 54:8 130:10,11,14 144:16            100:13,25 102:21 106:22 107:9
   tense 21:11                             107:18 111:14 115:25 116:23
   tentorium 127:22 128:22                 118:4,5 126:3 133:12,24 137:9
   term 21:19 60:24 68:12 77:19            146:10 147:4
   terms 8:20 50:16,16 57:20 76:11        thinks 93:12
     81:18 82:2 122:15 140:14             third 32:24,24 97:17
   test 44:3 73:7 123:12                  thirty 20:2 26:17 152:9,10
   tested 64:17                           thirty-six 18:22,25
   testified 45:3 58:14 59:3 65:8         thirty-two 18:23 19:3 120:25
     69:18 90:5,13,21 106:24 115:2

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page456
                                               06/14/21 Pageof184
                                                               898of 189
                                                                         1474
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 183

   Thomas 1:1,4,13 2:1 3:1 4:1 5:1         67:8 71:9,14 72:5 77:12,16
    6:1 7:1 8:1 9:1 10:1 11:1              78:10,13,20,23 82:18 83:13
    12:1 13:1 14:1,16,24 15:1              92:20,24 93:8 94:7,8,11,12
    16:1,11 17:1 18:1 19:1 20:1            96:22,23 97:4,21 99:16,21,23
    21:1 22:1 23:1 24:1 25:1 26:1          101:9 102:4 103:3,4,13,14
    27:1 28:1 29:1 30:1 31:1 32:1          104:3,4 105:18 112:2,5 116:7
    32:4 33:1 34:1 35:1 36:1 37:1          120:5 121:14 125:24 132:2,11
    37:19 38:1,14,15,25 39:1,23            133:22 141:17 150:5 151:5
    40:1 41:1 42:1 43:1 44:1 45:1         times 66:8 98:21 103:23
    45:25 46:1 47:1 48:1 49:1             tiny 89:4 136:20
    50:1 51:1 52:1 53:1 54:1 55:1         tissues 48:18
    56:1 57:1 58:1 59:1 60:1 61:1         title 10:21,22,23,24 11:14
    62:1 63:1 64:1 65:1 66:1,22           today 9:4 39:24 41:6 44:4 50:6
    67:1 68:1 69:1 70:1 71:1 72:1          63:5 84:16 89:10,10 96:12
    73:1 74:1 75:1 76:1 77:1 78:1          114:24 115:24 116:2 118:16
    79:1 80:1 81:1 82:1 83:1 84:1          119:8 139:16,17
    85:1 86:1 87:1 88:1 89:1 90:1         today's 40:3,7 42:14 119:10
    91:1 92:1 93:1 94:1 95:1 96:1         top 20:22 50:2,19 98:9 122:8
    97:1 98:1 99:1 100:1 101:1             126:8
    102:1 103:1 104:1 105:1 106:1         Toronto 10:11
    107:1 108:1 109:1 110:1 111:1         total 123:18
    112:1 113:1,20 114:1 115:1,16         totally 130:23 141:7
    116:1,13 117:1 118:1 119:1            toxicology 132:15,20
    120:1 121:1 122:1 123:1 124:1         toy 108:12
    125:1 126:1 127:1 128:1 129:1         traditional 147:21
    130:1 131:1 132:1 133:1 134:1         training 10:6,16 68:24 96:12,18
    135:1 136:1 137:1 138:1 139:1          96:22,25 97:11,18,25 98:6
    140:1 141:1 142:1 143:1 144:1         trans 119:15
    145:1 146:1 147:1 148:1 149:1         transcribed 71:20
    150:1 151:1 152:1,4                   transcript 84:11,14 85:5 119:15
   Thomas's 45:5 60:4 114:25               150:6,8 152:8,10,11
    115:20                                transcription 151:10
   thought 27:24 59:4 76:2 125:13         transcripts 149:6,6,8
    145:22                                transfer 51:17
   thousand 97:11,12 102:2                transferred 15:3 19:7,12 26:18
   thousands 98:24,24                      34:9
   three 20:11,13 59:6 68:6 90:8          transition 32:21
    102:12 107:11,12 126:11               transitioned 11:10
    127:17 142:16                         transpire 8:16
   threw 135:11                           trauma 12:15 13:14,18 22:14,21
   throw 109:22 143:11 144:15              22:22 25:5 28:4 29:17,22,24
   thrown 109:20                           52:20 53:20,21,21 54:5,6,7
   throws 143:7,9                          56:10 82:20,21,22 84:7 105:5
   thumbnail 87:7                          105:12,13 106:7 112:4,15,19
   tightening 126:25                       115:17 117:13 118:4 124:19,20
   TIM 1:8                                 124:25 126:4,4 128:16 129:14
   time 1:22 5:6,15 9:5 11:4,20            129:19 130:8,24 131:3,17
    14:14 16:5,14 28:9 31:6 32:2           135:22
    32:9 34:19 39:24 40:2,5 41:9          traumas 125:4
    43:11 46:10 51:9 55:6,24 67:7

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page457
                                               06/14/21 Pageof185
                                                               898of 189
                                                                         1475
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 184

   traumatic 28:22 29:3 53:13,15          truthfully 40:25
    53:16 54:3 59:24 101:5 124:23         try 12:17 23:7 103:11
   traumatically 53:20                    trying 44:5 47:13 48:8 68:19,19
   treatment 13:12 72:11 81:22             68:23 84:6 115:14 125:19
    93:13,15,20 95:2 125:24               tumor 74:7 142:11
    136:23                                tumors 22:18
   treatments 12:14 13:17,21              turn 67:25
   trial 5:9,16 8:13 38:10,15             turns 75:18
    40:21 41:2,5,11,17,21 45:3            twelve 26:17 124:15 125:2
    48:20 58:18 113:24 139:19,24           130:15
    141:3 145:17                          twenty- 49:2 68:6
   trials 40:9 96:17 115:14               twenty-fifth 142:21
   trick 13:12                            twenty-one 63:25
   tries 135:11                           twin 27:2 135:23
   trips 100:6                            two 17:13 26:22 32:20 42:4 53:2
   Troy 1:1,7 2:1,6,8 3:1 4:1 5:1          53:3 66:8 97:9 98:15 100:6
    6:1 7:1 8:1 9:1,7,7 10:1 11:1          110:17 121:7,9 148:15
    12:1 13:1 14:1 15:1,2 16:1            two-captioned 148:16
    17:1 18:1 19:1 20:1 21:1 22:1         two-day 26:22
    23:1 24:1 25:1 26:1 27:1 28:1         type 29:23,24 30:13,14 47:4
    29:1 30:1 31:1 32:1,3,13 33:1          82:25
    33:9 34:1 35:1 36:1,11,17             types 51:8 53:7
    37:1,2,15 38:1 39:1 40:1 41:1         typewritten 151:9
    42:1 43:1 44:1 45:1 46:1 47:1         typically 54:20 55:9 66:19,20
    48:1 49:1 50:1 51:1 52:1 53:1          66:23 67:17 71:11 73:5,22
    54:1 55:1 56:1 57:1 58:1 59:1          81:7 82:3,20 100:13 108:5
    60:1 61:1 62:1 63:1 64:1 65:1          109:12,13 136:12
    66:1 67:1 68:1 69:1 70:1 71:1
    72:1 73:1 74:1 75:1 76:1 77:1                         U
    78:1 79:1 80:1 81:1 82:1 83:1         Uh-huh 103:10 107:14 117:9
    84:1 85:1 86:1 87:1 88:1 89:1         ultimately 15:9 91:21
    90:1 91:1 92:1 93:1 94:1 95:1         ultrasound 136:13
    96:1 97:1 98:1 99:1 100:1             unable 133:6
    101:1 102:1 103:1 104:1 105:1         unaware 106:12 112:19
    106:1 107:1 108:1 109:1 110:1         uncomfortable 98:16 99:3
    111:1 112:1 113:1 114:1 115:1         uncommon 57:5
    116:1 117:1 118:1 119:1 120:1         unconscious 65:11
    121:1 122:1 123:1 124:1 125:1         understand 9:17 35:17 46:24
    126:1 127:1 128:1 129:1 130:1          80:20 141:16,16 143:15
    131:1 132:1 133:1 134:1 135:1         understanding 13:20 14:25 28:17
    136:1 137:1 138:1 139:1 140:1          38:22 59:2 64:2 75:25 78:25
    141:1 142:1 143:1 144:1 145:1          80:6,7
    146:1 147:1 148:1 149:1 150:1         unexpected 131:25
    151:1 152:1,4,13                      unfounded 76:4
   true 41:17 44:25 45:8,9 49:24          unit 15:5
    50:17,18 54:4,13 56:22 57:13          UNITED 1:2
    110:25 135:17 143:7 150:6,8           universe 44:6
    151:11                                University 10:2
   truth 6:21,21,22 151:8,8,9             unresponsiveness 26:23
                                          unwitnessed 30:3 107:20 134:7

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page458
                                               06/14/21 Pageof186
                                                               898of 189
                                                                         1476
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 185

    134:22                                venue 148:14
   upper 16:22 132:3                      verbal 9:12 20:5
   use 25:6 60:23 77:19 99:25             verbiage 72:22
    138:3,7                               versus 72:22 106:25 109:20
   usual 7:2 11:25                        vessel 91:19 106:5
   usually 49:24 67:16 71:12,15           vessels 106:5 127:15,23 128:9
    83:6 105:17 107:10,12 109:3           video 7:20 8:2,6,13 137:11
    127:20 134:12                         view 73:4
                                          viewing 16:18
                   V                      violent 30:20
   v 1:1,6,15 2:1 3:1 4:1 5:1 6:1         violently 53:8
     7:1 8:1 9:1 10:1 11:1 12:1           Virchow 127:12
     13:1 14:1 15:1 16:1 17:1 18:1        visit 74:17 121:9 142:16
     19:1 20:1 21:1 22:1 23:1 24:1        visits 121:3 142:22
     25:1 26:1 27:1 28:1 29:1 30:1
     31:1 32:1 33:1 34:1 35:1 36:1                        W
     37:1 38:1 39:1 40:1 41:1 42:1        wait 39:8,15 95:24 143:2
     43:1 44:1 45:1 46:1 47:1 48:1        waive 8:19
     49:1 50:1 51:1 52:1 53:1 54:1        Walden 6:18
     55:1 56:1 57:1 58:1 59:1 60:1        Waldman 1:1,20 2:1 3:1,3 4:1
     61:1 62:1 63:1 64:1 65:1 66:1         5:1 6:1,11,16,19,23,24 7:1
     67:1 68:1 69:1 70:1 71:1 72:1         8:1,5 9:1,23 10:1 11:1 12:1
     73:1 74:1 75:1 76:1 77:1 78:1         13:1 14:1 15:1 16:1 17:1 18:1
     79:1 80:1 81:1 82:1 83:1 84:1         19:1 20:1 21:1 22:1 23:1 24:1
     85:1 86:1 87:1 88:1 89:1 90:1         25:1 26:1 27:1 28:1 29:1 30:1
     91:1 92:1 93:1 94:1 95:1 96:1         31:1 32:1 33:1 34:1 35:1 36:1
     97:1 98:1 99:1 100:1 101:1            37:1 38:1 39:1,21 40:1 41:1
     102:1 103:1 104:1 105:1 106:1         42:1 43:1 44:1 45:1 46:1 47:1
     107:1 108:1 109:1 110:1 111:1         48:1 49:1 50:1 51:1 52:1 53:1
     112:1 113:1 114:1 115:1 116:1         54:1 55:1 56:1 57:1 58:1 59:1
     117:1 118:1 119:1 120:1 121:1         60:1 61:1 62:1 63:1 64:1 65:1
     122:1 123:1 124:1 125:1 126:1         66:1 67:1 68:1 69:1 70:1 71:1
     127:1 128:1 129:1 130:1 131:1         72:1 73:1 74:1 75:1 76:1 77:1
     132:1 133:1 134:1 135:1 136:1         78:1 79:1 80:1 81:1,7 82:1,23
     137:1 138:1 139:1 140:1 141:1         83:1 84:1 85:1 86:1 87:1 88:1
     142:1 143:1 144:1 145:1 146:1         89:1 90:1,18 91:1 92:1 93:1
     147:1 148:1 149:1 150:1 151:1         94:1 95:1 96:1 97:1 98:1 99:1
     152:1,4                               100:1 101:1 102:1 103:1 104:1
   vaginal 45:5 135:24 136:20              105:1 106:1 107:1 108:1 109:1
   vaguely 49:10                           110:1 111:1 112:1 113:1,19
   variety 22:19                           114:1 115:1 116:1 117:1 118:1
   various 20:4 48:4                       119:1 120:1 121:1 122:1 123:1
   vast 59:22,22 73:14 98:20               124:1 125:1 126:1 127:1 128:1
   vehicle 73:21                           129:1 130:1 131:1 132:1 133:1
   vein 56:12                              134:1 135:1 136:1 137:1,13,14
   veins 56:13 105:24                      138:1 139:1 140:1 141:1 142:1
   venous 108:25                           143:1 144:1 145:1 146:1 147:1
   ventilation 52:23                       147:24 148:1 149:1 150:1,4,10
   ventilator 103:22                       151:1,4 152:1,5,7,23
   ventricles 126:25 127:2 142:8          Waldman's 8:18 137:11

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page459
                                               06/14/21 Pageof187
                                                               898of 189
                                                                         1477
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 186

   walk 98:12                              113:15 115:6 118:25 119:3
   wall 110:3,8 135:12                     125:10 129:25 133:11 146:19
   want 7:15 17:2,4,6 18:11 26:7           146:24 147:2,4,9,12,17,19,22
    39:10,17 40:11,16 62:24 63:2           147:25 148:5
    76:14 79:23 80:21,22 83:19            witness(es) 151:7
    84:19 85:20,20,21,25 86:7,20          witnessed 105:14 109:6
    86:21,22 88:2,11,17,19 89:18          witnesses 134:13
    92:13,20 93:24 95:21,22 96:12         witnessing 113:16
    115:11 120:3 124:4,5 130:10           women 138:9
    132:12 133:4,12 145:10 148:17         wondering 110:6
   wanted 64:8 133:17 137:15              word 59:20 77:21 111:24 115:15
    145:14                                 152:15,16,17,18,19,20,21
   wasn't 25:5 28:23 70:18 78:6,19        words 20:11 53:4 69:11 74:10
    103:17 118:12,16 122:3,4               80:11 82:6 103:5 107:12
    123:9 140:8                            121:14
   watch 60:9                             work 57:18 86:8 145:19
   watery 26:21                           worker 33:13
   way 65:25 72:4 75:7 89:24 91:16        works 72:5
    97:4 98:19,20 100:4,9,22              workup 24:17,20 81:18
    105:13 107:5 110:12 111:15            worsening 26:22
    114:12 120:18 129:3,8 147:14          wouldn't 32:18 36:21 45:10,18
   ways 114:16 123:5                       46:8 101:13 105:14 114:8
   we'll 57:17 81:3 95:16 148:25           136:12 141:22
    149:2                                 write 11:25 18:5 68:20
   we're 9:18 55:15 56:2 57:21            write-up 13:13
    75:5,6 85:6,9 88:21 95:2              writing 13:5
    98:23 107:17,20 115:12 124:8          written 18:8 44:15 87:18 88:11
    126:23 132:19 138:18,22,22            wrong 80:7 85:14,15
    149:7,10                              wrote 18:25 31:18 42:4,5 78:21
   we've 23:7 89:23
   WebEx 1:23                                             X
   week 18:22,23 56:3 94:17 103:6         X 3:2 4:2,2 150:9,12
   weeks 19:2 42:20 50:8,8 56:4           x-ray 23:16 73:8
   weight 27:3                            x-rays 23:16 97:6
   welcome 52:9 62:22
   went 10:2,4,11,14 62:12 99:21                            Y
    100:10 121:15 124:3                   Yale 10:2
   weren't 99:23                          yeah 7:17 9:10 14:5 21:18 33:22
   West 2:14                               33:23 34:7 35:2 52:6 58:5
   whatnot 81:6                            59:3 70:22 84:2,21 86:16 87:9
   white 47:22 48:5 55:10,23 56:5          87:15 88:3 92:19,22 95:20
    56:24 57:11,14,16 58:10                102:13 104:15,20 115:22
   window 28:23                            119:21 120:8 122:6,9 123:24
   wish 41:5,22                            124:10 125:14 126:8,22 129:19
   withdraw 89:17 90:19                    130:25 132:5,16,21 135:7
   withdrawn 31:2 47:19 49:20              140:3,4 143:14
   witness 5:10,14 6:24 7:10 30:10        year 10:7 97:10,16,17
    35:5,16 43:19 50:25 51:3 54:4         years 10:9 11:9,10 13:14 56:21
    60:11,15 80:16,17,19 84:10             112:3 145:7,7,7
    85:22 89:3 95:19 111:16               yesterday 84:17

  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page460
                                               06/14/21 Pageof188
                                                               898of 189
                                                                         1478
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 187

   York 1:3,16 2:5,5,8,9,11,14            12180 2:8 152:13
    15:2 33:25 152:13                     12205 2:14
   young 141:20                           12224-0341 2:11
   Yup 118:24                             139 3:8
                                          140 3:9
                   Z                      151 151:10
   zero 63:25 68:13 86:11 136:15          17-CV-626 1:6
    140:11                                19 1:21 60:7
   zone 126:13                            1969 10:3
                                          1973 10:4
                        0                 1979 11:11
                                          1st 90:9
                        1
   1 151:6,10                                             2
   1:40 138:20                            2:01 1:22 149:19
   1:48 138:21                            2008 11:14,20 12:4 14:7,22
   10-19-20 1:1 2:1 3:1 4:1 5:1            26:17 34:20
     6:1 7:1 8:1 9:1 10:1 11:1            2009 40:8,21 41:5 44:23 96:16
     12:1 13:1 14:1 15:1 16:1 17:1         115:13
     18:1 19:1 20:1 21:1 22:1 23:1        2012 11:12 145:19
     24:1 25:1 26:1 27:1 28:1 29:1        2014 40:9 41:11 44:23 96:16
     30:1 31:1 32:1 33:1 34:1 35:1         111:24 112:8 115:14 145:17
     36:1 37:1 38:1 39:1 40:1 41:1        2019 4:7 90:8,9
     42:1 43:1 44:1 45:1 46:1 47:1        2020 1:21 150:11
     48:1 49:1 50:1 51:1 52:1 53:1        2110 33:9
     54:1 55:1 56:1 57:1 58:1 59:1        21st 15:8 16:6 32:14
     60:1 61:1 62:1 63:1 64:1 65:1        22 2:7 4:7 152:13
     66:1 67:1 68:1 69:1 70:1 71:1        22nd 14:21 16:6,12 26:16 34:20
     72:1 73:1 74:1 75:1 76:1 77:1         43:7 44:10,12
     78:1 79:1 80:1 81:1 82:1 83:1        23rd 32:15 44:13 104:8,10,22
     84:1 85:1 86:1 87:1 88:1 89:1        25th 104:9,10,23
     90:1 91:1 92:1 93:1 94:1 95:1
     96:1 97:1 98:1 99:1 100:1                              3
     101:1 102:1 103:1 104:1 105:1        30 152:9,10
     106:1 107:1 108:1 109:1 110:1        305 2:4
     111:1 112:1 113:1 114:1 115:1        30th 145:19
     116:1 117:1 118:1 119:1 120:1
     121:1 122:1 123:1 124:1 125:1                          4
     126:1 127:1 128:1 129:1 130:1        40 3:5
     131:1 132:1 133:1 134:1 135:1
     136:1 137:1 138:1 139:1 140:1                          5
     141:1 142:1 143:1 144:1 145:1        507 2:14
     146:1 147:1 148:1 149:1 150:1        523-7887 152:2
     151:1 152:1,5
   10:14 1:22 6:3                                           6
   10007 2:5                              600 2:4
   10th 90:8
   11:30 61:22                                              7
   117 3:7
   12:00 61:23                                              8


  ARII@courtsteno.com                                                 www.courtsteno.com
     Case 23-753, Document
Case 1:17-cv-00626-DJS
                            APPENDIX
                           62, 01/17/2024,
                       Document            3604338,
                                  142-24 Filed      Page461
                                               06/14/21 Pageof189
                                                               898of 189
                                                                         1479
  800.523.7887                                              Associated Reporters Int'l., Inc.

                                                                          Page 188

   800 152:2
                        9
   9 3:4
   9/21/08 35:12
   9/23/08 43:25
   96 3:6




  ARII@courtsteno.com                                                 www.courtsteno.com
CaseCase 23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                          62, 01/17/2024,
                       Document   142-25 3604338,  Page462
                                          Filed 06/14/21   of 898
                                                         Page
                                                                    1480
                                                               1 of 67




                     EXHIBIT “H”
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                           APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,  Page463
                                                 Filed 06/14/21   of 898
                                                                Page  2 of 67
                                                                                            1481

UNITED STATES DISTRICT COURT
 ORTHERN DISTRI T OF NEW YORK

ADRIAN THOMAS,

                              Plaintiff,                     EXPERT WITNESS
                                                             DISCLOSURE
       -against-
                                                             Civil Case No.: 1: 17-cv-626
CITY OF TROY, ADAM R. MASON,                                 (GTS/DJS)
RONALD FOUNTAIN, TIM COLANERI,
RENSSELAER COUNTY, and MICHAEL SIKIRICA,

                               Defendants.


       Defendant, Michael Sikirica, by and through his attorneys, Bailey, Johnson & Peck, P.C.,

as and for his Expert Witness Disclosure pursuant to Federal Rule of Civil Procedure

26(a)(2)(B), sets forth the following:

        1.     At the time of trial, Defendant Sikirica may call Michael M. Baden, MD, as an

expert witness to give testimony in this matter. A copy of Dr. Baden's curriculum vitae is

annexed hereto as Exhibit "A" and is incorporated herein by reference.

        2.     It is expected that Dr. Baden's testimony at trial will be based upon his

background and education, as well as his experience and medical expertise and review of the

materials as outlined in the report authored by Dr. Baden which is annexed hereto as Exhibit

"B".

        3.     Pursuant to F.R.C.P. 26(a)(2)(B)(6), Dr. Baden's statement of compensation to be

paid for the study and testimony in the case is as follows: $8,500 for review of all materials and

preparation of report. Thereafter, Dr. Baden charges an hourly rate of $850 for deposition, court

room testimony, and other out of court work.

        4.      Cases in which Dr. Baden has testified in the last four years are attached hereto as

Exhibit "C".
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                       APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,  Page464
                                                 Filed 06/14/21   of 898
                                                                Page  3 of 67
                                                                                              1482

       5.     Al the time of triaJ, Defendant may call Rudy V. Nydegger, Ph.D., ABPP, FNAP,

PLLC, as a rebuttal expe1t witness to give testimony in thjs matter. A copy of Dr. Nydegger's

curriculum vitae is annexed hereto as Exhibit "D" and is incorporated herein by reference.

       6.     It is expected that Dr. Nydegger's testimony at trial will be based upon llis

background and education, as well as his experience in the area of clirucal psychology along with

the matei-ials he reviewed as outlined in the report authored by Dr. Nydegger which is annexed

hereto as Exhibit "E".

       7.      Pursuant lo F.R.C.P. 26(a)(2)(B)(6), Dr. Nydegger's statement of compensation to

be paid for the study and testimony in the case is as follows: $300 per hour inclusive of

document review, report preparation, and deposition and court testimony.

       8.      Cases in which Dr. Nydegger has prnvided deposilion or court testimony in the

last four year include: People v. Valdez, New York State County Court, Fulton County (2018);

Defense expert.

Dated: Janua,y 29, 2021                      Bailey, Johnson & Peck, P.C.


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                                                   2
CaseCase 23-753, Document
     1:17-cv-00626-DJS
                             APPENDIX
                          62, 01/17/2024,
                       Document   142-25 3604338,  Page465
                                          Filed 06/14/21   of 898
                                                         Page  4 of 67
                                                                              1483

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                                       3
CaseCase 23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                          62, 01/17/2024,
                       Document   142-25 3604338,  Page466
                                          Filed 06/14/21   of 898
                                                         Page
                                                                    1484
                                                               5 of 67




               EXHIBIT "A"
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                       APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,  Page467
                                                 Filed 06/14/21   of 898
                                                                Page  6 of 67
                                                                                           1485


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EDUCATION

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   •     New York University School of Medicine              (1959) M.D. Degree



           TRAINING
POST-GRADUATE

1959-1960                Intern, First (Columbia) Medical Division, Bellevue Hospital

1960-1961                Resident, First (Columbia) Medical Division, Bellevue Hospital

1961-1963                Resident, Pathology, Bellevue Hospital

1963-1964                Chief Resident, Pathology, Bellevue Hospital



LICENSURE

   •     New York State Medical License                              (1960)
   •     Diplomate, National Board of Medical Examiner's             (1960)
   •     Diplomate, American Board of Pathology:
                Anatomic Pathology                                   (1965)
                Clinical Pathology                                   (1966)
                Forensic Pathology                                   (1966)




Page 1                                                                                    12.9.2020
         CaseCase 23-753, Document
              1:17-cv-00626-DJS
                                     APPENDIX
                                   62, 01/17/2024,
                                Document   142-25 3604338,  Page468
                                                   Filed 06/14/21   of 898
                                                                  Page  7 of 67
                                                                                             1486

          POSITIONS
PROFESSIONAL

1985-2011              Director, Medicolegal Investigations Unit, New York State Police

1961-1985             Office of Chief Medical Examiner, New York City; Chief Medical Examiner
                      (1978-1979}

1981-1983              Deputy Chief Medical Examiner, Suffolk County, New York; Director of
                       Laboratories, Suffolk County, New York

TEACHINGAPPOINTMENTS

1961-1989              New York University School of Medicine, Associate Professor, Forensic
                       Medicine

1975-2001              Visiting Professor of Pathology, Albert Einstein School of Medicine

1975-1988              Adjunct Professor of Law, New York Law School

1975-1978              Lecturer in Pathology, College of Physicians and Surgeons of Columbia
                       University

1986, 1989             Visiting Professor, John Jay College of Criminal Justice

1965-1978              Assist Visiting Pathologist, Bellevue Hospital, New York

2002                   Adjunct Lecturer, The Cyril H. Wecht Institute of Forensic Science and
                       Law, Duquesne University School of Law

2002                   Distinguished Professor/Adjunct Lecturer,        Henry     C. Lee Institute,
                       University of New Haven (Connecticut)



           APPOINTMENTS
GOVERNMENTAL

1977-1979              Chairman, Forensic Pathology Panel, United States Congress, Select
                       Committee on Assassinations, Investigations into the deaths of President
                       John F. Kennedy and Dr. Martin Luther King

1973-Present           Member, New York State Correction Medical Review Board

2015-Present           Member, New York State Justice Center for the Protection of People
                       with Special Needs



Page 2                                                                                    12.9.2020
         CaseCase 23-753, Document
              1:17-cv-00626-DJS
                                     APPENDIX
                                   62, 01/17/2024,
                                Document   142-25 3604338,  Page469
                                                   Filed 06/14/21   of 898
                                                                  Page  8 of 67
                                                                                       1487


1976-2014              Member, New York State Mental Hygiene Medical Review Board
                       (renamed Justice Center for the Protection of People with Special Needs
                       in 2015)

1983-1986              Member, National Crime Information Center, Committee on Missing
                       Children, United States Department of Justice (F.B.1.)

1971-1975              Special Forensic Pathology Consultant, New York State Organized Crime
                       Task Force (investigation of deaths at Attica Prison)

1974-2006              Director and/or Moderator, Annual Northeastern Seminar in Forensic
                       Medicine, Colby College, Maine

1973-1987              Lecturer, Drug Enforcement Administration, Drug Law Enforcement
                       Training School, United States Department of Justice



          ORGANIZATIONS
PROFESSIONAL

1966-Present           American Academy of Forensic Sciences; Fellow Vice President and
                       Program Chairman (1982-1983)

1965-Present           The Society of Medical Jurisprudence; Fellow, President (1981-1985)

1966-Present           College of American Pathologist;        Fellow,   Chairman,   Toxicology
                       Subcommittee (1972-1974)

1971-1975              College of American     Pathologists   Foundation;   Forensic Pathology
                       Seminar Faculty

1973-1976              American Board of Pathology; Forensic Pathology Board Test Committee
                       {1973-1976)

1966-1986              American Society of Clinical Pathologist; Fellow Member, Drug Abuse
                       Task Force (1973-1977)

1965-1978              New York State Medical Society; Chairman, Section of Medicolegal and
                       Workers' Compensation Matters (1972)

1965-Present           Medical Society of the County of New York




Page 3                                                                                12.9.2020
        CaseCase 23-753, Document
             1:17-cv-00626-DJS Document
                                       APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,  Page470
                                                  Filed 06/14/21   of 898
                                                                 Page  9 of 67
                                                                                            1488


1969-1978                National Association of Medical Examiner's

1965-Present             American Medical Association



HONORS

•    The City College of New York: Senior Class President; Editor-in-Chief of The Campus
     (newspaper); Phi Beta Kappa

•    Honor Legion, New York City Police Department, 1969

•    College of American Pathologists, Certificate of Appreciation (Chairman, Toxicology Resource
     Committee, 1972-1975)

•    American Academy of Forensic Sciences, Award of Merit, 1974 and 1983

•    Drug Enforcement Administration,     United States Department       of Justice, Certificate of
     Appreciation, 1982

-•   New Jersey Narcotic Enforcement Officers Association, Certificate of Appreciation, 1977

•    Fire Department of the City of New York, Certificate of Appreciation, 1978

•    New York.State Bar Association, Certificate of Appreciation, 1980

•    New York City Health and Hospitals Corporation, Certificate of Appreciation for participation
     in development of emergency facilities for Emergency Medical Services for the City of New
     York, 1980

•    New York University, Great Teacher, 1980

•    First Fellow in Forensic Science of the University of New Haven, Henry C. Lee Institute,
     (Connecticut), 2002

•    The City College of New York, Alumni Association, 2019 Townsend Harris Medalist Society




Page 4                                                                                     12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page471
                                                 Filed 06/14/21    of 898
                                                                Page  10 of 67
                                                                                          1489


                     AND PRESENTATIONS
          PUBLICATIONS
PROFESSIONAL

1.    M. Helpern and M. Baden; Editors: Atlas of Legal Medicine by Tomio Watanabe, Lippincott,
      1968

2.    D. Louria, M. Baden, et al.: The Dangerous Drug Problem. New York Medicine, 22:3, May
      1966

3.    D. Gold, P. Henkind, W. Sturner and M. Baden: Occulodermal Melanocytosis and Retinitis
      Pigmentosa. Am. J. of Ophthalmology, 63:271, 1967

4.    B. Van Duuren, L. Lanseth, L. Orris, M. Baden and M. Kuschner: Carcinogenicity of
      Expoxides Lactones and Peroxy Compounds v. Subcutaneous Injection of Rats. J. Nat.
      Cancer Institute, 39:1213, 1967

5.    M. Helpern and M. Baden: Patterns of Suicides and Homicides in New York City,
      Proceedings of the Seventh International Meeting of Legal Medicine (Budapest); October
      1967

6.    M. Baden: Pathology of Narcotic Addiction, Proceedings of the Sixth Latin American
      Congress of Pathology (San Juan, Puerto Rico); December 1967

7.    M. Baden: The Diagnosis of Narcotism at Autopsy, Proceedings of the American Academy
      of Forensic Sciences (Chicago); February 1968

8     M. Baden: Medical Aspects of Drug Abuse, New York Medicine, 24:464, 1968

9.    C. Cherubin, M. Baden, et al.: Infective Endocarditis in Narcotic Addicts.   Ann. Int. Med.,
      69:1091, 1968.

10.   M. Baden: Pathologic Aspects of Drug Abuse, Proceedings of the Committee on Problems
      of Drug Dependence, National Academy of Sciences, National Research Council, 1969.

11.   W. Matusiak, L. Dal Cortivo and M. Baden: Analytical Problems on a Narcotic Addiction
      Laboratory, Proceedings of the American Academy of Forensic Sciences (Chicago}, February
      1969

12.   M. Baden, P. Hushins and M. Helpern: The Laboratory for Addictive Drugs of the Office of
      Chief Medical Examiner of New York City, Proceedings of the International Conference on
      Poison Control (New York City}, June 1969




Page 5                                                                                  12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS
                                      APPENDIX
                                  62, 01/17/2024,
                               Document   142-25 3604338,   Page472
                                                  Filed 06/14/21    of 898
                                                                 Page  11 of 67
                                                                                         1490

13.   M. Baden, S. Hofstetter and T. Smith: Patterns of Suicide in New York City, Proceedings of
      the Fifth International Meeting of Forensic Sciences (Toronto), June 1969

14.   R.W. Richter and M. Baden: Neurological Aspects of Heroin Addiction, Proceedings of the
      Ninth International Congress of Neurology (New York City), September 1969

15.   R.W. Richter and M. Baden: Neurological Complications of Heroin Addiction. Transactions
      of the American Neurological Association

16.   M. Baden: Of Drugs and Urine, Editorial, Medical Tribune

17.   M. Baden: Methadone-Related Deaths in New York City, Proceedings of the Second
      National Conference on Methadone Treatment (New York City), October 1969. Int. J.
      Addictions.

18.   M. Baden: Chairman, Workshop on Techniques for Detecting Drugs of Abuse, Proceedings
      of the Statewide Conference on Prevention Aspects of Treatment and Research in Drug
      Abuse. New York City Narcotics Addiction Control Commission, 1969.

19.   M. Baden: Investigation of Deaths of Persons Using Methadone, Proceedings of the
      Committee on Problems on Drug Dependence. National Academy of Sciences National
      Research Council, 1970.

20.   M. Baden: The Changing Role of the Medical Examiner, Proceedings of the American
      Academy of Forensic Sciences (Chicago), February 1970, Med. Op. 7:64-68, 1971

21.   N. Valanju, M. Baden, S.K. Verma and C.J. Umberger:          Analytical Toxicological
      Determination of Drugs in Biological Material. I. Acidic Drugs. Acta Pharmaceutica
      Jugoslavica 20:11, 1970

22.   M. Baden: Deaths from Heroin Addiction Among Teenagers in New York City, Proceedings
      of the Second World Meeting on Medical Law (Washington, D.C.), August 1970

23.   M. Baden: Bullous Skin Lesions in Barbiturate Overdosage and Carbon Monoxide Poisoning
      (letter) JAMA 213:2271, 1970

24.   M. Baden and J. Foley: Heroin Deaths in New York City during the 1960's. Int. M.J. of Legal
      Medicine, 5:1970

25.    N. Valanju, M. Baden, S. Valanju and S. Verma: Rapid Isolation and Detection of Free and
       Bound Morphine from Human Urine. Int. M. J. of Legal Medicine, 5:1970

26.    M. Baden: Angitis in Drug Abusers (letter), NEJM 264:11, 1971



                                                                                       12.9.2020
Page 6
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page473
                                                 Filed 06/14/21    of 898
                                                                Page  12 of 67
                                                                                        1491


27.   M. Baden, et al.: Methadone Maintenance - Pro and Con. Contemporary Drug Problems,
      1:17-152, 1971

28.   M. Baden: Changing Patterns of Drug Abuse. Proceedings of Committee On Problems of
      Drug Dependence. NAS-NRC,1971

29.   M. Baden: Narcotic Abuse: A Medical Examiner's View. In: Wecht, C., Editor, Legal
      Medicine Annual, 1971 (Appleton-Century-Crofts, New York State) Reprinted New York
      State J. Med. 72:834-40, 1972

30.   Y. Challenor, R. Richter, B. Bruun, M. Baden and M. Pearson: Neuromuscular Complications
      of Heroin Addiction. Proc. Am. Coll. Phys., 1971

31.   C. Cherubin, M. Baden, et al.: Studies of Chronic Liver Disease in Narcotic Addicts. Proc.
      Am. Coll. Phys., 1971

32.   M. Baden: Fatalities Due to Alcoholism. In: Keup, W., edit., Drug Abuse - Current
      Concepts and Research. Charles C. Thomas, Springfield, Illinois, 1972

33.   L. Roizin, M. Helpern, M. Baden, M. Kaufman and K. Skai: Toxo-synpathys (a multifactor
      pathogenic concept) In: Keup, W., edit.,: Drug Abuse - Current Concepts and Research.
      Charles C. Thomas, Springfield, Illinois, 1972

34.   M. Baden, N. Valanju, S. Verma and S. Valanju: Confirmed Identification Biotransformed
      Drugs of Abuse in Urine. Am. J. Clin. Path. 57:43-51, 1972. Reprinted: Yearbook of Path.
      And Clin. Path., 1973, 357-361 (Yearbook Medical Publishers)

35.   M. Baden: Homicide, Suicide and Accidental Death Among Narcotic Addicts.           Human
      pathology 3 :91-96, 1972

36.   J. Pearson, R. Richter, M. Baden, Y. Challenor and B. Bruun: Transverse Myelopathy as an
      Illustration of the Neurologic and Neuropathologic Features of Heroin Addiction. Human
      Pathology, 3:107-112, 1972

37.   B. Bruun, M. Baden, Y. Challenor, J. Pearson and R. Richter: De-neurologic Kimplikationer
      Ved Heroinmisbrug Ureakuift. F. Leeger, 134:89-93

38.   C. Cherubin, W. Rosenthal, R. Stenger, A. Prince, M. Baden, R. Strauss and T. McGinn:
      Chronic Liver Disease in Asymptomatic Narcotic Addicts. Ann. Int. Med., 76:391-395, 1972




Page 7                                                                                12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS
                                     APPENDIX
                                  62, 01/17/2024,
                               Document   142-25 3604338,   Page474
                                                  Filed 06/14/21    of 898
                                                                 Page  13 of 67
                                                                                         1492

39.   M. Baden, N. Valanju, S. Verma and S. Valanju: Identification and Excretion Patterns of
      Propoxyphene and Its Metabolites in Urine. Proc. Comm. Prob. Drug Depend., National
      Academy of Sciences - National Research Council, 1972

40.   R. Richter, J. Pearson, B. Bruun, Y. Challenor, J. Brust and M. Baden: Neurological
      Complications of Heroin Addiction. Proc. Comm. Prob. Drug Depend., National Academy of
      Sciences - National Research Council, 1972

41.   M. Baden and B. Lutz: Preliminary Analysis of 128 Methadone-Related Deaths in New York
      City. Proc. Com. Prob. Drug Depend., National Academy of Sciences - National Research
      Council, 1972

42.   L. Roizin, M. Helpern, M. Baden, M. Kaufman, S. Hashimoti, J. C. Liu and B. Eisenberg:
      Neuropathology of Drugs of Dependence, In: Drugs of Dependence (Mule, J.C. and Brill, H.,
      edit.) Uniscience Series, CRC(Chemical Rubber Co.), Cleveland, Ohio 1972

43.   C. Cherubin, J. Mccusker, M. Baden, F. Kavaler and Z. Amzel: The Epidemiology of Death in
      Narcotic Addicts. Am. J. Epid., 96:11-22

44.   M. Baden: Narcotic Antagonists (letter) Science 177:1152, 1972

45.   M. Baden: Investigation of Deaths From Drug Abuse. Chapter in: Spitz, W.U. and Fisher,
      R.W., edit.: Medicolegal Investigation of Death, 1972, (Charles C. Thomas, Springfield,
      Illinois)

46.   L. Roizin, M. Helpern, M. Baden, et al.: Methadone Fatalities in Heroin Addicts.   Psych.
      Quarterly, 46:393-410, 1972

47.   M. Baden: Suicide in Prison, Proceedings of the American Academy of Forensic Sciences,
      March 1973

48.   L. R. Reichman, C. S. Shim, M. Baden and R. Richter: Development of Tolerance to Street
      Heroin in Addicted and Non-Addicted Primates. Am. J. Public Health, 63:81-803, 1973

49.   M. Baden and R. S. Turoff: Deaths of Persons Using Methadone in New York City, 1971,
      Proceedings of the Comm. On Problems of Drug Depend., Nat. Acad. Of Sci. Nat. Res.
      Council, 1973

50.   J.C. Huang and M. Baden: Rapid Methods of Screening Micro-Quantities of Abused Drugs
      from Urine Samples for Micro-Crystal Tests. Clinical Toxicology, 6:325-350, 1973

51.   P. Haberman and M. Baden: Alcoholism and Violent Death. Quarterly Journal of Studies on
      Alcohol, 35:221-231, 1974



Page 8                                                                                12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                       APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page475
                                                 Filed 06/14/21    of 898
                                                                Page  14 of 67
                                                                                            1493


52.   P. Haberman and M. Baden:       Drinking, Drugs and Death.      International Journal of the
      Addictions, 9:761-773, 1974

53.   D. C. Wise, M. Baden and L. Stein: Postmortem Measurement of Enzymes in Human Brain:
      Evidence of a Central Noradrenergic Deficit in Schizophrenia (submitted for publication)

54.   R. Richter, J. Pearson, M. Baden, et al.: Neurological Complications of Addiction to Heroin.
      Bulletin of the New York Academy of Medicine, 49:3-21, 1973

55.   M. Baden and D. Ottenberg: Alcohol - The All-American Drug of Choice. Contemporary
      Drug Problems, 3:101-126, 1974

56.   M. Baden: Pathology of the Addictive States. Chapter in: Medical Aspects of Drug Abuse,
      Richter, R., edit. 1975 (Harper & Row)

57.   M. Baden, N. Valanju, S. Verma and S. Valanju: Detection of Drugs of Abuse in Urine.
      Chapter in: Medical Aspects of Drug Abuse, Richter, R., edit., 1975 (Harper & Row)

58.   D. Sohn and M. Baden: The First Year of the College of American Pathologists Toxicology
      Survey Program, Amer. J. of Clin. Path., 1975

59.   M. Baden: Narcotics and Drug Dependence by J. B. Williams, Book Review, Journal of
      Forensic Sciences, 1975

60.   M. Baden: Drug Abuse, author and narrator, audio-visual presentation produced by the
      College of American Pathologists, 1974

61.   J. Pearson, R. Richter, M. Baden, E. Simon, et al.: Studies on Sites of Binding and Effects of
      Narcotics in the Human Brain. International Congress of Neuropathology Proceedings,
      Budapest, Hungary. Excerpta Medica, 1975

62.   M. Baden and J. Devlin: Child Abuse Deaths in New York City, Proceedings of the American
      Academy of Forensic Sciences (Chicago) 1975

63.   M. Baden: Mortality from Alcoholism and Drug Abuse, Proceedings of the Second National
      Drug Abuse Conference, (New Orleans) 1975

64.   R. W. Richter, M. Baden, P. H. Shively, N. M. Valanju and J. Pearson: Neuromedical Aspects
      of Methadone Abuse (abstract). Neurology 4:373-379, 1975 (presented at the Annual
      Meeting of the American Academy of Neurology, May 3, 1975)




Page 9                                                                                    12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS
                                      APPENDIX
                                  62, 01/17/2024,
                               Document   142-25 3604338,   Page476
                                                  Filed 06/14/21    of 898
                                                                 Page  15 of 67
                                                                                         1494

65.   R. W. Richter, M. Baden and J. Pearson: Neuromedical Aspects of Narcotic Addiction.
      Audio-visual presentation produced and distributed by Columbia University College of
      Physicians and Surgeons, 1975

66.   M. Baden: Basic Pathology for Criminal Lawyers, Proceedings of the Virginia Trial Lawyers
      Association, 16:22-41, 1975

67.   M. Baden: Contributor, Forensic Pathology, A Handbook for Pathologists; R. Fisher and C.
      Petty, Editors. College of American Pathologists and National Institute of Law Enforcement
      and Criminal Justice, United States Government Printing Office, 1977

68.   M. Baden: Alcohol and Violence. Chapter in: The Professional and Community Role of the
      Pathologist in Alcohol Abuse, G. Lundberg, Edit., United States Department of
      Transportation, National Highway Traffic Safety Administration, 1976

69.   M. Baden: Treating the Patient in Suicide Attempts           and Abused Drug Overdoses.
      Physicians Assistant, 1:18-20, 1976

70.   P. Haberman and M. Baden: Alcohol, Other Drugs and Violent Death. Oxford University
      Press, 1978

71.   M. Baden: Medical Aspects of Child Maltreatment; the Abused and Neglected Child: Multi-
      Disciplinary Court Practice. The Practicing Law Institute, 1978

72.   M. Baden: Evaluation of Deaths in Methadone         Users.    Legal Medicine Annual 1978
      (Appleton-Century-Crofts)

73.   0. Bubschmann, M. Baden, et al.: Craniocerebral Gunshot Injuries in Civilian Practice -
      Prognostic Criteria and Surgical Management:   Experience with 82 cases. Journal of
      Trauma, 19:6-12, 1979

74.   M. Fellner, M. Baden, et al.: Patterns of Autofluorescence in Skin and Hair. International
      Journal of Dermatology, 1980

75.   S. Mackauf, M. Baden, et al.: Anatomy for Lawyers.        New York State Bar Association
      Committee on Continuing Legal Education, 1981

76.   M. Baden: The Lindbergh Kidnapping Revisited: Forensic Sciences, Then and Now. Journal
      of Forensic Sciences, 28:1035-1037, 1983

77.   M. Baden: The Lindbergh Kidnapping:        Review of the Autopsy Evidence.      Journal of
      Forensic Sciences, 28:1071-1075, 1983




Page 10                                                                                12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                     APPENDIX
                                 62, 01/17/2024,
                              Document   142-25 3604338,   Page477
                                                 Filed 06/14/21    of 898
                                                                Page  16 of 67
                                                                                           1495

78.   M. Baden: Investigation of Deaths in Custody, Proceedings of the American Academy of
      Forensic Sciences (New Orleans), 1985

79.   M. Baden: Embalmed and Exhumed Bodies, in Handbook for Postmortem Examination of
      Unidentified Remains, M. Fierro, M.D., Ed. College of American Pathologists (in press)

80.   M. Baden, J. A. Hennessee: Unnatural Death, Confessions of a Medical Examiner, Random
      House, New York 1989

81.   M. Baden, M. Roach: Dead Reckoning, The New Science of Catching Killers, Simon &
      Schuster, New York 2001

82.   M. Baden: The Role of the Medical Examiner and Coroner in the Investigation of Terrorism
      in Forensic Aspects of Chemical and Biological Terrorism, Lawyers & Judges Publishing
      Company, Inc., Tuscon, Arizona 2004.

83.   M. Baden, L. Kenney Baden: "Remains Silent," Alfred A. Knopf, August 2005.

84.   M. Baden: Preface in Forensic Nursing by Virginia A. Lynch. Elsevier/Mosby, St. Louis,
      Missouri 2006.

                                                                                         th Edition,
85.   M. Baden: Exhumation in Spitz and Fisher's Medicolegal Investigation of Death, 4
      Charles C. Thomas, Springfield, Illinois 2006.

86.   M. Baden: Encyclopedia of Legal Medicine,        Book Review, New England Journal of
      Medicine, 2006.

                                                                                      th   Edition,
87.   M. Baden, L. Kenney Baden: Scientific Evidence in Civil and Criminal Cases, 5
      Contributor, Foundation Press, 2007.

88.   M. Baden, L. Kenney Baden: "Skeleton Justice," Alfred A. Knopf, June 2009.

89.   R. Williams (with M. Baden, H. Lee and C. Wecht):    Sherlock Holmes and the Autumn of
      Terror, Rukia Publishing, 2016.




Page 11                                                                                  12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                     APPENDIX
                                 62, 01/17/2024,
                              Document   142-25 3604338,   Page478
                                                 Filed 06/14/21    of 898
                                                                Page  17 of 67
                                                                                        1496

LECTURES

•   Presenter, CrimeCon 2021: House Arrest, "I Can't Breathe," November 21, 2020

•   Lecturer, Henry Lee Symposium, "Cause and Manner of Death from Falls: The Medical
    Examiner's Role in Staircase Injury and Death Investigation," October 19, 2020

•   Co-Chairman, Bring your Own Slides, American Academy of Forensic Sciences, Anaheim,
    California, February 19, 2020

•   Speaker, American Academy of Forensic Sciences, "Deaths          During Law Enforcement
    Encounters," Anaheim, California, February 20, 2020

•   Speaker, American Academy of Forensic Sciences, "Investigation and Analysis of Health Care
    Serial Killers "The Medical Examiner Perspective," Anaheim, California, February 17, 2020

•   Joint Lecturer, Henry F. Williams Seminar, "Medgar Evers Cold Case," Albany, New York,
    September 24, 2019

•   Speaker, New York Legal Aid Homicide Defense Task Force (Terri Rosenblatt, Esq.), Brooklyn,
    New York, June 12, 2019

•   Speaker, University of Rhode Island Forensic Science Partnership Seminar (Dennis Hillard
    401-874-5056) "What the Dead Have to Tell," April 26, 2019

•   Co-Chairman, Bring Your Own Slides, American Academy of Forensic Sciences, Baltimore,
    Maryland, February 20, 2019

•   Speaker, "Old and New Opioids and Designer Drugs" and "Expanded Crime Scene,"
    NYSACCMEFall Conference, Rock Hill, New York, September 2018

•   Speaker, "Mass Disasters and Medical Legal Cases," Wayne State University, Dearborn,
    Michigan, May 2018

•   Co-Chairman, Bring Your Own Slides, American Academy of Forensic Sciences, Seattle,
    Washington, February, 2018

•   Speaker and Panelist, Pioneers of Forensic Science, The Cyril H. Wecht Institute of Forensic
    Science and Law, Pittsburgh, Pennsylvania, June 1-2, 2017

•   Speaker, "Drug Related Death" and "Death Harvester," Medicolegal Investigation of Death,
    Wayne State University, Dearborn, Michigan, May 4, 2017




Page 12                                                                               12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                        APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page479
                                                  Filed 06/14/21    of 898
                                                                 Page  18 of 67
                                                                                            1497

11   Keynote Speaker, On the Front Line: New Frontiers in Forensics, Crime and Security, New
     York City, April 4, 2017

■    Speaker, National Medical Services speaker series, "Forensic Pathology for Toxicologists,"
     March 2, 2017

•    Speaker, New York State Bar Association, "Forensic Pathology Perspectives on Questioned
     Diagnoses," February 28, 2017

•    Co-Chairman, Bring Your Own Slides, American Academy of Forensic Sciences, New Orleans,
     Louisiana, February 15, 2017

•    Lecturer, Henry F. Williams Seminar, "Medgar Evers Case," Albany, New York, September 20,
     2016

■    Kentucky Funeral Director's Annual Meeting, "Determining         Cause of Death," Louisville,
     Kentucky, June 30, 2016

■    Mississippi Coroner's Conference, "Death Investigation," Biloxi, Mississippi, June 23, 2016

■    Medicolegal Investigation of Death, Wayne State University, "Controversies in Medicolegal
     Cases," Dearborn, Michigan, April 28, 2016

■    Keynote Speaker, Forensic Nursing Conference, Drexel University, Philadelphia, Pennsylvania,
     April 16, 2016

•    American Academy of Forensic Sciences, Co-Chairman, Bring Your Own Slides, Las Vegas,
     Nevada, February 26, 2016

■    American Academy of Forensic Sciences, "Good Cop, Bad Cop," Las Vegas, Nevada, February
     25,2016

■    Speaker, New York State Bar Association Fall Program on Forensics, "Time of Death,"
     November 14, 2015

■    Lecturer, Henry F. Williams Seminar, "Medgar Evers Case," Albany, New York, October 5,
     2015

•    Speaker, Markel Symposium, "Medical Examiner's Perspective in Police Shooting Incidents,"
     West Haven, Connecticut, October 20, 2015




Page 13                                                                                   12.9.2020
         CaseCase  23-753, Document
              1:17-cv-00626-DJS
                                      APPENDIX
                                    62, 01/17/2024,
                                 Document   142-25 3604338,   Page480
                                                    Filed 06/14/21    of 898
                                                                   Page  19 of 67
                                                                                              1498

•   NACOL/National Forensic College, "Special Problems in Forensic Pathology: Discovery, Time
    of Death Determinations and Cognitive Bias,1' Benjamin N Cardozo School of Law Cordozo
    Law School, New York, New York, June 8, 2015

•   Medicolegal Investigation of Death, Wayne State University, "Asphyxia! Deaths: Chokeholds,
    Sleeperholds and Back Pressure,° Dearborn, Michigan, May 20, 2015

•   "Confessions of a Medical Examiner," The Lotus Club, New York, New York, May 11, 2015

•   Medicolegal Investigation of Death, "Asphyxia! Deaths: Chokeholds, Sleeperholds and Back
    Pressure," Wayne State University, Dearborn, Michigan, April 30, 2015

•   American Academy of Forensic Science, "Prosecution Expert for Death in a Bathtub - Drew
    Peterson case,11Orlando, Florida, February 17, 2015

•   American Academy of Forensic Sciences, Co-Chairman, Bring Your Own Slides, Seattle,
    Washington, February 17-21, 2014

•   American Academy of Forensic Sciences, "Plausible Deniability The Ethics of Inconsistent
    Consistency,° Seattle, Washington, February 17-21, 2014

•   Keynote Speaker, Baruch Biomedical Society, New York, New York, October 17, 2013

•   Speaker, Markle Symposium, "Medical Examiner Perspective on the Death of JFK," October
    15, 2013

•   Speaker, NAMFCU Annual Training, "Use of a Medical Examiner in a Nursing Home," Mobile,
    Alabama, October 7, 2013

                                                                               Medical Evidence in the
                                                                          11

•   Speaker, Northeastern Association of Forensic Scientists, Cromwell,
    JFKAssassination," Connecticut, September 27, 2013

•   Lecturer, Henry F. Williams Seminar, "Cold Cases with Dr. Baden," New York State Police,
    September 24, 2013

•   "Use of a Medical Examiner in a Nursing Home Death Investigation," Resident Abuse Training
    Program, Virginia Beach, Virginia, June 6, 2013

     Medicolegal Investigation of Death, "Investigating the Scene of Mass Disasters: What to
    11
•


    Look for with Fire, Explosion or Terrorist Attack/' Wayne State University, Dearborn,
    Michigan, May 1-3, 2012




Page 14                                                                                      12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page481
                                                 Filed 06/14/21    of 898
                                                                Page  20 of 67
                                                                                        1499

■   Children's Law Topical Conference, "When 'Abuse' is Not Abuse," Albany, New York, April 19,
    2013

•   "Determining Cause of Death," Making Sense of Science VI: Forensic Science and the Law,
    NACOL& CACJ's6th Annual Conference, Las Vegas, Nevada April 5-6, 2013

•   American Academy of Forensic Science, Panelist, "150 Years - Does Time Bring Agreement?
    The H.L. Hunley, the R.M.S. Titanic, and the Assassination of John F. Kennedy," Washington,
    D.C., February 17-24, 2013

■   American Academy of Forensic Sciences, Co-Chairman, Bring Your Own Slides, February 17-
    24, 2013

■   Speaker, Corrections and Youth Services Association Annual Meeting, Saratoga Springs, New
    York, October 31, 2012
■   Lecturer, 21 st Annual Arnold Markle Symposium, "Sexually Related Homicides," October 9,
    2012

•   Lecturer, Henry F. Williams Seminar, New York State Police, "Forensic Pathology," September
    18-19, 2012

•   Society of Professional Investigators, "Current Status of the Forensic Sciences," New York,
    New York, September 12, 2012

•   Speaker, New York State Police Sexual Abuse Seminar, Albany, New York, May 21, 2012

■   "Medicolegal Investigation of Death, "Problems      in Forensic Pathology,"   Wayne State
    University, Dearborn, Michigan, May 1-3, 2012

•   2012 NASDEA Spring Conference, "Drug Deaths: Homicide v. Overdose," The Roosevelt
    Hotel, New York City, NY, April 24, 2012

■   Concord Seminars for the Dental and Medical Professions, "Forensic             Odontology,"
    Manchester, New Hampshire and Bangor, Maine, April 20-21, 2011

•   Emory School of Medicine, Grand Rounds, "Forensic Pathology: The Good, The Bad, The
    Ugly," Atlanta, Georgia, March 3, 2012

•   Major Case Squad of Greater St. Louis Annual Retraining Conference, "Forensic Pathology,"
    St. Louis, Missouri, March 4-5, 2012

■   American Academy of Forensic Sciences, "Conflicting      and Misleading Testimony in the
    Forensic Pathology Community," February 19-25, 2012



Page 15                                                                               12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page482
                                                 Filed 06/14/21    of 898
                                                                Page  21 of 67
                                                                                         1500


■   American Academy of Forensic Sciences, Co-Chairman, Bring Your Own Slides, February 19-
    25, 2012

■   Lecturer, 20th Annual Arnold Markle Symposium, "Investigation of Sex Crime: Forensic
    Investigation of Sexual Assault, Serial Offenders, and Sexual Abuse," October 10, 2011

■   Lecturer, Henry F. Williams Seminar, New York State Police, "Forensic Pathology," September
    18-21, 2011

•   Speaker, Annual Investigation for Identification, New Orleans, Louisiana, August 25-26, 2011

■   Lenox Hill Hospital, Medical Grand Rounds, "Controversies in Forensic Medicine," New York
    City, March 11, 2011

•   Valley Forge Dental Conference, Keynote Speaker, "Justice Through Science," Valley Forge,
    Pennsylvania, March 4, 2011

■   American Academy of Forensic Sciences, Communications in Forensics, "In My Experience ..."
    February 21, 2011

•   American Academy of Forensic Sciences, A Multidisciplinary Look into Forensic Science:
    Perspectives, Views and Experiences, "Forensic Pathology Perspectives," February 22, 2011

■   American Academy of Forensic Sciences, Co-Chairman, Bring Your Own Slides, February 23,
    2011

•   Lecturer, "CSI: Dartmouth," University of Massachusetts/Dartmouth    Law School, Dartmouth,
    Massachusetts, November 18, 2010

■   Guest Forensic Lecturer (4 lectures), Transatlantic Crossing of the Queen Elizabeth II,
    November 1-8, 2010

■   Lecturer, Henry F. Williams Seminar, New York State Police, "Forensic Pathology," September
    27-30, 2010

■   Speaker, 13th Annual Investigation for Identification, New Orleans, Louisiana, "A History of
    Forensic Science from Cain and Abel Through Katrina," August 27-28, 2010

•   Speaker, Brigham & Women's 2010 Master Clinician Section, August 1, 2010

•   Speaker, "Post-Mortem with Dr. Michael Baden," Kentucky Funeral Director's Association,
    Louisville, Kentucky, June 30, 2010



Page 16                                                                                 12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page483
                                                 Filed 06/14/21    of 898
                                                                Page  22 of 67
                                                                                           1501


                                                                        th
•   Speaker, Northeast College and Universities Security Association, 57 Annual Conference,
    Skidmore College, Saratoga Springs, New York, June 28, 2010

•   Speaker, 13th Annual Investigation for Identification, New Orleans, Louisiana, "A History of
    Forensic Science from Cain and Abel Through Katrina," August 27-28, 2010

•   Speaker, Brigham & Women's 2010 Master Clinician Section, August 1, 2010

•   Speaker, "Post-Mortem with Dr. Michael Baden," Kentucky Funeral Director's Association,
    Louisville, Kentucky, June 30, 2010

                                                                           th
•   Speaker, Northeast College and Universities Security Association, 57        Annual Conference,
    Skidmore College, Saratoga Springs, New York, June 28, 2010
*
•   Lecturer, New York Prosecutor's Training Institute, Westchester, New York, June 8, 2010

•   SELETS14th Annual Law Enforcement Training Seminar, Lawrenceberg, Tennessee, June 1,
    2010

•   New York State Police Sex Offense Seminar, 'The Forensic Sciences," Albany, New York, May
    24-28-2010

•   Society of Professional Investigator's Meeting, New York City, May 20, 2010

•   Wayne State University, Medicolegal Investigation of Death, "Exhumation and Time of
    Death," and "Fire, Explosion and Mass Casualty," April 21-22, 2010

•   Oswego University, "History of Forensic Science," March 25, 2010

•   American Academy of Forensic Sciences, "Bring Your Own Slides," Seattle, Washington,
    February 22-26, 2010

•   2010 Forensic Seminar for Capital Defense Attorneys, DePaul University College of Law,
    February 18-19, 2010

•   CSISymposium, Norwich University, "Forensic Pathology," January 29, 2010

•   NYSPChild Physical Abuse and Neglect Seminar, November 18, 2009

•   New York Council of Defense Lawyers, Rye, New York, November 7, 2009




Page 17                                                                                  12.9.2020
         CaseCase  23-753, Document
              1:17-cv-00626-DJS  Document
                                         APPENDIX
                                    62, 01/17/2024,
                                            142-25 3604338,   Page484
                                                    Filed 06/14/21    of 898
                                                                   Page  23 of 67
                                                                                            1502

■     FBI/IT Exchange Conference, Keynote Speaker, Seattle, Washington, September 20-21, 2009

•     Henry F. Williams Seminar, New York State Police, "Forensic Pathology and Child Deaths,"
      Albany, New York, September 14-17, 2009

■     New York State Funeral Director's Association, Saratoga, New York, September 1, 2009

•     Cabell Sheriff's Department, West Virginia (Marshall University in Huntingdon, West Virginia),
      August 25, 2009

•     NCSTLConference, Tampa, Florida, May 20-21, 2009

■     Wayne State University, Medicolegal Investigation of Death, "Exhumation and Time of
                                                                                              ,
      Death," and "Forensic Questions: The Experts Answer," with Werner Spitz, M.D., Dearborn
      Michigan, April 22-24, 2009

•     Bronx High School of Science, March 11, 2009

■     American Academy of Forensic Sciences, "Bring Your Own Slides," Denver, Colorado,
      February 16-21, 2009

•     American Academy of Forensic Sciences, "New Investigative Techniques and Scientific
      Advancement for Forensic Scientists in the Future," Denver, Colorado, February 16-21, 2009

■     South Carolina Funeral Director's Association, "Post Mortem with Dr. Michael Baden,"
      Columbia, South Carolina, February 4, 2009

•      CSISymposium, "Forensic Pathology," Norwich, Connecticut, January 29-30, 2009

■      New York State CASADNA Initiative Conference, Albany, New York, January 28, 2009

•      Medicolegal Investigation of Death Conference, "Exhumation and Time of Death," Las Vegas,
       Nevada, January 5-6, 2009

■      Mattapoisett (Massachusetts) Police Department, Forensic lecture, November 25, 2008

•      George Mason University, "Sexually Violent Crime: the Body as Evidence," November 10-11,
       2008

■      Hofstra University, "An Evening of Crime and Wine," October 29, 2008

■      New Jersey State Funeral Director's Association, "Post Mortem with Dr. Michael Baden,"
       September 17, 2008



    Page 18                                                                                12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page485
                                                 Filed 06/14/21    of 898
                                                                Page  24 of 67
                                                                                                1503


■   SPIAA 57th Annual Retraining Conference, July 23, 2008

•   NY Cops Foundation Annual Dinner Gala, Keynote Speaker, June 2, 2008

■   New York State Police Sex Offense Seminar "The Forensic Sciences," May 2008

■   Keynote Speaker, National Council of Investigation & Security Services annual meeting, May
    2,2008

■   Medicolegal Investigation of Death Conference, Wayne State University, "Terrorism," April
    23,2008

■   Medicolegal Investigation of Death Conference, Wayne State University, "Exhumation and
    Time of Death," April 23, 2008

•   17th Annual Arnold Markle Symposium, Connecticut State Police, March 23-24, 2008

•   "Forensic Pathology and Living/Injured Victims," Academy for BCI Basic School (NYSP),March
    11,2008

    Lecturer, New Jersey Chapter of lnt I Assn of Arson Investigators, March 5, 2008
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•   American Academy of Forensic Sciences, Young Forensic Scientists Forum                  Death is My
    Teacher," February 19, 2008

•   American Academy of Forensic Sciences, "Healthcare Serial Killer Workshop," February 19,
    2008

■   American Academy of Forensic Sciences, "Significant Achievements and Contributions               by
    Forensic Scientists to the International Community," February 19, 2008

•   Medicolegal Investigation of Death Conference, "Postmortem Changes & Time of Death,"
    and "Forensic Questions: The Experts Answer," Las Vegas, Nevada, December 4-6, 2007

•   33 rd Annual Arson Seminar, NYS Fire Academy, "The Role of the Forensic Pathologist in Fire
    Investigation," November 7, 2007

■   12th Annual Investigation for Identification   Educational Conference, Pensacola, Florida,
    October 19-20, 2007

•   Penn State University, Forensic Sciences Seminar, September 24, 2007




Page 19                                                                                       12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                         APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page486
                                                  Filed 06/14/21    of 898
                                                                 Page  25 of 67
                                                                                         1504

■    Col. Henry F. Williams Homicide Seminar, "Forensic Pathology," September 17-20, 2007

■    Harvard Medical School, Intensive Review of Internal Medicine Course, "CSI Meets !RIM -
     The New Science of Catching Killers," Boston, Massachusetts, July 2007

•    Arizona Judicial Conference: Forensic Pathology, 2007

•    New York State Police Sex Offense Seminar "The Forensic Sciences," May 2007

•    Smithsonian Associates, "Murder Investigation with Forensics: The Good, the Bad, and the
     Ugly," May 2007

•    Medicolegal Investigation of Death Conference, "Death Investigation" and "Fire, Explosions
     and Terrorism," April 24-26, 2007

•    Louisiana Judicial College, "CSI Effect," April 19-20, 2007

•    16th Annual Arnold Markle Symposium 2007, "Parents who Kill: Muchausen's by Proxy," April
     9,2007

-■   Harvard Medical School "Brigham Master Clinician: Update in Medicine," "The Forensic
     Sciences: From Cain and Abel to JFKto OJ Simpson," March 29, 2007

•    American Academy of Forensic Sciences, "Bring Your Own Slides," February 21, 2007

■    American Academy of Forensic Sciences, "Police Use of Force: Where is the Line and When
     is it Crossed" February 22, 2007

•    Medicolegal Investigation of Death Homicide Conference, "Asphyxias, Serial Murders and
     Sexual Assaults," "Death Investigations: Fire, Explosions and Terrorism," Las Vegas, Nevada,
     November 29-30, 2006

■    American College of Trust and Estate Counsel, Westin Providence, Rhode Island, October 12,
     2006

■    Col. Henry F. Williams Homicide Seminar, "Forensic Pathology," September 19-21, 2006

•    57th Annual Harvard Associates in Police Science Conference, Vermont Criminal Justice
     Training Council, Burlington, Vermont, June 27, 2006

■    SEAK National Expert Witness, "The Role of the Expert Witness:           from the Expert's
     Perspective," Cape Cod, Massachusetts, June 23, 2006




 Page 20                                                                               12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                       APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page487
                                                 Filed 06/14/21    of 898
                                                                Page  26 of 67
                                                                                         1505

•   Mississippi Coroner's Association, Vicksburg, Mississippi, June 15, 2006

•   Monmouth University, "Time of Death Determination" and "Electrocution, Explosives, and
    Fire-Related Deaths," Oceanport, New Jersey, June 13, 2006

■   SELETSHomicide Conference, Lawrenceberg, Tennessee, June 7-8, 2006

■   NYSPSex Crimes Seminar "The Forensic Sciences," May 22, 2006

•   Fermi/ab National Accelerator Laboratory, Colloquium, "How Long Has Grandpa Been Dead
    and Other Forensic Mysteries," Chicago, Illinois, May 17, 2006

                                                                         th
•   AtlantiCare Regional Medical Center, New Jersey, Keynote Speaker, 8 Annual Trauma
    Symposium, "Forensic Sciences, Trauma & Mass Disasters," May 2, 2006

■   Medicolegal Investigation of Death Homicide Conference: "The Asphyxias, Serial Murders
    and Sexual Assaults," Detroit, Michigan, April 26-28, 2006

•   Albany, New York, Area Association of Certified Fraud Examiners, keynote speaker, March 30,
    2006

•   American Academy of Forensic Sciences, "Victims & Defendants: Clinical Aspects of Their
    Death," February 21, 2006

■   American Academy of Forensic Sciences, "The Role of the Forensic Scientist in the
    Investigation of Police-Related Deaths - A Current Dilemma," February 22, 2006

•   American Academy of Forensic Sciences, ""Shaken Baby Syndrome: Medical Myth or Medical
    Fact?" February 24, 2006

•   Clinical Forensic Nursing, Veterans Administration, Phoenix, Arizona, Impacting Patient Care
    Delivery, Quality Management and Investigations in Healthcare Settings, January 23, 2006

•   Advanced Practical Homicide Seminar, "Modes of Death Involving Firearms, Knives, Blunt
    Force and Child Abuse," November 8-9, 2005

•   Monmouth University, Oceanport, New Jersey, "Determining           Time of Death" and "Fire-
    related Death and Electrocution and Explosions," June, 2005

■   New York State Police, Sex Offense Seminar, "The Forensic Sciences," May 23, 2005

■   New York State Association of County Coroners & Medical Examiners, "Violence Among
    Children," April 30-May 1, 2005



Page 21                                                                                 12.9.2020
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         142-25 3604338,   Page488
                                                 Filed 06/14/21    of 898
                                                                Page  27 of 67
                                                                                         1506


•   Medicolegal Investigation of Death Conference, "Serial Killers, Autoerotic Asphyxias, Sexual
    Assault or Accident," and "Death by Fire and Explosion," Wayne State University, School of
    Medicine, April 20-22, 2005

•   College of Mt. Saint Vincent, Department of Nursing, "Unraveling the Mystery of the Nurse
    Investigator," April 14, 2005.

■   The National Clearinghouse for Science, Technology and the Law at Stetson University
    College of Law, "Forensic Pathology on Both Sides of the Pond," April 4, 2005

•   Markle Symposium, Connecticut State Police Homicide Conference, Foxwoods Lodge,
    Connecticut, March 27-28, 2005

■   The Learning Annex, "Revealing the Mysteries of Forensic Science," March 10, 2005

•   American Academy of Forensic Sciences, "Complex Forensic Science Issues on Highly
    Controversial Cases," February 21-26, 2005

■   Quinnipiac University, Law and Forensic Sciences, Hamden, Connecticut, February 5, 2005

■   Duquesne University, The Cyril H. Wecht Institute of Forensic Science and Law, "Tracking
    Terrorism in the 21st Century," October 21-23, 2004

■   Greater Cincinnati Regional Arson and Fire Investigators Seminar, "The Death Detective,"
    October 14, 2004

•   Col. Henry F. Williams Homicide Seminar, "Forensic Pathology," October 5, 2004

•   Associated Licensed Detectives of New York State, Keynote speaker, October 1, 2004

•   Nebraska Institute of Forensic Sciences, "Crime & Death Scene Reconstruction:        Utilizing
    Bloodstain Pattern Analysis," September 15-17, 2004

•   Southeast Law Enforcement Seminar, "Fascinating Cases of Death," June 9, 2004

•   Florida Coastal School of Law, "Role of Forensic Pathology in Criminal and Civil Litigation,"
    Jacksonville, Florida, May 7, 2004

■   Wayne State University, "Medicolegal Investigation of Death," Dearborn, Michigan, April 21-
    23, 2004




Page 22                                                                                 12.9.2020
         CaseCase  23-753, Document
              1:17-cv-00626-DJS
                                        APPENDIX
                                    62, 01/17/2024,
                                 Document   142-25 3604338,   Page489
                                                    Filed 06/14/21    of 898
                                                                   Page  28 of 67
                                                                                           1507

■     The Three Sleuths (with Ors. Cyril Wecht and Henry Lee), The Rio Suite, Hotel & Casino, Las
      Vegas, Nevada, April 17, 2004

■     Annual SleuthFest Meeting, Exhumation Session, "Famous Cases," March 20, 2004

                                                                                             in
■     44 th Annual American College of Legal Medicine, "The Role of the Forensic Pathologist
      Medical Malpractice Cases," Las Vegas, Nevada, March 5-7, 2004

■     Stetson University College of Law, "The Complete History of Murder and Science in One
      Hour," Gulfport, Florida, January 29, 2004

•     Quinnipiac Law School, Law and Forensic Science, January 24, 2004

•     The City University of New York, Graduate School and University Center, "Forensic Series,"
      December 2, 2003

■     Testified before the United States Senate Committee on the Judiciary Department of Justice
      Oversight: "Funding Forensic Sciences, DNA and Beyond" 2003

      Duquesne University, National Symposium on the 40 Anniversary of the JFK Assassination,
                                                        th
■
      "Solving the Great American Murder Mystery," November 20-23, 2003

■     Smithsonian Associates, Educational and Cultural Programs, "Murder, Mystery and the New
      Forensics," November 1, 2003

•     Association of Inspectors General, John Jay College of Criminal Justice, "Non-Traditional OIG
      Investigations," October 17, 2003

■      Colorado Association of Sex Crimes Investigator's Annual Conference, Snowmass, Colorado,
       August 20-22, 2003

                                                                                                 of
■      31 st Annual Florida Medical Examiner Educational Conference, F.A.M.E. 2003, "The History
       Forensic Science from Cain & Abel to O.J. Simpson," Ponte Vedra Beach, Florida, August  6-8,
       2003

•      Washington County Prosecutors Office, "Dead Man Talking: Forensic Science and Homicide
       Investigation," May 5 and 6, 2003

•      Medicolegal Investigation of Death, Wayne State University, "Adult Sexual Assault & The
       Asphyxias" and "Child Sexual Assault/Abuse Myths Dearborn, Michigan, April 2-4, 2003

■      New York State Trial Lawyer's Association, Wrongful Death Seminar, "Using Medical Science
       to Prove the Cause of Death and Conscious Pain and Suffering," March 25, 2003



    Page 23                                                                              12.9.2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                        APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page490
                                                  Filed 06/14/21    of 898
                                                                 Page  29 of 67
                                                                                           1508


•    DNA Symposium, The State College of Pennsylvania, "The Role of the Forensic Pathologist
     regarding DNA Evidence: From Autopsy to Courtroom," March 2003

•    American Academy of Forensic Sciences, "Overview of the Legal Issues Concerning the
     Discovery and Investigation and Prosecution of the Abuse of Elderly Patients in Healthcare
     Facilities and the Homicide of All Patients in Various Medical Treatment Facilities," Chicago,
     Illinois, February 17-22, 2003

•    American Academy of Forensic Sciences, "Presentation of Specific Cases through the Initial
     Contact by Prosecutors Concerning Suspected Criminal Deaths through the Exhumation and
     the Trial" Chicago, Illinois, February 17-22, 2003

•    pt Eastern Analytical Symposium & Exposition, Somerset, New Jersey, November 18-21,
     2002

•    Utah County Police Officer's Workshop, November 2002

•    10th Annual Investigation for Identification Educational Conference, "New Concepts in
     Forensic Pathology," Pensacola, Florida, September 20-21, 2002

•    Singapore Government Ministry of Health Services Administration,         Centre for Forensic
     Medicine, August 17-31, 2002

•    State of New York, Office of the Attorney General, Medicaid Fraud Control Unit, 2002
     Training Conference, June 10-13, 2002, Lake Placid, New York

•    Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, International
     Postblast Investigation Class, May 8, 2002, Brunswick, Georgia

11   American Academy of Forensic Sciences, Addressing Social and Legal Issues Associated with
     Police Involved Shooting Incidents Through Forensic Investigation & Shooting Scene
     Reconstruction, February 11-15, 2002, Atlanta, Georgia

•    American Academy of Forensic Sciences, Bring Your Own Slides, February 11-15, 2002,
     Atlanta, Georgia

•    The UMKC School of Law, The History of Murder            Investigation and Forensic Science,
     University of Missouri, Kansas City, January 24, 2002

•    DNA and the Law: Reining in the Revolution, "The Role of the Forensic Pathologist in DNA
     Use: From Autopsy to Courtroom," Duquesne University, November 30, 2001, Pittsburgh,
     Pennsylvania



Page 24                                                                                  12.9.2020
         CaseCase  23-753, Document
              1:17-cv-00626-DJS  Document
                                         APPENDIX
                                    62, 01/17/2024,
                                            142-25 3604338,   Page491
                                                    Filed 06/14/21    of 898
                                                                   Page  30 of 67
                                                                                             1509


•     New Technologies and the Proof of Guilt & Innocence, Court TV, October 25, 2001

•     2001 Ohio Attorney General's Conference on Law Enforcement, Plenary Speaker, October
      11,2001

•     The Second European-American Intensive Course in Clinical and Forensic Genetics,
      September 3-14, 2001, Dubrovik, Croatia

•     Forensic Nursing Clinical Update, "Death Investigation, Adverse Patient Events and Evidence
      Collection in the Hospital Setting," August 27 and 28, 2001, Phoenix, Arizona
                                                                                        nd
•     Harvard Associates In Police Science, Keynote Speaker, August 20-23, 2001, 52          Annual
      Conference, Annapolis, Maryland

•     The Boston Strangler Case: A High Tech Hearing on the Murder of Mary Sullivan, August 4,
      2001, American Bar Association Annual Meeting, Chicago, Illinois

•     Emerging Technologies in Forensic Investigation, June 1-3, 2001, Nova Southeastern
      University, Fort Lauderdale, Florida

•     The Forensic Investigation of Child Abuse and Neglect, May 30, 2001, The Family Partnership
      Center

•      Making Communities Safer, May 21-22, 2001, New York State Alliance of Sex Offender
       Service Providers, Sixth Annual Training Conference, Albany, New York

•      Practical Homicide and Medicolegal Death Investigation, April 9-11, 2001, Beaumont, Texas

•      Police Liability in New York, May 2, 2001, Albany, New York

•      Symposium on Forensic Medicine, Kuwait Institute for Medical Specialization, January 27-29,
       2001, Kuwait

                                                                                          ,
•      Forensic Science and the Law, October 27-28, 2000, Duquesne University, Pittsburgh
       Pennsylvania

•      8th Annual Investigation for Identification Educational Conference, Speaker, September 22-
       23, 2000, Pensacola Beach, Florida

       Advanced Practical Homicide Investigation,        September   11-15,2000,   Southern     Law
•
       Enforcement Foundation, Irving, Texas




    Page 25                                                                             12.9.2020
         CaseCase  23-753, Document
              1:17-cv-00626-DJS
                                       APPENDIX
                                    62, 01/17/2024,
                                 Document   142-25 3604338,   Page492
                                                    Filed 06/14/21    of 898
                                                                   Page  31 of 67
                                                                                          1510

                                                                                          27-29,
•     Vision 2000: Together We Can, Funeral Service Conference of the Northwest, August
      2000, Coeur d'Alene Resort, Idaho

                                                                                    26-28, 2000,
■     Mississippi Attorney General Prosecutor's Annual Training Conference, April
      Gulfport, Mississippi

                                                                                  Chief's
•     Forensic Crime Scene Analysis Training, April 28, 2000, Union County Police
      Association, Cranford, New Jersey

                                                                                       , May 4,
•     At the Heart of the Matter: The Medicolegal Aspects of Organ and Tissue Donation
      2000, New York Organ Donor Network, Poughkeepsie, New York

                                                                                 of Scientific
•     NYSBA Criminal Justice Section Spring Meeting, May 19-21, 2000, The Ethics
      Evidence, Chautauqua, New York

■     2000 Dodge Seminar, March 20-23, 2000, Clearwater Beach, Florida

                                                                                       ty School
•     Medicolegal Investigation of Death, March 16 and 17, 2000, Wayne State Universi
      of Medicine and Michigan State Police




                                                                                        12.9.2020
    Page 26
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-25 3604338,   Page493
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1511
                                                                32 of 67




           EXHIBIT "B"
      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                    APPENDIX
                                 62, 01/17/2024,
                              Document   142-25 3604338,   Page494
                                                 Filed 06/14/21    of 898
                                                                Page  33 of 67
                                                                                 1512

                             MICHAELM. BADEN,M.D.

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                                    28 January 2021

Via e-mail to Christina.Calabrese@ag.ny.gov

Christina Calabrese
Assistant Attorney General,
Claims Bureau Office of the
New York State Attorney General
The Capitol
Albany, New York 12224

Via e-mail to crpeck@bailevjohnson.com

Crystal R. Peck, Esq.
Bailey, Johnson & Peck, P.C.
Five Pine West Plaza, Suite 507
Washington Avenue Extension
Albany, New York 12205

        Re:      Matthew Thomas, deceased

Dear Attorneys Calabrese and Peck:

        I have reviewed the autopsy report, autopsy photographs, death certificate,

and microscopic slides; the ambulance report and Samaritan Hospital, Albany Medical

Center and Seton Health records; criminal trial transcripts of Adrian Thomas, Dr.

Jerome Klein, Dr. Jan Leestma, Paramedic Michael Bayly, Dr. Walter Edge, Dr. John

Waldman, Dr. Ifeoma Ojukwu and Dr. Carole Jenny; trial and deposition transcripts

of Dr. Michael Sikirica's testimony; the draft report of the Renssalaer County Child
     CaseCase  23-753, Document
          1:17-cv-00626-DJS
                                  APPENDIX
                                62, 01/17/2024,
                             Document   142-25 3604338,   Page495
                                                Filed 06/14/21    of 898
                                                               Page  34 of 67
                                                                                1513
                                                                       Baden/Thomas
                                                                      28 January 2021
                                                                              Page -2-


Fatality Review team; expert reports of Dr. Jan Leestma and Matthew Johnson, Ph.D.;

and the deposition testimonies of Wilhelmina Hicks and India Hicks that you sent to

me relative to the death of Matthew Thomas.

      Matthew was a twin born on May 4, 2008 after 33 weeks gestation, seven

weeks premature. He was treated at Albany Medical Center, Samaritan Hospital and

then Seton Health for five weeks because of his prematurity before being discharged

home. There was no medical evidence that he had suffered any head or brain injury

during the birthing process. A routine ultrasound examination ten days after birth

confirmed that Matthew's brain was normal without any evidence of trauma and that there

was no subdural hemorrhage; that there was no birth injury.

       On September 13, 2008 at age four months and nine days, he was brought to

the Samaritan Hospital Emergency Room with a discoloration and swelling on the right

side of his face. The ER doctor wrote that "After exhaustive discussions with the

family, it seems that the agent that led to this rash was a cloth irritant used to wash

the child ... There was no evidence of infection." Matthew's mother thought that the

baby had been physically abused by her husband. The doctor did not report the injury

to Child Protective Services (CPS) even though there was a hospital record stating

that there was a "family history of CPS involvement and violence on the part of the

father."
      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                    APPENDIX
                                 62, 01/17/2024,
                              Document   142-25 3604338,   Page496
                                                 Filed 06/14/21    of 898
                                                                Page  35 of 67
                                                                               1514
                                                                      Baden/Thomas
                                                                     28 January 2021
                                                                             Page -3-


       Eight days after the ER visit, in the early morning of September 21, EMSwas

called and found Matthew unconscious and unresponsive with agonal breathing in bed

at home. He was comatose when he arrived at Samaritan Hospital and was quickly

transferred    to Albany Medical Center. He was in coma with a bulging anterior

fontanelle - evidence of increased intracranial      pressure due to fresh subdural

bleeding around the brain - and his pupils were fixed and dilated indicative of severe

brain damage. An emergency CT scan showed that there were bilateral subdural

hemorrhages      of varying ages, indicating that there had been multiple traumas

occurring at different times.     This evidence of child abuse was reported by the

hospital to Child Protective Service and to the New York State Child Abuse and Neglect

Hotline. Matthew did not respond to medical treatment and was pronounced dead at

Albany Medical Center on September 23rd.

       The hospital diagnosis was that Matthew died of complications from multiple

blunt force head injuries that caused subdural hemorrhages and direct brain damage,

and that he developed an aspiration bronchopneumonia while dying from the brain

injuries.     A single positive blood culture drawn during his brief stay at Samaritan

Hospital on September 21 st was returned as positive for Streptococcus pneumoniae

on September 25 th after he had died.       It may have been a contaminant since a

confirmatory repeat culture was not done and there was no infection elsewhere in the
       CaseCase  23-753, Document
            1:17-cv-00626-DJS
                                  APPENDIX
                                  62, 01/17/2024,
                               Document   142-25 3604338,   Page497
                                                  Filed 06/14/21    of 898
                                                                 Page  36 of 67
                                                                                   1515
                                                                         Baden/Thomas
                                                                        28 January 2021
                                                                                Page -4-


body. Bacteria in the blood that do not cause an infection elsewhere in the body is

referred to as bacteremia and not sepsis.

       The autopsy was performed by Dr. Michael Sikirica, a Board-certified forensic

pathologist. He found large bilateral fresh and older hemorrhages in the skin of the

scalp caused by multiple blunt impact blows. The brain was severely swollen, there

were    subdural   hemorrhages    of varying     ages, and there     were     direct fresh

hemorrhages in the brain.    Dr. Sikirica concluded that the cause of Matthew's death

was "Severe head injuries with cerebral edema due to blunt force trauma. Homicide

   Assaulted by another repeatedly."

       Forensic pathology     standards     require   the medical examiner       to make

conclusions as to cause and manner of death. According to the National Association

of Medical Examiners, the forensic pathologist should take into consideration all of

available   autopsy   findings, laboratory     reports,   medical   records    and police

investigative reports when determining cause and manner of death. There are five

classifications as to manner     of death: natural, accident, suicide, homicide or

undetermined.      DiMaio & DiMaio in Forensic Pathology. 2nd Ed., states that the

forensic pathologist must include "information from witnesses, relatives of the

deceased, police agencies, treating physicians and/or records (medical, non-medical,

police, governmental, etc.)" in arriving at the cause and manner of death. Dr. Sikirica's

conclusions and procedures abided by all forensic pathology standards of practice.
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                     APPENDIX
                                62, 01/17/2024,
                                        142-25 3604338,   Page498
                                                Filed 06/14/21    of 898
                                                               Page  37 of 67
                                                                              1516
                                                                     Baden/Thomas
                                                                    28 January 2021
                                                                            Page -5-


      Dr. Leestma dismissed the hemorrhagic blows to the scalp, the subdural

hemorrhages and the direct brain injuries as birthing injuries which did not cause or

contribute to the death.    He concluded that Matthew "Died from a natural disease

process which was orbital bacterial (streptococcus      pneumoniae)    cellulitis and

attendant septic shock, disseminated intravascular coagulation, and pneumonia." I

must disagree.   Dr. Leestma in his report lists the records and materials that he

examined.   He did not examine Matthew's September 13 th visit to the Samaritan

Hospital Emergency Room and does not refer to that visit in his report.           He

apparently did not know that Matthew had been treated for a recent traumatic injury

to the right side of his face, near to the right eye which the emergency room doctor

described as "It seems to be in a healing mode ... no evidence of infection." In my

opinion Dr. Leestma misinterpreted the swelling and the microscopic inflammatory

changes from the healing traumatic injury as due to an infection that caused an

abscess around the eye and sepsis that resulted in Matthew's death. Dr. Sikirica did

remove and examine both eyes and both orbital areas and found no evidence of

infection or cellulitis which he documented       with multiple photographs;     this

confirmed the hospital doctors' findings. I have reviewed the same materials and

agree with Dr. Sikirica's opinion.

      The doctors at Samaritan Hospital and Albany Medical Center and Dr. Sikirica

all separately concluded that there was no orbital abscess or infection or sepsis or
      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                  APPENDIX
                                 62, 01/17/2024,
                              Document   142-25 3604338,   Page499
                                                 Filed 06/14/21    of 898
                                                                Page  38 of 67
                                                                                 1517
                                                                       Baden/Thomas
                                                                      28 January 2021
                                                                              Page -6-


meningitis that could have caused or contributed to Matthew's death. They each

concluded that his death was due to the complications from multiple abusive head

injuries. I also agree.

       Wilhelmina Hicks, Adrian's wife and Matthew's mother, testified at a

deposition on November 20, 2020, that Adrian was often physically aggressive to

her and to the children, especially to Matthew; that police and Child Protective

Services had been to their home a number of times; that when she brought Matthew

to Samaritan Hospital on September 13 th because of a black and blue mark on his face,

the doctor said "I could have kissed him too hard ... Are you using a new soap or harsh

chemical? I knew that wasn't the case and took Matthew home" and told Adrian that

he had two weeks to get out of the house. She testified that during the next few days,

Adrian was rough with the twins throwing them into the bed and that he was alone

with Matthew a number of times; that on September 21 st when she awoke she saw

that Matthew was not breathing and Adrian was near him. India, the oldest child,

testified in 2020, when she was 21-years-old, that she remembered waking up that

morning when she heard her mother screaming that the baby was not breathing. Ms.

Hicks testified that she performed CPR until the paramedics came and took him to

Samaritan Hospital; and also that Matthew had been very alert and smiling before

the injury to his face; and that she brought him to Samaritan Emergency
     CaseCase  23-753, Document
          1:17-cv-00626-DJS
                                 APPENDIX
                                62, 01/17/2024,
                             Document   142-25 3604338,   Page500
                                                Filed 06/14/21    of 898
                                                               Page  39 of 67
                                                                              1518
                                                                     Baden/Thomas
                                                                    28 January 2021
                                                                            Page -7-


Department because "something isn't right," "was not the same baby," "there was a

change in him."

      The Renssalaer County Child Fatality Review Team concluded in December

2008 that "The father admitted that on four different occasions over two weeks he

slammed the baby hitting his head on the crib, on his head or on the bed. The

surviving twin was observed to have old rib fractures and the mother and nine-year-

old daughter reported to observe the father squeezing the child with his hands."

      It is my opinion, to a reasonable degree of medical certainty, based on

my education, training and experience, and on the above materials that I have

reviewed, that Dr. Sikirica's performance of the autopsy, determination of the cause

and manner of Matthew's death, and his testimony were within the standards of

practice of a Board-certified forensic pathologist;    that he did not deviate from

forensic pathology standards; that he properly considered the history, the scene

findings, the circumstances of death, the medical findings, and the autopsy results

before reaching his conclusions that Matthew did die of "Severe closed head injuries

with cerebral edema and blunt force trauma. Homicide."

       It is also my opinion that Matthew did not incur any head or brain trauma or

subdural hemorrhages during his birth; that he did incur multiple blunt force impacts

with resulting subdural hemorrhages after he came home when he was five weeks

old; that his twin brother had also suffered bilateral rib fractures at the hands of
     CaseCase  23-753, Document
          1:17-cv-00626-DJS
                                   APPENDIX
                                62, 01/17/2024,
                             Document   142-25 3604338,   Page501
                                                Filed 06/14/21    of 898
                                                               Page  40 of 67
                                                                                1519
                                                                       Baden/Thomas
                                                                      28 January 2021
                                                                              Page -8-


another; that Matthew's death was caused by multiple homicidal blunt force impacts

to his head that caused subdural     hemorrhages     and cerebral   edema, and direct

brain damage; that Matthew developed terminal pneumonia as a direct consequence

of his traumatic head injuries; that a single positive unconfirmed blood culture is not

sufficient evidence of sepsis; that the clinical history, medical records and autopsy

findings, autopsy photographs and microscopic slides, show that Matthew did not

have an orbital bacterial infection, meningitis or sepsis as Dr. Leestma asserted; that

Matthew's organs would not have been used for transplantation        to other babies if

there was any evidence that he died of sepsis; and that my opinion is that Matthew

was a battered child and a victim of child abuse. These are my opinions without any

reliance on the defendant's confession.

      My opinions are subject to modification should additional information become

available to me.

                                          Very truly yours,



                                          Michael M. Baden, M.D.
                                          Former Chief Medical Examiner,
                                           New York City
                                          Former Chief Forensic Pathologist,
                                           New York State Police

MMB:ph
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-25 3604338,   Page502
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1520
                                                                41 of 67
                                                             Baden/Thomas
                                                            28 January 2021
                                                                    Page-9-
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-25 3604338,   Page503
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1521
                                                                42 of 67




            EXHIBIT "C"
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                           APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page504
                                                  Filed 06/14/21    of 898
                                                                 Page  43 of 67
                                                                                                          1522

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                                     DR. MICHAEL M. BADEN
                              TESTIMONIES AT TRIAL AND DEPOSITION
                                          2015 TO 2020




Daniel Niamehr, Esq. (Plaintiff)
Estate of Michael Mannarino v. FCA USA LLC
Deposition, July 2020
NewYork

Olivia Simkins, Esq. (Plaintiff)
Monteria Robinson for the Estate ofjamarion Robinson v. William Sulls
Deposition, June 2020
Georgia

Frederick Hasty, III, Esq. (Defendant)
Fernandez v. Francisco Cruz, et al.
Deposition, February 2020
Florida

Michael Cardoza, Esq. (for the minor)
In the matte of Axel L.
Trial, February 2020
California

2019

Stanley King, Esq. (Plaintiff)
Higgenbotham v. Vineland Police department et al
Deposition, September 2019
New Jersey

Matthew Vitucci, Esq. (Defendant)
Feiner v. LD Transport
Mediation, July 2019
NewYork




                                                  Baden appearances at trials/depositions   with State notations
                                                                                                        Page -1-

                                                                                                     7/14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                            APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page505
                                                  Filed 06/14/21    of 898
                                                                 Page  44 of 67
                                                                                                          1523

Joseph Messa, Esq. (Plaintiff)
Kathleen Johnson, deceased v. Kennedy University Hospital
Deposition, June 2019
Pennsylvania

Karen Gold, Esq. (Plaintiff)
Dugas v. Hi-Land Mountain
Deposition, June 2019
California

Josh Morrison, Esq. (Plaintiff)
Godinez v. City of Chicago, et al.
Deposition, June 2019
Illinois

Sharon King, Esq. (Plaintiff)
White v. City of Vineland
Deposition, May 2019
New Jersey

Randall Robbins, Esq. (Plaintiff)
Mcinnis v. UHS of Rockford
Deposition, January 2019
Delaware

Ben Morelli, Esq. (Plaintiff)
Estate of Rongxin Wu et al v. the NYC Transit Authority et al.
Trial, January 2019
New York

2018

Ben Nisenbaum, Esq. (Plaintiff)
Hernandez v. City of Sacramento, et al.
Deposition, December 2018
California

Sam Shapiro, Esq.
Collado v. City of New York, et al. (Plaintiff)
Trial, November 2018
NewVork

Michael Oppenheimer, Esq.
Joseph v. Bartlett, et al. (Plaintiff)
Deposition, August 2018
Louisiana



                                                  Baden appearances at trials/depositions   with State notations
                                                                                                        Page -2-

                                                                                                     7 /14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                          APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page506
                                                  Filed 06/14/21    of 898
                                                                 Page  45 of 67
                                                                                                     1524

Sam Shapiro, Esq.
Collado v. City of New York (Plaintiff)
Trial, August 2018
NewYork

Adam Leatherwood, Esq.
Hammers v. Douglas County, Kansas et al. (Plaintiff)
Trial, June 2018
Kansas

Matthew Vitucci, Esq.
Lee v. Vasquez et al. (Defendant)
Trial, June 2018
New Jersey

Adam Leatherwood, Esq.
Hammers v. Douglas County, Kansas et al. (Plaintiff)
Deposition, May 2018
Kansas

John Bruno, Esq.
State of New jersey v. Marrara (Defense)
Trial, May 2018
New Jersey

Martin Phipps, Esq.
Hoyt v. David Kim, et al. (Plaintiff)
Deposition, April 2018
Texas

Matthew Vitucci, Esq.
Lee v. Vasquez, eta/. (Defense)
Deposition, March 2018
NewYork

Michael Maizes, Esq.
Powers v. Min et al. (Plaintiff)
Trial, March 2018
NewYork

Lee Roberts, Esq.
Khaibani v. MCI et al. (Defense)
Trial, March 2018
Nevada

Damon Vespi, Esq. (Plaintiff)
Edgar Smith v. Clara Maas Hospital et al.
Deposition, February 2018
New Jersey
                                               Baden appearances at trials/depositions with State notations
                                                                                                   Page -3-

                                                                                                7/14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                           APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page507
                                                  Filed 06/14/21    of 898
                                                                 Page  46 of 67
                                                                                                         1525

Julia Sherwin, Esq. (Plaintiff)
Neuroth v. Mendocino County
Deposition, February 2018
California

David C. Dziengowski, Esq. (Defense)
State of Florida v. Clemente Aguirre
Deposition, January 2018
Florida

2017

Danielle Sullivan, Esq. (Plaintiff)
Bah v. City of New York
Trial, November 2017
NewYork

Robert Del Col, Esq. (Plaintiff)
Estate of Lana Keenan v. Dr.Jamie Hoffman-Rosenfeld, et al.
Deposition, October 2017
NewYork

Bryce Benjet, Esq.
Ex Parte Rodney Reed, Appellant- Writ of Habeas Corpus
Testimony, October 2017
Texas

Charla Aldous, Esq.
OnieJane Pena, et al. v. Dallas County Hospital District, et al. (Plaintiff)
Deposition, September 2017
Texas

Robert Meade, Esq.
Global Energy Holdings et al v. William Penn Life Insurance Company of New York (Plaintiff)
Deposition, September 2017
NewYork

Mark Jicca, Esq.
State of Mississippi v. Jeffrey Havard (Defense)
Trial, August 2017
Mississippi

Michael Oppenheimer, Esq.
Curry v. Burns, et al. (Plaintiff)
Deposition, July 2017
Illinois


                                                   Baden appearances at trials/depositions with State notations
                                                                                                       Page -4-

                                                                                                    7/14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                          APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page508
                                                  Filed 06/14/21    of 898
                                                                 Page  47 of 67
                                                                                                       1526

Michael Oppenheimer, Esq.
People v. Devel/Johnson (Defense)
Trial, July 2017
Illinois

Spencer Bryan, Esq.
Estate of Patrick Murphy v. Backwoods (Plaintiff)
Deposition, July 2017
Oklahoma

Philip Smallman, Esq.
Keston Charles v. City of New York (Plaintiff)
Trial, July 2017
New York

Eric Hecker, Esq.
Dainall Simmons, deceased v. County of Suffolk (Plaintiff)
Deposition, May 2017
NewYork

Arthur Benson, Esq.
Estate of Rachel Hammers v. Douglas County, Kansas et al. (Plaintiff)
Deposition, March 2017
Kansas

Earl Ward, Esq.
People v. Cesar Villavicencio (Defense)
Trial, January 2017
New York

Roger Jordan, Esq.
State of LA v Victor Becnel (Defense)
Trial, January 2017
Louisiana

Karen Evans, Esq.
Estate of Robin Andrews v. National Rehabilitation Hospital et al. (Plaintiff)
Deposition, January 2017
Washington, D.C.

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Brett Pinion, Asst. D.A.
Estate of Towns v. East Point Police Department, et al.
Trial, December 2016
Georgia



                                                 Baden appearances at trials/depositions with State notations
                                                                                                     Page -5-

                                                                                                  7/14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                        APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page509
                                                  Filed 06/14/21    of 898
                                                                 Page  48 of 67
                                                                                                       1527

Daniel Rotko, Esq.
Lincoln Benefit v. Bowman
Deposition, October 2016
Pennsylvania

William Darrow, USAVT
U.S.v. Donald Fell (Prosecution)
Daubert hearing, September 2016
Vermont

Peter Neufeld, Esq. (Defense)
Commonwealth of PA v. Anthony Wright
Trial, August 2016
Pennsylvania

John DeRosier, D.A.(Prosecution)
State of LA v. Felix Vail
Trial, August 2016
Louisiana

Amy Rameau, Esq. (Defense)
People of the State of New York v. Eryk Ford
Trial, July 2016
NewYork

Edward Capozzi, Esq. (Plaintiff)
Chique v. Marano
Trial, April 2016
New Jersey

Paul Slager, Esq. (Plaintiff)
Lev. Yale University
Deposition, April 2016
Connecticut

Robert Reardon, Esq. (Plaintiff)
Robert Bergeson deceased v. Hawes, et al.
Deposition, February 2016
Connecticut

Ed Parkinson, Special Prosecutor (Prosecution)
State v. Curtis Lovelace
Trial, February 2016
Illinois




                                               Baden appearances at trials/depositions   with State notations
                                                                                                     Page -6-

                                                                                                  7/ 14/ 2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                         APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page510
                                                  Filed 06/14/21    of 898
                                                                 Page  49 of 67
                                                                                                           1528

2015

Mauricio Padilla, Esq. (Defense)
State of Florida v. Derek Medina
Trial, November 2015
Florida

Martin Solomon, Esq. (Plaintiff)
Estate of Chester Brackeen v. KC Homes
Deposition, October 2015
Arizona

Mauricio Padilla, Esq. (Defense)
State of Florida v. Derek Medina
Deposition, October 2015
Florida

Martin Phipps, Esq. (Plaintiff)
Estate of Kristine Hoyt v. David Kim, M.D.,et al
Trial, September 2015
Texas

Christopher Chestnut, Esq. (Plaintiff)
Champion v. Florida Agricultural and Mechanical Univ. Board of Trustees, et al.
Deposition, September 2015
Florida

Jeremy Thompson, Esq. (Defense)
State of South Carolina v. Hillerby
Trial, September 2015
South Carolina

Christopher Campbell, Esq. (Defense)
Litle, et al. v. Arab Bank
Deposition, August 2015
NewYork

Veronica E. Bindrim-MacDevitt, Special Asst. Attorney General (Prosecution)
Long Island Nursing Home death
Trial, June 2015
New York

William Fitzpatrick, District Attorney (Prosecution)
People v. Neu lander
Trial, March 2015
NewYork


                                                   Baden appearances at trials/depositions   with State notations
                                                                                                         Page -7-

                                                                                                      7/14/2020
       CaseCase  23-753, Document
            1:17-cv-00626-DJS  Document
                                         APPENDIX
                                  62, 01/17/2024,
                                          142-25 3604338,   Page511
                                                  Filed 06/14/21    of 898
                                                                 Page  50 of 67
                                                                                                 1529

Michael David, Esq. (Plaintiff)
Bornstein v. Countyof Monmouth, et al.
Trial, February 2015
New Jersey

Lt Det. Gary Capitano (Prosecution)
Commonwealthof PA v. Hugo Selenski
Trial, February 2015
Pennsylvania

Robert Ryder, Esq. (Defense)
Purton v. Marriott Corp.
Deposition, January 2015
California




                                           Baden appearances at trials/depositions with State notations
                                                                                               Page -8-

                                                                                            7/14/2020
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-25 3604338,   Page512
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1530
                                                                51 of 67




                EXHIBIT "D"
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page513
                                             Filed 06/14/21    of 898
                                                            Page  52 of 67
                                                                                1531

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                               Niskayuna, NY 12309
                               Phone: 518-377-4398
                                Fax: 518-309-4420
                            Email: Nydegqer@union.edu
                             Website: rudynydegger.com

                                 EDUCATION

National Science Foundation, Summer Course in Gerontology, Washington
      University, St. Louis, 1981.

Baylor Medical School, Houston, Texas, 1970-72. Post-Doctoral Fellowship in
      Child and Adolescent Clinical Psychology.

John Cochran Hospital, St. Louis, 1968-69. Clinical Internship in Psychology.

Washington University (St. Louis), 1967-70. Ph.D. in Clinical Psychology.

Wichita State University, 1966-67. MA. in Psychology with Emphasis on
      Clinical Psychology.

Wichita State University, 1962-66. BA., cum laude, with Departmental and
      University Honors in Psychology. Minor subjects: Sociology,
      Anthropology, and Chemistry.

Kansas State University, 1961-62. Chemistry Major.

                       EMPLOYMENT EXPERIENCE

Chief, Division of Psychology, Ellis Hospital, 1997-present.

President, Psychological & Management Resources; Clinical Psychology and
      Management Consulting Firm, 1984-present.

Instructor, Cornell University Institute of Industrial and Labor Relations, 1992-
       1996.

Professor of Management, School of Management, Union Graduate College,
       1986-2015

Professor Emeritus of Psychology, Union College, 2015-present

Professor of Psychology, Union College, 1977-2015
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page514
                                             Filed 06/14/21    of 898
                                                            Page  53 of 67
                                                                               1532

Chairman, Department of Psychology, Union College, 1978-1985

Acting Dean of Students at Union College, 1977-78

Assistant Professor of Psychology, Union College, Schenectady, NY, 1977-78

Child Psychologist in the Child Study Clinic, Texas Research Institute, Houston,
       TX., 1975-76

Adjunct Assistant Professor of Psychology, University of Houston, 1974-76

Child Psychologist at the Child and Adolescent Psychiatry Clinic, Texas
       Children's Hospital, Houston, TX., 1974-76

Adjunct Assistant Professor of Obstetrics and Gynecology, Baylor College of
      Medicine, 1973-76

Adjunct Assistant Professor of Psychology, Department of Psychiatry,
       University of Texas College of Medicine at Houston, 1972-76

Clinical Assistant Professor of Psychology, Department of Psychiatry, Baylor
       College of Medicine, Houston, TX., 1972-76

Acting Head Child Psychologist, Child Psychologist, Child Study Clinic, Texas
       Research Institute, Houston, TX., 1971

Child Psychologist at the Child Study Clinic, Texas Research Institute, Houston,
       TX., 1970-74

Assistant Professor at Rice University, Houston, W, 1970-76

Post-Doctoral Clinical Psychologist, Baylor Medical School, Houston, TX., 1970-
      72

Instructor in Psychology at Maryville College, St. Louis, MO., 1969-70

Research Associate at the Child Development Research Center, Washington
      University School of Medicine, Division of Child Psychiatry, 1968-69




                                         2
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                              APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page515
                                             Filed 06/14/21    of 898
                                                            Page  54 of 67
                                                                            1533

                          AWARDS&HONORS

Second Prize in the Marion E. Bunch Creative Awards Contest,for Outstanding
      Research in Psychology, Washington University, 1968.

Third Prize in the James McKeen Cattell Fund Award for Research in
      Psychology. Division of Consulting Psychology, American Psychological
      Association, 1968.

Member, Sigma Xi Honorary, 1970-present.

Invited Participant in the International Conference on Problems in Game
      Theory, Bielefeld, West Germany, 1974.

Honorable Mention Award for Research, New York Psychological Association,
    1980.

President's Award for Education and Outreach Programs, National Hospice
       Organization, 1984.

Hans M. RozendaalAwardfor     Service and Leadership, Hospice of Schenectady,
      1985.

Founder's Award, Community Hospice, 1996.

Member, Beta Gamma Sigma, Honorary Society for Business, 2001-present

Best Paper Award, European Applied Business Research Conference,
       Rothenburg ob der Tauber, Germany, 2002.

Faculty Recognition Award, presented by the coaches and players of the Union
       CollegeFootball Team, 2002.

Invited Lecturer, First Annual Allan Geis, M.D. Memorial Lecture, Department
        of Pediatrics, Albany Medical College, March, 2004.

Distinguished Psychologist, presented by the Psychological Association of
       Northeastern New York, 2005.

Distinguished Service Award, presented by the New York State Psychological
       Association, 2005.

The David Mitchell Award for Contributions to Academic Psychology, presented
       by the New York State Psychological Association, 2006.

Best Paper Award, Management Section, Southwest Academy of Management
       Annual Convention, San Diego, CA, April, 2006.


                                       3
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                                APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page516
                                             Filed 06/14/21    of 898
                                                            Page  55 of 67
                                                                                   1534


Invited Lecturer, Tolstoy State University Tula, Russia, October, 2008.

Invited Lecturer, Tula State Polytechnical University, Tula, Russia, October,
       2008.

Best Paper Award, Management Section, International Business and Economic
       Research Conference, Las Vegas, October, 2009.

Distinguished Fellow, National Academies of Practice, 2016.

Best Paper Award, Management Section, International Business and Economics
       Research Conference, Las Vegas, October, 2016.

Distinguished Fellow, New York State Psychological Association, 2018.


                                SCHOLARSHIP

       Refereed Journal Articles, Books, and Chapters in Books:

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     Press.

Nydegger, R. (2018). Clocking In: The Psychology ofWork. Santa Barbara, CA:
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                                                                             st
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Nydegger, R. (2016). Dealing with Anxiety. Santa Barbara, CA: Praeger.

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      Greenwood.

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      coping among career professional.firefighters. American Journal of
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R. V. (2011). Virtual organizational behavior. In T. Tuten, Ed., Enterprise 2.0.
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                                         4
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       1:17-cv-00626-DJS
                                APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page517
                                             Filed 06/14/21    of 898
                                                            Page  56 of 67
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      Psychology, Spring, 2009 edition.

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      can be. Professional Psychology: Research and Practice, 39.(4), 459-463.

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     Help. New York: Praeger.

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      Resource for Emplouees and Managers. (2006), New York: Praeger.

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      International perspectives on sexual harassment of college students: The
       sounds of silence. Annals of the New York Academy of Science, (1087),
       103-120.


Nydegger, R. V., Paludi, M., Desouza, E., and Paludi, C. (2006). Incivility, sexual
      harassment, aggression, and violence in the workplace. In M. Haber, Ed.
      Sexual Harassment in the Workplace. New York: Praeger.

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     Disorders of the New Millenium. New York Praeger.

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     Plante, Ed. Mental Disorders of the New Millenium. New York: Praeger.

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      Gender Handbook. New York: Praeger,.

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       psychological characteristics upon choice shift patterns found within
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       1:17-cv-00626-DJS
                                APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page518
                                             Filed 06/14/21    of 898
                                                            Page  57 of 67
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      workplace: Some causes and potential remedies. Management
     Development Forum. 3 (1), 121-141.

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      scores on locus of control by staff status of public accounting.
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     psychology of programming teams. USE, Inc. Technical Papers, 1983,
      717-736.

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      experimental applications of game theory. In V. Smith, (Ed.), Research
      in Experimental Economics 1979, I, 361-374, Greenwich, CT: JAI Press.

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      game. Behavioral Science 1977, gg, 32-37.

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       1:17-cv-00626-DJS
                               APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page519
                                             Filed 06/14/21    of 898
                                                            Page  58 of 67
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      use of verbal conditioning and assertive training. Journal ofBehavioral
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     function of schedule of reinforcement and level of information processing
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       complexity. Journal of Consulting and Clinical Psychology, 1970, 34., 72-
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Nydegger, R. V., and Halpern, S. CE Questionnaire Results. NYSPA Notebook.
     X, 5, September, 1998.

Nydegger, R. V. Psychological and psuchiatric therapies: A brief introduction.
     Mental Health Association, 1981.

Nydegger, R. V. The devil you say: Demonic intrigue/audience response.
      Opera. April 1974, 1-7.

Presentations, Lectures, And Conference Papers: Dr. Nydegger has over
      100 presentations to professional groups and conferences.

             Journal Referee and Editorial Board Activities

Consulting Editor, Management Development Forum. 1997-2006.

Consulting Editor, Jounial of Personalitu and Social Psuchology. 1977-1984.

Ad hoc reviewer, Journal of Clinical and Consulting Psychology, 1980-present.




                                         7
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page520
                                             Filed 06/14/21    of 898
                                                            Page  59 of 67
                                                                             1538

                       CONSULTING EXPERIENCE

Dr. Nydegger has provided consulting services in the private (e.g., General
      Electric, Unisys, Ford Motor Company), public (e.g., NY State
      Department of Parks and Recreation, NY State Officefor Technology,
      Veteran's Administration Information Technology Services), Veteran's
      Administration Clinical Evaluations of Veterans, Department of Energy
      Evaluations Regarding Security Clearance, many medical and
      educational organizations. He has consulted with dozens of
      organizations over that past few decades.


        MEMBERSHIP IN PROFESSIONAL ORGANIZATIONS

Distinguished Fellow, New York Psychological Association

Distinguished Fellow, National Academies of Practice

Fellow, Psychology Academy, National Academies of Practice

Board Certified in Clinical Psychology by the American Board of Professional
      Psychology, Diplomate

American Academy of Clinical Psychology, Fellow

Executive Board of the National Register of Health Service Psychology, Past-
      President and Chair of the Board, Past Secretary of the Board, Member
       of Finance Committee, Member, Chair of Strategic Planning Task Force

American Psychological Association, Member in Divisions of Clinical
      Psychology, Social Psychology, and Psychologists in Private Practice

Member, New York State Psychological Association, Chair of Continuing
     Education, 1998-2002; Member, Committee on Mandatory CE,
     President-Elect, 2002, President, 2003, Past-President, 2004, Chair,
     Program Committee, 2004-2006,      State Advocacy Coordinator, 2005-
     2006, Chair, Legal & Legislati ve Committ ee, 2006-2008.

Member, Psychological Association of Northeastern New York, Vice President,
     1997-98; President, 1998-99, Chair of Ethics Committee, 1999-2000.

Licensed and Certified as a Psychologist in New York

Certified by the National Register of Health Care Providers in Psychology, 1981-
       present.

Member, New York Academy of Sciences


                                        8
  CaseCase  23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                             62, 01/17/2024,
                          Document   142-25 3604338,   Page521
                                             Filed 06/14/21    of 898
                                                            Page  60 of 67
                                                                             1539


Member, New York State Board of Psychology (Member, 1986-1991; Panel
     Member for Licensure and Disciplinary Hearings, 1986-1996)

Member, American Association of State Psychology Boards, 1986-1991

National Hospice Organization, Member, Chair of Professional Liaison
      Committee (1986-1988)

New York State Hospice Association, Member, 1980-present.

Prescribing Psychologists Register, Charter Listed Member, 1999-present.

Professional member, New York State United Teachers.
                                  SERVICE

Dr. Nydegger has decades of experience providing service in the community
      and in his departments, colleges, hospitals, and universities.
                          MEDIA INVOLVEMENT

I am frequently interviewed and quoted by local TV (WRGB, WNYT, WXXA,
       News Channel 9, WMHTJ, and radio (81-WGY), and have been on many
       call-in, and in-studio programs.

I amfrequently interviewed and quoted by local newspapers (Albany Times
       Union; Daily Gazette)

I have been interviewed and quoted by many newspapers around the country
       including the Houston Chronicle, the Wall Street Journal (three times),
       and the New York Times (three times).

I have been interviewed and quoted several times by the New York State
       Teacher.

I have been interviewed by many magazines andjournals over the years.




                                        9
CaseCase  23-753, Document
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document   142-25 3604338,   Page522
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1540
                                                                61 of 67




           EXHIBIT "E"
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                        APPENDIX
                               62, 01/17/2024,
                                       142-25 3604338,   Page523
                                               Filed 06/14/21    of 898
                                                              Page  62 of 67
                                                                                            1541
                    Rudy Nydegger, Ph.D., ABPP, PLLC
                                    231 7 Balltown Road, Suite 203
                                    Schenectady, New York 12309
                                         Phone: 518-309-4409
                                          Fax: 518-309-4420
                                     Email: NJ;Jdeqqer@u.nion.edu

January 27, 2021



Crystal R. Peck, Esq.
Bailey, Johnson & Peck, P.C.
5 Pine West Plaza, Suite 507
Washington Avenue Extension
Albany, New York 12205

Dear Ms. Peck:

I reviewed the deposition testimony of Adrian Thomas taken on August 20 and 21, 2019,
Rensselaer County Probation Records relative to Adrian Thomas, New York State Department of
Corrections and Community Supervision records relative to Adrian Thomas, Samaritan Hospital
records relative to Adrian Thomas (DOB: 9/22/1982), and the psychological evaluation of him
that was prepared by Matthew B. Johnson, Ph.D. a licensed psychologist. After reviewing all of
the information, I have some concerns about Dr. Johnson's report and will address these issues
individually. The opinions I render in my report are within the bounds of reasonable
psychological certainty.

According to Dr. Johnson's report dated 11/16/2020, he based his findings on the amended
complaint, plaintiff's affidavit, police and medical records, an interview with the plaintiff, and
an interview with the plaintiff's aunt who had cared for him for most of his life since his mother
was reported to be a "drug addict" and was not able to care for the young boy, and his father
was apparently not in the picture.

Dr. Johnson's report stated that during the plaintiff's interrogation following his arrest for
allegedly having abused and mortally injured his son, the plaintiff complained of being
depressed and made a suicidal threat. It was reported that the plaintiff was "clinically
depressed" and was taken to Samaritan Hospital for evaluation. There were no indications in
the materials that I read as to who made the judgment that the plaintiff was "clinically
depressed." He was evaluated at Samaritan Hospital and diagnosed with an Adjustment
Disorder With Depressed Mood {DSM-5-309.00). This disorder is based on the development
of emotional or behavioral symptoms in response to an identifiable stressor(s) occurring within
three months of the onset of the stressor (DSM-5). He was kept and observed for 16 hours and
then released back to the police.

Neither Mr. Thomas (the plaintiff) nor his aunt report any psychological problems in Mr.
Thomas (including depression) prior to his arrest, and I did not find any evidence of medical
records indicating a history of depression or psychological problems prior to his arrest. It was
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                      APPENDIX
                               62, 01/17/2024,
                                       142-25 3604338,   Page524
                                               Filed 06/14/21    of 898
                                                              Page  63 of 67
                                                                                             1542


also stated that he has not sought mental health treatment since his acquittal. In his
deposition, Mr. Thomas stated that following his arrest and interrogation he felt depressed and
suicidal and was given Zoloft (an SSRIantidepressant) which he felt did not help him at all and
he stopped taking it. When asked about whether counseling would be helpful, he stated that
he could see no benefit in talking to someone about his problems and denied the need for any
mental health treatment. It was noted in Dr. Johnson's report that Mr. Thomas reported his
depression and suicidality while in prison, but the plaintiff stated that while he still deals with
depression when he was acquitted the suicidality remitted.

Dr. Johnson stated that Mr. Thomas' arrest, interrogation, imprisonment, and other outcomes
of his having been convicted were the proximate causes of his suffering and adversity. While
these factors may well have negatively impacted his mood and psychological condition, there
are factors that suggest that depression may have been an issue during other parts of his life as
well. For example, we know from research and clinical experience that parental abandonment
and child abuse, which the plaintiff reports in his history, are factors that are frequently found
to be related to depression in adulthood (Cukor & McGinn, 2006). Mr. Thomas also reports
that he drinks alcohol in ways that appear to be abusive, and there is high comorbidity between
alcohol abuse and depression (Fergusson, et al., 2009). Further, he reports being morbidly
obese for most of his life, and there is evidence and clinical experience of a high comorbidity
between morbid obesity and depression (Markowitz, et al., 2008). While we do not have any
records or reports of depression prior to his arrest, he does report that had conditions that are
risk factors for depression, including child abuse and neglect, witnessing domestic abuse,
dropping out of school (Dupere, et al., 2018), morbid obesity, and possible alcohol abuse. He
also indicates that he did not pursue and mental health assistance in the past nor did he report
discussing depression with his Primary Care Physician prior to his arrest.

It is also noteworthy that there is no mention of any difficulties with substance use prior to his
arrest although in his medical records from Samaritan Hospital he reports that he started
drinking alcohol at age 15 and mentions occasional binge drinking, although in his evaluation
with Dr. Johnson, Mr. Thomas and his au:,t both deny that he had used alcohol or drugs as a
youth and before his arrest. He reports that he completed the tenth grade, although in his
deposition he says he completed the ninth grade, but he admittedly did not finish high school
and he said that was because he was running with "the wrong group." He does not mention
alcohol use with this group of friends, and he and his aunt deny and difficulties with the law
prior to his arrest although they did mention that he had been a suspect in a robbery in the
neighborhood although they also report that the charges were dropped. While the only
evidence that we have of his alcohol use is the testimony of Mr. Thomas and his aunt, he did
report that he drinks 4-5 beers per day and more on the weekends; occasionally he will drink
hard liquor as well. Dr. Johnson diagnoses Mr. Thomas with: R/O (rule out) Alcohol Abuse.
Clearly, if Mr. Thomas' self-report of his drinking is accurate, alcohol abuse is likely to be an
issue, although there is no evidence that Mr. Thomas has had a formal alcohol evaluation prior
to or following his arrest.



                                                 2
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                       APPENDIX
                               62, 01/17/2024,
                                       142-25 3604338,   Page525
                                               Filed 06/14/21    of 898
                                                              Page  64 of 67
                                                                                               1543


Dr. Johnson diagnoses Mr. Thomas as suffering from PTSDand states that the proximate cause
of his suffering and adversity is based on the interrogation and outcomes of his trial. However,
he does not evaluate the possibility of any trauma occurring during his childhood or youth, and
yet he has a history of abandonment by his mother, and in his medical records from Samaritan
Hospital he reports that he witnessed domestic abuse as a child. Some other indications of the
possibility of trauma include dropping out of school because he ran with "the wrong crowd"
and having been a suspect in a robbery all of which may have had trauma associated with these
events. However, there is no record of such trauma, although this should have been further
evaluated. Without evaluating these events one cannot opine with any degree of medical
certainty that PTSDis caused exclusively by the alleged wrongful incarceration.

Dr. Johnson's report indicates that Mr. Thomas did present with many symptoms consistent
with the diagnosis of PTSD. However, one of the criteria that is necessary for the diagnosis of
PTSDis that "The disturbance is not attributable to the physiological effects of a substance (e.g.,
medication or alcohol) or another medical condition" (DSM-5). Since no formal alcohol
evaluation was apparently ever done on Mr. Thomas then there is no way to confidently assert
than none of his symptoms are caused by alcohol abuse and therefore the diagnosis of PTSD
can only be used provisionally, and while Dr. Johnson did not qualify his diagnosis as
provisional, he did state that alcohol abuse should be ruled out, and in this case it was not.

The diagnosis of Enduring Personality Changes After Catastrophic Experience (EPCACE;ICD-10
F62.0) is also concerning. First, this is not a diagnosis that is used in the DSM-5 and most
psychologists and psychiatrists use the DSM-5 for diagnostic codes and labels except when an
agency or insurance company prefers to use the IDC-10 codes. However, since the only
diagnoses that Dr. Johnson uses for Mr. Thomas are clinical (not personality) disorders, and the
symptoms that are listed are those associated with his diagnoses and there are neither
diagnoses of a Personality Disorder or indications of an evaluation of Mr. Thomas' personality,
then there is no way to know what the "enduring changes" resulted in Mr. Thomas' personality.
Further, since there are no indications of any evaluation of Mr. Thomas' personality prior to his
arrest, other than what his aunt reports, there is no baseline upon which to evaluate what the
changes in Mr. Thomas' personality may have been. Since there is no personality baseline and
no evaluation of Mr. Thomas' personality that would indicate the nature of his personality or
what the changes may have been, then this diagnostic label should not be used.

Although many feel that EPCACEis a justifiable diagnostic issue, " ...yet many aspects of the
diagnosis remain contentious. Criticisms leveled at EPCACEraised issues that question the
reliability, validity, and clinical utility of this diagnostic category" (Beltrain, et al., 2008).
Consequently, even if it is felt that the diagnosis is justifiable as an indication of changes in Mr.
Thomas' personality, there is question as to whether or not this diagnosis is even appropriate
under any circumstances, and many professionals and researchers, me included, feel that there
is not enough information or clear diagnostic criteria to warrant using this diagnosis until
further work and clarification have been done.




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    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                       APPENDIX
                               62, 01/17/2024,
                                       142-25 3604338,   Page526
                                               Filed 06/14/21    of 898
                                                              Page  65 of 67
                                                                                           1544


In any forensic or clinical evaluation, care is usually taken to ensure that there is sufficient
information upon which to base clinical or forensic judgments. In Mr. Thomas' case there is
little information available either medically or psychologically either before or following his
arrest, nor has he pursued any help or assistance following his acquittal. Consequently, most of
the information that we have about Mr. Thomas' medical and psychological conditions come
from his self-report, his aunt's report, police reports, legal records, and his medical records
from Samaritan Hospital. When there is such a paucity of background information, it is
common practice to use psychological testing to provide more substantive information, and in
this case a more in-depth evaluation, including psychological testing, would have been
appropriate and warranted.

Since so much of the background information came from Mr. Thomas and his aunt, one must
keep in mind that in forensic settings it is common for the person being evaluated (or his/her
friends or family) to present themselves in a way that they feel is in their best interests. Many
psychological tests are constructed to detect issues of answering in ways to present themselves
in a particular fashion and this can even be corrected for in the test evaluation. If the answers
are skewed in a manner that is too extreme, then the test would be invalidated. Consequently,
testing would not only have provided more and valid information, but it might also have even
been more advantageous for Mr. Thomas by clarifying the diagnostic issues and possibly
recommending meaningful treatment. Further, since we have so little information about Mr.
Thomas' mental condition before and after his arrest, testing would also provide a way to
assess his current mental state and psychological symptoms but could also help understand
how long and persistent some of his symptoms had prevailed.

Finally, as mentioned above, a thorough evaluation would have included a systematic and
professional evaluation of Mr. Thomas' alcohol use patterns. Not only could this have provided
information that would have helped understand the source of some of his symptoms, but it
would also have allowed an unqualified diagnosis of PTSDwhich now should only be used
provisionally until the alcohol abuse has been evaluated and fully understood.




Rudy Nydegger, Ph.D., ABPP, FNAP, PLLC
Board Certified in Clinical Psychology
Professor Emeritus, Union College & Union Graduate College
Chief, Division of Psychology, Ellis Hospital


ATT: References




                                                4
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                        APPENDIX
                               62, 01/17/2024,
                                       142-25 3604338,   Page527
                                               Filed 06/14/21    of 898
                                                              Page  66 of 67
                                                                                               1545


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Materials Provided for Review from Ms. Peck's Office
    •   Matthew B. Johnson, Ph.D., Curriculum Vita
    •   Psychological Report prepared by Matthew B. Johnson, Ph.D. and submitted to Mr.
        Brett H. Klein, Esq.; report dated November 16, 2020
    •   Northeast Health EDM Behavioral Crisis Chart Medrec; dated 9/22/2008
    •   Reception/Classification System, Classification Analysis; Intake Interview, 11/23/2009
    •   Reception/Classification System, Classification Analysis; Description of Criminal
        Behavior; dated 11/23/2009
    •   Prisoner Information from Auburn dated 11/20/2009
    •   Presentence Investigation, Rensselaer County Court, 11/12/2009

                                                    5
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                   APPENDIX
                           62, 01/17/2024,
                                   142-25 3604338,   Page528
                                           Filed 06/14/21    of 898
                                                          Page
                                                                      1546
                                                                67 of 67




•   The Plaintiffs's disposition testimony




                                             6
   Case
Case 1:17-cv-00626-DJS
                         APPENDIX
        23-753, DocumentDocument
                         62, 01/17/2024,
                                  142-263604338,  Page529Page
                                          Filed 06/14/21  of 898
                                                                   1547
                                                              1 of 4




                     EXHIBIT "I"
AT0127
                     Case
                  Case    23-753, DocumentDocument
                       1:17-cv-00626-DJS
                                                      APPENDIX
                                           62, 01/17/2024,
                                                    142-263604338,  Page530Page
                                                            Filed 06/14/21
                                          ALBANY MEDICAL CENTER HOSPITAL
                                                                            of 898
                                                                                2 of 4
                                                                                                                  1548
                                               NEW SCOTLAND AVENUE
                                                 ALBANY, NY 12208

                                            TRANSFER DISCHARGE SUMMARY

         NAME: THOMAS, MATTHEW                                      MED. REC#: 2257912
                                                                    ADMIT SOURCE:

         ATTENDING MD: WALTER E. EDGE, MD                           ADMISSION DATE: 09/21/2008
         DATE OF BIRTH: 05.                                         DISCHARGE DATE: 09/23/2008
         ED RESIDENT:


         DEATH SUMMARY

         DATE OF EXPIRATION: September 23, 2008,

         ADMISSION DIAGNOSIS
         1. Deep coma.
         2. Bilateral hemlspheral subdural hematomas.
         3. Hypotension.

         DEATH DIAGNOSES
         1. Deep coma.
         2, Bilateral hemispheral subdural hematomas.
         3. Hypotension, resolved.
         4. Disseminated intravascular coagulation.
         5. Bilateral retinal hemorrhages.
         6. Evidence of nonaccidental trauma.
         7. Evidence of shaken baby syndrome or child abuse.
         8. Brain death.

         REFERRING PHYSICIAN: Dr. Kardos from Northeast Health at Samaritan Hospital.

         SERVICE: Pediatric intensive care unit.

         RESIDENT: Dr. Weinstein.

         CONSULTS
         1. Ophthalmology saw the patient on September 21, 2008.
                                                                                                    the stay.
         2. Neurosurgery saw the patient on September 21, 2008, and September 22, 2008, throughout
         3. Hematolog y/Oncolog y, saw the patient on Septembe r 22, 2008. Heme/One was Dr. Kanwar.

         PROCEDURES: Left femoral central line.

         HISTORY AND PHYSICAL EXAM: Pertinent history and physical from admission: The patient
                                                                                                             is a 4-
         month-old ex-32 weeker who presented to outside      hospital Samaritan  Hospital with diarrhea, vomiting,
         and poor respiratory effort with progression of foul-smelling watery green diarrhea. On the day of
                                                                                                               ive and
         admission in the morning, the mom noticed the patient was "breathing strangely" and unrespons
         called the EMS and was brought to Samaritan Hospital. EMS noted that he was        not spontaneo    usly
                                                                                                                     was
         breathing as well, required a bag mask ventilation and moved to Samaritan. At Samaritan, the patient
         intubated requiring 100% FiO2 and    02 saturations  were  approxima tely 70%.  With  suction, 02   saturations
                                                                                                                 was
         improved to 95% and suction fJuid revealed greenish copious discharge. At Samaritan, the patient
         intubated with etomldate. IV access was obtained and was given vancomyc      in and   ceftrlaxone . He
                                                                                                                  to
         received IV fluids boluses x3, started on a dopamine drip due to hypotension, and was transferred
         Albany Med.

         BIRTH HISTORY: Child is a product of a twin gestation at 32 weeks, stayed in the NICU for




                                                                                                                           AT0127
AT0128
                     Case
                  Case    23-753, DocumentDocument
                       1:17-cv-00626-DJS
                                                         APPENDIX
                                           62, 01/17/2024,
                                                    142-263604338,  Page531Page
                                                            Filed 06/14/21
                                            ALBANY MEDICAL CENTER HOSPITAL
                                                                            of 898
                                                                                3 of 4
                                                                                                                           1549
                                             TRANSFER DISCHARGE SUMMARY

         PATIENT: THOMAS, MATTHEW                                                 MR#: 2257912
         DOB: 05/04/2008

         Page 2 of 3

         approximately 5 weeks.

         PAST MEDICAL HISTORY: Premature at 32 weeks and NICU
                                                                                stay,

         HOSPITALIZATIONS: May 2008 NICU at AMC.

         PAST SURGICAL HISTORY: None.
                                                                                 n on Enfamil Preemie Formula.
         DEVELOPMENTAL HISTORY: Trauma denied by mom. Nutritio
                                                                                  siblings; oldest is 9 years ago. No pets in
         FAMILY AND SOCIAL HISTORY: Lives with mom, dad, and six
         the home.

         IMMUNIZATIONS: up-to-date per mom.

         REVIEW OF SYSTEMS: See HPI.
                                                                                     ature 94 degrees, heart rate 158,
         PHYSICAL EXAMINATION: On presentation to Albany Med, temper
                                                                                   Fi02 of 100% on ventilator support,
         respiratory rate 46, blood pressure 89/50, 02 satun:ition 98% with
                                                                        ponsive   , not sedated, b.uthe Is Intubated.
         and weight 7 kg. General appearance: The patient nonres
                                                          patient was intubat  ed.  Pupils were dilated, nonreactive. The
         HEENT: Anterior fontanelle was boggy. The                                                         and symmetric.
         patient had a ___      bite on his right eyelid. Respiratory: Bilateral air entry was eqwal
                                                                                        , positive  S1   and S2, no murmur,
         Breast exam was symmetric. Cardiovascular: Regular rate and rhythm                                   ended, no
                                                                     s. Abdom    en/GI    was  soft, nondlst
         weak bilateral femoral pulses, capillary refill is 4 second                                     No  bruising . Skin:
                                                         l descen ded  testicle s.  Muscul  oskelet  al:
         masses. GU: Tanner I, circumcised, bilatera                                                    exam:   Unresp  onsive,
                                                                                       Neurological
         Mongolian spots bilateral buttocks, excoriated blisters on right cheek.                         wal.
                                                                                    extrem  ity withdra
         dilated and fixed pupils. No upper extremity withdrawal, mild lower
                                                                                  lobin was 10, hematocrit was 29.9,
         LABORATORY DATA: On presentation, white count was 1.0, hemog
                                                                                potassium 3.7, chloride 104, bicarb
         platelets 115,000 with 5 neutrophils, 1 band. Profile 1: Sodium 137,
                                                                               alkaline phosphatase 180, ALT 56,
         19, BUN 7, creatlnine 0.4, glucose 124, calcium 8,7, T protein 4.1,
                                                              45, bicarb 18.6, base   excess  negative 10. Blood
         AST 41. Blood gas: pH 7.125, pC02 of 59, p02 of                                          ET tube at carina was
                                               hospita l. Chest x-ray was within  normal  limits.
         cultures were pending at tl1e outside
         pulled back.
                                                                                    onsive, intubated at outside hospital
         PLAN: So plan at this tlme, this Is a 4-month-old ex-preemie unresp
                                                                                 support with increasing Fi02
         and t1ypothermlc. For respiratory, he was continued on ventilator
                                   tory acidosi s. Cardiov ascular : Centra l line was obtained. He was maintained on
         requirements c;1ndrespira
                                                                         us  disease  : No evidence of infection, but was
         dopamine and epinephrine drip due to hypotensl0n, Infectio
                                                            patient  had bilatera  l subdur al hematomas on head CT.
         continued on antibiotics empirically. Neuro: The
         Social work was notified. CPS was involved.
                                                                                 was called to evaluate the patient. Their
         HOSPITAL COURSE: On September 21, 2008, Ophthalmology
                                                         lly,  extensi ve  retinal hemorrhages noted on exam. On
         assessment was retinal hemorrhages bilatera
                                        urgery was  also consult   ed, Dr.  Germa    n, to see the patient. His assessment
         September 21, 2008, Neuros
                                                                                   gical   exam, increased ICP. Their plan
         was 4-month-old with bilateral subdural hemorrhage. Poor neurolo
                                                                 workup  , skeleta  l survey,   and Ophthalmology consult
         was emergency subdural tap pending coags, CPS
                                              not done due    to evidenc   e of DIC   and   elevate d coags. The patient per
         which occurred. Subdural tap was                                                               lo presence of DIC.
         Neurosurgery hac:1 evidence of brain death. No neurological Intervention secondary
                                                                              Their   assess  ment  was  no evidence of brain
         Neurosurgery saw !he patient again on September 22, 2008.                                    No  neurosurgical
                                                                 mas without    explana   tion. Plan:
         activity since admission. bilateral subdural hemato




                                                                                                                                  AT0128
AT0129
                      Case
                   Case    23-753, DocumentDocument
                        1:17-cv-00626-DJS   62, 01/17/2024,
                                                              APPENDIX
                                                     142-263604338,  Page532Page
                                                             Filed 06/14/21  of 898
                                                                                 4 of 4
                                                                                                                                     1550
                                                ALBANY MEDICAL CENTER HOSPITAL
                                                 TRANSFER DISCHARGE SUMMARY

         PATIENT: THOMAS, MATTHEW                                                        MR#: 2257912
         DOB: 05/04/2008

         Page 3 of 3
                                                                                                           was done with no
         intervention indicated, so just skeletal survey and Heme consult. Skeletal survey
                                                             exam     was  done   on   Septemb   er  22,  2008;      apnea test was
         evidence of further fracture. First brain death
                                            22, 2008,    which   showed     no  breathing   despite    CO2      of  90.  Plan was to
         done on morning of September
                                                                                                            22,   2008,    the patient
         repeat apnea test and brain death exam on September 23, 2008. On September
                                                                                             and  FFP.    On     Septemb     er 22, 2008,
         was pancytopenlc requiring multiple transfusions of PRBCs, platelets,
                                                                 s  required  high   ventilator  settings     probably      secondar   y to
         the patrent respiratory-wise had ARDS symptom
                                          and   prolonged     hypotens   l0n,  hypoxia.   For  infections    ,  he  was    on  ceftriaxon e
         neurogenic pulmonary edema
                                                                                                  a  sinus     rhythm.    He   was   on a
         which was continued. Blood cultures are pending. Cardiovascular: He had
                                                                                                               based on blood
         dopamine drip and epinephrine drip and a vasopressin drip with attempts to wean
                                                did  see  the   patient.  Metabolic   :  He had  ongoing       metabolic acidosis and
         pressure. Hematologic: Heme/One
                               bicarb. He  was   alimentar   y  NPO.    Neurolog  ic   once  again  appeared         brain dead, had
         the palient received
                                                                                               patient   on    Septemb     er 22, 2008.
         failed apnea test for repeat apnea test next day. Heme/One did see the
                                                                               of subdural    hemorrha      ges.    Plan:    Quantlcally,
         Their impression was coagulopathy associated with history
                                                   y  to abuse,    also  cited  a paper   from   1997    stating     the  same.    They
         most consistent with trauma secondar
                                ting  factors  VIII, IX, and   XI  to  exclude  congenita   l abnorma     lities;   these    were   done
         recommend documen
                                                                                                       cultures      came    back
         and were normal or are pending. On September 23, 2008, the patient's blood
                                                                                                                    exam, the patient
         negative and a second brain death exam was performed. On that second brain death
                                                     sive  to  any   painful stimuli,   Immediat  ely   above      the  level of spinal
         was in a deeJ:)coma. He was unrespon
                                corneal  reflexes.   Pupils  were    fixed and   unrespon   sive  to  light.   He   had   respiratory
         cord. He had absent
                                                                                                 y  effort    and    his CO2    rose from
         paralysis and had apnea test for 8 minutes with no spontaneous respirator
                                                                         and  he  had    no response     to   "calorics"   .  His time of
         50 to 98% off the ventilator. He had part of doll's eyes
         breath death was declared at 11 o'clock.

                                                 eased, brain dead at 11 o'clock.

                                                n death was 11 o'clock. Attending, Dr. Edge ts speaking with family.




                                                         1 ~,,,i          (~
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         Diet: Weinstein MD, Jody                                  ,~~oV
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         DRAFT REPORT




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          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         142-273604338,  Page533Page
                                                 Filed 06/14/21  of 898
                                                                     1 of 7
                                                                                       1551



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________
ADRIAN THOMAS,

                                     Plaintiff,                   STATEMENT PURSUANT
                                                                  TO RULE 7.1(a)
               -against-                                         Civil Action No.: 1:17-cv-626
                                                                         (GTS/DJS)
ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,

                              Defendants.
___________________________________________________

       Pursuant to Rule 7.1(a)3 of the Local Rules of this Court, the above-named defendants,

Adam R. Mason, Ronald Fountain, and Tim Colaneri contend that as to the following material

facts, no genuine issue exists:

       1.      At all relevant times herein, defendant Adam R. Mason was a duly sworn police

officer/detective of the Troy Police Department (“TPD”). (Amended Complaint, E.C.F. Doc. No.

31, ¶18).

       2.      At all relevant times herein, defendant Ronald Fountain was a duly sworn police

officer/detective of the TPD. (E.C.F. Doc. No. 31, ¶19).

       3.      At all relevant times herein, defendant Tim Colaneri was a duly sworn police

officer/detective of the TPD. (E.C.F. Doc. No. 31, ¶20).

       4.      In September 2008, Plaintiff Adrian Thomas lived with his then-wife, Wilhelmina

Hicks, and their seven children (one of which was Ms. Hicks’ child from a prior relationship) in

the City of Troy, State of New York. (E.C.F. Doc. No. 31, ¶¶ 24, 25).

       5.      Ms. Hicks and Mr. Thomas had twin boys who were born in May of 2008. (E.C.F.

Doc. No. 31, ¶26).

                                                  1
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         142-273604338,  Page534Page
                                                 Filed 06/14/21  of 898
                                                                     2 of 7
                                                                                        1552



       6.       On the morning of September 21, 2008, at approximately 9:00 a.m., one twin,

Matthew Thomas (“M.T.”) was transported to Samaritan Hospital in Troy, New York after the

family called 911 when M.T. was found to be limp and unresponsive. (E.C.F. Doc. No. 31, ¶29).

       7.       Ms. Hicks reported to the hospital staff that M.T. had been sick with a fever and

experienced diarrhea and vomiting for a couple days preceding September 21, 2008. (E.C.F. Doc.

No. 31, ¶29).

       8.       Initial assessment at Samaritan Hospital revealed that M.T. was unresponsive,

neurologically showing limited neurologic activity, had a low white blood count, had low blood

pressure, had increased lethargy, was dehydrated and that he was in respiratory failure. (E.C.F.

Doc. No. 31, ¶30; Edge EBT attached to Spencer Aff. as Exhibit “F”, p. 13, L. 12).

       9.       Due to M.T.’s critical condition, he was transported to Albany Medical Center’s

(“AMC”) Pediatric Intensive Care Unit (“PICU”) to be treated by Dr. Walter Edge (“Dr. Edge”)

and arrived at approximately 12:06 p.m. on September 21, 2008. (E.C.F. Doc. No. 31, ¶31; Edge

EBT attached to Spencer Aff. as Exhibit “F”, p. 14, L. 11).

       10.      Upon arrival at AMC, Dr. Edge observed that M.T. was minimally reactive in that

he was not opening his eyes and was essentially comatose. Dr. Edge testified that M.T. would only

move his extremities to deep painful stimuli and his pupils were not reactive. (Edge EBT, Exhibit

“F” to Spencer Aff., p. 25, L. 23).

       11.      Dr. Edge requested consultations from ophthalmology and neurosurgery. (Edge

EBT, Exhibit “F” to Spencer Aff., p. 29, L. 23).

       12.      As reported on the Albany Medical Central Hospital Transfer Discharge Summary

obtained by a subpoena in this matter, on September 21, 2008, the ophthalmologist’s assessment


                                                   2
            Case
         Case 1:17-cv-00626-DJS
                                       APPENDIX
                 23-753, DocumentDocument
                                  62, 01/17/2024,
                                           142-273604338,  Page535Page
                                                   Filed 06/14/21  of 898
                                                                       3 of 7
                                                                                         1553



was that M.T. had retinal hemorrhages bilaterally and extensive retinal hemorrhages were noted

on the exam. (Subpoenaed Medical Records attached as Exhibit “I” to Spencer Aff. bates stamp

“AT0129).

         13.     The neurosurgeon’s assessment was that M.T. was suffering from a bilateral

subdural hemorrhage and that M.T. had suffered a skull fracture. (Id.;
                                                                  -- see also, E.C.F. Doc. No.

31, ¶33).

         14.     Due to the nature of the M.T.’s unexplained injuries, Dr. Edge requested that the

social worker assigned to the case contact Troy Police. (Edge EBT, Exhibit “F” to Spencer Aff.,

p. 60, L. 22).

         15.     After such contact was made to Troy Police, the police assisted child protective

services with removal of the other children at the Thomas household and Defendants Fountain and

Mason reported to AMC at approximately 9:00 p.m. on September 21, 2008. (Mason Aff. ¶¶ 8-9;

11; E.C.F. Doc. No. 31, ¶36).

         16.     Defendants Mason and Fountain obtained two witness depositions from

Wilhelmina Hicks at approximately 11:10 p.m. on September 21, 2008. (Exhibit “A” to Fountain

Aff.).

         17.     After obtaining the witness depositions from Ms. Hicks, Defendants Mason and

Fountain returned to the Thomas household at approximately 11:30 p.m. and requested that Mr.

Thomas accompany them to the police station for an interview which Mr. Thomas agreed to do.

(Mason Aff. ¶ 18).

         18.     Mr. Thomas was interviewed for approximately two hours. (E.C.F. Doc. No. 31,

¶37).


                                                 3
           Case
        Case 1:17-cv-00626-DJS
                                      APPENDIX
                23-753, DocumentDocument
                                 62, 01/17/2024,
                                          142-273604338,  Page536Page
                                                  Filed 06/14/21  of 898
                                                                      4 of 7
                                                                                         1554



        19.    During the interview, Mr. Thomas expressed suicidal thoughts and was hospitalized

at Samaritan Hospital for approximately 15 hours in the psychiatric unit. (E.C.F. Doc. No. 31,

¶37).

        20.    On September 22, 2008, Defendant Mason obtained a witness deposition from Dr.

Edge at approximately 1:12 p.m. (Exhibit “B” to Mason Aff.).

        21.    In such witness deposition, Dr. Edge stated that he had examined M.T. who had a

subdural hematoma on his head and that such injury was typically considered a high impact injury

or other acceleration/deceleration injury which can be caused by very violent shaking or shaking

and force against a hard object. (Exhibit “B” to Mason Aff.).

        22.    Once Mr. Thomas was released from Samaritan Hospital’s psychiatric unit,

Defendant Mason and a colleague met him at the hospital and asked if he would return to the police

station to continue the interview which had concluded in the early morning of September 22, 2008.

(Mason Aff. ¶ 34; E.C.F. Doc. No. 31, ¶ 39).

        23.    The interview lasted for approximately 7.5 hours. (E.C.F. Doc. No. 31, ¶37).

        24.    Defendant Colaneri observed the interview being conducted by Defendant Mason

through the recorded monitoring system at the TPD and entered the room for only a brief period

of time during the interview. (Colaneri ¶¶ 10, 15).

        25.    At the end of the interview, Mr. Thomas signed a 10-page document that was

labeled as a “voluntary statement” that contained inculpatory statements made during the

interview. (Exhibit “D” to Mason Aff.).

        26.    Both the first and second interview of Mr. Thomas were recorded on video. (E.C.F.

Doc. No. 31, ¶58).


                                                 4
          Case
       Case    23-753, DocumentDocument
            1:17-cv-00626-DJS
                                       APPENDIX
                                62, 01/17/2024,
                                         142-273604338,  Page537Page
                                                 Filed 06/14/21  of 898
                                                                     5 of 7
                                                                                           1555



       27.      On September 23, 2008, at approximately 1:30 a.m., Mr. Thomas was arrested and

charged with attempted murder in the second degree. (E.C.F. Doc. No. 31, ¶51; Arrest Report

attached as Exhibit “E” to Mason Aff.).

       28.      On September 23, 2008, at approximately 11:00 a.m., M.T. was pronounced dead.

(Medical Records attached as Exhibit “I” to Spencer Aff. bates stamp “AT0129).

       29.      On September 25, 2008, Dr. Sikrica performed M.T.’s autopsy in the presence of

Defendant Mason and members of the Rensselaer County District Attorney’s office. (E.F.C. Doc.

No. 31, ¶52).

       30.      After the autopsy was completed, Dr. Sikirica reported that the cause of M.T.’s

death was severe closed head injuries with cerebral edema due to blunt force trauma and the

manner of death was homicide. (E.F.C. Doc. No. 31, ¶54).

       31.      On September 26, 2008, Defendant Mason testified before the Grand Jury and

presented the 10-page statement obtained after Mr. Thomas’ second interview. (Mason Aff. ¶56).

       32.      On September 26, 2008, Mr. Thomas was indicted for the charge of murder in the

second degree. (E.F.C. Doc. No. 31, ¶¶51, 56).

       33.      Mr. Thomas’ criminal case proceeded to trial in October 2009. (E.F.C. Doc. No.

31, ¶57).

       34.      The jury found Mr. Thomas guilty of second-degree murder and he was sentenced

to 25 years to life in prison. (E.F.C. Doc. No. 31, ¶61).

       35.      Mr. Thomas’ criminal defense attorney filed motions to suppress the confessions

obtained and to set aside the verdict and such were denied by both the trial court and the Appellate

Division Third Department. (People v. Thomas, 93 A.D.3d 1019 (3rd Dep’t 2012)).


                                                  5
           Case
        Case    23-753, DocumentDocument
             1:17-cv-00626-DJS
                                         APPENDIX
                                 62, 01/17/2024,
                                          142-273604338,  Page538Page
                                                  Filed 06/14/21  of 898
                                                                      6 of 7
                                                                                                 1556



        36.     The Third Department’s five-Judge panel unanimously held that “the strategies and

tactics employed by the officers during the [two] interviews were not of the character as to induce

a false confession and were not so deceptive that they were fundamentally unfair and deprived him

of due process. (People v. Thomas, 93 A.D.3d 1019, 1027 (3rd Dep’t 2012)).

        37.     In 2014, the Court of Appeals reversed the lower courts’ denial of the Thomas

defense’s motion to suppress the confession obtained and remanded the case for a new trial.

(People v. Thomas, 22 N.Y.3d 629 (2014).

        38.     In May 2014, Mr. Thomas was retried without use of the confession or testimony

from the police officers. (E.F.C. Doc. No. 31, ¶63; see Id.).

        39.     Mr. Thomas was acquitted on June 12, 2014. (E.F.C. Doc. No. 31, ¶66).

        40.     Mr. Thomas commenced suit against the City of Troy, Adam Mason, Ronald

Fountain, Tim Colaneri, (“City Defendants”) Rensselaer County and Michael Sikirica (“County

Defendants”) by a Complaint filed on June 12, 2017. (E.C.F. Doc. No. 1).

        41.     The Complaint alleged malicious prosecution, violation of his right to a fair trial

and failure to intervene pursuant 42 U.S.C. §1983, conspiracy to maliciously prosecute and

conspiracy to violate his right to a fair trial pursuant to 42 U.S.C. §1983 and §1985 and a claim of

Monell liability as against the City of Troy and County of Rensselaer.

        42.     The City Defendants moved to dismiss the Complaint pursuant to F.R.C.P. 12(b)

and, in a Decision dated March 22, 2018, the Court granted in part and denied in part the City

Defendants’ motion. Specifically, the Court dismissed the following claims: (1) violation of a right

to a fair trial; (2) the failure to intervene claims; (3) conspiracy to violate Plaintiff’s right to a fair

trial; and (4) Plaintiff’s Monell claim against the City. (E.C.F. Doc. No. 61).


                                                    6
          Case
       Case    23-753, DocumentDocument
            1:17-cv-00626-DJS
                                       APPENDIX
                                62, 01/17/2024,
                                         142-273604338,  Page539Page
                                                 Filed 06/14/21  of 898
                                                                     7 of 7
                                                                                            1557



       43.     The Plaintiff filed a motion for reconsideration and, in a Decision and Order dated

November 18, 2019, the Court granted Plaintiff’s motion and reinstated Plaintiff’s claim of a

violation of his right to a fair trial and conspiracy of the same. (E.C.F. Doc. No. 124).

Dated: June 14, 2021.


                                             Rhiannon I. Spencer, Esq.
                                             PATTISON, SAMPSON, GINSBERG & GRIFFIN, PLLC
                                             Attorneys for Defendants
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                                             (518) 266-1001




                                                  7
           Case
          Case   23-753, Document 62,
               1:17-cv-00626-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             153 3604338,   Page540
                                                  Filed 09/20/21    of 898
                                                                 Page  1 of 5
                                                                                                      1558

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X
                                                                                      PLAINTIFF’S
ADRIAN THOMAS,                                                                        RESPONSE       TO
                                                                                      THE TROY
                                                                                      DEFENDANTS’
                                                     Plaintiff,                       STATEMENT
                 -against-                                                            PURSUANT
                                                                                      TO RULE 7.1(a)
ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,                                                   17 CV 626 (DJS)

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this response to defendants Adam R. Mason, Ronald

Fountain and Tim Colaneri’s statement submitted pursuant to Local Rule 7.1(a). 1

        1.       Not disputed.

        2.       Not disputed.

        3.       Not disputed.

        4.       Not disputed.

        5.       Not disputed.

        6.       Not disputed.

        7.       Not disputed.

        8.       Not disputed.

        9.       Not disputed.

        10.      Not disputed.

        11.      Not disputed.


1
 Although defendants styled their submission under former Local Rule 7.1(a)(3), this rule has been superseded by
Local Rule 56.1.
          Case
         Case   23-753, Document 62,
              1:17-cv-00626-DJS
                                       APPENDIX
                                     01/17/2024,
                                 Document   153 3604338,   Page541
                                                 Filed 09/20/21    of 898
                                                                Page  2 of 5
                                                                                           1559

       12.     Not disputed.

       13.     Not disputed that this was the neurosurgeon’s assessment, but disputed that M.T.

had bilateral subdural hemorrhages or that he had suffered a skull fracture. Klein Decl. Ex. 6,

Sikirica Dep. I 56:6-23, 57:12-19, 85:19-86:14; Ex. 10, Edge Dep. 130:23-131:24.

       14.     Not disputed.

       15.     Not disputed.

       16.     Not disputed.

       17.     Not disputed.

       18.     Not disputed.

       19.     Not disputed.

       20.     Not disputed.

       21.     Not disputed that Dr. Edge signed the witness deposition, but disputed that he

personally wrote it or determined its contents, or that it was accurate. Id. at Ex. 10, Edge Dep.

139:5-141:7, 200:24-202:8; Ex. 21, Edge Statement P001413. Maloney Decl. Ex. 2.

       22.     Not disputed except as to any suggestion or inference that plaintiff had a voluntary

choice to return to the police station, insofar as plaintiff did not feel he had a choice regarding

complying with the officers, and prior to entering the room was told that if he tried to leave, he

would be charged with escape. Klein Decl. Ex. 4, Thomas Dep. I 150:15-153:14.

       23.     Not disputed.

       24.     Not disputed that Colaneri entered the interview room one time, but disputed as

to any inference that Colaneri did not play an important role and was otherwise personally

involved in eliciting or procuring the false confession. People v. Thomas, 22 N.Y.3d 629, 639

(N.Y. 2014); Klein Decl. Ex. 22, Colaneri Dep. I 93:17-22, 97:18-104:13.

       25.     Not disputed that Thomas signed the written statement or that it was on a Troy
          Case
         Case   23-753, Document 62,
              1:17-cv-00626-DJS
                                      APPENDIX
                                     01/17/2024,
                                 Document   153 3604338,   Page542
                                                 Filed 09/20/21    of 898
                                                                Page  3 of 5
                                                                                          1560

Police Department form entitled “Voluntary Statement”, but disputed that the statement was in

fact voluntary, as this was litigated and decided otherwise by the New York State Court of

Appeals. See Thomas, 22 N.Y.3d at 646.

       26.     Not disputed.

       27.     Not disputed.

       28.     Not disputed.

       29.     Not disputed.

       30.     Not disputed these were his findings, but disputed that his findings were accurate.

See Maloney Decl. Ex. 2.

       31.     Not disputed.

       32.     Not disputed.

       33.     Not disputed.

       34.     Not disputed.

       35.     Not disputed as to the procedural history recited, but disputed that the holdings

were correct, as they were finally decided otherwise by the New York State Court of Appeals.

Thomas, 22 N.Y.3d 629.

       36.     Not disputed that the Third Department decided the matter as recited therein, but

disputed that the holding was correct, insofar as it was reversed in a final and binding decision

by the New York State Court of Appeals. Thomas, 22 N.Y.3d 629.

       37.     Not disputed.

       38.     Not disputed, except disputed as to any inference that the TPD defendants were

not responsible for Thomas’ retrial, insofar as it was the TPD defendants conduct in assuming

Thomas’ guilt and thereafter coercing Thomas’ confession that created the cascade effect that

carried through to Thomas being tried a second time, despite any objective evidence to suggest
         Case
        Case   23-753, Document 62,
             1:17-cv-00626-DJS
                                    APPENDIX
                                    01/17/2024,
                                Document   153 3604338,   Page543
                                                Filed 09/20/21    of 898
                                                               Page  4 of 5
                                                                                      1561

that Thomas had subjected M.T. to any trauma absent the confession, or that M.T. had suffered

any non-accidental trauma in the first instance. See Klein Decl. Ex. 15, Fountain Dep. 96:18-

97:8; Thomas, 22 N.Y.3d at 646; Maloney Decl. Ex. 2; Johnson Decl. Ex. 2, Johnson Rpt. p. 11.

       39.    Not disputed.

       40.    Not disputed.

       41.    Not disputed.

       42.    Not disputed.

       43.    Not disputed.

Dated: September 20, 2021
       New York, New York

                                           BRETT H. KLEIN, ESQ., PLLC
                                           Attorneys for the Plaintiff
                                           305 Broadway, Suite 600
                                           New York, New York 10007
                                           (212) 335-0132

                                           By:
                                                    ~
                                                  _____________________________
                                                  BRETT H. KLEIN
                                                  LISSA GREEN-STARK
           Case
          Case   23-753, Document 62,
               1:17-cv-00626-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             153 3604338,   Page544
                                                  Filed 09/20/21    of 898
                                                                 Page  5 of 5
                                                                                                 1562

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

ADRIAN THOMAS,

                                                     Plaintiff,
                                                                                     17 CV 626 (DJS)
                 -against-

ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,


                                                     Defendant.

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         PLAINTIFF’S RESPONSE TO THE TROY DEFENDANTS’ STATEMENT
                           PURSUANT TO RULE 7.1




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           Case
        Case    23-753, DocumentDocument
             1:17-cv-00626-DJS
                                             APPENDIX
                                 62, 01/17/2024,
                                          153-1 3604338,   Page545
                                                 Filed 09/20/21    of 898
                                                                Page  1 of 17
                                                                                                          1563

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

ADRIAN THOMAS,                                                                           PLAINTIFF’S
                                                                                         LOCAL RULE 56.1
                                                     Plaintiff,                          COUNTER
                 -against-                                                               STATEMENT

ADAM R. MASON, RONALD FOUNTAIN,                                                          17 CV 626 (DJS)
TIM COLANERI, and MICHAEL SIKIRICA,

                                                     Defendants.

---------------------------------------------------------------------------------X

        Plaintiff respectfully submits this Local Rule 56.1 Counter Statement in support of both

plaintiff’s opposition to defendants Adam R. Mason, Ronald Fountain, and Tim Colaneri’s motion

for summary judgment, and to defendant Michael Sikirica’s motion for summary judgment. 1

        1.       M.T., the four month old son of Adrian Thomas and Wilhelmina Hicks, was

pronounced dead on September 23, 2008. See Klein Decl. Ex. 1, Hicks 2009 Trial 877:16-878:22;

Ex. 9, Samaritan ER Rpt.; Ex. 27, Death Certificate.

        2.       M.T. died from a streptococcus pneumoniae infection causing sepsis and

meningitis. Maloney Decl. Ex. 2, Maloney Rpt. pp. 2, 4.

        3.       M.T.’s death was erroneously labeled a crime, resulting in the wrongful conviction

of Mr. Thomas. Johnson Decl. Ex. 2, Johnson Rpt. pp. 11-12.

        4.       M.T. was a twin, born prematurely at 33 weeks on May 4, 2008, during a

complicated birth which necessitated the use of forceps. See Klein Decl. Ex. 1, Hicks 2009 Trial

879:3-25, 912:10-14; Ex. 2, Ojukwu 2009 Trial 1461:2-11.




1
 Although defendants submitted their statements of material fact under former Local Rule 7.1(a)(3), given that Local
Rule 7.1(a)(3) was amended January 1, 2021, plaintiff submits his statement under the superseding Local Rule 56.1(b).
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         153-1 3604338,   Page546
                                                Filed 09/20/21    of 898
                                                               Page  2 of 17
                                                                                          1564

       5.      During her pregnancy, Ms. Hicks, had gestational diabetes, high blood pressure,

and pre-eclampsia. Id. at Ex. 1, Hicks 2009 Trial 879:11-13, 910:11-16.

       6.      Hicks was admitted to the hospital on May 1, 2008, where her water broke and

showed evidence of meconium. Id. at Ex. 1, Hicks 2009 Trial 911:1-22; Ex. 3, Leestma 2009 Tr.

2122:2-7.

       7.      The foregoing issues placed M.T. at risk for subdural bleeds. Id. at Ex. 3, Leestma

2009 Trial 2121:11-2125:13.

       8.      After birth, M.T. was admitted to the neonatal intensive care unit at Albany Medical

Center (hereinafter “AMC”) and then transferred to St. Mary’s Hospital, where he remained

hospitalized until May 22, 2008. Id. at Ex. 2, Ojukwu 2009 Trial 1460:23-1461:24, 1464:2-3.

       9.      As of September 2008, M.T. had only 1 of 4 pneumococcal vaccinations, and due

to this and premature birth, was more susceptible to infections, including bacterial pneumoniae.

Id. at Ex. 2, Ojukwu 2009 Trial 1468:9-1469:23; Ex. 6, Sikirica Dep. I, 112:17-114:3; Ex. 8, Klein

2009 Trial 1986:3-1988:11.

       10.     After M.T. came home from the hospital, M.T. was primarily cared for by Ms.

Hicks. Id. at Ex. 4, Thomas Dep. I 73:25-74:8.

       11.     On or about September 19, 2008, M.T. developed a fever with diarrhea, which

lasted through Sunday. Id. at Ex. 1, Hicks 2009 Trial 919:8-923:18.

       12.     In the morning of September 21, 2008, Hicks discovered M.T. barely breathing in

his crib. Id. at Ex. 1, Hicks 2009 Trial 924:2-5; Ex. 4, Thomas Dep. I 129:16-21.

       13.     Prior to that morning, M.T. had not exhibited any problems with his breathing. Id.

at Ex. 1, Hicks 2009 Trial 924:2-5.
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         153-1 3604338,   Page547
                                                Filed 09/20/21    of 898
                                                               Page  3 of 17
                                                                                          1565

       14.     Thomas called 911 and M.T. was transported to Samaritan hospital where he

presented with symptoms of sepsis, and a blood culture was taken to confirm whether M.T. had a

bacterial infection. Id. at Ex. 4, Thomas Dep. I 129:16-21; Ex. 9, Samaritan ER Report; Ex. 10,

Edge Dep. 86:4-25.

       15.     M.T. was transferred to the care of Dr. Walter Edge at AMC. Id. at Ex. 9, Samaritan

ER Report; Ex. 11, Kardos 2009 Trial 849:9-850:14.

       16.     Dr. Edge requested a neurology and an ophthalmology consult to look for a possible

traumatic brain injury. Id. at Ex. 10, Edge Dep. 29:23-30:20; Ex. 12, Waldman Dep. 15:11-23.

       17.     Dr. Edge was erroneously informed by the AMC neurosurgery consult that M.T.’s

C.T. showed bilateral subdural hematomas and a skull fracture. Id. at Ex. 6, Sikirica Dep. I 56:6-

23, 57:12-19, 85:19-86:14; Ex. 10, Edge Dep. 127:13-131:24.

       18.     It was later determined that the diagnosis of a skull fracture was plainly incorrect

while M.T. was still at AMC, and the CT results in fact showed bilateral “fluid collections”, not

hematomas. Id. at Ex. 10, Edge Dep. 127:13-131:24. Later, at autopsy, only a right sided

hematoma was observed. Id. at Ex. 6, Sikirica Dep. I 56:6-23, 57:12-19, 85:19-86:14.

       19.     Nonetheless, based on the reported evidence of head trauma, both Child Protective

Services (hereinafter “CPS”) and the Troy Police Department (hereinafter “TPD”) were notified

out of a concern for possible child abuse. Id. at Ex. 10, Edge Dep. 61:19-62:14.

       20.     Defendants Mason and Fountain were assigned the case and shared the role of lead

investigator for the case. Id. at Ex. 13, Mason Dep. 37:18-19.

       21.     Defendants Mason and Fountain first responded to Samaritan Hospital, where they

were informed that the initial report at Samaritan was that M.T. was having respiratory problems
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         153-1 3604338,   Page548
                                                Filed 09/20/21    of 898
                                                               Page  4 of 17
                                                                                         1566

and was unresponsive, and that M.T. had been transferred to AMC. Id. at Ex. 14, TPD Rpt.

P001398.

       22.      Defendants Mason and Fountain escorted a CPS worker to Thomas’ home for the

purpose of removing Thomas and Hicks’ other children from the home. Id. at Ex. 14, TPD Rpt.

P001398.

       23.      Defendants Mason and Fountain learned from Thomas that M.T. had been sick with

a fever and diarrhea for the past two days. Id. at Ex. 4, Thomas Dep. I 139:5-140:18; Ex. 14, TPD

Rpt. P001398.

       24.      Defendants Mason and Fountain next went to AMC. Id. at Ex. 14, TPD Rpt.

P001398.

       25.      Defendant Fountain spoke to Dr. Edge. The conversation lasted only three to four

minutes, during which Dr. Edge conveyed that M.T.’s head injury was the type typically caused

by a high-speed impact or by slamming very hard into a hard object. Id. at Ex. 14, TPD Rpt.

P001398; Ex. 15, Fountain Dep. 60:10-62:12.

       26.      During the first visit to AMC, defendants Fountain and Mason were also incorrectly

informed M.T. had a skull fracture. Id. at Ex. 15, TPD Rpt. P001398; Ex. 16, Tr. Interrogation I,

P000299-P000300.

       27.      Defendant Fountain falsely claimed that during this conversation, Dr. Edge also

told him that M.T. had been murdered. Id. at Ex. 15, TPD Rpt. P001398.

       28.      Dr. Edge denied making any such statement regarding a murder. Id. at Ex. 10, Edge

Dep. 117:6-120:2.

       29.      Per Dr. Edge, his role as a physician is to diagnose, not determine a cause, or

determine whether an injury is accidental or non-accidental. Id. at Ex. 10, Edge Dep. 138:7-139:4
          Case
       Case    23-753, DocumentDocument
            1:17-cv-00626-DJS
                                       APPENDIX
                                62, 01/17/2024,
                                         153-1 3604338,   Page549
                                                Filed 09/20/21    of 898
                                                               Page  5 of 17
                                                                                         1567

       30.     Defendant Fountain and Mason obtained a statement from Wilhelmina Hicks,

which corroborated Adrian Thomas’ claim that M.T. had been sick for the past few days, and did

not contain any statements alleging abuse of M.T. by Mr. Thomas. Id. at Ex. 14, TPD Rpt.

P001399; Ex. 15, Fountain Dep. 63:11-20; Ex. 18, Hicks Statement P001409-P001410.

       31.     Defendant Mason never inquired with doctors about M.T.’s illness or whether there

could be a non-trauma related cause of death. Id. at Ex. 13, Mason Dep. 168:12-169:19.

       32.     Defendants Fountain and Mason returned to Mr. Thomas’ home and asked him to

accompany them to the Troy Police Department headquarters. Id. at Ex. 14 TPD Rpt. P001399;

Ex. 15, Fountain Dep. 64:13-65:6.

       33.     Going into the questioning, defendant Fountain believed that Mr. Thomas had done

something to M.T. Id. at Ex. 15, Fountain Dep. 96:18-97:8.

       34.     During the questioning, Mr. Thomas thought he could not leave, and repeatedly

stated that he felt like he was in jail. Id. at Ex. 4, Thomas Dep. I 151:10-19; Ex. 5, Thomas Dep.

II 384:6-22; Ex. 16, Tr. Interrogation I P000367-P000369, P000403.

       35.     Mr. Thomas was initially questioned for about two hours. Id. at Ex. 14, TPD Rpt.

P001399.

       36.     Defendant Mason and Fountain’s interrogation technique of Mr. Thomas was based

on their own instinct and was not based on any specific training. Id. at Ex. 13, Mason Dep. 54:13-

55:7; Ex. 15, Fountain Dep. 32:5-12.

       37.     During the first interrogation, Fountain suggested to Mr. Thomas that he may have

bumped M.T.’s head on the crib with the hope that Mr. Thomas would adopt this false suggestion.

Id. at Ex. 15, Fountain 82:14-21, 89:23-90:10.
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         153-1 3604338,   Page550
                                                Filed 09/20/21    of 898
                                                               Page  6 of 17
                                                                                         1568

       38.     During the interrogation, Mr. Thomas stated, in sum and substance, that if his son

died, he would jump off a bridge. Id. at Ex. 4, Thomas Dep. I 147:12-15.

       39.     Defendants Mason and Fountain continued to question Mr. Thomas after he made

this statement. Id. at Ex. 13, Mason Dep. 99:17-20; Ex. 15, Fountain Dep. 83:6-10.

       40.     After repeated denials that he had done anything to M.T., in a state of duress and

emotional turmoil, and in response to threats that his wife would be arrested, Mr. Thomas

eventually adopted defendant Fountain’s false suggestion that he had bumped M.T.’s head on the

crib, and agreed to sign a statement written by Fountain, which he in fact signed on September 22,

2008, at 1:41 a.m. Id. at Ex. 5, Thomas Dep. II 415:14-416:14; Ex. 13, Mason Dep. 104:9-14; Ex.

15, Fountain Dep. 79:15-18; Ex. 19, Thomas Statement I P001404.

       41.     The first interview did not yield any statements or evidence that gave Mason and

Fountain probable cause to arrest Mr. Thomas for any crime, or which were consistent with the

information Fountain had learned from Dr. Edge. Id. at Ex. 13, Mason Dep. 100:21-101:8.

       42.     As a result of Mr. Thomas’ statement regarding jumping off a bridge, defendants

Mason and Fountain brought Mr. Thomas to Samaritan Hospital for a mental health evaluation,

where he remained under observation for fifteen hours. Id. at Ex. 4, Thomas Dep. I 147:12-148:3;

Ex. 5, Thomas Dep. II 383:23-384:5; People v. Thomas, 22 N.Y.3d 629, 646 (N.Y. 2014).

       43.     Defendant Mason requested that Samaritan notify him when Mr. Thomas was ready

to be released. Klein Decl., Ex. 13, Mason Dep. 106:11-14.

       44.     On September 22, 2008, defendant Mason returned to AMC and spoke to Dr. Edge,

obtaining a statement from him that M.T.’s injury would have required more than a bump on a

crib. Id. at Ex. 21, Edge Statement P001413.
            Case
         Case 1:17-cv-00626-DJS
                                      APPENDIX
                 23-753, DocumentDocument
                                  62, 01/17/2024,
                                           153-1 3604338,   Page551
                                                  Filed 09/20/21    of 898
                                                                 Page  7 of 17
                                                                                          1569

         45.   Defendant Mason learned at this time that M.T. did not actually have a skull

fracture. Id. at Ex. 17, Tr. Interrogation II, P000455-P000456.

         46.   In the afternoon of September 22, 2008, Mr. Thomas, who was distraught and sleep

deprived, was met and picked up from the hospital by defendant Mason. Id. at Ex. 4, Thomas Dep.

I 149:8-150:6, 168:8-19; Ex. 13, Mason 106:4-17.

         47.   Defendant Mason brought Mr. Thomas back to the Troy Police Department

headquarters for further questioning. Id. at Ex. 13, Mason Dep. 106:18-107:2.

         48.   On the way to the interview room, defendant Mason told Mr. Thomas that once in

the interview room, if he were to get up and go towards the door, he would be charged with escape.

Id. at Ex. 4, Thomas Dep. I 150:13-19.

         49.   Defendant Mason interrogated Mr. Thomas for approximately 7 ½ hours. Id. at Ex.

13, Mason Dep. 21:6-22.

         50.   Mr. Thomas had not slept since he was awoken by his wife on September 21, 2008,

at approximately 8:00 a.m. Id. at Ex. 4, Thomas Dep. I 168:8-19.

         51.   Mr. Thomas did not feel he was free to leave during the interrogation. Id. at Ex. 5,

Thomas Dep. II 301:15-18.

         52.   Defendant Colaneri watched and otherwise monitored the interview from a separate

room and entered the room on one occasion. Id. at Ex. 22, Colaneri Dep. I, 93:20-93:22, 96:23-

97:21.

         53.   Prior to defendant Colaneri entering the room, defendant Mason did not have

probable cause to arrest Mr. Thomas for any crime. Id. at Ex. 13, Mason Dep. 113:15-114:19,

167:2-13; Ex. 23, Colaneri Dep. II 21:3-22:5.
          Case
       Case    23-753, DocumentDocument
            1:17-cv-00626-DJS
                                        APPENDIX
                                62, 01/17/2024,
                                         153-1 3604338,   Page552
                                                Filed 09/20/21    of 898
                                                               Page  8 of 17
                                                                                              1570

       54.     During the second interrogation, defendants Mason and Colaneri jointly introduced

the concept of M.T. being slammed. Id. at Ex. 13, Mason Dep. 114:4-115:6, 171:9-172:10,

195:21-196:8; Ex. 23, Colaneri Dep. II 6:5-19, 17:9-18:16.

       55.     All of the statements made by Mr. Thomas regarding bumping, throwing, or

slamming M.T. were first suggested to him by the defendants. Id. at Ex. 4, Thomas Dep. I 169:17-

170:19; Thomas, 22 N.Y.3d at 646.

       56.     Mr. Thomas made the involuntary statements because he was, without limitation,

tired, afraid, wanted to see his children and particularly his son, M.T., was afraid if he did not make

the statement he or his wife would be arrested, and based on the false promise by the defendants

that he would be released if he made the statement. See Klein Decl. Ex. 5, Thomas Dep. II 304:20-

305:11; Thomas, 22 N.Y.3d 629.

       57.     Defendant Fountain participated in the first two-hour interrogation and was

personally involved in conduct which the Court of Appeals found to be coercive. See Klein Decl.

Ex. 15, Fountain Dep. 37:16-38:8; Thomas, 22 N.Y.3d at 637-38.

       58.     Defendant Colaneri was personally involved in the second seven-hour interview.

See Klein Decl. Ex. 22, Colaneri Dep. I 93:17-22, 97:10-104:8.

       59.     Defendant Colaneri’s conduct during the interrogation made Thomas give more

information and contributed to Thomas’s coerced false confession. Id. at Ex. 22, Colaneri Dep. I

102:21-104:13; Thomas, 22 N.Y.3d at 639.

       60.     Although Thomas told the TPD defendants many times that he didn’t do anything,

neither officer documented such in the statements they wrote for Mr. Thomas to sign. See Klein

Decl. Ex. 13, Mason Dep. 171:18-10; Ex. 15, Fountain Dep. 79:15-21; Ex. 19, Thomas Statement

I P001404; Ex. 20, Thomas Statement II P001415-P001424.
          Case
       Case 1:17-cv-00626-DJS
                                      APPENDIX
               23-753, DocumentDocument
                                62, 01/17/2024,
                                         153-1 3604338,   Page553
                                                Filed 09/20/21    of 898
                                                               Page  9 of 17
                                                                                         1571

       61.     Purported probable cause to arrest Thomas was not established until the moment

Thomas involuntarily adopted the TPD defendants’ suggested and false narrative that he had

slammed Matthew on the bed three times. Id. at Ex. 4, Thomas Dep. I 169:3-170:19; Ex. 13,

Mason Dep. 112:19-116:4; Thomas, 22 N.Y.3d at 646.

       62.     In the early hours of September 23, 2008, after Mr. Thomas signed a second 10-

page coerced false statement, he was arrested by defendant Mason. Klein Decl. Ex. 4, Thomas

Dep. I 172:12-16; Ex. 13, Mason Dep. 107:3-107:13, 115:20-116:4; Ex. 20, Thomas Statement II.

       63.     The decision to arrest Thomas was made by defendants Mason and Colaneri jointly.

Id. at Ex. 13, Mason Dep. 109:22-111:6.

       64.     Defendant Mason prepared a criminal court information charging Mr. Thomas with

attempted murder and attached only the second coerced false statement to it, leaving out the first

inconsistent and non-incriminating statement. Id. at Ex. 13, Mason Dep. 117:15-118:20; Ex. 19,

Thomas Statement I P001404; Ex. 20, Thomas Statement II P001415-P001424.

       65.     Mr. Thomas was arraigned based on the documents submitted by defendant Mason,

and consequently imprisoned in the Rensselaer County Jail. Id. at Ex. 4, Thomas Dep. I 172:17-

18; Ex. 5, Thomas Dep. II 407:7-408:21; Ex. 13, Mason Dep. 122:7-22.

       66.     After Mr. Thomas had been arraigned and was represented by counsel, CPS worker

Jasper Estaris met with Mr. Thomas in the Rensselaer County Jail. Id. at Ex. 4, Thomas Dep. I

172:17-173:2; Ex. 5, Thomas Dep. II 407:7-408:21. In this jail setting, where Mr. Thomas was

upset after, among reasons, being for the first time informed by Estaris of the death of M.T., Mr.

Thomas was questioned by Estaris without being offered an attorney and outside the presence of

his attorney, and purportedly made statements about hurting M.T. Ex. 5, Thomas Dep. II 408:13-
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                     APPENDIX
                                62, 01/17/2024,
                                        153-1 3604338,    Page554
                                                Filed 09/20/21    of 10
                                                               Page  898of 17
                                                                                        1572

409:4; Ex. 37, Estaris Dep. 72:22-76:20, 81:20-82:4, 91:23-92:7. Thomas denies having ever

made any such statements. Id. at Ex. 4, Thomas Dep. I 172:19-177:18.

       67.    CPS and TPD were working cooperatively and sharing information during the M.T.

investigation, and notes from CPS confirm that defendant Mason informed CPS supervisor Nicole

Noel of the coerced false admissions by Thomas regarding slamming M.T., and provided Thomas’

statement, among other police documents, to Ms. Noel, who would have shared it with Estaris

prior to CPS interviewing Thomas in jail without counsel. Id. at Ex. 23, Mason Dep. 128:3-132:17;

Ex. 24, Noel Dep. 44:14-48:23.

       68.    On September 25, 2008, Dr. Sikirica performed the autopsy of M.T. Id. at Ex. 6,

Sikirica Dep. I 121:21-122:3.

       69.    Dr. Sikirica consulted with TPD Sergeant Mason, who was present during the

autopsy, reviewed Thomas’ coerced false statements that were provided to him by the TPD

defendants, and was aware that Thomas had already been arraigned on attempted murder charges,

and that his autopsy was being done in conjunction with a homicide investigation at the time he

conducted the autopsy. Id. at Ex. 6, Sikirica Dep. I 166:3-167:22; Ex. 13, Mason Dep. 8:5-9:19;

Ex. 26, Sikirica 2014 Trial 847:23-850:6.

       70.    Defendant Sikirica neither took gram stains nor examined M.T.’s sinuses during

the autopsy, forensic evaluations which would have been relevant to determining the cause and

extent of M.T.’s infection and cause of death. Id. at Ex. 3, Leestma 2009 Trial 2118:13-2120:12,

2158:8-2159:1.

       71.    On September 25, 2008, the lab results came back from the swabs taken at

Samaritan Hospital, confirming that M.T. had a bacterial infection. Id. at Ex. 6, Sikirica Dep. I

93:8-17.
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                       APPENDIX
                                62, 01/17/2024,
                                        153-1 3604338,    Page555
                                                Filed 09/20/21    of 11
                                                               Page  898of 17
                                                                                            1573

       72.     Sikirica issued a death certificate on September 25, 2008, which listed the

immediate cause of death as “severe closed head injuries with cerebral edema due to blunt force

trauma” and further stated the cause of injury to be: “assaulted by another (repeatedly).” Id. at Ex.

27, Death Certificate P001394.

       73.     Despite the positive lab test and other evidence of overwhelming sepsis including,

without limitation, that M.T. presented at the hospital with low white blood cell count, low platelet

count, hypothermia, respiratory distress, low blood pressure, coagulopathy, hypoglycemia,

tachycardia, and pancytopenia, Dr. Sikirica neither listed sepsis as a contributory cause of death

on the death certificate, nor as a finding in the later completed autopsy report which was prepared

after the receipt of the positive lab report. Id. at Ex. 6, Sikirica Dep. I 111:8-23, 169:14-173:4,

181:15-182:11, 185:3-188:19.

       74.     On September 26, 2008, defendants Mason and Sikirica testified in the grand jury.

Id. at Ex. 6, Sikirica Dep. I 121:4-19; Ex. 13; Mason Dep. 150:14-16.

       75.     During his grand jury testimony, defendant Sikirica testified to some evidence of

developing pneumonia, despite later admitting that the same bacteria that was found in M.T.’s

bloodstream causes pneumonia, and that the pneumonia had advanced to sepsis by the time of

M.T.’s death. Id. at Ex. 25, Sikirica 2009 Trial 1495:10-25 (P004969), 1519:8-23 (P004523); Ex.

29, Sikirica Grand Jury Tr. 11:20-12:2, 17:14-19.

       76.     The 10-page coerced false confession was also introduced into evidence at the

grand jury. Id. at Ex. 30, Mason Grand Jury Tr. 33:6-23; Thomas, 22 N.Y.3d 629.

       77.     On April 22, 2009, Dr. Sikirica issued an autopsy report in which he reported only

that M.T.’s blood was positive for streptococcus pneumoniae. Id. at Ex. 28, Autopsy Rpt. The

report never mentioned sepsis. Id.
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                      APPENDIX
                                62, 01/17/2024,
                                        153-1 3604338,    Page556
                                                Filed 09/20/21    of 12
                                                               Page  898of 17
                                                                                           1574

       78.     Defendant Sikirica admits that streptococcus pneumoniae can cause pneumonia,

meningitis, and sepsis. Id. at Ex. 7, Sikirica Dep. II 290:12-291:3.

       79.     Defendant Sikirica admits that sepsis is more serious than the mere presence of the

bacteria—which is all he listed in his autopsy report—and that it is an actual infection that leads

to organ damage throughout the body, and that these conditions can cause death. Id. at Ex. 6,

Sikirica Dep. I 172:13-17; Ex. 7, Sikirica Dep. II 290:12-291:11; Ex. 25, Sikirica 2009 Trial

1489:1-15 (P004963), 1547:20-24 (P004551).

       80.     Dr. Sikirica knew that his autopsy results would be relied on by police and

prosecutors. Id. at Ex. 6, Sikirica Dep. I 229:12-19.

       81.     Dr. Sikirica omitted the word sepsis from his report because he thought including

the diagnosis would divert from what he assessed was the real cause of death. Id. at Ex. 6, Sikirica

Dep. I 209:12-20.

       82.     Dr. Sikirica, however, now concedes that while he listed the cause of M.T.’s death

to be only blunt force trauma, that sepsis was a contributory cause of death, and that doctors could

disagree as to his assessment as to the actual cause of death. Id. at Ex. 6, Sikirica Dep. I 207:22-

208:18.

       83.     Other than Mr. Thomas’ coerced false confession, and Dr. Sikirica’s flawed

findings, there was no other evidence linking Thomas to any crime. Id. at Ex. 13, Mason Dep.

154:16-155:8, Ex. 15, Fountain 104:7-11. Maloney Decl. Ex. 2, Maloney Rpt.; Ex. 3, Maloney

Rebuttal Rpt. Johnson Decl. Ex. 2, Johnson Rpt. 11-12.

       84.     Defendant Fountain met with the District Attorney’s Office, testified at a Huntley

hearing, and his involvement in the first interrogation was part of the chain of events that led to
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                      APPENDIX
                                62, 01/17/2024,
                                        153-1 3604338,    Page557
                                                Filed 09/20/21    of 13
                                                               Page  898of 17
                                                                                           1575

Thomas’ prosecution and conviction. Id. at Ex. 13, Mason Dep. 217:2-11; Ex. 15, Fountain Dep.

12:15-19, 13:4-7, 77:15-78:13, 102:12-104:6; Thomas, 22 N.Y.3d at 637-38.

       85.     Thomas was tried and convicted by a jury in 2009 on charges of murder of his son.

Klein Decl. Ex. 4, Thomas Dep. I 208:9-18.

       86.     Defendant Mason testified at the 2009 trial and evidence including Thomas’

statement and portions of the second videotaped coerced confession were introduced into evidence.

Id. at Ex. 13, Mason Dep. 6:20-7:13; Thomas, 22 N.Y.3d at 635.

       87.     Defendant Sikirica testified during the first trial that based on his experience and

participation in the autopsy and microscopic examinations of M.T., that M.T.’s injuries were

consistent with having been slammed down on a mattress at a great force, and that the subgaleal

hematoma was consistent with being slammed into a wooden rail of a crib. Id. at Ex. 25, Sikirica

2009 Trial 1582:13-24 (P004586).

       88.     Thomas was sentenced to 25 years to life in prison, and thereafter transferred to

Downstate Correctional Facility, and then to Auburn Correctional Facility. Id. at Ex. 4, Thomas

Dep. I 208:19-209:14, 212:13-213:16, 214:11-13.

       89.     Thomas filed post-conviction motions to suppress his confession and to set aside

the verdict rendered against him, a remedy that was ultimately granted by the Court of Appeals on

February 20, 2014. Thomas, 22 N.Y.3d 629.

       90.     The Court of Appeals found that defendants Mason, Fountain, and Colaneri had

engaged in coercive behavior, including inter alia, threatening that if Thomas continued to deny

responsibility for M.T.’s injury his wife would be arrested and removed from his ailing child’s

bedside, repeating 21 times during the course of the interrogation “that his disclosure of the

circumstance under which he injured his child was essential to assist the doctors attempting to save
         CaseCase 23-753, Document
              1:17-cv-00626-DJS
                                       APPENDIX
                                   62, 01/17/2024,
                                Document   153-1 3604338,    Page558
                                                   Filed 09/20/21    of 14
                                                                  Page  898of 17
                                                                                            1576

the child's life,” and “the ubiquitous assurances offered by defendant's interrogators, that whatever

had happened was an accident, that he could be helped if he disclosed all, and that, once he had

done so, he would not be arrested, but would be permitted to return home” which included telling

Thomas “67 times that what had been done to his son was an accident, 14 times that he would not

be arrested, and eight times that he would be going home.” Id. at 643-646.

         91.    The Court of Appeals further recognized that Thomas’ “subsequent confession

provided no independent confirmation that he had in fact caused the child’s fatal injuries” and that

“[e]very scenario of trauma induced head injury equal to explaining the infant’s symptoms was

suggested to defendant by his interrogators” that that “not a single inculpatory fact in defendant’s

confession that was not suggested to him.” Id. at 646.

         92.    After the Court of Appeals remanded Thomas’ case for retrial, Thomas was again

imprisoned at the Rensselaer County Jail. Klein Decl. Ex. 4, Thomas Dep. I 231:21-232:20.

         93.    Thomas was retried in 2014. Id. at Ex. 4, Thomas Dep. I 233:7-8.

         94.    Defendant Sikirica testified at Thomas’ second trial. Id. at Ex. 26, Sikirica 2014

Trial.

         95.    At the second trial, Sikirica testified that in his experience, the injuries could be

consistent with a moderate amount of force, and that M.T.’s injuries were consistent with M.T.

being bounced hard off of a bed and onto the ground. Id. at Ex. 26, Sikirica 2014 Trial 837:14-18,

840:17-841:20.

         96.    Defendant Sikirica continued to attribute M.T.s death to Thomas even after

Thomas’ confession had been suppressed and despite the suppressed statement being the only link

between Thomas and M.T.’s death. Id. at Ex. 6, Sikirica Dep. I 125:9-19, 129:7-23.
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                        APPENDIX
                                 62, 01/17/2024,
                                         153-1 3604338,    Page559
                                                 Filed 09/20/21    of 15
                                                                Page  898of 17
                                                                                             1577

       97.     At the conclusion of Thomas’ second trial, Thomas was acquitted, and the matter

was dismissed and sealed. Klein Decl. Ex. 4, Thomas Dep. I 234:11.

       98.     Plaintiff’s expert in false confessions, Matthew B. Johnson, Ph.D., associate

professor in the Department of Psychology at John Jay College of Criminal Justice-CUNY, whose

work focuses on the interface of psychology and the legal system, opined, in relevant part, that

plaintiff’s malicious prosecution resulted from a process commonly referred to as “a mis-

information effect (also called an ‘anchoring effect’, or a process of ‘forensic confirmation bias’,

or ‘bias cascade’), where an initial erroneous assumption or report is accepted as factual and

misguides the ensuing investigation.” Johnson Decl. ¶¶ 1-2; Ex. 2, Johnson Rpt. p. 11. Johnson

further opined that in the case of plaintiff, the initial mistaken assessment by Albany Medical

Center led the police to subject Thomas to a “prolonged, coercive, interrogation to confirm the

erroneous medical assessment” and that “[t]he coerced false confession then influenced the

medical examiner’s autopsy report.” Id. at Ex. 2, p. 11. Johnson also cited research recognizing

that when an event is mislabeled a crime, “forward momentum often fueled by circular reasoning

takes over” resulting in individuals being convicted of crimes that never occurred in the first place,

as was the case here. Id. at Ex. 2, p. 3.

       99.     Plaintiff’s medical expert, forensic pathologist Katherine F. Maloney, M.D.,

determined that M.T. died exclusively from streptococcus pneumoniae meningitis. See Maloney Decl.,

Ex. 2, Maloney Rpt. p. 3. She further found that the scalp and subgaleal hemorrhages, retinal

hemorrhages, and subdural hemorrhage were not due to violent trauma, were not fatal injuries, and did

not explain the cause of death. Id. Rather the retinal hemorrhages were due to increased intracranial

pressure caused by the cerebral edema, and the subgaleal and subdural hemorrhages resulted from

coagulopathy due to the Streptococcus pneumoniae infection and from brain swelling due to the loss
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                       APPENDIX
                                 62, 01/17/2024,
                                         153-1 3604338,    Page560
                                                 Filed 09/20/21    of 16
                                                                Page  898of 17
                                                                                            1578

of oxygen to the brain caused by the infection, which led to an accumulation of fluid surrounding the

brain. Id. at pp. 2-3.

Dated: September 20, 2021
       New York, New York

                                              BRETT H. KLEIN, ESQ., PLLC
                                              Attorneys for the Plaintiff
                                              305 Broadway, Suite 600
                                              New York, New York 10007
                                              (212) 335-0132

                                              By:     _____________________________
                                                      BRETT H. KLEIN
                                                      LISSA GREEN-STARK
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                            APPENDIX
                                 62, 01/17/2024,
                                         153-1 3604338,    Page561
                                                 Filed 09/20/21    of 17
                                                                Page  898of 17
                                                                                                 1579

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

ADRIAN THOMAS,

                                                     Plaintiff,
                                                                                     17 CV 626 (DJS)
                 -against-

ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,


                                                     Defendant.

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                 PLAINTIFF’S LOCAL RULE 56.1 COUNTER STATEMENT




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
           Case
          Case   23-753, Document 62,
               1:17-cv-00626-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             156 3604338,   Page562
                                                  Filed 09/20/21    of 898
                                                                 Page  1 of 6
                                                                                                 1580

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

ADRIAN THOMAS,
                                                                                     DECLARATION
                                                     Plaintiff,                      OF BRETT H.
                 -against-                                                           KLEIN

ADAM R. MASON, RONALD FOUNTAIN,                                                      17 CV 626 (DJS)
TIM COLANERI, and MICHAEL SIKIRICA,

                                                     Defendants.

---------------------------------------------------------------------------------X

        BRETT H. KLEIN, declares under penalty of perjury pursuant to 28 U.S.C. § 1746 that

the following is true and correct:

        1.       My firm represents plaintiff, ADRIAN THOMAS, in the above-captioned action.

I make this declaration in support of plaintiff’s memoranda of law, responses to defendants’ 7.1

statements, and plaintiff’s Local Rule 56.1 counter statement, which are all respectfully

submitted in opposition to defendants Adam R. Mason, Ronald Fountain, and Tim Colaneri’s

motion for summary judgment, and defendant Michael Sikirica’s motion for summary judgment.

        2.       Attached hereto as Exhibit 1 are excerpts from the testimony of Wilhelmina Hicks

given during the 2009 criminal trial of Adrian Thomas.

        3.       Attached hereto as Exhibit 2 are excerpts from the testimony of Dr. Ifeoma

Ojukwu given during the 2009 criminal trial of Adrian Thomas.

        4.       Attached hereto as Exhibit 3 are excerpts from the testimony of Dr. Jan E.

Leestma given during the 2009 criminal trial of Adrian Thomas.

        5.       Attached hereto as Exhibit 4 are excerpts from the deposition of plaintiff Adrian

Thomas (Thomas Dep. I) conducted on August 20, 2019.
         Case
        Case   23-753, Document 62,
             1:17-cv-00626-DJS
                                     APPENDIX
                                    01/17/2024,
                                Document   156 3604338,   Page563
                                                Filed 09/20/21    of 898
                                                               Page  2 of 6
                                                                                      1581

       6.     Attached hereto as Exhibit 5 are excerpts from the deposition of plaintiff Adrian

Thomas (Thomas Dep. II) conducted on August 21, 2019.

       7.     Attached hereto as Exhibit 6 are excerpts from the deposition of defendant

Michael Sikirica (Sikirica Dep. I) conducted on September 5, 2019.

       8.     Attached hereto as Exhibit 7 are excerpts from the deposition of defendant

Michael Sikirica (Sikirica Dep. II) conducted on September 6, 2019.

       9.     Attached hereto as Exhibit 8 are excerpts from the testimony of Dr. Jerome Klein

given during the 2009 trial of Adrian Thomas.

       10.    Attached hereto as Exhibit 9 is a copy of the emergency room report dictated by

Dr. Katrina Kardos relating to M.T.’s treatment and diagnosis at Samaritan Hospital on

September 21, 2008.

       11.    Attached hereto as Exhibit 10 are excerpts from the deposition of Dr. Walter Edge

conducted on July 30, 2020.

       12.    Attached hereto as Exhibit 11 are excerpts from the testimony of Dr. Katrina

Kardos given during the 2009 criminal trial of Adrian Thomas.

       13.    Attached hereto as Exhibit 12 are excerpts from the deposition of Dr. John

Waldman conducted on October 19, 2020.

       14.    Attached hereto as Exhibit 13 are excerpts from the deposition of defendant Adam

R. Mason conducted on September 12, 2019.

       15.    Attached hereto as Exhibit 14 are copies of Troy Police Department’s (hereinafter

“TPD”) investigative reports, Bates numbered P001398-P001399.

       16.    Attached hereto as Exhibit 15 are excerpts from the deposition of defendant

Ronald Fountain conducted on September 13, 2019.
           Case
          Case   23-753, Document 62,
               1:17-cv-00626-DJS  Document
                                           APPENDIX
                                      01/17/2024,
                                             156 3604338,   Page564
                                                  Filed 09/20/21    of 898
                                                                 Page  3 of 6
                                                                                                     1582

        17.      Attached hereto as Exhibit 16 are excerpts of the transcript of the first

interrogation of plaintiff Adrian Thomas conducted on September 21, 2008. 1

        18.      Attached hereto as Exhibit 17 are excerpts of the transcript of the second

interrogation of plaintiff Adrian Thomas conducted on September 22, 2008.

        19.      Attached hereto as Exhibit 18 is a copy of a statement entitled deposition of a

witness signed by Wilhelmina Hicks on September 23, 2008, Bates numbered P001409-

P001410.

        20.      Attached hereto as Exhibit 19 is a copy of a statement entitled deposition of a

witness signed by Adrian Thomas on September 22, 2008 at 1:41 a.m., Bates numbered

P001404.

        21.      Attached hereto as Exhibit 20 is a copy of a statement entitled deposition of a

witness signed by Adrian Thomas on September 22, 2008 at 8:40 p.m., Bates numbered

P001415-P001424.

        22.      Attached hereto as Exhibit 21 is a copy of a statement entitled deposition of a

witness signed by Walter Edge on September 22, 2008, Bates numbered P001413.

        23.      Attached hereto as Exhibit 22 are excerpts of the deposition of Tim Colaneri

(Colaneri Dep. I) conducted on September 11, 2019.

        24.      Attached hereto as Exhibit 23 are excerpts of the deposition of Tim Colaneri

(Colaneri Dep. II) conducted on September 12, 2019.

        25.      Attached hereto as Exhibit 24 are excerpts of the deposition of Nicole Noel

conducted on November 25, 2019.




1
 The transcript was produced in discovery as received and, while it appears to have the wrong date noted on the
cover page, the parties have not disputed that it is otherwise accurate.
         Case
        Case   23-753, Document 62,
             1:17-cv-00626-DJS
                                     APPENDIX
                                    01/17/2024,
                                Document   156 3604338,   Page565
                                                Filed 09/20/21    of 898
                                                               Page  4 of 6
                                                                                     1583

       26.    Attached hereto as Exhibit 25 are excerpts from the testimony of defendant

Michael Sikirica given during the 2009 criminal trial of Adrian Thomas.

       27.    Attached hereto as Exhibit 26 are excerpts from the testimony of defendant

Michael Sikirica given during the 2014 criminal trial of Adrian Thomas.

       28.    Attached hereto as Exhibit 27 is a copy of the death certificate for M.T. which

was signed by defendant Michael Sikirica, Bates numbered P001394.

       29.    Attached hereto as Exhibit 28 is a copy of the final Autopsy Report issued by

defendant Michael Sikirica on April 22, 2008, Bates numbered P001530-P001544.

       30.    Attached hereto as Exhibit 29 are excerpts of the testimony of defendant Michael

Sikirica given during the grand jury proceedings held on September 26, 2008.

       31.    Attached hereto as Exhibit 30 are excerpts of the testimony of defendant Adam R.

Mason given during the grand jury proceedings held on September 26, 2008.

       32.    Attached hereto as Exhibit 31 are excerpts from the testimony of Dr. Jerome

Klein given during the 2014 criminal trial of Adrian Thomas.

       33.    Attached hereto as Exhibit 32 are excerpts from the testimony of India Hicks

given during the 2009 criminal trial of Adrian Thomas.

       34.    Attached hereto as Exhibit 33 are excerpts from the deposition of India Hicks

conducted on November 30, 2020.

       35.    Attached hereto as Exhibit 34 are excerpts from the testimony of Katrina Kardos

given during the 2014 criminal trial of Adrian Thomas.

       36.    Attached hereto as Exhibit 35 are excerpts from the testimony of Dr. Walter Edge

given during the 2009 criminal trial of Adrian Thomas.
         Case
        Case   23-753, Document 62,
             1:17-cv-00626-DJS
                                    APPENDIX
                                    01/17/2024,
                                Document   156 3604338,   Page566
                                                Filed 09/20/21    of 898
                                                               Page  5 of 6
                                                                                     1584

       37.    Attached hereto as Exhibit 36 are excerpts from the testimony of Dr. Jan E.

Leestma given during the 2014 criminal trial of Adrian Thomas.

       38.    Attached hereto as Exhibit 37 are excerpts from the deposition of Jaspar Estaris

conducted on August 21, 2019.

Dated: New York, New York
       September 20, 2021

                                           BRETT H. KLEIN, ESQ., PLLC
                                           Attorneys for the Plaintiff
                                           305 Broadway, Suite 600
                                           New York, New York 10007
                                           (212) 335-0132

                                           By:
                                                    ~
                                                  ______________________________
                                                  BRETT H. KLEIN
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          Case   23-753, Document 62,
               1:17-cv-00626-DJS  Document
                                            APPENDIX
                                      01/17/2024,
                                             156 3604338,   Page567
                                                  Filed 09/20/21    of 898
                                                                 Page  6 of 6
                                                                                                 1585

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

ADRIAN THOMAS,

                                                     Plaintiff,                      17 CV 626 (DJS)
                 -against-

ADAM R. MASON, RONALD FOUNTAIN,
TIM COLANERI, and MICHAEL SIKIRICA,

                                                     Defendants.

---------------------------------------------------------------------------------X




                               DECLARATION OF BRETT H. KLEIN




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
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                                   APPENDIX                                                                 1586
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page568    1 of 13
                                                           of 898
                                     (Kardos - Peopl.e                      - Recross)                                                876


 1       him at       grave    risk       of death;             correct?

 2               A.         Yes.

 3                                  MS. EF~U:Lr-.J: No further                          questions.

 4                                  MS. BOOK:               Can I have            one moment,              Your Honor?

 5                                  THE COURT:                 Certainly.

 6                                  MS.      BOOK:          Nothing         further,           Your       Honor.             Thank

 7               you.

 8                                  THE COURT:                 Doctor,       thank        you very           much for               your

 9               time.        You are         all       set.       The People             may call           their          next

10               witness.

11                                  MS. BOOK:               The People            call        Wilhemina           Hicks.

12                                  MS. EFFMAN:                 Your     Honor,          may we approach

13               briefly?

14                                  THE COURT:                 Yes.

15                                   (Sidebar           discussion           held        as    follow:)

16                                  MS. EFFr'Lll.N: Your                 Honor,          I would          just        ask     the

17               witness       be reminded,                 as this         is    close        in time           to    the

18               testimony,           that      she      be advised              about        the    discipline              issue.

19                                  MS. BOOK:               I reminded            her.

20                                  THE COURT:                 Thank     you.

21        (Photographs         marked         People's            Exhibits          2 through             10 for

22       identification.)

23       WILHEMINA HICKS, after                     first         having         been     duly       sworn        by the

24       Clerk    of the       Court,         was examined               and      testified              as follows:

25                                  THE CLERK:                 The sworn          witness           is    Wilhemina

                                                        Judy     A. DelCogliano
                                             0££icial          Senior  Court Reporter



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Case 1:17-cv-00626-DJS
   Case
                               APPENDIX
        23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page569    2 of 13
                                                           of 898
                                                                                                 1587
                                         (W. Hicks       - People        - Direc~)                                    877 •



    1               Hicks,         W-I-L-H-E-M-I-N-A             H-I-C-K-S.

    2       DIRECT EXAMINATION

    3       BY MS,       BOOK:

    4               Q.       Good afternoon.

    5               A.       Hi.

    6               Q.       Could you please            spell     your name for              the record,

    7       first    and last?

    8               A.       Yes.      Wilhemina       Hicks,      W-I-L-H-E-M-1-N-A,                  Hicks,

    9       H-I-:C-K-S_.

   10               Q.       Thank you.          Where do you live,               ma'am?

   11               A.       In Troy.

   12               Q.       Do you have any children?

   13               A.       Yes.

   14               Q,       How     many?

   15               A.       Six living.

   16               Q.       Okay.       FJld did    you have          a child       that     passed      away?

   17               A.       Yes.

   18               Q.       What was that          child's       name?

   19               A.       M---D~T-.                                                                                    . .)


   20               Q.       Can you tell         us the      names      and ages           of your     other

   21       children        that     are living?

   22               A.       Yes.      India     Hicks,-·                        Aaliyah       Thomas, her

   23       birth    date     is-·                  A-           T_,          Jr.,      his    birthday         is

   24

   25

                                                    Judy _.q. .De1Coglia.no
                                             Orf~cial   Senior   Co=t    Reporter



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                               APPENDIX                                                                   1588
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page570    3 of 13
                                                           of 898

                                       (W. Hicks         - Peop1e           -    D:i..rect)                               878


  1              Q.     That's         okay.        Take your          ti.me.

  2              A.
  3       Simon Thomas,         his     birth       date     i

  4              Q.     Thank you.              Do you know someone by the                             name of Adrian

  5       Thomas?

  6              A.     Yes.

  7              Q.     Do you see Mr. Thomas in the                               courtroom           today?

  8              A.     Yes.

  9              Q.     Could you please                 point       him out and describe                       something

10        that   he's   wearing?

11               A.     He's     wearing         a white          shirt.

12               Q.     Okay.          Could you point               in his         direction?

13               A.     There         (indicating}.

14                               NS. BOOK: Thank you.                            Could        the     record     please

15               indicate      that      the     witness         has       identified           the     Defendant?

16                               THE COURT: It's                    noted.

17               Q.     How do you know Mr. Thomas?

18               A.     I a.~ married            to him.

19               Q.     And what is the                 current        state        of your marriage?

20               A.     I'm going          through          a divorce.

21               Q.     Is he the          father          of all      of your          children?

22               A.     Except         India.

23               Q.     Can we talk             about       your     twin        sons     for       a minute?

24               A.     Uh-huh.

25               Q.     Okay.         When did          you find           out     you were pregnant               with

                                                 Judy .l¼.. DelCoglia.no
                                          Or£iaial   Sen.ioz Co=t       Reporter



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                                                                                                                          S014115
      Case 1:17-cv-00626-DJS
         Case 23-753, DocumentDocument
                                      APPENDIX
                                        156-1 3604338,
                               62, 01/17/2024, Filed 09/20/21 Page
                                                         Page571    4 of 13
                                                                 of 898
                                                                                                                  1589
                                                   ('W. Hicks            - People           - Di.reat)                               879


           1      twins?
-~·
          2                  A.     When I was,              like,         five      months         pregnant.

           3                 Q.     Okay.          F.nd when were your                      sons     born?

           4                 A.     They were born                  o~

           5                 Q.     Is     that     the      date         that     they      were      due?

           6                 A.     No.

          7                  Q.     Were they             early          or late?

           8                 A.     They were             early.

           9                 Q.     How early             were they?

         10                  A.     They were a month                      and a half           early.

         11                  Q.     How was your              delivery?

         12                  A.      I had gestational                     diabetes           and my blood         pressure     was

         13       ele·vated.

         14                  Q.     Did you have              a difficult                  delivery?

         15                  A.     Yes.

         16                  Q.     Who was born              first?

         17                  A.     M...            D..            T-.

         18                  Q.     Was he born              through             regular       vaginal        delivery     or was a

         19        special

         20                  A.     Yes,      right.

         21                  Q.     And who was born                      next?

         22                  A.
         23                  Q.     How was he born?                       Was he also              born     through     a regular

         24       vaginal         delivery?

         25                  A,     They had to use                      forceps      with         him.

                                                              Judy A. De.lCogJ.iano
                                                       o££icie.l  Senior Co=t Reporter



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                                                                                                                               S014116
   Case
Case    23-753, DocumentDocument
     1:17-cv-00626-DJS
                                     APPENDIX
                         62, 01/17/2024,
                                  156-1 3604338,   Page572
                                         Filed 09/20/21    of 898
                                                        Page  5 of 13
                                                                                             1590
                                         (W. Hicks       - ~eop1e      - Cross)                               910


  1               Q.         During your pregnancy,             you had some problems             with

  2       high blood pressure?

  3               A.         Yes.

  4               Q.         And you have -- during             your other        pregnancies,         have

  5       you ever had a problem with your water                          breaking,     your membranes

  6       rupturing          early     on, before        the due date?

  7               A.         Um, no.

  8               Q.         So, prior      to this       pregnancy,       did your water        ever

  9       break      early     before      your due date?

 10               A.         No,

 11               Q.         The doctors         put you on some medications              for the high

 12      blood       pressure?

 13               A.         Yes.

 14                 Q,       ~_nd during     the time you saw the doctors,                   they told

 15       you you had preeclampsia?

 16               A.         Yes.

 17                 Q.       Right?      Do you remember that'?

 18               A.         Uh-huh.

 19                 Q.       And they told         you that     was something         they    really

 20       wanted to keep an eye on and monitor;                          right?

 21                 A.       Right.

 22                 Q.       And the doctors          told    you that's      a -- that       condition

 23       is   important            to monitor     for    the sake of your health             and the

 24       babies'        health?

 25                 A.       Right.

                                                   Judy i!.. De1.Cogl.iaz:io
                                           0££ioial    Senior   Court Reporter



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                                                                                                              S014147
                         Case
                      Case    23-753, DocumentDocument
                           1:17-cv-00626-DJS
                                                       APPENDIX
                                               62, 01/17/2024,
                                                        156-1 3604338,   Page573
                                                               Filed 09/20/21    of 898
                                                                              Page  6 of 13
                                                                                                                       1591
                                                                  (W. Bioks         - J?eop1e    -     Cross)                              911, ',


                          1                Q.      Right.          Early     around      May 1st        or so of 2008, the

                          2       doctors        at OB/GYNHealth               Center     Associates            on Fifth     Avenue

                          3       there,        they     sent     you over to Samaritan                Hospital      because        your

                          4       blood     pressure            was high;      right?

                          5                A.      No.          They sent me over there                because      I had um -- in

                          6       my urine,        I     had the      -- ll.TUT calcium         in my urine.

                          7                Q.      And they wanted you to go get                         it     checked     out?

                          8                A.      Right.

                          9                Q.      And when you went over there,                         they     decided     to ad.mit

                         10       you as a patient                there?

                         11                A.      Right.

                         12                Q.      And you stayed              there     for    a few days;         right?

                         13                A.      Right.

                         14                Q.      P.nd while. you were there,                   your     water broke;          right?

                         15                A.      Right.

                         16                Q.      Did they         ever tell          you when you were at Samaritan
                                                                                                                                               r-1
                         17       Hospital        that     there     was a g.i;een stain              in yo'-fr water        that    broke?

                         18       They call        that     meconitmt.             Did they     ever     tell     you that?

                         19                A.      Uh-huh.

                         20                Q.      .And did        they     tell     you that        means the baby had a bowel

                         21       movement while                he was in your uterus;                correct?
-J'                      22                A.      Right.

                                           Q.      And they         told     you they         were going to move you from
                         23
                                                                                                                                                r'
                         24        there    to Albany Med to better                     take    care     of.your      pregnancy;
      •   ~   :: :.
                         25       right?

                                                                            Judy A. De2Cog1iano
                                                                     0££ioia1   Se:aior Co=t: Reporter



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                                                                                                                                      S014148
                                 APPENDIX                                                             1592
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page574    7 of 13
                                                           of 898

                                        (W. Hicks       - .Peop1e          -    Cross)                             912


  1                A.     Right.

 2                 Q.       Because     you had twins             coming along?

  3                A.       Right.

  4                Q.     And you were probably                   going         to deliver         early?

  5                A.     Right.

  6                Q.       Samaritan     Hospital         doesn't             have an emergency neonatal

  7      unit      or is not equipped            to handle          premature             babies      like   Albany

  8      Med is;        right?

  9                A.     Right.

10                 Q.     They moved you over there,                           and that's      where you

11       delivered        the babies;        right?

12                 A.     Yes.

13                 Q.     And they were delivered                   in about              33 weeks or so?

14                 A.     Yes.

15                 Q.     The first       -- when you got to Albany Med, you were in

16        labor     about     11, 12 hours.             Does that              sound about         right?

17                 A.     Not that       long.

18                 Q.     Once you got over there,                    things         went quickly?

19                 A.     Yes.

20                 Q.     F.nd when you had -- the                   babies         were delivered.              The

21        first     baby,     Twin A, came out.                  He had trivalvular                  pulmonary

22        stenosis,       which is this          heart        murmur you talked                about today;

23        right?

                   A.       I wasn't     aware of that             at that          time;     that     he even had

25        that.

                                                 Judy    A.   Del.Cogl:iano
                                         0££icial.      Senior     Court       Reporter



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                                                                                                                   S014149
                                      APPENDIX                                                                      1593
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page575    8 of 13
                                                           of 898

                                                  (W. Hicks           - Peop1e          - Cross)                                            919


    1       fever      when you brought                      him there            from the         day before,                in

    2       addition         to or along                 with       the    complaint           about          the     rash      on his

    3       face?

    4                 A.         I don't           remember          making        a complaint                about     that.

    5                 Q.         F..nd when you took                  his        temperature             at    home,         did     you

    6       usually        take        it    rectally?

    7                A.          Yes.

    8                 Q.         Let's       talk        about       the     weekend         of September               19, 2D, 21.               ·)

    9       On that        Friday,           the     19th,          you noticed            that       your      son had a

   10       fever;        right?

   11                A.          Yes.                                                                                                             ..J

   12                 Q.         What was his                temperature             on Friday?

   13                A.          It    was 100.4.

   14                Q.          A.~d he had some diarrhea                          then,         too?

   15                A.          Urn, yeah.

   16                 Q.         And you gave                him some Pedialyte                    on Friday?

   17                A.          Yes.

   18                Q.          F.nd the         next       day,     Saturday,            he still            had some

   19       diarrhea         on Saturday,                 right,          which     would         have been            the     20th        of

   20       September?

   21                A.          Not really.               Like       I said,           he had got             a little            bit

   22       better        that        day.

   23                 Q.         And in the              evening,          the     fever       came back?

   24                A.          Right,       around          11:00.

   25                 Q.         11:00       at     night,          did    you take          his      temperature

                                                             Judy     A.    De.lCoglieno
                                                    0££icia1        Senior       Co=t      Reporter



                                             AXXXXXXXX

                                                                                                                                         S014156
                                     APPENDIX                                                                 1594
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-1 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page576    9 of 13
                                                           of 898

                                             (w. Hicks          - Peop1e         - Cross)                                       920



  1       rectally?

  2                 A.         Yes.

  3                 Q.       And what was his                   temperature            at    11:00      at night?

  4                 A.         It    was back at 104 --                  I mean 100.4.

  5                 Q.         Did the       diarrhea           come back         Saturday           night?

  6                 A.       No.

  7                 Q.       Now, on Saturday                   night      when you were 1-i.ome, you were

  8       talking        about        cooking      dinner.              All    your     other        children         were at

  9       home;       right?

 10                 A.       Yes.

 11                 Q.       All      nine    people        that        live     in the       apartment         were home

 12       that      night?

 13                 A.       Yes.

 14                 Q.       And Saturday           evening,             you didn't           hear      or see Matthew

 15       have      any problems             breathing;'           correct?

 16                 A.       No.

 17                 Q.       You testified               that      you heard           him cry a little                bit

 18       that      evening?

 19                 A.       Right.

 20                 Q.         You would agree,                 Wilhemina         - you are            a mother         of

 21       several        children         - someti..~es            babies        who are        sick     cryi        right?

 22                 A.       Right.

 23                 Q.       When you saw M.-iaround                                  11:00     at night        when you

 24       checked        his        temperature,          did      you give        him a bottle               then,      too?

 25                            No.      He had a bottle                 around        four    0 1 clock       that

                                                         Judy A. Del.Cogliano
                                              0£ficia1       Senior Court Reporter



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                                                                                                                                S014157
CaseCase 23-753, Document
     1:17-cv-00626-DJS Document
                                    APPENDIX
                          62, 01/17/2024,
                                  156-1 3604338,    Page577
                                          Filed 09/20/21    of 10
                                                         Page  898of 13
                                                                                                              1595
                                                  (w. Hicks           - Peo,p1e      - Cross)


      1       morning.           He --

     2                  Q.       When was he last                    given       a bottle      before         four     o'clock

     3        in the         night,     in the           early       morning       hours?

      4                 A.       After,       when we were having                        dinner,      I fed him a

      5       bottle,         and then        he had a bottle                    again      around,      I would say,

      6       hours      later        but    --    two hours            later.

     7                  Q.       Did he take              his     bottle         Saturday          evening      when you were

     8        having         your     supper?

     9                  A.       Yes.

    10                  Q.       F-.nd around            what time         was that,          ~lilhemina?

    11                  A.       I would say,               like,       about      a little          before         we --    a

    12        little         before     I went to bed.

    13                  Q.       F.nd what time               was that?

    14                  A.       That       was,    like,         around         11:00;      I went and laid                down.

    15                  Q.       So, the          same time            you checked           his     temperature,            around

    16       then,       you gave him a bottle?

    17                  A.       Yes.

    18                  Q.       He took          the     bottle,        no problem?

    19                  A.       Yes.

    20                  Q.       .~nd the         next     time,        after      11:00,      the     next         time    he had

    21       a bottle          was around           three         or four         o'clock      in the morning;

    22       correct?

    23                  A.       Right.

    24                  Q.       And at that              time,        you woke up Adrian,                   too;     right?

    25                  A.       Yes.

                                                              Judy    A. DelCogl.ian.o
                                                   Official          Se!l.ior Court  Reporter



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                                                                                                                               S014158
                                        APPENDIX                                                                 1596
CaseCase
     1:17-cv-00626-DJS Document
         23-753, Document         156-1 3604338,
                          62, 01/17/2024, Filed 09/20/21 Page
                                                    Page578 of 11
                                                               898of 13

                                             (W. Hicks              - Peop1e           - Cross)                               922


  1                  Q.          Because         both     babies          were       awake?
   ..
  2                  A.          Right.

  3                  Q.          And so both            of you --             each        one took       a baby and fed       a

  4       baby a bottle;                  correct?

  5                  A.          Right.

  6                  Q.          Adrian      gave M~                      a bottle;            right?

  7                  A.          Yes.

  8                  Q.          And you gave M-=-                           his     bottle?

  9                  A.          Right.

 10                  Q.          And M-=-               took        bis      bottle;         right?

 11                  A.          Yes,     yes.

 12                  Q.          Did you check               his     temperature               at four     o'clock    in the

 13       morning?

 14                  A.          Yes.

 15                  Q.          ~-~d did he have                  a temperature?

 16                  A.          No.

 17                  Q.          When you saw him at 4; 00 in the                                   morn;ing, 1-

 18       didn   1   t have any problems                      breathing;               did     he?

 19                  A.          No.
 20                  Q,          Wilhemina,          do you remember                      telling       the Troy Police       on

 21       September              23,    2008,      that       '*I didn't             notice         anything     wrong with

 22       M-until                       about      three        or 4:00             in the      morning        when he was

 23       running          a fever         of about           100.4.               M-=-         has had a fever        and

 24       diarrhea           since        Friday        night."              Do you remember telling                 the   Tr:oy

 25       Police          that     on September               23rd?

                                                             Judy    A.   De.lCogl:i.a.no
                                                  0££icial          Senior    Court Reporter




                                                                                                                              S014159
CaseCase 23-753, Document
     1:17-cv-00626-DJS Document
                                APPENDIX
                          62, 01/17/2024,
                                  156-1 3604338,    Page579
                                          Filed 09/20/21    of 12
                                                         Page  898of 13
                                                                                                   1597
                                           (w.   Hicks     - People         -   Cross)                                   923 ,,-,,



      1               A.       Yes.

      2               Q.      And when you told                them that,        that      was close          in time

      3       or close       to the time of this                weekend,        the event         we are here

      4      about      today?

      5               A.       Right.

      6               Q.       So, M.-            did have a temperature                       at four       o'clock     in

     7       the morning          when you got up to give                  him his         bottle?

     8                A.       Right.      I can't        -- the thing           is,     when you are in that                  ')

      9       kind of state,            you know, when you are being                       in front          of police

    10       officers        asking      you questions,            you are not just               going       to get

    11       everything          out the -- out just               correctly,           just     the way it

    12       happened.           I was under a lot              of pressure            at that       time.

    13                Q.       I understand,         Wilhemina.            So, if        you told        the police

    14       on the 23rd of September                   that      at about       -- you didn't               notice

    15       anything        wrong with M..-                   until   about       three       or 4:00 in the

    16       morning        when he was running                a fever,     that        was the truth;            right?

    17       He had a fever             at 4:00 in the morning?

    18                A.      Yes.

    19                Q.      ~.nd when you saw him at four                      o'clock         in the morning

    20       or so,        you didn't      notice       any problems            with     his breathing;

    21       right?

    22                A.      No.

    23                Q.      And, in fact,          if    you had noticed               a problem           with his

    24       breathingr          you certainly          would have called                911 or taken            him to

    25       a hospital?

                                                     Judy A.      De1Cogli.a.no
                                             Of£icia1     Senior     Co=t Reporter



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                                                                                                                      S014160
                                   APPENDIX                                                                      1598
CaseCase
     1:17-cv-00626-DJS Document
         23-753, Document         156-1 3604338,
                          62, 01/17/2024, Filed 09/20/21 Page
                                                    Page580 of 13
                                                               898of 13

                                          (W. Hicks               - Peop1e          - Cross)                                       924


  1                 A.      Yes,      right.

  2                 Q.      The first            time       you noticed             any strange               breathing        on

  3       M.-i           was Sunday morning                      after      eight      0 1   clock       when you got up

  4       that      morning;         right?

  5                 A.      Right.

  6                 Q.      And at that             time,          you woke Adrian                 up?

  7                 A.      Yes.

  8                 Q.      Probably           really        panicky         and stressful                in your         house

  9       at     that    time;     right?

 10                A.       Right,       uh-huh.

 11                 Q.      He calls           911;       right?

 12                 A.      No.       I called            them.

 13                 Q.      You called            911.           And you did          CPR on the               baby;      right?

                   A.       Right.

 15                 Q.      And that          morning            when you left               the     house,      you left

 16       with      your    son in the            ambulance              to go to Samaritan                   Hospital;

 17       right?

 18                A.       Right.

 19                 Q,      And Adrian            stayed          home with          the      rest       of    the     children?

 20                A.       Right.

 21                                   MS. EFFM?~:                 One moment,           Your H9nor.                  No further

 22                questions.

 23                                   THE COURT: Before                      you continue,                do the        People

 24                have     any further             witnesses             after      this      witness          is     done for

 25                today?

                                                          Judy     A. DelCoglaan.o
                                               Official          Senior  Court Reporter



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                                                                                                                                   S014161
Case 1:17-cv-00626-DJS
  Case
                              APPENDIX
        23-753, DocumentDocument   156-2 3604338,
                         62, 01/17/2024,  Filed 09/20/21 Page
                                                   Page581     1 of 7
                                                           of 898
                                                                                                       1599

 1       STATE OF NEW YORK

 2       COUNTY COURT                                    COUNTY OF RENSSELAER

 3                                                                                                                X

 4       THE PEOPLE OF THE STATE OF NEW YORK

 5       - against       -                               Indictment           #08-1074

 6       ADRIAN THOMAS,

 7                           Defendant.

 8                                               -   -    -   -   -   -   -   -   -    -   -   -   -   -      -       X

 9       JURY      T.RI11..L - VOLUME IX

10                                                       County Courthouse
                                                         Congress  and Second Streets
11                                                       Troy, New York 12180
                                                         October  9, 2009.
12
         Before:
13
                             HONORABLEP..NDREWG. CERESIA,
14                           County Court Judge.

15       A p p e a r an           c es:                                                                - r.,,..
                                                                                                       -';;
                                                                                                                  n
                                                                                                                  rn
16                              For the People:
                                RICH..~RD J. MC NALLY, JR., ESQ.,
                                                                                                        -
                                                                                                        0         2.


17                              District    Attorney,  Rensselaer    County,
                                By:     ARTHUR F. GLASS, JR.,     ESQ.,
18                              and CHRISTA M. BOOK, ESQ., Assistant
                                District    Attorneys,  of counsel,
19                              Rensselaer     County Courthouse,
                                Troy, New York.
20
                                For the Defendant:
21                              JEROME K. FROST, ESQ.,
                                Public    Defender,   Rensselaer  County,
22                              and INGRID EFFMAN, ESQ., Assistant                                     Public
                                Defender,     of counsel,
23                              Rensselaer     County Courthouse,
                                Troy, New York.
24
                                ADRI~..N THOMAS, Defendant,                           in   person.
25

                                                 Judy      A. DelCogliano
                                      0££icial           Senior  Court Reporter



                                   AXXXXXXXX
                     Case 1:17-cv-00626-DJS
                             23-753, DocumentDocument   156-2 3604338,
                                                               Filed 09/20/21 Page  2 of 7
                       Case
                                                 APPENDIX
                                              62, 01/17/2024,           Page582 of 898
                                                                                                       1600        1455


                     1                                  I:t:IDEX TO WITNESSES
                                                                                                                            i

                     2                                                                                                    : ;I
                                                              Direct            Cross       Redirect      Recross
                     3

                     4       For the   PeoQle;
                     c:;
                     -.,

                             I FEOtvlf'._
                                       OJUKWU                      1456          1468           1478        1481
                     6
                             MICHAEL SIKIRICA                      1482          1529           1577        1584
                     7                                                                          1586        1587
                                                                                                1589
                    .8

                     9                                    *                 *               *
                    10                                        INDEX TO EXHIBITS

                    11
                                                                           Identification              Evidence
                    12

                    13       For the   People;

                    14
                             27.   Seton Pediatrics
                    15       Medical Records     (M.-:)                         1456                     1460

                    16       28.   Seton Pediatrics
                             Medical Records     (-)                            1456                      1460
                    17
                             29.   Seton Pediatrics
                    18       Medical Records     (--)                           1456                      1460

                    19       30.   Seton Pediatrics
                             Medical Records     (M.-:)                         1456                      1460
                    20
                             31.   St. Mary's     Hospital
                    21       Medical Records      (M.-:)                        1456                      1460

                    22       32.   St. Mary 1 s Hospital
                             Medical Records    (M~)                            1456                      1460
                    23
                             33.   Photograph                                   1481                      1511
,+         -   ••
                    24
r    •,;
                             34.   Death Certificate                            1481                      1525
                    25
                             35.   Autopsy    Report                            1491                      1527
                                                               Judy-'"'·    DelCogl.iano
                                                        0££icial      Sen.ior Court Reporter



                                                    AXXXXXXXX
                                                                                                                   APPENDIX
                                                                             Case 1:17-cv-00626-DJS Document 156-2 Filed 09/20/21 Page 3 of 7
                                                                                                                                                                                                 1601
                                                                                                                       (Ojukwu.         - Peop.le            - Direct)                                              1460


                                                                         1                  offer      on stipulation                   People's             Exhibit         Number 27,               which             is
                                                                         2                  the     Seton         Pediatric           records          of~                    Thomas;            People's                28
                                                                         3                  for     identification,                   Seton       Pediatric               records          of~
                                                                         4                  ~;              People's           29 for          identification,                    which         is    more
                                                                         5                  Seton     Pediatric              records           of M-                  T-;              People's              30 for
                                                                         6                  identification,                  which       is     more Seton                Pediatric          records               of
Case 23-753, Document 62, 01/17/2024, 3604338, Page583 of 898




                                                                         7               ~~;People's                                            31 for         identification,                       which         is
                                                                         8               St.        Mary's         records        of~~;                                     and People's                    32;
                                                                         9               which        is     St.      Mary's        records            of~                    T-.
                                                                    10                                            THE COURT:             Ms. Effman?

                                                                    11                                           MS. EFFMAN: No objection,                                 subject         to        our prior
                                                                    12                   bench        conference              regarding            certain           portions            that         are     --
                                                                    13                   their        relevancy             to be detennined                    at     a later           date,         Judge.
                                                                    14                                           THE COURT:              Okay.          People's            27,      28,    29,        30,        31
                                                                    15                   and 32?             Is     that      correct?

                                                                    16                                           MS. BOOK: Yes,                  Your Honor.
                                                                    17                                           THE COURT: And 32 are                          received            in evidence                   upon
                                                                    18                   stipulation                of the       parties          subject            to     the     previously
                                                                    19                  mentioned                subject.

                                                                    20            (People's         Exhibits           27 through              32 marked             for     identification
                                                                    21           received         in evidence               and marked            People's             Exhibits            27 through                   32
                                                                    22           in evidence.          )

                                                                    23                  Q.          Doctor,          I'm      going       to    leave         these         records         up here               with
                                                                    24           you.       Okay.          So,     you just           said      that         you first            met~                       when
                                                                "
                                                                    25           he was admitted.                    Admitted           where?

                                                                                                                                 Judy     A. DelCogliazzo
                                                                                                                      0£ficial          Senior  Court Reporter



                                                                                                                    AXXXXXXXX                                                        P004934
                                                                                                APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-2 Filed 09/20/21 Page 4 of 7
                                                                                                    (Ojukwu - Peopl.e                            - Direct)                 1602                     14E


                                                                   J.             A.       At St.       Mary's         Hospital            in      Troy,       New York.

                                                                   2              Q.       Okay.        Do you know what                        day M-                   T               was born?

                                                                   3              A.       He was.born

                                                                                  Q.       And what hospital                   was he born                 at?

                                                                   5              A.       At Albany          Med Hospital                 in Albany.

                                                                   6              Q.       Was ~T-born                                          premature?
Case 23-753, Document 62, 01/17/2024, 3604338, Page584 of 898




                                                                   7              A.       Yes.        He was born             premature.

                                                                   8              Q.       Do you know at               what        week he was born?

                                                                   9              A.       He was 33 weeks                premature.

                                                                  10              Q.       Okay.        And how long                is a normal                pregnancy?

                                                                  11              A.       Forty       weeks.

                                                                  12              Q.       And you stated               that        he came to               St.      Mary's            Hospital?

                                                                  13              A.       Yes.

                                                                  14              Q.       Do you know what                day he came to                      St.      Mary's?

                                                                  15              A.       May 9, 2008.

                                                                  16              Q.       Wby was he transferred                          f.rom Albany               Medical            Center     to

                                                                  17       St.   Mary's         Hospital?

                                                                  18              A.       He was transferred                   to        St.     Mary's           Hospital             from Alban~

                                                                  19       Med just       for     convenience           of the            parents.

                                                                 20               Q.       Okay.        And d::.d you meet                      him on May the                  9th,      2008?

                                                                 21               A.       Yes(      r did.
                                                                  22              Q.       What condition               was~~                                        in when he was

                                                                 23        transferred           on May the       9th      to       St.         Mary's       Hospital?

                                                                 24               A.       He was pretty               good.         He was stable.                        He was stable.

                                                                 25               Q.       And do you know how                                       was delivered'?

                                                                                                                --·Judy        A.    De1Cogl.iano          -----·--"·--···-·•-•"··---
                                                                                                            0££icia1      Senior          Court      Reporter



                                                                                                       AXXXXXXXX                                                P004935
                                                                                                                  APPENDIX
                                                                                 Case 1:17-cv-00626-DJS Document 156-2 Filed 09/20/21 Page 5 of 7
                                                                                                                                                                                       1603
                                                                                                                      (Ojukwu        - Peop1e          - Di:rect)


                                                                             i
                                                                ·. ,.                           A.      Yes, they         were.
                                                                             2                  Q.      On what date           were they          discharged?
                                                                             3                  A.      May 22,       2008.

                                                                             4                  Q.      Did Matthew come to Seton                            Pediatrics        for    regular
                                                                             5         checkups        after     being       discharged          from St.            Mary's?
                                                                             6                  A.      Yes, he did.
Case 23-753, Document 62, 01/17/2024, 3604338, Page585 of 898




                                                                             7                  Q.      And as of September                    of 2008,          was~                 up to date
                                                                             8         on all        of his     immunizations?

                                                                             9                  A.       aah.       He: 90 t h:.Ls immun J..,dt~.ions .

                                                                        lC

                                                                        11             ~ come                  to Seton       Pediatrics           ·.n .....
                                                                                                                                                         hat         date?
                                                                        12                      A.      Yes, he did.

                                                                        13                      Q.      And why did he come to Seton                            Pediatrics           on that    date?
                                                                        J. .1               A.          Just     for his       routine         physical,             because     he had been
                                                                        15            discharged         from the        hospital.

                                                                        16                  Q.          And how was his            health         on that            date?
                                                                        ]_                  A.          His health        was fine.
                                                                        18                  Q.          Did you have any concerns                        or problems?
                                                                        19                  A.          to~ no concerns            or problems.
                                                                        20                  Q.          Drawing your attention                    to June _Q, 2008,                   did~
                                                                        21            come to Seton             Pediatrics        on that         date?
                                                                        22                  A.          Yes, he did.
                                                                        23                  Q.          W:~t was the reason                for     that         visit?
                                                                        24                  A.          For his      one-month          visit.
                                                                        25                  Q.          How was his          health      on that             date?

                                                                                                                               ., Uqy    . Dru     ;o_~~()

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                                                                                                                   A000 □ 01335
                                                                                                                                                                               P004938
                                                                                                        APPENDIX
                                                                        Case 1:17-cv-00626-DJS Document 156-2 Filed 09/20/21 Page 6 of 7
                                                                                                                                                                                1604
                                                                                                               (Ojukwu        - Peop1e         - Cross)                                            1468


                                                                    1                                  THE COURT: Thank you.                          Ms. Effman?
                                                                    2         CROSS-EXAMINATION

                                                                    3         BY MS.      EFFMAN:

                                                                                     Q.      Good morning,              Doctor,

                                                                    5                A.      Good morning.

                                                                    6                Q.      ,NOW1     r::·e chi_tl           at      cu fJ.rs          saw ai:. St:.       ~latyf         s
Case 23-753, Document 62, 01/17/2024, 3604338, Page586 of 898




                                                                    7        Hospital       was nearly          --    born nearly             two months           early?
                                                                    8                A.      Uh-huh.

                                                                    9                Q.      And isn't          it    true,         Doctor,      that        children       that           aren't
                                                                10           delivered       at full        term don't             have the          full     benefit       of
                                                                             antibodies       to protect             themselves           against           illnesses       as a child

                                                                1            ~ho was carried            to full        term?
                                                                1                    A.      The immune system                 has not yet              developed,          yes.
                                                                14                   Q.      And that's           because          they     haven't          had the      full       benefit
                                                                15           of being       inside      the mother            for     the     full      40 weeks;         correct?
                                                                16                   A.      Yes.

                                                                                     Q.      So, an infant             w o is born,              you .nvw, a ~o~th or ~wo
                                                                18           early     would have a lower                ability          or lower           immune system                 than
                                                                19           someone who's           carried         to full        term;      correct?

                                                                20                   A.      Yes.

                                                                21                   Q.      And in terms             of your care             of M

                                                                22           records      reflect       that     on July           23, 2008,          he had a shot,
                                                                23           pneumococcal           shot.       Is that        correct?
                                                                24                   A.      Yes.

                                                                25                   Q.      And Doctor,             what is that             pneumococcal              shot?        r,,       a   is

                                                                                                                       vw:f,y A . Del'Ce,gJ.d""~
                                                                                                               Of£iaial     Senior   Court Reporter



                                                                                                        AXXXXXXXX                                                  P004942
                                                                                                   APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-2 Filed 09/20/21 Page 7 of 7
                                                                                                       (Ojukwu -· Peop1e                                   - Cross)                      1605                     146


                                                                   1       it   supposed               to do?         What does                it      relate        to,           Doctor?

                                                                   2                 A.          Specifically,                 it        is    a streptococcal                          pneumoniae

                                                                   3       vaccine,           which         is      supposed          to prevent                pneu.~ococcal                    meningitis

                                                                           or bacteremia.

                                                                   5                 Q.         And how many shots                            --     I take         it       that        is    a series           of

                                                                   6       shots      that's            given        to every             newborn           child            that        comes to your
Case 23-753, Document 62, 01/17/2024, 3604338, Page587 of 898




                                                                   7       office;          correct?

                                                                   8                 A.          Yes.

                                                                   9                 Q.          And how many series                           of shots             is       recommended                for   a

                                                                  .10      child      to have             in order            for     them to have                   the           benefit         of full

                                                                  11       protection              against           pneumococcal                          streptococcus                      pneumoniae?

                                                                  12                 A.          Four shots.

                                                                  13                 Q.          And ~was                           --        had one shot                   J'uly       23rd;      correct?

                                                                  14                 A.          Yes.

                                                                  15                 Q.         And, obviously,                     because              of his            age,         he didn't         have

                                                                  16       any more shots                   in the         months             that       followed;                 correct?

                                                                  17                 A.          Yes.

                                                                  18                 Q.          He wouldn't               have been                 due for             another           shot     until         som(

                                                                  19       time      later         on at the           end of September,                            early              October;         correct?

                                                                  20                 A.          Yes,       two months.

                                                                  21                 Q.          Doctor,            you just             talked          about       ~going                             for   a

                                                                  22       cardiac          follow-up.                Isn't         it        accurate           that              N              obviously

                                                                  23       couldn      I
                                                                                           t have gone               for      a cardiac                follow-·up,                 because         LV


                                                                  24       passed          away in late               September                of       '08?

                                                                  25                 A.          Yes.

                                                                                           ··------·   ------·--·              Judy       A.       Del.Cogl.i.ano        -·-----
                                                                                                                     O££icial.        Senior          Court: .Reporter



                                                                                                                 AOD0001340                                                   P004943
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   Case
Case 1:17-cv-00626-DJS
                             APPENDIX
        23-753, DocumentDocument
                         62, 01/17/2024,
                                  156-3 3604338,   Page588
                                         Filed 09/20/21    of 898
                                                        Page  1 of 21
                                                                                                                   1606

 1       STATE OF NEWYORK

 2       COUNTYCOURT                                    COUNTYOF RENSSELAER

 3                                                                                                                               X

 4       THE PEOPLE OF THE STATE OF NEWYORK

 5       - against      -                               Indictment           #08-1074

 6       ADRIAN THOMAS,

 7                          Defendant.

 8                                              -   -    -   -   -   -   -   -   -    -   -        -     -         -      -           X
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 9       JURY T.RIP..L - VOLUME XIII
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10                                                      County Court h ouse ;,,,,     c::::. r-·~
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11                                                      Troy, New York 12180(...,... J:l S::..'.,..,
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12                                                                                r,,               ~.,
         Before:                                                                          .f:;       ~';o
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13                                                                                                            7               ;---)
                            HONOR..qBLE
                                      ANDREWG. CERESIA,
14                          County Court Judge.

15       Appearances:

16                             For the     People:
                               RICHARD J. MC NALLY, JR., ESQ.,
17                             District   Attorney,  Rensselaer   County,
                               By: ARTHUR F. GLASS, JR., ESQ.,
18                             and CHRISTA M. BOOK, ESQ., Assistant
                               District   Attorneys,  of counsel,
19                             Rensselaer    County Courthouse,
                               Troy, New York.
20
                               For the     Defendant:
21                             JEROME K. FROST, ESQ.,
                               Public Defender,   Rensselaer  County,
22                             and INGRID EFFM.:ZtN,ESQ., Assistant   Public
                               Defender,  of counsel,
23                             Rensselaer  County Courthouse,
                               Troy, New York.
24
                               ADRI~.N THOMAS, Defendant,                            in person.
25

                                                Judy      A. Del Cogliano
                                     Official           Seniox  Co=t    Reporter



                                 AXXXXXXXX
              Case
           Case 1:17-cv-00626-DJS
                                        APPENDIX
                   23-753, DocumentDocument
                                    62, 01/17/2024,
                                             156-3 3604338,   Page589
                                                    Filed 09/20/21    of 898
                                                                   Page  2 of 21
                                                                                               1607        2062


             1
·:•   ,-                                                    INDEX TO WITNESSES
             2

             3
                                                    Direct             Cross        Redirect     Recross
             4

             5

             6
                     For the     Defendant:
             7

             8       JAN E.     LEESTiYIA            2064              2166            2212       2221
                                                     2097                              2225       2225
             9                                                                         2228
                     (Voir     Dire   - 2085)
           10

           11

           12

           13
                                                       INDEX TO EXHIBITS
           14

           15
                                                                   Identification               Evidence
           16

           17
                     For the     Defendant:
           18

           19
                     P.   Medical      Records                                                   2064
           20
                     R.   Slides                                                                 2064
           21
                     u.   Curriculwn  Vitae
           22             Dr. Leestma                                     2063                   2079

           23        V.   Compact Disc                                    2063                   2064

           24        w. Chart                                             2231

           25

                                                        Judy A.        De1Cog:liano
                                                 Of£icia1     Senior      Court Reporter



                                            AXXXXXXXX
                                          APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 3 of 21
                                           (Leestma - Defendant                                        - Redirect)
                                                                                                                                        1608                           2229


 1      based         on the             other          objective                   evidence                 you saw in                 the         records,

 2      the     slides              and the             autopsy             report?

 3                   A.           I could              find     no benefit                       in     that,           because               it        would          be

 4      playing             on impressions,                         rather                than         science           and method.

 5      Biomechanics                     individuals                  would               be able             to    evaluate               those

 6      things,             demonstration,                      whether                   I know them                   to     be true                  or not.




                                                                                                                                                                            Case 23-753, Document 62, 01/17/2024, 3604338, Page590 of 898
 7      All     I can             say     is      against             the           testing             that        I'm        aware               of and

 8      seen,         got         all     the       data        on,         it       doesn't                 appear          that        those                injury

 9      scenarios                 reach          _an injury               threshold.                     And to              look        at         a

10      demonstration                     or      something                like            that,         how could                  I              how could

11      I impugn             what         G-forces              are        there.                  I don't              have        instruments.

12      It    would          be a totally                      unprofessional                           exercise.

13                   Q.           In     fact,          does        the          objective               medical               evidence                  in      those

14      records             support              your         opinion               as     to      cause           of    death,            Doctor?

15                   A.           The objective                     evidence                 in        the      autopsy,                which            can't          be

16      fudged.               I'm        just      saying,                as        I said            before,            the        end point                    is,

17      if    allegations                   --     and         allegations                       are     made that                  this           was a

18      traumatic              death.              Show me the                       trauma.                  I don't            see       it.                I can't

19      see     it         through          the         overwhelming                       pathology                due       to        infection.

20                                          MS. EFFMAN:                          Thank           you,         Doctor.

21                                          MS. BOOK:                     Nothing                further.

22                                          THE COURT:                      Doctor,                you may step                     down.                Thank

23                   you.          Okay.           Members                of the             jury,            we are           going           to        break

24                   for     the         day      at     this        time.                 As I was telling                             you yeste_~day

25                   or     the         day before,                 sometimes                    the     need           arises           for            the      Court

                                                                    Judy       A.        De1.Cog1.iano
                                                        Official.          Senior           Co=t         Reporter



                                                 AOOOD02100                                                                  P005378
                                               APPENDIX
     Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 4 of 21
                                                                                                                                              1609
                                                      (Leest::ma              - De:fenda.nt                 -    Direct)                                                 2118


      1       and         septic          shock,            Doctor?
..

      2                    A.           I believe                that's              the     pathway              that           got        us      to      this

      3       place.               I should            point             out,         also,         if      I moved                this            field         up and

      4       had         taken         a picture                of the              surface             of the             brain,            I would              have

      5       found          inflammatory                    cells            there           and with                the        gram         stained

      6       bacteria.




                                                                                                                                                                                  Case 23-753, Document 62, 01/17/2024, 3604338, Page591 of 898
      7                    Q.           Doctor,             can        you      explain             to      the        jury            what's              depicted

      8       on this             particular                 slide?

      9                    A.           Okay.          On the                left      panel,             what         we have                is      a section

     10       of tissue                 in    the      fat         and muscle                  area        surrounding                       the          eye.         That

     11       is     --     the         eye     is,         of     course,             enclosed                 in bone,                and         that's          what

     12      we call              the        orbit,          and there's                     soft        tissues                 surrounding                     the

     13       eye,         and that's                 where            this         section           has        been            made.              There          are

     14       lots         of blood             vessels,                which          are      normally                    present.                 Many of

     15      them          are     thrombosed,                    that          is     clotting,                 and have                   inflammation                     in

     16      the       wall.             We have             this            area      of necrosis,                         where           tissue           has

     17      died,          and         I had         a gram            stain,             or had          one made                    of    this           tissue.

     18      And what               I'm       pointing                 out      here,          these            dark         bi9        globs            here,         are

     19      the       nuclei            of     inflammatory                        cells.           All         the         little              dark        dots,

     20      like          grains            of rice             all         over      the      place,                are        the        streptococcal

     21      bacteria,               gram-positive                        bacteria              that            are         in    this           dead        and

     22      dying          tissue            around             the         eye.

     23                    Q.           Did you             request             that         certain             slides                from         the      autopsy

     24      be gram              stained             for        your         review           of this                case?

     25                    A.           I did.

                                                                     Judy A. De1Cog2iano
                                                             0££icia1    Senior Court Reporter



                                                      AXXXXXXXX                                                                   P005267
                                           APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 5 of 21
                                             (Leestma - De.fendant                                      - Direct)
                                                                                                                                      1610                       2119


 1                  Q.          Doctor,                 can      you tell                 the      jury,         what       is        gram       staining?

 2                 A.           What you basically                                   do            and       you can           do it          with          a

 3       smear;          in     other             words,          a cotton                 swab         of      some s~cretion

 4       somewhere,                  put     it         out      under          a glass             slide,           and then             stain             it

 5       with      these             reagents                called         the           gram      stain,           and look             at      it        under

 6       a microscope,                     and they               will          --        these         reagents            will         stain




                                                                                                                                                                      Case 23-753, Document 62, 01/17/2024, 3604338, Page592 of 898
 7       certain          bacteria                 dark          like       this.               Typical            would         be

 8       streptococcus,                      staphylococcus                           and       some others.                     And then              if        it

 9       didn't,          they         would             have         a pink              color,        ..like       the     bacteria                that

10       inhabits             the      gut,             like      E.       coli.             Those           germs        will         have       a pink

11       color,         so they             are          gram negative.                            And the           form,         or     the        way

12       these      two dots                are          together,                 that's           typical           for        streptococcus

13       and particularly                          strep          pneumoniae.

14                 Q.           Why is             it        important               to      gram        stain        a body            slide?

15                 A.           It     tells             you that               there's             bugs         there.               I mean,          if        you

16       look      at     this,            you          say     there           has        to      be    something               there         because

17       of the         cellular                 reaction               and the             way the              tissue          is     dead.

18       Although             you have              a positive                     culture,              it's       not      the        same         as

19       saying,          "There            it      is.           We have                 closed         the       loop      on it."

20                 Q.          And did                  you gram            stain            any        other        slides,            besides              the

21       slide      of the             orbital                 tissues,              as we talked                   about          here?

22                 A.          Again,              I wanted                to      be sure.                  Are    there          bugs         in     the

23       subarachnoid                  space             over        the        brain?              Yes.           Are      there         bugs         in

24       this      tissue             around             the      eye?            Yes.             There         should          be no doubt                     as

25       to     what      the         cause             of     death        is.

                                                                     Judy       A.    Del.Cogl.iano
                                                         Official.          Senior          Co=t        Reporter



                                              AXXXXXXXX                                                                 P005268
                                      APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 6 of 21
                                                                                                                              1611
                                            (Leest:ma                - De£endant                   - Direct)                                              2120


 1                 Q.        Basically,                  all         the      gram          staining           you did              showed            that

 2       the      brain      and the           area            behind          the          orbital           tissues          had          evidence

 3       of this          bacteria,            streptococcus                          pneumoniae?

 4                 A.        Right.

 5                 Q.        What is           the         significance                      of that?

 6                 A.        It      just      closes                the      loop          on the         reason.             Why is              this




                                                                                                                                                                Case 23-753, Document 62, 01/17/2024, 3604338, Page593 of 898
 7       necrotic?             Why are             the         inflammatory                    cells          there?           It's          there

 8       because          there's           bugs,         and         it      tells          you,      when you have                        this       kind

 9       of perfusion                and distribution                          of a serious                    infectious                   organism,

10       that's         --   it's          an advanced                     and disseminated                      disease.                That's

11      very,       very,           very      serious.                     There's           the      cause          of death               sitting

12       right      there           looking         at         you.

13                 Q.        Doctor,           going            back          to      the     previous               slide,         please,               for

14       a moment.            You talked                  about             there       was evidence                    of     clotting

15      problems.              Can you point                         for     the       jury         with       the      pointer              or the

16      pen where

17                 A.        These          blood         vessels              are      distended               with          blood          clots,

18       and there's                rea9tion          in        the         wall       of the          blood          vessel,            and that

19      would       be typical               for      coagulopathy                      and so forth.

20                 Q.        And that's               consistent                      with         coagulopathy                related              to

21       sepsis         or overwhelming                        sepsis?

22                 A.        Sure.           You have                 sepsis           here         and you've                got      it      right

23       next      door.            You've         got         the     whole           story          right          there.

24                 Q.        Can you go back                          a moment               to     the     two prior                 slides           with

25       the      chronic           subdural          hematoma?                       Thank         you,       Doctor.              Based           on

                                                                Judy     A. De1Cog1iano
                                                   0£ficia1            Senior  Co=t   Reporter



                                            AXXXXXXXX                                                            P005269
                                                    APPENDIX
           Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 7 of 21
                                                     (Leestma - Defendant                                        - Direct)
                                                                                                                                          1612                         2121


            1       the      number            of     layers          - you testified                            seven          or eight          layers               - do

            2       you have            an opinion,                  to      a reasonable                        degree          of medical

            3       certainty,                 as to         the     age         of this             chronic              subdural?

            4                 A.          Yes.              In its         totality                 --     I mean,           we have            to      start

            5       from      the       surface              down here              and move down,                         but     the         oldest

            6       material            probably              goes         back                this            child       is     only         four      months




                                                                                                                                                                             Case 23-753, Document 62, 01/17/2024, 3604338, Page594 of 898
            7       old,      and it            certainly              could          go into                  that       time     frame;             not        all        of

            8       this.          Maybe we are                     looking           at       a four-month-old,                          a

            9       three-month-old,                         a_ one-month-old,                           a two-week-old,                      that          kind        of

           10       thing        (indicating).

           11                Q.           And Doctor,                  in        terms         of        risk         factors,           did     you review

           12       the     mother's                obstetrical                  records             in        this       case     to     determine

           13       whether         she        had any              risk         factors             during            pregnancy              and      during

           14       childbirth?

           15                A.           Yes.             There       were         a number.                     This       child        --     when we

           16       take     a look            at         children          that         have            bleeding           in the            dura       and

           17       bleeding            in     the         brain       and then                go back,                there       have         been         a

           18       number         of     studies             that         have       looked              at      that.           What        factors             are

           19       around         that        could          correlate               with           those            things?           And there's                     a

           20      bunch       of them.                    This      child         had         at        least         a half        dozen            of these;

           21      being       early           delivery,               twins,            the         presence              of toxemia                 during           the

           22       pregnancy             in        the     mother.               The presence                        of premature               rupture                of

           23      membranes              is        potential              for     bacterial                    infection.

           24                             Let        me think.                   They      go on,               but       these      would            be all
 .· .. .
....       25 •     things         that        could          put      stress            upon            the      baby      and produce                  bleeding

                                                                         Judy A. De1CogLiano
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                                                           AXXXXXXXX                                                             P005270
                                         APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 8 of 21
                                                                                                                               1613
                                               (Leestma.             - De£endant                 - Direct)                                          2122


 1       in the         brain            in    conjunction                  with        birth.

 2                 Q.         Would meconium                         stained            membranes                 - that         is,     a baby

 3       having         a bowel               movement             in     utero         - would            that          be    a pregnancy               or

 4       birth       complication                     factor?

 5                 A.         It's            an indicator                  of     fetal         distress,                 and     I suppose

 6       just      any       indicator                of     fetal          distress             would            be another             box      that




                                                                                                                                                          Case 23-753, Document 62, 01/17/2024, 3604338, Page595 of 898
 7       you would            check            off         on that          risk        profile.

 8                 Q.         Would preeclampsia                             be a risk                factor?

 9                A.          Yes.

10                 Q.         High            blood         pressure,              would         that        be a factor?

11                A.          Well,            that's          part         of the         preeclampsia                       complication,

12       high     blood           pressure              in     the        mom.

13                 Q.         What about                    obesity          on the            part        of      the        mother?

14                A.          That's              another            one.          Overweight                is      something             that

15       adds      risk.            I'm        not      exactly             sure        where         in     the      alphabet             it

16       comes,        but        it's         there.

17                 Q.         And what                about          breach         presentation                     for       vaginal

18       delivery?

19                A.          That's              another            one.          If    the       presentation                    is    anything

20       other      than          the         usual         head        down situation,                      if     there's             any

21       problem           with          delivery,             and there                often         is     with         twins,         that's

22       another           risk          factor       ..

23                 Q.         What about                    use      of     forceps            during             delivery?              Would

24       that     be a birth                   complication                  factor?

25                A.          True,            forceps,              anything            else         that         indicates             that      it

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                                               AXXXXXXXX                                                           P005271
                                     APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 9 of 21
                                       (Leest:ma - Defendant                                 - Direct)
                                                                                                                           1614                        2123


 1       was difficult                to        get   the      babies           out,         or       they         just        popped           out.

 2       There's          good       news         and bad         news.             A precipitous                     delivery             is      also

 3       connected            with        brain       bleeding             and        so forth.

 4                 Q.         What        about       a bacterial                   diagnosis                 of     a vaginal

 5       infection            of the         mother          at      the      time         of     delivery?                    Would       that          be

 6       a risk         factor?




                                                                                                                                                         Case 23-753, Document 62, 01/17/2024, 3604338, Page596 of 898
 7                 A.         Absolutely.

 8                 Q.         What about              the      fact        that           one     child,            Twin A, was born

 9       with      pulmonary              stenosis?               Does        that         have        any host                in   the         risk

10       factors          of the          birth       process?

11                 A.         That        departs           a little           bit.             I'm      not        sure        what       role

12       that      would         particularly                play.

13                 Q.         What percentage                     of normal               pregnancies                     experience

14       intracranial                bleeding            during          childbirth?

15                 A.         This        has     been       studied.                It      used        to        be thought              it      was

16       quite       rare,         a few percent.                     Now it           turns           out         that        normal,

17       presumably              normal         vaginal           deliveries,                   25 to          40 percent                or more

18       may have            some evidence                of bleeding                  in.the           brain.

19                 Q.         And if         you had           any       of    these            pregnancy                 or    birth

20       complications,                   Doctor,         that        we talked                 about,             how does           that

21       impact,         this        25 or        40 percent,                 the      number           you have                given        us

22       that      have      babies          that      experience                   intracranial                    bl~eding?

23                 A.         It    would         probably            shift          those         babies             further             and

24       further          into      the      25 to        40 percent                 rate.             I don't             know what               the

25       exact      number           correlations                 are,        but      that         clearly               increases              the

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                                           AXXXXXXXX                                                          P005272
                                          APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 10 of 21
                                                                                                                                   1615
                                                 (Lees-tma               -    Defendant.               -    Direct;)                                                2124


 1       risk       for       bleeding.

 2                  Q.          Can you                explain               to        the     jury        how bleeding                     can      occur

 3       during           childbirth?

 4                  A.          Sure.                 The head               has        to     conform           to      the      anatomy                 of        the

 5       birth       canal;               namely,              it    has          to     elongate.                 It     has      to         move and

 6       twist       and        turn        and          so forth,                     although            the            birth             is      not        for




                                                                                                                                                                          Case 23-753, Document 62, 01/17/2024, 3604338, Page597 of 898
 7       sissies.               It's        a traumatic                       process.                 And in            the      course             of that,

 8       the      intracranial                        structures                  have        to      be capable                of moving                  and

 9       being       stretched                   and      strained,                     as well.                And part           of         the      problem

10       with       that       is,         with         molding               of the            head,           that      the      dura,

11       especially              near           the       back           of       the        brain         and     the     tentoriurn,                     it's

12       called,           may be stretched                              and produce                   bleeding            in      those

13       locations.

14                  Q.          So,        in         terms         of       areas           that      you       can      have         bleeding

15       during          childbirth,                    what         would              those         areas        be?

16                  A.         Well,             it      can        occur          anywhere                in    the      dura,             but

17       classically,                     where         all         of the              components               of the         dura              come

18       together,            more          or         less,         near          the        base         of    the      skull             and      the

19       cerebellu.m.                     The dura              there             is     very        vascular,             and         it

20       experiences,                     from         a mechanical                      point         of view,            more             stresses

21       placed          upon        it     during              birth             than        other         areas,         and         it's

22       reasonable,                 therefore,                     that          blood         does        occur         there,              which            it

23       does.

24                  Q.         So,         you         can      have          bleeding                anywhere            in     the          dura         as        a

25       result          of    childbirth?

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                                                AXXXXXXXX                                                                P005273
                                       APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 11 of 21
                                        (Leest:ma. - De£end.ant                                         - Direct)
                                                                                                                                       1616                        2125


 1                 A.          You can,                 sure.

 2                     Q.      And if             you have                 bleeding                in     the         dura,          can      that         flow

 3       to      the    posterior                 fossa?

 4                 A.          Well,             once       you have                 bleeding                  that     goes          into          the

 5       subdural,             quote,             space,           it's            a potential                    space,             but      it      can be

 6       actualized                very          easily.              It          can      respond              to     gravity             and        can




                                                                                                                                                                      Case 23-753, Document 62, 01/17/2024, 3604338, Page598 of 898
 7       redistribute                 itself             in     different                       parts         inside           the      head.

 8                 Q.          And during                  your            review               of the          autopsy              report           in       this

 9       case,         was there             evidence                 that          there              was blood               in.the          posterior

10       fossa         of    this         child?

11                 A.          Well,         we can             see          it     on the              CT scan.                There              clearly

12       was this            process,               an old            one,          with           some recent                  bleeding                 back

13       there,         yes.

14                 Q.          Doctor,             before             I stop               you there,                  do you have

15       additional                slides          that         you would                       like      to     demonstrate                   for         the

16       jury,         Doctor?

17                 A.          Yes,         this         one.

18                 Q.          Can you describe                              for        the        jury         what      is     pictured                  on

19       this      slide?

20                 A.          This         is      lung,          section                 from         the      lung          which          shows

21       virtually             no air             in    it.           It's          all          completely               collapsed.                       And if

22       you look            - you can't                   really             see          it     with         this       section              here            -

23       there         are     acute         inflammatory                          cells           scattered             through               this            and

24       evidence            of pneumonia,                      but          this          is     primarily               collapse                  of     lung

25       tissue,            most      likely            because               air          didn't          reach          it     through                 the

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                                             AXXXXXXXX                                                                  P005274
                                       APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 12 of 21
                                         (Leestma - De£endant                                     - Direct)
                                                                                                                                   1617                    2127


  1       how many of these                        scarred               areas         were       there.                If     there         was some

  2       element           of pulmonary                   stenosis,               the         heart         has        to    work         harder           to

  3       pump blood,                 and     that         is      reflected               in     a nonspec_ific                      way in

  4       another           section           of     the        heart.             So,      this         child           came         into        this

  5       situation             with         a damaged                 heart       for      a.variety                   of     reasons,              and

  6       that's          the     load        this         child          has      to     deal         with.




                                                                                                                                                                 Case 23-753, Document 62, 01/17/2024, 3604338, Page599 of 898
  7                  Q.         You can            take         the       stand          again,          Doctor,              please.

  8       Doctor,           you      just      touched                 upon      earlier              that         you have            experience

  9       in    reading           CAT scans               and ultrasounds.                             How many·years                        have          you

 10      been        interpreting                  these           things?

 11                  A.         Oh,      a long,            long          time.

 12                  Q.         Not      to    date         your          age,         Doctor.

 13                  A.         I'm      70 years               old.           But      anyway,              for     40 years                or      so.

14                   Q.         And as part                 of this              case,          did      you have                  a chance           to

15       review           an ultrasound                   from          St.      Mary's          Hospital                from        May 14,

16       2008,        approximately                   ten          days        after        these            children               were      born?                   I

17       draw        your       attention             to        that,          Doctor.             Can you               rule        out      the

18       existence              of     a subdural                  hematoma             based          simply            on that

19       ultrasound?

20                   A.         No,      I can't.

21                   Q.         And can            you      explain              that      position                to        the     jury?

22                   A.         Ultrasound,                 it's          a wonderful                  technology                   that      seems          t~

23       be getting               better           and better                  and better                all       the        time.           It's

24       noninvasive.                   It     doesn't                 produce          radiation               or       damage            anything,

25       as    far        as we know,                and        it's          a good       way if              you have              worries

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                                                     0££icia1.           Senior         Co=t      Reporter



                                              AXXXXXXXX                                                             P005276
                                             APPENDIX
       Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 13 of 21
                                                                                                                                           1618
                                                     (Leest:ma             - De£endan.t                  - Direct)                                                          2128


         1       about        bleeding             or      some process                   inside          the         head,            especially                       with
.•.·

         2       a baby,          because            the         skull         isn't          very      thick,             you can                 do an

         3      ultrasound.                  But          like      any other                 sort       of     screening                   test,                it's

         4      not      as      sensitive                as other             methods,              and you can                     get      false

         5      negatives,              and        I would              say     the       incidence                 of     false            negative

         6      exams         - that         is,        when there's                    really          nothing                there          but               you pick




                                                                                                                                                                               Case 23-753, Document 62, 01/17/2024, 3604338, Page600 of 898
         7      it     up - is         probably                  higher         with          an ultrasound                      than         false

         8      positives.                 So,       if     you have              a lesion              that          you can               see             with        an

         9      ultrasound,                it's         probably               there,          and~hen                you may want                              to    do

       10       some other              studies             to      define             further          what          it       is.          So,             a

       11       negative           study,           you cannot                  necessarily                    go home with                        a

       12       comfortable                feeling               that      there's             nothing           there.                    Probably                   more

       13       likely         than        not,         there's            nothing             there,           but        you        can't             be sure.

       14                 Q.          And might                  a small          amount             of a bleed                 not         appear                   on an

       15       ultrasound?

       16                 A.          Yes.          That          happens.                I have          encountered                       that

       17       situation             where,            by extrapolating                         back,         where            there              should               have

       18       been      something                there,           and then             reviewing               the           studies                 --

       19       sometimes             there's             technical              reasons;               the      study               wasn't             very            good

       20       or the         technician                 didn't           have         the      magic         in        the         fingers                    to make

       21       things         come out             right.               And by all                  rights,             the         study             is

       22       negative,           but       there              had to         be something                   there,                but      it        was below

       23       the      level        of    detection                   of the          instrument.

       24                 Q.          Might         there           be any lag                time        in     the           appearance                        of     a

       25       subdural           hematoma                such         that     it      may not              appear            on an ultrasound

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                                                   AXXXXXXXX                                                              P005277
                                           APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 14 of 21
                                            (Leest:ai.a - Defendant                                        - Direct)
                                                                                                                                         1619                      2129


 1       performed                 ten      days            after         a premature                      birth       of 33 weeks?

 2                    A.           Yes.          That            doesn't              mean the              birth       is     the            only        thing

 3       that's            going          on.           This           child          is     trying           to    adapt           to     be a full

 4       newborn.                  Other         things                can      occur.              And who knows?                         A process

 5       may have             begun            after             the      ultrasound                  was taken.                    It's        just        --

 6       you can            certainly                   have           processes               that         have       a beginning                    but      are




                                                                                                                                                                      Case 23-753, Document 62, 01/17/2024, 3604338, Page601 of 898
 7       small         and minimal,                         I guess,              that         do evolve               into         something               like

 8       what     we see                here          in     this         child,             and you see                that         all        the        time.

 9                    Q.           And what's                    the      most         diagnostic                  way to           --        I guess

10       strike            that.           Is      a CAT scan                    more          --     a better             way to              take        a look

11       at     the                that        particular                      area         of the          body?

12                A.               Sure.           A CT scan                    is     a good          technology.                       MR is         better.

13       The trick             with            these             things          is        you get           radiation               from           a CT

14       scan,        a lot             more       than           you get              from         a chest           film,          and        a

15       developing                 brain          is        something                 you don't                 necessarily                  want        to

16       irradiate                 if     you don't                 have         to.           So,     consequently,                       there's             a

17       cost     benefit.                     There             are      risk         benefit              equations           you           have        to

18       work on.

19                             An MR, on the                            other          hand,          is     much more               expensive.

20       You probably                     have         to        sedate          the         child          in     order       to        do that,              and

21       then     you can                 really             get        information.                        But,     you know,                  how badly

22       do you need                    that       information?                            Do you have               reason              to     go there?

23       Maybe not.

24                Q.           Which             is        the         least          expensive              means         of doing                 the

25       imaging?

                                                                        Judy     A.        Del.Cogl·iano
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                                                 AXXXXXXXX                                                                P005278
                                        APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 15 of 21
                                         (Leestm~ - Defendant                                      - Direct)                      1620                     2139


 1       of   it.

 2                  Q.        And in           terms          of the            subarachnoid                   hemorrhage                    mentioned

 3       in   the         autopsy         report,             how serious                     is     that,         Doctor?

 4                  A.            I think        that         is       strictly               incidental.                       This        child         was

 5       on a respirator,                      had      virtually                 no circulation                          going        to        the

 6       brain       because             of    the      vast         intracranial                      pressure.                   And in           the




                                                                                                                                                                Case 23-753, Document 62, 01/17/2024, 3604338, Page602 of 898
 7       course           of this         brain         sitting               there           without          any blood                    pressure

 8       in   it      for     two        days,        basically                --       all        of these           brains                that       come

 9       to   autopsy             have        subarachnoid                    hemorrhage.                    So,          it     has        no

10       particular               meaning.

11                  Q.        And do you have                        an opinion                    as to       the             cause        cf     this

12       child's            coagulopathy                problems,                 Doctor?

13                  A.        Sure,           sepsis.

14                            Doctor;            perhaps             the       next           question,              if         I could            ask      you

15       to   come down.                  We are            going        to       need         the      easel,             please.

16                                           (Discussion                off       the         record         at      the         bench.)

17                                        THE COURT:                    Members               of the         jury,.             we are           actually

18                  going         to    break         for       lunch          at     this          point.            We are                going         to

19                  stop      until           quarter           cf      two.          We will               break          until            1:45.           I

20                  ask      you,       please          do not             discuss             this         case      among            yourselves

21                  or with            anyone         else.             Do not           read          or    listen              to    any

22                  accounts            of     this         case.             Do not           visit         any premises                        involved

23                  in     this        matter.              Do not            conduct              any research                    involving

24                  this      case.            Do not           request             or accept                any payni.ent                   in     return

25                  for      supplying            any         information                     regarding             this           trial.              Do

                                                                Judy     A.     De2Cog2iano
                                                     0££icia2          Senior      Court Reporter



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                                                                                                                    P005288
                                        APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 16 of 21
                                                                                                                                                 1621
                                               (Zi2esr:ma                   -    Defe:ada.:ct              -     Di.zect)                                                  2158


        l                       Besides               the         microscopic                     slides,                  did         you       see        any       --

        2   based         on your         review                 in     this        case,             did        you            see        any     evidence                of

        3   anv      external          problems                   within            the       child's                     eyes        that         indicated                   to

        4   you      an infection?

        5                                      In          the        tissues             of the                orbit            surrounding                    the

        6   eye,      that's         primarily                    where            the     worst                infection                   and       abscess




                                                                                                                                                                                    Case 23-753, Document 62, 01/17/2024, 3604338, Page603 of 898
        7   formation           w.as.

        8             Q.        As part               of vour                   review        of       the            autopsy               report,             was

        9   there       an examination                           done           of the        sinuses                     as part            of       the       auto;sy

10          report?

11                              No.         Bv that,                    I mean when the                              brain            is     taken           cut,

            then      you have          tne           e0.:;:;ty skull                  base       1    and there                      are        a number              cf

13          paranasal           sinuses               that            are        reachable                 through                bone           of      that         skull

14          base,       and none            of        those            were         opened             or        examined.

15                    Q.        And what                   is     the           significance                     --        or what               would          you

16          look      for,      Doctor,               if        you are             doing             an examination,                             what          would

17          you look           £or    in      doing               an examination                           of        the         sinuses?

70
_'..)                           Well,         in           the        face        of      sepsis               due         to     this           particular

19          organism,           sinus         infection                         would      be way high                           on the           list          for        a

20          locus      where         this        whole                thing         began,             and           it     would            be appropriate

21          to     open      those      - it           takes             just          a few minutes                             - to        see       what's              in

22          there.           And if         you        find            pus        in      one         of       the         sinuses,               by dire::::t

            extension,           that's               probably                   how it         got            into         the        brain.               And it's

24          incumbent           upon        'JO'J.,         if        you are             there            to        try         to    find           out       what

25          v1ent     on              the        child                like        this,                                   got     to       collect              the

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                                             AD00002029                                                                           P005307
                                            APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 17 of 21
                                             (Least:cn.a - Defendant                                         -    :bi:rec-t)
                                                                                                                                        1622                      2159


  1      evidence,                   and     it      wasn't.

 2                                   The autopsy                    report            refers            to macrophages                       being          on the

  3      brain.                Is     that         the           same      thing           as pus?

  4                 A.               Yes and no.                        Macrophages                    are         scavenger            cells          that

 5       take        a few days                    to       reach          a site           of         injury.              There           are     other

  6      cells              that      get         there           first         called            polys.                 They     come from                 the




                                                                                                                                                                        Case 23-753, Document 62, 01/17/2024, 3604338, Page604 of 898
 7       blood.                And,         so,      the          pus      is    really                the        collective                of    dead

  8      cells,              whatever              they           are,        inflammatory                        cells.          There           might           be

  9      some blood.                       There's                necrotic             or dead                   tissue,        fluid            and

10       organisms.                       So,      it's           the      gunk        that        builds                up in        the        gutters,              so

11       to       speak.

12                  Q.               In which               eye         did     you find                evidence               of bacterial

13       in:ceCL.lOn. ?
          '   ~     .l...




14                                   I think              it's          in both            of them,                 actually;            more          on the

l5       right,              tissues              around           the        right         eye         that          I found          that.

16                  Q.               Doctor,              can      you tell                us,     what             is     bacterial

17       meningitis?                       What is               meningitis                 first?

18                                  Well,          meningitis                   is     an inflarruuation                        of     the        coverings

19       of the              brain.

20                  Q.              And what                is     bacterial                meningitis?

21                  A.               If    it's           bacteria,              that's                the        thing        that         caused          it.

22                  Q.              Can you please                         explain               the      natural              progression                  of

23       bacterial                  meningitis?

24                  A.               Sure.           The process                      --    bacteria                  don't       just           usually           ge+

25       there              unless         there's                an open            head         wound;              sometimes              with       gunshot

                                                                          Judy A. De2Coq1iano
                                                            0££icia2          Senior Court Reporter



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                                                    APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 18 of 21
                                                     (L,sss-tma - Dafe:nda:n.t                                      -    Di::cecr.)                 1623
 1      in     the              coverings                   of the           brain.                    It        looked             creamy         and      green,          and

 2      that's                  the      first              tip      off.             It         isn        1
                                                                                                                t the         end     of     it.          Then      ~/OU.     go

 3      to     the              microscopic,                       and there                     it      is.            And the             further

 4      explanation                           or nail              down of that                          fact           is     the      fact        there         is

 5      organisms                       there.                So,       it     looks                  like        it,         smells         like         it,     tastes

 6      like          it.               I mean,              that's            pretty                  gross,            but         never         mind.          We have

 7      at     least               three             levels             of proof                      of meningitis                    in      this         case.




                                                                                                                                                                                   Case 23-753, Document 62, 01/17/2024, 3604338, Page605 of 898
 8                    Q.                And how serious                          is         a bacterial                        meningitis                 infection

 9      in     a four-month-old                                    premature                     baby?

10                A.                    Very         serious.                  In real                   young               ones     --     well,          babies          of

11      this      age              that             are      not        infected                  with            pneumococcus,                     but         a more

12      com.man organism                               called            H flu              --         H flu            is     a more          benign            form       of

13      meningitis                       that          not         many kids                     die            of because             it      gets        diagnosed

14      and      is             easily              treatable.                  Pneumococcal                             meningitis,                     on the        other

15      hand,           is         a worse                 actor,            and the                   whole            survivability                     depends           on

16      discovery                       and         treatment.

17                Q.                    Doctor,              do you have                         an opinion,                    to     a reasonable

18      degree                  of medical                   certainty,                     if         trauma            caused             sepsis,

19      overwhelming                            sepsis             in    the        case               of this               baby?

20                A.                    Is      trauma             related             to         the            sepsis?              I would             say     not.

21                Q.                    Can you              explain            your              opinion,                    Doctor?

22                71
                  J:l       0           Well,             first         of     all,          how would                        a tr2umatic                 episode,

23      whatever                   it         is,      to         be defined,                     produce                bacteria?                  It      can 1 t

24      produce                  bacteria.                        How does             it         help            to     introduce                 bacteria            into

25      a system,                       the         blood          or the           brain                or whatever?                        Now, if             you had

                                                                             Judy     A. De2Cog2iano
                                                                  Officia2          Senior  Court Reporter



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                                       APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 19 of 21
                                        (Leest-m::i - Defsn.dant                                      -     D:iz:ect:.)
                                                                                                                                             1624                  2162


 1      an open          head        injury            1    that         1
                                                                             s traw--r,2,            and there               1
                                                                                                                                 s contamination.

 2      That's         how it         could                get      in        there.              That's             the         easiest            way.            In

 3      terms       of    just        some traumatic                               episode,                blows       and            comoression                  to

 4      the      bowel        and the                abdomen                 can       open       up bacteria                     into        the

 5      bloodstream               from           the        gut.              But       in     terms           of     just            --     or     a

 6      fracture          going        through                    a sinus.                   Those          are       about            the        only           ways




                                                                                                                                                                          Case 23-753, Document 62, 01/17/2024, 3604338, Page606 of 898
 7      that      I would            imagine                making              sense.

 8                Q.          And in             this            case,          was there                  any       evidence                of     any          skull

 9      or nasal          fracture               1    Doctor?

10                A.          No, no.

11                Q.          Do vou have                    an opinion,                       Doctor,              as to             whether

12      repeated          bouts        of head                    trauma            could            cause          this          baby        to

13      aspirate,             therefore                    causing              pneumonia                  leading               to    sepsis?

14                A.          Many things                    are             possible.                It       just        doesn't                --       the

15      evidence          isn't        there                to     enable              me to          start           going            down that                  kind

16      of     2 scenario.                  It        doesn't                 make a lot                  of      sense           to       me.

17                            Was there                    any     evidence                  in      the       records                vou     reviewed

18      that      this        child         had            any     evidence                  of      aspiration;                      that        he had

19      aspirated?

20                A.          I couldn't                    find             anything,               and I don't                      think         it's

21      written          in    the     autopsy.

22                Q.          Did you                find         any         evidence               in     the       case            of     this          child

23      that      supports            the            prosecution's                       theory             that       blunt               force           trauma

24      caused         this       baby's              problems?

                                       MS. BOOK:                             Objection,               Your Honor.

                                                                   Judy        _lJ.. Del.Cogl.i-2...no
                                                      0££icia2                Senior         Court        Reporter




                                                 AXXXXXXXX                                                                  P005311
                                               APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 20 of 21
                                                                                                                                       1625                           2163


 1                                                   THE COURT:                  Basis?

 2                                                  MS. BOOK:                   Your    Honor,            he's          already             given            his

 3                     opinion                many         times.               This    has      been          asked            and       answered.

 4                                                  THE COURT:                   Overruled.
                       7\
 5                     r"l..         Blunt           force          trau..m2. is             a notoriously                      fuzzy       1     gr2.y

 6       description,                         but     we are           basically               talking            about             an i:npact                   of

 7       some sort                   that's           not         sharp          and    cutting            and         that         could             be




                                                                                                                                                                            Case 23-753, Document 62, 01/17/2024, 3604338, Page607 of 898
 8       inflicted                   or       accidental.                   The important                      part        of       an impact

 9       injury                  scenario            is     where          is     tne        impact?             What         are         the         effects

10       of      it?              And in         this        particular                 c2.se,          I'm      not       at       all         convinced

11       th2.t         there             is    an impact               site        that        is       a good           candidate                    on the

12       head.                 The only              one     that          might        be is           this      right             pariet2.l                thing

13       that          doesn't                have        any      associated                 deep       scalp          bleeding                 to        it.

14                                   The other               things              are 1 if        it's          an impact                  injury             to       the

15       head,              then      where           is     the       brain           injury?             This          child            had         chronic

16       fluid              collections                   on both           sides         of the           brain.                The amount                      of

17       acute              bleeding             in       this       process            is     minimal;               mostly              posterior.

18       So,      if           there's           a great             big         subdural           hematoma               caused               by trauma,

19       where              is     the        acute         bleeding?                  I don't           see      it.            So,        we have                an

20       ongoing                  process.                Could        trauma           have        occurred?                    I suppose                   so,

21       but      I can't                 find        a great              big     headline              here         in      the         evidence                 to

22       help          me take                that        path.

23                     Q.            Doctor,              can      you rule             out,        to     a reasonable                         degree             of

24       medic2.l                 certainty,                that       traurna          caused           this          child's              death?

25                                   I could               say      yes,         and    on the           other           side          of       it,        I don't

                                                                       Judy       A. DelCoqlia._~o
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                                           APPENDIX
Case 1:17-cv-00626-DJS Document 156-3 Filed 09/20/21 Page 21 of 21
     11
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      I

 l        .::ind     a:1y persuasive                    evide;:-ice             that        head        traurr,a        was      important             in

 2        this       child's              demise.

 3                   Q.           And Doctor,                   what      caused            the      death         of    this         child?

 4                  A.            What      does       what?

 5                   Q.           What was the                    cause         of     death         of    this         child?

 6                  A.            Sepsis       and          bacterial                 infection            that         led      to     meningitis




                                                                                                                                                              Case 23-753, Document 62, 01/17/2024, 3604338, Page608 of 898
 7        and      abscess           around           the         eyes     and bacteremia.

 8                                          MS. EFFMAN:                    No further                   questions.

 9        CRO.SS-Z?..AMINATION

10        BY HS.             BOOK:

11                  Q.            Hello       again         1    Doctor.

12                  71
                    .:.-..:.."    Good afternoon.

13                  Q.            Let's       talk          about

14                                          THE COURT:                    Do you have                   an issue?

15                                          MR. FROS':!:':                I'm         sorry        to     interrupt,              but       Ms.

16                  Effillan         asked       if         she        could         have         a couple          seconds            to     consult

17                  ~ith          me.       We are              consulting.

18                                          THE COURT:                    I thought                she     said         no more

19                  questions.

20                                                                         I apologize.                       I may have                one    or two
     I
21   II
                   more           questions.

22   il                                       (Continuing)

23   ll             Q.            Doctor,        do you have                     an opinion,                 to     a reasonable

24        ~egree             cf   medical        certainty,                     as     to     what        caused         the      increased

25        intracranial                  pressure                that      caused            the     retinal             hemorrhages               in

                                                                  J2d7     A.        De2Coq2iano
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                                              }\000002035                                                           P005313
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page609
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1627
                                                               1 of 33
                                                                            1


 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                               Plaintiff,

 5                   - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                               Claimant,

13                   - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                   DEPOSITION of Plaintiff/Claimant, ADRIAN P.

18   THOMAS, held on the 20th day of August 2019, commencing

19   at 9:26 a.m., at the Law Offices of Bailey, Johnson &

20   Peck, P.C., 5 Pine West Plaza, Washington Avenue

21   Extension, Albany, New York 12205, before Jeanne

22   O'Connell, Registered Professional Reporter and Notary

23   Public in and for the State of New York.
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page610
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1628
                                                               2 of 33
                                                                            2


 1   APPEARANCES:

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 8
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 9   5 Pine West Plaza
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10   Albany, New York 12205
     By: Crystal R. Peck, Esq.
11   Attorneys for Michael Sikirica

12   New York State Office of the Attorney General
     The Capitol
13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:       Katherine Hamilton
15

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23
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page611
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1629
                                                               3 of 33
                                                                               73


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      A.    Yes.

 3      Q.    Did anybody else play a role in that?

 4      A.    The grandparents.         When I'm not around, the

 5   grandparents or one of her brothers.

 6      Q.    And the grandparents, you're talking about

 7   Wilahemina's parents?

 8      A.    Yes.

 9      Q.    And are they from Georgia or are they from New

10   York?

11      A.    One parent is from New York.              That's Inga.     And

12   the father, I think, is from Mississippi, I believe.

13      Q.    What caused Wilahemina to work at the chicken

14   factory in Georgia when you guys met?

15            Why was she there?

16      A.    The father moved to Georgia, so the family left

17   New York and came to Georgia to be close to one of his

18   relatives.

19      Q.    And what caused them -- and by them, I mean the

20   grandparents, Wilahemina's parents, to move back to New

21   York?

22      A.    I don't actually remember why.

23      Q.    Now, who was responsible for tending to the twins
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page612
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1630
                                                               4 of 33
                                                                            74


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   primarily?

 3            When I say tending, I mean changing, feeding,

 4   doing those sorts of tasks.

 5      A.    Wilahemina was.

 6      Q.    She primarily took care of those functions or

 7   tasks?

 8      A.    Yes.

 9      Q.    And where did the children, the twins, sleep?

10      A.    In the crib.

11      Q.    Where was that located?

12      A.    That was in our bedroom.

13      Q.    Whose bedroom?

14      A.    Our -- Wilahemina and mine.

15      Q.    And was it one crib or two cribs?

16      A.    It was only one.

17      Q.    And they slept together in the same crib?

18      A.    Yes.

19      Q.    Where did the other children sleep?

20      A.    They slept in the other bedroom.

21      Q.    How many?

22      A.    One.

23      Q.    All of the other four children slept in one
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page613
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1631
                                                               5 of 33
                                                                               129


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      Q.     Was M           still not taking full dose, as you

 3   mentioned earlier?

 4      A.     Wasn't taking the whole bottle.

 5      Q.     Go ahead.

 6      A.     After that, she changed both children's diapers,

 7   and she tried feeding M                   again.    And then he still

 8   was rejecting a full bottle.              So, she laid M            back

 9   into the crib, and she kept M                   .   She was more

10   attentive to M            w.   And then she laid him back down

11   in the crib.       Then she said about 20 minutes later he

12   finally went to sleep.          And then I laid down.           And that

13   was it.     We went to bed.

14      Q.     And where was M             ?

15      A.     He was in the crib, as well.

16      Q.     So you went to bed.

17             And what happens next?

18      A.     She woke me up, shaking me to get up, and she

19   said, M           's not breathing.         So I got up.       I picked

20   him up, checked his pulse.            And I checked his pulse.            I

21   dialed 911.

22      Q.     What caused you to dial 911?

23      A.     Because he wasn't actually breathing like he
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page614
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1632
                                                               6 of 33
                                                                               139


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      A.     After my mother-in-law just left.

 3      Q.     And what door did you say you locked?

 4      A.     I locked the front door.

 5      Q.     Tell us -- then what happens, you go in the

 6   shower?

 7      A.     I was taking my clothes off, just hopped in the

 8   shower.     Before I could lather the soap in, I started

 9   washing my body.        I heard a knock on the door.                I dried

10   back off, put my clothes back on.               And I answered the

11   door, and it was two detectives there.

12      Q.     And who were they?

13      A.     They introduced themselves as Adam Mason.

14      Q.     And who was the other one?

15      A.     The other guy with him was named Ronald Fountain.

16      Q.     And what did they say?

17      A.     They said, we're here to talk with you about your

18   son.

19      Q.     And what did you think at that time?

20      A.     My mind was blank.

21      Q.     What do you mean?

22      A.     I didn't know what to think.

23      Q.     And did you say anything in response to them?
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page615
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1633
                                                               7 of 33
                                                                              140


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      A.    I said, come in.         I told them to come in.

 3      Q.    Then what happened?

 4      A.    I told them about -- about I was awakened by my

 5   wife and about his breathing, about his condition that

 6   he was in from what I saw.            And I told them about

 7   everything that happened from that moment all the way up

 8   to the paramedics came.

 9      Q.    Just the way you described it to me today?

10      A.    Yes.

11      Q.    And what, if anything, did they say?

12      A.    They asked me what happened before.                I said, we

13   gave him a bottle that -- that night when we fed him,

14   and they had that -- he had a fever over a few days.

15   And that was it.

16      Q.    And what did they say?

17      A.    They said, okay, we'll be back.               We're going to

18   the hospital.

19      Q.    And did they leave?

20      A.    Yes.

21      Q.    Did you go with them?

22      A.    No.

23      Q.    What did you do?
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page616
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1634
                                                               8 of 33
                                                                             147


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      Q.    A day, two days, three days, less than a day?

 3      A.    I'm not understanding.

 4      Q.    Sure.

 5            I'm trying to understand how long of a time

 6   period you were in that room the first period of time.

 7            Was it longer than a day, shorter than a day, a

 8   couple of days?

 9      A.    It was just -- I was in that room for one day,

10   for my first day of questionings, for some hours.                   I

11   don't remember how many hours.

12      Q.    And did you go anywhere after that?

13            What caused you to leave that room?

14      A.    I remember telling them, if my son died, I would

15   jump off the bridge, and they took me to the hospital.

16      Q.    Which hospital?

17      A.    I think Samaritan.          I'm not sure.

18      Q.    And what happened there?

19      A.    When they took me to the hospital, they took me

20   on the third-floor psych ward.              They met with some

21   doctors, talked to some doctors, without me being

22   present.     And I was in a room being watched by a guard.

23   And they left.
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-4 3604338,   Page617
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1635
                                                               9 of 33
                                                                            148


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2      Q.    And who's they?

 3      A.    Adam Mason and Ronald Fountain.

 4      Q.    And how long did you stay there at Samaritan?

 5      A.    I stayed there maybe two days.              24 to 48 hours, I

 6   believe.

 7      Q.    And did you speak to anybody while you were

 8   there?

 9      A.    I was escorted into a room.

10                    MR. KLEIN:     She's not asking where you

11            went.    She's asking:        Did you speak to

12            anyone while you were there?

13                    THE WITNESS:      Yes.

14   BY MS. CALABRESE:

15      Q.    Tell me about that.

16      A.    I talked with a guy that was watching me.

17      Q.    The guard?

18      A.    Yes.

19      Q.    What did you talk about?

20            Tell us about that conversation.

21      A.    He just asked me what did I do.               What did I do to

22   be -- to come there.          He asked me was I working anywhere

23   before I came there.          I told him no.        That was it.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page618
                                           Filed 09/20/21    of 10
                                                          Page
                                                                      1636
                                                                898of 33
                                                                                    149


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    What did you tell him when he said, what did you

 3   do to have to come there?

 4       A.    I told him, I don't know what happened.                     I just

 5   was being brought by the police.                And that was it.

 6       Q.    That's all you said to him?

 7       A.    Yes.

 8       Q.    And did you speak to anybody else when you were

 9   there, doctors, nurses, anybody?

10       A.    Yes.     I was brought into another room after -- I

11   think it was the next morning.

12       Q.    Tell me about that.

13       A.    And there was a group of people on the inside of

14   a room.     And one doctor had spoke and asked me what was

15   going on.        And I told him what had happened.              I told him

16   about the morning that my son -- I was awaked to my

17   son's condition and told him what happened all the way

18   to the cops came and CPS workers came.

19             And they listened.          He told me to step back

20   outside.      From there, I went back to that same room

21   where I was being watched.             And that was it.

22       Q.    And what did you do in there?

23       A.    Just looked out of a window.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page619
                                           Filed 09/20/21    of 11
                                                          Page
                                                                      1637
                                                                898of 33
                                                                             150


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    For how long?

 3       A.    For hours.

 4       Q.    And then what happened?

 5       A.    I was taken to the front door of the place, and I

 6   was greeted by Adam Mason.

 7       Q.    And what was your understanding about what was

 8   happening?

 9       A.    My understanding was, he was taking me back down

10   to the station to talk.

11       Q.    And did you agree to go?

12       A.    Yes.

13       Q.    And did you go back to the station?

14       A.    Yes.

15       Q.    And tell us what happened when you got there.

16       A.    He led me to a hallway and told me, when I got in

17   the room and sit down, if I get up and go towards the

18   door, I would be charged with escape.                  And then I was

19   brought into the room.

20       Q.    And at that point, when he's telling you this,

21   what are you thinking?

22       A.    My mind went blank.

23       Q.    It went blank again?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page620
                                           Filed 09/20/21    of 12
                                                          Page
                                                                      1638
                                                                898of 33
                                                                             151


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    Yes.

 3       Q.    So you didn't have --

 4       A.    I didn't know what to think.

 5       Q.    You didn't have any thoughts in your head?

 6       A.    No.

 7       Q.    And so, what did you do?

 8       A.    I walked in the room and sat down and waited for

 9   him to come inside.

10       Q.    But earlier, prior to you being brought to what

11   you are calling Samaritan, why didn't you leave at that

12   time during your conversation?

13             How come you didn't leave before you made those

14   threats to self-harm?

15       A.    I thought I couldn't leave.

16       Q.    Well, if they said, come on, I want you to come

17   down, you said yes, why did you think you couldn't

18   leave?

19       A.    I just thought I couldn't leave.

20       Q.    They never told you you couldn't leave, correct?

21       A.    Not at that time.         No.

22       Q.    So they never said, you have to stay here, right?

23       A.    Correct.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page621
                                           Filed 09/20/21    of 13
                                                          Page
                                                                      1639
                                                                898of 33
                                                                             152


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    And so, you were there.            In your own mind, you

 3   thought you couldn't leave.

 4             And you made the threats and went to the

 5   hospital, correct?

 6       A.    Yes.

 7       Q.    And then agreed to go back, correct?

 8       A.    No.    I was met at the door --

 9       Q.    Right.

10       A.    -- of the hospital.

11       Q.    The hospital.

12             And they asked you to come back to the station,

13   correct?

14       A.    Yes.

15       Q.    And you agreed to go back?

16       A.    Right.

17       Q.    During that time of the ride from the hospital to

18   the station, did you have a conversation with them?

19       A.    No.    They was quiet.

20       Q.    Were you quiet?

21       A.    I was quiet, as well.

22       Q.    Did you ask them any questions about why you were

23   there, what you were doing?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page622
                                           Filed 09/20/21    of 14
                                                          Page
                                                                      1640
                                                                898of 33
                                                                                 153


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    No.

 3       Q.    And then you went back to the station.                  This is

 4   when you say they told you about escaping.                    You said,

 5   when you went to the room --

 6       A.    They told me in the hallway.

 7       Q.    -- that, if you were to leave, it would be

 8   considered escape?

 9       A.    If I get up from the chair and go towards the

10   door of that room, I would be charged with escape.

11       Q.    And you had no thoughts in your head at this

12   point?

13       A.    Right.     They told me, go in there and sit down.

14   And that was it.

15       Q.    Did you think you were in trouble in any way?

16       A.    I didn't know what to think.

17       Q.    At any point in time prior to this moment, did

18   you think you were in trouble?

19                    MR. KLEIN:      Objection to form.

20                    THE WITNESS:       My mind was blank.

21   BY MS. CALABRESE:

22       Q.    So you said earlier that you had never had any

23   interaction with law enforcement where you were in
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page623
                                           Filed 09/20/21    of 15
                                                          Page
                                                                      1641
                                                                898of 33
                                                                                   168


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    And so, you're saying that this entire statement

 3   that you gave to the police was a lie; is that right?

 4       A.    Yes, of course that's a lie.

 5       Q.    You're saying that they coerced you into making

 6   this statement?

 7       A.    Yes.

 8       Q.    Tell me about your mindset that allows you to say

 9   things that are not true about the injuries to your son.

10             What were you thinking at that time?

11       A.    I was thinking about my son's condition.                     I

12   didn't know -- I didn't know how he got into that

13   condition.       All I remember is that we, Wilahemina and I,

14   laid down and I was awakened to his condition.                        I had

15   never been in trouble before.              I was worried about him.

16   I was worried about my children after they was taken in

17   front of my eyes.         I couldn't do nothing as a man to

18   hold on to my children.            So I couldn't sleep.

19   Everything was going through my mind at the time.

20       Q.    So how does that relate to you making up this

21   story about how he died?

22       A.    I felt I had no other choice.              That's what he

23   really wanted me to say.            That's the reason why I
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page624
                                           Filed 09/20/21    of 16
                                                          Page
                                                                      1642
                                                                898of 33
                                                                             169


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   repeated those suggestions in that type of order.

 3       Q.    So you're saying all the words that you wrote in

 4   Defendant's B, the ten-page statement, were comprised of

 5   suggestions that were given to you.                 The words that

 6   police used were the words you repeated.

 7             Is that what you're saying?

 8                     MR. KLEIN:     I'm just going to note an

 9            objection.

10                     He didn't write the statement.

11                     MS. CALABRESE:       I understand that.

12   BY MS. CALABRESE:

13       Q.    Is that true?

14       A.    Is what part true?

15       Q.    The question is, the statement that you gave

16   that's audio taped --

17       A.    Okay.

18       Q.    -- and videotaped, those words that you used to

19   describe what happened to M                   , you're saying that

20   the police provided those words to you, that they were

21   not your own words?

22       A.    The suggestions on the bumping and throwings, the

23   slamming, all that, yes.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page625
                                           Filed 09/20/21    of 17
                                                          Page
                                                                      1643
                                                                898of 33
                                                                             170


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    And as you sit here today you're saying that

 3   never occurred?

 4       A.    I'm not saying it -- no.            Yeah.     That never

 5   occurred.        Yeah.   No.

 6       Q.    So you never slammed him?

 7       A.    No.     I never slammed him.

 8       Q.    You never bumped his head?

 9       A.    No.

10       Q.    You never threw him in the crib?

11       A.    No.

12       Q.    You never bumped your head onto his head?

13       A.    No.

14       Q.    None of that occurred?

15       A.    None of that.

16       Q.    It's all not true?

17       A.    That's not true.

18       Q.    It's all a lie that you stated on the record?

19       A.    Yes.

20       Q.    Now, are you aware that M                    had multiple rib

21   fractures?

22       A.    When?

23       Q.    He was discovered to have multiple rib fractures
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page626
                                           Filed 09/20/21    of 18
                                                          Page
                                                                      1644
                                                                898of 33
                                                                              172


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   BY MS. CALABRESE:

 3       Q.    How did he get those fractures?

 4       A.    I don't know.

 5       Q.    Isn't it true that you would often squeeze him

 6   when you were upset because he was crying?

 7       A.    No.

 8       Q.    You would also discipline M                    and M          in

 9   the same way that you did with the other children,

10   correct?

11       A.    That's false.

12       Q.    After you provided these statements to the

13   police, you were arrested?

14       A.    That's a question?

15       Q.    Yes.

16       A.    Yes, I was arrested.

17       Q.    Placed in Rensselaer County jail?

18       A.    Yes.

19       Q.    Shortly thereafter, members of the child

20   protective services department came to interview you,

21   correct?

22       A.    Yes.

23       Q.    Do you recall who they were?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page627
                                           Filed 09/20/21    of 19
                                                          Page
                                                                      1645
                                                                898of 33
                                                                             173


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    I spoke with a guy named Jasper.

 3       Q.    Was that the same guy who you mentioned earlier

 4   who came to talk to you about one of the little ones

 5   leaving the house unsupervised?

 6       A.    AJ.    Yes.

 7       Q.    So you were familiar with Jasper?

 8       A.    I only seen him one time before.               Yes.

 9       Q.    So you knew who he was.            He wasn't a stranger?

10       A.    Correct.

11       Q.    You knew why he and the other person -- was the

12   other person male or female?

13       A.    I only met with Jasper.

14       Q.    At the jail?

15       A.    Yes.

16       Q.    So, you know why he was there, to talk to you

17   about the allegations?

18       A.    Yes.

19       Q.    You knew what the consequences would be of

20   talking to him, because previous to that they took your

21   kids away, right?

22                    MR. KLEIN:      Objection.

23                    THE WITNESS:       No.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page628
                                           Filed 09/20/21    of 20
                                                          Page
                                                                      1646
                                                                898of 33
                                                                               174


 1                 (Adrian P. Thomas - by Ms. Calabrese)

 2   BY MS. CALABRESE:

 3       Q.    You didn't know the consequences?

 4       A.    No.    I was just meeting him inside of the county

 5   jail when I was already arrested.

 6       Q.    Well, what did you think he was there to do?

 7       A.    He just told me he was coming to talk.

 8       Q.    About what?

 9       A.    About what happened to M                  .

10       Q.    Right.     So did you talk to him about what

11   happened to M             ?

12       A.    I told him about -- yes.            I told him about the

13   morning that I was awakened by my wife.

14       Q.    And did you tell him what you did to M                      ?

15             And I'm not asking you if what you said was true.

16   What I'm asking you is:            Did you relate to him the same

17   series of events that you related to the police?

18       A.    No.    I only -- he only asked me about what --

19   how --

20       Q.    M          got hurt?

21       A.    No.    He only asked me about the morning of when

22   the paramedics came.

23       Q.    Isn't it true that you told Jasper that there
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page629
                                           Filed 09/20/21    of 21
                                                          Page
                                                                      1647
                                                                898of 33
                                                                             175


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   were four separate times where you hurt M                         ?

 3       A.    No.

 4       Q.    You're saying you never said that?

 5                    MR. KLEIN:      Objection, asked and

 6            answered.

 7                    You can answer.

 8                    THE WITNESS:       I never said that.

 9   BY MS. CALABRESE:

10       Q.    Isn't it true that you told him that, on one

11   occasion, you took M                , and you dropped him into the

12   crib, and he hit his head on the side?

13             Isn't it true that you told Jasper that?

14       A.    No.

15       Q.    Isn't it true that there were two other times

16   where you took M                and threw him on the bed because

17   you were angry with Wilahemina?

18             Didn't you tell Jasper that?

19       A.    No.    I never told Jasper any of that.

20       Q.    Isn't it true that you told Jasper on Saturday,

21   September 20th, that you banged your head back and hit

22   M          in the front of his head with the back of your

23   head?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page630
                                           Filed 09/20/21    of 22
                                                          Page
                                                                      1648
                                                                898of 33
                                                                             176


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2             Isn't that true that you told Jasper that?

 3       A.    No.

 4       Q.    Isn't it true that you told Jasper that, when

 5   M          was crying, you picked him up and threw him from

 6   the end of the bed to the middle of the bed because you

 7   were angry because he was crying?

 8       A.    No.

 9       Q.    And isn't it true that you noticed him wheezing

10   prior to September 21st, that Sunday, but you didn't

11   notice any physical injuries.

12             Isn't it true that you told him that?

13       A.    No.

14       Q.    And isn't it true that you told Jasper that

15

16

17
     Wilahemina wanted to bring M

         A.

         Q.
               No.                          -         to the hospital?



               And isn't it true that you told Jasper that you

18   panicked and threw M                  into his crib and, again, he

19   hit the side of the crib, and that happened on

20   September 21st?

21       A.    No.

22       Q.    So what did you tell Jasper?

23       A.    I told him about the morning that Wilahemina woke
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page631
                                           Filed 09/20/21    of 23
                                                          Page
                                                                      1649
                                                                898of 33
                                                                                 177


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   me up.     That's what he asked me.             How did the

 3   paramedics --

 4       Q.    So tell me what you said to him.

 5       A.    I told him that I was awakened by my wife, and

 6   she was panicking.          And I got up, checked his breathing,

 7   checked his stomach out, checked his heart rate out.

 8   His stomach barely moved.             And that I went -- I dialed

 9   911, hand her the phone.            I ran to the sink, put my hand

10   under the faucet, came back, put some water over his

11   face.     His eyes barely moved with a blank stare.                   And

12   when I heard the sirens coming, I went outside.

13       Q.    Go ahead.

14       A.    I went outside when I heard the paramedics

15   coming.     And once they came inside, I went back inside

16   the house.

17       Q.    Is that everything?

18       A.    Yes.

19       Q.    So this statement that I just reviewed with you,

20   all the things that I asked you about you telling

21   Jasper, none of that is true, correct?

22       A.    Correct.

23       Q.    So, did he make it up?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page632
                                           Filed 09/20/21    of 24
                                                          Page
                                                                      1650
                                                                898of 33
                                                                             208


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    So not the weekend that he had the fever, the

 3   week prior to that?

 4       A.    Yes.

 5       Q.    And as you sit here today, you're saying that

 6   that demonstration that you did was false.

 7             That never occurred; is that right?

 8       A.    That's correct.

 9       Q.    And at the trial, was the statement that you gave

10   to the police department, was that admitted into

11   evidence against you?

12       A.    Yes.

13       Q.    And was it a jury trial?

14       A.    Yes.

15       Q.    And did the jury reach a verdict?

16       A.    Yes.

17       Q.    And what was the verdict?

18       A.    Guilty.

19       Q.    And what occurred after that?

20       A.    That day?

21       Q.    Yes.

22       A.    I went back to the county jail.

23       Q.    And how long did you stay there?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page633
                                           Filed 09/20/21    of 25
                                                          Page
                                                                      1651
                                                                898of 33
                                                                             209


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2                    MR. KLEIN:      You mean until he went

 3            someplace else, to a different location?

 4                    MS. CALABRESE:        Thank you.

 5                    MR. KLEIN:      You can answer the

 6            question.

 7                    Where did you go after that?

 8                    THE WITNESS:       I went to prison.

 9   BY MS. CALABRESE:

10       Q.    And prior to that, did you go back to Rensselaer

11   Court to be sentenced?

12                    MR. KLEIN:      After the guilty verdict,

13            did you have sentencing?

14                    THE WITNESS:       Yes.

15   BY MS. CALABRESE:

16       Q.    And prior to being sentenced, on the day you were

17   sentenced, did you talk to the Rensselaer County

18   probation department?

19             Did they interview you for the purpose of a

20   presentence investigation report?

21       A.    Yes.

22       Q.    And what did you tell them?

23       A.    I forgot what I told them.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page634
                                           Filed 09/20/21    of 26
                                                          Page
                                                                      1652
                                                                898of 33
                                                                             212


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2            with you, but we also want to be practical.

 3                    MS. CALABRESE:        I understand.

 4                    MR. KLEIN:      So I think that asking

 5            about it today, as well.            I don't think it

 6            makes sense to have piecemeal.

 7                    MS. CALABRESE:        So I will go through

 8            damages, then.

 9                    (Recess taken.)

10                    MS. CALABRESE:        Back on the record

11            after a recess.

12   BY MS. CALABRESE:

13       Q.    Now, Mr. Thomas, we left off before our recess

14   with you being transported from the Rensselaer County

15   jail to the department of corrections.

16             What was the first facility you were sent to?

17       A.    Downstate.

18       Q.    For processing?

19       A.    Yes.

20       Q.    And how long were you at Downstate?

21       A.    I'm not -- I don't exactly remember how long

22   there.

23       Q.    Short time, right, would you say?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page635
                                           Filed 09/20/21    of 27
                                                          Page
                                                                      1653
                                                                898of 33
                                                                             213


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    Yes.

 3       Q.    And where were you then transported, to which

 4   facility?

 5       A.    Auburn correctional facility.

 6       Q.    And how long were you there?

 7       A.    For some years.

 8       Q.    You were at Auburn for a considerable period of

 9   time?

10       A.    Yes.

11       Q.    And were you transported anywhere else?

12       A.    No.

13       Q.    So you went to Downstate for processing, and then

14   you were housed at Auburn correctional facility for the

15   balance of your incarceration?

16       A.    Until it was time for me to go back.

17       Q.    Rensselaer County?

18       A.    Rensselaer County jail.

19       Q.    And how many years were you incarcerated between

20   the time you went to Downstate and Auburn?

21                    MR. KLEIN:      Do you want to be more

22            specific?

23                    In other words, was it from the date of
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page636
                                           Filed 09/20/21    of 28
                                                          Page
                                                                      1654
                                                                898of 33
                                                                               214


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2            your sentencing or shortly thereafter to

 3            date of the Court of Appeals decision?

 4                    MS. CALABRESE:        Yeah.

 5   BY MS. CALABRESE:

 6       Q.    Approximately how long were you in state

 7   custody -- by state, I mean the department of

 8   corrections, not the Rensselaer County jail -- between

 9   Downstate and Auburn?

10       A.    Four to five years.

11       Q.    I don't think I asked you this.

12             What was the sentence that you received?

13       A.    25 to life.

14       Q.    You were incarcerated with the department of

15   corrections for four to five years.

16             Tell us about that period of incarceration with

17   the department of corrections.

18             I'm going to use the term "DOCCS."                Do you know

19   what I mean by that?

20       A.    Yes.

21       Q.    New York State Department of Corrections and

22   Community Supervision.

23       A.    Yes.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page637
                                           Filed 09/20/21    of 29
                                                          Page
                                                                      1655
                                                                898of 33
                                                                             231


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   you experienced while incarcerated at DOCCS because of

 3   this case?

 4       A.    Yes.

 5       Q.    What?

 6       A.    I can't be in crowds.           I don't like being in

 7   crowds.

 8       Q.    Why?

 9       A.    It just triggers my mind back to prison, having

10   threats.        I was always threatened in crowds.              So I don't

11   like being in crowds.

12       Q.    Is there anything else?

13       A.    I didn't sleep at night.

14       Q.    When you were in prison?

15       A.    Right.

16       Q.    Are you sleeping fine now?

17       A.    I am now because I work alone, because of my

18   lifestyle now and the truck, so.

19       Q.    Is there anything else?

20       A.    No.     That's it.

21       Q.    And then you were transferred to Rensselaer

22   County because your conviction was overturned; is that

23   right?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page638
                                           Filed 09/20/21    of 30
                                                          Page
                                                                      1656
                                                                898of 33
                                                                             232


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    That's right.

 3       Q.    Do you recall why your conviction was overturned?

 4       A.    Yes.

 5       Q.    Why?

 6       A.    Due to the videotape.

 7       Q.    What do you mean?

 8             What was your understanding?

 9                    MR. KLEIN:      Objection.

10                    THE WITNESS:       Repeat the question.

11   BY MS. CALABRESE:

12       Q.    What was your understanding as to why your

13   conviction was overturned?

14             You said due to the videotape and what do you

15   mean by that?

16       A.    Statements.

17       Q.    What statements?

18       A.    The police interrogation.

19       Q.    Then you were sent to Rensselaer County?

20       A.    Yes.

21       Q.    How long were you there?

22       A.    For the retrial.

23       Q.    Right.     How long were you incarcerated in
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page639
                                           Filed 09/20/21    of 31
                                                          Page
                                                                      1657
                                                                898of 33
                                                                             233


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   Rensselaer County, do you recall?

 3       A.    Before or after the conviction?

 4       Q.    After the conviction was overturned, prior to the

 5   second trial.

 6       A.    Not really sure on how long I was there.

 7       Q.    And the second trial occurred; is that right?

 8       A.    Yes.

 9       Q.    Who was your attorney?

10       A.    Steve Coffey.

11       Q.    Was he assigned to represent you?

12                    MR. KLEIN:      Did you pay him, or was he

13            court appointed, if I may?

14                    THE WITNESS:       He was court appointed.

15                    MR. KLEIN:      Do you want to take a

16            break?

17                    THE WITNESS:       No.

18                    MR. KLEIN:      If you need a break, let us

19            know.

20                    THE WITNESS:       Okay.

21   BY MS. CALABRESE:

22       Q.    Who testified at that trial, do you recall?

23       A.    Who testified at the trial?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page640
                                           Filed 09/20/21    of 32
                                                          Page
                                                                      1658
                                                                898of 33
                                                                             234


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       Q.    Yes.

 3       A.    Defense.

 4       Q.    Well, what do you remember?

 5       A.    That trial lasted awhile.

 6                    MR. KLEIN:      Not asking that.          She's

 7            asking who testified that you remember.

 8                    THE WITNESS:       I don't exactly remember

 9            all the names.

10   BY MS. CALABRESE:

11       Q.    And were you eventually acquitted?

12       A.    Yes.

13       Q.    And were you released?

14       A.    Yes.

15       Q.    Now, you mentioned that you suffered additional

16   losses.     I want you to describe what you mean by that.

17   You mentioned you suffered a loss to your diet.

18             What do you mean by that?

19       A.    My religion, I wasn't able to -- I wasn't able to

20   do a lot of things with my religion.

21                    MR. KLEIN:      She's asking about diet.

22                    The question is, did you eat the way

23            you did in prison or as you would out of
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-4 3604338,    Page641
                                           Filed 09/20/21    of 33
                                                          Page
                                                                      1659
                                                                898of 33
                                                                             384


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   custody, either.         You were free to leave, correct?

 3             And in fact, you did leave.             You went to

 4   Samaritan.

 5       A.    I was escorted to Samaritan.

 6       Q.    My question is:        When you wrote this statement

 7   you were not in custody, in the police custody?

 8             And by that I mean you were free to leave.

 9       A.    I didn't feel like I was free to leave.

10       Q.    Tell me why.

11                    MR. KLEIN:      During the first --

12                    MS. CALABRESE:        First statement.

13                    THE WITNESS:       I didn't feel like I was

14            free to leave because, if he was going to

15            ask me just general questions, could have

16            asked at my house.          Why did I need to go

17            down to the police station to give it to

18            you?

19   BY MS. CALABRESE:

20       Q.    So you felt because of the sole reason you were

21   in the police station you weren't free to leave?

22       A.    Correct.

23       Q.    And you weren't in handcuffs when you made that
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page642
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1660
                                                               1 of 13
                                                                            284


 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                               Plaintiff,

 5                   - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                               Claimant,

13                   - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                   CONTINUED DEPOSITION of Plaintiff/Claimant,

18   ADRIAN P. THOMAS, held on the 21st day of August 2019,

19   commencing at 9:11 a.m., at the Law Offices of Bailey,

20   Johnson & Peck, P.C., 5 Pine West Plaza, Washington

21   Avenue Extension, Albany, New York 12205, before Jeanne

22   O'Connell, Registered Professional Reporter and Notary

23   Public in and for the State of New York.
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page643
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1661
                                                               2 of 13
                                                                            285


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13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:       Katherine Hamilton
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    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page644
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1662
                                                               3 of 13
                                                                            301


 1                (Adrian P. Thomas - by Mr. Perkins)

 2      A.    Yes.

 3      Q.    Did you think of asking for an attorney at that

 4   time?

 5      A.    I don't remember.

 6      Q.    Did you have any conversation with Detective

 7   Mason about, okay, so am I being held, am I under

 8   arrest, because you're telling me if I try and leave

 9   it's an escape?

10            Was there any conversation about that?

11      A.    I said nothing after that.

12                   MR. KLEIN:      Just yes or no.

13                   THE WITNESS:       No.

14   BY MR. PERKINS:

15      Q.    So during the second interview, is it my

16   understanding you didn't feel like you were free to

17   leave?

18      A.    Correct.

19      Q.    After you got in the room for the second

20   interview, it was after you got in the room and after

21   you were told of the escape comment by Detective Mason

22   that you signed City Exhibit 6 for identification,

23   correct?
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page645
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1663
                                                               4 of 13
                                                                            304


 1                (Adrian P. Thomas - by Mr. Perkins)

 2      Q.    Now, by the time you gave this statement, had you

 3   already done the reenactment that you did here

 4   yesterday, where you threw -- was it a clipboard on the

 5   videotape that you threw onto the ground?

 6      A.    I believe it was a clipboard.

 7      Q.    So you had done the reenactment, right?

 8            And by the time you signed this statement you had

 9   already thrown the clipboard?

10      A.    I believe so.        Yes.

11      Q.    Then you read this, and you signed it on every

12   page, correct?

13      A.    Yes.

14      Q.    Now, same question as before.

15            If there are inaccuracies in here, I want you to

16   tell me, to the best of your ability, why you signed

17   this statement.

18      A.    On the second?

19      Q.    Yes.

20                   MR. KLEIN:      This statement, the

21           ten-page statement, why did you sign it?

22                   THE WITNESS:         I was tired.      I was

23           frustrated.       I was afraid.        I wanted to see
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page646
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1664
                                                               5 of 13
                                                                            305


 1                (Adrian P. Thomas - by Mr. Perkins)

 2           my children, my son M                 .   I didn't want

 3           Wilahemina to get scooped up by Troy Police

 4           Department.       I just would have said anything

 5           to get out of there.           That's the reason I

 6           didn't get up and go for the door, because I

 7           was afraid.

 8   BY MR. PERKINS:

 9      Q.    Were you afraid of being arrested?

10      A.    I was afraid of being arrested and for my wife to

11   be arrested.

12      Q.    We'll get back to that in a second.

13            You put in the statement -- it lists multiple

14   times that you hurt M                , and you had already done

15   the depiction with the clipboard, correct?

16      A.    Repeat the question.

17      Q.    Sure.     By the time you signed this statement you

18   had already thrown the clipboard onto the floor, right?

19                    MR. KLEIN:     Objection.        Asked and

20           answered.

21                    You can answer.

22                    THE WITNESS:      Yes.

23   BY MR. PERKINS:
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page647
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1665
                                                               6 of 13
                                                                            383


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   record that those are your Miranda warnings.

 3            There's an initial there AT.              Those are your

 4   initials that you initialed, correct?

 5      A.    That's correct.

 6      Q.    At that time this statement is we're calling the

 7   second statement, right?

 8      A.    Yes.

 9      Q.    That you gave after you returned from Samaritan,

10   from when you received mental health?

11      A.    Yes.

12      Q.    And B -- or excuse me -- C is the first statement

13   that you wrote prior to leaving the police department to

14   go to Samaritan or wherever it was you went to receive

15   mental health treatment, correct?

16      A.    Yes.

17      Q.    And I think we said with the first statement, you

18   agreed that you were not in custody and you were not

19   under arrest, correct?

20                   MR. KLEIN:      Objection.

21                   THE WITNESS:       No. I was not arrested.

22   BY MS. CALABRESE:

23      Q.    You were not arrested and you were not in
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page648
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1666
                                                               7 of 13
                                                                            384


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   custody, either.        You were free to leave, correct?

 3            And in fact, you did leave.             You went to

 4   Samaritan.

 5      A.    I was escorted to Samaritan.

 6      Q.    My question is:        When you wrote this statement

 7   you were not in custody, in the police custody?

 8            And by that I mean you were free to leave.

 9      A.    I didn't feel like I was free to leave.

10      Q.    Tell me why.

11                   MR. KLEIN:      During the first --

12                   MS. CALABRESE:        First statement.

13                   THE WITNESS:       I didn't feel like I was

14           free to leave because, if he was going to

15           ask me just general questions, could have

16           asked at my house.          Why did I need to go

17           down to the police station to give it to

18           you?

19   BY MS. CALABRESE:

20      Q.    So you felt because of the sole reason you were

21   in the police station you weren't free to leave?

22      A.    Correct.

23      Q.    And you weren't in handcuffs when you made that
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page649
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1667
                                                               8 of 13
                                                                               385


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   statement?

 3      A.    No.

 4      Q.    And you weren't restrained in any way when you

 5   made that statement?

 6      A.    No, but I was at the police station.

 7      Q.    I mean restrained physically.

 8      A.    No.

 9      Q.    You didn't ask to leave, correct?

10                   MR. KLEIN:      I think that was asked and

11           answered yesterday.

12   BY MS. CALABRESE:

13      Q.    You didn't ask to leave, did you?

14      A.    No.

15      Q.    The police didn't say you had to stay there,

16   correct?

17      A.    That's correct.        Yes.

18      Q.    You did not ask for a lawyer, correct?

19      A.    I think -- I didn't demand for lawyer, but I

20   think I asked them did I need a lawyer.

21      Q.    But you did not say, I want a lawyer?

22      A.    Well, that's a statement of a demand.                 I didn't

23   demand it.
    Case
 Case 1:17-cv-00626-DJS
                          APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-5 3604338,   Page650
                                          Filed 09/20/21    of 898
                                                         Page
                                                                     1668
                                                               9 of 13
                                                                             407


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   day you were in the jail, the second day, the third day?

 3            When was it?

 4      A.    Not absolutely sure.

 5      Q.    Was it several days, do you remember, hours?

 6      A.    I don't remember.

 7      Q.    So you were in the county jail.

 8            What was the charge?

 9                   MR. KLEIN:      Initially?

10                   THE WITNESS:       At the county jail?

11   BY MS. CALABRESE:

12      Q.    Murder in the Second Degree?

13      A.    I think so.

14      Q.    And who did you think you murdered at that point?

15                   MR. KLEIN:      Objection.

16                   THE WITNESS:       I didn't murder no one.

17                   MS. CALABRESE:        I think it was

18           attempted murder, let's say, initially.

19   BY MS. CALABRESE:

20      Q.    Well, who did you think they said you murdered or

21   tried to murder?

22      A.    The judge said at the time it was M                        .

23      Q.    Is that when you found out that M

                                                           -         died?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-5 3604338,    Page651
                                           Filed 09/20/21    of 10
                                                          Page
                                                                      1669
                                                                898of 13
                                                                             408


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2                    MR. KLEIN:      Well, you just asked him

 3            who told him he attempted to murder, and

 4            then I think he said he found out from his

 5            lawyer.

 6                    Can you separate the questions?

 7   BY MS. CALABRESE:

 8       Q.    Do you understand what I'm saying?

 9       A.    When I was brought in front of a judge.

10       Q.    What did the judge say?

11       A.    He asked me who I was.           I told him Adrian Thomas.

12   And then he stated the charge.               I think it was murder.

13       Q.    At your arraignment?

14       A.    When I was at the county court.               I think so.

15       Q.    And is that the first time you heard the word

16   "murder"?

17       A.    I spoke with a lawyer first.

18                    MR. KLEIN:      Don't say what was said.

19   BY MS. CALABRESE:

20       Q.    And did you have a conversation with that person?

21       A.    Yes.

22       Q.    Is that the first time you learned that M

23   had died?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-5 3604338,    Page652
                                           Filed 09/20/21    of 11
                                                          Page
                                                                      1670
                                                                898of 13
                                                                               409


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2       A.    I think so.       I'm not sure.

 3       Q.    And what was your reaction?

 4       A.    I was hurt, frustrated, and mad.

 5       Q.    Why were you mad?

 6       A.    Because of being charged with a crime that I

 7   didn't commit.

 8       Q.    Why were you hurt and frustrated, for the same

 9   reasons?

10                    MR. KLEIN:      Objection.

11                    THE WITNESS:       Because I wasn't able to

12            see my son and my children and my wife at

13            the time.

14   BY MS. CALABRESE:

15

16

17
         Q.    And so isn't it true that you knew that M

     was dying or going to die when he left your house in the

     ambulance?
                                                                           -
18       A.    I didn't know he was going to die.

19       Q.    You didn't have that feeling that he was going to

20   die?

21       A.    I didn't.

22       Q.    You just knew he was in serious condition?

23       A.    That's correct.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-5 3604338,    Page653
                                           Filed 09/20/21    of 12
                                                          Page
                                                                      1671
                                                                898of 13
                                                                             415


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   also not true?

 3       A.    I believe that's false.

 4       Q.    And so, for the Court of Claims action, you're

 5   stating that you have a right to sue New York State

 6   under section 8B because you were wrongfully

 7   incarcerated and convicted, right?

 8                    MR. KLEIN:      Objection.

 9   BY MS. CALABRESE:

10       Q.    That's why you're suing?

11       A.    Yes.

12       Q.    So, then, the standard involves you proving

13   innocence.

14             So, tell me, as you sit here today, how that

15   applies.

16       A.    I don't know what happened to my son, because

17   they said -- the officers said in the first interview

18   that they were going to scoop up my wife.                   I said I

19   would take the fall for my wife.

20       Q.    But you didn't think Wilahemina did anything to

21   hurt him, right?

22       A.    No.    So I said I will take the fall for my wife.

23       Q.    And I'm sorry, when you say no, you mean correct,
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-5 3604338,    Page654
                                           Filed 09/20/21    of 13
                                                          Page
                                                                      1672
                                                                898of 13
                                                                               416


 1               (Adrian P. Thomas - by Ms. Calabrese)

 2   right?

 3             You did not believe Wilahemina did anything to

 4   hurt him, correct?

 5       A.    I don't believe she did anything.

 6       Q.    Go ahead.

 7       A.    And they said, no, you can't take the fall.                   You

 8   got to tell us what happened.

 9       Q.    And that's when you came up with the story that's

10   the ten-page statement?

11       A.    Yes.    After I was suggested that I was -- about

12   the bumping, dropping, or anything of that nature, and

13   that I wouldn't be arrested, and that it was an

14   accident.

15       Q.    Do you have any remorse about any of this?

16                    MR. KLEIN:      Objection.

17                    What do you mean by remorse?

18                    MS. CALABRESE:        Sorrow.

19                    THE WITNESS:       I'm sad that my ex-wife,

20            Wilahemina, and my children believe I did

21            this.     And I'm saddened because I feel like

22            I was taken advantage of, and that the

23            conviction has been a ghost that's been
CaseCase
 Case     23-753, Document
     1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                   142-22            Page655
                                           Filed 06/14/21
                                                 09/20/21    of 898
                                                          Page  2
                                                                     1673
                                                                1 of 443
                                                                     33
                                                                            1


 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 3   ADRIAN THOMAS,

 4                                Plaintiff,

 5                   - against -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                        Defendants.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 9   NEW YORK STATE
     COURT OF CLAIMS
10   - - - - - - - - - - - - - - - - - - - - - - - - - - - -

11   ADRIAN P. THOMAS,

12                                Claimant,

13                   - against -

14   THE STATE OF NEW YORK,

15                        Defendant.
     - - - - - - - - - - - - - - - - - - - - - - - - - - - -
16

17                   DEPOSITION of Defendant, MICHAEL SIKIRICA,

18   held on the 5th day of September 2019, commencing at

19   9:30 a.m., at the Law Offices of Bailey, Johnson & Peck,

20   P.C., 5 Pine West Plaza, Washington Avenue Extension,

21   Albany, New York 12205, before Jeanne O'Connell,

22   Registered Professional Reporter and Notary Public in

23   and for the State of New York.
CaseCase
 Case     23-753, Document
     1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                   142-22            Page656
                                           Filed 06/14/21
                                                 09/20/21    of 898
                                                          Page  3
                                                                     1674
                                                                2 of 443
                                                                     33
                                                                            2


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     Bailey, Johnson & Peck, P.C.
 9   5 Pine West Plaza
     Washington Avenue Extension
10   Albany, New York 12205
     By: Crystal R. Peck, Esq.
11   Attorneys for Michael Sikirica

12   New York State Office of the Attorney General
     The Capitol
13   Albany, New York 12224
     By: Christina M. Calabrese, Assistant Attorney General
14
     Also present:       Katherine Hamilton
15

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Case
 CaseCase 23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                  142-22   Filed     Page657
                                           Filed06/14/21
                                                 09/20/21    of 57
                                                          Page
                                                          Page  898
                                                                 3 of
                                                                      1675
                                                                   of33
                                                                      443
                                                                             56


 1               (Michael Sikirica - by Ms. Calabrese)

 2       A.    But this was not one of them.

 3       Q.    Is there anything else we need to discuss with

 4   regard to A?

 5       A.    No.

 6       Q.    Now B, you describe a radiographic evidence of

 7   bilateral subdural hematomas.

 8             Can you tell us what that means?

 9       A.    Yes.    That reflects the diagnosis by the

10   radiologist, which I did examine those films at the time

11   of autopsy as well, that showed bilateral subdural

12   hematomas.

13       Q.    Was that radiographic evidence, the films, what

14   you saw on the films, consistent with what you saw when

15   you examined the brain?

16       A.    The collection on the right side was consistent.

17       Q.    And the right side is the side that had the pink

18   or newer hemorrhage?

19       A.    The right side had the subgaleal hemorrhages,

20   correct.

21       Q.    On the left side?

22       A.    I did not appreciate any hemorrhage on the left

23   side.
Case
 CaseCase 23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                  142-22   Filed     Page658
                                           Filed06/14/21
                                                 09/20/21    of 58
                                                          Page
                                                          Page  898
                                                                 4 of
                                                                      1676
                                                                   of33
                                                                      443
                                                                               57


 1               (Michael Sikirica - by Ms. Calabrese)

 2       Q.    The right side you mentioned -- that's right.

 3             On the right side you mentioned the pink and the

 4   green.

 5       A.    Well, they were the subgaleal hemorrhages and

 6   they're listed on item G.

 7       Q.    So, when we say the radiographic evidence of

 8   bilateral subdural hematomas, I am talking about

 9   something different when I mentioned the subgaleal

10   hemorrhage, to make the record clear.

11       A.    Yes.

12       Q.    Upon examining the brain itself, you did observe

13   the bilateral subdural hematomas as they appeared on the

14   radiographic films.

15                    MR. KLEIN:      Objection.       That's not what he

16   said.

17       A.    No.    I didn't see them bilaterally.              I only saw

18   the right sided subdural hemorrhage.                 The subdural

19   hemorrhage was the 60 ML hemorrhage.

20       Q.    Was that consistent with what you observed on the

21   radiographic films?

22       A.    Yes.

23       Q.    Did you observe anything else with regard to B?
Case
 CaseCase 23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                  142-22   Filed     Page659
                                           Filed06/14/21
                                                 09/20/21    of 86
                                                          Page
                                                          Page  898
                                                                 5 of
                                                                      1677
                                                                   of33
                                                                      443
                                                                             85


 1                  (Michael Sikirica - by Mr.             Klein)

 2   decision on your findings?

 3       A.    I believe so, yes.

 4       Q.    Who was that?

 5       A.    That would have been Christa Book, the ADA.

 6       Q.    What was discussed?

 7       A.    Just the upcoming trial, the second trial, and

 8   the confession, which would not be incorporated in that

 9   trial.

10       Q.    Did you discuss whether your opinion was the same

11   or whether your opinion would be different in any way or

12   your findings?

13       A.    I said my findings would be the same.

14       Q.    So, other than discussing that you couldn't

15   mention the confession as it related to your findings

16   and opinions, was anything else discussed in that regard

17   that you can recall?

18       A.    Not that I recall.

19       Q.    You indicated previously that the finding,

20   initial finding or diagnosis of a purported skull

21   fracture, is something that was later concluded by you

22   to be incorrect, right?

23       A.    Yes.
Case
 CaseCase 23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                  142-22   Filed     Page660
                                           Filed06/14/21
                                                 09/20/21    of 87
                                                          Page
                                                          Page  898
                                                                 6 of
                                                                      1678
                                                                   of33
                                                                      443
                                                                             86


 1                  (Michael Sikirica - by Mr.             Klein)

 2       Q.    Were there any other findings or other

 3   conclusions that you disagreed with of any witnesses or

 4   medical providers, including any prosecution witnesses,

 5   not previously stated on the record?

 6             In other words, other than that possible skull

 7   fracture not being true, are there any other prosecution

 8   witnesses or findings in the medical records that you

 9   disagree with?

10                    MR. PERKINS:       Object to form.

11                    MS. PECK:      Objection to form.

12                    THE WITNESS:       Well, I disagreed with the

13   radiographic suggestion that there was a left-sided

14   subdural hematoma.          I disagreed with that.

15                    And I disagreed with the cause of death

16   postulated by Dr. Leestma and Dr. Klein.

17   BY MR. KLEIN:

18       Q.    Those are the defense witnesses.

19       A.    Yes.

20       Q.    So, dealing with prosecution witnesses, whether

21   it's Dr. Woldman, Dr. Edge, or any of the expert

22   witnesses, did you have any disagreements with any of

23   their testimonies or statements?
Case
 CaseCase 23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-6 3604338,
                                  142-22   Filed     Page661
                                           Filed06/14/21
                                                 09/20/21    of 94
                                                          Page
                                                          Page  898
                                                                 7 of
                                                                      1679
                                                                   of33
                                                                      443
                                                                             93


 1                   (Michael Sikirica - by Mr.            Klein)

 2   associated with autopsy.            So, if it has not been part of

 3   a public record or if there's an acquittal, I don't know

 4   if we can go ahead and provide it.

 5                    You can make a demand and we can go to the

 6   court if that ends up being the case.

 7   BY MR. KLEIN:

 8       Q.    So, in this case there was a lab report

 9   confirming the bacterial infection, correct?

10       A.    Yes.

11       Q.    And that didn't come back until September 25th of

12   2008.

13             Do you recall that?

14       A.    Yes.

15       Q.    It was ordered on September 21st of 2008 when the

16   patient was first brought to Samaritan, correct?

17       A.    Correct.

18       Q.    Did you have that lab report confirming positive

19   for strep at the time of the autopsy?

20       A.    No.

21       Q.    Do you know when you received it?

22       A.    It would have been included in the records

23   sometime after the autopsy.
     Case
  Case
Case       23-753, Document
        1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                           Document
                         Document           3604338,
                                     156-6 Filed
                                   142-22              Page662
                                             Filed06/14/21
                                                   09/20/21    of113
                                                             Page
                                                            Page  898
                                                                        1680
                                                                  8 ofof33
                                                                         443
                                                                                   112


 1                    (Michael Sikirica - by Mr.             Klein)

 2        Q.    Based on what?

 3        A.    Based on the findings.            They never detected

 4    anything except the strep pneumoniae.                   That is a type of

 5    group B streptococcus.

 6        Q.    That was in his system.

 7        A.    Yes, but it's not the bacteria that's associated

 8    with GBS with neonatal gram positive sepsis.                      That's a

 9    different bacteria entirely.

10        Q.    So, what is it associated with, the bacteria that

11    M          had?

12        A.    It's associated with pneumonia and respiratory

13    infection.

14        Q.    So, in your view, that would not have been

15    transmitted to him from the mother?

16        A.    No.

17        Q.    How is the type of pneumoniae, bacterial

18    pneumonia that M                 had, transmitted, in your

19    knowledge?

20        A.    Well, it's a community acquired infection and it

21    could be latent and asymptomatic.                 It's in the air

22    between people.

23        Q.    Others may not catch it necessarily around
     Case
  Case
Case       23-753, Document
        1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                           Document
                         Document           3604338,
                                     156-6 Filed
                                   142-22              Page663
                                             Filed06/14/21
                                                   09/20/21    of114
                                                             Page
                                                            Page  898
                                                                        1681
                                                                  9 ofof33
                                                                         443
                                                                                  113


 1                   (Michael Sikirica - by Mr.              Klein)

 2    someone with that, right?             It just depends.          Sometimes

 3    people in close proximity would get it.                   Other times

 4    they may not, correct?

 5        A.    Yes.    It would depend on your immune status.                   And

 6    M          would be more susceptible to it because he

 7    hasn't finished his immunization protocol for it.                        He's

 8    only got one shot.

 9        Q.    Given your lack of expertise in infectious

10    disease, are you testifying with medical certainty that

11    the bacterial pneumoniae that M                       had, group B, is

12    absolutely different than GBS and not transmitted during

13    labor, possibly?

14        A.    Yes.    This is not the bacteria that's transmitted

15    during labor or that is described in this paper by the

16    CDC.     This is a different bacterium.               This is a

17    bacterium that's seen in adults and seen in children.

18              This strep agalactiae is the type of bacteria

19    that causes neonatal infection.                It's a risk to newborns

20    and it can occur later on in a child in several months

21    old, but it's not the agent, it's not the etiological

22    agent, of what M                 had in his system.

23        Q.    The vaccine, the two-month vaccine and the four-
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page664
                                            Filed06/14/21
                                                  09/20/21    of115
                                                           Page
                                                           Page  898of
                                                                 10
                                                                      1682
                                                                    of33
                                                                       443
                                                                             114


 1                   (Michael Sikirica - by Mr.            Klein)

 2   month vaccine, what are those called, if you know?

 3        A.   Pneumo vaccine.

 4        Q.   Would those help fight -- help an infant fight

 5   against group B, GBS, as well as the pneumoniae bacteria

 6   that you described?

 7        A.   No.    I'm very certain that they are effective

 8   against the pneumo, strep pneumo.                That's why they're

 9   called pneumo vacs, pneumococcal pneumonia.

10        Q.   So, babies with -- I think we discussed, just to

11   circle back, with GBS, which you're saying doesn't apply

12   here, can have one or more of the following illnesses:

13   Meningitis, pneumonia, sepsis, correct?

14        A.   Yes.

15        Q.   How about babies with bacterial pneumoniae, could

16   they also have meningitis, pneumonia and sepsis?

17        A.   Yes.

18        Q.   That can exist in the absence of any trauma.

19        A.   Yes.

20        Q.   When we talk about the word trauma and injuries,

21   I just want to be clear with you about what's been

22   discussed.       Counsel asked you a lot of questions about

23   injury.
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page665
                                            Filed06/14/21
                                                  09/20/21    of122
                                                           Page
                                                           Page  898of
                                                                 11
                                                                      1683
                                                                    of33
                                                                       443
                                                                             121


 1                  (Michael Sikirica - by Mr.             Klein)

 2   jury I was able to see that it was, in fact, a hematoma.

 3   BY MR. KLEIN:

 4         Q.   Because it was after the autopsy?

 5         A.   Yes.

 6         Q.   How long after the autopsy did you testify?

 7              Was it later that same day or the next day?

 8         A.   I believe it might have been the very next day or

 9   so.

10         Q.   So, based on your exam at autopsy, you testified

11   in the grand jury that it was a subdural hematoma

12   notwithstanding the report that said subdural fluid

13   collection?

14                     MS. PECK:      Objection.

15                     THE WITNESS:       Correct.

16                     MS. PECK:      Can we just clarify, because I

17   know you don't have the first page on the grand jury,

18   but the date on the grand jury testimony, if the caption

19   had been printed, was September 26, 2008.

20   BY MR. KLEIN:

21         Q.   So, based on that, is it fair to say that that

22   would -- would that refresh your recollection that your

23   grand jury was given the day after the autopsy was
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page666
                                            Filed06/14/21
                                                  09/20/21    of123
                                                           Page
                                                           Page  898of
                                                                 12
                                                                      1684
                                                                    of33
                                                                       443
                                                                             122


 1                  (Michael Sikirica - by Mr.             Klein)

 2   conducted?

 3        A.   I believe I did the autopsy on the 25th.

 4        Q.   And the grand jury was the 26th?

 5        A.   26th, yes.

 6        Q.   Now, on page 16 you say, in sum and substance,

 7   that the injuries were consistent with the baby being

 8   slammed on a mattress and consistent with a head hitting

 9   a hard surface railing or crib.

10             Do you recall that generally?

11        A.   Where on page 16?          Point that out.

12        Q.   I'm just representing to you --

13                    MR. PERKINS:        Line 19.

14        A.   Yes.     It is consistent with the baby being

15   slammed down on a mattress, yes.

16        Q.   In light of Mr. Thomas' confession being found as

17   a matter of law to be a coerced, false confession, you

18   would not give that same testimony today, would you?

19                    MS. PECK:       Objection.

20                    THE WITNESS:        Well, if they gave me a

21   question to speculate on, or use my hypotheses or

22   theory, and they presented this as a theory could it

23   have been due to being slammed on a mattress, even if I
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page667
                                            Filed06/14/21
                                                  09/20/21    of126
                                                           Page
                                                           Page  898of
                                                                 13
                                                                      1685
                                                                    of33
                                                                       443
                                                                                    125


 1                   (Michael Sikirica - by Mr.            Klein)

 2   hitting the infant child with a toy or other objects by

 3   other kids that could have caused the trauma that you

 4   attribute to the death?

 5                    MS. PECK:       Objection.

 6                    THE WITNESS:        There could have been other

 7   sources for the trauma to the head, yes.

 8   BY MR. KLEIN:

 9        Q.   Do you have any knowledge, other than the

10   statement attributed to Adrian Thomas, that he had any

11   connection with any trauma to the child?

12        A.   No.

13        Q.   You don't know who caused this death.

14        A.   Without the statement, I would not know.

15        Q.   So sitting here today, do you know who caused his

16   death from your investigation?

17        A.   Yes.

18        Q.   Who is that?

19        A.   That would have been Adrian Thomas.

20        Q.   You've learned that the statement was deemed to

21   be a coerced, false confession, right?

22        A.   That is the definition that you're using.                     Yes.

23        Q.   Well, that's what the court said.
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page668
                                            Filed06/14/21
                                                  09/20/21    of130
                                                           Page
                                                           Page  898of
                                                                 14
                                                                      1686
                                                                    of33
                                                                       443
                                                                                    129


 1                  (Michael Sikirica - by Mr.             Klein)

 2                     MS. PECK:      Objection.

 3                     THE WITNESS:       I'm not quite sure I

 4   understand the question, if you could kind of repeat it

 5   in a different manner.

 6   BY MR. KLEIN:

 7        Q.   Sure.     There's no statement whatsoever, pretend

 8   it doesn't exist, from Adrian Thomas?

 9        A.   Yes.

10        Q.   There is a child who presented, as M                          did,

11   at Samaritan, then presented to Albany, who then ended

12   up on your table.

13        A.   Yes.

14        Q.   Given everything you knew, minus Adrian Thomas'

15   statement and what the detectives told you that he told

16   them --

17        A.   Yes.

18        Q.   -- what if any findings would you have made that

19   could have caused this death to a degree of certainty?

20        A.   Well, the cause of death is still going to be

21   closed head injury with severe cerebral edema due to

22   blunt force trauma.           That would be the cause of death.

23   The mechanism I would not know.
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page669
                                            Filed06/14/21
                                                  09/20/21    of159
                                                           Page
                                                           Page  898of
                                                                 15
                                                                      1687
                                                                    of33
                                                                       443
                                                                             158


 1                  (Michael Sikirica - by Mr.             Klein)

 2        Q.   Correct me if I'm wrong, but the predisposing

 3   condition that you cite in this case as leading to

 4   sepsis is the aspiration on something that caused

 5   pneumonia that lead to sepsis, correct?

 6        A.   Yes.

 7        Q.   Now, when you talk about aspiration, there was no

 8   evidence of aspiration found on autopsy, correct?

 9        A.   There was no evidence of any food aspiration,

10   correct.

11        Q.   In term of any saliva aspiration, you wouldn't

12   see that or know that, correct?

13        A.   You wouldn't detect that.

14        Q.   Would you agree that it's speculation on your

15   part that there was aspiration.

16                    MS. PECK:       Objection.

17                    THE WITNESS:        Well, it was speculation on my

18   part, and confirmed by the statement of Adrian Thomas

19   that after M              , for whatever reason, had these

20   impacts, he had difficulty breathing and was wheezing.

21   BY MR. KLEIN:

22        Q.   The detectives were on video.

23             Did you ever watch the video of the
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page670
                                            Filed06/14/21
                                                  09/20/21    of160
                                                           Page
                                                           Page  898of
                                                                 16
                                                                      1688
                                                                    of33
                                                                       443
                                                                             159


 1                   (Michael Sikirica - by Mr.            Klein)

 2   interrogation?

 3        A.   No.

 4        Q.   They were telling him certain things that doctors

 5   told them, and we need to have answers.                   Was he

 6   wheezing, was he this.            He was thrown down like this,

 7   can you show us, and so forth.

 8             So my question to you is this:               If you take

 9   Adrian Thomas' statement of wheezing out of the

10   equation, is your answer, yes, the fact of aspiration is

11   speculation on your report?

12        A.   It would be a reasonable speculation based on the

13   organism that was recovered.

14        Q.   But it's speculation.

15        A.   Medical speculation.           Yes.

16        Q.   What's the difference between medical speculation

17   -- it's not an opinion to a degree of medical certainty,

18   is it?

19        A.   No.

20                    MS. PECK:       Objection.

21        A.   It's not.

22        Q.   It's like a hunch.

23        A.   More than a hunch.          It's looking at your entire
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page671
                                            Filed06/14/21
                                                  09/20/21    of167
                                                           Page
                                                           Page  898of
                                                                 17
                                                                      1689
                                                                    of33
                                                                       443
                                                                             166


 1                  (Michael Sikirica - by Mr.             Klein)

 2   accident to make it an accident.

 3        Q.   Before you conducted your autopsy exam, you have

 4   a sign in sheet with the DA employees and the police

 5   officers there, correct?

 6        A.   Yes.

 7        Q.   Is there a pre-autopsy meeting where you go over

 8   with them the statement from Adrian -- because I see

 9   that's in your file -- or what transpires, what

10   communication do you have with the police about what

11   they have gathered so far?

12        A.   Well, it tends to be an informal conversation

13   that goes on at the time of the autopsy.                   It's not

14   necessarily a meeting, a sit down meeting.                    I will

15   basically say to them, tell me what you think you have

16   got and I will look at the medical records.                    I may

17   review the statements if there are any.

18        Q.   Do you remember who you asked that to and what,

19   if anything, you were told?

20             Did you speak with Detective Mason about that?

21        A.   It would have been the detectives who I spoke

22   with.     I can't remember which one.

23        Q.   Did they tell you that we have a homicide here,
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page672
                                            Filed06/14/21
                                                  09/20/21    of168
                                                           Page
                                                           Page  898of
                                                                 18
                                                                      1690
                                                                    of33
                                                                       443
                                                                             167


 1                  (Michael Sikirica - by Mr.             Klein)

 2   we have a blunt force trauma?

 3             When you met with them Mr. Thomas had already

 4   been arraigned in court, correct?

 5        A.   Yes.     Yes.

 6        Q.   So they already went on record and had given

 7   their ten-page statement that they obtained and gave you

 8   a copy of it, right?

 9        A.   Yes.

10        Q.   So they told you that this guy's being charged

11   with attempted murder.            Now that the baby is dead he's

12   going to be upgraded to homicide, correct?

13                    MS. PECK:       Objection.

14                    THE WITNESS:        I don't know if they said

15   that.

16   BY MR. KLEIN:

17        Q.   Was there any chance that you were going to find

18   that this was not a homicide given the statement?

19                    MS. PECK:       Objection.

20                    THE WITNESS:        Was there any chance that I

21   would find it's not a homicide?                I don't know about

22   that.

23        Q.   Was Mr. Thomas' ten-page statement a substantial
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page673
                                            Filed06/14/21
                                                  09/20/21    of170
                                                           Page
                                                           Page  898of
                                                                 19
                                                                      1691
                                                                    of33
                                                                       443
                                                                             169


 1                   (Michael Sikirica - by Mr.            Klein)

 2        A.   I believe that skull fracture was an error in the

 3   transcription because I only found it in several places

 4   and I never saw a radiographic report of that.

 5        Q.   Was it Dr. Edge, though, who reported a skull

 6   fracture?

 7        A.   I believe it was, but I think it was not -- I

 8   think it was an error in the transcription of that.

 9        Q.   Regardless of the transcription or whether it

10   came directly from his mouth, are you aware of any other

11   errors attributed to Dr. Edge other than skull fracture

12   and bilateral subdural hematomas?

13        A.   No.

14        Q.   Now, M           's white blood cell count -- going

15   back to that -- it did not get better upon his arrival

16   at Albany, correct?

17        A.   Correct.

18        Q.   Then it dropped to 500, correct?

19        A.   Yes.

20        Q.   That's a life threatening level, correct?

21        A.   Yes.

22        Q.   At Albany, his platelet count dropped dangerously

23   low, correct?
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page674
                                            Filed06/14/21
                                                  09/20/21    of171
                                                           Page
                                                           Page  898of
                                                                 20
                                                                      1692
                                                                    of33
                                                                       443
                                                                             170


 1                  (Michael Sikirica - by Mr.             Klein)

 2        A.   It was dropping precipitously low.                 Dangerous at

 3   the final readings, yes.

 4        Q.   That can cause spontaneous bleeding in organs,

 5   correct?

 6        A.   Correct.

 7        Q.   His temperature was below normal and continued to

 8   drop at Samaritan despite warm blankets and a maternity

 9   warmer, correct?

10        A.   Correct.

11        Q.   He was hypothermic, in other words, he was having

12   problems maintaining his body temperature?

13        A.   Yes.

14        Q.   He was in respiratory distress, correct?

15        A.   Yes.

16        Q.   He was on a bed mask and respirator at Samaritan,

17   correct?

18        A.   Yes.

19        Q.   His blood pressure dropped into the 50s and 40s

20   at Samaritan -- which was life threatening, correct?

21        A.   Correct.

22        Q.   They gave him Dopamine to get his blood pressure

23   up, but he was unable to breathe on his own and had to
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page675
                                            Filed06/14/21
                                                  09/20/21    of172
                                                           Page
                                                           Page  898of
                                                                 21
                                                                      1693
                                                                    of33
                                                                       443
                                                                                 171


 1                   (Michael Sikirica - by Mr.            Klein)

 2   use a ventilator, correct?

 3        A.   Yes.

 4        Q.   Without the Dopamine he could have died at

 5   Samaritan.

 6        A.   Yes.

 7        Q.   He was given treatment consisting of, among other

 8   things, ceftriaxone, which is a common antibiotic that

 9   treats meningitis, correct?

10        A.   Yes.

11        Q.   And he was treated for sepsis as well early on.

12        A.   Yes.

13        Q.   So, were you aware, as of the autopsy, that there

14   was suspicion of meningitis and sepsis?

15        A.   Yes.

16        Q.   Did either of those facts impact your findings in

17   this case?

18        A.   No.

19        Q.   You didn't even put the word "sepsis" in your

20   autopsy, correct?

21        A.   Correct.

22        Q.   Why not?

23        A.   Because sepsis is described in my autopsy.                    I
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page676
                                            Filed06/14/21
                                                  09/20/21    of173
                                                           Page
                                                           Page  898of
                                                                 22
                                                                      1694
                                                                    of33
                                                                       443
                                                                               172


 1                  (Michael Sikirica - by Mr.             Klein)

 2   don't use the word "sepsis".              I use the words "positive

 3   cultures for strep pneumoniae".                I could have used the

 4   word "sepsis" but I did not.

 5             My final diagnosis on item number two, blood

 6   culture positive for strep pneumoniae on initial

 7   presentation to the hospital on 9/21/08.                   And I didn't

 8   know on the initial presentation if it was really sepsis

 9   that was causing all this problem or it was head trauma.

10        Q.   But you confirmed it before April of 2009 when

11   you did your written report, correct?

12        A.   Yes.

13        Q.   So, why didn't you put it -- the question is for

14   the record:        If there is a reason, what if any reason is

15   there that you did not refer to "sepsis" in your report?

16             Strep pneumonia is not sepsis, right?

17        A.   Correct.

18        Q.   Did you inadvertently omit it, did you

19   intentionally omit it, or is there some other reason, if

20   any?

21        A.   I don't know exactly why I left it out.                  I didn't

22   consider it to be the real cause of death.

23        Q.   But you did testify under oath, I believe maybe
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page677
                                            Filed06/14/21
                                                  09/20/21    of174
                                                           Page
                                                           Page  898of
                                                                 23
                                                                      1695
                                                                    of33
                                                                       443
                                                                             173


 1                   (Michael Sikirica - by Mr.            Klein)

 2   twice, that it was a contributing factor to his death,

 3   correct?

 4        A.   Yes.

 5        Q.   As a medical examiner, is it your practice or is

 6   it appropriate to leave out a contributing factor to a

 7   death at an autopsy?

 8                    MS. PECK:       Objection.

 9                    THE WITNESS:        Not typically, no.

10   BY MR. KLEIN:

11        Q.   Was it a substantial contributing factor to his

12   death even though it's your opinion that it's not the

13   primary cause of death?

14        A.   No.

15        Q.   How would you characterize it or quantify it?

16        A.   I would say it was sequelae of the injury that he

17   received.

18        Q.   So, if someone is hypothetically strangled or put

19   in a choke hold and that leads to cardiac arrest, is

20   that something that can happen as a result of being put

21   in a choke hold?

22        A.   Yes.

23        Q.   Strangulation?
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page678
                                            Filed06/14/21
                                                  09/20/21    of182
                                                           Page
                                                           Page  898of
                                                                 24
                                                                      1696
                                                                    of33
                                                                       443
                                                                                181


 1                  (Michael Sikirica - by Mr.             Klein)

 2        Q.   What if anything could that CSF have informed you

 3   of in your autopsy?           Would that have confirmed the

 4   existence of trauma or that it was an overwhelming

 5   bacterial infection?

 6        A.   It would have confirmed that there was a presence

 7   of the bacteria in the cerebral spinal fluid.                     It may

 8   have been blood that would be present from the trauma,

 9   but it wouldn't have been a recommended procedure

10   because M              would risk herniation, which means his

11   brain would -- after you took the excess fluid off for

12   your tap, his brain would have even pushed further down

13   into the frame and magnum, and that could have caused

14   very sudden death.

15        Q.   Now, Dr. Kardos put septic shock first on her

16   list of differential diagnoses.

17             Do you disagree with that?

18        A.   I don't disagree with that.              I didn't see any

19   trauma on M             .   If she didn't see any trauma, that

20   would probably be the first diagnosis in a differential

21   diagnosis.

22        Q.   And you agree that septic shock is a collapse of

23   the circulatory and respiratory symptoms from
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page679
                                            Filed06/14/21
                                                  09/20/21    of183
                                                           Page
                                                           Page  898of
                                                                 25
                                                                      1697
                                                                    of33
                                                                       443
                                                                                    182


 1                  (Michael Sikirica - by Mr.             Klein)

 2   overwhelming infection in the bloodstream.

 3        A.   Yes.

 4        Q.   And that could cause blood pressure to drop

 5   significantly like M                 's did?

 6        A.   Yes.

 7        Q.   And cause body systems to shut down like

 8   M         's did?

 9        A.   Yes.

10        Q.   Could also cause coagulopathy like M                          had?

11        A.   Yes.

12        Q.   When the body's ability to clot doesn't work, it

13   could cause bleeding in multiple places in the body,

14   such as M              had, correct?

15        A.   Yes.

16        Q.   Bleeding could be in the brain like M                          had,

17   correct?

18        A.   Not like M              had.    M           had a subdural

19   hematoma, which is a collection of blood.                    When you have

20   coagulopathy you tend to have bleeding in multiple small

21   areas of the brain, not a large collection like a

22   subdural hematoma.

23        Q.   So, was there any bleeding in the brain
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page680
                                            Filed06/14/21
                                                  09/20/21    of186
                                                           Page
                                                           Page  898of
                                                                 26
                                                                      1698
                                                                    of33
                                                                       443
                                                                             185


 1                  (Michael Sikirica - by Mr.             Klein)

 2        A.   Yes.

 3        Q.   M          was hypoglycemic when he got to Samaritan

 4   as well, correct?

 5        A.   Yes.

 6        Q.   25 on the finger prick, right?

 7        A.   Yes.

 8        Q.   That's very low.         What was the significance of

 9   that?

10        A.   I don't put much on the finger stick, because

11   often that's a very rough.              In an emergency situation,

12   it's not taken properly like it should be sometimes.

13        Q.   Is decreased glucose in the blood something that

14   can lead to a complication like a seizure or comatose

15   condition, something like that?

16        A.   Yes.

17        Q.   M          was tachycardic at Samaritan, correct?

18        A.   Yes.

19        Q.   That is a common symptom of many things that

20   include nontraumatic causes, correct?

21        A.   Yes.

22        Q.   Like sepsis could cause him to be tachycardic,

23   correct?
 Case
Case Case  23-753, Document
       1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                         Document
                        Document            3604338,
                                     156-6 Filed
                                   142-22             Page681
                                            Filed06/14/21
                                                  09/20/21    of187
                                                           Page
                                                           Page  898of
                                                                 27
                                                                      1699
                                                                    of33
                                                                       443
                                                                                   186


 1                  (Michael Sikirica - by Mr.             Klein)

 2        A.   Yes.

 3        Q.   He had pancytopenia, correct?

 4        A.   Yes.     That means all of his cells were decreased

 5   in numbers.        His white count was very low.              His red cell

 6   numbers were quite low.            His platelets were low.              But

 7   still within the range to work.

 8        Q.   Sepsis is known to cause that, correct?

 9        A.   Yes.

10        Q.   He had leukopenia at Albany and Samaritan, right?

11        A.   Yes.     That would be classified as involving the

12   pancytopenia.

13        Q.   And that's also known to be caused by sepsis.

14        A.   Correct.

15        Q.   He had hypothermia and hypotension as well,

16   correct?

17        A.   Yes.

18        Q.   Also both consistent with sepsis, correct?

19        A.   Yes.

20        Q.   Just to be clear:          There were no external bruises

21   on M          's body, correct?

22        A.   Yes.

23        Q.   No external contusions?
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page682
                                            Filed06/14/21
                                                  09/20/21    of188
                                                           Page
                                                           Page  898of
                                                                 28
                                                                      1700
                                                                    of33
                                                                       443
                                                                             187


 1                   (Michael Sikirica - by Mr.            Klein)

 2        A.   No.

 3        Q.   No marks on his neck?

 4        A.   Correct.

 5        Q.   No soft tissue injuries.

 6        A.   Well, the soft tissue injury would be the

 7   subgaleal hemorrhages.            That would be considered soft

 8   tissue.

 9        Q.   Those were not from trauma, though, correct?

10                    MS. PECK:       Objection.

11                    THE WITNESS:        They were from trauma.

12   BY MR. KLEIN:

13        Q.   Well, the subdural hematoma was the site of the

14   trauma that -- and they lead, according -- I believe, if

15   I understand you correctly, those lead to the SGHs?

16        A.   The subgaleal hemorrhages were the bruises under

17   the scalp and they were due to some sort of impact

18   injury.      So, they were due to trauma.              They were not due

19   to sepsis or coagulopathy.

20        Q.   Isn't one of them, in your view, noncontributory

21   in this case?

22        A.   Yes.

23        Q.   Which one?
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page683
                                            Filed06/14/21
                                                  09/20/21    of189
                                                           Page
                                                           Page  898of
                                                                 29
                                                                      1701
                                                                    of33
                                                                       443
                                                                             188


 1                   (Michael Sikirica - by Mr.            Klein)

 2        A.   The older greenish one is not contributory to the

 3   acute cause of death.

 4        Q.   Why not?

 5        A.   Because it's older.           It occurred at an older

 6   interval.       It could be five days or more, seven days

 7   older.

 8        Q.   You didn't see any injury to the disks that

 9   support his head, correct?

10        A.   No.

11        Q.   No indication of inflammation to the neck or

12   cervical tissues?

13        A.   None.

14        Q.   And no evidence of new or old fractures anywhere

15   in his entire skeletal system, correct?

16        A.   That is correct.

17        Q.   Once there is a chronic subdural collection or

18   hematoma it can rebleed with no apparent trauma,

19   correct?

20        A.   That is correct.

21        Q.   So, could that rebleed cause the subgaleal

22   hemorrhage or would that be a different?

23                     MR. PECK:      Objection to the form.
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page684
                                            Filed06/14/21
                                                  09/20/21    of208
                                                           Page
                                                           Page  898of
                                                                 30
                                                                      1702
                                                                    of33
                                                                       443
                                                                             207


 1                  (Michael Sikirica - by Mr.             Klein)

 2        Q.   What would explain -- let's say there were 30, 20

 3   or 30 on Sunday when he got there.                 What would explain

 4   the increase to 60, being on a ventilator, plasma, other

 5   things?

 6        A.   It could simply be the volume overload he was

 7   experiencing in general that built it up so much.

 8        Q.   Volume overload being what?

 9        A.   The fluid they were giving him.

10        Q.   So that 60 may have been an artificially or

11   somehow increased from his normal levels due to the

12   treatment he got.

13        A.   It could have been, yes.

14        Q.   With regard to coagulopathy or DIC, do you agree

15   that that has only a small association with head trauma.

16   It's more associated, in other words, with other causes.

17        A.   I would say that I agree with that, but the topic

18   hasn't been fully researched yet.

19        Q.   To the best of your knowledge, that's an accurate

20   statement?

21        A.   Yes.

22        Q.   So, you were asked earlier questions about the

23   causes of death, and sepsis is not listed, right?
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page685
                                            Filed06/14/21
                                                  09/20/21    of209
                                                           Page
                                                           Page  898of
                                                                 31
                                                                      1703
                                                                    of33
                                                                       443
                                                                             208


 1                  (Michael Sikirica - by Mr.             Klein)

 2        A.   Correct.

 3        Q.   Sepsis is a cause of death in this case, correct?

 4        A.   It's a contributory cause of death.

 5        Q.   That makes it a cause of death, correct?

 6                    MS. PECK:       Objection.

 7        Q.   It's not really meant to be a trick question.

 8             It's a cause of death.

 9        A.   In this case, no.          It's a contributory factor to

10   the cause of death.

11        Q.   What's the difference?

12             So, is blunt force trauma a contributory factor

13   as well?

14        A.   Blunt force trauma is the cause of death.

15        Q.   That's based on your determination.

16        A.   Correct.

17        Q.   That other doctors could disagree.

18        A.   Absolutely.

19        Q.   When you talk about your findings, you typically

20   try to make them based on objective findings on autopsy

21   or in your exam, correct?

22             You try to base your opinions on objective

23   findings.
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page686
                                            Filed06/14/21
                                                  09/20/21    of210
                                                           Page
                                                           Page  898of
                                                                 32
                                                                      1704
                                                                    of33
                                                                       443
                                                                             209


 1                   (Michael Sikirica - by Mr.            Klein)

 2        A.   Findings that I see and evaluate, yes.

 3        Q.   The link here to the trauma, to the sepsis,

 4   pneumonia then sepsis, is the aspiration, correct?

 5        A.   Yes.

 6        Q.   That's something that there is no objective

 7   evidence of, correct, the aspiration?

 8        A.   There is no objective evidence of the aspiration,

 9   but I wouldn't expect to find it.

10        Q.   Sometimes you do though, correct?

11        A.   There are occasions you do, yes.

12        Q.   Do you feel that in retrospect you should have

13   listed sepsis in the death certificate as a contributing

14   cause of death?

15        A.   No.

16        Q.   Why not?

17        A.   Because I think it's confusing.               I think it

18   unnecessarily diverts the real cause of death from what

19   is going to be the closed head injury with cerebral

20   edema.

21        Q.   Such that you would keep it out of the autopsy

22   and the death certificate.              Even as of today you would

23   stand by that?
Case
 CaseCase  23-753, Document
     1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                           APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-22   3604338,
                                     156-6 Filed      Page687
                                            Filed06/14/21
                                                  09/20/21    of230
                                                           Page
                                                           Page  898of
                                                                 33
                                                                      1705
                                                                    of33
                                                                       443
                                                                             229


 1                   (Michael Sikirica - by Mr.            Klein)

 2   your duties and responsibility and given all of your

 3   experience, as part of the law enforcement team here

 4   with prosecutors, police and anyone else investigating

 5   this?

 6                    MS. PECK:       Objection.

 7                    THE WITNESS:        I am part of no team.

 8   BY MR. KLEIN:

 9        Q.   Are you considered law enforcement, though --

10                    MS. PECK:       Objection.

11        A.   No.

12        Q.   Do you undertake an autopsy like this knowing

13   that police and/or prosecutors will rely on it in

14   criminal proceedings?

15        A.   Yes, I do.       I do every autopsy with the

16   expectation that some day, even though it may seem to be

17   natural at the time, or an accident, somewhere, somehow,

18   it may come into a medical legal case and be brought up

19   for charges or could be brought to an attorney.

20        Q.   So, when you in this case made the determination

21   at some point not to document sepsis in the autopsy and

22   the death certificate, you did that knowing that

23   prosecutors would rely on your findings and the lack
       Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS
                                          APPENDIX
                              62, 01/17/2024,
                                        156-7 3604338,  Page688
                                               Filed 09/20/21   of 898
                                                              Page  1 of 4
                                                                                                          1706       286



 1      UNITED STATES DISTRICT  COURT
        NORTHERN DISTRICT  OF NEW YORK
 2

 3      ADRIAN THOMAS,                                                                         RECEIVED
                                                                                           NYS OFFICEOF THE
 4                                                    Plaintiff,
                                                                                                OCTO2 2019
 5                                - against               -                              ATTORNc:YGENERAL
                                                                                         \ CLAIMS BUREAU
 6
        CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
 7      TIM COLANERI,
        RENSSELAER COUNTY, and MICHAEL SIKIRICA,
 8
                                                      Defendants.
 9

10      NEW YORK STATE
        COURT OF CLAIMS
11

12      ADRIAN P.               THOMAS,

13                                                    Claimant,

14                                - against               -

15      THE STATE OF NEW YORK,

16                                                    Defendant.

17                                DEPOSITION                  of    Defendant,           MICHAEL SIKIRICA,

18      held      on      the     6th         day    of       September          2019,      commencing         at

19      9:00      a.m.,          at     the     Law Offices               of     Bailey,        Johnson      & Peck,

20      P.C.,         5 Pine          West      Plaza,             Washington          Avenue     Extension,

21      Albany,           New York             12205,          before      Jeanne          O'Connell,

22      Registered               Professional                  Reporter          and     Notary     Public      in

23      and     for       the     State         of    New York.

                                                                                           D ORIGINAL
       Case
     Case 1:17-cv-00626-DJS
                              APPENDIX
             23-753, DocumentDocument
                              62, 01/17/2024,
                                        156-7 3604338,  Page689
                                               Filed 09/20/21   of 898
                                                              Page  2 of 4
                                                                           1707        287


 1      APPEARANCES:

 2      Brett    H. Klein,    Esq.
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 3      Suite    600
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 4      Attorney     for Plaintiff/Claimant

 5      Pattison      Sampson Ginsberg    & Griffin, PLLC
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 6      Troy,    New York      12180
        By:     Joseph     T. Perkins, Esq.
 7      Attorneys      for City of Troy,    Adam R. Mason,
        Ronald     Fountain    and Tim Colaneri
 8
        Bailey,     Johnson    & Peck,    P.C.
 9      5 Pine West Plaza
        Washington       Avenue Extension
10      Albany,     New York 12205
        By:     Crystal     R. Peck,   Esq.
11      Attorneys       for Michael    Sikirica

12      New York State      Office   of the        Attorney    General
        The Capitol
13      Albany,     New York 12224
        By:     Christina   M. Calabrese,          Assistant    Attorney     General
14
        Also   present:      Katherine        Hamilton
15

16

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18

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23
       Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                              APPENDIX
                                        156-7 3604338,  Page690
                                               Filed 09/20/21   of 898
                                                              Page  3 of 4
                                                                                                              1708           290



 1                                (Michael             Sikirica         - by Mr.               Klein)

 2      make.

 3             Q.        Anything             else?

 4             A.        Not      that        I recall.

 5             Q.        It's      considered               streptococcus                 pneumoniae.

 6                       Is     that         the    type       of    strep       it      is?

 7             A.        Yes.

 8             Q.        Did      you        do any        research           on streptococcus

 9      pneumoniae                last        night?

10             A.        I looked             up to        see      what      classification                 it      was,

11      but     I didn't               do any          extensive             research,            no.

12             Q.        So,      streptococcus                   pneumoniae             is     what's       present         in

13      this        case?

14             A.        Yes.

15             Q.        And streptococcus                        pneumoniae             can      cause      serious

16      infections                such        as    pneumonia,               correct?

17             A.        Yes.

18             Q.        Meningitis?

19             A.        Yes.

20             Q.        Could         it     cause        a secondary                meninges           infection          we

21      have        in     this        case?

22             A.        Yes.

23             Q.        And it             could      cause        bloodstream                infection          such      as
           Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                              APPENDIX
                                  62, 01/17/2024,
                                            156-7 3604338,  Page691
                                                   Filed 09/20/21   of 898
                                                                  Page  4 of 4
                                                                                                                        1709                  291



     1                               (Michael         Sikirica               - by Mr.              Klein)
~

     2      sepsis,            correct?

     3             A.     Yes.

     4             Q.     Based            on my research                  from          the      CDC, streptococcus

     5      pneumoniae,               like        we have           in     this          case,          kills         close          to

     6      half        a million            children            under            five         years       old        worldwide

     7      every        year.

     8                    Does        that        sound         like       it's          possible               to    you?

     9             A.     Yes,        it     does.

    10             Q.     It's        a very         serious             disease.

    11             A.     Yes,        it     can     be.

    12         - Q.       The        streptococcus                  pneumoniae                  that       presents                 in

    13      this        case      can       be transmitted                   as         a result           of        direct

    14      person-to-person                      contact,             correct?

    15             A.     Yes.

    16             Q.     Based            on what         I gathered                   from      the      CDC --             let        me

    17      know if            you    disagree             --      these          are     lancet           shaped             gram

    18      positive             facultative,                anaerobic               bacteria?

    19             A.      Yes.

    20             Q.     They're            common inhabitants,                               these       pneumococci                    are

    21      common inhabitants                       of      the       respiratory                 tract,             correct?

    22             A.      Yes.

    23             Q.     While            they    are      most         commonly                presented              clinically
                          APPENDIX                                                          1710
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-8 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page692    1 of 10
                                                           of 898



  1       STATE OF NEW YORK

  2       COUNTY COURT                               COUNTY OF RENSSELAER

  3                                                                                                 X

  4       THE PEOPLE OF THE STATE OF NEW YORI<:

  5       - against   -                              Indictment           #08-1074

  6       ADRIAN THOKA.S,

  7                       Defendant.

  8                                           - - - - - - - - - - - - - - -                             X

  9       JURY T.RIAL - VOLUME XII

 10                                                  County Courthouse
                                                     Congress  and Second Streets
11                                                   Troy, New York 12180
                                                     October  15, 2009.
 12
          Before:
 13
                          HONORitBLE ANDREWG. CERESIA,
 14                       County Court Judge.

 15       A p p e a r an       c es:

 16                          For the People:
                             RICHARD J. MC NALLY, JR., ESQ.,
                                                                                                -
                                                                                                0



 17                          District    Attorney,  Rensselaer   County,
                             By:     ARTHUR F. GLASS, JR., ESQ.,
 18                          and CHRISTA M. BOOK, ESQ., Assistant
                             District    Attorneys,  of counsel,
 19                          Rensselaer     County Courthouse,
                             Troy, New York.
 20
                             For the Defendant:
 21                          JEROME K. FROST, ESQ.,
                             Public    Defender,   Rensselaer    County,
 22                          and INGRID EFFt,l:Z:.,N, ESQ., .Assistant                      Public
                             Defender,     of counsel,
 23                          Rensselaer     County Courthouse,
                             Troy, New York.

                             ADRIAN THOMAS, Defendant,                       in   person.
 25

                                              Judy    _Zl. DelCogJ.iano
                                   Official          Senior   Court   Reporter




                               AXXXXXXXX
                             APPENDIX                                                       1711
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-8 3604338,
                         62, 01/17/2024, Filed 09/20/21 Page
                                                   Page693    2 of 10
                                                           of 898
                                                                                                       1952


 1
                                                 INDEX TO WITNESSES
 2

 3

 4                                               Direct           Cross          Redirect       Recross

 5

 6

 7       For the      Defendant:

 8
        JEROME0. KLEIN                            1954             2001            2047
 9
         BRUCEUSHKOW                              2049             2054            2057
10

11

12

13

14

15                                           I~IDEX TO EXHIBITS

16

17                                                          Identification                  Evidence

18

19       For the      Defendant:

20
         Q.   Curriculum      Vitae                             1954                         1968
21            Dr. Klein

22       R.   Slide                                             1954

23       s.   Chart                                             1985

24       T.   Report                                            1985

25

                                                 Judy     A, DelCogliano
                                      Official          Senior  Court Reporter




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                                                                                                                   APPENDIX
                                                                                  Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 3 of 10
                                                                                                                                                                                            1712
                                                                                                                        (Kl.ein      - Derendant;               - Direct;)                                     1970


                                                                              l                  A.      Yes.
                                                                              2                  Q.      Doctor,         do you have an opinion,                             to a reasonable
                                                                              3         degree        of medical         certainty,             as to the            cause       of death          of the
                                                                              4         Thomas baby?

                                                                              5                 A.       I do.
                                                                              6                                  MR. GLASS: Objection,                              no foundation.
Case 23-753, Document 62, 01/17/2024, 3604338, Page694 of 898




                                                                          7                                      TF!Z COURT: Overruled.

                                                                          8                     Q.       You may answer                the      question,            Doctor.
                                                                          9                     A.       I do.

                                                                         10                     Q.       And, Doctor,               wha~ is your opinion?
                                                                         11                     A.       The child         died       of overwhelming                       pneumococcal       sepsis
                                                                         12             and septic        shock.
                                                                         13                     Q.      Can you explain                 to the           jury       the basis       of your
                                                                         14             opinion?

                                                                         15                     A.      The child          had an acute                  infection            due to this
                                                                         16             organism,       the pneumococcus,                    and the           other        term that      you will
                                                                         17            here     is streptococcus               pneumoniae,                and it        probably         began wi~h an
                                                                         18            acquisition         of the        organisms             from another                 human, presumably               in
                                                                         19            the household,            that      infected            the      upper       respiratory           tract;         the
                                                                         20            nose and throat.                 This      is very            common.           If    you went into           a
                                                                         21            day-care        center      for     infants,            you might            find       a third     of them in
                                                                         22            the winter        would have the                organism              in the         upper   respiratory
                                                                         23            tract.         But in some infants,                     it     will      cause        disease,      and it         can
                                                                         24            cause disease            in two ways.
                                                                ..
                                                                ·-·.:.
                                                                         25                             One, it         can spread             directly.             And, so,           from the upper

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                                                                                                                         Official       Senior         Court    Reporter



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                                                                                                APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 4 of 10
                                                                                             (K1ein - Defendant     - Direct)                                                1713                         1


                                                                       1    respiratory            tract,          it     can go through                   the    eustachian            tube       int,
                                                                       2    the ear and cause                 ear infections.                         It     can also        be swallowed.
                                                                   3        So, it       gets     into       the lung and can cause                              pneumonia;         or from tl
                                                                   4        respiratory           site,       it        can gain           access          to the bloodstream                  and

                                                                   5        cause     bacteremia,             as happened                  in~-                       In many cases,                eve
                                                                   6       when it        causes         bacteremia,                it's         relatively           benign.           About a
                                                                   7       third      of the        children,              their         host       offenses,          their       immune
Case 23-753, Document 62, 01/17/2024, 3604338, Page695 of 898




                                                                   8       system,        their      spleen,             will      get          the organism           out of the
                                                                   9       bloodstream            and,      even without                   antibiotics,               the   infection              will
                                                                  10       be contained.                 But in a very small                         number,          the   infection              wLl
                                                                  11       multiply        and progress                  with      its          -- the bacteria             and its        toxins

                                                                  12       and result           in sepsis,               and sepsis               is a term that               implies         a
                                                                  13       systemic        infection              involving              the whole body,                and that          can
                                                                  14       result        in consequences,                      including           shock.          And once you get                  to
                                                                  15       that     point,        death       ls               there's          a high probability                  of death,
                                                                  16       and I believe             that's             what happened                with~-
                                                                  17                Q.       Can yQt:I tell                th=J ju:;::y,          •,-•hat is      pneu.mococc:i.l         sepsis?
                                                                  18                A.       Pneumococcal                  sepsis          is     sepsis         due to this         organism,
                                                                  19       the pneu.mococcus.                  So, the             implication               is that        it's     not       a
                                                                  20       localized         infection,                 like     an ear           infection           or a pneumonia,                but
                                                                  21       it's     gotten        into      the         system       through             the bloodstream             and is
                                                                  22       giving      generalized             signs            and symptoms.
                                                                  23                Q.       Doctor,          can you tell                  the      jury        what is       septic      shock?
                                                                  24                A.       Septic         shock         is wh-s,1.the              sepsis        progresses           to the
                                                                  25       point     where bodily              functions                 are     impaired,            and it       may be --          th

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                                      APPENDIX
Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 5 of 10
                                        (KJ..ein - Defendant                                           -    Direct)                     1714                     198.


 1      microscopic                 examinations,                            heart           and       testes,             but        also      could          be,

 2      where        there          was examination                               by the            ophthalmologist,                          in      the

 3      retina,         as well            as          the             bleeding              in     the          brain.

 4                Q.         Doctor,                 is          there,           in      fact,            association                 between

 5      coagulopathy                 or    disseminated                                intravascular                      coagulopathy                   and

 6      overwhelming                 sepsis?




                                                                                                                                                                        Case 23-753, Document 62, 01/17/2024, 3604338, Page696 of 898
 7                A.         Yes.          This                  is     usually              a result               of overwhelming

 8      sepsis.          There            may be other                            reasons.                      I don't       know them.                    But

 9      the    vast      majority                of              DIC will               be due             to     an infection.

10                Q.         Do you have                          an opinion,                     to       a reasonable                 degree            of

11      medical         certainty,                     as         to      what          caused             the      coagulopathy                    problem

12      in    this      child?

13                A.         Yes.

14                Q.         And what                  is         your         opinion?

15                A.         It's         the         pneumococcal                           bacteremia,                   sepsis            and      septic

16      shock.

17                Q.         If      there's                     bleeding               in    the          heart          and the            testes         due

18      to    coagulopathy,                     is          it        possible               to    have           bleeding             in     the        brain

19      due    to      coagulopathy?

20                A.         You can             have                 bleeding               in     any          organ.          It     can         go

21      anywhere,            because             the              same phenomena                           is     occurring             throughout

22      the    body.          It      can        occur                  in     the       brain,             the      eye,        heart          and

23      testes,         as was            identified                         at        autopsy.

24                Q.         And why was                          it      occurring                 everywhere                or       anywhere?

25                A.         Because                 it's              general.               All          these          clotting            factors            are

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                                            AXXXXXXXX                                                                       P005132
                                      APPENDIX
Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 6 of 10
                                                                                                                               1715
                                               (K1ein          -    De£e:ndant                  - Direct)                                              1986


 1       groups         more      prone          to     sepsis?

 2                 A.          Yes.

 3                 Q.          Can you tell                   the        jury          about      what,         if        any,       impact          age

 4       has     on sepsis?

 5                 A.          Infants           are     at        highest              risk,       and        the        first       year        of

 6       life      is    the     highest              among that                   age     group,         and that's                  why




                                                                                                                                                            Case 23-753, Document 62, 01/17/2024, 3604338, Page697 of 898
 7      physicians              are      usually           very            alert         for      any     signs             that      might

 8       suggest         sepsis,          to      begin            antibiotics                   very     early.

 9                 Q.        Why are             infants            more           susceptible                 to     the         pneurnococcal

10      organism?

11                A.         Well,        it's          not        only         pneurnococcal.                      The other               bacteria

12      is      important,            too;        the      streptococcal,                         staphylococcal,

13      meningococcal                 infections,                   and         it's      probably              because             their

14      immune          systems          are      not      yet       mature              enough         to      develop             protection

15      against          those        organisms.                    That's              why we begin                 immunizations                     at

16      two months              of    age,        to     try        to      bolster             their        immune            protection.

17                Q.         Doctor,             assuming             --        you are           aware         from          the     records

18      that      M                                   was born              at         33 weeks.             Would           you     consider

19      that      as premature?

20                A.         Yes.

21                Q._        And when             a child             is      born        premature,                 is      there          any

22      impact          on the        child's            immune             system          or their                ability          to      fight

23      off      infection            based           on their              being         born      premature?

24                A.         Well,        there          are        two         issues.            One is,                during

25      pregnancy,             the     mother            delivers                antibodies               to        the      baby      that       are

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                                          AXXXXXXXX                                                                P005135
                                              APPENDIX
        Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 7 of 10
                                                (KLein - Defendant                                       - D£rect)                   1716                    198


         1      accentuated              during            the          last      weeks.                 So,    if     you are          born       at

         2      33 weeks,             rather             than         38 weeks,               you are           not      getting          the

         3      mother's          passively                transmitted                       antibodies              acro~s        the     placenta

         4      into      the     baby,            into         the      fetus.               That's           one     element,           that

         5      prematures             are      more            acceptable                to       infection.

         6                            The second                  is     that          the     immunity               system,        immunologic




                                                                                                                                                                   Case 23-753, Document 62, 01/17/2024, 3604338, Page698 of 898
         7      system,         has      to     be prepped                     and built                up,     and the         infant,

         8      particularly                 the      premature                 infant,             has        a relatively               immature

         9      immune system,                  and        it's          not      until            months        later        that        they      are

        10      able      to    get      an immune                 system          that            is     more       protective.                 So,     the

        11      first      year        of      life        is      really          a vulnerable                      period        in     terms         of

        12      the     pneumococcus                  and these                 other          organisms.

        13                Q.       What,            if     anything,               do pediatricians                         do to         help

        14      protect         a child             against              this?

        15                                      MR. GLASS:                       Objection,                Your        Honor,        unless         the

        16                doctor         knows what                     happened              in    this        case.

        17                                         THE COURT:                    Sustained.

        18                Q.          Doctor,             did      you examine                     the     pediatrician                  records          for

        19      the     Thomas baby?

        20                A.          I did.

        21                Q.       And are                you aware               of whether                   or not       this         child

        22      received          any        shots         to      help         protect             him from             infections?

        23                A.          I did         see         that.

        24                Q.          Tell      the        jury          what      you saw.
.· ..
.. .
·--     25                A.          In terms             of the              pneumococcus,                    we now have               a very

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                                                                                                                          P005136
                                        APPENDIX
Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 8 of 10
                                                                                                                               1717
                                                (K1-ein        -     Defendant                - Direct)                                              1988


 1       effective              vaccine          that's             cut        down on problems                       such       as~

 2       had by substantially,                              by about              80 percent,                 but        you need            vaccine

 3       to be given               at    two,          four,         six        months,            and then              a booster            dose

 4       at     12 months.                That's            the      regular              schedule.                 The reason               we do

 5       it     at     two,      four,          six      months            is    because             the      first            one has        a

 6       relatively              modest          effect,             very         little,            but      it      has       a so-called




                                                                                                                                                             Case 23-753, Document 62, 01/17/2024, 3604338, Page699 of 898
 7      memory,              so that       when you give                        the       four-month                dose,        you get           a

 8       boost.              The body           remembers             that            you got          the         two-month            dose.

 9       Unfortunately,                  ~had                         the         two-month               dose,          but     had not           yet

10       gotten           the    four-month                 dose.           So,        the       protection               afforded            by the

11       vaccine           was minimal.

12                   Q.         Are there              any        factors             that       make recovery                   from

13       overwhelming                  sepsis          difficult?

14                   A.         In the          sense        that          if     it's        --     if      you reach            the        point

15       where         the      sepsis          as progressed                     to      septic           shock,         then     the

16       attempt           to manage             the        infection                 often        fails.             As we know in

17       this        case,       the     baby          is    treated              appropriately                     arid aggressively

18       at     both         Samaritan           Hospital             and Albany                   Medical            Center        and

19       doesn't             survive.            So,        this      infection                  has      overwhelmed              the        baby

20       at     that       time,        when the             baby         is      admitted             to     Samaritan            Hospital;

21       and unfortunately,                       those             cases        will         continue              to    occur,         and we

22       will        hope       that     we can             get      enough              doses       of the           vaccine           in    to       get

23       to     the       four-month             and the             six-month,                  where        the        baby     will        be

24       protected.                But in          this           interval,               the      baby       is      still       highly

25       vulnerable,               and the             vaccines                will       not      yet      be sufficiently

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                                           AXXXXXXXX                                                              P005137
                                        APPENDIX
Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 9 of 10
                                                                                                                          1718
                                            (1G.ein            -   De:fendant            -    Direct)                                               1990


 1                Q.            Doctor,          do you have                 an opinion              as to           whether           --

 2      strike          that.           Do you have                 an opinion               as     to    the        state          of health

 3      of ~upon                           his     arrival              to    Samaritan              Hospital                and     during

 4      his      stay      there?

 5                A.            Well,      we know that                  he wasn't                survivable                 when he

 6      arrives          at      Samaritan              Hospital.




                                                                                                                                                          Case 23-753, Document 62, 01/17/2024, 3604338, Page700 of 898
 7                Q.            Doctor,          do you have                 an opinion              whether              sepsis           can be

 8      caused          by trauma?

 9                A.            Yes.

10                Q.            What is          your         opinion?

11                A.            I know of          no reason                 why trauma              would           cause          sepsis.

12                Q.            And can          you please              explain             your        opinion             for     the          jury?

13                A.            Well,      we are             dealing         with       an infectious                       organism              and

14      its      consequences,                   and     if        you get        a bruise               or    a head              trauma,          it

15      has      nothing          to      do with         the        immune          system          or       the     progression                   of

16      the      infection              from      the     throat             to   the        lungs        or        the    bloodstream.

17      So,      any attempt               to make a connection                              between           head        trauma            and

18      the      progression               of     the     infection               would           be highly               speculative.

19                Q.            Do you have              an opinion               as to           whether            streptococcus

20      pneumoniae               can be caused                     by trauma,            Doctor?

21                A.            Streptococcus                  pneumoniae               is    a microorganism.                             It's

22      acquired           via      the     respiratory                  tract        by droplets                    from          another

23      human and has                   nothing          to        do with        trauma.

24                Q.            And how many years                       have        you been             studying,

25      researching,                teaching             and writing                 about          streptococcus

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                                           AXXXXXXXX                                                          P005139
                                    APPENDIX
Case 1:17-cv-00626-DJS Document 156-8 Filed 09/20/21 Page 10 of 10
                                      (KJ..ein - Defendant                                   - Direct)                          1719                     199~


 1                 Q.        If    there            had been              aspiration                 due          to     alleged              head

 2       trauma,          would     you expect                    to      see        evidence              of that             in       the      first

 3       x-ray      done      at    Samaritan                    Hospital?

 4                 A.       Well,            you might.                   I 1 m not           sure         it's         absolute,                but      if

 5       there      was significant                        aspiration,                    one would                think          it      would          show

 6      up.

                   Q.                                                                      trauma           have          anything               to      do




                                                                                                                                                                   Case 23-753, Document 62, 01/17/2024, 3604338, Page701 of 898
 7                          Doctor,                did     alleged             head

 8      with       this     child            developing                 pneumococcal                  sepsis?

 9                A.        No.

10                 Q.       Can you explain                         that         opinion             for          the     jury?

11                A.        This            child         dies      of     an infectious                          disease.                He dies             of

12       overwhelming              pneumococcal                     sepsis            and      septic              shock.               There's           no

13      relationship               with         trauma            and      this           infectious                   process.

14                 Q.       Doctor,                did     alleged             head        trauma           have          anything               to      do

15      with       this     child            developing                 septic            shock?

16                A.        No.             The septic              shock            is    a consequence                       of       the

17       infection.               So,        the      issue         is,        the        tragedy           is         that     this            child

18      developed           an infection                    that          progressed                 and      was so            overwhelming

19       that      he couldn            1
                                            t survive.                  He dies            of pneumococcal                             septic

20       shock.

21                 Q.       Doctor,                assuming             that         CT scans              taken          at    Albany

22      Medical           Center            on 9/21/08              report            bilateral                   subdural              fluid

23       collections,              does            that     have          any        impact          on your              opinion               as to

24       the     cause      of     death            of     this         baby?

25                 A.       No.

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                                             AXXXXXXXX
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                                 APPENDIX                                                   1720
Case 1:17-cv-00626-DJS
  Case  23-753, DocumentDocument   156-9 3604338,
                         62, 01/17/2024,  Filed 09/20/21 Page
                                                   Page702     1 of 5
                                                           of 898

                                         SAMARITANHOSPITAL
                                         MEDICALRECORDDEPT.
                                         2215 BURDETTAVE.
                                         TROY, NY 12180




._,      ...
ACCOUNTNO.

2441 21ST STREET
TROY
                    0042310703
                                    EMERGENCYROOMREPORT

                                                              MEDREC NO. 01209357
                                                              PHYSICIAN: Kardos MD,Katri
                                                              AGE: 04M 17D
                                                              DOB:    -
                                                                             SEX:  M

NY             12180                                          STATUS: DEP ER
ADMISSIONDATE:    09/21/08                                    LOC: ER


DICTATEDBY:        Katrina     Kardos,   MD

The patient was seen in the ER upon arrival                  in room #3, arrival
 time was 0912.

HISTORY OF PRESENT ILLNESS: This is a 4-month-17-day-old                         male
 patient    who was twin who was born at 36 weeks gestation                      via
 vaginal    delivery    at Albany Medical Center.              According to mom,
 he spent approximately          2.weeks in the NICU at Albany Medical
 Center and then was transferred             to Seton Health for a step down
 unit and spent approximately            3 weeks there.          The patient      was
 brought in by EMS today for evaluation                  of decreased      respiratory
 rate,   bradycardia     and· tachycardia.         The mom states        the patient
 has been having diarrhea           for "a few days" and "some.vomiting".
 She reports      that his temperature         was 100.4 rectally          this
 morning.      She states     that this morning he appeared well at 6:00
 a.m. and then he had a rapid decline over the morning hours.
 She reports      that his respiratory         effort     increased,     he was not
 acting himself,       he became more lethargic            and more limp.         EMS
 reported    that when they arrived           the patient      was on the bed with
 agonal respirations        at about 4-5 respirations             per minute.        They
 report he was also bradycardia.               They began to bag him and got
 IV access.       They report     once they started          to bag him, he seemed
 to improve, his saturations           increased        and his heart rate went
 up to the 200s.        The patient      arrived      to the ER, he was
 minimally responsive,          he was being bagged.           He was transferred
 to our stretcher       for further      care.     Mom reports       there are
 multiple    children    at home, he does have a twin, the twin has
 been well today.        Please see the Emergency Department Physician
 Form for further       details    of the history         and review of systems.

PHYSICAL EXAMINATION:His vital            signs were reviewed and in the
 chart,    heart rate is 182, respiratory           rate was 30 being bagged,
 temperature     was 97.2 rectally.         In general,      this is an ill
 appearing     male patient      who appears to be in severe respiratory
 distress     and is minimally responsive.           HEENT: Normocephalic,
 atraumatic.       Lids and lashes are normal, he does have an area
 of erythema on his right eyelid which mom reports                    is a birth
 mark, anicteric       sclerae,    no conjunctival       injection.      His pupils
 are approximately         1-2 mm and nonreactive       when I initially
 evaluated     him.    No nasal discharge,       no epistaxis.          Moist oral
 mucosa and no obvious malocclusion             visualized       in the oral
 airway.      Respiratory:      He has significant       intercostal
 retractions,      he is moving very little         air on his own and when



PATIENT CARE INQUIRY (PCI: OE Database                SAT)                      DRAFT COPY

Run: 09/23/08-10:36          by Myott,Jackie                                     Page 1 of 5
Case 1:17-cv-00626-DJS
        23-753, DocumentDocument   156-9 3604338,
                                          Filed 09/20/21 Page  2 of 5
  Case
 he is not beir.':agged
                                  APPENDIX
                         62, 01/17/2024,
                              he is breathing
                                                   Page703 of 898
                                                    very slc~nd        grunts
                                                                                             1721
 with each breath.       Cardiac:      He is tachycardic,      regular    rhythm,
 normal Sl, S2, no murmurs, rubs or gallops               were appreciated.
 Abdomen: Soft, slightly         distended,     most likely    due to the air
 from bagging him, no peritoneal            signs at this time.        He is a
 circumcised    male.    Neurologic:      He flexes his pain to painful
 stimuli.     EMS reported     that he was actually        looking around a
 little   bit when they were bagging him, however, here he does
 not do that for us.       Skin: He has an area of mongolian spot on
 his buttocks,    no contusions,        abrasions   or deformities      are noted
 on the anterior      or posterior      aspect of his body.

DIFFERENTIAL DIAGNOSIS:
1. Septic shock.
2. Intracranial  abnormality/intracranial                   injury.
3. Profound dehydration.

ASSESSMENTAND PLAN: This is a 4-month-17-day-old                           male patient
 who is a twin, he was born at 36 weeks gestation                          via vaginal
 delivery     at Albany Medical Center.                The patient       has been doing
 well at home. Mom reports              he has had some recent diarrhea                    and
 some vomiting.          His temperature        was 100.4 rectally            this
 morning.      Mom reports       he was doing well at 6:00 a.m. and had a
 rapid decline.          Once the patient         was transferred          to our
 stretcher,      he was intubated.            I attempted        intubation      once and
 was unsuccessful         and the respiratory            therapist      was able to
 intubate     the patient       using a 31/2 uncuffed endotracheal                    tube
 initially     put in approximately            11 at the lip line.             He had good
 breath sounds bilaterally,             no sounds over the epigastrium                   and
 good color change on the CO2 detector.                       The tube was secured
 using tape and a one view chest x-ray was also obtained.                                When
 the patient       first   arrived,      the Broselow tape was used to
 estimate     his weight and to assist              in drug dosing,         he was in the
 pink scale on the Broselow tape which put him at approximately
 7 kg.      The patient,      prior to intubation,             was being bagged and
 his saturations         were very labile         unless he was being bagged
 well.      Before the intubation            he did receive         etomidate      2 mg IV
 which helped to relax his jaw enough to allow for better
 visualization        of his posterior         pharynx.        The patient,        from EMS,
 received     a total     of approximately          300 cc of normal saline.
 Once he arrived         to the ER, he was placed on a pump and 2
 received     boluses     of 20 cc per kg of normal saline.                    Prior to
 him being intubated,           we also did a fingerstick               glucose which
 was SO and as a result             he received       3.2 gm of dextrose           and his
 fingerstick       increased      to the 130s.         Once the airway was
 secured,     his fluid boluses were being placed and his heart rate
 was somewhat stabilized             and his saturations            were stable.        He
 received     antibiotics       including      ceftriaxone        100 mg per kg IV x
 one for a total         of 700 mg IV x one and vancomycin 15 mg per kg
 for a total      of 105 mg IV x one.             Please note, during my
 intubation      attempt     the patient       had copious amounts of green
 secretions      in his posterior         pharynx that were suctioned                 out.
 His initial      chest x-ray showed no evidence of pneumonia, but
 did show the endotracheal             tube sitting         right at the level of
 the carina,      and as a result          the endotracheal          tube was pulled
 back.      A Foley catheter         was also placed,          blood cultures         were
 drawn and sent and labs were drawn and sent.

During this whole process, the mother was made aware of what we
 were finding, what our concerns were and of the severity of the



PATIENT CARE INQUIRY (PCI: OE Database                   SAT)                       DRAFT COPY

Run: 09/23/08-10:36          by Myott,Jackie                                          Page 2 of 5
Case 1:17-cv-00626-DJS
        23-753, DocumentDocument   156-9 3604338,
                                          Filed 09/20/21 Page  3 of 5
  Case
                    ~            APPENDIX
                         62, 01/17/2024,           Page704 of 898
                                                                    ~                       1722
 patient's      illn~     d at this        time.     Another family         ~mber arrived
 and I also called.and              spoke to the mother's            husband for her.
 After the patient           was intubated,          his antibiotics       were running
 and he was fluid bolused,                 he suddenly began to have
 significantly         difficulties          maintaining    his saturations.           He was
 taken off the ventilator                and was bagged and he was initially
 running in the high 90s, he then dropped down to the 70s and
 even with bagging it was difficult                     to keep him up toward the
 sos.      When this happened,             he still     had bilateral      breath sounds.
   A second x-ray was done which showed the endotracheal                            tube in
 good placement,          no evidence of pneumothorax,                it did show some
 increased      congestion.           This was felt possibly            to be due to ARDS
 versus aspiration.             We thought of fluid overload,                it is
 somewhat unlikely           given that he did not receive                an excessive
 amount of IV fluids,             enough that we thought would put him into
 fluid overload         and he was having good urine output.                     After the
 patient     had been here for 34 minutes,                 after he was intubated
 and the antibiotics            were ordered,         I did call and speak to the
 transfer      center.        I spoke to Dr. Edge, the PICU attending,                    and
 he accepted        the patient         for transfer      and we discussed        further
 care of the patient.               It was then, after          this conversation,
 that I went in to reevaluate                  the patient      and we noticed       he was
 having difficulty           with the saturations           as mentioned above.            He
 was being bagged at this point and the second chest x-ray was
 obtained,      we continued          to bag him and I did speak to Dr. Edge
 again and he just said the PICU team would be leaving Albany
 Medical Center soon and to continue                     and try to increase         PEEP,
 whether it be via ventilator·                 or via BVM. The patient            seemed to
 be responding         better     to the bag valve mask, which I did
 increase      PEEP with the bag valve mask and we actually                       gave him
 slower but longer respirations                   and this brought his saturations
 up to 100% and stabilized                 his heart rate as well.             His pressure
 was running initially              in the 80s systolic,           it did drop down
 into the 70s and at one point came down to the 60s as well.                                I
 spoke to Dr. Edge and he had suggested                     that if the systolic
 blood pressure         remained below 60, to start                dopamine at 5.

Some of his blood work had come back while he was here and his
 CBC showed a white count of 1.00, hemoglobin of 10.1,
 hematocrit      29.9 and a platelet       count of 115,000.       His initial
 ABG showed a pH of 7.125, PCO2 of 59.2, PO2 of 45.1,
 bicarbonate      of 18.6.     His comprehensive       metabolic   panel was
 essentially      unremarkable     except for a glucose of 124,
 creatinine      0.4, bicarbonate      19, corrected     calcium 10.2, total
 protein     4.1, albumin 2.1, AST 41, alkaline           phosphatase    180.
 His urinalysis        showed 100 glucose,       trace blood, negative
 nitrites,      negative   leukocyte    esterase.

The patient     continued    to have some fluctuations           in his vital
 signs and they resolved         with slight     alterations       in bagging him.
   However, the patient's        rectal    temperature,      although he was
 covered in warm blankets,          continued    to decrease       down to the
 lowest point of 94 rectally.            He was placed under a warmer that
 we got from maternity         to help encourage increasing            his
 temperature.       His history     was concerning       for sepsis given his
 low white count, his hypothermia             and respiratory       distress.
 However, the thought of doing a CT scan to evaluate                     for
 intracranial     abnormality/trauma         did cross through my mind,
 however, the patient       was not stable       enough while here at
 Samaritan    to put him through the CT scanner,              particularly    as it



PATIENT CARE INQUIRY (PCI:            OE Database      SAT)                       DRAFT COPY

Run: 09/23/08-10:36         by Myott,Jackie                                         Page 3 of 5
Case 1:17-cv-00626-DJS
        23-753, DocumentDocument   156-9 3604338,
                                          Filed 09/20/21 Page  4 of 5
  Case
                     ~            APPENDIX
                         62, 01/17/2024,           Page705 of 898
                                                                      \~
                                                                                                 1723
  would not have           .1anged our management here at S. ..tritan, he was
  still     to be transferred           to the PICU at Albany Medical Center.
  Dr. Edge discussed            with me trying       to put a central          line in him
  because the patient             was not ready to take the patient                 yet as
  they were still          trying     to stabilize      him.     I did attempt to do a
  right     femoral central         line and was unsuccessful              in doing that.
  The patient       does have 2 working peripheral                lines.       Once the
  PICU team did arrive,             the patient      had been here approximately             2
  hours and 20 minutes,             his blood pressure         at that point did drop
  down to the sos and then to the 40s and in the 40s for multiple
  readings     in a row.         At that time, we did start              the dopamine and
  had to increase          it from 5 to 7 and his pressures                 did start    to
  come up.       His heart rate remained stable                and his saturations
  remained 100% being bagged by the respiratory                        therapist.       They
  were made aware of the findings                  and our treatment         at that point
  and they resumed care of the patient                   and brought him to Albany
  Medical Center.            The patient      was stabilized        here in the ER but
  he was sent to Albany Medical Center in critical                          condition.
  Upon reassessing           the patient,      I did attempt to test for corneal
  reflexes,      on multiple        attempts     he had very slight          corneal
  reflexes     bilaterally         and his pupils      were small but nonreactive.
    He 4id respond to pain, particularly                  in the lower extremities,
  when you squeezed his toes he ~ould withdraw from pain and flex
  his legs upward.            He did not appear to have any response when
  his upper extremities             were stimulated.         The Albany Medical
  Center PICU.team also performed a second arterial                          blood gas as
  we were trying         to continue       to stabilize      the patient         given his
  ongoing hypotension.              Their ABG showed a pH of 7.472, PCO2 of
 ·22.s,    bicarbonate         16.2, PO2 of.140.

PROVISIONAL DIAGNOSIS:
1. Respiratory        failure.
2. Leukopenia.
3. Hypotension.
4. Tachycardia        and bradycardia.

Critical   care time was provided,             between 120-130 minutes,
 excluding    separately      billable     procedures.      The critical      care
 time was provided        as the patient        was being evaluated      for
 possible    sepsis,    respiratory       failure    and intracranial     injury.
 He was mildly hypoglycemic,            he was hypotensive,        his vital     signs
 were very labile       including      saturations     down to 60% despite
 being intubated      and ventilated         with BVMby respiratory         therapy.
   He was tachycardic/bradycardic              at times, he was leukopenic.
 He received     IV antibiotics.          The transfer     call was made after
 the patient     was here for 34 minutes and he required                constant
 care and reassessment         until he left our emergency department.




D:    09/21/2008      16:48:36     T: 09/23/2008        07:50:06

kp       Job#:     1847997




PATIENT CARE INQUIRY (PCI:             OE Database       SAT)                       DRAFT COPY

Run: 09/23/08-10:36          by Myott,Jackie                                          Page   4    of 5
Case 1:17-cv-00626-DJS
        23-753, DocumentDocument   156-9 3604338,
                                          Filed 09/20/21 Page  5 of 5
  Case
                             APPENDIX
                         62, 01/17/2024,           Page706 of 898
                                                                    1724
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PATIENT CARE INQUIRY (PCI:        OE Database   SAT)         DRAFT COPY

Run:    09/23/08-10:36   by Myott,Jackie                      Page 5 of 5
CaseCase
Case      23-753, Document
     1:17-cv-00626-DJS
     1:17-cv-00626-DJS
                          APPENDIX
                           62, 01/17/2024,
                        Document
                        Document   156-10 3604338,
                                   142-23  Filed    Page707
                                           Filed06/14/21
                                                 09/20/21   of 898
                                                          Page
                                                          Page 21of
                                                                    1725
                                                                 of269
                                                                    21




                                                                    Page 1
             Thomas v City of Troy et al - 7-30-2020 - Walter Edge

     UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK

     ADRIAN THOMAS,

     Plaintiff,
                v       17-CV-626

     CITY OF TROY, ADAM R. MASON,
     RONALD FOUNTAIN, TIM COLANERI,
     COUNTY OF RENSSELAER &
     MICHAEL SIKIRICA,

     Defendants.

     _________________________________/

                NON-PARTY
                DEPOSITION OF:          WALTER EDGE, M.D.

                DATE:                 July 30, 2020

                TIME:                 10:07 a.m. to 4:05 p.m.

                LOCATION:               Webex
 CaseCase
 Case      23-753, Document
      1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document
                         Document   156-10 3604338,
                                    142-23  Filed    Page708
                                            Filed06/14/21
                                                  09/20/21   of 898
                                                           Page
                                                           Page 32of
                                                                  of269
                                                                     21
                                                                        1726
800.523.7887                                      Associated Reporters Int'l., Inc.
                                                                        Page 2
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page709
                                            Filed 09/20/21   of 898
                                                           Page  3 of 21
                                                                          1727
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                         Page 29
  1                Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   Yes.

  3                             Q.   All right.    And who requested

  4            those consultations?

  5                             A.   I did.

  6                             Q.   Can you tell us what a

  7            consultation is?

  8                             A.   That's asking an attending

  9            physician to give their opinion regarding a patient.

 10                             Q.    And that would be a physician in

 11            a different practice area or focus, correct?

 12                             A.    Correct.

 13                             Q.    Someone who had a different skill

 14            set than you, correct?

 15                             MS. MITCHELL:     Form.

 16                             A.    I can't say they have a different

 17            skill set -- necessarily that varies, but it's

 18            definitely a different point of view, and a different

 19            set of credentials.

 20                             BY MR. GINSBERG:     (Cont'g.)

 21                             Q.    Different specialties, correct?

 22                             A.    Correct.

 23                             Q.    And do you recall what would have

 24            been the consultations you requested with regard to

 25
               --
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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page710
                                            Filed 09/20/21   of 898
                                                           Page  4 of 21
                                                                         1728
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 30
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.    Ophthalmology, neurosurgery.           I

  3            think those might be the only two.

  4                           Q.    And why --?

  5                           A.    And hematology.

  6                           Q.    And Doctor, why did you call for

  7            ophthalmology consult?

  8                           A.    To look for the possibility of

  9            there being a traumatic brain injury that would be

 10            reflected in a retinal hemorrhage.

 11                           Q.    And at that point in time, was

 12            there any medical evidence which indicated to you

 13            that there was a potential for traumatic brain

 14            injury?

 15                           A.    There was no physical trauma

 16            except for a scratch that -- that was on the

 17            transport record.   However, in my experience a four-

 18            month-old who's unresponsive without clear

 19            explanation, trauma, and particularly non-accidental

 20            trauma needs to be in the differential.

 21                           Q.    Now, when you say differential,

 22            what are you referring to?

 23                           A.    A physician when they evaluate

 24            any patient creates a list of possible diagnoses and

 25            that list of possible diagnoses is called a



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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page711
                                            Filed 09/20/21   of 898
                                                           Page  5 of 21
                                                                         1729
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 61
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            call C.P.S. worker, Andrea Fandholt to explain

  3            patient's grave condition and extremely poor

  4            prognosis.

  5                             She confirmed that patient's six sib

  6            -- siblings, including his twin brother had been

  7            removed from the home and explained that there was an

  8            open C.P.S. case on patient.     She said the case

  9            worker is Jasper Esposito, phone number.

 10                             Social worker met with charge nurse

 11            and peds resident.    There is to be no visitation

 12            other than immediate family and that visitation must

 13            be supervised.    Social worker explained to charge

 14            nurse and nurse caring for patient that a report must

 15            be made to New York State Child Abuse and Neglect

 16            Hotline, phone number, if patient expires, the phone

 17            and form were left on the front of patient's chart.

 18            Adair DeLamater.

 19                             Q.   Doctor, was -- well, C.P.S

 20            referred to in that entry is Child Protective

 21            Services, correct?

 22                             A.   Yes.

 23                             Q.   And did you direct that Albany

 24            Medical Center Hospital personnel contact C.P.S. with

 25            regard to this matter?



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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page712
                                            Filed 09/20/21   of 898
                                                           Page  6 of 21
                                                                         1730
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 62
  1                Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   I don't remember if I made the

  3            original referral or if it was done earlier.

  4                             Q.   Okay.   Do you feel that it was

  5            appropriate to report this matter to C.P.S.?

  6                             A.   It's -- it's required, yes.

  7                             Q.   And Doctor, the -- the entry also

  8            indicates that at your request, Troy Police

  9            Department was contacted with regard to this matter,

 10            correct?

 11                             A.   Yes.

 12                             Q.   And why was that, Doctor?

 13                             A.   With the concern of child abuse,

 14            that would be assault and that is a police matter.

 15                             Q.   And Doctor, prior to formulating

 16            the diagnosis, and directing that Troy Police being

 17            contacted, did you have any discussion with regard to

 18

 19

 20
               --
               M          T

               Troy Police?
                               ’s condition with any member of the



                                A.   I don't remember.

 21                             Q.   If you did, would it have been in

 22            any note or record?

 23                             MR. KLEIN:   Objection to form.       You

 24            can answer.

 25                             A.   I don't know.



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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page713
                                            Filed 09/20/21   of 898
                                                           Page  7 of 21
                                                                         1731
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                        Page 86
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            transfer from Samaritan, is that right?

  3                             A.   Yes, yeah.

  4                             Q.   And did you have a chance to look

  5            at the Samaritan paperwork in the two hundred and

  6            twelve page medical record that you reviewed for

  7            today?

  8                             A.   I did not review that.

  9                             Q.   Okay.    Do you recall the

 10            differential diagnosis either -- either specifically

 11            or in sum and substance?

 12                             A.   In sum and/or substance, I

 13            remember that Dr. Carlos was concerned about sepsis,

 14            but that she could not rule out trauma.

 15                             Q.   Right.    And she started treating

 16            -- she took -- withdrawn.

 17                             She -- she drew blood so that the

 18            blood could be tested for bacterial -- bacteria,

 19            correct?

 20                             A.   Yes.

 21                             Q.   And then started the -- and

 22            started the patient on a course of antibiotics after

 23            that, correct?

 24                             A.   Yes.    And we continued that in my

 25            office.



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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page714
                                            Filed 09/20/21   of 898
                                                           Page  8 of 21
                                                                         1732
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 117
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             Q.   How many years?

  3                             A.   Actually, I did have a year.

  4            Yeah, what was -- what's the question?        I -- I -- I

  5            --.

  6                             Q.   How many -- how many years -- how

  7            many years have you been in this business?

  8                             A.   Thirty.

  9                             Q.   Okay.   In this type of scenario,

 10            can you recall -- can you recall any situation where

 11            you would have in this type of situation under these

 12            facts said to the responding police, this is murder?

 13            Words literally to that effect based on what you knew

 14            in this case?

 15                             MR. GINSBERG:    Object to the form.

 16                             A.   I can't imagine saying that.

 17                             MR. GINSBERG:    That -- that was the

 18            entire question?

 19                             MS. PECK:    Yes, just object to form.

 20                             MR. GINSBERG:    Now, this a two-part

 21            question.   Do you hear the entire question?

 22                             THE WITNESS:    I was -- I was upset.

 23                             MS. MITCHELL:    Okay.   Can we -- you

 24            said it was a two-part question.      Can we hear the

 25            question again?



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  CaseCase 23-753, Document
       1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,  Page715
                                            Filed 09/20/21   of 898
                                                           Page  9 of 21
                                                                          1733
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 118
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             MR. KLEIN:   Can you read -- can you

  3            read it back, please?

  4                             THE REPORTER:     Yeah, I can read back

  5            the question.

  6                             MR. KLEIN:   I think he -- I think he

  7            answered it but it -- it started confusing with all

  8            the objections.    I think the best thing to do is to

  9            read it back.

 10                              THE REPORTER:    Okay.   Just give me a

 11            second.

 12                              (Off the record 1:30 p.m.)

 13                              MS. MITCHELL:    It might be easier if

 14            you just -- if you just ask the question again.            The

 15            doctor is ready to answer.

 16                              THE REPORTER:    Okay.   We're back --.

 17                              MS. MITCHELL:    If that's okay with

 18            everyone.

 19                              THE REPORTER:    We're back on.

 20                              BY MR. KLEIN:    (Cont'g.)

 21                              Q.   Doctor, do you recall saying to

 22            the responding police officers in this case that this

 23            was a murder or words to that effect?

 24                              A.   I do not.

 25                              Q.   In speaking to the responding



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page716
                                            Filed 09/20/21    of 898
                                                           Page  10 of 21
                                                                         1734
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 119
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            police officers, do you recall whether you said that

  3            this was possible abuse or possible sepsis or both or

  4            words to that effect?   Would you have told them

  5            everything?

  6                           MS. MITCHELL:     Object to form.

  7                           BY MR. KLEIN:     (Cont'g.)

  8                           Q.    Would you have explained all of

  9            it to them?

 10                           MR. GINSBERG:     Object to the form.

 11                           A.    Yes.

 12                           BY MR. KLEIN:     (Cont'g.)

 13                           Q.    Okay.   Yes, you would have

 14            explained sepsis and -- and possible abuse as

 15            potential causes of the injuries?

 16                           A.    Yes.

 17                           Q.    Okay.   Are you aware that the

 18            Troy detectives said that you used the word murder in

 19            saying this was a murder when they met with you at

 20            Albany Medical Center on September 21st, 2008?

 21                           MR. GINSBERG:     Object to the form.

 22                           A.    Yes.

 23                           BY MR. KLEIN:     (Cont'g.)

 24                           Q.    Okay.   And do you -- do you

 25            dispute that account by the police officer?



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page717
                                            Filed 09/20/21    of 898
                                                           Page  11 of 21
                                                                         1735
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 120
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           A.     Yes.

  3                           MR. GINSBERG:     Object to the form.

  4                           BY MR. KLEIN:     (Cont'g.)

  5                           Q.     Why don't we -- withdrawn.

  6                           What, if anything, did you tell the

  7            Troy police officers on September 21st, 2008?

  8                           A.     I don't remember the words.

  9                           Q.     How about in sum and substance?

 10                           A.     That I was very concerned about

 11            this being acceleration, deceleration injury, that

 12            this fit a pattern consistent with that.

 13                           And that in the absence of a motor

 14            vehicle accident or other accident that child abuse

 15            was the top of my list.

 16                           Q.     Did you talk about the other

 17            things on the list as well?

 18                           A.     My job would be to give as broad

 19            a picture as I can.

 20                           Q.     Okay.   Did you ever confront any

 21            of the police officers who attributed the word murder

 22            to you as to why they said that in this case?

 23                           MS. MITCHELL:     Object to form.

 24                           A.     No.

 25                           MR. GINSBERG:     Note my objection as



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page718
                                            Filed 09/20/21    of 898
                                                           Page  12 of 21
                                                                         1736
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 129
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             BY MR. KLEIN:   (Cont'g.)

  3                             Q.    Isn't it more fair to say that

  4            there would be initial impressions, but ultimately

  5            there will be a final report that is signed off on?

  6                             A.    Yes, that's right.     The

  7            neurosurgeon does not sign off on the neuro -- on the

  8            radiology report.     They are entitled to their own

  9            opinion.

 10                             Q.    Okay.   So you're basing -- so am

 11            I correct that you're basing this statement in number

 12            three of the problem list based on the neurosurgeon,

 13            but technically not on the plain language of the

 14            report itself?

 15                             MS. MITCHELL:    Object to form.

 16                             A.    Again, as I understand it the

 17            report saying that there is fluid collection does not

 18            rule out hematoma.

 19                             BY MR. KLEIN:    (Cont'g.)

 20                             Q.    Do you recall that the report

 21            also said an M.R.I. would be helpful?

 22                             A.    Yes, yeah.

 23                             Q.    Did you or anyone ever prescribe

 24            an M.R.I.?

 25                             A.    No.



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page719
                                            Filed 09/20/21    of 898
                                                           Page  13 of 21
                                                                         1737
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 130
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                           Q.    Why not?

  3                           A.    I would not have changed the

  4            treatment and the child was too sick to go to the

  5            M.R.I. scanner, which requires time in the O.R. of

  6            two and it could lead to death in an unstable

  7            patient.

  8                           Q.    Now --.

  9                           A.    But most importantly -- most

 10            importantly, it would not change treatment.

 11                           Q.    It might change the diagnosis,

 12            but not ultimately the treatment?

 13                           A.    Yes, it would -- it would confirm

 14            whether or not this was blood or not.

 15                           Q.    And if it wasn't blood, what are

 16            the other options, intraspinal fluid?

 17                           A.    Intraspinal fluid, pus, old blood

 18            that breaks down into plasma and red cells.

 19                           Q.    Did you -- do know or do you --

 20            did you ever come to learn that pus was evident on

 21            the brain?

 22                           A.    No.

 23                           Q.    Looking at number eight, a skull

 24            fracture noted on C.T. scan.     What was that based on?

 25                           A.    I don't -- I don’t remember who



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page720
                                            Filed 09/20/21    of 898
                                                           Page  14 of 21
                                                                           1738
800.523.7887                                         Associated Reporters Int'l., Inc.
                                                                         Page 131
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            -- who told me that.    I can only assure you that I

  3            was -- had verbal communication that there was a

  4            skull fracture that was later found not to be true

  5            and it was on my problem list and, you know, again,

  6            there is -- the patient was only there for a day.

  7                           I was, you know, a day-and-a-half and

  8            I would have deleted that in the -- my next

  9            dictation, but these are dictated notes.

 10                            Q.     How about when you signed off on

 11            it.   Did you have the opportunity if you wanted to

 12            strike it or delete it or make a, you know, a line

 13            through with your signature -- with your initials?

 14                            A.     I did have opportunity.

 15                            Q.     Okay.   Can you state today why --

 16            why you didn't do that in this case?

 17                            A.     I missed -- I missed the -- I

 18            missed it.   I didn't --

 19                            Q.     Okay.

 20                            A.     -- I didn't.

 21                            Q.     So that -- so that problem listed

 22            in number eight was we now know to be untrue,

 23            correct?

 24                            A.     Correct.

 25                            Q.     Okay.   And how did it come to



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page721
                                            Filed 09/20/21    of 898
                                                           Page  15 of 21
                                                                         1739
800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 138
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            suspect injury, you wouldn't use that language you

  3            were more concerned about non-accidental or

  4            accidental trauma.   Do you recall that?

  5                           A.    I -- I don't understand your

  6            question.

  7                           Q.    Is it fair, were -- were your

  8            concerns about whether this was accidental or non-

  9            accidental trauma, was that something you were

 10            concerned with?

 11                           A.     My medical findings can -- can

 12            only diagnose problem.    It's not I -- I -- it's not

 13            part of my job to decide or figure out if it's

 14            accidental or non-accidental.

 15                           Q.     Okay.   And you didn't do that in

 16            this case, right?    You didn't determine that in this

 17            case.

 18                           A.     I -- I did not.

 19                           Q.     Okay.   And did you ever

 20            communicate to police -- to the police officers from

 21            Troy Police Department who came to the hospital,

 22            whether this was accidental or non-accidental?

 23                           A.     I had him telling me that there

 24            was no accident identified and that that would lead

 25            me to not tell to them, but they would tell me that



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 CaseCase  23-753, Document
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                         Document   156-10 3604338,   Page722
                                            Filed 09/20/21    of 898
                                                           Page  16 of 21
                                                                          1740
800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 139
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            there was no accident identified.       So again, it's --

  3            it's a decision made by the investigating

  4            professionals, not the medical professionals.

  5                            Q.    Okay.   Can we put up the

  6            deposition of a witness exhibit signed by Walter

  7            Edge.

  8                            Dr. Edge, can you just read us the

  9            narrative where it says after the words depose and

 10            say.

 11                             A.   Can I just read from the whole

 12            thing?   I don't -- I don't know what you mean.

 13                             Q.   Yeah, I just want to -- just it's

 14            hard for me to -- to understand, especially with the

 15            cross outs.    So if you could just read through it and

 16            indicate if there's a cross out if that's something

 17            that you changed and what it says.

 18

 19
                                A.   I examined M

               subdural hematoma on his head.    -          and he had a

                                                  Based on the family

 20

 21
               history, I was concerned that M

               child abuse.                      -         was a victim of



 22

 23

 24
                                The injury that M
                                                 -
               typically is a high impact injury, or other

               acceleration, deceleration.
                                                            suffered



                                               This type of injury can

 25            be caused by very violent shaking or shaking and



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Case Case  23-753, Document
 Case1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-23   3604338,
                                    156-10 Filed       Page723
                                             Filed06/14/21
                                                   09/20/21    of141
                                                            Page
                                                             Page 898
                                                                  17 of 21
                                                                        269
                                                                             1741
800.523.7887                                           Associated Reporters Int'l., Inc.
                                                                           Page 140
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            forced against a hard object.

  3

  4

  5
               by severe trauma.--
                                M

                                      M
                                             also has brain swelling caused

                                                  is currently brain dead

               and another confirmation exam will be done tomorrow.

  6                             This type of injury could not have

  7

  8

  9
               been caused by merely bumping M

               object.                               -        against a hard

                         This needs to be a severe acceleration prior

               to striking the object, the hard object.

 10                             Q.        And then -- and then you signed

 11            that at the bottom, correct?

 12                             A.        Yes.

 13                             Q.        Okay.   So is -- are these your

 14            words that you discussed with them and then they

 15            wrote it down?       Or did you dictate this to someone

 16            else?

 17                             In other words, let me rephrase it,

 18            withdrawn.

 19                             Can you explain the circumstances of

 20            how the statement became written out?

 21                             A.        I can't exactly.    It was written

 22            by a social worker based on the history that we have

 23            discussed in the past.

 24                             Q.        How do you know it's written --

 25            Sorry.



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Case Case  23-753, Document
 Case1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-23   3604338,
                                    156-10 Filed       Page724
                                             Filed06/14/21
                                                   09/20/21    of142
                                                            Page
                                                             Page 898
                                                                  18 of 21
                                                                          1742
                                                                        269


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                       Page 141
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2                             A.   Because --.

  3                             Q.   My question is how do you know

  4            it's written by a social worker as opposed to the

  5            investigating officer whose name is at the bottom?

  6                             A.   Maybe it's by him, yeah.        It

  7            looks like his handwriting, yes.

  8                             Q.   Okay.   So -- and -- and I'll show

  9            you another document where that sergeant says he took

 10            a deposition from you.    So do you -- do you know now,

 11            does that refresh your recollection?

 12                             MR. GINSBERG:    Object to the form.

 13                             BY MR. KLEIN:    (Cont'g.)

 14                             Q.   Does this refresh your

 15            recollection of who -- how this was written?          Did the

 16            -- did the sergeant or police officer write it out?

 17                             A.   I don't remember the details, no.

 18                             MS. MITCHELL:    Let him finish his

 19            question before you answer.      It just helps the

 20            record.

 21                             BY MR. KLEIN:    (Cont'g.)

 22                             Q.   Does this -- does this deposition

 23            -- withdrawn.    This deposition -- withdrawn.

 24                             Going to the sentence where you have a

 25            first edit.



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                             It says the injury that M
                                                          -         suffered



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Case Case  23-753, Document
 Case1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                             APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-23   3604338,
                                    156-10 Filed       Page725
                                             Filed06/14/21
                                                   09/20/21    of201
                                                            Page
                                                             Page 898
                                                                  19 of 21
                                                                          1743
                                                                        269


800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 200
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            enough of us for a long, long time.        Finally -- it's

  3            finally changed.     I've fought my whole career to get

  4            more docs in there and now I'm ready to retire.            Go

  5            figure.

  6                           Q.      And not with -- are you there

  7            because you froze on my end?     There you are.        Okay.

  8            And notwithstanding this fact that doctors generally

  9            work very long hours, is it fair or -- and true to

 10            state that you would never put yourself in a position

 11            to be unable to render proper treatment to a patient

 12            because of the fact that you worked long shifts?

 13                            MR. KLEIN:    Objection.

 14                            A.     Absolutely.   I -- I would do

 15            everything to avoid not getting the best care

 16            possible.   We always have backup doctors, several

 17            levels of backup doctors so that if you're too tired

 18            and you want to go -- or you need a break, or a nap

 19            you have a way to do that.

 20                            As I said, we're -- we're never on

 21            call or on duty by ourselves.      There's always

 22            resident doctors available.     So to give us breaks if

 23            necessary, for -- for a nap or even more sleep.

 24                            Q.     And you were asked questions

 25            about the written statement that you provided to the



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Case Case  23-753, Document
 Case1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                              APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-23   3604338,
                                    156-10 Filed       Page726
                                             Filed06/14/21
                                                   09/20/21    of202
                                                            Page
                                                             Page 898
                                                                  20 of 21
                                                                          1744
                                                                        269


800.523.7887                                        Associated Reporters Int'l., Inc.
                                                                        Page 201
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            Troy Police Department.       To clarify, did you write

  3            that statement?

  4                            A.     No, I made the corrections.

  5                            Q.     Okay.    And did you read the

  6            statement for accuracy prior to signing it?

  7                            A.     Yes.    And made corrections.

  8                            Q.     I believe -- And made

  9            corrections.   And I believe the statement was if it

 10            were to be divided into paragraphs, approximately two

 11            paragraphs.    Would you agree with that?

 12                              A.   I -- I don't know how many

 13            paragraphs.

 14                              Q.   It was one -- on one page.

 15                              A.   It's -- it was one page, yeah.

 16                              Q.   One page.    And the record, the

 17            medical record is at least two hundred -- the medical

 18            record of Baby Thomas is at least two-hundred pages.

 19            Is that your understanding of the length of the

 20            record?

 21                              A.   I don't know how long it is.          I

 22            heard a lot of numbers.

 23                              Q.   Okay, was two hundred pages one

 24            of the numbers that you heard?

 25                              A.   I mostly heard eighty something



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Case Case  23-753, Document
 Case1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                               APPENDIX
                            62, 01/17/2024,
                        Document
                         Document  142-23   3604338,
                                    156-10 Filed       Page727
                                             Filed06/14/21
                                                   09/20/21    of203
                                                            Page
                                                             Page 898
                                                                  21 of 21
                                                                        269
                                                                            1745
800.523.7887                                          Associated Reporters Int'l., Inc.
                                                                          Page 202
  1              Thomas v City of Troy et al - 7-30-2020 - Walter Edge

  2            and then I don't remember two hundred, no.

  3                             Q.    Okay.   And is it -- okay.         Is it

  4            fair to say that the one-page statement that you

  5            provided to the Troy Police Department is not

  6            inclusive of all of the diagnoses and treatments that

  7            you provided to baby Thomas?

  8                             A.    That's correct.

  9                             Q.    Thank you, Doctor, I appreciate

 10            your time and attention today.        I recognize this day

 11            was very long and this is a difficult process because

 12            it's electronic.      But again, I do appreciate your

 13            willingness to be here today, and your honesty in

 14            going forward.    So thank you for that.         And I'm all

 15            set.

 16                             A.     Thank you.

 17                             THE REPORTER:    We can't hear you.

 18                             MS. CALABRESE:      Anybody have anything

 19            else for doc?    You're muted, Brett.

 20                             MR. KLEIN:    I do.     I'll let Michael go

 21            first.

 22                             MS. CALABRESE:      You're muted, Michael.

 23            Michael, you're muted.

 24                             MR. GINSBERG:    Not yet.       You said that

 25            Klein said the first time and then.          Yes, if anybody



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                                 APPENDIX                                                                            1746
Case 1:17-cv-00626-DJS
   Case 23-753, DocumentDocument  156-113604338,
                         62, 01/17/2024,  Filed 09/20/21
                                                  Page728Page 1 of 8
                                                          of 898
                                   (Kardos - Peop1e                             -    Direct)                                           840


 1              lunch.           We will       see      you back                here        in    about        an hour.

 2                                  (A luncheon             recess              was taken.}

 3                                 THE COURT:                Please             be seated.                Are the         parties

 4              ready     to proceed?

 5                                 MS. BOOK:             Yes,            Your        Honor.

 6                                 THE COURT:               Defense                 ready        to     proceed?

 7                                 MS.      EFFMAN:           Yes.

 8                                 THE COURT:               Bring           the        jury       in,     please.

 9                                  (Whereupon,             the          jury        entered            the    courtroom.)

10                                 COURT OFFICER:                        Jury        is     entering.

11                                 THE COURT:               Please              be seated.                The People             may

12              call     their      next       witness.

13                                 MS. BOOK:             Thank            you,         Your       Honor.            The People

14              call     Dr.      Katrina       Kardos             to     the        stand.

15      K.~TRINAK.'lUIDOS,M.D.,                 after         first             having           been     duly       sworn       by the

16      Clerk    of the        Court,        was examined                   and        testified              as    follows:

17                                 THE CLERK:               The sworn                  witness           is    Katrina         Kardos,

18              K-A-R-D-O-S.

19                                 THE COURT:               You may proceed.

20                                 MS. BOOK:             Thank            you,         Your Honor.

21      DIRECT EYJI..MINATION

22      BY MS.       BOOK:

23              Q.       Good afte,noon,                 Doctor.

24              A.       Hi.

25              Q.       Would you please                   introduce                  yourself           to       the   jury?

                                                     Judy     A.        Del.Cogliano
                                            Of£icial        Senior         Co=t           Reporter



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                                                                                                     APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 2 of 8
                                                                                                       (Kardos - Peop1e                               -· Direct)                       1747                       849


                                                                 1       scanner,            which       is     in a different                      area      of the         hospital,               to get

                                                                 2      this       done.

                                                                 3                            And second                 of all,            we don't          have        the pediatric

                                                                 4      neurosurgeons                or neurologists                         to deal          with        the    potential              for

                                                                 5      there       being         a positive               finding            on the          CAT scan.                So,    it's          in

                                                                 6      the     child's           best        interest               to be stabilized                     and not        be moved
Case 23-753, Document 62, 01/17/2024, 3604338, Page729 of 898




                                                                 7      around         the       ER and get               to     the            get        to Albany            Medical            Center

                                                                 8      quicker.

                                                                 9                Q.         And was           ~ transferred                                  to Albany           Medical             Center?

                                                                10                A.         He was.

                                                                11                Q.         How do you go about                             doing         this     transfer?

                                                                12                A.         Once you get                  a chance             where         you can actually                       step

                                                                13      away from the                patient             for         a moment,          you make a phone                      call          to

                                                                        ,Albany        Medical           Center's              T~ansfer          Line,            and it's        people            that         are

                                                                15      trained         to accept              transfers               to     the     hospital.                 I called            and

                                                                16      spoke      to      the     person           at     the        Transfer          Center,            and then           she      spoke

                                                                17      to Dr.         Edge,       the        Pi:U,        or Pediatric                 Intensive               Care     Unit,

                                                                18      attending            physician,               and he actually                       got     on the phone               with          me

                                                                19      and we discussed                      the     case.            He accepted                 the    patient            for

                                                                20      transfer           to his         hospital,                  and he sent             his         PICU team or team of

                                                                21      people         from Albany              Med that               come in the                 ambulance           to pi.ck            up

                                                                22      the     patient          and br.i.ng them back                         to their             hospital.

                                                                23                Q.         And when you were                         speaking             to Dr.         Edge on the                phone,

                                                                24      were      you sharing                 information               back        and       forth?

                                                                25                A.         Yes.

                                                                                                                               .J~     A.    Del.Cogl.iano
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                                                                                                          J\0000007Z(f
                                                                                                                                                                             P003981
                                                                                                          APPENDIX
                                                                        Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 3 of 8
                                                                                                                                                                             1748
                                                                                                               (Kardos          - Peop1e         - Direct)                                    850


                                                                         1                 Q.       In what way?

                                                                         2                                  MS. EFFMAN: Objection,                        hearsay,         Judge.
                                                                         3                                  THE COURT: Ms. Book?

                                                                         4                                  MS. BOOK: Your Honor,                        hearsay     can come in for

                                                                         5                purposes        of medical            diagnosis            or treatment,         which is what

                                                                         6                 it    is coming in for the purpose                          of here.
Case 23-753, Document 62, 01/17/2024, 3604338, Page730 of 898




                                                                         7                                  THE COURT: Overruled.

                                                                         8                A.       So, yes.          I informed             Dr. Edge of everything                   I knew

                                                                         9      about       the    child,     his      history,            and we reviewed           his     vital    signs

                                                                        10      and we discussed              further           care       of the patient.            During the stay

                                                                        11      at the hospital,              he was very unstable,                       and his blood          pressure

                                                                        12      kept      dropping,         and he was being                 given      fluids,      and we discussed

                                                                        13      giving          him additional          medications             to stabilize          his     blood

                                                                        14      pressure.

                                                                        15                Q.       So, did you share                 with       Dr     Edge his      entire      medical

                                                                        16      history          as you took it?

                                                                        17               A.        To my knowledge,                 yes.

                                                                        18                Q.       Okay.      And were you also                      following     some of the advice

                                                                        19      of   Dr.        Edge in treating               M-            that      morning?

                                                                        20               A.        Yes.

                                                                        21                                  MS. EFFMAN: Objection,                        goes to hearsay,            Judge~

                                                                        22                                  THE COURT: Overruled.

                                                                        23                 Q.      Who was with ~that                                 morning,     if you remember?

                                                                        24                A.       His mother          arrived          with     him.
                                                                . •,•
                                                                        25                 Q.      And was ~'s                         father        there?

                                                                                                                           Judy      A. De1Cogliano
                                                                                                                    0££iaial        Senior Court Reporter



                                                                                                             "AOOOtl00721                                          P003982
                                                                                                  APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 4 of 8
                                                                                                                                                                       1749
                                                                                                        (Kardos           - Peop1e            - Cross)                                     866


                                                                  1               Q.       You did a differential                           diagnosis         for this      baby as
                                                                  2      part     of your job as an emergency                           room doctor.               And in your
                                                                  3      differential          diagnosis,             you listed              septic        shock as a potential

                                                                  4      cause     of this        baby's      problems;              correct?

                                                                  5               A.       Correct.

                                                                  6               Q.       In fact,        that's         the       first       thing       you listed       on your
Case 23-753, Document 62, 01/17/2024, 3604338, Page731 of 898




                                                                  7     report         as a possible          cause         of the baby's                  problems;      correct?

                                                                  8               A.       Yes.

                                                                  9               Q.       Can you tell             the     j Jry,      fi.:i;:st of _all,         what is septic

                                                                10      shock?

                                                                11                A.      A sepsis         in general               is whole body inflammatory                       state,

                                                                12      and it's         classically          characterized                   by the presence             of an
                                                                _
                                                                , _,
                                                                  ".l
                                                                        infection         or the       -- that          you suspect                an infection.           With this,

                                                                14      there's         different       signs         and symptoms you get                      with     sepsis.

                                                                15                Q.      What are some typical                        signs        that      come al~r.g ~ich

                                                                16      sepsis?
                                                                ,-
                                                                -f                A.      Rapid heart           rate,~~~              blood         pressure,        hypothermia.

                                                                        You can get a low-glucose                         level,        as well.

                                                                1?                Q.      And what is septic                       shock?

                                                                20                A.       Septic      shock,         per se,          is when your body isn't                     able       to

                                                                21      maintain         perfusion         to your organs                    because        of the     overwhelming

                                                                22      infection.

                                                                23                Q.      What is the word perfusion?

                                                                24                A.       I'm sorry,         improper              blood       f~ow to the          organs.         For

                                                                25       example,        if your body can't                   supply          --    if     you don't      have a well

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                                                                                                      AXXXXXXXX                                                P003998
                                                                                                          APPENDIX
                                                                     Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 5 of 8
                                                                                                             (Kardos - Peop1e                             - Cross)                           1750                        867
                                                                                                                                                                                                                               1

                                                                       1      enough        blood         pressure,            your         body      can't          get       blood         and nutrients
                                                                '.

                                                                      2       and oxygen            to your           kidneys,              heart,        -lungs         and brain.

                                                                      3                Q.       During          the      course             of time           that           this      baby        was at

                                                                       4      Samaritan        Hospital,               you felt               that      his        heart            rate     at times              was

                                                                      5       tachycardic;                correct?

                                                                       6               A.       Correct.
Case 23-753, Document 62, 01/17/2024, 3604338, Page732 of 898




                                                                       7               Q.       Can you tell                   the       jury        what       tachycardia                  or tachycardic

                                                                       8      means?

                                                                       9               A.       Tachycardia                   is    an elevated                 or high              heart         rate,

                                                                     lC                Q.      And what               happens            to     your      body          if      you are            experiencing

                                                                     11       septic        shock?

                                                                     12                A.       Your body tries                      to       compensate                for         the    shock.             When
                                                                     13       your     blood        pressure           goes         down,         your      body         compensates                    by

                                                                     14       increasing            its     heart        rate        to try           to push            whatever               blood         and

                                                                     15       oxygen        and nutrients                it        has      around        the        organ~.               If      it    gets       to     a

                                                                     16       point     where        that's          not       successful,                your          body will               start         to    shut

                                                                     17       down certain                organs.

                                                                     18                Q..     And wl;len your- body begins                                   to     shut           down,       your         body

                                                                     19       systems        stop         working        properly;                correct?

                                                                     20                A.       Correct.

                                                                     21                Q.       Your body loses                       its       ability            to        control         its

                                                                     22       temperature?

                                                                     23                A.       Yes.

                                                                     /. 4              Q.       Respiratory                   system          would shut                down?

                                                                     25                A.       Correct.

                                                                                                                                   Judy A.        Del.Cog.liano---~··••
                                                                                                                      Official.          Senior       Court        Reporter



                                                                                                              A"U00OU0738-                                                          P003999
                                                                                                         APPENDIX
                                                                         Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 6 of 8
                                                                                                                                                                                   1751
                                                                                                                (Kardos         - Peop1e           - Cross)                                          868


                                                                          1              Q.       Circulatory           system          would shut            down?

                                                                          2              A.       Correct.

                                                                          3              Q.       And your body's               ability          to protect               itself      from
                                                                          4       infection,       like      your immun~ system,                       that      would shut           down, too?

                                                                          5              A.       Correct.

                                                                          6              Q.       How do you treat                 septic        shock?
Case 23-753, Document 62, 01/17/2024, 3604338, Page733 of 898




                                                                          7              A.       Septic      shock is          initially              treated       with          IV fluids       and

                                                                          8       an IV antibiotic.

                                                                          9              Q.       It's     actually         a life-threatening                      condition;           isn'·t     it,

                                                                         '!.O     Doctor?

                                                                         11             A.        Yes.

                                                                         12              Q.       If not treated               quickly,          it     can result            in death;

                                                                         13       correct?

                                                                         H              A.        Correct.

                                                                         15              Q.      And especially                so for those              who are elderly                 and the

                                                                         16      very    young;      correct?

                                                                         17              'Ji..    Correct.

                                                                         18              Q.      Ul."". Kardos,         this       t:.s.by had a WJ.mb~r of signs                        that     are

                                                                         19       consistent       with      sepsis;        correct?

                                                                         20             A.        Correct.

                                                                         21              Q.       The baby had respiratory                         distress;          correct?

                                                                         22             A.        Correct.

                                                                         23              Q.      And that's            a sign        of sepsis?

                                                                         24              A.       Yes.
                                                                -·>•:,
                                                                         25              Q.       The baby had trouble                      maintaining             his      heart     rate       and

                                                                                                                            Judy     .:\.   DelCog;Ua.no
                                                                                                                 0££icial          Senior      Court     Reporter



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                                                                                                              APPENDIX
                                                                          Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 7 of 8
                                                                                                                (Kardos - Peop1e                      - Cress)                  1752              869   l

                                                                           1         was tachycardic              or suffering                 from tachycardia,          and that's          a
                                                                ..
                                                                     ..
                                                                           2         sign   of sepsis;            correct?

                                                                           3                A.        Correct.

                                                                           4                  Q.      The baby had an abnormally                            low body temperature;

                                                                           5         correct?

                                                                           6                A.        Correct.
Case 23-753, Document 62, 01/17/2024, 3604338, Page734 of 898




                                                                           7                  Q.      And that           is    a sign          of sepsis?

                                                                           8                A.        Yes.

                                                                           9                  Q.      '('he baby had a low white                      blood      cell    count,         and that's

                                                                          !..O       a sign        of sepsis,       as well;             correct?

                                                                          11                  A.       Yes.

                                                                          12                  Q.       The baby had low blood                       suga.c,    was hypoglycemic,              and

                                                                          13         that     is    a sign      of sepsis,              too;     correct?

                                                                          14                  A.       Yes.

                                                                          15                  Q.       And the       baby also             had low blood            pressure,

                                                                          16         hypotension;             correct?

                                                                          17                  A.       Correct.

                                                                          18                  Q.       And that's             a sign       of sepsis,         as well?

                                                                          19                  A.       Correct.

                                                                          20                  Q.       And in fact,             this       baby     showed     numerous         signs

                                                                          21         consistent         with      sepsis;           correct?

                                                                          22                  A.       Correct.

                                                                          23                  Q.       When you did              you.r     provisional         --    you did      a

                                                                          24         provisional         diagnosis,             Doctor.            What is     a provisional

                                                                          25         diagnosis?

                                                                                 -----~----,....c.----•--.                     -J.uey      ;. . DelCogHano
                                                                                                                         Official        Senior    Court Reporter



                                                                                                                  A0000007'40-                                          P004001
                                                                                                  APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-11 Filed 09/20/21 Page 8 of 8
                                                                                                                                                                            1753
                                                                                                                                                                                                  8"70


                                                                 1                A.       rt•s     a diagnosis              that          we can come up with                  in the

                                                                 2      brief      period         of time that            we take            care        of a patient           in the

                                                                 3      Emergency         Department.                There          are times            when we can't              determine

                                                                 4      the     exact     diagnosis,            given        that          we don't        have the patient                 to

                                                                 5       care     for    them long enough for                        all     their        diagnoses          to become

                                                                 6      evident.
Case 23-753, Document 62, 01/17/2024, 3604338, Page735 of 898




                                                                 7                Q.      Your provisional                   diagnosis              for     this     baby was

                                                                 8      respiratory           failure,         leukopenia,                  hypotension,             tachycardia            and

                                                                 9      bradycardia;              correct?

                                                                10                A.      Correct.

                                                                11                Q.      And those           are 4Jf          conditions                that      are     caused     by

                                                                12      sepsis;         correct?

                                                                13                A.      Correct.

                                                                14                Q.      Isn't       it     true,      Doctor,             the     likely         cause     of this

                                                                15      baby's         problems      was sepsis?

                                                                16                A.      Yes.

                                                                17

                                                                18                ev.idence        a· certified·          copy of the                Samaritan           Hospital          blood

                                                                19                records,         as well       as a certifiec                     copy of the             records        that

                                                                20                Dr. Kardos has for                  this      baby.

                                                                21

                                                                22                                  MS. E.Fii'MAN:             Defendant:'           s    a ana c., _3!1d..siJ.Dj ect              t-~.

                                                                23                any redactions              we may need to discuss                            concerning           any

                                                                24                hearsay         in those       documents.

                                                                25                                  T:lE COOP.'!: People's                         position?

                                                                                                                      ..'l'Udy A.     De.lC:Ogl.i.ruu,
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CaseCase
 Case     23-753, Document
     1:17-cv-00626-DJS
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document
                         Document   156-123604338,
                                   142-24  Filed     Page736
                                            Filed06/14/21
                                                  09/20/21   of 898
                                                           Page
                                                            Page
                                                                      1754
                                                                21ofof189
                                                                       3




                                                                       Page 1
         Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

     UNITED STATES DISTRICT COURT

     NORTHERN DISTRICT OF NEW YORK

     ADRIAN THOMAS,

           Plaintiff,

                 v                                   17-CV-626

     CITY OF TROY, ADAM R. MASON,

     RONALD FOUNTAIN, TIM COLANERI,

     COUNTY OF RENSSELAER &

     MICHAEL SIKIRICA,

           Defendants.

     _________________________________/

     ADRIAN P. THOMAS,

           Claimant,

     v

     THE STATE OF NEW YORK,

           Defendant.

     _________________________________/

                 NON-PARTY

                 DEPOSITION OF:           JOHN WALDMAN, M.D.

                 DATE:                   October 19, 2020

                 TIME:                   10:14 a.m. to 2:01 p.m.

                 LOCATION:                WebEx
 CaseCase
  Case     23-753, Document
      1:17-cv-00626-DJS
       1:17-cv-00626-DJS
                            APPENDIX
                            62, 01/17/2024,
                         Document
                          Document   156-123604338,
                                    142-24  Filed     Page737
                                             Filed06/14/21
                                                   09/20/21   of 898
                                                            Page
                                                             Page
                                                                         1755
                                                                 32ofof189
                                                                        3


800.523.7887                                       Associated Reporters Int'l., Inc.
                                                                         Page 2
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2    APPEARANCES:

  3            FOR THE PLAINTIFF:
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 11             The Capitol
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 12
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 13             BAILEY JOHNSON & PECK, P.C.
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 15

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  Case 1:17-cv-00626-DJS
                           APPENDIX
          23-753, DocumentDocument
                           62, 01/17/2024,
                                    156-123604338,  Page738Page
                                            Filed 09/20/21  of 898
                                                                3 of 3
                                                                       1756
800.523.7887                                     Associated Reporters Int'l., Inc.
                                                                      Page 15
  1      Thomas v City of Troy et al - 10-19-20 - John Waldman, MD

  2            at Samaritan Hospital in Troy, New York and then

  3            transferred to the Albany Medical Center Hospital and

  4            was admitted under the care of a pediatric

  5            intensivist, to the pediatric intensive care unit.

  6                            Q.   Would that have been Dr. Edge?

  7                            A.   Among others, I'm not sure if Dr.

  8            Edge was on the night of the 21st when he came in.

  9            But ultimately, yes, Dr. Edge took care of him.

 10                            Q.   He became Dr. Edge's patient,

 11            correct?

 12                            A.   I think so, yes.     You know, they

 13            -- they're a bunch of intensivists and they rotate.

 14

 15

 16
               So I'm not sure if he took care of M
                                                     - -
               But I guess, he was identified as the -- as M

               primary physician.
                                                                every day.

                                                                            's



 17                            And Dr. Edge consulted neurosurgery

 18

 19

 20
               because there was a concern about M

               sustained a head injury.

                               Q.   Okay.
                                                     -         having



                                            Doctor, when you say he

 21            consulted neurosurgery, are you indicating that he

 22            asked for a neurosurgical consult?

 23                            A.   Yes.

 24                            Q.   All right.    And did you perform

 25            that consult?


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 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,  Page739
                                           Filed 09/20/21   of 898
                                                          Page  1 of 38
                                                                                               1757         1



 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT Of NEW YORK
 2

 3   ADRIAN THOMAS,

 4                                            Plaintiff,

 5                       - against             -

 6   CITY Of TROY, ADAM R. MASON, RONALD fOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                                            Defendants.

 9   NEW YORK STATE
     COURT Of CLAIMS
10

11   ADRIAN P.        THOMAS,

12                                            Claimant,

13                       - against             -

14   THE STATE Of NEW YORK,                                                      CJCO,-Y
15                                            Defendant.

16

17                           DEPOSITION             of     Defendant,            ADAM R.       MASON,

18   held    on the      12th        day      of    September           2019,      commencing         at

19   9:04    a.m.,      at    the      Law Offices             of     Pattison          Sampson

20   Ginsberg        & Griffin,              PLLC,       22   first      Street,

21   Troy,      New York,           before         Jeanne      O'Connell,           Registered

22   Professional            Reporter          and       Notary       Public       in    and    for   the

23   State      of   New York.
      CaseCase 23-753, Document
           1:17-cv-00626-DJS
                                APPENDIX
                                62, 01/17/2024,
                             Document   156-13 3604338,  Page740
                                                Filed 09/20/21   of 898
                                                               Page  2 of 38
                                                                             1758        2



.~    1   APPEARANCES:

      2   Brett    H. Klein,    Esq.
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      5   Pattison      Sampson Ginsberg    & Griffin, PLLC
          22 First      Street
      6   Troy,    New York      12180
          By:     Joseph     T. Perkins, Esq.
      7   Attorneys      for City of Troy,    Adam R. Mason,
          Ronald     Fountain    and Tim Colaneri
      8
          Bailey,     Johnson    & Peck,    P.C.
      9   5 Pine West Plaza
          Washington       Avenue Extension
     10   Albany,     New York 12205
          By:     Crystal     R. Peck,   Esq.
     11   Attorneys       for Michael    Sikirica

     12   New York State      Office   of the        Attorney    General
          The Capitol
     13   Albany,     New York 12224
          By:     Christina   M. Calabrese,          Assistant    Attorney     General
     14
          Also   present:      Katherine        Hamilton
     15

     16

     17

     18

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 CaseCase 23-753, Document
      1:17-cv-00626-DJS    62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-13 3604338,  Page741
                                           Filed 09/20/21   of 898
                                                          Page  3 of 38
                                                                                                                  1759                    6



 1                                       (Adam Mason             - by Mr.              Klein)

 2            A.      Yes.

 3            Q.      And then              also      I ask        that         you     continue                to     answer

 4   with           a verbal             response         rather          than         a gesture                or     a shake

 5   of       the     head          or    an uh-huh,            again,            so    the        reporter                 can

 6   take           a clean          record,          okay?

 7          A.        Okay.

 8            Q.      If       you       don't      understand              a question                   I ask,             will

 9   you       let      me know?

10          A.        Yes.

11            Q.      If       you       don't      understand              but        you      don't           let         me know

12   and       you      give         an     answer,        it      will         be     assumed            for         the

13   record           that          you     understood             the      question               at     the         time         of

14   trial,           okay?

15            A.      Okay.

16            Q.      Finally,              if     you    need      a break,               just          let     me know.

17   We'll           just       ask       that      you    a take           break          after          any         pending

18   question                 has    been        answered,          okay?

19            A.      Okay.

20            Q.       It's         my understanding                     that        you      have         given            a

21   number            of      --     there        have    been          a number             of        occasions                 where

22    you've           given          sworn        testimony             related           to      this         case,

23    correct?
     CaseCase 23-753, Document
          1:17-cv-00626-DJS Document
                                            APPENDIX
                               62, 01/17/2024,
                                       156-13 3604338,  Page742
                                               Filed 09/20/21   of 898
                                                              Page  4 of 38
                                                                                                                  1760               7



     1                                 (Adam Mason                 - by Mr.              Klein}

     2          A.     Yes.

     3          Q.     One would              be      the       grand         jury?

     4          A.     Yes.

     5          Q.     Second          would          be    the     pre-2009              trial          Huntley

     6    hearing?

     7          A.     Yes.

     8          Q.     And then             approximately                    two      different                dates     when

     9    you     testified            at     trial         on the           direct         case         for      the

    10    prosecution?

    11          A.     That's          correct.

    12          Q.     Then      one        day       for       rebuttal           for      the       prosecution.

    13          A.     Yes.

    14          Q.     Other         than       those           occasions             and       today,          have     you

    15    given      any       sworn        testimony              about        the       Adrian          Thomas

    16    matter?

    17          A.     No.

    18          Q.     Did      you     ever          testify           in     any       other        courts,           such    as

    1.9   family       court?

    20          A.     No.

    21          Q.     Other         than       today,            and      other         than      statements             or

    22    conversations                with        your         attorneys             which        you         should     not

~   23    divulge,            have     you      discussed               the      facts          and      circumstances
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                             APPENDIX
                                62, 01/17/2024,
                                        156-13 3604338,  Page743
                                                Filed 09/20/21   of 898
                                                               Page  5 of 38
                                                                                                                   1761            8


      1                                     (Adam Mason               - by Mr.            Klein)

      2   of   your         role       in      this       investigation                   with       anyone        else?

      3        A.         I've      had        casual           conversations                with          other    members

      4   of   the        police         department                 at     various          times.

      5        Q.         Well,        let's          talk         about      the        more      formal

      6   conversations.

      7                   You did           have        meetings             with        medical           examiner,

      8   Michael           Sikirica,                correct?

      9                   Did      you      attend           the     autopsy?

     10        A.         I did.

     11        Q.         There      were            inevitably,              I would             think,       discussions

     12   about       the        investigation?

     13        A.         During         the         autopsy?

     14                             MS. PECK:                  Objection.

     15   BY MR. KLEIN:

     16        Q.         Were      there            discussions              about         the      investigation?

     17                   You can           answer.

     18        A.         Yes.         There          was       discussions               about        the     autopsy.

     19        Q.         So we'll             get      into        these       conversations.                     I just

     20   want       to     identify            them.

     21                   And also             for      the        record,          in    terms        of

     22   instructions,                  you         may hear            objections.                 Lawyers        will     say

~-   23    "objection"              from        time-to-time                  to     preserve              objections        for
CaseCase 23-753, Document
     1:17-cv-00626-DJS    62, 01/17/2024,
                       Document
                                          APPENDIX
                                  156-13 3604338,  Page744
                                          Filed 09/20/21   of 898
                                                         Page  6 of 38
                                                                                                                    1762                     9


 1                                    (Adam Mason                 - by Mr.              Klein)

 2   trial         or        to    note      certain            objections,                   but         unless          you're

 3   told         not        to    answer,          you      should           give        an answer.

 4           A.     Okay.

 5           Q.         If     you    need      a question                   read       back         because              there

 6   was      so much              talking          and     you        got        distracted,                 you         can        ask

 7   the      reporter.                   I think          she     can        do that               for      you.

 8           A.     Okay.

 9           Q.         So,       how many meetings                      did        you       have         with       the

10   medical             examiner,            Michael             Sikirica,               including                 the

11   autopsy?

12           A.         I wouldn't            describe             the         autopsy              as     a meeting.

13                  And to            the     best         of     my recollection,                           that's          the

14   only         time         that       I encountered                  him         during          this

15   investigation.                         And as         you     said,             there          were      discussions

16   about         the         investigation,                    about         the      autopsy,              during                that

17   autopsy.                  And to        the     best         of     my recollection,                           that's             the

18   only         time         that       I encountered                     him      during          this

19   investigation.

20           Q.         For       purposes          of     this        question               of     who you've

21   spoken             with       about      the         case,        it      doesn't              need       to     be        a

22   formal             meeting.             Just         any     encounter                  with         anyone          where

23   you've             been       asked      or     you've            given          information                   about            this
     CaseCase 23-753, Document
          1:17-cv-00626-DJS    62, 01/17/2024,
                            Document
                                              APPENDIX
                                       156-13 3604338,  Page745
                                               Filed 09/20/21   of 898
                                                              Page  7 of 38
                                                                                                                          1763                 21


      1                                     (Adam Mason                   - by Mr.             Klein}

      2          A.      That's             correct.

      3          Q.      Do you             understand               the         first         video          to     be     about        two

      4   hours?

      5          A.      Yes.

      6          Q.      The       second           video          to      be     how long,              about            seven         or

      7   seven         and     a half          hours?

      8          A.      Yes.

      9          Q.      Can we call                   the        first          one      video         one?

     10          A.      Yes.

     11          Q.      And the             second           one         video          two?

~\   12          A.      Yes.

     13          Q.       The      video           that       we've         been          given         is      the       video         that

     14   I believe              was        used       in     the         criminal              case,         the      video

     15   one      --     well,          withdrawn.

     16                   The      video           that       we've          referred              to    as         video       one,

     17   were         there       any       parts           of     that         interview,                  that      first

     18   interview              with        Adrian           Thomas,              that         were         not      depicted

     19   parts         of      your        meeting           with         him       that        were         not      depicted              on

     20   that         video,          or     did      that         video          encompass                 the      entire

     21   interview               with        him?

     22           A.      It      did.

     23           Q.      And video                 two,      did         that         video       record             the      entire
      CaseCase 23-753, Document
           1:17-cv-00626-DJS    62, 01/17/2024,
                             Document
                                                APPENDIX
                                        156-13 3604338,  Page746
                                                Filed 09/20/21   of 898
                                                               Page  8 of 38
                                                                                                                               1764             37



      1                                       (Adam Mason                   - by Mr.               Klein)

      2          A.     Yes.

      3          Q.     Is     that           around            the         time        that        you      went         back      to

      4   patrol?

      5          A.     I don't               recall            which            part         of    November,               but     it     was

      6   somewhere            in        that           month.

      7          Q.     So when               you        say         that        you         continued             to     maintain

      8   responsibilities                         for         the      case        after           you      were         on patrol,

      9   other        than        meeting               with         the        DA, preparing                     for         Huntley

     10   hearing,            and        trial,           what,             if     anything               else,          did      you     do?

     11          A.     I don't               recall            if      there           was        anything              else      that     I

'~
     12   did.

     13          Q.     But        it     was           your         case?

     14          A.     Correct.

     15          Q.     For        purposes               of         dealing            with        the      district

     16   attorney            and        any       issues             that         came        up?

     17          A.     Yes.

     18          Q.     Were            you       the     lead          investigator                      on this           case?

     19          A.     I shared                  that         role         with        Detective                 Fountain.

     20          Q.     Whose            determination                       was        it     that         you     would          be

     21   assigned            to    this           investigation                        with        Detective               Fountain,

     22   if     you    know?

     23          A.     It     just           happened                that         we were            the         two     detectives
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                              APPENDIX
                                 62, 01/17/2024,
                                         156-13 3604338,  Page747
                                                 Filed 09/20/21   of 898
                                                                Page  9 of 38
                                                                                                                          1765               54



       1                                  (Adam Mason                    - by Mr.             Klein)

       2   conscious             choice            to      employ         them        based            on your            own

       3   instincts             and     experience,                     correct?

       4          A.      Yes.

       5          Q.      No one         told           you      to      approach              it         a certain             way.

       6                  That      was        your         own decision,                      correct?

       7          A.      Yes.

       8          Q.      There         was        no supervisor                    or    detective                    captain         or

       9   colleague             that         said,         Adam,         why don't                  you        go in          there    and

      10   demonstrate              slamming                a folder             to      the         ground.

      11                  That      was        your         conscious               choice                to    do that?

      12          A.      That's          correct.

      13          Q.      We'll         get        into         the      interview                  later.             I wanted         to

      14   ask     you more             about           this          training           and         how that             impacted

      15   your        technique.

      16                  So it's             fair         to    say      that        training                  did      not      impact

      17   your        technique              as      of    September               of    2008?

      18                            MR. PERKINS:                         Object          to         the        form.

      19   BY MR. KLEIN:

      20          Q.      In     terms         of       interrogation                    practice,                    correct?

      21                            MR. PERKINS:                         Objection.

      22                            Go ahead.

~..   23                            THE WITNESS:                         I agree          that             I didn't              go
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                                   APPENDIX
                                       156-13 3604338,   Page748
                                               Filed 09/20/21    of 898
                                                              Page  10 of 38
                                                                                                                            1766                55


     1                                           (Adam Mason                 - by Mr.              Klein}
~

     2                into             that            interview             with       some         preconceived,

     3               this              is        going          to     be my form                 because            I was

     4               taught                  this.              I don't           know that               at     any       point

     5                in      time               did      some         portion          of        my training                  kick

     6                in,         but            for      the        most       part,        the      interview                 was

     7               conducted                         based         on my instincts.

     8   BY MR. KLEIN:

     9       Q.       At          some           point          in      your      career            did        you     learn,

    10   whether           from             this         case,          from      the        Court         of     Appeals

    11   decision,                or        from         any         other       training            or        information               you

    12   received            in        your             career,          that        there's              risk       in

    13   interrogation                        practice                that       a confession                    can      be      coerced,

    14   whether           it's             true         or     false,          based         on the             tactics           of    the

    15   questioner?

    16                                 MR. PERKINS:                          Object          to     the        form.

    17                                 You can                answer.

    18                                 THE WITNESS:                          I have          not     learned              that.

    19   BY MR. KLEIN:

    20       Q.       Well,                 is     it      your         understanding,                     from        reading           the

    21   Court       of     Appeals                     decision,             that      the         court         found           that    the

    22   confession                in         this         case        was      coerced?

    23       A.       Yes.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-13 3604338,   Page749
                                           Filed 09/20/21    of 898
                                                          Page  11 of 38
                                                                                                                    1767                    99



 1                                     (Adam Mason                     - by Mr.              Klein)

 2   headquarters,                     correct?

 3          A.         Yes.

 4          Q.         That's          when        he was              brought          to      the      third        floor

 5   interrogation                     room?

 6          A.         Yes.

 7          Q.         That's          when        you         read         him his           Miranda            rights          and

 8   he     signed            them         in    your          presence?

 9          A.         Yes.

10          Q.         And that's                when          you      and       Detective              Fountain             spoke

11   with        him      for        about         two         hours           and     obtained            video          one,

12   correct?

13          A.         That's          correct.

14          Q.         And as          well        as      the         first         written            statement,               which

15   was     a short                written             statement,                correct?

16          A.         Yes.

17          Q.         That         interview              ended            when       he     said       he was           going        to

18   jump        off      a bridge               if      his          son      died,         correct?

19          A.         Yes.

20          Q.         With         that        said,          the       interview              continued             after        he

21   said        that         for      a little                bit,         but      then       it    was

22   discontinued,                     correct?

23          A.         So,      we had           planned               to      end     the      interview,                and     we
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-13 3604338,   Page750
                                           Filed 09/20/21    of 898
                                                          Page  12 of 38
                                                                                                                      1768                 100


 1                                      (Adam Mason                   - by Mr.               Klein)

 2   were        prepared             to        get        up and          leave          when          he made        the

 3   comment             about        jumping                off      a bridge               if     his       son     were      to

 4   die.          So,     yeah,            at        that         point        there         was a further

 5   discussion.                    Yes.

 6          Q.      But        there            was        further             discussion                 about       --     there

 7   were        further            questions                   asked          about         how M-=-                  may have

 8   been        injured            after             he     said         he    felt         like         he wanted           to

 9   hurt        himself.

10          A.      Yes.

11          Q.      Why did                you        guys         continue            to         ask     questions           after

12   he     said         he needed                --       he      felt        suicidal?

13          A.      The        fact         that           he      felt        suicidal,                I thought          maybe

14   there         was more                that        he wanted                to     talk         about.            So we

15   continued             the        discussion                    in     an attempt                   to    see,     number

16   one,        why he          felt           that         way and            if     there            was    anything            else

17   that        he wanted                 to     discuss.

18                  We were                attempting                 to       end     the         interview           when        he

19   said        that,         so     it        sent         a message               to      us     that       he wanted              to

20   continue             to     talk           about           something.

21          Q.      During            that            interview,                did       anything             he say         give

22   you probable                   cause             to     arrest            him?

23          A.      No.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                             APPENDIX
                               62, 01/17/2024,
                                       156-13 3604338,   Page751
                                               Filed 09/20/21    of 898
                                                              Page  13 of 38
                                                                                                                    1769            101


     1                                    (Adam Mason                 - by Mr.            Klein)

    2          Q.       Is     it     fair        to     say         that        anything           he said          in     that

     3   interview             in     terms        of                anything            he said         in       that

     4   interview             with        regard             to     possible            injuries            to    M~

     5   was not         consistent                with            what        you were          informed            by

     6   medical         personnel                and         that      Detective              Fountain            was

     7   informed            by medical                 personnel?

     8         A.       Yes.

     9         Q.       In     terms          of Adrian               Thomas'            demeanor,            by the         time

    10   you     spoke         with        him it             was after            midnight,             correct?

    11         A.       Yes.

    12         Q.       To your            knowledge,                 he had            been     up since            8:00      that

    13   morning         when the                baby         got     up to        go to         the     hospital,

    14   correct?

    15         A.       That's            not     an accurate                    statement.              I wasn't            with

    16   him that            entire           time.            So,        to     my knowledge,                he could

    17   have        slept          for    the         four        hours.

    18          Q.      You don't                know either                   way.

    19         A.       I don't              know either                  way.

    20          Q.      Did you have                    a sense             of    his     level         of    education?

    21         A.       I didn't                have      a            I didn't            know for           a fact         what

    22   his     education                was,     but         he appeared                that         he could           carry

~   23   on a conversation                        with         us,        an intelligent                 conversation.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-13 3604338,   Page752
                                           Filed 09/20/21    of 898
                                                          Page  14 of 38
                                                                                                               1770            104



 1                                       (Adam Mason               - by Mr.           Klein)

 2         A.       Yes.

 3         Q.       Do you               remember        her         statement?

 4         A.       I don't                remember          what       it     says.

 5         Q.       She        didn't             incriminate                Adrian        in      her     statement,

 6   though,         generally.

 7                  Do you               recall       that?

 8         A.       I don't                --     I recall           that      she        did      not.

 9         Q.       Then           the      next      statement               in    the         file      is   one     from

10   Adrian         Thomas               dated       9/22/08,           at      0141       hours,          correct?

11         A.       Yes.

12         Q.       And that                would       be     the      written            statement            that

13   arose        out         of    interview            one,         correct?

14         A.       Yes.

15         Q.       There's                a related           Miranda             page,         waiver        page,

16   correct?

17         A.       Yes.

18         Q.       So Defendant's                      Exhibit              C from        August          20th,       2019,

19   is    that         the        first          statement?

20         A.       Yes.

21         Q.       Was that                written           --     the      body        of      the     statement,

22   was     that        written                by Detective                 Fountain?

23         A.       Yes.
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                             APPENDIX
                                62, 01/17/2024,
                                        156-13 3604338,   Page753
                                                Filed 09/20/21    of 898
                                                               Page  15 of 38
                                                                                                                           1771              106



      1                                    (Adam Mason                    - by Mr.                Klein)

      2         Q.       And then                did        you      come        back         to       work     on the           22nd?

      3         A.       Yes.

      4         Q.       And then                what        did      you        do?

      5         A.       On the            22nd,            I went          to     Samaritan                Hospital             and

      6   spoke         to     the        doctor            there,          I believe.                     I went          to    Albany

      7   Medical            Center          and        spoke         to     the        doctor             there.

      8                  And then                ultimately,                 in        the        afternoon             on the

      9   22nd,         I went            back         to    Samaritan                 Hospital             and      spoke            to

     10   Adrian          Thomas           again.

     11         Q.        You had            arranged                with        the         hospital           staff           for        them

     12   to    notify            you      when         he was            ready         to        be    discharged,

     13   correct?

     14         A.        Yes.

     15         Q.        You got            a phone               call      and        you        went       there,            and        you

     16   were         there         to    meet         him        when      he was               walking           out.

     17         A.        Yes.

     18         Q.        From        there,            you        brought             him        right       back         to    the

     19   headquarters,                    correct?

     20         A.        Yes.

     21          Q.       That's           when         you        conducted                 --    you      took        him      right

     22   to     the      third           floor         interrogation                        room,         Mirandized                 him,

~.   23   and     then         started             interview                two,        correct.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                             APPENDIX
                                   156-13 3604338,   Page754
                                           Filed 09/20/21    of 898
                                                          Page  16 of 38
                                                                                                                        1772          107


 1                                         (Adam Mason               - by Mr.                Klein)

 2          A.       Yes.

 3            Q.     What's             been         marked          as        Defendant's                   Exhibit       Bon

 4   August          20th,            2019,          is     this         the         ten-page            statement             that

 5   arose          out         of    interview                  two?

 6            A.     Yes.

 7            Q.     We'll            get       into        the         conduct            of     the        interview          in    a

 8   little          bit,            but      in     terms         of     after            the      interview             was

 9   completed,                  you         then      placed            him         under         arrest,         correct?

10            A.     Yes.

11            Q.     That            was      into         the     early             morning            of

12   September                  23rd,         correct?

13            A.         Yes.

14            Q.         Did     you         then         go home         or         did     you        book      him?

15                   Were            you      involved             in     the         arrest            processing

16   through              the        early          morning             hours         of     the        23rd?

17            A.         I was        involved              in     the         arrest            process.

18            Q.     What            did      that         entail?

19            A.         That        entailed              getting             his      pedigree               information

20   into          the      computer                for     an arrest                 sheet         and        fingerprint,

21   photograph,                     and      securing             property,                 and        putting          him     in

22   the       holding               cell.

23            Q.         Did     you         do that             alone         or     were         you       assisted          by
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                            APPENDIX
                                62, 01/17/2024,
                                        156-13 3604338,   Page755
                                                Filed 09/20/21    of 898
                                                               Page  17 of 38
                                                                                                                              1773               109



      1                                    (Adam Mason                - by Mr.                Klein)

      2        A.       I don't             recall          where          it      was.

      3        Q.       While        you       were         getting              pedigree                  from         him,          do you

      4   know if        you       informed              him         of    the         fact           that        he was              under

      5   arrest,        or     did         you      say,       I just             need           to       get         some

      6   information              from        you?

      7        A.       Well,         at     the      point           where            I was            getting               the

      8   pedigree          information                  and         completing                   the        arrest             sheet         on

      9   my computer,                he was          informed                  that        he was               under          arrest.

     10        Q.       And what             was      his       reaction,                   if        any,        to         that?

     11        A.       I don't             recall          any       significant                       reaction.

     12        Q.       Did     you         have      a colleague                      or        colleagues                   with        you
~r



     13   to   assist         you,          whether            for        security                or       for         any      other

     14   reason,        while         you         were        getting             this           information                        from

     15   him?

     16        A.       I know that,                  during              the      course               of       the         interview,

     17   Sergeant          Colaneri               was      next          door         monitoring                      the

     18   interview.               So,       I don't            specifically                          recall            him         being

     19   there      during           the      booking               process,               but         I don't               believe            he

     20   would      have       just         left         at    that            point            in     time.                I believe

     21   he would          have       stayed            with         me and            saw that                  through.

     22        Q.       Before         placing              Adrian              under            arrest,               did      you       have

     23   to   get      approval             or      authorization                      from            your           captain,             or
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                            APPENDIX
                                   156-13 3604338,   Page756
                                           Filed 09/20/21    of 898
                                                          Page  18 of 38
                                                                                                                        1774                   110



 1                                         (Adam Mason                 - by Mr.               Klein)

 2   was     it        your            own independent                     determination                      to       place         him

 3   under         arrest?

 4          A.         It     was         a determination                        that         was made             by myself

 5   and     Sergeant                    Colaneri           jointly.

 6          Q.         From            looking        at        the      video,          it        basically                comes         to

 7   an     end,        and            Adrian        is     escorted              out         of     the      room.

 8                     Is         that      fair      to        say?

 9          A.         Yes.

10          Q.         Is         there       a point             in     time       where            you      and       Colaneri

11   have         a discussion                     where          that         determination                      is    jointly

12   made         to    place             Adrian           under         arrest?

13          A.         Yes.              Up until           the        point        where            the      incriminating

14   statements                    were       made         by Adrian              Thomas,              I had           no

15   intention                    of     arresting              him.        And when                 we completed

16   because                the        statement            was         done      in     two         parts,            so    it      was

17   six     pages.                    And then,            when         the      last         four         pages           were

18   done,         while               he was        reviewing                 those          last         four        pages,         I

19   left         and        went         into       the        room       next         door         where         Sergeant

20   Colaneri                was monitoring                       the      interview.

21                     And in             sum and           substance,                  my words              to       him were,

22   do     I have                to     arrest           him     now?           Because             that         was       not      my

23   intention                    throughout               that         entire          interview,                 to       arrest
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                         APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page757
                                           Filed 09/20/21    of 898
                                                          Page  19 of 38
                                                                                                              1775                111



 1                                   (Adam Mason                   - by Mr.           Klein)

 2   him.         And he looked                      at     me,     and    he said,               yeah,       you         have

 3   to.

 4                    I knew I had                   to     once       he said         that.              I didn't             know

 5   that        it    was going               to        come to        that.          And so,             that          was the

 6   conversation                  him and               I had.

 7          Q.        Do you        recall               that      Sergeant           Colaneri             made          one

 8   appearance              during            the        interview             two where            he started                  by

 9   saying           he was        in      the          Corps      and    then        introduced                  the

10   concept           of    Adrian            slamming             M~                to    the      ground?

11          A.        Yes.

12          Q.        Was that             conversation                 with      Sergeant                Colaneri

13   about,           do I have             to       arrest         him now,           after         Sergeant

14   Colaneri           came        into           the         room?

15          A.        Yes.

16          Q.        So,    prior          to       Sergeant           Colaneri            coming           in,         did     you

17   already           have        the      six-page               statement,              six     pages           out      of

18   the      ten,      approximately?

19          A.        I don't            recall.

20          Q.        But     you        had       a partial            statement                before       Sergeant

21   Colaneri           came         in?

22          A.        I don't            recall           if     he came         in    in        between           the      two

23   statements               or    if      --       I don't           recall         exactly             which          point
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                              APPENDIX
                                       156-13 3604338,   Page758
                                               Filed 09/20/21    of 898
                                                              Page  20 of 38
                                                                                                                                      1776             112


     1                                    (Adam Mason                        - by Mr.              Klein)

     2   that         was.

     3           Q.     But      is      it      your            testimony                  that        Adrian                 didn't           make

     4   incriminating                   statements                     until          after            Sergeant                      Colaneri

     5   said         what     he      said           in        the     room          and      then           left?

     6                              MR. PERKINS:                             Object           to     the           form.

     7                              You can                answer.

     8                              THE WITNESS:                              I think,             in        the         first           six

     9                  and     a half               pages,             if      Sergeant                Colaneri                 came

    10                  in     after          that,             I don't               know that                --         I don't

    11                  know --            I don't                   know       if     there            were

    12                  incriminating                       statements                  made            in     those              first

    13                  six     and        a half               pages           or     not.

    14                                I guess              it         would          have      been           --         if      it

    15                  ended          there,              those         actions              would            have             had       to

    16                  have        been        further                 investigated                     to        determine

    17                  if     there          was          a criminal                  act         committed                    there.

    18   BY MR. KLEIN:

    19           Q.     Well,          my question                       is      --     I think               you             said       that     up

    20   until         the     time           that         Colaneri                  came      in       you         didn't               have

    21   probable             cause.

    22                   Is    that           right             in     your          mind?

    23           A.     Up until                the        time          --     no.           That's               not         what       I said.
~
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page759
                                           Filed 09/20/21    of 898
                                                          Page  21 of 38
                                                                                                            1777             113


 1                                   (Adam Mason               - by Mr.            Klein)

2                  What I said                was,       up until             the     time,          the

 3   conversation                  between         Adrian           Thomas          and myself              where      he

 4   told        me that           he slammed            M~                  on the        bed       three        times,

 5   that's        when I knew probable                             cause         had been           established.

 6   And that's               when I knew that                      things          had      taken         a turn.

 7          Q.     But those              statements                weren't          made until              after

 8   Colaneri            introduced               the     concept            of M~                   being

 9   slammed;            is     that      right?

10                              MR. PERKINS:                   Object         to     the      form.

11                              You can           answer.

12                              THE WITNESS:                   That      is       correct.            It

13                 occurred             afterwards.

14   BY MR. KLEIN:

15          Q.     I'm        just       trying         to     understand             generally              in      the

16   temporal            time        frame        of    the     interview.

17                 It     was after               Colaneri            came in         and      introduced              the

18   concept         of M~                    being           slammed         that         you spoke           with

19   Adrian        further              and then          spoke        with         Colaneri          and      said,

20   now I have               to     arrest        him;        is     that        right?

21          A.     Yes.

22          Q.     Prior           to    Colaneri            coming          in     you didn't              think      you

23   were        going        to     arrest        him.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                             APPENDIX
                               62, 01/17/2024,
                                       156-13 3604338,   Page760
                                               Filed 09/20/21    of 898
                                                              Page  22 of 38
                                                                                                                     1778            114


     1                                      (Adam Mason              - by Mr.              Klein)
~
     2         A.       Prior          to    him coming                in     I didn't             think            I was going

     3   to    arrest           him.         That's           correct.

     4         Q.       Is      the     reason          because,              prior         to      Colaneri              coming

     5   in,     the      concept            of   M-being                             slammed            had        not    been

     6   uttered          or     discussed              by Adrian              up to          that        point?

     7                                MR. PERKINS:                   Object           to    the      form.

     8                                You can         answer.

     9                                THE WITNESS:                   The      reason          is     because

    10                 Adrian           hadn't         told          me that          he slammed

    11                                      on the      bed          three      times            prior         to

    12                  that.

    13   BY MR. KLEIN:

    14         Q.       Would          you     agree          that       it    was         Sergeant            Colaneri            and

    15   yourself            who jointly                introduced               the        concept            of

    16   being         slammed          into      the         conversation?

    17                                MR. PERKINS:                   Object           to    the      form.

    18                                Go ahead.

    19                                THE WITNESS:                   Yes.

    20   BY MR. KLEIN:

    21         Q.       Once          Sergeant          Colaneri              first         and      then           you

    22   introduced              that        concept           of~                         being         slammed,           that's

    23   when Adrian                  made     statements                about         slamming~,
      CaseCase  23-753, Document
           1:17-cv-00626-DJS  Document
                                           APPENDIX
                                 62, 01/17/2024,
                                         156-13 3604338,   Page761
                                                 Filed 09/20/21    of 898
                                                                Page  23 of 38
                                                                                                                    1779                115



       1                                 (Adam Mason                 - by Mr.              Klein)

       2   correct?

       3          A.     He made          comments             about          slamming               M               after

       4   that        was    introduced               to    him by myself                      and      Sergeant

       5   Colaneri.              Yes.

       6          Q.     Correct.

       7                 And he did               other        things             after         they      were

       8   introduced             by yourself                 as     well,         like         the      slamming                of    the

       9   folder,           correct?

      10          A.     There        were        other        things             that         he did        that      were

      11   introduced             by myself,                and      there         were         things        that         he

      12   stated        that       were      not       introduced                 by myself,                as     well.

      13          Q.     Right.

      14                 The      slamming             of     the     folder              as    a demonstration                        was

      15   introduced             by yourself?

      16          A.     Yes.

      17          Q.     After        Adrian           admitted              --    I think             you    said          it        was

      18   three        instances            of     slamming            or        four?

      19          A.     Three.

      20          Q.     That's          when       you       then      sat        down and              wrote       the

      21   remaining            balance           of    the         second         part         of     the    interview,

      22   which        is    about        four        pages?

fr~   23          A.     That's          correct.
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                      APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page762
                                           Filed 09/20/21    of 898
                                                          Page  24 of 38
                                                                                                                 1780            116



 1                                  (Adam Mason              - by Mr.                 Klein)

 2         Q.    Once         that       was        done,        that's          when          he was            placed

 3   under      arrest.

 4         A.    Yes.

 5         Q.    I'll         get      more         into     the         interview,                 but      I want        to

 6   get     through          your       investigation                    on a macro                 level.

 7               So,      he goes             to     your        office          so      you        can      take

 8   pedigree           and    book          him,        correct?

 9         A.    Yes.

10         Q.    Where         does          he     go after             that?

11         A.    Then         we went             down      to     the        first        floor,            in     the

12   back,      where         the      detention              area        is.

13         Q.    He was             lodged          in     a cell.

14         A.    Yes.

15         Q.    He was             searched,              presumably.

16         A.    Likely.

17         Q.    Did       you       confirm             during          that         process             that      he had

18   no prior           criminal             record         or     history?

19         A.    We would              have         done      a criminal                 history             during        the

20   booking       process.

21         Q.    Do you             recall          that      he had            no history?

22         A.     I don't            recall           any     criminal                history.

23         Q.    And what              else         happened             in     terms          of    the         booking
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                         APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page763
                                           Filed 09/20/21    of 898
                                                          Page  25 of 38
                                                                                                                 1781               117



 1                                     (Adam Mason                   - by Mr.          Klein)

 2   process,             if      anything?

 3           A.      Fingerprinting,                           photographing.

 4           Q.      You were             involved                  with     that?

 5           A.      Yes.

 6           Q.      Then         what        happened               next?

 7           A.      Then         he would                have       been      ultimately               placed          in    a

 8   cell.

 9           Q.      Then,            from         there,           what     did     you     do?

10                   This         is     already               on the        23rd,        right?

11           A.      Yes.

12           Q.      What         happened                next?

13           A.      After            he was             placed        in    a cell        on that          evening,                I

14   don't        recall              what         else        I did.

15           Q.      Is        that      when            you     would       have      prepared            the     criminal

16   court        information                      or     complaint?

17           A.      Yes.

18           Q.      That         was        for         attempted           murder?

19           A.      Yes.

20           Q.      Did        you      do that               in    consultation                with      a DA or

21   ADAs,        or      would          you        have          done      that     in    the     office          first

22   and      then        forwarded                 it      to      them     for     review?

23           A.      After            he was             placed        in    a cell,         I would             have        went
         CaseCase  23-753, Document
              1:17-cv-00626-DJS     62, 01/17/2024,
                                 Document
                                                        APPENDIX
                                            156-13 3604338,   Page764
                                                    Filed 09/20/21    of 898
                                                                   Page  26 of 38
                                                                                                                                      1782               118



          1                                        (Adam Mason                     - by Mr.                Klein)

          2   back          to    my office                   and       typed            that        up.

          3           Q.         What       else          would           you        have        typed         up,        or     what          else

          4   did      you        type           up in           this         case        or     otherwise                prepare

          5   related             to       the         arrest,            the        arrest           report?

          6           A.         Yup.

          7           Q.         What       else?

          8           A.         Accusatory                   instrument.

          9                      And I would                     have         made        photocopies                 of        the

         10   statement                 and       attached                that           to     go to         court        in         the

         11   morning.

         12           Q.         Would           that         have        been           both        statements                 or     just        the

         13   second             statement?

         14           A.         The       full         ten         pages.

         15           Q.         In     terms           of       statement                one,        which          is    Defendant's

         16   Exhibit             C,       is     it      fair          to      say       that        one      was        not

         17   incriminating                       or      useful              to     you        in    terms          of    charging                him

         18   with          attempted               murder?

         19           A.         That       would             not       have         been        something                that         I

         20   attached                to    the         paperwork.

         21           Q.         The       basis          of        you       charging               him was          what            was      said

         22   in      the        second           half           of     the        interview,                as     we said                 earlier,

.t"'i.   23   after          Colaneri                  introduced                  the        concept          of     slamming,
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-13 3604338,   Page765
                                           Filed 09/20/21    of 898
                                                          Page  27 of 38
                                                                                                                     1783                122


 1                                   (Adam Mason                    - by Mr.              Klein)

 2                  release.

 3   BY MR. KLEIN:

 4          Q.      That         was       dated          September               23rd,          which         is      the        same

 5   day     that        you      processed                 Adrian             Thomas'           arrest,             correct?

 6          A.      Yes.

 7          Q.      Do you           know if              he was              arraigned            in      Troy        City

 8   Court         on the           23rd,          or     was       that         on the          24th?

 9          A.      I believe                   he would            have        been       arraigned                 on the

10   23rd.

11          Q.      You didn't                   go to           court         that       day      for        the

12   arraignment?

13          A.      No.

14          Q.      At      some          point          prior          to     Adrian        going            to     court,         did

15   you     or     anyone           at         your      office              speak       with      the        prosecutors,

16   or     does       he     get         arraigned               based          on police               documents

17   submitted              to      the         court?

18          A.      He does               get      arraigned                  based       on the           documents

19   submitted              to      the         court,           but      I don't          recall             specifically

20   meeting           with         someone              that          day,      but      I imagine                 that      I

21   probably            did      meet           with       someone              from      the      DA's            office         on

22   that        day     to      talk           about       the         case.

23          Q.      And then               what          was      your         next       steps          in    the
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                            APPENDIX
                                   156-13 3604338,   Page766
                                           Filed 09/20/21    of 898
                                                          Page  28 of 38
                                                                                                                        1784           150


 1                                         (Adam Mason                 - by Mr.            Klein)

 2          Q.          Do you          remember,                did      he explain                   why the            brain       had

 3   become             liquified?

 4          A.          I don't             recall.

 5          Q.          What         else      do you            remember,                if         anything?

 6          A.          I don't             recall          anything               else         specific.

 7          Q.          How about              generally?

 8          A.          I believe              that         he would               have         dictated               certain

 9   things             throughout               the        autopsy,               but         I just          can't        recall

10   anything                 that      he would             have         said.

11          Q.          Do you          recall             anything            else            that      you      did      on the

12   26th          as    it      relates              to    this         case?

13          A.          I do not.

14          Q.          On the          26th,          at    around            10:00            a.m.,          you      testified

15   in      the        grand         jury,           correct?

16          A.          Yes.

17          Q.          Prior         to      going         to     the        grand            jury,       was         there        some

18   meeting             with         the      DA's         office            to    prepare              you      for       your

19   testimony?

20          A.          Yes.

21           Q.         Was it          that          morning            or    would            it      have      been         on a

22   prior          day?

23          A.          I don't             recall.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                             APPENDIX
                               62, 01/17/2024,
                                       156-13 3604338,   Page767
                                               Filed 09/20/21    of 898
                                                              Page  29 of 38
                                                                                                                              1785              154


     1                                      (Adam Mason                  - by Mr.               Klein}

     2   you     went        to    meet         with         --      to        obtain           a DNA specimen                       from

     3   Wilahemina               Hicks.

     4                  What       was         the     purpose                 of     that?

     5          A.      I don't             recall.

     6          Q.      Did       anything             ever          come           from        that        as     it     related             to

     7   this        investigation?

     8          A.      Nothing             that       I can             remember.

     9          Q.      In     terms           of     the         serology              testing,             the         testing           --

    10   there        was      testing               done     of         the        blankets            and        sheets            and

    11   such,        was      there           any     of     that             evidence              that        bore         any     fruit

    12   as     related           to     the         murder          charges               against           Adrian            Thomas?

    13          A.      I don't             remember.

    14          Q.      Not       that         you     recall?

    15          A.      Right.

    16          Q.      Other          than          Adrian          Thomas'               statement,                   and

    17   particularly                  in      the     last          four           pages        and        what         was    said

    18   related          to      that         in     the         last         four        pages        of       the      written

    19   statement,               was       there           anything                else        --     any       other

    20   evidence,             any       physical             evidence,                    linking           him         to    the

    21   crime?

    22                             MR. PERKINS:                          Object            to    the        form.

~   23                             You can             answer.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-13 3604338,   Page768
                                           Filed 09/20/21    of 898
                                                          Page  30 of 38
                                                                                                                                1786               155


 1                                   (Adam Mason                           - by Mr.                    Klein)

 2   BY MR. KLEIN:

 3          Q.      Or the           alleged                   crime.

 4          A.      Not      that         I can                remember.

 5          Q.      In     other          words,                    there            were         no fingerprints                      or

 6   blood        work       or      anything                       else         that            incriminated

 7   Mr.     Thomas,            to     your          knowledge?

 8          A.      Correct.

 9          Q.      On October                  --        it         says            on that              date        you     set      up an

10   interview             with        Ms.       Hicks                 for           Friday,              October            3rd,      at

11   5:30,        and      that        was       setting                        up the            interview              that         you

12   recorded,             correct?

13          A.      Yes.

14          Q.      Now,        what       was            the          reason               for         having         her      come         to

15   the     office?

16                  Was it           so    that                it      could               be     videotaped?

17          A.      Yes.

18          Q.      When you              set        it             up with                her         on the         30th      for

19   Friday,             October          3rd,            did          you           let         her      know that             you

20   wanted         it     to     be      done            there                 so    it         could          be    videotaped              or

21   just        that      you       prefer               that             it        be more              generally             in     the

22   office?

23          A.      I don't            recall                  if      I gave               her         that         information              or
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-13 3604338,   Page769
                                           Filed 09/20/21    of 898
                                                          Page  31 of 38
                                                                                                                          1787                167



 1                                        (Adam Mason                    - by Mr.             Klein)

 2          Q.       Well,           is      it         true       that        you      said         that         you      didn't

 3   have         probable             cause              before          Colaneri             was      in        the      room?

 4          A.       Correct.

 5          Q.       So it's              different                 in        that      you      felt        that          there

 6   was     --      the       facts              after        Colaneri               came       in     gave            you

 7   probable               cause,          the           additional                 facts?

 8          A.       I don't              know that's                     when        I meant,              but         yes.          That

 9   is     the      fact       that              the      second             part      of     that         statement

10   provided               probable               cause           for        an arrest,              whereas              the        first

11   part         didn't.

12          Q.       In      your         view.

13          A.       Yes.

14          Q.       During           the          first           interview             with         Adrian             Thomas,

15   you     would           agree          that           you      told         him     repeatedly                     that     he was

16   not     under           arrest?

17          A.       Yes.

18          Q.       And that               he would                not        be     arrested.

19          A.       Yes.

20          Q.       I believe                    you      said          at    the      pretrial             Huntley

21   hearing           that          there              came       a time            when      the      actions                went

22   from         accidental                to          criminal,              and      that's          when        probable

23   cause         was       established.
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page770
                                           Filed 09/20/21    of 898
                                                          Page  32 of 38
                                                                                                                  1788               168


 1                                   (Adam Mason                - by Mr.                Klein)

 2                     Do you        recall            generally                saying         that?

 3           A.        Yes.

 4           Q.        And that          would          be after                Colaneri            --    the

 5   post-Colaneri                   part        of     the     interview,                    correct?

 6           A.        Yes.

 7           Q.        And the          first          time     you        heard         Adrian           Thomas             say

 8   that         he    slammed          M-                    in    sum and             substance,                    out     of

 9   frustration                was       five         hours        into         the     interview,

10   approximately,                     correct?

11           A.        Yes.

12           Q.        There     was        some        questions                in     the      hearing               about

13   whether            you     knew that~                                 Thomas             had    been         sick         since

14   the      Friday           before           the     Sunday         that            he woke           up

15   unresponsive.

16                     Did     you      know that              at    the         time         you were

17   questioning                Adrian?

18           A.        I don't          recall          exactly            when         I became               aware         of

19   that.             He may have               told         me that            the     first           night.

20   Wilahemina                may have               mentioned            it      at    the        hospital.                  I

21   don't         recall         exactly              when     I became                aware        of        that.

22                     Are     you      asking          me if        I was aware                    of    it      during            the

23   second            interview            with        him?
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-13 3604338,   Page771
                                           Filed 09/20/21    of 898
                                                          Page  33 of 38
                                                                                                                1789                 169


 1                                      (Adam Mason                - by Mr.           Klein)

 2        Q.          Yes.

 3                    In other            words,          did       you speak             with      any         --     were

 4   you aware               of    it     and,        relatedly,                did      you speak              with        any

 5   doctors            about           the    cause          of    fevers        and vomiting,                       fevers

 6   and diarrhea?

 7        A.          I did        not.

 8                                M~. CALABRESE:                        Objection.

 9                                MR. PERKINS:                     You can        answer.

10                                THE WITNESS:                     I did        not      speak      to     any

11                    doctors           about         that,        but     either         Adrian           or

12                    Wilahemina,               I believe,                had     informed          me that

13                    M-                had     a fever            at     some point             between

14                    Friday        and       Sunday.

15   BY MR. KLEIN:

16          Q.        Did you ever                   inquire            with     any      doctors          as         to

17   whether            there           was some nontrauma                       possible           cause             of

18   death?

19          A.        I did        not.

20          Q.        Now, from               the     time         of    the     first         interview               to      the

21   time        of     the       second            interview,             you learned              that             the

22   initial            report           of there             being        a skull         fracture              was

23   incorrect?
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                       APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page772
                                           Filed 09/20/21    of 898
                                                          Page  34 of 38
                                                                                                                1790             171



 1                                   (Adam Mason              - by Mr.                Klein)

 2   skull          fracture,          I didn't              look     at         that        as     a reason             for     me

 3   to      further         inquire          about          other         things            that        I was        told.

 4           Q.      When CPS was                 removing           the         kids        and       you were

 5   there,          do you         recall          that      Adrian             told        you       that~

 6   had      fever         and     diarrhea           for      two        days?

 7           A.      At some         point          I became          aware             of     that.            I don't

 8   know if           it    was at          that      point.              It     could           have       been.

 9           Q.      The     story         that       he told         you         at     the        apartment             was,

10   in      sum and         substance,               that      he was woken                      up by his              wife

11   at      8:30      to    9:00      a.m.         because          the         child         was not

12   responding.                  He sprinkled                water             on the         face.            911 was

13   call.           The wife          performed              CPR.          And an ambulance

14   arrived.

15                   Was that          generally              his     explanation                      of      what      he

16   knew about              this      incident?

17           A.      Yes.

18           Q.      He was consistently                        telling               you that              he didn't

19   know anything                  else      until          different                scenarios                were

20   introduced              by you          or     Detective              Fountain               in     the     first

21   interview,              correct?

22                              MR. PERKINS:                  Object             to     the       form.

23                              You can           answer.
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-13 3604338,   Page773
                                           Filed 09/20/21    of 898
                                                          Page  35 of 38
                                                                                                                         1791             172



 1                                  (Adam Mason                   - by Mr.              Klein)

 2                               THE WITNESS:                     Yes.

 3   BY MR. KLEIN:

 4         Q.       Even         into    the       second           interview,                     he continually

 5   would        say      he didn't              do anything                   or      he just                --        all      he

 6   knew was             that      he woke          up and              the         child         wasn't                responding

 7   during         the      second         interview,                   and         only         said       other               things

 8   when        additional             scenarios                 were         introduced                 into             the

 9   conversation                 by you          and/or           Colaneri,                 correct?

10         A.       Yes.

11         Q.       You would            agree            that,          when         you         went         to        the

12   apartment             on September                   21st      of         2008,         it        was      in        very         good

13   condition?

14         A.       Yes.

15         Q.       Especially              for      a house              that          had        several                 children

16   in    it?

17         A.       Yes.

18         Q.       And was very                  small?

19         A.       Yes.

20         Q.       When you            saw~~--                                                   I think                I asked

21   you     a little             bit    about            this,          so     forgive                me if             I did.

22                  But      when       you       saw him in                   the      hospital                    --     I believe

23   it    was on the               22nd,         after           Adrian             went         to     the         Samaritan
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                            APPENDIX
                                   156-13 3604338,   Page774
                                           Filed 09/20/21    of 898
                                                          Page  36 of 38
                                                                                                                        1792               195


 1                                     (Adam Mason                  - by Mr.                 Klein)

 2   donation             at     that         point?

 3         A.      That's              not         correct.

 4                               MR. PERKINS:                       Object             to     the        form.

 5                               THE WITNESS:                       There             was     a second             brain

 6                death           contamination                     that          was        going         to     be

 7                 conducted                  still.

 8   BY MR. KLEIN:

 9          Q.      But         you         knew he was                 not      likely             to     be

10   resuscitated.

11         A.       I'm         not         a doctor.               I can't              answer            that         question.

12          Q.      I think                 you've         testified                  that      you        believe             he

13   wasn't,         though.

14         A.       I didn't                 believe             he was          going          to       survive,              but       we

15   prayed         for         a miracle.                    And that                would         have        been       a

16   miracle         had         he         survived.

17          Q.      When you                 told         Adrian         that          Dr.      Edge        said         that        a

18   child        couldn't                  have       caused           this,          only         an adult             could

19   have        caused          this,             that       was       a lie,           correct?

20         A.       Yes.

21          Q.     When Fountain                          suggested              in      interview                one,         you       put

22   him     down         in     the         crib         half      awake             and     could         have         whacked

23   his     head         off         the      edge        of     the         crib,          that        was      the      first
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                                APPENDIX
                                       156-13 3604338,   Page775
                                               Filed 09/20/21    of 898
                                                              Page  37 of 38
                                                                                                                     1793               196



     1                                     (Adam Mason                 - by Mr.               Klein)

     2   mention            of~                     TIIIIIIIIIIIII possibly                   hitting        his       head        on

     3   the       crib         from       Fountain.

     4                     That      didn't         come          from         Adrian,           correct?

     5          A.         Yes.

     6          Q.         And you made                  the      first         mention            of~                     being

     7   slammed            on the          bed,        not       Adrian?

     8          A.         Yes.

     9          Q.         In     statement              one,         I think          it's        clear        that       not

    10   everything                is      in   that           statement              just       like      in      statement

    11   two,         in    particular              Adrian's               repeated              denial         of

    12   responsibility.

    13                     You didn't              put         that       in    the      statements,                 correct?

    14          A.         Correct.

    15          Q.         Any particular                      reason          why not?

    16          A.         No.

    17          Q.         Is     there,        like,           some       sort        of      technique             or

    18   practice               where       you     only          put      in     what's           potentially                  bad,

    19   or     are        you     required              to     put       in    the      witness's              full

    20   statement?

    21          A.         There's          no requirement.                           The      video        spoke         for

    22   itself.                And I think               that         what       was         documented             on paper
~                                                  could          have         potentially                put      M1111111111111
    23   were         aspects           that
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                             APPENDIX
                                   156-13 3604338,   Page776
                                           Filed 09/20/21    of 898
                                                          Page  38 of 38
                                                                                                                       1794          217


 1                                      (Adam Mason                    - by Mr.             Klein)

 2           Q.      Next         page         is      a note            that         you      were         going         through

 3   the      file         with         A.     Glass,            ADA regarding                   discovery                  needs

 4   and      you         turned         over          to       him      the      911       tapes?

 5           A.      Yes.

 6           Q.      Is     this         your          handwriting?

 7           A.      It     appears               to      be     Detective               Fountain's

 8   handwriting.

 9           Q.      And this                is      just        that,          on January                  8th      of     2009,

10   Detective               Fountain               met         with      Art         Glass,          correct?

11           A.      Yes.

12           Q.      Do you             know if             you        were       present             at      that        meeting?

13           A.      I don't             recall.

14           Q.      Next          is    the         discharge                 transition                  plan      for~

15   -               from         Albany            Med.

16                   Are      these,              like,          social           worker         notes?

17           A.      I don't             know.

18           Q.      But      these            are        records              that      made         it      into        your

19   file.

20           A.      Yes.

21           Q.      Going          next          to      the     next          handwritten                   notes,

22   starting              with,         "homicide                meeting,"                 9/29/08,              at      NYSPFIC?

23           A.      Forensic                investigation                      center.
                                                     TRAPPENDIX                                                       1795
                       Case
                    Case    23-753, DocumentDocument
                         1:17-cv-00626-DJS   62, 01/17/2024,
                                                      156-143604338,  Page777Page
                                                              Filed 09/20/21  of 898
                                                                                  1 of 2
                                                       OY POLICE DEPART
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                                                      INVESTIGATION RE
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                                                             REPORTDATE
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                                                                                                86095-08

          09/21/08                                           NARRATIVE
          At about 1730 D/Sgt A.
                                       Mason and Detective R.
          Medical Center with head                                 Fountain were called in for
                                          injuries possibly suffered                                a report of a baby at Alba
         briefed by Nicole Noel fro                                     in Troy. Upon arrival to                                    ny
                                         m Child Protective Servi                                    Central Station, VO's we
         AMC at about 1400. Th                                         ces. Noel stated that the                                    re
                                     e report was that a four-m                                   y received the report fro
         2441 21st Street, Apartme                                  onth old baby was transpo                                    m
                                       nt 1-C (Cedar Park) to Sa                                   rted from his residence at
        initial report was that the                                  ma  ritan Hospital and later tra
                                       baby was having respirato                                       nsferred to AMC. The
        severe trauma to the head                                     ry problems and hospital
                                      . CPS was concerned ab                                       ex aminations revealed
        children inside the reside                                 out child abuse and the fac
                                    nce. CPS notified TPD                                         t that there were six other
       Hospital staff stated that                                at about 1720. VO's respo
                                    the victim arrived with the                                 nded to Samaritan ER.
       report was that the victim                                    mother, by ambulance at
                                      was having respiratory pro                                  about 0913. The initial
       Samaritan and was transpo                                      blems and was unrespons
                                       rted to AMC at about 11                                     ive. The victim left
      Katrina Kardos MD. Sh                                         50. The doctor who saw
                                  e was off duty when I/O's                                      the  victim at Samaritan was
      seen was Ann Weber. VO                                       arrived. The charge Nurse
                                     's then responded to the                                      at the time the victim wa
      victim's father, Adrian Th                                  victim's residence along                                        s
                                    omas Sr., was inside the                                   with CPS. Upon arrival,
      mother, Wilhemena Hick                                      res  ide nce with the six other ch                           the
                                  s, was at AMC with the                                              ildren. The victim's
     remove the six remaining                                   victim. CPS infonned Th
                                   children from the residenc                                 om  as  Sr . of their intention to
     investigation. The victim                                     e and place them in foster
                                  's maternal grandmother,                                        care, pending an
    placement of the children                                     Inga Hicks, arrived on sce
                                 . At about 2015 CPS rem                                        ne to speak to CPS abou
    I/O's interviewed Thomas                                     oved the children from the                                    t
                                    Sr. and he stated the follow                                 residence. At about 2026
                                                                     ing:
         The victim had a fever an
                                        d diarrhea for the past tw
         At about 0830-0900 his                                      o days
                                     wife woke him up becaus
        He sprinkled some water                                    e the victim was not respo
                                       on the victim's face, but                                  nding
        He called 911 from his ce                                   the victim was still unres
                                       ll phone and gave the ph                                 ponsive
        His wife performed CPR                                     one to his wife
                                      and the ambulance arrive
                                                                   d shortly after
  I/O's then responded to AM
                                   C, arriving about 2130.
 (E Building/ih Floor). Th                                       The victim was in the Pe
                                e charge nurse, Rebecca                                       diatric Intensive Care Un
 Bilateral Sub Dural Hemo                                      Peccano RN, stated that                                      it
                               toma and is not likely to                                   the victim suffered a
 blood and new blood on                                       survive the injury. There
                             the victim's brain indica                                       appeared to be both old
the victim's head. The vic                                 ting that there is an old inj
                                tim was initially diagnos                                 ury  as well as a new injury to
determined to be inaccura                                      ed with a skull fracture,
                              te. At about 2145 Detec                                      but that was later
Edge MD, who stated tha                                     tive Fountain spoke to the
                             t this injury is typically ca                                  attending doctor, Walter
hard into a hard object.                                      used by a high-speed im
                            Edge stated to Detective                                      pact or by slamming very
                                                           Fountain, "This is a murde
                                                                                          r."



       DETECTIVEASSIGNE
       D/Sgt Adam Mason
                             D
                                                         I SUPERVISORAPPROV
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      CASE STATUS/ OPEN


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                                              TRAPPENDIX                                              1796
                Case
             Case    23-753, DocumentDocument
                  1:17-cv-00626-DJS   62, 01/17/2024,
                                               156-143604338,  Page778Page
                                                       Filed 09/20/21  of 898
                                                                           2 of 2
                                                OY POLICE DEPARTM
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                                               INVESTIGATION REPO
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                                                       REPORTDATE
                                                                             INCIDENTNUMBER
                                                            09/26/08                                 DB NUMBER
                                                                                 86095-08

     09/21/08( cont)                               NARRATIVE
    At about 2200 I/O's interview
                                    ed the victim's mother, Wilh
    interview was her mother,                                       emina Hicks at AMC. Also
                               Inga Hicks, and her sister,                                        present for the
    from Wilhemina at about 23                               Carla Hicks. Detective Foun
                                 10. I/O's then left AMC an                               tai n took a deposition
   speak to the victim's father,                                d responded back to the vic
                                 Adrian Thomas Sr., again.                                  tim's residence to
   an interview. The interview                                 Thomas Sr. agreed to come
                                  was conducted in the third                                 to CS with I/O's for
   disc. Thomas Sr. waived his                                 floor interview room and wa
                                  right to counsel at about 00                               s recorded on one
  deposition from Thomas Sr.                                    08 on 08/22/08. Detective
                                 at about 0141. At the conc                                Fountain took a
  felt like he was going to jum                               lusion of the interview Thom
                                p off of a bridge if his son                                 as Sr. stated that he
 Sr. to Samaritan Hospital Cr                                die d. At about 0200 I/O's transp
                               isis Unit and completed MH                                        orted Thomas
 I/O's again at a later time.                                  L 9.41 paperwork. Thomas
                                                                                             Sr. agreed to talk to

Persons residing at 2441 21 st
                                 Street, # 1-C, Troy, NY:

                    /M                   ictim)
Adrian T omas Sr.
Wil                                     (father)
       •   •                            other)
                                    )
                                   .bling)
                    /M              (sibling)
                              (sibling)
                              sibling)
                  /M             (sibling)




  DETECTIVEASSIGNED
  D/Sgt Adam Mason                                 I
                                                   SUPERVJSOR APPROVA


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                                                                                   I   PAGE NUMBER
                                                                                          2/6


                                                                                                P001399
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                      APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,  Page779
                                           Filed 09/20/21   of 898
                                                          Page  1 of 26
                                                                                                    1797          1



 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2

 3   ADRIAN THOMAS,

 4                                            Plaintiff,

 5                         - against            -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                                            Defendants.

 9   NEW YORK STATE
     COURT OF CLAIMS
10

11   ADRIAN P.           THOMAS,

12                                            Claimant,

13                         - against            -

14   THE STATE OF NEW YORK,

15                                            Defendant.

16

17                              DEPOSITION            of    Defendant,              RONALD FOUNTAIN,

18   held    on the            13th    day    of      September           2019,           commencing        at

19   8:59    a.m.,        at     the     Law Offices              of     Pattison           Sampson

20   Ginsberg        & Griffin,              PLLC,         22    First      Street,          Troy,      New

21   York,      before          Jeanne       O'Connell,             Registered              Professional

22   Reporter        and        Notary       Public         in    and     for       the     State      of   New

23   York.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-15 3604338,  Page780
                                           Filed 09/20/21   of 898
                                                          Page  2 of 26
                                                                        1798        2


 1   APPEARANCES:

 2   Brett    H. Klein,    Esq.
     305 Broadway
 3   Suite    600
     New York,     New York       10007
 4   Attorney     for Plaintiff/Claimant

 5   Pattison      Sampson Ginsberg    & Griffin, PLLC
     22 First      Street
 6   Troy,    New York      12180
     By:     Joseph     T. Perkins, Esq.
 7   Attorneys      for City of Troy,    Adam R. Mason,
     Ronald     Fountain    and Tim Colaneri
 8
     Bailey,     Johnson    & Peck,    P.C.
 9   5 Pine West Plaza
     Washington       Avenue Extension
10   Albany,     New York 12205
     By:     Crystal     R. Peck,   Esq.
11   Attorneys       for Michael    Sikirica

12   New York State      Office   of the        Attorney    General
     The Capitol
13   Albany,     New York 12224
     By:     Christina   M. Calabrese,          Assistant    Attorney     General
14
     Also   present:      Katherine        Hamilton
15

16

17

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 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,  Page781
                                           Filed 09/20/21   of 898
                                                          Page  3 of 26
                                                                                                               1799                 12


 1                           {Ronald               Fountain            - by Mr.              Klein)

 2   what        went      on.

 3          Q.      They         were       in     favor         of      doing        it,      to     the     best        of

 4   your        recollection,                   meaning          Ms.          Book     and      Mr.        Glass?

 5          A.      Yes.

 6          Q.      Were         they       present             when       you       gave      your         interviews?

 7          A.      No.

 8          Q.      Did     you         testify           in     the       grand        --     during          this       case?

 9          A.      Yes.          I believe               so.          Maybe         I didn't.

10          Q.      You're         not       sure?

11          A.      I am not             sure.

12          Q.      You haven't                   looked         at      the     grand         jury         testimony.

13          A.      I believe               just      my trial                 testimony            is      what      I

14   looked         at.

15          Q.      You did             testify           at     a Huntley              hearing,             correct,           a

16   pretrial             Huntley           hearing?

17          A.      Probably.                I don't             recall.

18          Q.      You did             testify           at     trial          in    2009?

19          A.      I did         testify            at    trial.               I recall            that.

20          Q.      After         the       2009       trial           and      up until            today,         have        you

21   given        any      sworn         testimony               in      this        case?

22          A.      No.

23          Q.      You didn't               testify             in      connection              with        the
 CaseCase 23-753, Document
      1:17-cv-00626-DJS    62, 01/17/2024,
                        Document
                                            APPENDIX
                                   156-15 3604338,  Page782
                                           Filed 09/20/21   of 898
                                                          Page  4 of 26
                                                                                                                       1800             13



 1                               (Ronald              Fountain              - by Mr.             Klein)

 2   retrial,             correct?

 3        A.         No,        I did          not.

 4            Q.     In     connection                   with         the      first           prosecution                  leading

 5   to       the    conviction,                      did     you      have         meetings                with      the

 6   district             attorney's                   office          for         prep?

 7            A.     Yes.

 8            Q.     Those            are      standard               when         you're            getting          ready       for

 9   trial,          correct?

10            A.     Correct.

11            Q.     Did        you         attend           the      autopsy             in    this         case?

12            A.     I don't                believe           so.           I'm     not        sure.

13            Q.     Have        you          ever          spoken          with        Dr.     Sikirica              about       his

14   findings              in        this      case?

15            A.     Maybe            with        Mr.        Mason,          Adam Mason,                    but      I don't

16   recall.               I'm        sure        Adam was             in      charge,               so.

17            Q.     So,        what         we don't               want       you        to    do is             speculate.

18                   So,        if      you       don't            remember             --

19            A.     I don't                recall.

20            Q.     And so,                I'm       just         trying          to     gather            who you've

21   given          statements                 or      spoken          to      in       terms         of     the      universe

22   of       statements                out       there.

23                   So,        other          than          speaking              with        the         DA, doing           trial
      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                             APPENDIX
                                62, 01/17/2024,
                                        156-15 3604338,  Page783
                                                Filed 09/20/21   of 898
                                                               Page  5 of 26
                                                                                                                    1801                 32



      1                             (Ronald          Fountain                  - by Mr.            Klein)

      2   how you           conducted              this       interrogation                    with         Adrian         Thomas,

      3   correct?

      4                             MR. PERKINS:                      Objection               to     the     form.

      5          Q.        When you          conducted                your        interrogation                   of    Adrian

      6   Thomas,           interview              one,       you         acted       based          on your

      7   instincts,               not      with        regard            to    any      specific            training             that

      8   you      learned,              correct?

      9                             MS. CALABRESE:                         Objection.

     10                             MR. PERKINS:                      Object          to      the     form.

     11                             You can             answer.

     12          A.        Yes.

     13   BY MR. KLEIN:

     14          Q.        Were     you      guided           by any            training             or     experience             in

     15   that        interview,             or     was       it      just        kind        of     you     and       Mason

     16   went        in    and     were         kind     of        riffing           off      each         other       about

     17   who would               ask     what      about           what        to    ask      next?

     18                             MR. PERKINS:                      Object          to      the     form.

     19                             You can             answer.

     20          A.        I believe           we were              just        bouncing             off     of     each

     21   other.

     22          Q.        Had you          ever        had        that        type      of    interaction                 with

.~
     23   Mason        before?
      CaseCase 23-753, Document
           1:17-cv-00626-DJS    62, 01/17/2024,
                             Document
                                               APPENDIX
                                        156-15 3604338,  Page784
                                                Filed 09/20/21   of 898
                                                               Page  6 of 26
                                                                                                                              1802                     37


      1                             (Ronald               Fountain                 - by Mr.              Klein)

      2   the    statement                wasn't               coming             in,      did         you        know anything                   in

      3   the    nature            of     what            I just             read        to      you       now,       before              now?

      4         A.      To the            best            of    my understanding,                                 there       was         a

      5   problem           with         the        eight-            or      nine-hour                 interview                 that          Adam

      6   Mason       did      with            Mr.        Thomas             and        that       was       the      reason              it

      7   came       back,         but         I never             read           the      entire            thing          and      I don't

      8   believe           anyone             ever         read        it        to     me like             that,          no.

      9         Q.      You were                present                during            the       first           interview                   when

     10   he was        told        his         wife           would          be        arrested             if      he     continued

     11   to    deny        responsibility.

'~
     12                 Do you            recall               that?

     13         A.      No,        I don't,                 but        I believe                 you.

     14         Q.     And I'll                 show           you      the         testimony                of      you.

     15         A.      That's            fine.

     16         Q.      He ultimately                          agreed             to     quote          "take         the         fall"          in

     17   response           to     what            the        court          called             a threat             during              your

     18   interview.

     19                 Do you            recall               that          he     said         the       word       "I'll          take

     20   the    fall"?

     21         A.      I    do.

     22         Q.      He was            told,             during            your         first           interview,                that

     23   the    disclosure                    of     the         circumstances                        under         which         he
      CaseCase 23-753, Document
           1:17-cv-00626-DJS    62, 01/17/2024,
                             Document
                                                 APPENDIX
                                        156-15 3604338,  Page785
                                                Filed 09/20/21   of 898
                                                               Page  7 of 26
                                                                                                                             1803                  38


      1                                (Ronald             Fountain           - by Mr.            Klein)

      2   injured          the         child          were       essential              to    assist             the          doctors

      3   to      save     ~'s                        life,          correct?

      4        A.         I believe                 either           myself        or    Mason            said          that.               I

      5   don't          know which                 one.

      6        Q.         You were                present            when      either         you         or     Mason             or       both

      7   assured          him that                 whatever            had      happened            was         an accident.

      8        A.         Yes.

      9        Q.         I just            recently             reviewed           that          first          statement.

     10   There          were      numerous                times        where       Mason          said,              it's         an

     11   accident,              and        if      it's       an accident               you're            going              to      go

     12   home.

     13                   Do you            recall            that      or     words         to    that          effect?

     14        A.         Yes.

     15        Q.         So,      do you             know who told                 you       that         it         was       the

     16   second          interview                 only       that      was       a problem               and          not

     17   starting           with           the       first          interview?

     18        A.         I don't                recall.

     19        Q.         So,      until            now,       you      didn't          know that                it          was      the

     20   whole          chain         of        events        that      the       court          considered                    in      its

     21   decision              that        the       statement              was    not       voluntary?

     22                                MR. PERKINS:                     Objection.

.~   23                                You may answer.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,  Page786
                                           Filed 09/20/21   of 898
                                                          Page  8 of 26
                                                                                                                        1804                        60



 1                              (Ronald                  Fountain             - by Mr.             Klein)

 2   this        incident?

 3          A.         I don't         remember.

 4          Q.      He stated                 to          you     that         the      injuries               were       typically

 5   caused         by a high                 speed              impact          or     by    slamming                a very          hard

 6   object.

 7                  That's           what               this       report            says.         Is     that          what         he

 8   told        you?

 9          A.      Yes.

10          Q.      So what            were               the     circumstances                    of     your         meeting

11   with        Dr.     Edge?           Where                  was     it?          How long            did        you     speak              to

12   him     for?          How did                 it          go down?

13          A.         I believe              it          was     the         hallway.             It     was        very        brief.

14   He said            he was         very              busy.            I asked            him     if        he     could

15   conclude            what        happened.                        I recall             him     saying            this        is        a

16   homicide            and        telling                  me about            the       injury,             and      how the

17   speed        of     the        impact                would         have         had     to    have         happened              to

18   make        this      injury.

19          Q.      Did        he    also               tell      you         that      he    hadn't            slept          for         two

20   days?

21          A.      Yes.

22          Q.      Was he           kind               of      walking          or     rushing           around            to       get

23   out     of     there           while               you      were         speaking            with      him?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                       APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,  Page787
                                           Filed 09/20/21   of 898
                                                          Page  9 of 26
                                                                                                                      1805                  61



 1                            (Ronald          Fountain                   - by Mr.               Klein)

 2          A.        He was        definitely                 trying            to       get        out.

 3          Q.        Tell    me more             about             that.

 4                    Did    he     seem       harried               or      exhausted                 or     what?

 5                             MR. PERKINS:                         Object           to    the         form.

 6                             You can            answer.

 7          A.        He seemed            very        busy.

 8          Q.        What     do you mean                  by        "very          busy"?

 9          A.        He had        other         matters              involving                 very          sick         children

10   that        he    had     to     attend           to      and          didn't         have         time          to     talk      to

11   me.

12          Q.        So,    how much             of     his         time        did       he give              you?

13                    Was it        like       within               a minute              that         he      kind         of

14   rolled           off    his      opinions              and        you       guys           went         separate             ways?

15          A.        Maybe        three       or      four          minutes.

16          Q.        But    you      felt        like         it      was       hard           to     get      his

17   attention.

18                             MR. PERKINS:                         Object           to    the         form.

19                             You can            answer.

20          A.        I thought            I had         his         attention.

21          Q.        How did         you      learn           that          he hadn't                 slept          for        two

22   days?

23                    Did    he volunteer                   that?
        CaseCase  23-753, Document
             1:17-cv-00626-DJS  Document
                                                APPENDIX
                                   62, 01/17/2024,
                                           156-15 3604338,   Page788
                                                   Filed 09/20/21    of 898
                                                                  Page  10 of 26
                                                                                                                      1806                  62



         1                           (Ronald              Fountain             - by Mr.               Klein)

         2          A.     Yes.

         3          Q.     How did             it     come           up?      Was he            saying,         look,         I'm     not

         4   sure        about      this?             Did        he    say,         I'm     just        exhausted?              Or

         5   how did           he   --      what          were        the     circumstances                    in    which      he

         6   told        you     that?

         7                           MR. PERKINS:                           Object         to    the      form.

         8                           You can               answer.

         9          A.     To the           best          of     my current                recollection,                he     said

        10   he was        very      busy.                He hadn't             slept           in     a couple         days.

        11   This        was     a homicide.                     He had         other           matters         to    attend          to

        12   and     he didn't              have          time        to     talk      to       me.

        13          Q.     Do you           recall             anything             else        about      that       meeting

        14   with        him?

        15          A.     No.

        16          Q.     Then,          at        10 p.m.,           do you           recall          interviewing

        17   Wilahemina             Hicks?

        18          A.     Yes.

        19          Q.     And that                 was    at     Albany            Med.

        20          A.     Yes.

        21          Q.     Do you           recall             her     relatives                were      there,        her

        22   mother        and      her        sister?

14""\   23          A.     Yes.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-15 3604338,   Page789
                                           Filed 09/20/21    of 898
                                                          Page  11 of 26
                                                                                                                         1807                   63



 1                                 (Ronald          Fountain                  - by Mr.               Klein)

 2          Q.      According                  to    this,              you      took          a deposition                   from        her

 3   at     around            11:10         p.m.

 4                     Do you            recall           that?

 5          A.         Yes.

 6          Q.         Was her            mother           and          her      sister           present            when        you

 7   took        the        deposition               from          her,          or      would          you     have          spoken

 8   with        her        just         you      and      her          privately               or      you     and/or           Mason

 9   and     her        privately?

10          A.         I don't            recall.

11          Q.         Do you            recall           what          she      told          you,      in     sum and

12   substance?

13          A.         That        the      baby          had      been          sick,          about         the        vomiting,

14   about         waking            up in          the      morning               and         trying         CPR,        about

15   going         to       Samaritan               Hospital                  a couple            days        before.                In

16   sum and            substance,                  that         was          about       it.

17          Q.         She       didn't           know,           she         wasn't           aware       of       anything

18   that        Adrian            did      to      hurt          the         child.            She      didn't           tell        you

19   anything               about         that,           right?

20          A.         She       did      not.

21          Q.         Thomas            Exhibit           19 is              a two-page                deposition               of       a

22   witness,               of     Wilahemina                Hicks,              dated          9/21/08             at    23:10.

23                     Is     that        your       signature                   at      the      bottom            as    a
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-15 3604338,   Page790
                                           Filed 09/20/21    of 898
                                                          Page  12 of 26
                                                                                                                    1808                 64


 1                             (Ronald           Fountain               - by Mr.            Klein)

 2   witness?

 3         A.        Yes.

 4         Q.        Is     this       the      two-page               statement                that      you        obtained

 5   from        Wilahemina               Hicks       at        the      hospital?

 6         A.        Yes.

 7         Q.        Did     you       write        out         the      narrative               or     did         she     write

 8   it    out?

 9         A.        The     narrative              I wrote              out.

10         Q.        From        there,         you      went          back        to    Adrian           Thomas'

11   house,          correct?

12         A.        Correct.

13         Q.      What          was      the     reason              you     went        directly                 from     the

14   hospital             back      to       Adrian        at         that        time     rather             than        waiting

15   to    the       next        day      or    something                else?

16                 Was there                 some     urgency                to    it,     or       was       it     just         that

17   you      guys        were      on the          job         and      you       were         going         to     continue

18   plugging             away?

19         A.        Yes.          Continue           plugging                away.

20         Q.      And so when                  you      went          back        to     the       home,           did     you

21   know if          Adrian           was      there?

22                   Did     you       call       first?

23         A.        I don't           believe            so.          I don't            recall.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                                APPENDIX
                                       156-15 3604338,   Page791
                                               Filed 09/20/21    of 898
                                                              Page  13 of 26
                                                                                                                                1809               65



~    1                                 {Ronald                Fountain               - by Mr.             Klein)

     2          Q.        What         happened                  when         you         got      back        to    the        Thomas

     3   household?

     4          A.        We knocked                     on the              door         and      asked        Adrian            if        he

     5   would        come            with         us      down         to      the         police          station             to      talk

     6   for      a little                  while.

     7          Q.        Did         you      go into                 the      apartment                 at    all?

     8          A.        I don't              recall.

     9          Q.        Other             than         telling              him         you      wanted           him     to         come

    10   with        you,         do you                recall          anything                 else?

    11          A.        I don't              recall.

    12          Q.        Was there                     a particular                      reason          or    reasons                why he

    13   was      asked           to        come         to      the         precinct              rather           than        speaking

    14   with        him         at    his         home          given          that            he was         alone?

    15          A.        Just         that's              where             we did             our   interviews,                      at    the

    16   police           station              on videotape,                             so that          was       where         he was

    17   brought.

    18          Q.        So,         at     that          time         did         you make              a determination

    19   that        you         wanted            to      videotape                     this      next        statement                from

    20   him,        or     was        it      Mason             or     was         it      a joint            decision?

    21          A.        I'll         say         it      was        Mason              because          he was           in     charge,

    22   but      I don't              recall.

    23          Q.        When you                 say        Mason           was         in     charge,            just        tell         me
 CaseCase  23-753, Document
      1:17-cv-00626-DJS     62, 01/17/2024,
                         Document
                                              APPENDIX
                                    156-15 3604338,   Page792
                                            Filed 09/20/21    of 898
                                                           Page  14 of 26
                                                                                                                          1810               77



 1                                   (Ronald            Fountain             - by Mr.             Klein)

 2   which           is       in     the      paperwork,               are         there         any      other

 3    interviews                   that       you       attended,               even       if      you       don't         remember

 4    them         but        you       know        from       looking             at    the      paperwork?

 5            A.         I don't             recall.

 6            Q.         I'm       showing             you     Thomas           21.

 7                       This        is      the       pretrial            Huntley              hearing            transcript.

 8            A.         Yes.

 9            Q.         If     you        haven't           seen      it,         I'm     just        going          to     ask        you

10    to      take        a few minutes                      to     take        a look           at    it.           If    you      have

11    seen         it,        just         breeze         through            it.         If      you      didn't,            in

12    fact,          look          at      before         today,           in      preparation                for         today,

13    let      me know.

14            A.          (Witness            complies.)

15            Q.         So I will                 represent           to       you      Exhibit             21,      which         you

16    just         looked            at      briefly,             is   your         pretrial              Huntley            hearing

17   testimony.

18                       Do you            recall         generally                testifying                in     court          at    a

19   pretrial                 hearing?

20            A.         Not       really.

21            Q.         Did       you       testify           truthfully                to      all      matters           before

22   the       court?

23            A.         Yes.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                               APPENDIX
                                   156-15 3604338,   Page793
                                           Filed 09/20/21    of 898
                                                          Page  15 of 26
                                                                                                                     1811                 78



 1                                   (Ronald         Fountain                 - by Mr.            Klein)

2            Q.        Is       there          anything           that         you        recall        that         you

 3   testified                  to    the       court          that       was       not      accurate           or         you     wish

 4   to      clarify               today?

 5           A.        Not         that        I recall.               No.

 6           Q.        Thomas             22 is,        I'll          represent              to      you,      your         2009

 7   trial         testimony.

 8                     Have          you       had    a chance                to    skim       through              that        before

 9   coming            here          today?

10           A.          I did.

11           Q.        Was everything                      that          you       said      before           the      court

12   accurate                in      that       transcript?

13           A.        As far             as    I can          recall,             yes.

14           Q.        At the             pretrial             Huntley             hearing,           not      only         did

15   Edge         tell          you       he was        tired,            but       I think           you      testified

16   that         he        said        he had        to       go to          sleep         and      that's          why he

17   couldn't                spend          much      time        talking              to     you.

18                       Do you           recall        words            to     that        effect?

19           A.          Yes.

20           Q.          I believe              you     said          that         you      saw the           baby         at     the

21   hospital.

22                       Do you           recall        that?

23           A.          Yes.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                           APPENDIX
                                   156-15 3604338,   Page794
                                           Filed 09/20/21    of 898
                                                          Page  16 of 26
                                                                                                                        1812                79



 1                             (Ronald              Fountain                    - by Mr.            Klein)

 2          Q.        And that              you      were            six        to     eight         feet       away,         about?

 3          A.        Yes.

 4          Q.        That         there       were            no signs,                 outward             signs,        of

 5   trauma           to     the      baby          that         you        saw.

 6          A.        That         I recall,               yes.

 7          Q.        You testified                      at      the        hearing               that       when       there        are

 8   high        speed        crashes,               like            the        type         of    impact         that        Dr.

 9   Edge        talked            about,           in     your            experience                with        like      high

10   speed        accident,                 there          would            be bleeding,                     broken        bones,

11   marks        and        scratches               and         things               like        that.

12                    But     you          didn't          see         any       things            like        that      in      this

13   case        to    your         eye.

14          A.        Correct.

15          Q.        During          the       interview                   --        and      you        testified             to   this

16          Adrian           Thomas           told         you many,                   many        times         that      he

17   didn't           do anything,                    correct?

18          A.        Correct.

19          Q.        You didn't                put           that         in    the         Thomas          deposition              of     a

20   witness           that         was       written                out,        did         you?

21          A.        Not     that          I recall.

22          Q.        So,     in      that          regard,                in        Thomas        Exhibit            19 there's

23   a deposition                   of      a witness                  of       Adrian            Thomas         dated          9/22/08
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                            APPENDIX
                               62, 01/17/2024,
                                       156-15 3604338,   Page795
                                               Filed 09/20/21    of 898
                                                              Page  17 of 26
                                                                                                                       1813              82



     1                              (Ronald             Fountain           - by Mr.                  Klein)

     2          A.     I'm      going            with       a conscious                      decision.

     3          Q.     It     wasn't             like       some         type      of         guidance            that        you

     4   got.

     5          A.     No.

     6          Q.     Now,         in     that          interview,               the         first           video

     7   interview,             you        told         Adrian           Thomas              that      a child           couldn't

     8   have        done     it,         that      Dr.         Edge       said         it         couldn't           have     been

     9   by a child,                it     had      to      have         been      done             by an       adult,

    10   correct?

    11          A.     Correct.

    12          Q.     That         was         a lie,          correct?

    13          A.     Correct.

    14          Q.     Do you             agree          that      you        were           the      first       person         to

    15   suggest        that             Thomas         could          have       bumped              the      baby,         perhaps

    16   by bumping             his        head          into      the        crib?

    17          A.     Correct.

    18          Q.     You are             the      one         that      suggested                   that      scenario            of

    19   bumping        before             it     was       ever         brought              up by Adrian,

    20   correct?

    21          A.     Correct.

    22          Q.     As we touched                      on earlier,                  Mason,               I believe,           kept

~   23   telling        Thomas             multiple              times          that          you      guys       thought           it
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                         APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,   Page796
                                           Filed 09/20/21    of 898
                                                          Page  18 of 26
                                                                                                                    1814                    83


 1                               (Ronald           Fountain                - by Mr.            Klein)

 2   was      an accident                 and         that,           in    sum and           substance,                 you       guys

 3   were         on his         side.

 4                   Do you          remember                 that?

 5           A.      Correct.

 6           Q.     At the           point            in      the      interview              where         Adrian              said

 7   he wanted              to    jump          off        the      bridge,            he     felt         bad,         you

 8   continued              to    ask       him        questions               like         did      his      head         bounce

 9   and      other         things          like           that,           correct?

10           A.      Correct.

11           Q.      Did     you         do that              because          he was          particularly

12   vulnerable              at      that        point?

13                   What        was      the         reason           you     did         that?

14                               MR. PERKINS:                       Object            to    form.

15                               You can              answer.

16           A.      Just        going          on with             the       interview.

17           Q.      Even        though          he        said        he wanted              to     jump         off      a

18   bridge.

19                   In     other         words,              was      there          any     --     looking             back          at

20   that,         would         you      have         gone         about        it        differently                  later          in

21   your         career?

22                               MR. PERKINS:                       Object            to    form.

23                               You can              answer.
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                            APPENDIX
                                62, 01/17/2024,
                                        156-15 3604338,   Page797
                                                Filed 09/20/21    of 898
                                                               Page  19 of 26
                                                                                                                                 1815            89



      1                          (Ronald                Fountain                  - by Mr.               Klein)

      2   to    have     to     scoop            up his               wife         because               he was             saying        he

      3   didn't        do anything,                    so therefore                          she        must         have        done

      4   something?

      5         A.      I don't            recall                if     I said              that         or     not.

      6         Q.      Do you          recall              it        being           said          in     your        presence,

      7   either        you     said        it         or        your         partner               said        it?

      8         A.      Yes.

      9          Q.     You testified                       at        trial          that           you       really             didn't

     10   think        Thomas         was        a danger                    to    himself               when         you        took     him

     11   to     Samaritan.

     12                 Do you          recall              giving                that        testimony?

     13         A.      Vaguely.

     14          Q.     Is     that        your         recollection?                               You didn't                   think     he

     15   was      a danger           to    himself?

     16         A.      I don't            recall.

     17          Q.     Just      to       be more                particular,                       in     terms            of

     18   suggesting            first            to     Thomas                that          the      baby         was        slammed,           as

     19   opposed        to     Adrian                saying            it        first,            either            you        or     Mason

     20   suggested            during            the        interview                      first         that         the        baby     had

     21   been        slammed         on the            bed           or      thrown               on the         bed,           right?

     22         A.      Yes.

~I   23          Q.     I believe                it     was           you         that        suggested                multiple
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-15 3604338,   Page798
                                           Filed 09/20/21    of 898
                                                          Page  20 of 26
                                                                                                             1816                  90



 1                            (Ronald           Fountain                 - by Mr.              Klein)

 2   times        that      the      baby       had        to       have         been      whacked          on the          side

 3   of    the     crib,          right?

 4         A.      As far          as      I can          recall,            yes.

 5         Q.      You were             throwing             out         possible              scenarios       to      see

 6   if    Adrian          would        adopt        them.

 7                 Is      that      what       you        were          doing?

 8                            MR. PERKINS:                      Object             to    the      form.

 9                            You can           answer.

10         A.      Yes.

11   BY MR. KLEIN:

12         Q.      Your       testimony              is      that           --     correct          me if     I'm     wrong

13         that      Adrian          wasn't          in      custody               at    the      time?

14         A.      Correct.

15         Q.      Do you          remember           Adrian               Thomas          saying,         on at      least

16   one     or    two      occasions,               that           he      felt        like      he was      in     jail

17   at    the     time?

18         A.      I don't           recall.

19         Q.      That       he     said,        I'm        in      jail          here.

20                 He wanted               to   be    with           his         son     but      he was      in     jail

21   here?

22         A.      I don't           know.

23                            MR. PERKINS:                      Object             to    the      form.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                             APPENDIX
                                   156-15 3604338,   Page799
                                           Filed 09/20/21    of 898
                                                          Page  21 of 26
                                                                                                                     1817                   96



 1                                  {Ronald             Fountain              - by Mr.           Klein)

 2          A.         He might                  have       said        murder.            Whatever             I wrote           down

 3   is     what        he         said.

 4          Q.         Well,          if         murder         and       homicide             were        interchangeable

 5   to     you,        would              you      have        written             "murder"?

 6          A.         I believe                  I wrote              this      child         was        murdered         because

 7   that's            exactly              what          he    told          me.

 8          Q.         But         you're           not        sure.

 9          A.         I am not                  sure       exactly            without           looking           at    my

10   notes,            which          you         have         somewhere.

11          Q.         Okay,          we will               go through                 them.

12                     Your         notes           say,        quote,           high      speed           impact.             Quote,

13   slamming               very           hard         into       a hard           object.               Quote,        this      is    a

14   murder.

15                     Is     it      your         belief           that         you     wrote            verbatim         what        he

16   told        you?

17          A.         Yes.

18          Q.         During              the      first          interview,              was       it     your        belief         or

19   your        focus             that          Adrian         Thomas           had     done        something             to

20

21          A.         Yes.

22          Q.         So you             went          into       that        first       recorded            interview

23   that        led        to      the          one-page           statement              not       knowing            what
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-15 3604338,   Page800
                                           Filed 09/20/21    of 898
                                                          Page  22 of 26
                                                                                                                             1818                 97



 1                             (Ronald               Fountain                   - by Mr.                 Klein)

 2   happened            but     believing                      he did             something?

 3          A.        Yes.

 4          Q.        Why did          you          believe                he      did        something                 as        opposed

 5   to     Wilahemina               or    someone                   else          or    the             kids      or      some       other

 6   person?

 7          A.        Just     the        way everything                            came            together,                it      seemed

 8   like        it     was    him.

 9          Q.        Other      than          it         seeming               like          it         was     him,        is      there

10   any       factual         basis           for          that           other         than             your       gut          feeling?

11                             MR. PERKINS:                               Object         to         the         form.

12                             You can               answer.

13          A.        The     doctor           said             it        was     a murder.                      Wilahemina                was

14   very        credible.                The            kids        probably                 couldn't               have          caused

15   that        much        damage        according                       to     what             the      doctor           was

16   telling           us.       Adrian              seemed                like         the         likely           suspect              in

17   the       house.

18          Q.        You kind            of        --     is        it     called                 deduction?

19                    You ruled            out            people            who were                     less     likely             to    have

20   done        it    and     were        left            with            Adrian?

21                             MR. PERKINS:                               Object         to         the         form.

22                             You can               answer.

23          A.        I didn't            rule            anybody               out,      but             Adrian         was        our
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                               APPENDIX
                                       156-15 3604338,   Page801
                                               Filed 09/20/21    of 898
                                                              Page  23 of 26
                                                                                                                            1819               102


     1                                 (Ronald           Fountain             - by Mr.                Klein)

     2   answer.

     3                                 MR. PERKINS:                      I did.

     4                                 MR. KLEIN:                  Mark       that          one         for         a ruling            as

     5   well        as    the         prior          question.

     6   BY MR. KLEIN:

     7          Q.        Do you             believe            that      anything                you         did     was        improper

     8   during           the         interrogation?

     9                                 MR. PERKINS:                     Object             to     the         form.

    10                                 You can            answer.

    11          A.        No.

    12          Q.        Did         you      testify           at     the        first          trial          essentially

    13   regarding               your          role       in     the      events            of        Sunday          the        21st        and

    14   your        involvement                  in      the      interview                early             into        the        morning

    15   hours        of        the      22nd?

    16          A.        Yes.

    17          Q.        So,         your      conduct            in     investigating                        this         case        and

    18   speaking               to     Adrian            Thomas         during             the        first          recorded

    19   interview,                   that      was       information                 that            was      given            to

    20   prosecutors                   and      that       you         testified                 at     the      trial,

    21   correct?

    22          A.        Correct.

~   23          Q.        You knew              that       even         though             the        first          interview
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                               APPENDIX
                                       156-15 3604338,   Page802
                                               Filed 09/20/21    of 898
                                                              Page  24 of 26
                                                                                                                           1820                 103



     1                              (Ronald             Fountain                  - by Mr.               Klein)

     2   didn't           lead         to,     in       your          view,         fruit           that         Adrian

     3   committed               the         murder,            it      was       a part            of     a process               that

     4   lead        ultimately                to       the          second         interview.

     5                    Is     that         your         understanding?

     6          A.        Yes.

     7          Q.        So,     you were                 part         of    the        chain            of     events         that

     8   lead        to    Adrian             ultimately                 giving             a confession                   that          was

     9   used        by prosecutors                        to        prosecute;                is     that        right?

    10                                 MS. PECK:                     Objection.

    11                                 MR. PERKINS:                      Object             to      the         form.

~   12                                 You can             answer.

    13          A.        If     you         say     so.

    14          Q.        Well,         I'm        asking             you.          I mean,               you     testified,               you

    15   were        called            to     testify                about        your         role        in     the      first

    16   interview?

    17          A.        Correct.

    18          Q.        So,     it         was     relevant                in    the         prosecution                 as      far     as

    19   you      know,          correct?

    20          A.        Correct.

    21                                 MS. CALABRESE:                         Object             to       the     form.

    22          Q.        You knew that,                        when         you     testified                   against           Adrian,

    23   even        though            you     weren't                present            for        the         second
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                            APPENDIX
                               62, 01/17/2024,
                                       156-15 3604338,   Page803
                                               Filed 09/20/21    of 898
                                                              Page  25 of 26
                                                                                                                        1821                104


     1                                (Ronald         Fountain             - by Mr.                  Klein)

     2   interview,               you       were         part        of    a case             that       was       with       the

     3   goal        of    convicting               him         of    murder,               correct?

     4                                MR. PERKINS:                     Object           to     the       form.

     5                                You can            answer.

     6          A.        Yes.

     7          Q.        Other        than        his         statements               in     police          custody,              plus

     8   the     findings              of     Dr.        Sikirica,              are         you      aware         of     any       other

     9   evidence              that      linked            Adrian          to     the         death          of~

    10   T            ?

    11          A.        Not     that        I know of.

    12          Q.        In     terms        of    the         criminal              court          information                in

    13   this        case,        that's           how the             criminal               case       was       started,            to

    14   your        knowledge;               is    that          right?

    15          A.        If     you     say       so.

    16          Q.        Well,        do you            know that              in      the       file        is     a criminal

    17   court        information                  that         Sergeant              Mason          drafted            charging

    18   Adrian?

    19          A.        I never           read         it,     but       yes,         okay.

    20          Q.        Only        one     person            could       be        the      officer             that       signs

    21   off     on the           arrest           paperwork,               right?

    22                    Typically             one        arresting              officer              for     the

~   23   paperwork?
                                                    TRAPPENDIX                                                      1822
                 CaseCase  23-753, Document
                      1:17-cv-00626-DJS     62, 01/17/2024,
                                         Document   156-15 3604338,   Page804
                                                            Filed 09/20/21    of 898
                                                                           Page  26 of 26
                                                      OY POLICE DEPART
                                                                       MENT
                                                     INVESTIGATION RE
                                                                      PORT


           VlCTIM'S NAME
                                                            REPORTDATE
                       Matthew Thomas                                                    INCIDENTNUMBER
                                                                   09/26/08                                       DB NUMBER
                                                                                              86095-08

          09/21/08                                           NARRATIVE
          At about 1730 D/Sgt A.
                                       Mason and Detective R.
          Medical Center with head                                   Fountain were called in
                                          injuries possibly suffered                            for a report of a baby at
         briefed by Nicole Noel fro                                      in Troy. Upon arrival to                          Albany
                                         m Child Protective Servi                                    Central Station, I/O's we
         AMC at about 1400. Th                                         ces. Noel stated that the                                 re
                                     e report was that a four-m                                   y received the report fro
                  st
         2441 21 Street, Apartme                                     onth old baby was transpo                               m
                                       nt 1-C (Cedar Park) to Sa                                   rted from his residence
        initial report was that the                                   maritan Hospital and later                              at
                                       baby was having respirato                                    transferred to AMC. Th
        severe trauma to the head                                      ry problems and hospita                                 e
                                      . CPS was concerned ab                                     l examinations revealed
        children inside the reside                                  out child abuse and the fac
                                    nce. CPS notified TPD                                         t that there were six other
       Hospital staff stated that                                  at about I 720. I/O's res
                                    the victim arrived with the                               ponded to Samaritan ER
       report was that the victim                                     mother, by ambulance at                            .
                                      was having respiratory pro                                   about 0913. The initial
       Samaritan and was transpo                                       blems and was unrespons
                                       rted to AMC at about 11                                     ive. The victim left
      Katrina Kardos MD. Sh                                          50. The doctor who saw
                                  e was off duty when I/O                                        the  victim at Samaritan was
      seen was Ann Weber. I/O                                   's arrived. The charge Nu
                                     's then responded to the                                  rse at the time the victim
      victim's father, Adrian Th                                   victim's residence along                                 was
                                    omas Sr., was inside the                                    with CPS. Upon anival,
      mother, Wilhemena Hick                                       residence with the six oth                               the
                                  s, was at AMC with the                                        er children. The victim's
     remove the six remaining                                    victim. CPS informed Th
                                   children from the residenc                                 omas Sr. of their intentio
     investigation. The victim                                      e and place them in foster                             n to
                                  's maternal grandmother,                                        care, pending an
    placement of the children                                      Ing  a Hicks, arrived on scene
                                 . At about 2015 CPS rem                                             to speak to CPS about
    I/O's interviewed Thomas                                      oved the children from the
                                    Sr. and he stated the follow                                 res idence. At about 2026
                                                                      ing:
         The victim had a fever an
                                        d diarrhea for the past tw
         At about 0830-0900 his                                       o days
                                    wife woke him up becaus
        He sprinkled some water                                     e the victim was not respo
                                       on the victim's face, but                                  nding
        He called 911 from his ce                                    the victim was still unres
                                       ll phone and gave the ph                                  ponsive
        His wife performed CPR                                      one to his wife
                                      and the ambulance arrive
                                                                     d shortly after
  1/O's then responded to
                             AMC, arriving about 21
 (E Building/7'h Floor). Th                                30. The victim was in the
                                e charge nurse, Rebecca                                    Pediatric Intensive Care
 Bilateral Sub Dural Hemo                                      Peccano RN, stated that                                Unit
                               toma and is not likely to                                   the victim suffered a
 blood and new blood on                                       su  rvive the injury. There ap
                             the victim's brain indica                                          peared to be both old
the victim's head. The                                     ting that there is an old inj
                            victim was initially diagn                                    ury   as well as a new injury to
determined to be inaccura                                   osed with a skull fracture,
                              te. At about 2145 Detec                                      but that was later
Edge MD, who stated tha                                     tive Fountain spoke to the
                             t this injury is typically ca                                  attending doctor, Walter
hard into a hard object.                                      used by a high-speed im
                            Edge stated to Detective                                      pact or by slarnrning very
                                                           Fountain, "This is a murde
                                                                                          r."




       DETECTIVEASSIGNE
       D/S gt Adam Mason
                            D
                                                        ISUPERVISORAPPROV
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      CASE STATUS/ 0 PE
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                                                                                                            P001398
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS
                                      APPENDIX
                              62, 01/17/2024,
                                       156-163604338,  Page805Page
                                               Filed 09/20/21  of 898
                                                                   1 of 7
                                                                                  1823

   STATE OF NEW YORK

  COUNTYOF RENSSELAER

                                                                                  I   i


  PEOPLE OF THE STATE OF NEW YORK,


                Versus

 ADRIAN THOMAS,

                                                  Defendant.



                                 POLICE INTERVIEW

 DATES:                  September         29,   2008

 PLACE:                 Troy Police Department
                        Troy, New York



 Interview     of    Defendant       by:
Sergeant   Adam Mason
Troy Police   Department

Unidentified         Officer
Troy Police         Department




This proceeding was recorded via electronic sound recording and this
                                                                     transcript
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                               BHI Business Services
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         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS   62, 01/17/2024,
                                                 APPENDIX
                                           156-163604338,  Page806Page
                                                   Filed 09/20/21  of 898
                                                                       2 of 7
                                                                                                                              1824

                                                                                                                           Page 12 of 124
     1                      MR. THOMAS: (Reading)

     2                      SERGEANT MASON: You can                                       read        it      to     yourself            or

     3           out      loud          it's        up to           you.

     4                      MR. THOMAS: Do I sign                                    there?

     5                      SERGEANT MASON: Sign                                there            and       print           there.

     6           As long              as you read                   the    bottom             part         put       your

 7               initials              on that               period        too        that          you read               the

 8               bottom          part.

 9                        MR. THOMAS: Okay.                                Is     the        doctor           like          99

10               percent              sure       my son            is     not        going          to make           it

11               tonight?

12                        SERGEANT MASON: He didn't                                        give            a percentage.

13              Basically               what           the        doctor        said          is     that          he doesn't

14               think         your          son       is     going        to make             it      through              the

15              night          and      if       your         son does            make         it      through              the

16              night          he has            suffered               brain        damage            and         he will

17              never          be a normal                   person,            okay.              So if           your      son

18              doesn't           die,          he's         not        going        to    be,         he's         not      going

19              to     talk,          he's         not       going         to     see,         he's         not      going          to

20              hear,          he's       not       going           to     have        a normal               life         while

21              he's      alive           and he doesn't                        expect             him to           live

22              through           the          night         is     what        he     said.

23                       Like          the       officer             explained                to      you there's



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            Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                          APPENDIX
                                  62, 01/17/2024,
                                           156-163604338,  Page807Page
                                                   Filed 09/20/21  of 898
                                                                       3 of 7
                                                                                                                               1825


                                                                                                                         Page 13 of 124
                  damage      on the            brain.               There's          a fracture                        on the

     2           back      of his         skull.               That's          not         something                    that

     3           happens                  it     just          doesn't          happen            without                  someone

     4           being      involved             and        someone            knowing            that             it

     5           happened,           you follow                 me?

     6                    MR. THOMAS: Yeah,                          but      I never             - -

     7                    SERGEANT MASON: However                                it        happened,                    somebody

     8           knows.      If     you don't                  know then              your        wife            knows,             but

 9               somebody          in    that         house          knows       how that                   happened

 10              because          somebody            had       to     participate                    in         injuring

]]               that     child.           Now,         like         I told           you at               the      house,            we

12               don't     think         that         whoever           did      it        did        it     on purpose.

13               You guys          seem        like      a nice            loving           caring                family.

14               You got      a great             family.               You and             your            wife          are        nice

15              people       the        kids      are        very       well         behaved,                very          happy

16              nice      kids.          We don't              think          that         you're            the         type         of

17              people      that         go around               hurting             your        kids,             but         your

18              kids      suffered             an injury              and somebody                     knows             how it

19              happened          so that's              whac we need                      to    figure                 out.

20                       MR. THOMAS: I mean                          like,           you        know,            like          I said

21              you      know I'm         not         there,          most      of     the        time             I'm         out

22              looking       for       work.            I've         been      a lot            of        places              I was

23              looking       for       work          most      of      the     day,            you        know.               Kids


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            Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS   62, 01/17/2024,
                                                 APPENDIX
                                           156-163604338,  Page808Page
                                                   Filed 09/20/21  of 898
                                                                       4 of 7
                                                                                                                                         1826

                                                                                                                                Page 80 of 124
                           SERGEANT MASON: You're                                           convinced               in        your            head

     2           that      somebody                  intentionally                          tried           to     kill         your               son

     3           we don't            believe                that          to        be true.                 We think                    it     was

     4           an accident.                        We think                 the         person            that         did        it        is

     5           afraid         to        tell        us because                         they're           afraid             of         what's

 6               going         to    happen             to        them         if         they       tell          us.          You know

 7              what       we're              here      to        tell         you          that      whoever                 that

 8              person          is       if      they        talk             to     us      about           it,        we are                going

 9              to      work        with         them        to make                 sure          that          this         doesn't

10              get      out        of     hand,            you know.                      We don't                want         this           to

11              get      out        of hand.                We don't                 want          this          thing         to        go

12              somewhere                where         it         doesn't                need        to go,             you        know?

13                        OFFICER:               We want                 to        keep       this          family             together.

14                        SERGEANT MASON: That's                                          what       we're          trying                to

15              say.       We ain't                  trying              to        hurt       somebody                  man.             We

16              trying         to        help        your          family,                 your      family              is        in         a bad

17              situation.

18                        MR. THOMAS: Why are                                  you guys               coming              at       me like

19              I got      a rap              sheet          man.

20                        SERGEANT MASON: This                                      is      frustrating                   man,            we've

21              got     a baby            laying             in     the            hospital               almost          dead.

22                        MR. THOMAS: I know man,                                          I want            to be there

23              too.       But           what        I'm      saying                is      I'm      down here                  in        jail.



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              Case
           Case 1:17-cv-00626-DJS
                                          APPENDIX
                   23-753, DocumentDocument
                                    62, 01/17/2024,
                                             156-163604338,  Page809Page
                                                     Filed 09/20/21  of 898
                                                                         5 of 7
                                                                                                                        1827

                                                                                                                   Page81 of 124
                             OFFICER:         This      ain't            jail.                There's        a screen             on

     2              the     window      and you're               smoking              cigarettes.
     ,.,
     .)                      SERGEANT MASON: This                         ain't               jail      man .

     4                       MR. THOMAS: This                   the       jailhouse.

     5                       OFFICER:        We're       on your                 side.

     6                      SERGEANT MASON: If                         we're         coming          off        the       wrong

     7             way I apologize,                  we're        on your                side        man.          We feel

     8             for      you.

 9                          MR. THOMAS: You said                         murder                and   slamming              the

                   baby      and      somebody        died.

11                          SERGEANT MASON: You said                                 you think              it's

12                 intentional,           we think              it's        an accident.

13                          MR. THOMAS: No because                             you said              no the             doctors

14                 said      somebody        grabbed          the         baby        - -

15                          SERGEANT MASON: That's                             the       doctor's            words.

16                 That's      not     our    words.

17                          OFFICER:         I was reading                     you verbatim                  what         the

18                 doctor      told     me.

19                          MR. THOMAS Because                    somebody                    my size        he would

20                have      had blood         on his          mouth,             he would               have       - - eyes

21                popped       out.

22                          SERGEANT MASON: If                    you did                it      as hard           as     you

23                could.


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            Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                             APPENDIX
                                  62, 01/17/2024,
                                           156-163604338,  Page810Page
                                                   Filed 09/20/21  of 898
                                                                       6 of 7
                                                                                                                  1828

                                                                                                              Page 82 of 124
     1                        MR. THOMAS: I didn't                         do that.             Why would             I

     2           throw          a baby       down on the                bed    or       the      couch?

     3                        OFFICER:        I don't          know why?

     4                        SERGEANT MASON: Why would                             you hit            your

     5           daughter             with    a belt?

     6                        MR. THOMAS: My daughter                         was you            know,         like       I

     7           said         me and my wife

     8                        SERGEANT MASON: But                     you     and        your     wife        talkeq

     9           about         it     and    realized          that's          that's           not      something

 10              that         you should         be doing.

11                            MR. THOMAS: That's                    true.          I'm     not         even      lying,

12               I said         that's        true.           I'm     not     denying            it.

13                            SERGEANT MASON: You for                         seven        kids         you      25

14              years          old.

15                        MR. THOMAS: As a matter                             of    fact        after         12:00

16              I'll          be 26.

17                        SERGEANT MASON: 26 years                             old,        seven         kids.

18                        OFFICER:           Happy Birthday.

19                        MR. THOMAS: Happy Birthday,                                 my son           is     dying

20              and      I'm        down at     the      jailhouse.

21                        SERGEANT MASON: It                    ain't          very        happy.           You ain't

22              in      the     jailhouse,            we're         just      talking.

23                        MR. THOMAS: I didn't                        do nothing                man.        You all



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            Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                             APPENDIX
                                  62, 01/17/2024,
                                           156-163604338,  Page811Page
                                                   Filed 09/20/21  of 898
                                                                       7 of 7
                                                                                                                    1829

                                                                                                             Page 116 of 124
     1            I didn't            do nothing               wrong     you         know what             I'm         saying?

     2            I feel         like        my world           is    over      man.

     3                     OFFICER:             This         wasn't     here,          now you're                 changing

     4            everything             on us.              You forgot              about        this?

     5                    MR. THOMAS: I never                          thought            you know I would

     6           be at         the      jailhouse             explaining              my day         with          my kids

     7           you know what                   I'm     saying?         I feel            real      bad,         man.

     8                    SERGEANT MASON: Adrian,                              let        me ask          you

 9               something,              all      right        because         now we starting                         to    get

 IO              to     the      point         where         we wanted         to bring             you home,                all

11               right.           Something             inside         you     is      telling            you       - -

12                        OFFICER:             Like       something

13                        SERGEANT MASON: You want                               to       explain          this,            you

14               want     to      get     this         off     your     chest.             You got           to      make

15               peace         with      yourself             right     now,          you know what                    I

16               mean?

17                        MR. THOMAS: You know if                             he die          I feel            real        bad

18               who wouldn't.                   But      you guys           telling          me he might                    not

19              make      it     through          the        night.

20                        SERGEANT MASON: That's                           what        the        doctor           said.

21                        MR. THOMAS: You know what                                 I'm      saying         that's

22              real      real        bad.

23                        OFFICER:             We told         you this          two hours                ago       though



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       Case
    Case 1:17-cv-00626-DJS
                                   APPENDIX
            23-753, DocumentDocument
                             62, 01/17/2024,
                                      156-173604338,  Page812Page
                                              Filed 09/20/21  of 898
                                                                  1 of 3
                                                                             1830
 STATE OF NEW YORK

 COUNTYOF RENSSELAER



 PEOPLE OF THE STATE OF NEW YORK,


              Versus

ADRIAN THOMAS,

                                                Defendant.



                               POLICE INTERVIEW

DATES:                 September         22,   2008

PLACE:                 Troy    Police Department
                       Troy,    New York



Interview    of   Defendant        by:

Sergeant   Adam Mason
Troy Police   Department




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             Case    23-753, DocumentDocument
                  1:17-cv-00626-DJS
                                                 APPENDIX
                                      62, 01/17/2024,
                                               156-173604338,  Page813Page
                                                       Filed 09/20/21  of 898
                                                                           2 of 3
                                                                                                                           1831
                                                                                                                         Page 44 of 298
         1                       SERGEANT MASON: Think,                                  it's         important,            this     is

     2                 important,                man for            your       family.

     3                           MR. THOMAS: He's                          lying         on the         bed.

     4                           SERGEANT MASON: Did you get                                          up and       put     him in

     5                 the      crib?

     6                           MR. THOMAS: No the                          EMT found                him in        his      own

     7                 bed.        When I found                     him he was on the                       bed.

     8                           SERGEANT MASON: He was on the                                          bed,     but       before

     9                 he passed              out,          maybe     you put              him in          the     crib      and

 10                   bumped          his       head         again.

 11                             MR. THOMAS: I didn't                               put      him in         the      crib

 12                   because           when I laid                 down she              laid         him down also,

13                    you know,               that's          when she             took         the     temperature                and

14                    said       that         he was all              right.              That's         when       I said          OK,

15                    that      was it.                 She woke me up and                         I found          him laying

16                    on the          bed.

17                              SERGEANT MASON: I got                               good        news       for     you.

18                    Remember           yesterday                 when I told                  you he had             a

19                    fracture           on the             back      of     his         skull?          Guess         what,

20                    that      ain't           true.          He doesn't                 have        a fracture            on his

21                    skull.            His      skull         is     ok.          That's         good         news.

22                    There's           light          at    the      end of          the        tunnel,         you hear

23                    what      I'm      saying?




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             Case
          Case    23-753, DocumentDocument
               1:17-cv-00626-DJS
                                               APPENDIX
                                   62, 01/17/2024,
                                            156-173604338,  Page814Page
                                                    Filed 09/20/21  of 898
                                                                        3 of 3
                                                                                                                       1832
                                                                                                               Page 45 of 298
      1                      MR. THOMAS: So they                           don't         have    to      do the

     2             surgery              on him?

     3                       SERGEANT MASON: I don't                               know,        I'm     not        a

     4             doctor,           I'm        just     letting           you know that.                     Last           night

     5             they         thought          he had a fracture                       on the        back        of his

     6             skull         which          is     a very       very      serious           thing.             Today,            I

     7             talked          to     the        doctor        and the         doctor        said         that's           not

     8            what       happened.                  He does       not      have        a fracture                  on the

     9            back       of     his        skull.           So whatever               happened            to       put     him

 10               in     this       position,             okay,       it     may not            have        been        as

 11               forceful               as    we originally                thought.

 12                         MR. THOMAS: That's                       whqt          I'm     saying           I only

13                bumped          his         head.

14                          SERGEANT MASON: That                           was ten          days       ago.            All

15                right,          now you need                to    think          about        yesterday

16                morning,              okay?           We know something                   happened

17                yesterday              morning          and      I know that              - - you're                 half

18                way there              man.

19                         MR. THOMAS: No but                        he was on the                    bed     when she

20                laid      him down.

21                         SERGEANT MASON: You're                             half        way there            Adrian.

22               You're           half        way there            man.       You know you've                      got         a

23               problem,            you know you've                   got         an anger           problem,               you




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                                                                               HOME       of 898
                                                                                        Page
                                                                                     _______  2 of 2
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                                                                                                      APPENDIX                                                                                                              1833              _

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   DEPOSITION OF A VVITNESS                                                                                                                                                                               COURT
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                                                                      Page816
                                                             Filed 09/20/21
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                            Case    23-753, DocumentDocument
                                 1:17-cv-00626-DJS   62, 01/17/2024,
                                                              156-193604338,
                                                                                APPENDIX
                                                                              Page817Page
                                                                      Filed 09/20/21  of 898
                                                                                          1 of 1
                                                                                                                                          1835
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              DEPOSITION O
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                                           62, 01/17/2024,
                                                   156-20 3604338,  Page818
                                                           Filed 09/20/21   of 898
                                                                          Page  1 of 10
                                                                                                                                1836
                                                VOLUNTARY STATEMENT

    STATE OF NEW YORK                                                                                                               Page   f
    COUNTY OF RENSSELAER
    CITY OF TROY

    DATE~                TIME   !O~\O    ~PM,    PLACE ----'-;~)-~.____---++-----'-l-~~1--+----,->-'-------

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   STATEMENT AT ALL, AND THAT ANY STATEMENT 1 MAKE WILiJ:!~ u4oIN EVIDENCE AGAINST ME IN A COURT
   OF LAW, AND THAT I HA VE THE RIGHT TO TALK TO A LA WYER FOR ADVICE BEFORE MAKING THIS STATEMENT
   OR ANSWERING ANY QUESTIONS, AND THAT I HA VE THE RIGHT TO HA VE AN ATTORNEY APPOINTED TO
  REPRESENT ME IF I CANNOT AFFORD ONE BEFORE MAKING THIS STATEMENT OR ANSWERING ANY QUESTIONS,
  AND THAT I CAN STOP GIVING THE STATEMENT OR STOP THE QUESTIONING AT ANY TIME FOR THE PURPOSE OF
  CONSULTING AN ATTORNEY. WITHOUT FEAR OR THREAT OF PHYSICAL HARM UPO~          OR ANOTHER PERSON,
  I FREELY VOLUNTEER THE FOLLOWING STATEMENT TO THE AFORESAID PERSON. rtl

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I have read this statement (had this statement read to me) consisting of IO      page(s) and the facts contained
herein are true and correct. I have also been told and I understand that making a false written statement is
punishable as a Class A misdemeanor pursuant to Section 210.45 ofth.e Penal Law of the State of New York.

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           CaseCase 23-753, Document
                1:17-cv-00626-DJS    62, 01/17/2024,
                                  Document   156-20 3604338,  Page819
                                                     Filed 09/20/21
                                                                           APPENDIX
                                                                      of 898
                                                                    Page  2 of 10
                                                                                                                                                1837


                                                                 VOLUNTARY
                                                                         STATEMENT




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         CaseCase 23-753, Document
              1:17-cv-00626-DJS Document
                                           APPENDIX
                                   62, 01/17/2024,
                                           156-20 3604338,  Page820
                                                   Filed 09/20/21   of 898
                                                                  Page  3 of 10
                                                                                                        1838


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             CaseCase 23-753, Document
                  1:17-cv-00626-DJS Document
                                                     APPENDIX
                                       62, 01/17/2024,
                                               156-20 3604338,  Page821
                                                       Filed 09/20/21   of 898
                                                                      Page  4 of 10
                                                                                                                                           1839


                                                   VOLUNTARY STATEMENT
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      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                           APPENDIX
                                62, 01/17/2024,
                                        156-20 3604338,  Page822
                                                Filed 09/20/21   of 898
                                                               Page  5 of 10
                                                                                                                   1840


                                     VOLUNTARY STATEMENT
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      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                           APPENDIX
                                62, 01/17/2024,
                                        156-20 3604338,  Page823
                                                Filed 09/20/21   of 898
                                                               Page  6 of 10
                                                                                                        1841


                                     VOLUNTARY STATEMENT
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      CaseCase 23-753, Document
           1:17-cv-00626-DJS Document
                                           APPENDIX
                                62, 01/17/2024,
                                        156-20 3604338,  Page824
                                                Filed 09/20/21   of 898
                                                               Page  7 of 10
                                                                                                         1842


                                     VOLUNTARY STATEMENT




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       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                            APPENDIX
                                 62, 01/17/2024,
                                         156-20 3604338,  Page825
                                                 Filed 09/20/21   of 898
                                                                Page  8 of 10
                                                                                                        1843


                                      VOLUNTARY STATEMENT
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            1:17-cv-00626-DJS Document
                                           APPENDIX
                                 62, 01/17/2024,
                                         156-20 3604338,  Page826
                                                 Filed 09/20/21   of 898
                                                                Page  9 of 10
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                                       VOLUNTARY
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          1:17-cv-00626-DJS  Document
                                           APPENDIX
                                62, 01/17/2024,
                                        156-20 3604338,   Page827
                                                Filed 09/20/21    of 898
                                                               Page  10 of 10
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                                  23-753, DocumentDocument
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                                                            156-213604338,  Page828Page
                                                                    Filed 09/20/21  of 898
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                                                                                           WORK
     DEPOSITION OF A WITNESS                                                                                   COURT
    STATE OF NEW YORK
    COUNTY OF RENSSELAER
    CITY OF TROY


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FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR
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CaseCase 23-753, Document
     1:17-cv-00626-DJS Document
                               APPENDIX
                          62, 01/17/2024,
                                  156-22 3604338,  Page829
                                          Filed 09/20/21   of 898
                                                         Page  1 of 12
                                                                              1847
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     UNITED STATES DISTRICT  COURT
     NORTHERN DISTRICT  OF NEW YORK
     -- ---- -- - - -- -- ----- --- -- - - -- ----- -- --- --- - - - - -----
     ADRIAN     THOMAS,

                                           Plaintiff,

                -    against          -

     CITY OF TROY; ADAM R. MASON, Individually,
     RONALD FOUNTAIN,   Individually,   TIM COLANERI,
     Individually,   RENSSELAER COUNTY, and
     MICHAEL SIKIRICA,    Individually,

                                           Defendants.

     STATE    OF NEW YORK:                COURT OF CLAIMS

     ADRIAN     P.     THOMAS,

                                           Claimant,

                    against       -

     THE STATE         OF NEW YORK,

                                           Defendant.

     Held   at:
     PATTISON,     SAMPSON,               GINSBERG        &   GRIFFIN,   PC
     22 First    Street
     Troy,    New York

                                September           11,   2019
                                1:55   p.m.


             DEPOSITION          OF DEFENDANT             TIM COLANERI,        held
             pursuant          to Notice,          before    Joyce     Babiskin,
             Shorthand           Reporter         and Notary      Public     in the
             State     of      New York.




                            SUSAN FLORIO,      RPR
                     PROFESSIONAL    REPORTING SERVICE
                               (518)  887-2733
CaseCase 23-753, Document
     1:17-cv-00626-DJS
                            APPENDIX
                          62, 01/17/2024,
                       Document   156-22 3604338,  Page830
                                          Filed 09/20/21   of 898
                                                         Page  2 of 12
                                                                       1848
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     APPEARANCES:


     For   Plaintiff/Claimant:

     BRETT H. KLEIN, ESQ.,    PLLC
     305 Broadway
     Suite  600
     New York New York    10007
     By:   BRETT H. KLEIN, ESQ.


     For Defendants          City       of Troy,    Adam Mason,
     Ronald  Fountain         and       Tim Colaneri:

     PATTISON,     SAMPSON, GINSBERG & GRIFFIN,                   PC
     22 First     Street
     Post  Office      Box 208
     Troy,    New York     12181-0208
     By:   JOSEPH T. PERKINS,         ESQ.


     For   Defendants      Rensselaer            County
     and   Michael    Sikirica:

     BAILEY, JOHNSON & PECK, P.C.
     5 Pine    West Plaza,  Suite    507
     Washington    Avenue  Extension
     Albany,    New York   12205
     By:     CRYSTAL R. PECK, ESQ.


     For   Defendant        State       of   New York:

     LETITIA      JAMES, Attorney     General             of
     the State       of New York
     The Capitol
     Albany,      New York      12224
     By:     CHRISTINA M. CALABRESE
             Assistant     Attorney   General
             Claims    Bureau

            KATHERINE J.             HAMILTON
            Legal      Assistant
            Claims      Bureau


                         SUSAN FLORIO, RPR
                   PROFESSIONAL REPORTING SERVICE
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          1:17-cv-00626-DJS Document
                                           APPENDIX
                               62, 01/17/2024,
                                       156-22 3604338,  Page831
                                               Filed 09/20/21   of 898
                                                              Page  3 of 12
                                                                                                                            1849
                                                                                                                             93




 1        a --       he     was         interviewing                     a man that                      may have

 2        committed               a murder,                   so     I don't               know          Mr.        Thomas•

 3        mindset           or     if      he     was          a violent                   person              or    not

 4        violent.                I didn't               remember                   anything,                  a criminal

 5        background               check          or          reading               that         prior          to     this

 6        thing,          so      I was          there             more         or        less        for       Adam's

 7        safety.

 8                   Q            Okay.           And also,                     so        someone              could

 9        monitor           the         equipment                  to    make             sure        it's

10        recording?

11                   A            Correct.

12                   Q            And while                 you         were         there,              would         it        have

13        been       your         practice,                   even        if        you      don't             remember

14        specifically,                    for         you         to    pay         attention                  and         to

15        help       Adam as             much          as      you       could?

16                   A            Correct.

17                   Q            So,      would              you       consider                 yourself              to        have

18        been       personally                  involved                 in        the      seven-hour

19        interview,               even          if      it        was         in    a side              role?

20                                MR. PERKINS:                          I object                 to      the        form.

21                                You can              answer.

22                   A            I was          involved,                 yes.

23                   Q            Now,       can        you          remember                anything


                                      SUSAN FLORIO, RPR
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     CaseCase 23-753, Document
          1:17-cv-00626-DJS    62, 01/17/2024,
                            Document
                                              APPENDIX
                                       156-22 3604338,  Page832
                                               Filed 09/20/21   of 898
                                                              Page  4 of 12
                                                                                                                              1850
                                                                                                                               96




 1        about       you        going               in,        or     was        that         something                    you     did

 2        on your            own volition?

 3                  A            I think                   he     probably               said           for       me to            go

 4        in     there.              I think                so.

 5                  Q            So,          tell          me more               about            that.            What           do

 6        you     recall             about             that?

 7                  A            I don't                   recall           any        of      the         conversation

 8        about         --

 9                  Q            What             do you              recall           --

10                  A            --         between               Adam and               I,        just          what         I did

11        when      I was            there.

12                  Q            What             is       your        best        informed                   belief           about

13        why you            would            have          gone           in     there?                Would            he    have

14        approached                 you          to       say,        hey,        I'm         stuck             here,         I

15        need      you         to         give        this           thing        a boost                 and         be     tough

16        with      this         guy,             play          bad        cop,        or      did         you         say

17        something              to         him        that           he    needs             to     get         more         from

18        the      subject,                 Mr.        Thomas?                   Did     a supervisor                         say

19        that      Adam needed                        to       get        more        and         you        should           go

20        in?       What,             if      anything,                    do you             believe             was         the

21        reason          for                 the          basis           for     you         going             in?

22                               MR. PERKINS:                              I object                to      the         form.

23                               You can                   answer           the        question.


                                      SUSAN FLORIO, RPR
                                PROFESSIONAL REPORTING SERVICE
                                         (518) 887-2733
     CaseCase 23-753, Document
          1:17-cv-00626-DJS Document
                                           APPENDIX
                               62, 01/17/2024,
                                       156-22 3604338,  Page833
                                               Filed 09/20/21   of 898
                                                              Page  5 of 12
                                                                                                                                1851
                                                                                                                                97




 1                  A            I don't                  know.            We just              --      I went              in

 2        there.           I don't              remember                   the      conversations,                              if            it

 3        was      a plan          or     if         it        was      a spontaneous                         thing.                      I

 4        don't         remember.                    I haven't                   seen      the        video               since

 5        it      was    made,           other             than         watching                a clip              from             it

 6        online         at      one      point                from        the      docu-drama                      or

 7        whatever              you      want             to    call         it.          So,        with           that

 8        being         said,          I don't                 recall            any      type        of       plan             or

 9        or      anything             like          that           that         we made.

10                  Q            Do you              recall             any        circumstance                          that

11        arose         during           the         interrogation                        where          it         became

12        apparent              that      you             needed           to      go     in,        even           if      you

13        don't         remember               the         specifics?                     In      other             words,

14        did      Mason         say      to         you        I need             some         help,-             or     did             you

15        say      to    him       let         me go in                 there            and      see         if         I could

16        give      you         some      help,                or     something                 else?

17                  A            No,      I don't                   remember              that.

18                  Q            So,      is         it        your        testimony                 that           you         don't

19        recall         the       circumstances                           of      you     going              in,         just

20        that      at     some          point             you        did?

21                  A            Correct.

22                  Q            And when                  you        went         in,     you          started                 off

23        with      your         discussion                     about            being          in    Desert                Storm,

                                      SUSAN FLORIO, RPR
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                                                     (518)            887-2733
     CaseCase 23-753, Document
          1:17-cv-00626-DJS Document
                                          APPENDIX
                               62, 01/17/2024,
                                       156-22 3604338,  Page834
                                               Filed 09/20/21   of 898
                                                              Page  6 of 12
                                                                                                                  1852
                                                                                                                   98




 1        I believe.                 Is    that        correct?

 2                  A          That's           correct.

 3                  Q          Were        you        in        Desert          Storm?

 4                  A          No.

 5                  Q          Have        you        ever            served       in     the         military?

 6                  A          No.

 7                  Q          Your        son        --        did      you      have        a relative

 8        serving         in    the        military?

 9                             MR.        PERKINS:                    I object           to     the      form.

10                             You can            answer.

11                  A          I did           have        relatives               serve         in      the

12        military,            yes.

13                  Q          So,        how did               you      come      up with             that?            Was

14        it     something            you'd           used            before       and        you      thought           it

15        was     effective               or    was        it         something           you         just        came

16        up with         on the           spur        of        the      moment?

17                  A          Just        spontaneous.

18                  Q          Okay.            Did        you         discuss           what         you      would

19        say     with     Detective                  Mason            before       you         went         in    and

20        said      it?

21                  A          I don't            remember                that.

22                  Q          So,        you     may have?

23                  A          I may have,                      I may not.

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                           PROFESSIONAL REPORTING SERVICE
                                                 (518)           887-2733
         CaseCase 23-753, Document
              1:17-cv-00626-DJS Document
                                              APPENDIX
                                   62, 01/17/2024,
                                           156-22 3604338,  Page835
                                                   Filed 09/20/21   of 898
                                                                  Page  7 of 12
                                                                                                                                1853
                                                                                                                                99




     1                   Q           Do you         know           if         it    was      planned                  with

     2        Mason          or     did     you     just           go in            spontaneously?

     3                   A           I don't             remember                  that.

     4                   Q           If     I told          you          it        was      about              four        hours

     5        into       the        second         interrogation                           session              --

     6        Withdrawn.

     7                               You went             in,        and           when      you          went           into        the

     8        interrogation                   room,         did          you        leave           the         video

     9        monitor             unattended              for           that        period           of         time,           or

    10        was      someone             else      taking              your         role          of         sitting           at

    11        the      desk,         watching             the        monitor?

    12                   A           I don't             recall.                   I know           that          Chris          Kehn

    13        did      come         up,     I believe.                        I don't          know             how long              he

    14        stayed           or    his      other         involvement,                       if         he      was

    15        watching              the     monitor             or       not.

    16                   Q           And when             you        went           in,       did         you         claim          you

    17        had      experience                 with      head              injuries              during               your

    18        military              experience              in       Operation                 Desert                 Storm?

    19                   A           Yes.

    20                   Q           And did             you       accuse             Mr.      Thomas                 of     lying?

    21                   A           Yes.

    22                   Q           And would              you          say        you       did         it      angrily?

~   23                   A           Yes.

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                                                      (518)             887-2733
            CaseCase 23-753, Document
                 1:17-cv-00626-DJS Document
                                                   APPENDIX
                                      62, 01/17/2024,
                                              156-22 3604338,  Page836
                                                      Filed 09/20/21   of 898
                                                                     Page  8 of 12
                                                                                                                           1854
                                                                                                                           100




        1                 Q            It      was        like         a good          cop/bad            cop

        2        situation?

        3                 A           Yes.

        4                 Q            Is      that         a good             way     to     characterize                   it?

        5                 A            (Witness                 nods      head.)

        6                 Q           Yes?

        7                 A           Yes.

        8                 Q           Where              Mason         was      the        good      cop         and      you

        9        went     in     saying             you         felt      that         Mr.        Thomas          was,       in

       10        sum and         substance,                     deceiving              or     lying         to

       11        Detective            Mason.                Correct?

       12                 A           Yes.

       13                 Q            So,         and      you        then      said         --     is     it      fair         to

       14        say,     is     it         your         recollection                  that        you      then          said

       15        that     ~•s                       injuries              could            only      have         resulted

       16        from     a far             greater             application                 of     force          than       Mr.

       17        Thomas         had         described              up     to     that         time        in      the

       18        interview?

       19                 A            Correct.

       20                 Q           And          did      you        state          in    sum      and         substance

       21        that     ~•s                       doctors             informed              you     that          the

       22        child    1    s head          injuries                were      comparable                 to      those
;--\   23        that     would             have         been      sustained                by     a passenger                   in


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                                                           (518)        887-2733
     CaseCase 23-753, Document
          1:17-cv-00626-DJS    62, 01/17/2024,
                            Document
                                               APPENDIX
                                       156-22 3604338,  Page837
                                               Filed 09/20/21   of 898
                                                              Page  9 of 12
                                                                                                                     1855
                                                                                                                         101




 1        a high-speed                       car       collision?

 2                    A               Correct.

 3                    Q               Was that             true?

 4                    A               I believe               at    one      point        the         doctor             did

 5        say      that          it        was      a rapid              acceleration                 and         a rapid

 6        deceleration.

 7                    Q               Right.              But      the      high      speed           car

 8        collision

 9                    A               Yes.

10                    Q               --     was       that        something            that          was         told         you

11        or     is       that         something                that        you      added         to       it?

12                    A               Oh,      I believe                 I may have             overheard                 the

13        doctor           saying              that.

14                    Q               Okay.            And after             you      left,           that's             when

15        Sergeant               Mason             told       Mr.        Thomas       that         he       felt

16        betrayed               by Adrian                 Thomas'           untruthfulness                        and

17        that        Mason            was         doing        a11· he        could          do      to      stop        his

18        superiors                   from         having          Adrian          arrested.                 Correct?

19        Do you           remember                 that?

20                    A               No.

21                    Q               Okay.            Well,        do you           remember               that         your

22        entry           into         the         room       helped          turn      up      the         pressure

23        on Mr.           Thomas?

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                                 PROFESSIONAL REPORTING SERVICE
                                                       (518)        887-2733
     CaseCase  23-753, Document
          1:17-cv-00626-DJS     62, 01/17/2024,
                             Document
                                                  APPENDIX
                                        156-22 3604338,   Page838
                                                Filed 09/20/21    of 898
                                                               Page  10 of 12
                                                                                                                          1856
                                                                                                                           102




 1                                    MR. PERKINS:                          I object            to     the        form.

 2                                    You can            answer.

 3                   A                I don't            understand                    what      you         mean        by

 4        pressure.

 5                   Q                Well,            what,          if      any,      effect          did         your

 6        entry          into              the        room     and          the       words      you         said        have

 7        on the              interrogation,                          if      any,      in     your          view?

 8                                    MR. PERKINS:                          I object            to     the        form.

 9                                    You can            answer.

10                   A                I believe                 it      made          him     tell      Adam the

11         truth         about              what        happened.

12                   Q                Whether             it         was      true      or     not,          is     it     your

13        belief              that,              as    a result               of      you     going          into        the

14        room,          it      impelled                Mr.          Thomas           to     give       further

15         statements                      that        were          then         written            on the

16        document?

17                                    MR. PERKINS:                          I object            to     the        form.

18                                    You can             answer.

19                   A                It         made    him          give         Adam more             information,

20        yes.

21                   Q                So,         you    would              agree       that          your        conduct

22         in      stepping                 into        the          interrogation                    and     saying

23        what       you         said             had    a direct                  impact            on Mr.         Thomas

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                                 PROFESSIONAL REPORTING SERVICE
                                                        (518)              887-2733
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                             APPENDIX
                                62, 01/17/2024,
                                        156-22 3604338,   Page839
                                                Filed 09/20/21    of 898
                                                               Page  11 of 12
                                                                                                                      1857
                                                                                                                      103




 1        making            further            incriminating                      statements?

 2                                MR. PERKINS:                         I object            to      the      form.

 3                                You can             answer.

 4                   A            I believe                  it      just        gave      Adam an

 5         opportunity                  to     talk          to      Mr.       Thomas.             I didn't             make

 6        Mr.       Thomas             say     anything.                    In    fact,         I believe               he

 7         said      he      didn't            do anything.                       So,      Adam talking                  to

 8         him      after         that         made      Mr.          Thomas            confess.

 9                   Q            But        you      presented                  a scenario               where         you

10         were      able         to     pit       Adam between                    Adrian           and         Adam's

11         colleagues                  and     gave      Adam leverage                      with          Mr.

12         Thomas.               Would         you      agree           with       that?

13                                MR. PERKINS:                         I object            to      the      form.

14                   Could         you         rephrase                that?

15                   Q            What         was      the          purpose                what          would

16        you               how would              you            describe         the      purpose              of     your

17         questions?                   I mean,          how would                 you      describe              the

18         effect           of    what         you      said          to     Mr.        Thomas?             It

19         allowed           Adam to            have              further         leverage               with     Mr.

20         Thomas?
21                                MR. PERKINS:                         I object            to      the      form.

22                                You can             answer.

23                   A            It     allowed              Adam to             further           discuss

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                                 PROFESSIONAL REPORTING SERVICE
                                                     (518)           887-2733
     CaseCase  23-753, Document
          1:17-cv-00626-DJS  Document
                                          APPENDIX
                                62, 01/17/2024,
                                        156-22 3604338,   Page840
                                                Filed 09/20/21    of 898
                                                               Page  12 of 12
                                                                                                                              1858
                                                                                                                               104




 1        what's          going          on.          And you              used             the        term

 2         leverage.               I don't             know          if         I would                use      that          term.

 3                   Q        What             term        would           you        use?

 4                   A        Opportunity.

 5                   Q        Okay.                 So,       you         would             agree            that        your

 6        presence           in     that            room          had      what             appeared                to    be     a

 7        positive           impact             on Adam getting                              a confession?

 8                   A        Correct.

 9                            MR. PERKINS:                           I object                     to    the         form.

10                   Q        And in                some          regard,              it         contributed                   to

11        Adam getting                   a confession?

12                            MR. PERKINS:                           I object                     to    the         form.

13                   A        Yes.

14                   Q        Have             you        ever       been          aware               of     colleagues

15         of     yours      in     the         Troy          PD obtaining                         a confession

16         that      was     found             to     have         been           a coerced                   confession

17        by any          court?

18                            MR. PERKINS:                           I object                     to    the         form.

19                            You can                 answer              if     you         know.

20                   A        No.

21                   Q        Are         you         aware          of         any         cases            other        than

22         this      where         the         statements                      obtained                by you            or

23         colleagues              of     yours              in    the          Troy         PD,        whether               you


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                             PROFESSIONAL REPORTING SERVICE
                                                     (518)         887-2733
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                 APPENDIX
                           62, 01/17/2024,
                                   156-23 3604338,  Page841
                                           Filed 09/20/21   of 898
                                                          Page  1 of 12
                                                                                                      1859            1



 1   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 2

 3   ADRIAN THOMAS,

 4                                           Plaintiff,

 5                       -     against           -

 6   CITY OF TROY, ADAM R. MASON, RONALD FOUNTAIN,
     TIM COLANERI,
 7   RENSSELAER COUNTY, and MICHAEL SIKIRICA,

 8                                           Defendants.

 9   NEW YORK STATE
     COURT OF CLAIMS
10

11   ADRIAN P.        THOMAS,

12                                           Claimant,

13                       -     against           -                                     [l COPY
14   THE STATE OF NEW YORK,

15                                           Defendant.

16

17                       CONTINUED DEPOSITION                             of    Defendant,                TIM

18   COLANERI,        held      on     the       12th        day     of    September             2019,

19   commencing         at     8:07      a.m.,          at    the      Law Offices               of       Pattison

20   Sampson        Ginsberg          & Griffin,              PLLC,        22      First        Street,

21   Troy,     New York,          before             Jeanne         O'Connell,              Registered

22   Professional            Reporter            and     Notary           Public           in   and       for   the

23   State     of    New York.
 CaseCase 23-753, Document
      1:17-cv-00626-DJS
                           APPENDIX
                           62, 01/17/2024,
                        Document   156-23 3604338,  Page842
                                           Filed 09/20/21   of 898
                                                          Page  2 of 12
                                                                        1860        2



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 5   Pattison      Sampson Ginsberg    & Griffin, PLLC
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     Ronald     Fountain    and Tim Colaneri
 8
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 9   5 Pine West Plaza
     Washington       Avenue Extension
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     By:     Crystal     R. Peck,   Esq.
11   Attorneys       for Michael    Sikirica

12   New York State      Office   of the        Attorney    General
     The Capitol
13   Albany,     New York 12224
     By:     Christina   M. Calabrese,          Assistant    Attorney     General
14
     Also   present:      Katherine        Hamilton
15

16

17

18

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 CaseCase 23-753, Document
      1:17-cv-00626-DJS    62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-23 3604338,  Page843
                                           Filed 09/20/21   of 898
                                                          Page  3 of 12
                                                                                                                              1861                  6


 1                                  {Tim Colaneri                      - by Mr.                    Klein)

 2           Q.     Did      you         go in          and      suggest                    that        his      head          had       to

 3   have         been      slammed              to     the      ground?

 4           A.     I think              so.          Yes.

 5           Q.     Isn't          it      true         that         the         idea             of    slamming               came          from

 6   you      and        Detective               Mason          first,                not         from        Adrian           Thomas?

 7           A.     Yes.           I would              say      for        me.              I don't              know about

 8   Adam.

 9           Q.     Would          you         agree          that         it         wasn't            until          you

10   introduced              the         scenario               of       slamming                  that         --     it      wasn't

11   until         after          that         that      Adam determined                                that         he had            what

12   he believed              was probable                       cause                to     arrest?

13           A.     Well,          I think              after          Mr.            Thomas            admitted               to      it,

14   yeah.          I think              he did          have            probable                  cause          to        arrest.

15           Q.     But      it         wasn't          until            that          idea            of      slamming               was

16   introduced              that          that         changed,                 correct?

17           A.      Possibly.                   Yes.

18           Q.     That's              your      recollection.

19           A.     That's              my opinion.

20                                {Discussion                   held            off         the        record.)

21                                {Thomas             Exhibit              16 marked                     for

22                  identification.)

23   BY MR. KLEIN:
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-23 3604338,  Page844
                                           Filed 09/20/21   of 898
                                                          Page  4 of 12
                                                                                                                          1862             17


 1                                (Tim Colaneri                    - by Mr.               Klein)

 2   involvement              there            was      the      introduction                        of      the          scenario

 3   of     Adrian        slamming               that         we discussed                     earlier?

 4                            MR. PERKINS:                       Object             to    the             form.

 5                            You can             answer.

 6                            THE WITNESS:                       Could         you        repeat                 that

 7                 one?

 8   BY MR. KLEIN:

 9          Q.     Would          you      say         that      the      key        --        the         most           important

10   aspect         to    this       interrogation                      overall                of         your       role       was

11   your        suggestion               of     the      scenario,                 you        took          that          baby      and

12   you      slammed         his         head?

13                            MR. PERKINS:                       Object             to    the             form.

14                            You can             answer.

15                            THE WITNESS:                       It     was         not        just          that.            It

16                 was     the      entire              thing         with      the

17                 inconsistencies                       and      going         to        see         him.              And

18                 it     wasn't          just          one      thing,         but        yeah,                 that's

19                 part      of     it.          Absolutely                  part         of        it.

20   BY MR. KLEIN:

21          Q.      Introduction                  of      that         scenario                by you              of      taking

22   that        baby     and       slamming              his      head        lead            to         like       a

23   springboard              for         Mason         to      ask     further                questions                   about
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                         APPENDIX
                           62, 01/17/2024,
                                   156-23 3604338,  Page845
                                           Filed 09/20/21   of 898
                                                          Page  5 of 12
                                                                                                                        1863               18



 1                                  (Tim         Colaneri                - by Mr.             Klein)

 2   that,         correct?

 3                                MR. PERKINS:                       Object            to     the        form.

 4                                THE WITNESS:                       Correct.

 5   BY MR. KLEIN:

 6           Q.      Did         you     feel,          before             going         into         that       room,          that

 7   there         was      a need           to        introduce                that         scenario            to      the

 8   conversation                   rather          than            letting            Adrian            continue              to    say

 9   on his          own what              may have                 happened             to     cause           the      end

10   result?

11           A.      Yeah.

12           Q.      What         was      the         reason            for      that        need?

13           A.      Because             I believe                  at     one        point         they        were      speaking

14   to      him the             night       before,                and        they      were         speaking            to        him

15   this         night,          and      I don't              know if               anybody            ever         challenged

16   him      and      said,           you       did        this.

17           Q.      Well,          didn't             introduction                    of     that         scenario             of

18   slamming              the      head         cross         the         line        of     what         you        talked

19   about,          from         your       experience                    and        your      training,                of     risk

20   of      a coerced              confession,                     whether            true         or     false,         because

21   you're          putting             words          into         the        person's              --     you're            giving

22   the      factual             pattern              to     the        witness             rather          than        letting

23   the      witness             tell       you        what         caused            the      end        result?
 CaseCase 23-753, Document
      1:17-cv-00626-DJS    62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-23 3604338,  Page846
                                           Filed 09/20/21   of 898
                                                          Page  6 of 12
                                                                                                                          1864                 21



 1                               (Tim Colaneri                        - by Mr.                  Klein)

 2         A.     No.

 3         Q.     So my question                          is:         What         was          the      impetus             for         you

 4   to    go in         and     suggest                to      him that,                you          slammed             this

 5   baby's       head?

 6                I believe                 the         testimony                 from          Mason         was         there       was

 7   not      probable           cause            prior          to     that            entering              the

 8   conversation.

 9                Do you             agree         with          that?

10         A.     Yes.

11         Q.     So my question                          relates             to        that.

12                Did      you        consciously                     recognize                  that         there          wasn't

13   probable            cause        still,              as     of        five         or      so hours             into          the

14   interview,            as        of     when          you     went            in,        and       felt         that         there

15   was      a need       to        take         the        conversation                       to     the     next          level?

16                             MR. PERKINS:                       Object                to      the      form.

17                             Go ahead.

18                             THE WITNESS:                       Yeah.                 I did          need         to,

19                like         you        say,      take          the        conversation                     to      the

20                next         level,            because              he     needed              to     be

21                challenged                 at     that          point.

22   BY MR. KLEIN:

23         Q.     Because               what       he had             been          saying             for     hours              prior
 CaseCase 23-753, Document
      1:17-cv-00626-DJS    62, 01/17/2024,
                        Document
                                          APPENDIX
                                   156-23 3604338,  Page847
                                           Filed 09/20/21   of 898
                                                          Page  7 of 12
                                                                                                                     1865                   22



 1                                     (Tim Colaneri                      - by Mr.            Klein)

 2   was     not           enough        from          what         you      saw.

 3          A.         That's          correct.

 4          Q.         To link           it      to     any         crime.

 5          A.         That's          correct.

 6          Q.         Is     there           anything              else       about          your        personal

 7   involvement                  in     that          interview               that         you      can     recall            that

 8   we haven't                  already            discussed?

 9          A.         No.        Other          than         just         seeing           the      notes         now.

10          Q.         I'm       going         to      show         you      what's           been        marked          as

11   Thomas            Exhibit           17,        and       these          are      pages          of     notes         that        off

12   the     record              I had         you      look         through            the        TPD file           that        was

13   given            to    us    in     discovery.                       You had           indicated              that        these

14   are     the           two    pages          that         have         your       handwriting                  on them.

15                     Could        you        please            confirm             that         these      are      the        two

16   pages

17          A.         Yes.         These           are.

18          Q.         Can you           walk          us     through              what's          on these           pages,

19   starting               from       the       top        of      the      first          page.

20          A.         The       top     of      the        first          page       looks          like      an     interview

21   with        Wilahemina                   Hicks,          the         start,        the        Miranda          time,         the

22   time        it        ended,        and        when         she       signed           the      Miranda.

23          Q.         Sitting           here          today,             do you        recall            being       present
 CaseCase 23-753, Document
      1:17-cv-00626-DJS Document
                                        APPENDIX
                           62, 01/17/2024,
                                   156-23 3604338,  Page848
                                           Filed 09/20/21   of 898
                                                          Page  8 of 12
                                                                                                             1866             128



1                                     (Adam Mason                 - by Mr.           Klein)

2           A.        Just     the      highlights.

3           Q.        So,     on that          date,         do you             recall        having         an

 4   in-person               meeting          with         CPS worker              Nicole       Noel?

 5          A.        I do not.

 6          Q.        You've         heard          the     term         "multidisciplinary                       team"?

 7          A.        No.

 8          Q.        Have      you     ever?

 9                    Well,      were         you         working         cooperatively                 with       CPS in

10   this        investigation?

11          A.        Yes.

12          Q.        Whatever          information                  you        obtained         you     were

13   willing           to     share          with         them      to    the      extent        that        you       were

14   able        to     from     a law         enforcement                  perspective,                correct?

15          A.        Yes.

16          Q.        And vice          versa.              Your         understanding                 was     that,

17   subject            to    state          laws,         that      they         would       share      their

18   investigation                    with      you,        correct?

19          A.        Yes.

20          Q.        They      weren't             an     arm of         the      Troy       PD, but          you      did

21   work        in     cooperation                 with         them,         correct?

22          A.        Yes.

23                              (Discussion                  held        off      the     record.)
      CaseCase 23-753, Document
           1:17-cv-00626-DJS    62, 01/17/2024,
                             Document
                                                APPENDIX
                                        156-23 3604338,  Page849
                                                Filed 09/20/21   of 898
                                                               Page  9 of 12
                                                                                                                        1867        129



     1                                                      (CONFIDENTIAL)

     2                              MR. KLEIN:                     I'm        going        to      ask    you        about

      3               what's              been        marked            as     Thomas           8 on

      4               September                  11th,           2019.

      5                             For         the      record,              the     parties            agree          that

      6               this         document                 and     questions                about        it     will          be

      7               marked              confidential                   on the            record.             So

      8               starting                  now,        if     we can           mark        confidential,

      9               or     if      the         reporter               prefers,             the     parties             can

     10               review              the     transcript                   and     let         me know after

     11               the         fact.

     12                             MS. PECK:                     I'd        like     if     we mark            it      in
.~

     13               the         record          now.

     14

     15                              (THE FOLLOWING PORTION OF THE

     16               TRANSCRIPT                  IS MARKED AS CONFIDENTIAL                                      UNTIL

     17               OTHERWISE NOTED:)

     18

     19   BY MR. KLEIN:

     20       Q.       So,         I'm      showing               you        Thomas        A,      and     these,            I'll

     21   represent           to      you,            are        progress            notes         from        CPS's         case

     22   management               system.

     23       A.       Okay.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS     62, 01/17/2024,
                            Document
                                              APPENDIX
                                       156-23 3604338,   Page850
                                               Filed 09/20/21    of 898
                                                              Page  10 of 12
                                                                                                                       1868                130



     1                                                     (CONFIDENTIAL)

    2           Q.        On that            date,          there          are        two    notes        by Nicole                 Noel.

    3    One regards                  a phone          contact                and      one    regards             an office

     4   meeting.

     5                    Take        a look          at     the        progress             notes,          particularly

     6   the     narratives                  for      each         one,          and     when       you're         done         let        me

     7   know so           I can        ask          you     some          questions              about        that.

     8          A.        (Witness            complies.)

     9          Q.        Okay?

    10          A.        Yup.

    11          Q.        So,     in     addition                 to    speaking             with      Nicole           Noel          and

    12   getting           information                     from        her       as    reflected             in    your         DB

    13   follow-ups,                  according              to        Nicole          Noel's         notes,           she

    14   reports           that        you         informed             her       that       Adrian          was arrested

    15   earlier           that        morning              for        attempted             murder.

    16          A.        Yes.

    17          Q.        And you            informed               her       that       Adrian        admitted                to

    18   slamming           ~down                            on the              bed     from       a standing

    19   position               on three             separate                occasions,             on 9/17/08,

    20   9/18/08,               and    9/20/08,              and          hitting           ~•s                   head         on the

    21   side        of    the        crib         railing             while          throwing         him        in     the        crib

    22   on 9/20/08,                  correct?

~   23          A.        Yes.
CaseCase  23-753, Document
     1:17-cv-00626-DJS     62, 01/17/2024,
                        Document
                                              APPENDIX
                                   156-23 3604338,   Page851
                                           Filed 09/20/21    of 898
                                                          Page  11 of 12
                                                                                                                      1869                131



 1                                                        (CONFIDENTIAL)

2           Q.        Is      it       fair         to     say      that      those          are      the          three          dates

 3   or     four        events               that        Adrian        described              after          the       idea          of

 4   slamming               was        introduced                  by Sergeant               Colaneri               and

 5   yourself?

 6                                    MR. PERKINS:                    Object          to     the      form.

 7                                    You can            answer.

 8                                    THE WITNESS:                    Yes.

 9   BY MR. KLEIN:

10          Q.         So,         you       didn't          actually            note        everything                    that      was

11   said        in     the           conversation,                   but     even         though           it's           not     in

12   your        report               do you           agree        that       you more            likely             than         not

13   told        her        that            information               that       day?

14          A.         Yes.

15          Q.         Do you               remember             anything         else        you      told           her         about

16   the     case,               or    is       that       generally             what        you      told          her?

17          A.         I don't                recall         if      I told       her        anything               else.

18          Q.         Those           were         the      high       points          of    your          interview                that

19   lead        to        the        arrest,             correct?

20          A.         Yes.

21          Q.         Then           the       bottom            progress        note         on Thomas                   8

22   reflects                an       in-person              meeting           with        you,       correct?

23          A.         Correct.
    CaseCase  23-753, Document
         1:17-cv-00626-DJS  Document
                                             APPENDIX
                               62, 01/17/2024,
                                       156-23 3604338,   Page852
                                               Filed 09/20/21    of 898
                                                              Page  12 of 12
                                                                                                                     1870              132



     1                                                   (CONFIDENTIAL)

     2          Q.      So it         doesn't            say      that     specifically                      in     your

     3   follow-ups,                but      do you have                 any     reason          --      do you recall

     4   that        there         was an in-person                      meeting           or    have         any      reason

     5   to     doubt        it?

     6          A.      I don't            recall         that       there         was,         but         I have         no

     7   reason         to     doubt         it,      either.

     8          Q.      She        said      that        you gave          her       the        arrest            report         for

     9   Adrian         Thomas,            his      statement,             Wilahemina's                      statement,

    10   Dr.     Edge's            (attending             physician)               statement,                  and

    11   ~s                   medical              records         from        Albany           Medical             Center        and

    12   Samaritan             Hospital.
~
    13                  Is     that        something              you     likely           would            have      done?

    14          A.      Yes.

    15          Q.      That's            pursuant           to    your        cooperation                   with      CPS as

    16   co-investigatory                         agencies         in     this       matter,                correct?

    17          A.      Yes.

    18          Q.      And she            also       notes        that        you    reported                 that        you did

    19   not     currently                plan      to    arrest          Wilahemina                  for      anything,

    20   correct?

    21          A.      Yes.

    22          Q.      Was it            still       something             that      was an open

    23   possibility,                 depending              on how things                  progressed                 in       the
    Case
 Case    23-753, DocumentDocument
      1:17-cv-00626-DJS
                                       APPENDIX
                          62, 01/17/2024,
                                   156-243604338,  Page853Page
                                           Filed 09/20/21  of 898
                                                               1 of 7
                                                                         1871
                                                        IJ ORIGINAL 1
 1

 2                                                      EBT of NICOLE NOEL

 3
      UNITED STATES DISTRICT COURT
 4    NORTHERNDISTRICT OF NEWYORK
      ----------------------------------------------x
 s    ADRIAN P. THOMAS,

 6                                  Plaintiff,

 7    -against-

 8    CITY OF TROY; ADAMR. MASON, Individually,
      RONALDFOUNTAIN, Individually, TIM COLANERI,
 9    Individually,  RENSSELAERCOUNTY, and MICHAEL
      SIKIRICA, Individually,
10
                                   Defendants.
11    ----------------------------------------------x
      STATE OF NEWYORK: COURTOF CLAIMS
12    ----------------------------------------------x
      ADRIAN P. THOMAS,
13
                                    Claimant,
14
      -against-
15
      THE STATE OF NEWYORK,
16
                                   Defendant.
17    ----------------------------------------------x

18           EXAMINATIONBEFORE TRIAL of the Defendant,
     Rensselaer     County, by and through their
19   representative     NICOLE NOEL, held on November 25,
     2019,    commencing at 10:05 a.m., at the offices        of
20   Bailey,    Johnson & Peck, P.C., 5 Pine West Plaza,
     Suite 507, Washington Avenue Extension,          Albany,
21   New York 12205, pursuant      to Notice;   before Susan
     Florio,    a Registered  Professional    Reporter    and
22   Notary Public in and for the State of New York.

23
           Susan Florio, RPR - Professional Reporting Service - (518)887-2733
    Case
 Case 1:17-cv-00626-DJS
                               APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-243604338,  Page854Page
                                           Filed 09/20/21  of 898
                                                               2 of 7
                                                                                       1872
                                                                                         2

 1

 2   APPEARANCES:

 3                 BRETT H. KLEIN, ESQ., PLLC
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 4                 305 Broadway, Suite 600
                   New York, New York 10007
 5                 BY: BRETT H. KLEIN, ESQ.

 6
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 7                 Attorneys  for Defendants City of Troy,
                    Adam Mason, Ronald Fountain and
 8                  Tim Colaneri
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 9                 Troy, New York 12181-0208
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10

11                 BAILEY, JOHNSON, & PECK, P.C.
                   Attorneys  for Defendant Rensselaer                          County
12                  and Michael Sikirica
                   5 Pine West Plaza, Suite 507
13                 Washington Avenue Extension
                   Albany, New York 12205
14                 BY: CRYSTALR. PECK, ESQ.

15
                   OFFICE OF THE RENSSELAERCOUNTYATTORNEY
16                 Attorney for Rensselaer  County
                   Rensselaer  County Governmen t Center
17                 1600 7th Avenue
                   Troy, New York 12180
18                 BY: CARL J. KEMPF, III, ESQ.

19                 LETITIA JAMES, ATTORNEYGENERALOF THE
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                   The Capitol
21                 Albany, New York 12224
                   BY: CHRISTINA M. CALABRESE,A.A.G.
22                       KATHERINEJ. HAMILTON,Legal Assistant

23   Indexes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Pg . 14 O
         Susan Florio, RPR - Professional Reporting Service - (518)887-2733
    Case
 Case    23-753, DocumentDocument
      1:17-cv-00626-DJS
                                 APPENDIX
                          62, 01/17/2024,
                                   156-243604338,  Page855Page
                                           Filed 09/20/21  of 898
                                                               3 of 7
                                                                                   1873
                                                                                      44

 1    [NICOLE NOEL - By Mr. Klein]

 2    so, they are based on our affidavits.
 3          Q.         Okay.

 4          A.         The foster       care unit's           sole purpose     is to

 5    return      the children          to the family            if it    is safe.

 6          Q.         Okay.

 7          A.         And follow       the -- they would look at the

 8    order      of supervision.
 9          Q.         Okay.      So, I think         we covered         the 22nd.

10    You don't         recall      specifically         anything        --

11          A.         I don't.

12          Q.         How about the 23rd?
13          A.         I don't      remember.

14          Q.         Okay.      On the 23rd there's             a note in the

15    detective's          paperwork         that     says they met with you

16    and gave you copies               of paperwork,            including     the

17    Adrian Thomas interview,                      Ms. Hicks'     interview       and

18    some other          things.       Do you recall            such a meeting?

19          A.         I don't      recall     it.      I just    remember from

20    seeing      it    in my notes          last     week.

21          Q.         So, from seeing          in your notes            as well

22    you         it    refreshed       your recollection            that     there

23    was a meeting            even though you don't               remember the
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
         Case
      Case 1:17-cv-00626-DJS
                                   APPENDIX
              23-753, DocumentDocument
                               62, 01/17/2024,
                                        156-243604338,  Page856Page
                                                Filed 09/20/21  of 898
                                                                    4 of 7
                                                                                    1874
                                                                                       45

      1    [NICOLE NOEL - By Mr. Klein]

      2   particulars          of it?

      3        A.       Correct.

      4         Q.      And did your notes            confinn       that    they gave

      5    you among other          things    Adrian Thomas's written

      6    confession?
      7         A.      Yes.

      8         Q.      Okay.      What else     do you recall             they gave

      9    you?
     10         A.      I don't     remember.

     11         Q.      Okay.      And when you had such a meeting do

     12    you recall          from your notes      or just         independently

     13    whether      that     was at your office          that     they gave

     14    those     documents to you or whether you went to the
     15    Troy police         headquarters     or some other              location?

     16         A.      Well,     I know that       we had to have met up

     17    in person      because       something     like    that     I would

     18    never ask to be faxed.              Just    because        of the

     19    confidentiality          of it.     So, I'm sure we met up

     20    somewhere.
     21        Q.       Could have been at your office,                     could

l~   22    have been somewhere else?
     23        A.       Yes.
             Susan Florio, RPR - Professional Reporting Service - (518)887-2733
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS
                                     APPENDIX
                              62, 01/17/2024,
                                       156-243604338,  Page857Page
                                               Filed 09/20/21  of 898
                                                                   5 of 7
                                                                                1875
                                                                                     46

     1    [NICOLENOEL - By Mr. Klein]

     2            Q.       Okay.     And would Jasper       Estaris        have been

     3    part         of that   meeting    as the assigned         caseworker?

     4            A.       No.

     5            Q.       No, not necessarily,         or no, not at all?

     6            A.       No, not necessarily.
     7            Q.       Okay.      He may have been,         you just     don't

     8    remember?
     9            A.       Right.

    10            Q.       Is that     something you would have written

    11    in your notes             or not necessarily?
~
    12            A.       Yeah.      I probably     would have made note of

    13    it.
    14            Q.       Um-hmm. Either          way would you have shared

    15    with Jasper,           as the assigned       caseworker,         what you

    16    learned         in the meeting with the detectives,                  in

    17    terms of what information                 you were given and what

    18    paperwork         you were given?

    19            A.       At which point?
    20            Q.       As soon as practical         after     meeting with

    21    the police.
    22                               MS. PECK: Objection.

    23            A.       Not necessarily.
                Susan Florio, RPR - Professional Reporting Service - (518)887-2733
    Case
 Case 1:17-cv-00626-DJS
                               APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-243604338,  Page858Page
                                           Filed 09/20/21  of 898
                                                               6 of 7
                                                                       1876
                                                                          47

 1    [NICOLENOEL - By Mr. Klein]

 2        Q.       Okay.       Would you have obtained        a ten-page

 3    confession       of Mr. Thomas and not told          or informed

 4    Jasper    of it      for days?

 5        A.       Not days,      no .

 6        Q.       Do you recall         when you told    him about it?

 7         A.      I do not.

 8         Q.      Okay.       Do you know if you told        him about

 9    it on the 23rd?
10         A.      I   don't    remember.

11         Q.      Okay.       Do you think        is there    any

12    reason    why you wouldn't           have told   him about it on

13    the 23rd?
14         A.      Just    if we didn't      have a chance to speak

15    to one another           if he was too busy,       if I was too

16    busy.
17         Q.      Okay.       Weren't    you speaking    about this

18    case pr~tty         much that      whole day and the day

19    before?
20         A.      Probably.
21         Q.      Okay.       So, can you think       of any reason

22    why you wouldn't          have told     him about it other

23    than if you were too busy?
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
    Case
 Case 1:17-cv-00626-DJS
                               APPENDIX
         23-753, DocumentDocument
                          62, 01/17/2024,
                                   156-243604338,  Page859Page
                                           Filed 09/20/21  of 898
                                                               7 of 7
                                                                               1877
                                                                                48

 1    [NICOLE NOEL - By Mr. Klein]

 2           A.     No.

 3           Q.     on something         other    than this     case?

 4           A.     No.

 5           Q.     Okay.      And that       was a pretty      big fact

 6    that    Mr. Thomas apparently              made a ten-page

 7    statement       detailing       how the child        got hurt     to the

 8    police,       correct?

 9           A.     um-hmm. correct.
10           Q.     Okay.      So, it's       something    you would have

11    highlighted         to Jasper        as the caseworker,        you

12    would have told          him -- fair        to say you would have

13    more than likely            told     him about that?

14           A.     I would have.

15           Q.     So, you are not saying             you didn't       tell

16    him about it on the 23rd, you just                     don't    remember

17    when you told         him about it?

18           A.     Correct.
19           Q.     Okay.      And, as the assigned            caseworker,

20    you were keeping            Jasper     Estaris   in the loop as to

21    what you found out in your calls                    and investigatory

22    steps       and vice versa,          correct?

23           A.     Correct.
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
Case 1:17-cv-00626-DJS
   Case
                              APPENDIX
        23-753, DocumentDocument  156-253604338,
                         62, 01/17/2024,  Filed 09/20/21
                                                  Page860Page 1 of 6
                                                          of 898
                                                                                                       1878

 1       STATE OF NEW YORK

 2       COUNTY COURT                                    COUNTY OF RENSSELAER

 3                                                                                                                X

 4       THE PEOPLE OF THE STATE OF NEW YORK

 5       - against       -                               Indictment           #08-1074

 6       ADRIAN THOMAS,

 7                           Defendant.

 8                                               -   -    -   -   -   -   -   -   -    -   -   -   -   -      -       X

 9       JURY      T.RI11..L - VOLUME IX

10                                                       County Courthouse
                                                         Congress  and Second Streets
11                                                       Troy, New York 12180
                                                         October  9, 2009.
12
         Before:
13
                             HONORABLEP..NDREWG. CERESIA,
14                           County Court Judge.

15       A p p e a r an           c es:                                                                - r.,,..
                                                                                                       -';;
                                                                                                                  n
                                                                                                                  rn
16                              For the People:
                                RICH..~RD J. MC NALLY, JR., ESQ.,
                                                                                                        -
                                                                                                        0         2.


17                              District    Attorney,  Rensselaer    County,
                                By:     ARTHUR F. GLASS, JR.,     ESQ.,
18                              and CHRISTA M. BOOK, ESQ., Assistant
                                District    Attorneys,  of counsel,
19                              Rensselaer     County Courthouse,
                                Troy, New York.
20
                                For the Defendant:
21                              JEROME K. FROST, ESQ.,
                                Public    Defender,   Rensselaer  County,
22                              and INGRID EFFMAN, ESQ., Assistant                                     Public
                                Defender,     of counsel,
23                              Rensselaer     County Courthouse,
                                Troy, New York.
24
                                ADRI~..N THOMAS, Defendant,                           in   person.
25

                                                 Judy      A. DelCogliano
                                      0££icial           Senior  Court Reporter



                                   AXXXXXXXX
                    Case 1:17-cv-00626-DJS
                            23-753, DocumentDocument  156-253604338,
                                                              Filed 09/20/21
                                                                      Page861Page 2 of 6
                       Case
                                                 APPENDIX
                                             62, 01/17/2024,                  of 898
                                                                                                      1879        1455


                     1                                 I:t:IDEX TO WITNESSES
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                     2                                                                                                   : ;I
                                                             Direct             Cross      Redirect      Recross
                     3

                     4       For the   PeoQle;
                     c:;
                     -.,

                             I FEOtvlf'._
                                      OJUKWU                      1456           1468          1478        1481
                     6
                            MICHAELSIKIRICA                       1482           1529          1577        1584
                     7                                                                         1586        1587
                                                                                               1589
                    .8

                     9                                  *                   *              *
                    10                                       INDEX TO EXHIBITS

                    11
                                                                          Identification              Evidence
                    12

                    13       For the   People;

                    14
                             27.  Seton Pediatrics
                    15      Medical Records (M-                                 1456                    1460

                    16      28.   Seton Pediatrics
                            Medical Records (r--                                1456                     1460
                    17
                             29.  Seton Pediatrics
                    18      Medical Records (~                                  1456                     1460

                    19      30.   Seton Pediatrics
                            Medical Records (t--                                1456                     1460
                    20
                                  St. Mary's
                                                  ~~
                             31.
                    21      Medical Records                                     1456                     1460

                    22       32.  St. Mary 1 s Hospital
                            Medical Records    (                  )             1456                     1460
                    23
                             33.   Photograph                                   1481                     1511
                    24
                                                                                                         1525
,+         -   ••

r    •,;
                             34.   Death Certificate                            1481
                    25
                             35.   Autopsy   Report                             1491                     1527
                                                              Judy-'"'·     DelCogl.iano
                                                       0££icial       Sen.ior Court Reporter



                                                  AXXXXXXXX
                                                                                               APPENDIX
                                                                Case 1:17-cv-00626-DJS Document 156-25 Filed 09/20/21 Page 3 of 6
                                                                                                  (Sikirica - Peop1e                           - Direct)                1880                 14B


                                                                   1                 Q.       Are you familiar                 with    a term or condition                      known as

                                                                   2       sepsis,         Doctor?

                                                                   3                 A.       'Yes.

                                                                   4                 Q.       What is sepsis?

                                                                   5                 A.       Well,      sepsis     is basically                   an infection           in the

                                                                   6       bloodstream,           not just         the presence               of the bacteria,                  but   an
Case 23-753, Document 62, 01/17/2024, 3604338, Page862 of 898




                                                                   7       actual         infection       that     leads        to damage of organs                      throughout          the

                                                                   8       body.

                                                                   9                 Q.       And from your review                    of     the        reco.t'ds     in anticipation

                                                                  10       of the autopsy,               did you conclude                  or did you determine                    that

                                                                  11       ~~was                            septic         or suffering                   from sepsis?

                                                                  12                A.        Well,      according         to the          records           that     came over          from

                                                                  13       Samaritan         Hospital,           he did have bacteria                        in his      bloodstream.

                                                                  14       He had streptococcus                   pneumoniae           bacteria              in his bloodstream

                                                                  15       suggesting          sepsis.

                                                                  16                 Q.       Do you know how that                    conclusion              was arrived          at?

                                                                  17                A.        They had drawn blood                    cultures             at the      hospital

                                                                  18       immediately          on his      arrival,            and those               cultures       later,      a few

                                                                  19       days later,          grew out the bacteria.                             It     takes      several      days

                                                                  20       sometimes          to get      a culture,            for    the     bacteria              to grow out and

                                                                  21       identify.

                                                                  22                 Q.       So, at the          tlme he was at Samaritan                            Hospitai,       that

                                                                  23       information          was unknown?

                                                                  24                A.        The exact          cause     of that           was unknown,              yes.

                                                                  25                 Q.       From your review                 of the        records,              was anything       done t

                                                                          --~-------------                                 .
                                                                                                                     Juey A, De1Cog1iano
                                                                                                            O££icia1       Senior          Court        Reporter



                                                                                                         AXXXXXXXX                                            P004963
                                                                                                               APPENDIX
                                                                              Case 1:17-cv-00626-DJS Document 156-25 Filed 09/20/21 Page 4 of 6
                                                                                                                  (Siki.rica - Peopl.e                                - Direct)
                                                                                                                                                                                              1881                      149


                                                                                 1                            The heart          was intact.                       They hadn't           taken         the     heart.

                                                                                 2         That     appeared          to be a normal                   size         and shape          with         a little       bit

                                                                                 3         of hemorrhage              when I sectioned                   the         hea.rt     on the         endocardial

                                                                                 4         surface        beneath        it.         That    is        hemorrhage              inside         the     muscle       just

                                                                                 5         below the          chambers          of the       heart,            and that             is basically               a minut1

                                                                                 6         type     of heart          attack.          The aorta               was okay where                  it     remained.
Case 23-753, Document 62, 01/17/2024, 3604338, Page863 of 898




                                                                                 7         The liver          and kidneys             were removed,                   and the          neck was examined,

                                                                                 8         including          a posterior             incision           along          the neck,             and there          was a

                                                                                 9         evidenc~        of any trauma               to the           neck.

                                                                                10                  Q. •      Okay.       ~,ould       you describe                   that      condition             of the

                                                                                11         lungs,        Doctor,       as having            evidence               of pneumonia?

                                                                                12                  A.        Yes,     grossly.

                                                                                13                  Q.        And would that                be consistent                    with      the     substance           that

                                                                                14         was found          on the      blood        culture?

                                                                                15                  A.        Yes.

                                                                                16                  Q.        So, would it             be fair           to state             that,          at the      time      of

                                                                                17         death,        ~ ,_was                             suffering                from pneumonia?

                                                                                18                  A.        Yes.

                                                                                19                  Q.        And can you tell                us,        in lay terms,                  what pnewnonia                  is'

                                                                                20                  A.        Pneumonia,             of course,               is     just     an infection               of the

                                                                                21         lungs     caused        by a variety              of reasons.                     Common one is

                                                                                22         streptococcus              and -- the            same organism                    that      was found             in his

                                                                                23         bloodstream.

                                                                                24                  Q.        Is that          evidence       of sepsis                 or a septic             condition?
                                                                ...' ~ . •.
                                                                                25                  A.        Well,     the pneumonia                   itself          could         lead     to sepsis.

                                                                                     ..._ _________________             -·----Judy                A.    DelC0gJ.ian0
                                                                                                                                O££icial     Senior           Court Reporter



                                                                                                                        AXXXXXXXX                                                  P004969
                                                                                     ·------------------------·-------
                                                                                                APPENDIX
                                                                        Case 1:17-cv-00626-DJS Document 156-25 Filed 09/20/21 Page 5 of 6
                                                                                                      (Si1drica - Peop.le                             - Direct)             1882                 151


                                                                           1              Q.       Could you determine,                       based    upon your           examination           and
                                                                ·•...
                                                                   •
                                                                           2       your experience,             whether          or not        some or all          of those          bleeds

                                                                           3       went back as far             as birth?

                                                                           ~                                 MS. £FFMAN: Objection,                       leading.

                                                                           5                                 TFIB COURT: Overruled.

                                                                           6              A.      None of the            changes         go back to the              time      of birth,
Case 23-753, Document 62, 01/17/2024, 3604338, Page864 of 898




                                                                           7       microscopic.

                                                                           8              Q.      Now, you testified                    a little        bit      earlier       that      there

                                                                           9       was an infection            present,           sepsis?

                                                                          10              A.      There was pneurnococcal                       in the blood              and sepsis,          yes.

                                                                          11              Q.      What happens             when there's               sepsis      in the Dody, Doctor:

                                                                          12              A.      Well,       the     infection,          because         it's      in the      blood,

                                                                          13       spreads     everywhere.             It will          spread        to where ever           there       could

                                                                          14      be blood.         It travels           throughout             the blood.           It     spreads

                                                                         15       everywhere.           It    leads      to damage of multiple                     organs.

                                                                         16               Q.      And did        sepsis         damage the brain                 in this      case?

                                                                         17               A.      W~ll,       sepsis       was part           of the      damage to the               brain,     but

                                                                         18       the main damage was traumatic                          injury.

                                                                         19               Q.      Why do you say that,?

                                                                         20               A.      Because       I think           the    sepsis        was a secondary                event.          I

                                                                         21       think      the trauma        came first.               I think        there      were repeated               bout~

                                                                         22       of trauma       to this       brain          that     led     to pneumonia          and,      eventually,

                                                                         23       that    pneumonia          became sepsis.

                                                                         24               Q.      tlo'n',    what happens             to the brain             when it's        injured?

                                                                         25       Does it      continue        to function              normally?

                                                                                                                               Judy .Jl. C@lCog-lia.no.
                                                                                                                    OfficiaI       Senior. Court Reporter



                                                                                                              AXXXXXXXX                                          P004523
                                                                                       APPENDIX
                                                                         ·--------------------
                                                                Case 1:17-cv-00626-DJS Document 156-25 Filed 09/20/21 Page 6 of 6
                                                                                                                                                                                    1883
                                                                                                                (S:i.kiriaa             - Peop1e             - Cross)                                     154


                                                                   1                  Q.     And that             bacterial                ·infection            was present                in his       body

                                                                   2       when he arrived                 at     Samaritan                   Hospital;          correct?

                                                                   3                A.       Yes.

                                                                   4                  Q.     And streptococcus                            pneumoniae,              if     not       treated        quickly

                                                                   5       can   lead       to other            illnesses                 and complications;                      corr·ect?

                                                                   6                A.       True.
Case 23-753, Document 62, 01/17/2024, 3604338, Page865 of 898




                                                                   7                  Q.     In fact,             it        could         be life            threatening              for     a child       wh,

                                                                   8       is,   although           four        months             old,        born      two months             premature;

                                                                   9       correct?·

                                                                  l0                A.       Yes.

                                                                  11                Q.       And streptococcus                            pneumoniae             can cause             pneumonia;

                                                                  12       correct,         Doctor?

                                                                  13                A.       Yes.

                                                                  14                Q.       It   can       also            cause         bacteremia,             bacteria             in the       blood;

                                                                  15       correct?

                                                                  16                A.       Typically,                it        occu:r.s           in the     lungs       first.             It   has   to

                                                                  17       get   into      the    organs           somehow.                    It     begins      in the         lungs.

                                                                  18                Q.       And that             can        cause            bacteria         i~ the          blood;         correct?

                                                                  19                A.       Correct.

                                                                  20                Q.       What happens                    if      there's           bacteria           in    the     blood,

                                                                  21       Doctor?

                                                                  22                A.       Well,         there            is     a condition                called       bacteremia,              where

                                                                  23       you just        have      bacteria                in the            blood,         or you can have                  a more

                                                                  24       severe        condition          called               sepsis.

                                                                  25                Q.       You can            also         end       up with           infection             in the         membranes

                                                                                                                                 .Tllcfy A.     Del.Cogliano--~
                                                                                                                  0££icial.           Senior         Court     Reporter



                                                                                                        AXXXXXXXX                                                        P004551
            Case
         Case 1:17-cv-00626-DJS
                                        APPENDIX
                 23-753, DocumentDocument
                                  62, 01/17/2024,
                                           156-263604338,  Page866Page
                                                   Filed 09/20/21  of 898
                                                                       1 of 9
                                                                                                                 1884

     1      STATE OF NEW YORK

     2      COUNTY COURT                                       COUNTY OF RENSSELAER

     3                                  -    -   -     -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

     4      THE PEOPLE OF THE STATE OF NEW YORK

     5      - against      -                                   Indictment           #08-1074

     6      ADRIAN THOMAS,

     7                          Defendant.

     8                                                 -   -    -   -   -   -   -   -   -    -   -   -   -   -   -   X

     9      JURY TRIAL         - VOLUME VI

    10                                                         County Courthouse
                                                               Congress and Second Streets
    11                                                         Troy, New York 12180
                                                               June 5, 2014.
    12
            Before:
~   13
                                HONORABLEANDREWG. CERESIA,
    14                          County Court Judge.

    15      Appearances:

    16                             For the People:
                                   ARTHUR F. GLASS JR., ESQ., Acting            District
    17                             Attorney,   Rensselaer       County,
                                   By:    CHRISTA M. BOOK, ESQ., and KELLY L. EGAN,
    18                             ESQ., Assistant     District      Attorneys,    of counsel,
                                   Rensselaer   County Courthouse,
    19                             Troy, New York.

    20                              For the Defendant:
                                    STEPHEN R. COFFEY, ESQ.
    21                              54 State  Street
                                    Albany,  New York.
    22
                                    JOHN C. TURI, ESQ., Public     Defender,
    23                              Rensselaer  County,   and ARTHUR R. FROST, ESQ.,
                                    Assistant  Public   Defender,  of counsel,
    24                              Rensselaer  County Courthouse,
                                    Troy, New York.

                                    ADRIAN THOMAS, Defendant,                               in   person.
                                                       Judy      A. DelCogliano
                                            Official           Senior  Court Reporter
                 Case
              Case    23-753, DocumentDocument
                   1:17-cv-00626-DJS
                                                 APPENDIX
                                       62, 01/17/2024,
                                                156-263604338,  Page867Page
                                                        Filed 09/20/21  of 898
                                                                            2 of 9
                                                                                                      1885      743


          1
. r"':                                                        INDEX TO WITNESSES
          2

          3                                            Direct             Cross    .      Redirect    Recross

          4

          5      For     the     People:

          6
                MICHAEL SIKIRICA                        774                 845              894        900
          7                                                                                  902        902
                                                                                             903
          8

          9
                 For     the     Defendant:
         10

         11      JEROME 0.          KLEIN               911                  935

         12

         13                                               INDEX TO EXHIBITS

         14
                                                                         Identification              Evidence
         15

         16      For     the      People:

         17
                 16.   Autopsy  Photograph                                                             821
         18      17.   Autopsy  Photograph                                                             821
                 18.   Autopsy  Photograph                                                             821
         19      19.   Autopsy  Photograph                                                             821
                 20.   Death Certificate                                                               840
         20      23. · Autopsy  Report                                       772                       783
                 24.   Organ Transplant    Documents                         941                       952
         21      25.   Medical  Literature                                   969

         22
                 For     the     Defendant:
         23
                 E.      Samaritan          Hospital      Records                                      874
         24
 -~
         25      Court         Exhibit      V - Poster          - Page      772

                                                              Judy     A. DelCogliano
                                                   0££icial          Senior  Court Reporter
             Case
          Case    23-753, DocumentDocument
               1:17-cv-00626-DJS    62, 01/17/2024,
                                 (Sikirica
                                                   APPENDIX
                                             156-263604338,  Page868Page
                                                     Filed 09/20/21
                                              - People - Direct)
                                                                     of 898
                                                                         3 of 9
                                                                                                                                 1886                837


      1      his    skull        was not           violated.              There         wasn't            a penetration                  into
.~
      2      the    skull,           but     there       was damage               to    the        brain         - general            term       is

      3      closed          head        injury      - and cerebral                    edema,         which             is    swelling          of

      4      the    brain,           and this         was due as a result                           of blunt                 force     trauma.

      5               Q.            Did you find                any corresponding                        injury          on the        outside

      6

      7               A.            No.

      8               Q.            Is     that    unusual?

      9               A.            Not in my experience.

     10               Q.            Why not?

     11               A.            Baby's        skulls         are     fairly         flexible.                      So,    you may find

     12      some devastating                     internal            injury         with        very         little          manifested

     13      outside.

     14                 Q.          What type          of force            would        have        to        be used           to    cause

     15      injuries          of this            magnitude?

     16               A.            This      would        be a moderate                amount            of      force.

     17                 Q.          To cause         death?

     18               A.            Yes.

     19                 Q.          Now, you have                already          testified               that          you were         aware

     20      that     ~had                        sepsis         at    the     time         of     his        death.            How are         you

     21      able       to    rule         that    out      as the           cause      of his            death?

     22               A.            By looking             at    the     sequence             of     events             and

     23      understanding                  the    course         of his          illness.

     24                 Q.          What do you mean,                    the      sequence               of     events          and    course

     25      of his          illness?

                                                              Judy A. De1Cog1iano
                                                      0££icia1    Senior Court Reporter
                                                                                                                        P021472
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                             APPENDIX
                                       156-263604338,  Page869Page
                                               Filed 09/20/21
                                                  - People
                                           (Sikirica
                                                               of 898
                                                                   4 of 9
                                                                                     - Direct)
                                                                                                                      1887               840


 1      following           the       autopsy.

 2                                       MS. BOOK:                Your Honor,             at      this     time,       I would

 3                 offer        People's            20 for          identification                 into      evidence.

 4                                       MR. COFFEY:                 No objection                 with     appropriate

 5                 redactions.

 6                                       THE COURT:                 People's          20 will            be received           at    this

 7                 time.

 8      (People's           Exhibit          20 marked               for    identification                   received          in

 9      evidence           and marked               People's           Exhibit         20 in           evidence.)

10                                       THE COURT:                 Ms. Book,          may I see             that      at     this

11                 time?

12                                       MS. BOOK:                Yes.

13                                       THE COURT:                 Thank      you.

14                                       MS. BOOK:                May I just            have         one moment,            Your

15                 Honor?

16                                       THE COURT:                 You may.

17                 Q.       Doctor,          if      I told          you that           there's           been      evidence

18      elicited           in     this      case,          testimony           elicited            in     this      case     that        the

19      Defendant,              Mr. Thomas,                told      an.individual                 that      he got         into     a

20      fight       with        his      wife,       his      child,        ~                     wouldn't          stop     crying

21      and he wanted                 him to         stop         crying,        so he bounced                   him down onto                 a

22      bed     (demonstrating).

23                                       MR. COFFEY:                  I object          to     the       way she's          doing

24                 this.          That      isn't          bouncing.             That        is    a throwing              motion.

25                                       THE COURT:                 The objection                 is     overruled.

                                                             Judy     A. DelCogliano

                                                                                                             P021475
                                                  Official          Senior  Court Reporter
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                             APPENDIX
                                       156-263604338,  Page870Page
                                               Filed 09/20/21  of 898
                                                                   5 of 9
                                                                                                                     1888                   841


 1               Q.        So,    he bounced               him onto           a bed.           He still            wouldn't

 2      stop     crying,         so he bounced                   him harder,             sq hard,           in     fact,        that

 3      he fell        onto      the        floor.         And if           I further          told      you that              there's

 4      been     evidence         that         this      bed was only                 17 inches          up off            of the

 5      ground;        that      there         was no bed              frame.          There        was just             a box

 6      spring        and a mattress                  right       directly            on the        ground.              Do you

 7      have     an opinion             about         whether          or not         that     type      of       activity

 8      could      have       caused         the      injuries          to ~ T-                               in this            case?

 9                                     MR. COFFEY:                Object         as    speculative.

10                                     MS. BOOK:               Your Honor,             Dr.     Sikirica             is     a

11                forensic         pathologist.

12                                     MR. COFFEY:                Judge,         I'm     sorry.          My objection                    is

13               addressed             to    you.         It     is    not    addressed             to   her,        with        all

14               due respect.

15                                     THE COURT:                The objection                as    to   speculation                   is

16                overruled.

17               A.        Yes,        I do.

18                Q.       What is           that        opinion?

19               A.        That        kind        of event           would      be sufficient                to     cause        the

20      brain      injuries.

21                                     MS. BOOK:               Nothing          further.            Thank         you.

22                                     THE COURT:                Okay.         Members         of     the        jury,         we are

23                going       to break             for    lunch        at    this      point        in   time.             We will

24                break       until         two o'clock.                 During         the    course         of this            break,

25                please         do not        discuss           the    case        among yourselves                     or with

                                                          Judy     A. De1Cog1iano

                                                                                                            P021476
                                               Officia1          Senior  Court Reporter
            Case
         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                (Sikirica
                                            APPENDIX
                                  62, 01/17/2024,
                                           156-263604338,  Page871Page
                                                   Filed 09/20/21
                                             - People   - Cross)
                                                                   of 898
                                                                       6 of 9
                                                                                                                 1889          847


    1               Q.         Rensselaer       County?
~
    2               A.·        Yes.

    3               Q.         Herkimer       County?

     4              A.         Yes.

     5              Q.         Montgomery County?

     6              A.         Yes.

     7              Q.         Columbia       County?

     8              A.         Yes.

     9              Q.         Greene     County?

    10              A.          Yes.

    11              Q.          Fulton    County.

    12              A.          Yes.

    13              Q.          How many other             counties?

    14              A.          St.    Lawrence,          Clinton          and Essex,            Warren,        Washington;

    15      probably           a few more.

    16              Q.          And you have testified                      on all       of those          occasions          for

    17      the prosecution.                 In the        course          of your experience,                   Doctor,       I

    18      would be correct,                wouldn't         I,     if     I were to say that                   you have

    19      testified           on behalf      of the prosecution,                       as opposed             to,   say,     the

    20      accused,           99.9 percent        of the           time.        That would be about                     --

    21              A.          I couldn't       guarantee                the   99.9,      but     the     99 sounds

    22      good,       yes.

    23              Q.          So, understanding                  that     you are        a public            servant        -- we

    24      understand           that.       No one is quarreling                       with      that.         I now want

    25      to mention           something       or ask you something                        else,        if    I can.        On

                                                      Judy     A.     Del.Cogl.iano
                                                                            Court     Reporter
                                                                                                          P021482
                                              Official.      Seni9r
             Case
          Case    23-753, DocumentDocument
               1:17-cv-00626-DJS
                                 (Sikirica
                                             APPENDIX
                                   62, 01/17/2024,
                                            156-263604338,  Page872Page
                                                    Filed 09/20/21
                                              - People - Cross)
                                                                    of 898
                                                                        7 of 9
                                                                                                                  1890                 848


      1      the 25th when you performed                           the autopsy            --    I think          it     was the
-~
      2      25th.          And if      you need to look at the                        autopsy         to refresh           your

      3      recollection

      4               A.        It was the 25th,                 sir.

      5                Q.       Obviously,          if     I misstate            that,     you can correct                  me.

      6               A.        No.      It was the             25th.

      7                Q.       I think      we have heard                that      ~died,                       I think,          the

      8      23rd?

      9               A.        Correct,         sir.

     10                Q.       Okay.       Now, he died                the    23rd,      and you performed                      the

     11      autopsy          on the     25th,      two days later;                 right?

     12               A.        Yes.

     13                Q.       Now, there          is a certain               momentum in medicine,                       isn't

     14      there,          where one person              comes up with               a theory,         and human

     15      beings,          who they      are,        other      doctors,        may follow             that         theory.

     16      You have seen that;                   haven't         you?

     17                A.       Yes.

     18                Q.       At the time that                  you performed            your autopsy                 on the

     19      25th,      the police          and the            District        Attorney's             Office          in this

     20      county          had identified             this     case,        had they         not,     as a potential

     21      murder?

     22                A.       They don't          use the term murder.                        They use the               term

     23      homicide.

     24               • Q.       Fair    enough.           As a potential                homicide;         correct?

     25                A.        Correct.

                                                          Judy A. Del.Cogl.iano
                                                 0£ficia1.    Senior  Court Reporter
                                                                                                         P021483
                Case
             Case    23-753, DocumentDocument
                  1:17-cv-00626-DJS   62, 01/17/2024,
                                    (Sikirica        APPENDIX
                                               156-263604338,  Page873Page
                                                       Filed 09/20/21
                                                 - People    - Cross)
                                                                       of 898
                                                                           8 of 9
                                                                                                                                        1891               849


         1               Q ..      And when you performed                                   the    autopsy           --     and         you     say
I"'\'
         2      it's     not     unusual            for         a District                 Attorney.            But        actually,               tell

         3      the    jury      how usual                it     is         for      you to       perform           an autopsy                in     which

         4      the     District           Attorney,                  the         chief     prosecutor              and     two detectives

         5      from     a police           department                      are     present        with        you?         How many times

         6      does     that      happen?

         7               A.        Oh, maybe                   20,     30.

         8               Q.        Out of           10,000?

         9               A.        Yes.

        10               Q.        So,      let's              see.          A hundred            out     of    10,000            would         be one

        11      percent?

        12               A.        Correct.

        13               Q.        Thirty           would             be three-tenths                   of     one       percent?

        14               A.        Correct,               sir.

        15               Q.        That's           not         a very             big     percentage;              is     it?

        16               A.        Considering                       the     fact         that    nobody        comes· to               many of my

        17      autopsies.

        18               Q.         Fair      enough.                      So,     considering            the       fact         that      not       many

        19      people         come,       you are              now performing                    an autopsy,                and        right        next

        20      to     you is      the      District                  Attorney,              Mr. McNally,                Ms. Book and                     two

        21      police         officers;            right?

        22               A.         Well,       nobody                gets         next      to me.

        23               Q.         Okay.           But in                 the      same room with              you;         weren't               they?

        24               A.         For part              of the             time,         exactly,          sir.

        25               Q.        And you are                       having          conversations              with         them;         correct?

                                                                  Judy A. De1Cog1iano
                                                          0££iaia1    Senior Court Reporter
                                                                                                                           P021484
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS
                            (Sikirica
                                     APPENDIX
                              62, 01/17/2024,
                                       156-263604338,  Page874Page
                                               Filed 09/20/21
                                         - Peop1e - Cross)
                                                               of 898
                                                                   9 of 9
                                                                                                        1892          850'



 1              A.       With the police,                with      other      people,        yes.

 2                 Q.    They weren't         there         as,     kind of,            friends.        They were

 3      there      because       -- to see what you were doing;                             right?

 4              A.       Correct.

 5                 Q.    And you knew that;                 right?

 6              A.       Correct.

 7                 Q.    Okay.      Now, Doctor,             we have heard                other       people

 8      testify,        give    us some information                  that        they     have testified          in a

 9      prior       proceeding,      as you have,                 involving         Adrian         Thomas;

10      correct?

11                 A.    Correct.

12                 Q.    And have you, prior                 to today,            have you read            his   --

13      your testimony?

14                 A.    Yes.

15                 Q.    Okay.      Now, have you read                     the    testimony           of Dr.

16      Waldman?

17                 A.    Dr. Waldman, yes.

18                 Q.    Have you read            the testimony               of Dr. Jenny?

19                 A.    Yes.

20                 Q.    Whom you know very well;                      correct?

21                 A.    I wouldn't         say I know her very                     well.          I know her      from

22      a little        bit     of time     in Rhode Island,                  but       I have no close

23      association.             I don't     send her Christmas                     cards.           I don't     know

24      her that        well.

25                 Q.    Okay.      Well,     I assume there                  are       people       you know well

                                                  Judy     A. DelCogliano
                                       Official          Senior  Court Reporter
                                                                                                   P021485
                               REGISTER
                                     NUMBER
                                                 23-753,CERTIFICATE    OF DEATH                             STATE FILE NUMBER
                                            Case
                                         Case            DocumentDocument
                                              1:17-cv-00626-DJS   62, 01/17/2024,
                                                                           156-273604338,  Page875Page
                                                                                   Filed 09/20/21  of 898
                                                                                                       1 of 1
                                                                                                                           APPENDIX                                                                                                                                                     1893
   RESIDENCE
                         1.NAME:
                              FIRST                                             MIDDLE                                          LAST                                                                    2.SEX:                            3A.DATE
                                                                                                                                                                                                                                                Of DEATH:                                         1
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             1:17-cv-00626-DJS
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                                  62, 01/17/2024,
                               Document   156-28 3604338,  Page876
                                                  Filed 09/20/21   of 898
                                                                 Page  1 of 15
                                                                                 1894


 FINAL AUTOPSY REPORT

CASE#:                      MS-08-409
                            OCA-08-309(Albany Medical Center)
                            08-09-76 (RCME)

DECEDENT:

DATE OF BIRTH:

DATE OF DEATH:              September 23, 2008

PRONOUNCEMENTTIME:          11:00 AM

DATE OF AUTOPSY:            September25, 2008, 8:40 AM

PLACE OF AUTOPSY:           Albany Medical Center, Albany, NY

PROSECTOR:                  Michael Sikirica M.D.

ASSISTING:                  Mr. Michael Bourdon and Ms. Sarah Christian

INVESTIGATOR:               Ms. Jennifer Alibozek, Rensselaer County

MEDICAL EXAMINER:           Michael Sikirica, M.D., Rensselaer County



Cause of Death:             Severe closed head injuries with cerebral edema due to
                            blunt force trauma

Manner of Death:            Homicide




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Michael Sikirica, M.D./re
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       CaseCase 23-753, Document
            1:17-cv-00626-DJS
                                    APPENDIX
                                 62, 01/17/2024,
                              Document   156-28 3604338,  Page877
                                                 Filed 09/20/21   of 898
                                                                Page  2 of 15
                                                                                    1895
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                                                        MS-08-409
                                                        OCA-08-309/08-09-76

                                                               Page2

                                   External Description



         The body is received in a white plastic body pouch. There is a tag attached to

the pouch listing the decedent's name and the names of Rensselaer County and

Investigator Alibozek. The pouch is also secured with a blue plastic lock #33584 and

the lock is in place and intact. Notation is written on the pouch that it was secured on

9/24/08 at 8:30 hours by Sarah Christian. The body is that of an approximately 20

pound, 63.5 cm normally-developed, well nourished infant Black male appearing the

reported age of 4-5 months with minimal rigor mortis and minimal posterior fixed livor

mortis. The body temperature is cool to the touch after refrigeration. The general

appearance of the body is of good health and hygiene.

         The following measurements are obtained:

                Crown to rump length: 46 cm
                Head circumference: 49.5 cm
                Chest circumference: 42.4 cm
                Abdominal circumference: 38.5 cm
                Distance between the nipples: 10.5 cm
                Distance between the inner canthi: 3.2 cm
                Length of each foot: 9.6 cm

         The body is received wearing only a dry appearing disposable diaper.

         The scalp hair is black and curly measuring 1-2" in maximum length. The

irides are brown. The right and left pupils each measure 3 mm in diameter. The

corneas are clear and the sclerae and conjunctivae are unremarkable. There is bilateral

conjunctiva! edema and slight yellow discoloration to the conjunctivae. The sclerae are

unremarkable. The face is symmetric and the facial bones are intact to palpation but

the soft tissues are somewhat boggy due to edema. There are no materials in the




                                                                              P001531
       CaseCase 23-753, Document
            1:17-cv-00626-DJS
                                     APPENDIX
                                 62, 01/17/2024,
                              Document   156-28 3604338,  Page878
                                                 Filed 09/20/21   of 898
                                                                Page
                                                        MS-08-409
                                                                      3 of 15
                                                                                     1896
                                                        OCA-08-309/08-09-76
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mouth, nose or ears. The gums are edentulous consistent with age. There is no injury

to the upper or lower frenulum. The neck is free from masses. The neck is free from

masses. There are no unusual marks or lesions on the skin of the neck. The larynx is

midline and the thyroid not palpable. The chest is of normal contour. The breasts are

those of an infant male. The abdomen is flat. The posterior torso shows no significant

abnormalities. The upper extremities are symmetric, and the fingernails are intact and

show no foreign material. No clubbing or cyanosis is noted. The digits are well formed.

The external genitalia are those of an infant male. There is no evidence of injury or

abnormal secretions but the scrotum appears swollen. The buttocks and anus are

unremarkable. The skin is black in color and smooth. There is an area of slight purplish

pigmentation to the skin along the buttocks consistent with a nevus. There is no

unusual odor about the body. The body hygiene is good.



                          Evidence of Recent Medical TherapY



         There is a nasogastric tube protruding outward from the right nostril. There is

an endotracheal tube protruding outward from the oral cavity. There is a double lumen

catheter inserted into the right neck and sutured in place. There are IV lines inserted

into each antecubital area. There is a catheter inserted into the left groin and sutured in

place. There are multiple small puncture wounds along the right groin consistent with

attempted IV access. There is a hospital identification bracelet around the right ankle

and a tag attached to the right ankle listing the decedent's name with the name of Dr

Edge with the time and date of death listed.




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       CaseCase 23-753, Document
            1:17-cv-00626-DJS
                                     APPENDIX
                                 62, 01/17/2024,
                              Document   156-28 3604338,  Page879
                                                 Filed 09/20/21   of 898
                                                                Page
                                                        MS-08-409
                                                                      4 of 15
                                                                                        1897
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                                                        OCA-08-309/08-09-76

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                            Evidence of Postmortem Donation



          There is a long incision extending down the chest from the menubrium into the

upper midline of the abdomen and the incision is closed with black suture material.



                                     Evidence of Injury



          There is no evidence of significant gross antemortem injury.



                                Procedure and Specimens



          The organs are exposed utilizing the standard Y-shaped incision modified by

the preexisting transplant incision. Subdural blood, gastric contents, cavity blood and

samples submitted from the tissue bank are taken and submitted to the Forensic

Toxicology Laboratory at the Albany Medical Center. Included with the body are two

small red top tubes labeled "9/24/08" with a time of 04:60 hours and illegible initials

along with a small specimen cup labeled "9/24/08 04:50" containing approximately 3 ml

of yellow urine. The cup also bears illegible initials. Additional lavender top blood

sample tubes are retained from cavity blood with one transferred to the officer present

from the Troy Police Department and the other maintained at Albany Medical Center for

further testing if needed. Pulled scalp hair is also obtained along with a buccal scraping

sample for possible DNA analysis. X-rays are not taken at the time of autopsy but

numerous x-ray studies taken before death are digitally reviewed at the time of autopsy.




                                                                               P001533
      CaseCase 23-753, Document
           1:17-cv-00626-DJS
                                   APPENDIX
                                62, 01/17/2024,
                             Document   156-28 3604338,  Page880
                                                Filed 09/20/21   of 898
                                                               Page  5 of 15
                                                                                  1898
                                                             ~---
                                                       MS-08-409
                                                       OCA-08-309/08-09-76

                                                             Page 5

Present at the autopsy are Rensselaer County Senior Medicolegal Death Investigator

Ms. Jennifer Alibozek, Evidence Technician David Farley of the Troy Police

Department, Police Sergeant Adam Mason from Troy PD and District Attorney Richard

McNally along with Assistant District Attorney Christa Book. Copies of medical records

for the decedent are obtained from Albany Medical Center with a medical record

#2257912. Copies of records from Samaritan Hospital are also obtained listing a

medical record #1209357 with a date of admission of 9/21/08. A copy·of a Troy Police

Incident Report is obtained from the officers present with case #86095 and evaluated.

Received with the report is a copy of a handwritten 10 page statement by Adrian

Thomas Sr. with a date of birth of 9/22/82. Representative portions of the major viscera

are retained in formalin and appropriate sections are processed for microscopic slides.

The autopsy is assisted by Autopsy Assistants Mr. Michael Bourdon and Ms. Sarah

Christian. No additional material is retained as evidence.



                                  Internal Examination



         Thoracoabdominal incision reveals approximately 1 cm of normal appearing

abdominal panniculus. The thoracic and abdominal viscera have normal anatomic

relationships with evidence of postmortem donation but no evidence of trauma to the

remaining organs.




                                                                             P001534
       CaseCase 23-753, Document
            1:17-cv-00626-DJS Document
                                      APPENDIX
                                 62, 01/17/2024,
                                         156-28 3604338,  Page881
                                                 Filed 09/20/21   of 898
                                                                Page
                                                        MS-08-409
                                                                      6 of 15
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                                                        OCA-08-309/08-09-76
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Body Cavities

          There are a few cc of bloody fluid in the pleural and peritoneal cavities. There

are no adhesions.

Musculoskeletal System

          The skeletal muscles are firm and normally developed. There are no

fractures noted. A large "Y" shaped incision is made along the back with extension

upward to the basilar portion of the skull and there are no subcutaneous or

intramuscular hemorrhages noted.

Neck Organs

          The larynx and thyroid gland are unremarkable. The thyroid is

homogeneously tan/brown without nodularity. There is a slight amount of hemorrhage

in the soft tissues of the lower right neck consistent with the overlying right jugular line.

The carotid arteries and jugular veins are intact. The cervical spine is intact.

Respiratory System

          The right lung weighs 49 grams, the left 46 grams. Each lung is partially

collapsed in its pleural cavity. The pleural surfaces are smooth and glistening. There is

a slight greenish pink coloration to the pleural surface of each lung. Sectioning through

the lungs reveals diffuse bilateral congestion. There is a small amount of mucoid

slightly purulent material in the airways of each lung. The arterial trees of each lung are

unremarkable.    No aspirated material or thromboemboli are found.

Cardiovascular System

         The pericardia! sac is intact and contains a few cc of normal serous fluid. The

heart weighs 35 grams and has a normal external configuration with a glistening




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        CaseCase 23-753, Document
             1:17-cv-00626-DJS
                                     APPENDIX
                                  62, 01/17/2024,
                               Document   156-28 3604338,  Page882
                                                  Filed 09/20/21   of 898
                                                                 Page
                                                         MS-08-409
                                                                       7 of 15
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epicardial surface and a normal amount of epicardial fat. There are a few petechiae

along the anterior and posterior portions of the heart. The myocardium is firm and

brown but there is circumferential spotty hemorrhage in the myocardium throughout the

left ventricle consistent with anoxia or ischemia. The cardiac chambers are of normal

size and contain a trace of clotted blood. The right ventricle measures 2 mm and the

left ventricle 7 mm in maximum thickness. The cardiac valves are normally formed and

appear in good functional condition with thin pliable valve leaflets and thin discrete

tendineae chordae. The mitral valve measures 3.6 cm, the tricuspid 4.2 cm, the

pulmonary 2 cm and the aortic 2.5 cm in circumference. The endocardium is smooth

and glistening without fibrosis but there is a 1.5 cm zone of subendocardial hemorrhage

along the posterior left ventricle. The coronary arteries arise normally through

unobstructed ostia and follow a normal distribution. Serial cross sections at

approximately 2 mm intervals reveal no significant anomalies. The atria and

appendages are normal. The aorta is of normal caliber and branching distribution and

is intact along the upper thoracic portion with no evidence of anomaly. The vena cavae

is intact and unremarkable at its juncture with the heart.

Brain

          The scalp is retracted by an intermastoidal incision. There is a large zone of

mottled predominately purple subgaleal hemorrhage along the frontal and anterior left

and right parietal scalp. There is an approximately 1 cm greenish ecchymosis

consistent with an old bruise along the lower right parietal and upper temporal region.

There is a 1.5 cm fairly well circumscribed pink ecchymotic lesion along the right

parietal zone. There is extensive splitting of the sutures of the skull including the




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                                   APPENDIX
                                                                       ...         1901
      CaseCase 23-753, Document
           1:17-cv-00626-DJS    62, 01/17/2024,
                             Document   156-28 3604338,  Page883
                                                Filed 09/20/21    of 898
                                                               Page   8 of 15
                                                        MS-08-409
                                                       OCA-08-309/08-09-76
                                                              ~
                                                              Page8

sagittal, coronal, lambdoidal and basilar sutures. The sutures measure up to 1-1.5 cm

apart. There is approximately 60 ml of subdural blood collected along the right middle

cerebral fossa and extending along the right temporal and parietal lobes. There is a

small amount of adherent blood along the right aspect of the posterior fossa. There is

no evidence of an epidural hemorrhage. There is diffuse subarachnoid hemorrhage

along the basilar portion of the brain and along each superior hemisphere. The brain

and dura tissues are removed for fixation and further sectioning. The left and right

ocular bulbs are also removed and there is subarachnoid hemorrhage along each optic

nerve sheath.

Additional Findings

         Examination of the abdominal cavity is performed and the small and large

bowels are intact and unremarkable. The appendix is present. The stomach is patent

and contains approximately 5-10 ml of mucoid brownish gray material without

identifiable digestate. There are no recognizable fragments of tablets or capsules. The

mucosa and rugae are unremarkable. The small and large intestines and appendix

have a normal configuration and are otherwise unremarkable. The liver, gallbladder,

pancreas, adrenal glands, kidneys and spleen are all surgically absent.



                                 Microscopic Sections



Slide A 1, Section myocardium: Slight acute vascular congestion and a small focus of

anoxic type change.

Slide A2, Section myocardium: Small zones of acute subendocardial hemorrhage.




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       CaseCase 23-753, Document
            1:17-cv-00626-DJS
                                    APPENDIX
                                 62, 01/17/2024,
                              Document   156-28 3604338,  Page884
                                                 Filed 09/20/21   of 898
                                                                Page
                                                        MS-08-409
                                                                      9 of 15
                                                                                      1902
                                                        OCA-08-309/08-09-76
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Slide A3, Section myocardium: Areas of anoxic type change and small foci of acute

hemorrhagic infarction. There is also myocyte degeneration and necrosis associated

with the infarction.

Slides A4-A8, Sections lung: Severe atelectasis with near obliteration of the normal

alveolar airspaces and chronic and acute pneumonia.

Slide A9, Section right temporal parietal subgaleal hemorrhage: Acute and chronic

inflammation with degeneration red blood cells and fibrin consistent with resolving

subgaleal hematoma.

Slide A10, Section thyroid gland: Unremarkable.

Slide A 11, Section testes: Small foci of hemorrhage possibly consistent with acute

infarction.

Slide A 12, Section frontal scalp subgaleal hemorrhage: Acute and more chronic

appearing subgaleal hemorrhage with extensive acute and chronic inflammation.

Slide A 13, Section skull suture line: Normal appearing bone with adjacent fibrous tissue

showing evidence of acute inflammation and hemorrhage.



                           Gross Neuropathology Examination



          The fixed brain weighs 920 grams. The cerebral hemispheres are extremely

swollen and edematous with loss of the normal gyration pattern and extreme softening

of the parenchyma. Portions of dura are included with a moderate amount of adherent

brown subdural clot measuring up to 3-4 mm in thickness. There is a several cm zone

of hemorrhage along the occipital cortex bilaterally but no other foci of parenchymal




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      CaseCase  23-753, Document
           1:17-cv-00626-DJS
                                    APPENDIX
                                 62, 01/17/2024,
                              Document   156-28 3604338,   Page885
                                                 Filed 09/20/21    of 898
                                                                Page  10 of 15
                                                                                     1903
                                                         MS-08-409

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                                                         OCA-08-309/08-09-76
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                                                                Page 10

hemorrhage. The cerebral vasculature is intact and appears unremarkable with no

evidence of vascular anomalies. Serial coronal sections through the cerebrum,

cerebellum and brainstem reveal no evidence of focal hemorrhage or infarction but

tightening of the ventricles bilaterally. There is loss of demarcation of the basal ganglia

and the cortical ribbon and the myelination pattern appears consistent with age.

Stripping the dura reveals no fractures but as noted there is severe splitting of the major

suture lines.



                          Microscopic Neuropathology Sections



Slide B1, Section frontal cortex: Resolving subarachnoid hemorrhage with large

numbers of macrophages, occasional acute inflammatory cells and lymphocytes. There

is severe breakdown of erythrocytes and the hemorrhage extends down into the

Virchow Robin spaces. There is associated cerebral edema and small foci of

hemorrhage and ischemic type change in the parenchyma.

Slide 82, Section parietal cortex: Resolving subarachnoid hemorrhage with large

numbers of macrophages degenerating red blood cells with occasional inflammatory

cells. There is also focal ischemic change in the parenchyma and adjacent cerebral

edema.

Slide 83, Section midbrain: Severe cerebral edema and foci of intraparenchymal

hemorrhage. There is subarachnoid hemorrhage and congestion of blood vessels. The

subarachnoid hemorrhage displays both acute and resolving hemorrhage with loose

fibrin type material, degenerating red cells and macrophages also present.




                                                                              P001539
         CaseCase  23-753, Document
              1:17-cv-00626-DJS
                                   APPENDIX
                                    62, 01/17/2024,
                                 Document   156-28 3604338,   Page886
                                                    Filed 09/20/21    of 898
                                                                   Page
                                                            MS-08-409
                                                                         11 of 15
                                                                                 1904
                                                             ~,_
                                                            OCA-08-309/08-09- 76

                                                             Page 11

Slide 84, Section basal ganglia: Focal intraparenchymal hemorrhage, acute with patchy

areas of cerebral edema.

Slide 85, Section occipital cortex: Severe acute intraparenchymal hemorrhage, with

acute and resolving subarachnoid hemorrhage.

Slide 86, Section temporal cortex: Foci of resolving subarachnoid hemorrhage and

areas of cerebral edema.

Slide 87 1 Section cerebellum: Diffuse anoxic type changes with Purkinje cell dropout

and foci of resolving acute subarachnoid hemorrhage.

Slide 88, Section right parietal cortex: Foci of intraparenchymal hemorrhage, resolving

subarachnoid hemorrhage and acute vascular congestion. There is focal cerebral

edema.

Slide 89, Section dura: Predominantly acute subdural hemorrhage.

Slide 810, Section dura: Acute and more chronic subdural hemorrhage.

Slide 811, Section sagittal sinus: Severe acute congestion with adherent dura showing

evidence of loose granulation tissue.

Slides 812-814, Sections right eye: Severe acute retinal hemorrhage with

predominantly chronic inflammation surrounding the optic nerve with abundant

macrophages.

Slides 815-818, Sections left eye: Severe acute retinal hemorrhage and foci of severe

acute and chronic inflammation, older appearing hemorrhage and infarction of the optic

nerve.




                                                                           P001540
CaseCase  23-753, Document
     1:17-cv-00626-DJS  Document
                                APPENDIX
                           62, 01/17/2024,
                                   156-28 3604338,   Page887
                                           Filed 09/20/21    of 898
                                                          Page
                                                   MS-08-409
                                                                12 of 15
                                                                             1905
                                                   OCA-08-309/08-09- 76
                                                          ~~
                                                          Page 12

                               Anatomic Diagnoses



I.     Severe closed head injuries with cerebral edema due to blunt force trauma

       a. Clinical history of subdural hematoma with severe cerebral edema

       b. Radiographic evidence of bilateral subdural hematomas

       c. Medical evidence of brain death

       d. Splitting of the sutures of the skull consistent with cerebral edema

       e. Extensive acute and resolving subarachnoid hemorrhage

       f.   Extensive acute and resolving hemorrhage in the optic nerve sheaths

            and acute retinal hemorrhage, bilateral

       g. Fresher and older appearing areas of subgaleal hemorrhage

       h. Reported history of decedent thrown forcibly downward on a mattress

            on several instances before eventually being found unresponsive

II.    Blood culture positive for streptococcus pneumonia on initial presentation

       to hospital (9/21/08)

       a. Acute and chronic pneumonia with severe atelectasis (microscopic)

Ill.   Severe anoxic type changes of the heart (gross and microscopic)

IV.    Status post donation of multiple internal organs




                                                                      P001541
                    CaseCase  23-753, Document
                         1:17-cv-00626-DJS  Document
                                                         APPENDIX
                                               62, 01/17/2024,
                                                       156-28 3604338,   Page888
                                                               Filed 09/20/21
                                  FORENSIC TOXICOLOGY LABORATORY
                                                                                 of 898
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                                             CERTIFYING
                                                      1DXICOLOGISTS
            ThomasG. RosanoPhD,DABFT(Director)             ThomasA. SwiftPhD(AssociateDirector)

SUBJECTNAME:            ~s,~                                             LABORATORYCASENUMBER:                13670
COUNfY/REQUESTING
                AGENCY: RENSSELAER                                    SPECIMENCOLLECTION
                                                                                       DATE:                 9/25/2008
COUNTYAUTOPSYNUMBER:    MS-08-409                                        REPORTDATE:                         11/18/2008

PATHOLOGIST:                                                               REQUESTING AGENCY/AGENT:
DR. MICHAEL SIKIRICA                                                       MEDICALEXAMINER
FORENSICMEDICAL SERVICES,PC                                                RENSSELAERCOUNTY
50 BROAD STREET                                                            1600 7th AVENUE
WATERFORD,NEWYORK 12188                                                    TROY, NEW YORK 12180



SPECIMEN        TEST                                RESULT            POSITIVEIBRESHOLD/UNITS                METHODOLOGY


Blood
               Ethanol                             NEG                Threshold 0.010% w/v                   Gas Chromatography
               Acetone                             NEG                Threshold 0.010% w/v                   Gas Chromatography
               Isopropanol                         NEG                Threshold 0.010% w/v                   Gas Chromatography
               Methanol                            NEG                Threshold 0.015% w/v                   Gas Chromatography

 Premortem blood collected on 9/21/08 at 16:45




   I certifythat thespecimenidentifiedby the nameand I.D. numberabovehas been.examineduponreceipt,handledand analyz.edin
   accordancewithNewYorkStateHealthDepartmentregulations,and thatthe resultsset forthare for that specimen.Chainof custody
   and confidentialitywasmaintainedthroughoutcollection,testing,and reporting,unlessotherwisenoted. Positivespecimensare
   retainedfor a minimumofone year andall otherspecimensfor a minimumof one month,unlessotherwiserequested.

             ThomasA. Swift PhD
           CertifyingToxicologist(Print)
                                                      ~~
                                                      ~og1st~{gnafu;r--
                                                                                   --6~                             Date

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             _R_o_san_o_P_hD_.
                       _D_A_B_F_T                                                  __)
             LaboratoryDirector(Print)                         LaboratoryDirector(Signature)                        Date
                                                               Page   I   of   3
                                                                                                             P001542
                    CaseCase  23-753, Document
                         1:17-cv-00626-DJS  Document
                                                        APPENDIX
                                               62, 01/17/2024,
                                                       156-28 3604338,   Page889
                                                               Filed 09/20/21
                                   FORENSIC TOXICOLOGY LABORATORY
                                                                                 of 898
                                                                              Page  14 of 15
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                                             CERTIFYING
                                                      TOXICOLOGISTS
            ThomasG. RosanoPhD,DABFT(Director)             ThomasA. SwiftPhD (AssociateDirector)

SUBJECTNAME:           T~,~                                             LABORATORYCASENUMBER:                13670
COUNTY/REQUESTING
               AGENCY: RENSSELAER                                    SPECIMENCOLLECTION
                                                                                      DATE:                 9/25/2008
COUNTYAUTOPSYNUMBER:   MS-08-409                                        REPORTDATE:                         11/18/2008

PATHOLOGIST:                                                              REQUESTING AGENCY/AGENT:
DR. MICHAELSIKIRICA                                                       MEDICALEXAMINER
FORENSICMEDICAL SERVICES, PC                                              RENSSELAERCOUNTY
50 BROAD STREET                                                           1600 7th AVENUE
WATERFORD,NEW YORK 12188                                                  TROY, NEWYORK 12180



SPECIMEN        TEST                              RESULT             POSITIVEIBRESHOLD/UNITS               METHODOWGY


Blood          Amphetamines                      NEG                 Threshold 250 ng/ml                   Immunoassay
               Barbiturates                      NEG                 Threshold 250 ng/ml                   GC/MS
               Benzodiazepines                   NEG                 Threshold 150 ng/ml                   Immunoassay
              Benzoylecgonine                    NEG                 Threshold 150 ng/ml                   Immunoassay
              Methadone                          NEG                 Threshold 150 ng/ml                   GC/MS
              Opiates                            NEG                 Threshold 150 ng/ml                   Immunoassay
              Pbencyclidine                      NEG                 Threshold 50 ng/ml                     GC/MS
              Propoxyphene                       NEG                 Threshold 150 ng/ml                   GCIMS
              Cannabinoids                       NEG                 Threshold 50 ng/ml                    Immunoassay
              Tricyclic Antidepressants          NEG                 Threshold 100 ng/ml                   GC/MS
              Salicylate                         NEG                 Threshold IO mg/di                    Colorimetric
              Acetaminophen                      NEG                 Threshold IO mg/L                     Immunoassay
              Ethanol                            NEG                 Threshold 0.010% w/v                  Gas Chromatography
              Acetone                            NEG                 Threshold 0.010% w/v                  Gas Chromatography
              Isopropanol                        NEG                 Threshold 0.010% w/v                  Gas Chromatography
              Methanol                           NEG                 Threshold 0.015% w/v                  Gas Chromatography

Postmortem blood.
General drug screen by GC/MS: lidocaine detected.




  I certifythatthe specimenidentifiedby the nameand I.D.numberabovehas beenexamineduponreceip~handledandanalyz.edin
  accordancewithNewYorkStateHealthDepartmentregulations,and thatthe resultsset forthare forthat specimen.Chainof custody
  and confidentialitywasmaintainedthroughoutcollection,testing,and reporting,unlessotherwisenoted. Positivespecimensare
  retainedfor a minimumofone year andall otherspecimensfor a minimumofone month,unlessotherwiserequested.

             Thomas A. Swift PhD                            :,,~~~_/~
           CertifyingToxicologist(Print)                                                                            Date

        Thomas G. Rosano PhD. DABFT                                                                            /I    -//-0?

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            LaboratoryDirector(Print)                         LaboratoryDirector(Signature)                         Date

                                                              Page   2   of   3
                    CaseCase  23-753, Document
                         1:17-cv-00626-DJS  Document
                                                          APPENDIX
                                               62, 01/17/2024,
                                                       156-28 3604338,   Page890
                                                               Filed 09/20/21
                                   FORENSIC TOXICOLOGY LABORATORY
                                                                                 of 898
                                                                              Page  15 of 15
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                               ACCREDITEDBYTHE AMERICANBOARDOF FORENSICTOXICOLOGY


                                              CERTIFYINGTOXICOLOGISTS
            ThomasG. RosanoPhD,DABFI'(Director)              ThomasA. SwiftPhD (AssociateDirector)

SUBJECTNAME:                         ~.~                                  LABORATORYCASENUMBER:                 13670
COUNTY/REQUESTING
                AGENCY:              RENSSELAER                        SPECIMENCOLLECTIONDATE:                 9/25/2008
COUNTYAUTOPSYNUMBER:                 MS-08-409                            REPORTDATE:                          11/18/2008

PATHOLOGIST:                                                                REQUESTING AGENCY /AGENT:
DR. MICHAEL SIKIRICA                                                        MEDICAL EXAMINER
FORENSIC MEDICAL SERVICES, PC                                               RENSSELAER COUNTY
50 BROAD STREET                                                             1600 7th AVENUE
WATERFORD,NEWYORK 12188                                                     TROY, NEW YORK 12180



SPECIMEN        IBSf                                RESULT             POSITfVEIBRESHOLD/UNITS                 METHODOLOGY


Subdural
              Ethanol                              NEG                 Threshold 0.010% w/v                    Gas Chromatography
              Acetone                              NEG                 Threshold 0.010% w/v                    Gas Chromatography
              Isopropanol                          NEG                 Threshold 0.010% w/v                    Gas Chromatography
              Methanol                             NEG                 Threshold 0.015% w/v                    Gas Chromatography

 Subdural Blood




  I certifythat the specimenidentifiedby the nameand I.D. numberabovehas beenexamineduponreceipt,handledand analyzedin
  accordancewi1hNew York StateHealthDepartmentregulations,and that the resultsset forthare for that specimen.Chainof custody
  and confidentialitywasmaintainedthroughoutcollection,testing,and reporting,unlessotherwisenoted. Positivespecimensare
  retainedfor a minimumofone year and all otherspecimensfor a minimumofone month,unlessotherwiserequested.


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      Thomas G. Rosano PhD. DABFT                    a :5?-.v'S--,_-=:.J                                            //-/,I'-     o/

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            LaboratoryDirector(Print)                           LaboratoryDirector(Signature)                            Date

                                                                Page   3   of   3
             Case
          Case 1:17-cv-00626-DJS
                                       APPENDIX
                  23-753, DocumentDocument
                                   62, 01/17/2024,
                                            156-293604338,  Page891Page
                                                    Filed 09/20/21  of 898
                                                                        1 of 5
                                                                                             1909
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i.    1   STATE OF NEW YORK •
          COUNTY OF RENSSELAER
      2

      3   THE PEOPLE OF THE STATE OF NEW YORK,

      4                                                           Plaintiff,

      5             -against-

      6   ADRIAN P. THOMAS,

      7                                                           Defendant.

      8

      9   DATE:                     September    26,    2008

     10

     11   PLACE:                    Rensselaer County Courthouse
                                    Rensselaer County Grand Jury                 Room
     12                             Troy, New York 12180

     13

     14   BEFORE:                   The Rensselaer       County      Grand      Jury

     15

     16   APPEARANCES:          ARTHUR F. GLASS, First   Assistant                District   Attorney
                                CHRISTA BOOK, Assistant    District               Attorney
     17                         KELLY EGAN, Assistant   District               Attorney
                                Rensselaer County Courthouse
     18                         Troy, New York 12180

     19   WITNESSES:            ADAMMASON
                                MICHAEL SIKIRCA,       M.D.
     20

     21

     22

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         Case    23-753, DocumentDocument
              1:17-cv-00626-DJS
                                           APPENDIX
                                  62, 01/17/2024,
                                           156-293604338,  Page892Page
                                                   Filed 09/20/21  of 898
                                                                       2 of 5
                                                                               1910
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     l                                              WITNESSES

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     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                       156-293604338,
                                                       APPENDIX
                                                       Page893Page
                                               Filed 09/20/21  of 898
                                                                   3 of 5
                                                                                                                                            1911
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 1   We took             some general                    measurements                       of~                       at     the      time.           He

 2   had been             an organ                donor,            so the        weight                of ~was                          not

 3   precise.                We --

 4          Q.           Doctor,            if     I may ask               you a question,                            why had          M-

 5   been        an organ             donor?

 6          A.          Well,         that         was at            the       request             of the             family.            We thought

 7   that        in     this        case         we could                allow         it     because                M-               had     lived

 8   several            days        in      the       hospital,                had had             a full             work-up.               There

 9   didn't           appear          to       be any injuries                     to         any        lower         organs.               He had a

10   skeletal             survey,              didn't              show any bony                   fractures                or     anything.

11   The injury                to     the        head         seemed           to be confined                         to    the       head.           So in

12   this        case      we were               able         to     allow        --        there             are     conditions              where        we

13   wouldn't             allow          it,      but         we felt            comfortable                    enough           to    do it          in

14   this        case,

15          Q.          How many of M-'s                                       organs             have         been        harvested?

16          A.         Well,         his         kidneys             had been               taken,             his     liver,          the

17   pancreas,             adrenal               glands,             spleen,            were            the     major        organs.

18          Q.         What organs                    were         not     taken?

19          A.         His      heart            and his             lungs        were            not     taken.

20          Q.         Why were                they          not     taken,        if        you         know?

21          A.         They were                 already            damaged             from        what            we call           hypoxia          or a

22   lack        of blood            flow         and oxygen.                     His        lungs             also        showed       evidence

23   of pneumonia                   that         was developing                    and worsening,                           and his           heart

24   showed           evidence             that         it     did       not      receive                enough            oxygen.            He was
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                       156-293604338,
                                                         APPENDIX
                                                       Page894Page
                                               Filed 09/20/21  of 898
                                                                   4 of 5
                                                                                                                                          1912
                                                                                                                                                           12

 1   basically                   starting           to         have     small        heart          attacks            from         the    lack           of

 2   oxygen            to        the     muscle           of     the     heart.

 3          Q.          And,           Doctor,            if     I can        back         track          for    just         a moment,               do

 4   you         know why~                                was initially                    admitted             to    Albany            Medical

 5   Center?

 6          A.          He was admitted                          with      respiratory                    failure         and        evidence              of

 7   head        trauma.

 8          Q.          And do you                  know the             date        he was admitted                      to    the        Albany

 9   Medical            Center?

10          A.          He was admitted                          on the         21st.

11          Q.          Okay.             All       right.              Doctor,            if     I could            direct          you back              to

12   your        external                examination                  of M_,                     what       observations                   did       you

13   make while                   conducting                  your      external            observations?

14          A.          Well,            there          was a tube              in    his        mouth,          what         we call           an

15   endotracheal                      tube,        that         was used            to     hook        into         a ventilator                to

16   maintain               his        oxygenation.                    He also            had      several            IV lines             inserted

17   into        his        arms,         his       right         neck        and     his        left       groin.             There        were

18   items        of        hospital              identification,                     like         a bracelet                 and       a tag

19   attached               to     his         ankle,          and     then      there           was a long              incision

20   extending               down his               chest         and his            abdomen,             which         was due           to     the

21   organ        harvesting~

22          Q.         Doctor,              after             completing             your        external             observations                   of

23   M-                     what         did     you do next?

24          A.         We did             look          for     any      signs        of        injury.              We didn        1   t really
        Case
     Case    23-753, DocumentDocument
          1:17-cv-00626-DJS   62, 01/17/2024,
                                       156-293604338,
                                                        APPENDIX
                                                       Page895Page
                                               Filed 09/20/21  of 898
                                                                   5 of 5
                                                                                                                                          1913
                                                                                                                                                    17

            Q.          And as a result                            of      the        autopsy,            did      you        sign     a death

 2   certificate?

 3          A.          Yes.

 4          Q.          What did                 you     list            as     the       cause          of death?

 5          A.          Severe          closed            head            injuries             with        severe             edema       due to

 6   blunt            force         trauma.

 7          Q.          Did you list                     this            death         as accidental                    or as         a homicide?

 8          A.          As a homicide.

 9          Q.          And what             led         you to               that        belief          that         this      was a

10   homicide?

11          A.          The findings                     at        the        autopsy,             the     medical              records      of

12   ~at                       Albany            Medical                Center            and the          statement                 of Adrian

13   Thomas.

14          Q.          Is     there         anything                   else         of     significance                  that        you would

15   like        to     explain             to     the        grand            jury         about        M-

16          A.          Well,         M                   did           have         some evidence                     of pneumonia           as he

17   came into                the     hospital                at        Samaritan.                  They         did     work        him up for

18   pneumonia,                and     it        looked             like         he was developing                            pneumonia

19   initially                when he came in.

20          Q.          Did M-                         die,         or was he pronounced                                brain        dead?

21          A.          He was pronounced                               brain         dead.

22          Q.          Okay.          Do you know when that                                    pronouncement                     was made?

23          A.          It     was made at                    11 o'clock                   on the          23rd.

24          Q.          And do we have                        the        death            certificate              yet         of~
                            Case
                         Case 1:17-cv-00626-DJS
                                                   APPENDIX
                                 23-753, DocumentDocument
                                                  62, 01/17/2024,
                                                           156-303604338,  Page896Page
                                                                   Filed 09/20/21  of 898
                                                                                       1 of 3
                                                                                                         1914
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      l              1   STATE OF NEW YORK
                         COUNTY OF RENSSELAER
                     2

                     3   THE PEOPLE OF THE STATE OF NEW YORK,

                     4                                                        Plaintiff,

                     5             -against-

                     6   ADRIAN P.    THOMAS,

                     7                                                        Defendant.

                     8

                     9   DATE:                  September    26,    2008

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                11       PLACE:                 Rensselaer County Courthouse
                                                Rensselaer County Grand Jury                  Room
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                12                              Troy, New York 12180

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                14       BEFORE:                The Rensselaer       County     Grand       Jury

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                                           CHRISTA BOOK, Assistant      District              Attorney
                17                         KELLY EGAN, Assistant     District              Attorney
                                           Rensselaer   County Courthouse
                18                         Troy,   New York 12180

                19       WITNESSES:        ADAM MASON
                                           MICHAEL SIKIRCA,        M.D.
                20

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                     Case
                  Case 1:17-cv-00626-DJS
                                           APPENDIX
                          23-753, DocumentDocument
                                           62, 01/17/2024,
                                                    156-303604338,  Page897Page
                                                            Filed 09/20/21  of 898
                                                                                2 of 3
                                                                                       1915
                                                                                                 2

        .l                                         WITNESSES

        2         Wl'l'NESS                                                               PAGES

        3         M!CHAEf..SlKlRCA, M.O.                                                      7-24

        4         ADAMMASON, M.D.                                                         24-52
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     9                           A.drian P. Thomas                                 3      39

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                      1:17-cv-00626-DJS   62, 01/17/2024,
                                                   156-303604338,
                                                                      APPENDIX
                                                                   Page898Page
                                                           Filed 09/20/21  of 898
                                                                               3 of 3
                                                                                                                                                  1916
                                                                                                                                                                     33
          1      Miranda             form?

      2                 A.           Yes,         it     does.

      3                 Q.           Does         it     appear             to     have           been      altered         or     changed         in     any
      4          way?

      5                 A.        No,        it        does          not.

      6                Q.        Okay.                 Thank          you.             I'm        going      to    show you what's                  been
      7         marked          as     People's                    Exhibit             Number            2 for     the     grand         jury,      and        I'd
      8         ask        you to          look         at         that.          Do you recognize                        that     exhibit,
      9         Sergeant             Mason?

 10                   A.         Yes,         I do.

 11                   Q.        What do you recognize                                        it     to    be?
 12                   A.        This         is         the        voluntary                 statement            I took          from     Adrian
 13            Thomas          that        day.

 14                   Q.        How long                 is        that?

 15                   A.        There            are         ten      pages            total.

16                 Q.           I think                you indicated                      that           you were         together          for     six        or
17            seven          hours,         I think?

18                 A.          A little                 over          seven        hours,            yes.
19                 Q.          Okay.              Could             you describe                    for     the     grand         jury     how that
20            exhibit          came         to         be in          existence?

21                A.           There         came a point                         in     the       interview             when I told              him that
22            I would          like         to         document             on paper               what      he had         told     me about             the
23            incident,              and     he agreed                     that        we could            do that.
24                Q.           Okay.              But        let       me ask           you this:                 Prior      to     creating            that




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